Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 1 of 288




                      Exhibit A
3/13/2020             Case 1:18-cv-02185-LJL Document 267-1    Filed 03/16/20 Page 2 of 288
                                                       Nevada eSOS




    ENTITY INFORMATION



       ENTITY INFORMATION



            Entity Name:

            STRATEGIC VISION US LLC
            Entity Number:

            E0310312011-9

            Entity Type:

            Domestic Limited-Liability Company (86)
            Entity Status:

            Active

            Formation Date:

            05/31/2011
            NV Business ID:

            NV20111365694

            Termination Date:

            Perpetual

            Annual Report Due Date:

            5/31/2020

            Series LLC:



            Restricted LLC:




       REGISTERED AGENT INFORMATION


            Name of Individual or Legal Entity:

            GG INTERNATIONAL
            Status:

            Active


https://esos.nv.gov/EntitySearch/BusinessInformation                                          1/2
3/13/2020             Case 1:18-cv-02185-LJL Document 267-1    Filed 03/16/20 Page 3 of 288
                                                       Nevada eSOS

            CRA Agent Entity Type:

            CRA - OTHER
            Registered Agent Type:

            Commercial Registered Agent

            NV Business ID:

            NV20101304611
            Office or Position:


            Jurisdiction:

            NEVADA

            Street Address:

            500 N. Rainbow Ste. 300, Las Vegas, NV, 89107, USA

            Mailing Address:

            6210 N Jones Blvd. Ste.# 751986, Las Vegas, NV, 89136, USA

            Individual with Authority to Act:

            Lura Barua

            Fictitious Website or Domain Name:




      OFFICER INFORMATION

            VIEW HISTORICAL DATA


    Title        Name                      Address                                                         Last Updated   Status

    Manager      FRENCH C WALLOP           7260 W. AZURE DR SUITE 140-593, LAS VEGAS, NV, 89130, USA       05/13/2019     Active

      Page 1 of 1, records 1 to 1 of 1


                                                                          Filing History   Name History   Mergers/Conversions




                                                       Return to Search      Return to Results




https://esos.nv.gov/EntitySearch/BusinessInformation                                                                               2/2
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 4 of 288




                      Exhibit B
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 5 of 288

              EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                              French Wallop on 02/12/2019

 ·1· ·UNITED STATES DISTRICT COURT
 ·2· ·SOUTHERN DISTRICT OF NEW YORK
 ·3· ·-----------------------------------x
 ·4· ·EASTERN PROFIT CORPORATION LIMITED,
 ·5· · · · · · · Plaintiff-Counterclaim Defendant,
 ·6· · · · · · · · · · · · · · · · · Case No.
 ·7· · · · -against-· · · · · · · · · ·18-cv-2185 JGK
 ·8· ·STRATEGIC VISION US, LLC,
 ·9· · · · · · · Defendant-Counterclaim Plaintiff,
 10· ·vs.
 11· ·GUO WENGUI a/k/a, MILES KWOK,
 12· · · · · · · Counterclaim Defendant.
 13· ·-----------------------------------x
 14
 15
 16· · · · · · ·VIDEOTAPED DEPOSITION
 17· · · · · · · · · · ·OF
 18· · · · · · · · ·FRENCH WALLOP
 19· · · · · · · New York, New York
 20· · · · · · Tuesday, February 12, 2019
 21
 22
 23
 24
 25

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         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 6 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                       Page 6                                                       Page 8
·1· · · · · · · · · ·LIST OF EXHIBITS                           ·1·   ·FRENCH WALLOP, called as a witness, having been
·2· ·WALLOP· · · · · · DESCRIPTION· · · · · · · PAGE            ·2·   ·first duly sworn by a Notary Public of the State
·3· ·Exhibit 19· Strategic Vision's Responses· ·262             ·3·   ·of New York, testifies as follows:
·4· · · · · · · ·and Objections to                              ·4·   ·EXAMINATION BY
·5· · · · · · · ·Plaintiff's First Set of
                                                                ·5·   ·MR. GRENDI:
·6· · · · · · · ·Interrogatories
                                                                ·6·   · · · Q.· · Good morning, Ms. Wallop.· I'm Zach
·7· ·Exhibit 20· Strategic Vision's· · · · · · ·271
                                                                ·7·   ·Grendi, as you just heard, counsel for Eastern
·8· · · · · · · ·Supplemental and Amended
                                                                ·8·   ·Profit.· I'm just going to be asking you some
·9· · · · · · · ·Response and Objections to
                                                                ·9·   ·questions today.
10· · · · · · · ·Plaintiff's First Set of
                                                                10·   · · · · · · Just for the courtesy of the court
11· · · · · · · ·Interrogatories
                                                                11·   ·reporter and the clarity of the record, I'm just
12· ·Exhibit 21· Amended Answer and· · · · · · ·275
                                                                12·   ·going to ask that, please wait until after I
13· · · · · · · ·Counterclaims
                                                                13·   ·finish asking a question to answer it.· Unlike in
14· ·(Exhibits retained by Counsel.)
15
                                                                14·   ·normal conversation, in a deposition you need to
16· ·(*r) DOCUMENTS REQUESTED:
                                                                15·   ·allow one person to stop talking and the other
17· · · · ·Page:· 118· · · · · · 11                             16·   ·person to start.
· · · · · ·Page:· 253· · · · · · 22                             17·   · · · · · · Also, shrugs and nods are things that
18· · · · ·Page:· 273· · · · · · 6                              18·   ·the court reporter can't take down, so I ask that
19                                                              19·   ·you please answer all questions verbally.· And if
20                                                              20·   ·you need a break, just let me know, let anyone
21                                                              21·   ·know, we can take one.· We're going to try to
22                                                              22·   ·move through this -- these materials as quickly
23                                                              23·   ·as possible, but breaks are allowed.
24                                                              24·   · · · A.· · Thank you.
25                                                              25·   · · · Q.· · What's your full legal name?

                                                       Page 7                                                       Page 9
·1·   · · · ·THE VIDEOGRAPHER:· Good morning.· This             ·1·   · · · A.· · French Carter Wallop.
·2·   ·is the beginning of media 1 in the                       ·2·   · · · Q.· · And where do you reside?
·3·   ·deposition of French Wallop, in the matter               ·3·   · · · A.· · 1557 North 22nd Street, Arlington,
·4·   ·of Eastern Profit Corporation Limited versus             ·4·   ·Virginia 22209.
·5·   ·Strategic Vision US, LLC.                                ·5·   · · · Q.· · And --
·6·   · · · ·Today's date is February 12, 2019.· My             ·6·   · · · A.· · And I also have a Wyoming address.
·7·   ·name is Jaysun Loushin, I am the                         ·7·   · · · Q.· · Do you have a Las Vegas address?
·8·   ·videographer, and the court reporter is                  ·8·   · · · A.· · Yes.
·9·   ·Roberta Caiola.· We are here with Huseby                 ·9·   · · · Q.· · Where is that?
10·   ·Global Litigation.                                       10·   · · · A.· · It's on Lakes Avenue.· It's -- it's
11·   · · · ·Counsel, please introduce yourself,                11·   ·where we use as our agent for the LLC for
12·   ·after which the court reporter will swear in             12·   ·Strategic Vision.
13·   ·the witness.· The time on the monitor is                 13·   · · · Q.· · So that's Strategic Vision's address --
14·   ·9:58.                                                    14·   · · · A.· · Yes.
15·   · · · ·MR. GRENDI:· Good morning.· I'm Zach               15·   · · · Q.· · -- in Las Vegas?
16·   ·Grendi.· I'm counsel for Eastern Profit                  16·   · · · A.· · Not personal.
17·   ·Corporation.· My law firm is Zeichner,                   17·   · · · Q.· · Okay.· What's your educational
18·   ·Ellman & Krause.                                         18·   ·background?
19·   · · · ·MR. SCHMIDT:· Joe Schmidt from Phillips            19·   · · · A.· · Where would you want to start?
20·   ·Lytle, on behalf of Strategic Vision as well             20·   · · · Q.· · You can start in the beginning, but --
21·   ·as the witness, French Wallop.                           21·   · · · A.· · Kindergarten?
22·   · · · ·MS. TESKE:· Erin Teske with Hodgson                22·   · · · Q.· · -- no need to go into great depth.
23·   ·Russ, on behalf of third-party defendant                 23·   ·Just an overview, if that's all right.
24·   ·Miles Kwok.                                              24·   · · · · · · MR. SCHMIDT:· From college up.
25                                                              25·   · · · A.· · I went to a school in Switzerland for


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         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 7 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 10                                                      Page 12
·1·   ·four years.· And then I was at the Ecole              ·1·   ·Dr. Waller?
·2·   ·D'Interpretes in Geneva.· And then I came back to     ·2·   · · · A.· · I would say in the last year and a
·3·   ·Georgetown University and got my linguistic's         ·3·   ·half.
·4·   ·degree in simultaneous interpreting.                  ·4·   · · · Q.· · And how did that come about?
·5·   · · · Q.· · Anything else?                             ·5·   · · · A.· · We had an -- I had an introduction by
·6·   · · · A.· · I did -- I didn't finish, but I went to    ·6·   ·Bill Gertz and Lianchao Han regarding this
·7·   ·SAIS, The School of Advanced International Study,     ·7·   ·particular client.· I'm not sure, by the way, how
·8·   ·which is part of Johns Hopkins; so it doesn't         ·8·   ·to refer to this client.· We've referred to him
·9·   ·count as a degree, sadly.                             ·9·   ·as Miles Guo, G-u-o.
10·   · · · Q.· · What about your work experience, let's     10·   · · · Q.· · Eastern Profit is fine.
11·   ·just say the last 20 years or so?                     11·   · · · · · · MR. SCHMIDT:· Well, you know, you refer
12·   · · · A.· · Oh, my goodness.                           12·   · · · to him however you think the client is.
13·   · · · Q.· · You don't have to say everything.· Just    13·   · · · A.· · He has about six names, so I'm not sure
14·   ·an overview.                                          14·   ·what goes into the record.
15·   · · · A.· · Well, I've run two companies, and          15·   · · · Q.· · Whatever you know.
16·   ·plus -- and I sold them in 2000.· And then in         16·   · · · A.· · We refer to him as Miles Guo.· But I
17·   ·about 2005, I started up my Strategic Vision          17·   ·was referred to him by both Bill Gertz, the
18·   ·group.                                                18·   ·Washington Times and the Free Beacon, and
19·   · · · Q.· · In 2005, starting Strategic Vision, is     19·   ·Lianchao.· And I -- when they approached me,
20·   ·that what you've been doing ever since?               20·   ·that's when I decided Mike was one of the people
21·   · · · A.· · Yes.                                       21·   ·I really wanted to work with on this.
22·   · · · Q.· · Any other employment that you have or      22·   · · · Q.· · But I wanted to ask you.· Have you ever
23·   ·businesses that you're running, other than            23·   ·worked with Dr. Waller on any investigatory
24·   ·Strategic Vision?                                     24·   ·research before, as you said, you were introduced
25·   · · · A.· · Yes.· I have another company that's        25·   ·to Mr. Guo?

                                                   Page 11                                                      Page 13
·1·   ·called Regency Mayfair Worldwide, and that works      ·1·   · · · A.· · No.· No.
·2·   ·overseas on projects.                                 ·2·   · · · Q.· · Since you were introduced to Mr. Guo,
·3·   · · · Q.· · What kind of projects?                     ·3·   ·have you and Dr. Waller worked on any other
·4·   · · · A.· · Family office groups.                      ·4·   ·investigatory research together for another
·5·   · · · Q.· · What do you mean by that?· What kind of    ·5·   ·client?· You don't have to name them.
·6·   ·projects do you do for family office groups           ·6·   · · · A.· · I can't name them.
·7·   ·through this Mayfair company?                         ·7·   · · · Q.· · No, I'm saying whether you have or have
·8·   · · · A.· · Investment -- investment advisory.         ·8·   ·not provided --
·9·   · · · Q.· · Okay.· So nothing to do with               ·9·   · · · A.· · Yes.
10·   ·investigatory research or things of that nature?      10·   · · · Q.· · -- a service to another client?
11·   · · · A.· · No.                                        11·   · · · A.· · Yes, but -- yes.
12·   · · · Q.· · How do you know Michael Waller, or John    12·   · · · Q.· · Okay.· I didn't ask you to name the
13·   ·Michael Waller?                                       13·   ·client.
14·   · · · A.· · Well, Mike Waller is the way we refer      14·   · · · A.· · Don't worry.
15·   ·to him, or Dr. Waller.· Gosh, I've known Mike for     15·   · · · Q.· · And how many other clients have you and
16·   ·many, many years.· I would say, certainly,            16·   ·Dr. Waller worked on investigatory research for?
17·   ·certainly 20.· And our paths have crossed many        17·   · · · A.· · I can't answer that.
18·   ·times in Washington on both international affairs     18·   · · · Q.· · So you're refusing to answer that
19·   ·and intelligence groups.                              19·   ·question?
20·   · · · Q.· · When did Mr. Waller -- well, I'll call     20·   · · · · · · MR. SCHMIDT:· No, no, I don't think
21·   ·him Dr. Waller.                                       21·   · · · that's what she's saying.
22·   · · · A.· · Yes, he is Dr. Waller.                     22·   · · · · · · MR. GRENDI:· Okay.
23·   · · · Q.· · He didn't insist on it the last time,      23·   · · · Q.· · How many?
24·   ·but fair enough.· When did you start -- or when       24·   · · · A.· · Four.
25·   ·did Strategic Vision start working with               25·   · · · · · · MR. SCHMIDT:· Approximately?· Okay.


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         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 8 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 14                                                      Page 16
·1·   · · · · · · THE WITNESS:· Approximately, yeah.         ·1·   ·how to answer it.
·2·   · · · · · · MR. GRENDI:· I'm going to ask that you     ·2·   · · · Q.· · You don't understand the question?
·3·   · · · not try to interrupt.                            ·3·   · · · A.· · No, I don't understand the question.
·4·   · · · · · · MR. SCHMIDT:· I'm trying to keep you       ·4·   · · · Q.· · Okay.· What I'm saying is, when did you
·5·   · · · guys moving forward.                             ·5·   ·stop working with someone else in terms of
·6·   · · · · · · MR. GRENDI:· I appreciate that, but I'm    ·6·   ·providing investigatory research?
·7·   · · · not trying to --                                 ·7·   · · · A.· · I didn't say I had stopped.
·8·   · · · · · · MR. SCHMIDT:· I think you knew what she    ·8·   · · · Q.· · So you work with, concurrently, other
·9·   · · · meant and kind of accused her of refusing to     ·9·   ·individuals who provide investigatory research
10·   · · · answer.· I don't think that was appropriate,     10·   ·for Strategic Vision?
11·   · · · so that's when I had to step in, okay?           11·   · · · A.· · From time to time.
12·   · · · · · · MR. GRENDI:· I didn't think that that's    12·   · · · Q.· · Okay.· So you don't have an exclusive
13·   · · · what I was doing.· I was --                      13·   ·relationship with Dr. Waller in terms of
14·   · · · · · · MR. SCHMIDT:· Okay.· That's how it was     14·   ·investigatory research that he provides?
15·   · · · coming across on the record, so I clarified      15·   · · · A.· · No.
16·   · · · it.                                              16·   · · · Q.· · Okay.· You said that you founded
17·   · · · · · · MR. GRENDI:· Okay.· Fair enough.           17·   ·Strategic Vision in 2005?
18·   · · · Q.· · So you and Dr. Waller have worked on       18·   · · · A.· · I think so.· I'd have to look.
19·   ·approximately five different investigatory            19·   · · · Q.· · Okay.· Was anyone else involved in the
20·   ·research projects with Strategic Vision?              20·   ·company at the time?
21·   · · · A.· · Yes.                                       21·   · · · A.· · No.
22·   · · · Q.· · And none of them preceded your             22·   · · · Q.· · So it's always been your company?
23·   ·introduction to Mr. Guo?                              23·   · · · A.· · Yes.
24·   · · · A.· · No.                                        24·   · · · Q.· · And you've never had any other
25·   · · · Q.· · No, they did not precede --                25·   ·officers?

                                                   Page 15                                                      Page 17
·1·   · · · A.· · No.                                        ·1·   · · · A.· · No.
·2·   · · · Q.· · -- or --                                   ·2·   · · · Q.· · Or directors?
·3·   · · · A.· · They did not.                              ·3·   · · · A.· · No.
·4·   · · · Q.· · Prior to working with Dr. Waller, did      ·4·   · · · Q.· · Or unit holders?
·5·   ·you work with someone else in terms of                ·5·   · · · A.· · No.
·6·   ·investigatory research for Strategic Vision?          ·6·   · · · Q.· · Have there been any other principals of
·7·   · · · A.· · When?                                      ·7·   ·Strategic Vision, other than you?
·8·   · · · Q.· · Before you started working with            ·8·   · · · A.· · No.
·9·   ·Dr. Waller, so let's say prior to a year and a        ·9·   · · · Q.· · So what's your role in Strategic
10·   ·half ago.                                             10·   ·Vision?
11·   · · · A.· · Yes.                                       11·   · · · A.· · I run certain advisory clients and work
12·   · · · Q.· · And was it just one entity or several      12·   ·with them as clients, private clients.
13·   ·entities?                                             13·   · · · Q.· · Do you have a title, like CEO?
14·   · · · A.· · I can't remember.                          14·   · · · A.· · Yes, I think it's CEO.
15·   · · · Q.· · Without going into any detail.· Was        15·   · · · Q.· · So what services does Strategic Vision
16·   ·that a similar arrangement to your arrangement        16·   ·provide to its clients?
17·   ·with Dr. Waller in terms of the provisioning of       17·   · · · A.· · I've already answered that.
18·   ·investigatory research?                               18·   · · · Q.· · I don't think you have.
19·   · · · A.· · No.                                        19·   · · · A.· · I said advisory services.
20·   · · · Q.· · How was it different?                      20·   · · · Q.· · What do you mean by advisory services?
21·   · · · A.· · I can't remember.                          21·   · · · A.· · Advisory client services.
22·   · · · Q.· · When did you stop working with someone     22·   · · · Q.· · Does that include investigatory
23·   ·else on investigatory research prior to working       23·   ·research?
24·   ·with Dr. Waller?                                      24·   · · · A.· · Yes, in some cases.
25·   · · · A.· · That's an odd question.· I don't know      25·   · · · Q.· · What does that investigatory research


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         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 9 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 18                                                      Page 20
·1·   ·involve?                                              ·1·   · · · A.· · No.
·2·   · · · A.· · Exactly as it says.· Each client is        ·2·   · · · Q.· · Who does?
·3·   ·different, isn't it?                                  ·3·   · · · A.· · Whomever we bring on board to do the
·4·   · · · Q.· · Right.· What I'm asking is, what does      ·4·   ·investigation.
·5·   ·Strategic Vision's investigatory research             ·5·   · · · Q.· · So Strategic Vision hires independent
·6·   ·services entail?                                      ·6·   ·contractors?
·7·   · · · A.· · Every client is different.                 ·7·   · · · A.· · Our own team of people that we have
·8·   ·Investigatory services is exactly that, depending     ·8·   ·worked with off and on through the years, yes.
·9·   ·upon how you want to define investigations.           ·9·   · · · Q.· · Do you or Strategic Vision provide any
10·   · · · Q.· · How does Strategic Vision provide that     10·   ·input or edits to any of the reports?· I mean,
11·   ·service, what does it do?                             11·   ·what does Strategic do in terms of --
12·   · · · A.· · Investigate.                               12·   · · · A.· · We review the reports.
13·   · · · Q.· · How?                                       13·   · · · Q.· · Do you ever edit them?
14·   · · · A.· · The usual ways.                            14·   · · · A.· · I wouldn't say edit them, no.
15·   · · · Q.· · What are the usual ways?                   15·   · · · Q.· · How does Strategic Vision contribute to
16·   · · · A.· · I find it's a repetitive question.         16·   ·the end work product of an investigatory research
17·   · · · Q.· · I don't care if you find it a              17·   ·report?
18·   ·repetitive question.· What I'm asking you to do       18·   · · · A.· · Well, when we get them, we look at them
19·   ·is answer my question.                                19·   ·and we read them, depending upon who the teams
20·   · · · · · · I want to know how Strategic Vision        20·   ·are, and discuss them, and then produce them.
21·   ·performs investigations?                              21·   ·Sometimes they can be verbal, sometimes they can
22·   · · · A.· · We look everybody up on Facebook.          22·   ·be on flash drives.· It depends what the client
23·   · · · Q.· · That's it?                                 23·   ·needs.
24·   · · · A.· · Sure.· It's an idiotic question.           24·   · · · Q.· · Does Strategic Vision -- well, let me
25·   · · · · · · MR. SCHMIDT:· Don't comment.· Just         25·   ·ask you this.· Strike that.

                                                   Page 19                                                      Page 21
·1·   · · · answer the question.                             ·1·   · · · · · · Do you ever access a network of
·2·   · · · Q.· · Excuse me, ma'am, I'm just trying to       ·2·   ·individuals that you're familiar with to get
·3·   ·understand things.· And I think -- maybe you          ·3·   ·information for investigatory research?
·4·   ·don't understand how a deposition works, but I'm      ·4·   · · · A.· · Sometimes.
·5·   ·just trying to understand basic information.· You     ·5·   · · · Q.· · And just, without naming any names,
·6·   ·might think something is obvious or intuitive,        ·6·   ·describe what that entails?
·7·   ·but the record doesn't know that and we don't         ·7·   · · · A.· · Experience.
·8·   ·know that.· So I please ask you to cooperate.         ·8·   · · · Q.· · Right.· Do you speak to individuals in
·9·   · · · A.· · Of course.                                 ·9·   ·the intelligence community?
10·   · · · Q.· · So other than looking people up on         10·   · · · A.· · Yes.
11·   ·Facebook, how does Strategic Vision perform           11·   · · · Q.· · Politicians?
12·   ·investigations?                                       12·   · · · A.· · Sometimes.
13·   · · · A.· · We do investigative background work on     13·   · · · Q.· · People in the business community?
14·   ·individuals that other clients are interested in      14·   · · · A.· · Yes.
15·   ·pursuing information on.                              15·   · · · Q.· · And then you take that information and
16·   · · · Q.· · So that background work, does that         16·   ·perhaps include that in an investigatory research
17·   ·involve surveillance or electronic research; give     17·   ·report, or how does that work?
18·   ·me a little detail on what it means to                18·   · · · A.· · It depends on the client.
19·   ·investigate someone for background?                   19·   · · · Q.· · Give me an example of a client where
20·   · · · A.· · Precisely.· Just as you said.              20·   ·you did access that network in order to
21·   · · · Q.· · Does Strategic Vision do that              21·   ·contribute?
22·   ·investigatory research itself?                        22·   · · · A.· · I can't do that precisely.
23·   · · · A.· · No.                                        23·   · · · Q.· · Not with any specificity?
24·   · · · Q.· · So you never perform any research          24·   · · · A.· · Just as I said.· We are very careful
25·   ·yourself?                                             25·   ·about the investigations that we do, they're


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 10 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 22                                                      Page 24
·1·   ·private, and if they are what the client has          ·1·   · · · Q.· · And Strategic Vision doesn't have any
·2·   ·requested, that's what we do.                         ·2·   ·employees?
·3·   · · · · · · MR. SCHMIDT:· French, maybe you can        ·3·   · · · A.· · No.
·4·   · · · give a response to these questions just kind     ·4·   · · · · · · MR. GRENDI:· Let's do Exhibit 1 here.
·5·   · · · of a 30,000-foot level in general of what        ·5·   · · · · · · (Wallop Exhibit 1, Notice of
·6·   · · · you do would, different ideas you've done        ·6·   · · · Deposition, marked for identification.)
·7·   · · · over the years, that might be helpful.           ·7·   · · · Q.· · Ms. Wallop, do you recognize this
·8·   · · · · · · THE WITNESS:· Okay.                        ·8·   ·document?
·9·   · · · · · · MR. SCHMIDT:· Like types of things         ·9·   · · · A.· · I'm sure it's in the file.· I don't
10·   · · · you've done to research people, that sort of     10·   ·recognize it particularly.
11·   · · · thing.                                           11·   · · · Q.· · If you turn to the third page there, do
12·   · · · Q.· · Please go ahead.                           12·   ·you see that, Attachment A?
13·   · · · · · · MR. SCHMIDT:· Yeah, go ahead.              13·   · · · A.· · Yes.
14·   · · · A.· · With what?                                 14·   · · · Q.· · And just generally speaking, do you
15·   · · · Q.· · What he just asked.                        15·   ·understand that this is a 30(b)(6) deposition
16·   · · · A.· · Go ahead, ask me the question again.       16·   ·notice?
17·   · · · Q.· · Can you please give an overview of the     17·   · · · A.· · Yes.
18·   ·types of research investigations that Strategic       18·   · · · Q.· · And did you review this document prior
19·   ·Vision does and how they do them?                     19·   ·to today?
20·   · · · A.· · We look at individual clients or groups    20·   · · · A.· · Actually, I did not.
21·   ·or companies or areas of interest on behalf of        21·   · · · Q.· · Did you prepare for this deposition in
22·   ·our clients, whether it's international, whether      22·   ·any way?
23·   ·it's domestic.                                        23·   · · · A.· · Of course.
24·   · · · Q.· · And how many investigations over the       24·   · · · Q.· · You met with your attorneys?· And I'll
25·   ·years has Strategic Vision handled?                   25·   ·just caution you right away, don't tell me

                                                   Page 23                                                      Page 25
·1·   · · · A.· · Oh, my goodness, I have no idea.           ·1·   ·anything you said to your attorneys or your
·2·   · · · Q.· · Ballpark?                                  ·2·   ·attorneys said to you.
·3·   · · · A.· · I have no idea.                            ·3·   · · · A.· · Well, exactly, of course I discussed it
·4·   · · · Q.· · Fifty?                                     ·4·   ·with my attorneys.
·5·   · · · A.· · No.· I would say probably, maybe 15,       ·5·   · · · Q.· · And did you meet and go over documents
·6·   ·20, something like that.                              ·6·   ·in preparation for this deposition?
·7·   · · · Q.· · That's since 2005?                         ·7·   · · · · · · MR. SCHMIDT:· You can say yes or no.
·8·   · · · A.· · It's probably more than that, but since    ·8·   · · · A.· · Yes.
·9·   ·2005, yeah.                                           ·9·   · · · Q.· · How long did you do that for?
10·   · · · Q.· · Okay.· And other than investigatory        10·   · · · A.· · Today, or ever, or?
11·   ·services, what kind of services does Strategic        11·   · · · Q.· · All in, sure, all together.
12·   ·Vision provide?                                       12·   · · · A.· · Sure.· I have no idea what the answer
13·   · · · A.· · As I've said earlier, we work with         13·   ·would be.
14·   ·clients on advisory services for family offices.      14·   · · · · · · MR. SCHMIDT:· Just do the best you can.
15·   · · · Q.· · That's part of Strategic Vision's          15·   · · · A.· · Okay.· How about -- for today's
16·   ·business?                                             16·   ·deposition?
17·   · · · A.· · I've already stated that.                  17·   · · · Q.· · Yes.
18·   · · · Q.· · You mentioned another entity, that's       18·   · · · A.· · Okay.· How about 3 hours, by telephone
19·   ·why I wasn't sure if you'd separated the two          19·   ·or something.
20·   ·entities or you --                                    20·   · · · · · · MR. SCHMIDT:· We had met in person
21·   · · · A.· · No, you were very sure.· You didn't --     21·   · · · before, you should tell him that.
22·   ·that's not a fair statement.                          22·   · · · A.· · Oh, we had a coffee before, or I had a
23·   · · · · · · MR. SCHMIDT:· Just answer the question,    23·   ·coffee.
24·   · · · French.                                          24·   · · · Q.· · And you prepared with your attorney
25·   · · · · · · THE WITNESS:· Okay.                        25·   ·here, Mr. Schmidt?


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 11 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 26                                                      Page 28
·1·   · · · A.· · Yes.                                       ·1·   ·Dr. Waller -- or, I'm sorry, Lianchao Han?
·2·   · · · Q.· · Did you go over any documents?             ·2·   · · · A.· · It's public.
·3·   · · · A.· · No.                                        ·3·   · · · Q.· · I understand that.
·4·   · · · · · · MR. SCHMIDT:· I think you should tell      ·4·   · · · A.· · I have no idea whether they saw it or
·5·   · · · him that, at the initial meeting we had, we      ·5·   ·not.
·6·   · · · went over the --                                 ·6·   · · · Q.· · I'm asking whether you personally gave
·7·   · · · A.· · Oh, well, of course --                     ·7·   ·it to them?
·8·   · · · · · · MR. SCHMIDT:· -- the documents.· That      ·8·   · · · A.· · I have no idea.
·9·   · · · counts as well.· You should --                   ·9·   · · · · · · MR. SCHMIDT:· Do you remember giving it
10·   · · · · · · THE WITNESS:· I thought he was talking     10·   · · · to them?
11·   · · · about the 30 minutes that we met for coffee      11·   · · · · · · THE WITNESS:· No.
12·   · · · before we walked across the street.· So,         12·   · · · Q.· · Okay.· And it says here, "over a
13·   · · · okay.                                            13·   ·40-year period, the principal has developed and
14·   · · · · · · MR. SCHMIDT:· Fill out the record.         14·   ·maintained connections with many U.S.
15·   · · · · · · THE WITNESS:· So, all right.· Yeah, no,    15·   ·administrations, Congress, DOD, DOE and other
16·   · · · obviously.                                       16·   ·agencies."· Do you see that?
17·   · · · Q.· · Let's clean that up, just so I             17·   · · · A.· · Correct.
18·   ·understand.· Did you go over documents in             18·   · · · Q.· · And that's your network of contacts
19·   ·preparation for this deposition?                      19·   ·being referred to there?
20·   · · · A.· · Yes.                                       20·   · · · A.· · Correct.
21·   · · · Q.· · Okay.· Let's go to the next document.      21·   · · · Q.· · And if you look a little further down
22·   ·Just generally speaking, you understand that I'll     22·   ·the page, it mentions strategic research, do you
23·   ·be asking questions addressed to Strategic            23·   ·see that?
24·   ·Vision.· In response to those, you'll be              24·   · · · A.· · Yes.
25·   ·answering on behalf of Strategic Vision; you          25·   · · · Q.· · Is that investigatory research; I mean,

                                                   Page 27                                                      Page 29
·1·   ·understand that, right?                               ·1·   ·what does that mean?
·2·   · · · A.· · Correct.                                   ·2·   · · · A.· · It can be.
·3·   · · · · · · MR. GRENDI:· This is Exhibit 2.            ·3·   · · · Q.· · What about competitive intelligence,
·4·   · · · · · · (Wallop Exhibit 2, Document Bates          ·4·   ·that's the last item there?
·5·   · · · stamped Eastern 000017, marked for               ·5·   · · · A.· · Yes.· What about it?
·6·   · · · identification.)                                 ·6·   · · · Q.· · Is that inclusive of investigatory
·7·   · · · Q.· · Ms. Wallop, I've handed you a document     ·7·   ·private research or investigations?
·8·   ·that has the Bates number Eastern 17 in the           ·8·   · · · A.· · In some cases, yes.
·9·   ·bottom right-hand corner of the first page, do        ·9·   · · · Q.· · Is private investigations a specialty
10·   ·you see that?                                         10·   ·of Strategic Vision or does it really provide a
11·   · · · A.· · Correct.                                   11·   ·broader suite of services?
12·   · · · Q.· · Just so you -- for the clarity of the      12·   · · · A.· · Broader suite, but it's inclusive of
13·   ·record and for your own edification, sometimes        13·   ·that, if required.
14·   ·I'll be referring to documents by their Bates         14·   · · · Q.· · Would you consider investigatory
15·   ·number, just to be clear, and I just want to make     15·   ·research a core service of Strategic Vision?
16·   ·sure you know what a Bates number was.                16·   · · · · · · MR. SCHMIDT:· Objection.· Go ahead.
17·   · · · A.· · Thank you.                                 17·   · · · A.· · No.
18·   · · · Q.· · Do you recognize this document?            18·   · · · Q.· · So it's kind of like a side service
19·   · · · A.· · It looks like a LinkedIn document or       19·   ·that Strategic Vision provides?
20·   ·print-off.                                            20·   · · · · · · MR. SCHMIDT:· Same objection, but go
21·   · · · Q.· · So did you create the content in this      21·   · · · ahead.
22·   ·document?                                             22·   · · · A.· · It depends on the client's request.
23·   · · · A.· · Yes.                                       23·   · · · Q.· · So sometimes it's the general focus of
24·   · · · Q.· · And did you ever give this information     24·   ·Strategic Vision's service to a client and other
25·   ·to Mr. Guo or Yvette Wang or Michael -- or            25·   ·times it's not even part of the service?


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 12 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 30                                                      Page 32
·1·   · · · A.· · Correct.                                   ·1·   · · · A.· · I think sometime in late October or
·2·   · · · Q.· · Does Strategic Vision provide lobbying     ·2·   ·early November.
·3·   ·services?                                             ·3·   · · · Q.· · Of what year?
·4·   · · · A.· · Again, that depends on the client.· We     ·4·   · · · A.· · 2017.
·5·   ·don't do it directly, but we will work with           ·5·   · · · Q.· · Do you recall if it was Mr. Gertz or
·6·   ·people that are lobbyists.                            ·6·   ·Mr. Han that called you, or how did that
·7·   · · · Q.· · So sometimes --                            ·7·   ·interaction occur?
·8·   · · · A.· · Sometimes.                                 ·8·   · · · A.· · That's a good question.· I think it was
·9·   · · · Q.· · -- Strategic Vision provides lobbying      ·9·   ·Bill Gertz.· I think he may have called me.
10·   ·services?                                             10·   · · · Q.· · And what did he tell you?
11·   · · · A.· · Sometimes, yes.                            11·   · · · A.· · He knew that I had been working in the
12·   · · · · · · MR. GRENDI:· This is 3.                    12·   ·past for Taiwan and had been very active in
13·   · · · · · · (Wallop Exhibit 3, Document Bates          13·   ·pro-democracy work, and I think he said at that
14·   · · · stamped SVUS000077, marked for                   14·   ·point he would like to have lunch with me, and,
15·   · · · identification.)                                 15·   ·possibly, Lianchao was at that first lunch. I
16·   · · · Q.· · Ms. Wallop, do you recognize this          16·   ·think that was how it went.
17·   ·document?                                             17·   · · · Q.· · Those were the three people who were
18·   · · · A.· · I do.                                      18·   ·present at that lunch?
19·   · · · Q.· · What is it?                                19·   · · · A.· · Yes.· The three of us, yes.
20·   · · · A.· · It is a preliminary sort of vision for     20·   · · · Q.· · And what was discussed there?
21·   ·Miles Guo, for our first meeting, I believe, with     21·   · · · A.· · He discussed Mr. Guo, and that he had
22·   ·him, that both Mike Waller, Dr. Waller and I          22·   ·met with him, I guess, a number of times, I don't
23·   ·worked on.                                            23·   ·know over what period of time, but that he
24·   · · · Q.· · So the handwriting on the top right        24·   ·believed that he was looking for a group that
25·   ·corner, is that your handwriting?                     25·   ·could help change his -- Mr. Guo -- Miles Guo's

                                                   Page 31                                                      Page 33
·1·   · · · A.· · Yes.                                       ·1·   ·image in America.· He explained a little bit
·2·   · · · Q.· · And when did you make that note, if you    ·2·   ·about Miles Guo's issues, and we discussed at the
·3·   ·recall?                                               ·3·   ·time how perhaps there might be a way of helping
·4·   · · · A.· · I'd have to -- to look on my paper         ·4·   ·him stay in the United States.
·5·   ·calendar.· I don't remember.                          ·5·   · · · Q.· · What were the issues that you just
·6·   · · · Q.· · You have a paper calendar that you         ·6·   ·mentioned?
·7·   ·keep?                                                 ·7·   · · · A.· · Pro-communist people that were
·8·   · · · A.· · No.· I'd have to look -- I'd have to       ·8·   ·apparently after him.· There were many lawsuits
·9·   ·look.· I remember it was sort of -- there was --      ·9·   ·apparently that had been filed against Mr. Guo.
10·   ·there was one meeting in early December, and I        10·   ·We didn't know anything about Mr. Guo, per se,
11·   ·don't have that with me.                              11·   ·other than some of the media reports.
12·   · · · Q.· · Ms. Wallop, do you keep a calendar?        12·   · · · · · · So Lianchao suggested that we meet with
13·   · · · A.· · No, I don't keep anything on -- I keep     13·   ·him, and I said, well, I will -- I'll think about
14·   ·notes, sticky notes, so.                              14·   ·it and get back to you.
15·   · · · Q.· · You don't keep like a Google               15·   · · · Q.· · And so, you said before that you knew
16·   ·calendar --                                           16·   ·Mr. Gertz from years in politics or what's
17·   · · · A.· · No.                                        17·   ·your --
18·   · · · Q.· · -- or electronic calendar?                 18·   · · · A.· · He used to be, he still is, he's still
19·   · · · A.· · God, no.                                   19·   ·at the Washington Times, and he writes for the
20·   · · · Q.· · You keep paper Post-it notes to track      20·   ·Washington Times, and he's now with the
21·   ·your meetings and schedule?                           21·   ·Washington -- Washington Times.
22·   · · · A.· · Yes.                                       22·   · · · · · · MR. SCHMIDT:· Times or Post?
23·   · · · Q.· · How were you introduced to Mr. Guo?        23·   · · · · · · THE WITNESS:· Washington Times.· Good
24·   · · · A.· · Through Bill Gertz and Lianchao Han.       24·   · · · God, not the Washington Times.
25·   · · · Q.· · And when did that come about?              25·   · · · Q.· · It's a different -- it's a different


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 13 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 34                                                      Page 36
·1·   ·outfit.                                               ·1·   ·about?
·2·   · · · A.· · Yeah.· And the -- it's certainly           ·2·   · · · A.· · Well, I talked -- I mentioned to Bill,
·3·   ·conservative, it was run under the time when          ·3·   ·I said, one of the people that I like a lot and
·4·   ·Arnaud de Borchgrave was the editor, along with       ·4·   ·have worked with on a couple of things, but not
·5·   ·several other close friends, and he's now at the      ·5·   ·monetary, but just ideological, was Dr. Waller,
·6·   ·Washington Free Beacon, I think, mostly.              ·6·   ·and I'd like to bring Dr. Waller in on this.· And
·7·   · · · Q.· · Is that another right of center            ·7·   ·he said, wow, that would be phenomenal.· So, here
·8·   ·publication?                                          ·8·   ·we are.
·9·   · · · A.· · Um-hum.· I think I would call it a         ·9·   · · · Q.· · And did you speak to Mr. Guo before
10·   ·center and conservative.· I wouldn't call it          10·   ·putting this document together or was this just
11·   ·right of center.                                      11·   ·based on your conversations with Mr. Han and
12·   · · · Q.· · I was --                                   12·   ·Mr. Gertz?
13·   · · · A.· · I mean, really?                            13·   · · · A.· · I know that we had a preliminary one,
14·   · · · Q.· · -- asking for your -- I was asking for     14·   ·then we met with Mr. Guo, we did something
15·   ·your understanding of it.                             15·   ·similar to this and gave it to him, I believe,
16·   · · · A.· · Well, you've got my understanding of       16·   ·and -- and then we had, obviously, several other
17·   ·it.                                                   17·   ·meetings after that with Mr. Guo.
18·   · · · Q.· · Thank you.                                 18·   · · · Q.· · So, just speaking about this first
19·   · · · A.· · You're welcome.                            19·   ·meeting.· Where did it occur?
20·   · · · Q.· · And how do you know Lianchao Han?          20·   · · · A.· · With Mr. Guo?
21·   · · · A.· · Lianchao and I have crossed paths in       21·   · · · Q.· · Yes.
22·   ·Washington off and on over the years, maybe           22·   · · · A.· · Okay.· In his apartment at the
23·   ·because of some of the Taiwan activities in           23·   ·Sherry-Netherland, his penthouse.
24·   ·Washington.· But I've always sort of known him        24·   · · · Q.· · And when was that?
25·   ·and liked him.· I never worked with him.· But         25·   · · · A.· · I don't have a date on here, so I can't

                                                   Page 35                                                      Page 37
·1·   ·he's an excellent individual.                         ·1·   ·tell you.
·2·   · · · Q.· · Did Strategic Vision pay any referral      ·2·   · · · Q.· · From your memory.
·3·   ·fees or any other consideration to Mr. Han for        ·3·   · · · A.· · Well, it would have been in December at
·4·   ·introducing Mr. Guo to you?                           ·4·   ·some point.
·5·   · · · A.· · Good Lord, no.                             ·5·   · · · Q.· · December 2017?
·6·   · · · Q.· · What about Mr. Gertz?                      ·6·   · · · A.· · Yes, sorry.
·7·   · · · A.· · Never.                                     ·7·   · · · Q.· · That's okay.· What occurred at that
·8·   · · · Q.· · Okay.· And going back to this first        ·8·   ·meeting?· What did you present and what did
·9·   ·meeting document.· Did you present this document      ·9·   ·Mr. Guo say?
10·   ·to Mr. Guo or was this just you and Mr. Waller's      10·   · · · A.· · I believe Lianchao was also there -- I
11·   ·notes?                                                11·   ·know he was there, and Dr. Waller and I were
12·   · · · A.· · I know that we presented one that was      12·   ·there, and we discussed his -- that is, Miles
13·   ·very similar to this, and I think a bit more --       13·   ·Guo's life, his intentions, his questions about
14·   ·it might have been a bit more extensive, but it       14·   ·investigative work; all of that was part of the
15·   ·encapsulated.· We were probably trying to keep it     15·   ·conversation.
16·   ·short and concise, but we did -- we did work on       16·   · · · · · · He wanted to be -- he wanted to have a
17·   ·this vision based upon what both Mr. Gertz and        17·   ·presence in Washington, he wanted to buy real
18·   ·Lianchao had told us about him and what his sort      18·   ·estate in Washington, he wanted to buy a very
19·   ·of ambitions were for remaining in the United         19·   ·large bank building in Washington right across
20·   ·States.                                               20·   ·from the White House, he wanted to buy a huge
21·   · · · Q.· · So did you and Dr. Waller create this      21·   ·house in Washington.· All of these things were
22·   ·document after your meeting with Mr. Han and          22·   ·part of his sort of image building.
23·   ·Mr. Gertz?                                            23·   · · · Q.· · And those were his ideas?
24·   · · · A.· · Yes.                                       24·   · · · A.· · Yes.
25·   · · · Q.· · And how did that collaboration come        25·   · · · Q.· · But you hadn't met with Mr. Guo before


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 14 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 38                                                      Page 40
·1·   ·this meeting, right?                                  ·1·   ·been.
·2·   · · · A.· · No.· But the meeting went on for hours     ·2·   · · · Q.· · What do you remember about that?
·3·   ·and hours and hours.· You're asking what was the      ·3·   · · · A.· · I remember that we discussed that Miles
·4·   ·content of the meeting.                               ·4·   ·Guo said that he had a number of people that he
·5·   · · · Q.· · Yes.                                       ·5·   ·wanted to know more about that were in mainland
·6·   · · · A.· · Yes, that's what I'm saying.               ·6·   ·China, but we didn't have any specifics at that
·7·   · · · Q.· · So was this document written during the    ·7·   ·time what he was talking about.
·8·   ·meeting or before?                                    ·8·   · · · Q.· · Did Strategic Vision mention that it
·9·   · · · A.· · I think this one may have been -- may      ·9·   ·could provide that information or that it had
10·   ·have been before, but -- yes, I think it was          10·   ·that capability?
11·   ·before, because it doesn't mention the real           11·   · · · A.· · I don't recall.· It could have.
12·   ·estate and so forth that he got into during the       12·   · · · Q.· · Turning to the last page there, SV79.
13·   ·meeting.· So this might have been sort of like        13·   ·It says, "Mr. G should maintain his statesmanlike
14·   ·a -- it is sort of a vision paper, based on a         14·   ·status by not engaging in everyday defense or
15·   ·conversation with Mr. -- with Bill Gertz and with     15·   ·counterattack, and should leave it up to his own
16·   ·Lianchao Han.                                         16·   ·surrogates."
17·   · · · Q.· · What do you recall saying about            17·   · · · · · · Do you see that?
18·   ·Strategic Vision's capabilities and background?       18·   · · · A.· · Where is that?
19·   ·Actually, let's just start with capabilities.         19·   · · · Q.· · It's the first sentence of the last
20·   · · · · · · Do you recall presenting about what        20·   ·paragraph.
21·   ·Strategic Vision could do for Mr. Guo?                21·   · · · A.· · Oh, the regime, yeah.· Okay.· "Those
22·   · · · A.· · We were talking ideologically mostly       22·   ·surrogates will be in journalism, academia,
23·   ·about what could be done to help present his          23·   ·business, policy."· Yes, yes.· Okay.
24·   ·views on communist China, on mainland China.· And     24·   · · · Q.· · Do you remember talking about that
25·   ·so we didn't get into specifics at the very           25·   ·subject at this meeting?

                                                   Page 39                                                      Page 41
·1·   ·beginning.· We just started sort of having an         ·1·   · · · A.· · Probably.
·2·   ·initial conversation about how -- how we felt he      ·2·   · · · Q.· · And what do you remember?
·3·   ·could be represented in Washington and how we         ·3·   · · · A.· · I don't remember precisely.· It's over
·4·   ·could show his positive side.                         ·4·   ·a year ago.
·5·   · · · Q.· · And did you explain what Strategic         ·5·   · · · Q.· · And you don't remember what Mr. Guo
·6·   ·Vision does or how Strategic Vision could help        ·6·   ·said about that, or anybody else?
·7·   ·with that?                                            ·7·   · · · A.· · It was a general, initial conversation
·8·   · · · A.· · Probably.                                  ·8·   ·with somebody that we did not know, and we were
·9·   · · · Q.· · Do you recall what, if anything, you       ·9·   ·asked to produce something that we felt could be
10·   ·said about that?                                      10·   ·a good vision for him to consider, perhaps, yeah.
11·   · · · A.· · Not precisely, no.· Generalities.· This    11·   · · · · · · (Wallop Exhibit 4, Document entitled
12·   ·was someone we just met, and it is the custom in      12·   · · · "Three-Year Timeline" Bates stamped
13·   ·Asia not to dive into a lot of details unless         13·   · · · SVUS000080, marked for identification.)
14·   ·you're asked.                                         14·   · · · Q.· · Do you recognize what's been marked as
15·   · · · Q.· · So did Mr. Lianchao Han or Mr. Guo ask     15·   ·Waller 4?
16·   ·about Strategic Vision's capabilities?                16·   · · · A.· · Yes.
17·   · · · A.· · Eventually.                                17·   · · · Q.· · And what is this document?
18·   · · · Q.· · But not at this meeting?                   18·   · · · A.· · Wallop.
19·   · · · A.· · Not entire -- I don't recall.              19·   · · · Q.· · Oh, sorry, Wallop.· I apologize.· The
20·   · · · Q.· · Okay.                                      20·   ·W.· Wallop 4.
21·   · · · A.· · But they could have, but I don't           21·   · · · A.· · Yes.
22·   ·precisely recall.                                     22·   · · · Q.· · Did you create this document?
23·   · · · Q.· · Was investigatory research discussed in    23·   · · · A.· · Yes.· Mike and I did.
24·   ·any detail at this first meeting?                     24·   · · · Q.· · When was that?
25·   · · · A.· · It could have been.· It could have         25·   · · · A.· · That was at the second meeting with


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 15 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 42                                                      Page 44
·1·   ·Miles Guo.                                            ·1·   · · · A.· · He liked it very much.
·2·   · · · Q.· · So you remember literally typing and       ·2·   · · · Q.· · Does that include all of the items in
·3·   ·creating this document during the meeting?            ·3·   ·this timeline or was he more receptive to some
·4·   · · · A.· · No.· Prior to the meeting.                 ·4·   ·services than others?
·5·   · · · Q.· · Okay.· And when was this second            ·5·   · · · A.· · It was interesting.· He was very keen
·6·   ·meeting?                                              ·6·   ·on having a -- a big, a huge, large presence in
·7·   · · · A.· · Again, I'd have to ask Mike.· I think      ·7·   ·the way of a residence, and then also purchasing
·8·   ·it was -- I know it was in December of 2017.          ·8·   ·the American Security and Trust building across
·9·   · · · Q.· · And who was present?                       ·9·   ·from the Treasury Department in Washington as an
10·   · · · A.· · Dr. Waller, Mike Waller, myself,           10·   ·office building for him.· He liked the idea of
11·   ·Lianchao, and, obviously, Miles Guo.                  11·   ·the Washington-based educational and cultural
12·   · · · Q.· · What was Lianchao's role in the            12·   ·foundation, which we thought might be a good way
13·   ·meeting; was he translating?                          13·   ·of exposing him to or introducing him to
14·   · · · A.· · Yes, mostly.· And explaining, walking      14·   ·Washington and the Hill, and working on a more
15·   ·through some of the explanations, not only the        15·   ·positive anti-communist role.
16·   ·translation, but, again, we were having a             16·   · · · Q.· · And in terms of this real estate
17·   ·generalized conversation.                             17·   ·portion of it, acquiring what, a residence?
18·   · · · Q.· · And just for the clarity of the record.    18·   · · · A.· · Yes.
19·   ·Mr. Han was translating for Mr. Guo?                  19·   · · · Q.· · And also an office building, I guess,
20·   · · · A.· · Yes.· Both ways.                           20·   ·for a foundation?
21·   · · · Q.· · Of course.                                 21·   · · · A.· · Yes.· I just said that.
22·   · · · A.· · Mr. Guo speaks very good English, so he    22·   · · · Q.· · Yes.· I understand.· And so, is that a
23·   ·doesn't really need an interpreter, but it's          23·   ·service that Strategic Vision typically provides
24·   ·better to have one.                                   24·   ·for clients?
25·   · · · Q.· · Did Mr. Han actually read this whole       25·   · · · A.· · Yes, sometimes.

                                                   Page 43                                                      Page 45
·1·   ·document to Mr. Guo and translate it for him; was     ·1·   · · · Q.· · So Strategic Vision will help people
·2·   ·that part of the meeting?                             ·2·   ·locate properties and acquire them?
·3·   · · · A.· · Yes.· I think we walked through each       ·3·   · · · A.· · Correct.
·4·   ·one of these paragraphs, yes.                         ·4·   · · · Q.· · Is that in the D.C. area or nationwide;
·5·   · · · Q.· · And going back to the prior document,      ·5·   ·how does that work?
·6·   ·Exhibit 3.· Was the same process employed where       ·6·   · · · A.· · Yes, both.· D.C. area, nationwide,
·7·   ·Mr. Han, to your understanding, was translating       ·7·   ·globally, whatever.
·8·   ·the document for Mr. Guo?                             ·8·   · · · Q.· · And how was that, let's just call it
·9·   · · · A.· · To my understanding, yes.                  ·9·   ·real estate project, followed up on subsequently?
10·   · · · Q.· · But, obviously, you don't speak            10·   · · · A.· · Well, actually, Lianchao -- I picked up
11·   ·Mandarin, do you?                                     11·   ·Lianchao and Yvette at a hotel downtown off M
12·   · · · A.· · A little bit.· Not as much as I'd like.    12·   ·Street, because she wanted to see all of the
13·   · · · Q.· · Fair enough.· But you're not fluent?       13·   ·properties that we had in mind.· I think it must
14·   · · · A.· · No.                                        14·   ·have been obviously -- honestly I can't remember.
15·   · · · Q.· · Okay.· And so, to the extent you           15·   ·I think it was -- I think it was after this
16·   ·recall, what occurred at this second meeting?         16·   ·second meeting, that she came to Washington, and
17·   · · · A.· · This was a broader timeline based on       17·   ·Lianchao lives in Washington, so we picked him
18·   ·the first meeting and the first vision paper that     18·   ·up, and I had a brochure, a set of brochures of
19·   ·we had in our discussion, and this gave sort of a     19·   ·homes and the office building that we drove
20·   ·menu, so to speak, a la carte, or menu of ideas       20·   ·around, because there are a lot of cameras in
21·   ·as to how we could help Miles Guo, at his             21·   ·Washington.
22·   ·request, to set up sort of a strategic plan for       22·   · · · · · · We put her in the back seat with
23·   ·him.                                                  23·   ·Lianchao.· I have a Jeep, so those windows happen
24·   · · · Q.· · So what was his response to the            24·   ·to have a, whatever it is, sun -- more blacked
25·   ·presentation that you made?                           25·   ·out windows than the front two seats.


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 16 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 50                                                      Page 52
·1·   ·about Evermay for Miles Guo, because it would         ·1·   · · · A.· · That was in that December 2017 time,
·2·   ·have been a perfect, perfect house for Miles.· He     ·2·   ·yes.
·3·   ·could have incorporated his 501(c)(3) in that         ·3·   · · · Q.· · What was -- was it research that was
·4·   ·house, because it was used as a 501(c)(3)             ·4·   ·offered or did Mr. Guo ask for that?
·5·   ·foundation by both Harry Belin and the Japanese       ·5·   · · · A.· · I believe he gave us a name, and I
·6·   ·pharmaceutical couple.                                ·6·   ·believe that we then had an exploratory peek into
·7·   · · · · · · Since there was no movement, we didn't     ·7·   ·what we could find initially.
·8·   ·go any further on it, because Miles obviously         ·8·   · · · Q.· · So what was that exploratory research?
·9·   ·didn't -- I don't know.· I don't know what            ·9·   ·What was done by Strategic Vision?
10·   ·happened.                                             10·   · · · A.· · It was a -- it was done by our team, or
11·   · · · Q.· · You kind of anticipated my next            11·   ·the initial team, before we even had a team, that
12·   ·question.· When did this kind of process stop or      12·   ·was contracted by us.· This was sort of a
13·   ·end?                                                  13·   ·freebie, to take a peek into this individual's
14·   · · · A.· · Miles was mostly really, really anxious    14·   ·name, whatever, background.· And he gave us the
15·   ·to move on the investigative side of the famous       15·   ·name.· I believe it was the number 1 name on the
16·   ·file that you're aware of.                            16·   ·folder that you have.
17·   · · · Q.· · Sure.                                      17·   · · · Q.· · Is that Anita Suen?
18·   · · · A.· · So, on the individuals.· I have no         18·   · · · A.· · Yeah.
19·   ·idea -- he changes his mind all the time, so I        19·   · · · Q.· · And that name was given to someone who
20·   ·have no idea what his change of heart was on          20·   ·has been described by Strategic Vision as the
21·   ·that.                                                 21·   ·leader of Team 1?· Was that the --
22·   · · · Q.· · When did -- if you recall, when did the    22·   · · · A.· · What?· I'm sorry, I don't understand
23·   ·conversation or negotiations pivot to this            23·   ·that question at all.
24·   ·investigatory research area?                          24·   · · · Q.· · Maybe we'll get to it, we can define
25·   · · · A.· · Probably during the second meeting.        25·   ·it.· Let's just put it this way.· Who was that

                                                   Page 51                                                      Page 53
·1·   ·Mike has got a much better memory about these         ·1·   ·information regarding Anita Suen given to to do
·2·   ·things.                                               ·2·   ·the research?
·3·   · · · Q.· · Do you recall how that occurred, was it    ·3·   · · · A.· · Mike.
·4·   ·that Strategic Vision presented its investigatory     ·4·   · · · Q.· · Oh, okay.· Mike Waller?
·5·   ·capabilities and Mr. Guo got excited or did he        ·5·   · · · A.· · Yes.
·6·   ·ask about it; what occurred?                          ·6·   · · · Q.· · Do you know what Mr. Waller did with
·7·   · · · A.· · We were -- again, we were speaking         ·7·   ·that information?
·8·   ·about it in generalities.· It's not something you     ·8·   · · · A.· · Not precisely, no.
·9·   ·boast about.· It's not something you discuss in a     ·9·   · · · Q.· · What understanding at all did you have
10·   ·way that is -- well, it's just not something you      10·   ·of what Mr. Waller would do with that
11·   ·boast about.· You can discuss it, you can discuss     11·   ·information?
12·   ·the activities that can happen, and on a              12·   · · · A.· · He was going to explore some of his
13·   ·hypothetical basis.                                   13·   ·channels.
14·   · · · Q.· · Did there come a time when Strategic       14·   · · · Q.· · Do you know Dr. Waller's what you
15·   ·Vision offered to provide the sample                  15·   ·describe as channels or --
16·   ·investigatory research on this --                     16·   · · · A.· · No, not all of them, no.
17·   · · · A.· · Yes.                                       17·   · · · Q.· · So you don't know all of the --
18·   · · · Q.· · -- vein of services?                       18·   · · · A.· · We have channels.· We both have
19·   · · · A.· · Yes, I believe there was.                  19·   ·channels.· I have channels, he has channels.
20·   · · · Q.· · When was that?                             20·   · · · Q.· · And do you deliberately keep your
21·   · · · A.· · I don't have the date.                     21·   ·channels confidential or secret from one another
22·   · · · Q.· · Just generally, was it in this             22·   ·for --
23·   ·December --                                           23·   · · · A.· · Yes.
24·   · · · A.· · It was in that December --                 24·   · · · Q.· · And why is that?
25·   · · · Q.· · -- 2017 time frame?                        25·   · · · A.· · For security.


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 17 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 70                                                      Page 72
·1·   · · · about the fraud beyond --                        ·1·   · · · Q.· · And which family is that?
·2·   · · · · · · THE WITNESS:· Yes.                         ·2·   · · · A.· · The Al Nahyan family.
·3·   · · · · · · MR. SCHMIDT:· -- what you read in the      ·3·   · · · Q.· · Is that on this list?· I'm sorry, I
·4·   · · · media?                                           ·4·   ·have trouble reading your handwriting.
·5·   · · · · · · THE WITNESS:· Yes.                         ·5·   · · · A.· · Yes, it is.
·6·   · · · Q.· · Okay.· And that's from who; how did you    ·6·   · · · Q.· · That's the one, two, three, four --
·7·   ·hear about that?                                      ·7·   ·fifth one from the top?
·8·   · · · · · · You can look at me.· I'm asking you the    ·8·   · · · A.· · Yes.
·9·   ·questions.                                            ·9·   · · · Q.· · And what did they say to you about
10·   · · · A.· · Privileged -- privileged sources.          10·   ·that?
11·   · · · Q.· · Okay.· So you're refusing to answer        11·   · · · A.· · When I mentioned his name, they said
12·   ·that question based on privilege?                     12·   ·that, yes, they were fully aware of him and that
13·   · · · A.· · Yes.                                       13·   ·it was not a pleasant experience.
14·   · · · Q.· · And what privilege is that?                14·   · · · Q.· · Why were you talking to the Al Nahyan
15·   · · · · · · MR. SCHMIDT:· Do you want to go talk       15·   ·family about Mr. Guo?
16·   · · · about it?                                        16·   · · · A.· · Because Mr. Guo, I believe, had been
17·   · · · · · · THE WITNESS:· Yes.                         17·   ·telling me with this document that he knew all of
18·   · · · · · · MR. SCHMIDT:· Why don't we go off the      18·   ·these people, and I was checking on whether he
19·   · · · record and see what's going on.                  19·   ·did know any of these people.· And so it came up
20·   · · · · · · MR. GRENDI:· I'll tell you what, why       20·   ·that he defrauded the UAE and the family of over
21·   · · · don't we just put a pin in it, and keep          21·   ·$3 billion, as you well know.
22·   · · · going.                                           22·   · · · Q.· · And you didn't agree to keep your
23·   · · · · · · MR. SCHMIDT:· That's fine, too.· Okay,     23·   ·relationship with Mr. Guo confidential when you
24·   · · · we can do it at a break.                         24·   ·were speaking with him?
25·   · · · · · · MS. TESKE:· Let's take a break for a       25·   · · · A.· · That had nothing to do with

                                                   Page 71                                                      Page 73
·1·   · · · quick second.                                    ·1·   ·confidentiality.· He was the one that gave me --
·2·   · · · · · · THE VIDEOGRAPHER:· Off the record at       ·2·   ·he asked me for these references.· I wanted to
·3·   · · · 11:29.                                           ·3·   ·make sure we had a reference on him.· He said
·4·   · · · · · · (Whereupon, a short recess was taken.)     ·4·   ·that he worked very closely with the UAE, and it
·5·   · · · · · · THE VIDEOGRAPHER:· Back on the record      ·5·   ·turned out, I guess, he did.
·6·   · · · at 11:35.                                        ·6·   · · · Q.· · When were these conversations you had
·7·   · · · · · · MR. SCHMIDT:· We just stepped out to       ·7·   ·with the Al Nahyan family?
·8·   · · · discuss if there was any potential privilege     ·8·   · · · A.· · Oh, probably in -- probably about six
·9·   · · · issue.· I think it's more of a                   ·9·   ·months after the contract began.
10·   · · · confidentiality issue.· She had actually         10·   · · · Q.· · So you were checking references on
11·   · · · already revealed the answer to the question      11·   ·Mr. Guo after the agreement was over with?
12·   · · · in response to a prior question.· And I          12·   · · · A.· · Yes.· We had trusted him up until that
13·   · · · think the question when we left was if she       13·   ·time.
14·   · · · knew anything beyond what she had read in        14·   · · · Q.· · Sure.
15·   · · · the public papers, and the answer was yes.       15·   · · · · · · MR. SCHMIDT:· Let's not make any
16·   · · · And I think your next question was, what.        16·   · · · commentary.
17·   · · · And I think Ms. French is ready to respond       17·   · · · · · · MR. GRENDI:· That's fine.
18·   · · · to that.                                         18·   · · · Q.· · Let's go with the next exhibit.
19·   · · · Q.· · Go ahead.· How do you know something       19·   · · · · · · (Wallop Exhibit 6, Document entitled
20·   ·beyond the public record about Mr. Guo allegedly      20·   · · · "Time to Get Them Beginning the
21·   ·stealing $3-1/2 billion from the United Arab          21·   · · · Psycho-Political Campaign For China", marked
22·   ·Emirates?                                             22·   · · · for identification.)
23·   · · · A.· · Based on conversations that I had with     23·   · · · Q.· · Ms. Wallop, do you recognize this
24·   ·members of the family with whom he allegedly          24·   ·document?
25·   ·defrauded them of over $3 billion.                    25·   · · · A.· · Yes, this is one of Mike's documents.


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 18 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 74                                                      Page 76
·1·   · · · Q.· · It's called "Time to Get Them."            ·1·   ·presented?
·2·   · · · · · · Do you know how that title was reached,    ·2·   · · · A.· · Well, it would have been one of the
·3·   ·created?                                              ·3·   ·four -- I mean all four of us.· It would have
·4·   · · · A.· · Yes, yes.                                  ·4·   ·been Lianchao, Guo, myself and Mike.
·5·   · · · Q.· · How's that?                                ·5·   · · · Q.· · Okay.· Do you remember where that --
·6·   · · · A.· · It came as a result of conversations       ·6·   · · · A.· · And possibly Yvette.
·7·   ·with Guo, Lianchao and Mike and myself regarding      ·7·   · · · Q.· · Okay.
·8·   ·the -- regarding the communists working within        ·8·   · · · A.· · I don't remember.
·9·   ·The United States, from China DRC, as well as         ·9·   · · · Q.· · And do you remember where that was?
10·   ·elsewhere.                                            10·   · · · A.· · In his flat, in his apartment at the
11·   · · · Q.· · So in the chronology of meetings we've     11·   ·Sherry-Netherlands.
12·   ·been talking about, was this document created         12·   · · · Q.· · Okay.
13·   ·before the first meeting, the second meeting, the     13·   · · · A.· · All meetings were there with him.
14·   ·third meeting?· When did it --                        14·   · · · Q.· · That's helpful.· So you never met with
15·   · · · A.· · Oh, it had to have been after the          15·   ·Mr. Guo in Washington, D.C.?
16·   ·second or third meeting, because there's this         16·   · · · A.· · No.
17·   ·photograph of Anita here.                             17·   · · · Q.· · Okay.· Let's look at 387.· It says,
18·   · · · Q.· · And that's on SVUS387?· If you look at     18·   ·"build and operate a secret system for
19·   ·the bottom right-hand corner --                       19·   ·micro-targeted intelligence collection and
20·   · · · A.· · Correct.                                   20·   ·analysis."· Do you see that?
21·   · · · Q.· · -- that's where those --                   21·   · · · A.· · Yes.
22·   · · · A.· · Or maybe that's Yvette.· I'm not sure.     22·   · · · Q.· · Is that a service that Strategic Vision
23·   ·No, I think it is Anita.                              23·   ·would provide or someone else?
24·   · · · Q.· · Okay.· Was this a PowerPoint               24·   · · · A.· · Through Mike and his teams, and some of
25·   ·presentation?                                         25·   ·my people, yes.

                                                   Page 75                                                      Page 77
·1·   · · · A.· · Yes.                                       ·1·   · · · Q.· · What do you mean by your people?
·2·   · · · Q.· · And was it presented as a PowerPoint on    ·2·   · · · A.· · Some of my channels, as we discussed
·3·   ·a computer or did you print it out?· How was          ·3·   ·earlier.
·4·   ·it --                                                 ·4·   · · · Q.· · I see.· So in terms of this service,
·5·   · · · A.· · It might have been on a USB key.           ·5·   ·the game plan was for Dr. Waller to do most of
·6·   · · · Q.· · And did you participate in creating        ·6·   ·the research, is that fair to say, through his
·7·   ·this document or did Mr. -- Dr. Waller create it      ·7·   ·channels?
·8·   ·himself?                                              ·8·   · · · A.· · I would say it was equal.
·9·   · · · A.· · Dr. Waller did much of it.· I worked       ·9·   · · · Q.· · Okay.
10·   ·with him on some of it; not all of it, but some       10·   · · · A.· · It depends.· I mean, it depended on
11·   ·of it.                                                11·   ·which target we were working with.
12·   · · · Q.· · So you made edits or --                    12·   · · · Q.· · So I have some understanding of what
13·   · · · A.· · Yes.                                       13·   ·Dr. Waller's process and capabilities were from
14·   · · · Q.· · And when was this presented to -- well,    14·   ·his deposition.· I want to know what -- what it
15·   ·let's start with striking that.                       15·   ·is that you personally would provide as a service
16·   · · · · · · Who was this presented to?                 16·   ·in connection with micro-targeted intelligence,
17·   · · · A.· · Well, this would have been presented to    17·   ·collection and analysis?
18·   ·Guo.                                                  18·   · · · A.· · It depended on which target and which
19·   · · · Q.· · Anyone else?                               19·   ·channels we both used collectively to bring the
20·   · · · A.· · And probably Lianchao.· And, obviously,    20·   ·information together on individuals or documents.
21·   ·myself.· I can't remember if Yvette was in there      21·   · · · Q.· · Right.· And I'm trying to understand
22·   ·or not.· He often didn't want her in the room,        22·   ·what --
23·   ·so, who knows.                                        23·   · · · A.· · I don't --
24·   · · · Q.· · I understand.· But you don't recall        24·   · · · Q.· · -- process --
25·   ·specifically who was in the room when this was        25·   · · · A.· · I can't answer that.


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 19 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 78                                                      Page 80
·1·   · · · Q.· · Well, I didn't even ask a question.· So    ·1·   ·you did, Strategic Vision, to collect
·2·   ·I want you to just wait for me to ask, and then       ·2·   ·information?
·3·   ·you can answer.                                       ·3·   · · · · · · MR. SCHMIDT:· Objection.· She's talked
·4·   · · · A.· · Go ahead.                                  ·4·   · · · about going out and getting Mike Waller and
·5·   · · · Q.· · Yes, thank you.· So I want to              ·5·   · · · putting that together --
·6·   ·understand what part of the process you would         ·6·   · · · · · · MR. GRENDI:· I'm asking about anything
·7·   ·participate in.· What would you do to help in the     ·7·   · · · else.
·8·   ·collection process or accessing of the channels       ·8·   · · · · · · MR. SCHMIDT:· Okay, anything else.
·9·   ·process?                                              ·9·   · · · A.· · Collecting teams.· Collecting teams.
10·   · · · A.· · Collection and gathering.· It was like     10·   · · · Q.· · Let's do it this way.· Setting aside
11·   ·hunting and gathering.· We both did it.               11·   ·what Mr. Waller and his teams did.· Was there any
12·   · · · Q.· · And what would you do in connection        12·   ·other teams accessed to provide information in
13·   ·with this engagement?· What was it that you would     13·   ·connection with this investigatory research?
14·   ·do?                                                   14·   · · · A.· · Yes.
15·   · · · A.· · We would collect --                        15·   · · · Q.· · And who were they?
16·   · · · Q.· · You.                                       16·   · · · A.· · There were some from the U.K., there
17·   · · · A.· · -- through my channels.                    17·   ·were some from Israel, there were some from the
18·   · · · Q.· · Right.                                     18·   ·Middle East, there were some from our networks.
19·   · · · A.· · Him through his channels.                  19·   · · · Q.· · And now I'm talking about you
20·   · · · Q.· · And what channels did you access in        20·   ·personally.
21·   ·connection with this engagement?                      21·   · · · A.· · Yes.
22·   · · · · · · MR. SCHMIDT:· Just to -- objection for     22·   · · · Q.· · Are these people that you personally
23·   · · · a second here.· This is a 30(b)(6).              23·   ·contacted?
24·   · · · · · · THE WITNESS:· I don't understand the       24·   · · · A.· · Yes.
25·   · · · question.                                        25·   · · · Q.· · Okay.· That's all I'm trying to

                                                   Page 79                                                      Page 81
·1·   · · · · · · MR. SCHMIDT:· So you're saying you as      ·1·   ·understand.· Without naming any names, would that
·2·   · · · Strategic Vision, or are you saying you          ·2·   ·involve calling people on the phone or emailing
·3·   · · · French Wallop?· How do you want to do it?        ·3·   ·them?
·4·   · · · · · · MR. GRENDI:· Let's do Strategic Vision.    ·4·   · · · A.· · Rarely.· It's face-to-face.
·5·   · · · · · · MR. SCHMIDT:· Yeah.· I mean, that's        ·5·   · · · · · · MR. SCHMIDT:· Just listen to the
·6·   · · · really the question here.                        ·6·   · · · question.· Don't be distracted by the
·7·   · · · · · · MR. GRENDI:· That's fine.                  ·7·   · · · document for now.
·8·   · · · · · · THE WITNESS:· Okay.                        ·8·   · · · Q.· · And so, in connection with the research
·9·   · · · Q.· · What did Strategic Vision do in terms      ·9·   ·in this matter, how many face-to-face meetings
10·   ·of collection and analysis?                           10·   ·did you have with people in your contacts?· I'm
11·   · · · A.· · That's what we did, we did collection      11·   ·talking about you, Ms. Wallop.
12·   ·and analysis.                                         12·   · · · · · · MR. SCHMIDT:· Objection.
13·   · · · Q.· · So there's no more specificity --          13·   · · · A.· · I have no idea.· Many.
14·   · · · A.· · Through our own sources.                   14·   · · · Q.· · You said you rarely do telephone calls.
15·   · · · Q.· · -- to it than that?· What does that        15·   ·Did you do some in connection with this research
16·   ·mean?                                                 16·   ·agreement?
17·   · · · A.· · How do you put a legal case together?      17·   · · · A.· · No.
18·   ·You have to start with bits and pieces.· So           18·   · · · Q.· · What about internet research, did you
19·   ·that's what we were doing.· We were each              19·   ·do any internet research in connection with this?
20·   ·collecting bits and pieces to make the cases.         20·   · · · · · · MR. SCHMIDT:· Objection.· Her
21·   · · · Q.· · Let me ask it this way.· Did you ask       21·   · · · personally?
22·   ·people in your network, do you know who Anita         22·   · · · Q.· · Strategic Vision.· Did Strategic Vision
23·   ·Suen is?· What do you know about her?                 23·   ·do any internet research in connection with this
24·   · · · A.· · No.                                        24·   ·research?
25·   · · · Q.· · So I'm trying to understand what it is     25·   · · · A.· · Lightly.· That was not our -- that was


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 20 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 82                                                      Page 84
·1·   ·not our way of doing it.                              ·1·   · · · A.· · When Guo threw that whole document down
·2·   · · · Q.· · And what about you personally?             ·2·   ·on the coffee table in his apartment and he said,
·3·   · · · A.· · No.                                        ·3·   ·these are the people I want investigated, these
·4·   · · · Q.· · It says in this document that the first    ·4·   ·are -- I said, where did this list come from?
·5·   ·ten targets are identified, do you see that?          ·5·   ·And he said, I paid $250 million for this list.
·6·   · · · A.· · What page?                                 ·6·   ·I said, wow, okay.· So that's when I knew who the
·7·   · · · Q.· · 387.                                       ·7·   ·first ten targets were.
·8·   · · · A.· · Yes.                                       ·8·   · · · · · · MR. GRENDI:· Let's do Exhibit 7.
·9·   · · · Q.· · What did you understand that to mean?      ·9·   · · · · · · (Wallop Exhibit 7, Document entitled
10·   · · · A.· · Well, Guo gave us -- Miles Guo gave us     10·   · · · "1:· Anita Yiu Suen", marked for
11·   ·a large packet of names, and, in that -- in the       11·   · · · identification.)
12·   ·first ten, which they upped it to 15 in the first     12·   · · · Q.· · Do you recognize what's been marked as
13·   ·month, but the first ten targets were identified,     13·   ·Wallop 7?
14·   ·and then they changed their mind and asked for 15     14·   · · · A.· · Correct, I do.
15·   ·for the first month.· So that's -- those were his     15·   · · · Q.· · And is this the document that you just
16·   ·targets.                                              16·   ·said Mr. Guo threw down on the table?
17·   · · · Q.· · So these ten targets, are those            17·   · · · A.· · It looks like it.
18·   ·referred to as fish in the signed research            18·   · · · Q.· · Okay.· So, to your recollection,
19·   ·agreement?                                            19·   ·Mr. Guo threw a paper copy of this document onto
20·   · · · A.· · Correct.                                   20·   ·a table at some point during a meeting?
21·   · · · Q.· · And it says, "monitor the ten targets      21·   · · · A.· · No, on -- onto his coffee table in his
22·   ·for several months to understand their habits,        22·   ·sun room, yes.
23·   ·patterns, personal and professional networks,         23·   · · · Q.· · When was that?
24·   ·businesses and corruption."· Do you see that?         24·   · · · A.· · During the -- probably the second or
25·   · · · A.· · Correct.                                   25·   ·third meeting we had with him in New York, in

                                                   Page 83                                                      Page 85
·1·   · · · Q.· · Who would do that work of monitoring?      ·1·   ·December of 2017.
·2·   · · · A.· · Our team.                                  ·2·   · · · Q.· · So did you keep that paper copy that
·3·   · · · Q.· · And by our team, what encompasses the      ·3·   ·was thrown on the table?
·4·   ·Strategic Vision team for this research               ·4·   · · · A.· · Well, I had this copy, I mean, the copy
·5·   ·agreement?                                            ·5·   ·of the copy.· I mean, the original that he gave
·6·   · · · · · · MR. SCHMIDT:· Objection.· Go ahead.        ·6·   ·us.
·7·   · · · A.· · The particular team, we called it Team     ·7·   · · · Q.· · I see.· So you retained a paper copy of
·8·   ·1, and that's what they were assigned to do.          ·8·   ·what's been marked as Wallop 7?
·9·   · · · Q.· · So Team 1 was assigned the monitoring      ·9·   · · · A.· · That's correct.
10·   ·of the ten targets referred to here?                  10·   · · · Q.· · And was that -- that was before the
11·   · · · A.· · Correct.                                   11·   ·contract was signed, right, the research
12·   · · · Q.· · Okay.· And do you know the name of         12·   ·agreement that's the subject of this action?
13·   ·anyone on Team 1?                                     13·   · · · A.· · No.· I think we -- I saw the document,
14·   · · · A.· · No.                                        14·   ·but we didn't get the full document because of
15·   · · · Q.· · Do you know the leader of Team 1, the      15·   ·the famous flash drives that were corrupted --
16·   ·name of the leader of Team 1?                         16·   · · · Q.· · Right, but --
17·   · · · A.· · I know his acronym.· I don't know his      17·   · · · A.· · -- by Yvette.
18·   ·name, his full name.· This was through Mike.          18·   · · · Q.· · -- I just want to understand what
19·   · · · Q.· · So you don't know the full name of the     19·   ·happened to the paper version that was --
20·   ·leader of Team 1?                                     20·   · · · A.· · Oh, I didn't -- he didn't give that to
21·   · · · · · · MR. SCHMIDT:· Yes or no, if you know.      21·   ·us at the time.· He kept his copy.
22·   · · · Q.· · I'm asking a yes or no.                    22·   · · · Q.· · You didn't receive --
23·   · · · A.· · No.                                        23·   · · · A.· · No, no, no --
24·   · · · Q.· · So, specifically, do you know when the     24·   · · · Q.· · -- a paper copy from him?
25·   ·first ten targets were identified?                    25·   · · · A.· · -- no, no, no.· He just showed it to


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 21 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 86                                                      Page 88
·1·   ·us.                                                   ·1·   · · · A.· · I don't remember.· I don't know
·2·   · · · Q.· · I see.                                     ·2·   ·precisely.
·3·   · · · A.· · He threw his copy down on the table.       ·3·   · · · Q.· · Okay.· And you don't remember
·4·   · · · Q.· · And this was at the second or third        ·4·   ·discussing whether -- what the political weapon
·5·   ·meeting?                                              ·5·   ·would be?
·6·   · · · A.· · Yeah.                                      ·6·   · · · A.· · Well, a political weapon, which is what
·7·   · · · Q.· · Okay.                                      ·7·   ·Guo wanted to use towards his investigation of
·8·   · · · A.· · Yes.                                       ·8·   ·these individuals.· He was going to use it
·9·   · · · Q.· · And you did not retain a copy from that    ·9·   ·against them, for whatever purpose.
10·   ·meeting?                                              10·   · · · Q.· · But you don't know the purpose?
11·   · · · A.· · No.                                        11·   · · · A.· · Not entirely.
12·   · · · Q.· · And did you go through the paper copy      12·   · · · Q.· · Okay.· A couple of bullets down it
13·   ·that was on the table?                                13·   ·says, "Break the Party's control of corrupt
14·   · · · A.· · With him?                                  14·   ·information" -- or "corruption information" I
15·   · · · Q.· · Yes.· Or on your own.                      15·   ·should say.· Do you see that?
16·   · · · A.· · Well, we glanced at it.· Mike was          16·   · · · A.· · Yes.
17·   ·there.· We glanced at it to try to get an idea as     17·   · · · Q.· · What is "the Party's control"?· Which
18·   ·to who it was, what it was.                           18·   ·party are we talking about there?
19·   · · · Q.· · We'll come back to this.· Going back to    19·   · · · A.· · Talking about the communist party.
20·   ·Exhibit 6.· On 387, it says, "Document everything     20·   · · · Q.· · And what control of corruption
21·   ·as leverage to gain concessions, protect people,      21·   ·information does the communist party have?
22·   ·use as political weapon, or as aid in criminal        22·   · · · A.· · Well, Guo had said that the CCP, or the
23·   ·prosecution and asset recovery."                      23·   ·communist party of China, there was a great deal
24·   · · · · · · Do you see that, it's the fourth or        24·   ·of corruption within the leadership, and, as a
25·   ·fifth bullet down?                                    25·   ·result of that, he wanted to find as much

                                                   Page 87                                                      Page 89
·1·   · · · A.· · I don't have it.                           ·1·   ·corruption as possible, and he wanted us to
·2·   · · · Q.· · Oh, I'm sorry.                             ·2·   ·investigate and retrieve that kind of corruption.
·3·   · · · A.· · So, what page?                             ·3·   ·In other words, funds that would have been taken
·4·   · · · Q.· · The same one we've been looking at,        ·4·   ·out of the country illegally, cash payments, all
·5·   ·387.                                                  ·5·   ·of these things that were part of that.
·6·   · · · A.· · So what would you like to look at?         ·6·   · · · Q.· · I understand.· And so going to the next
·7·   · · · Q.· · Where it says, "Document everything as     ·7·   ·page, 388.· It says, "Reduce political threats to
·8·   ·leverage to gain concessions, protect people, use     ·8·   ·yourself and your cause."
·9·   ·as political weapon, or as aid in criminal            ·9·   · · · · · · What did you understand is the
10·   ·prosecution and asset recovery"?                      10·   ·political threats to whoever yourself or your
11·   · · · A.· · Correct.                                   11·   ·cause is there?
12·   · · · Q.· · What is the -- what was that about;        12·   · · · A.· · That was to Guo.
13·   ·what does that mean in terms of the services to       13·   · · · Q.· · Okay.
14·   ·be provided?                                          14·   · · · A.· · Political threats to Guo and Guo's
15·   · · · A.· · This was what Mike was referring to        15·   ·cause.
16·   ·with regard to the Team 1.                            16·   · · · Q.· · And what were those political threats?
17·   · · · Q.· · So Team 1 was going to?                    17·   · · · A.· · Well, he said that they were monetary
18·   · · · A.· · Take a look at that, yes.                  18·   ·and political, and that many people were after
19·   · · · Q.· · And what kind of leverage was sought?      19·   ·him either for monetary damages or corruption,
20·   · · · A.· · I guess, criminal leverage, depending      20·   ·both by the Chinese officials as well as,
21·   ·upon the individuals that we were investigating,      21·   ·perhaps, his own corruption issues.· I don't
22·   ·per Guo's instructions.                               22·   ·know.
23·   · · · Q.· · It also says "protect people."· What       23·   · · · Q.· · Did you look into that at all in terms
24·   ·was -- to your mind, what was the -- what was         24·   ·of --
25·   ·that about?                                           25·   · · · A.· · This was a preliminary -- this was a


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 22 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                   Page 90                                                      Page 92
·1·   ·preliminary document that Mike had put together;      ·1·   ·with Russian opposition and Chinese expats?
·2·   ·so, no, we were not under contract to look into       ·2·   · · · A.· · Through me and certain ideas that we
·3·   ·it.                                                   ·3·   ·had to combine our ideological belief in
·4·   · · · Q.· · Okay.· So you didn't do any work           ·4·   ·democracy.
·5·   ·regarding Mr. Guo or his business prior to --         ·5·   · · · Q.· · And -- right.· How would those ideas be
·6·   · · · A.· · The contract?                              ·6·   ·executed, what sort of --
·7·   · · · Q.· · -- the execution of the contract on or     ·7·   · · · A.· · Through dialogue.
·8·   ·about January 6, 2018?                                ·8·   · · · Q.· · -- activities?
·9·   · · · A.· · No.                                        ·9·   · · · A.· · Through dialogue.
10·   · · · Q.· · You didn't access your network to          10·   · · · Q.· · And you also have links with Chinese
11·   ·determine whether this was someone you wanted to      11·   ·people inside Russia?
12·   ·do business with or not?                              12·   · · · A.· · We would have, yes.
13·   · · · A.· · We had Bill Gertz, who was one of the      13·   · · · Q.· · That's you and Mr. Waller?
14·   ·finest intellects on Chinese corruption, and          14·   · · · A.· · Yes.
15·   ·reporters, journalists, and also Lianchao, again,     15·   · · · Q.· · It says, "for propaganda and
16·   ·of the highest sterling standards.· When they         16·   ·organizational purposes."· Do you see that?
17·   ·asked us to look into it, that's what we did.         17·   · · · A.· · Yes.
18·   ·That was looking into putting together a program      18·   · · · Q.· · What would be the propaganda and
19·   ·that would help somebody that we believed at the      19·   ·organizational purposes?
20·   ·time was absolutely anti-communist.                   20·   · · · A.· · Media and social media, probably.
21·   · · · Q.· · I see.· So you relied up -- let me put     21·   · · · Q.· · So, in other words, messaging of
22·   ·it this way.· Strategic Vision relied upon the        22·   ·anti-communist, pro-democracy rhetoric?
23·   ·recommendation of Bill Gertz and Lianchao Han in      23·   · · · A.· · Correct.
24·   ·terms of deciding to do business with, or             24·   · · · Q.· · Would the Russian opposition group be
25·   ·deciding to enter into the research agreement?        25·   ·involved in collecting investigatory research or

                                                   Page 91                                                      Page 93
·1·   · · · A.· · Correct.                                   ·1·   ·is that a separate group?
·2·   · · · Q.· · Let's just go to SVUS390.                  ·2·   · · · A.· · It would be separate.
·3·   · · · A.· · Um-hum.                                    ·3·   · · · Q.· · Let's go to 394.· It says, "Target
·4·   · · · Q.· · It says, "Network With Russian             ·4·   ·Intelligence Capability:· Cost."
·5·   ·Opposition and Chinese Expats."· Do you see that?     ·5·   · · · · · · These costs here, are these prices that
·6·   · · · A.· · Correct.                                   ·6·   ·Strategic Vision quoted?
·7·   · · · Q.· · Is this a service that you would           ·7·   · · · A.· · In a preliminary discussion, yes.
·8·   ·provide or Mr. Waller would provide?                  ·8·   · · · Q.· · Okay.· So, initially, Strategic Vision
·9·   · · · A.· · Both of us did.                            ·9·   ·was offering $2,805,000 to have two teams monitor
10·   · · · Q.· · Okay.· And why was Strategic Vision        10·   ·one person?
11·   ·recommending that Mr. Guo network with Russian        11·   · · · A.· · Yes.
12·   ·opposition and Chinese expats?                        12·   · · · Q.· · And what would that monitoring entail,
13·   · · · A.· · Well, the photograph that you have         13·   ·just in terms of the types of surveillance or
14·   ·here, that's in this is Mikhail Khodorkovsky.         14·   ·investigatory work?
15·   ·Okay?· Mikhail Khodorkovsky is a client of mine,      15·   · · · A.· · It was hugely complex, and --
16·   ·and he is an anti-Putin and pro-democracy leader,     16·   · · · · · · MR. SCHMIDT:· Keep going.
17·   ·opposition leader for Russia; so, therefore, we       17·   · · · A.· · It was hugely complex, and it had to do
18·   ·felt that this might be a good person for Guo to      18·   ·with all the investigative tentacles that we
19·   ·essentially team up with on certain ideological       19·   ·could reach within our channels.
20·   ·issues.                                               20·   · · · Q.· · So is that the full package of services
21·   · · · Q.· · And how would that synergy or              21·   ·that Strategic Vision could provide in terms of
22·   ·collaboration work?                                   22·   ·monitoring, that's like the full suite, call it
23·   · · · A.· · Through me.                                23·   ·that?
24·   · · · Q.· · Right.· But just a little more             24·   · · · A.· · Except that he didn't accept it.
25·   ·specificity.· How would Mr. Guo, or whoever, team     25·   · · · Q.· · I understand that.· But was this --


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 23 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 102                                                     Page 104
·1·   · · · Q.· · It says, "sign MOU."· That's a             ·1·   · · · Q.· · What, if anything, did you tell Mr. Guo
·2·   ·memorandum of understanding?                          ·2·   ·about an Abu Dhabi princess?
·3·   · · · A.· · That's correct.                            ·3·   · · · A.· · A Saudi -- it was not Abu Dhabi, it was
·4·   · · · Q.· · Is that how Strategic Vision normally      ·4·   ·Saudi.
·5·   ·contracts with its clients?                           ·5·   · · · Q.· · Okay.· What did you --
·6·   · · · A.· · Again, this is a preliminary overview.     ·6·   · · · A.· · To clarify, it's usual we have to
·7·   ·This was a discussion.· We were discussing it         ·7·   ·clarify.
·8·   ·openly in a little meeting that we were having        ·8·   · · · Q.· · Sure.· What did you tell Mr. Guo about
·9·   ·with Mr. Guo.· So this was just sort of a menu of     ·9·   ·a Saudi princess?
10·   ·deciding what we would do and how we would            10·   · · · A.· · She was my roommate.
11·   ·perform.                                              11·   · · · Q.· · That was in college?
12·   · · · Q.· · Does Strategic Vision normally sign        12·   · · · A.· · No, in high school.
13·   ·written agreements with its clients?                  13·   · · · Q.· · And is she a client of Strategic
14·   · · · A.· · Yes.                                       14·   ·Vision?
15·   · · · Q.· · Does Strategic Vision have a standard      15·   · · · A.· · No.
16·   ·contract that it uses for its client engagements?     16·   · · · Q.· · Okay.· Did you tell Mr. Guo that you
17·   · · · A.· · No.                                        17·   ·had, or that Strategic Vision had relationships
18·   · · · Q.· · So you don't have a stock agreement        18·   ·with clients in Saudi Arabia?
19·   ·that you normally use when --                         19·   · · · A.· · Yes.
20·   · · · A.· · No client's the same.                      20·   · · · Q.· · And in Iran?
21·   · · · Q.· · So, prior to signing the research          21·   · · · A.· · Many years ago, in Iran.
22·   ·agreement, did you tell Mr. Guo that you had an       22·   · · · Q.· · What about Turkey?
23·   ·in-house team of investigators at Strategic           23·   · · · A.· · Not a client.· A relationship.
24·   ·Vision?                                               24·   · · · Q.· · And what about Qatar, did you tell him
25·   · · · A.· · This is a fascinating misnomer.            25·   ·you had clients in Qatar?

                                                  Page 103                                                     Page 105
·1·   · · · Q.· · What -- what term is that that you're      ·1·   · · · A.· · I did.· Past tense.· We don't work with
·2·   ·calling --                                            ·2·   ·terrorists.
·3·   · · · A.· · No.                                        ·3·   · · · Q.· · Okay.· What about Republican
·4·   · · · Q.· · -- a misnomer?                             ·4·   ·politicians, did you ever tell Mr. Guo that you
·5·   · · · A.· · No.                                        ·5·   ·worked for Republican politicians?
·6·   · · · · · · MR. SCHMIDT:· Just answer the question.    ·6·   · · · A.· · Many.
·7·   · · · A.· · No.                                        ·7·   · · · Q.· · So you told him you had -- that
·8·   · · · · · · MR. SCHMIDT:· Let him follow -- he'll      ·8·   ·Strategic Vision had worked for --
·9·   · · · follow up if he wants to follow up.              ·9·   · · · · · · MR. SCHMIDT:· Just focus in on what you
10·   · · · Q.· · Okay.· So Strategic Vision does not        10·   · · · told him.
11·   ·have an in-house team of investigators?               11·   · · · A.· · Yes.· I did, yes.
12·   · · · A.· · No.                                        12·   · · · Q.· · So you told Mr. Guo that you had
13·   · · · Q.· · And you never told Mr. Guo that you had    13·   ·provided services to -- that Strategic Vision had
14·   ·20 employees, did you?                                14·   ·provided services to Republican --
15·   · · · A.· · I said that we worked with a team of       15·   · · · A.· · Personally.
16·   ·people.· I did not say that we had 20 employees.      16·   · · · Q.· · -- politicians?
17·   · · · Q.· · Okay.· Did you ever tell him that you      17·   · · · A.· · Personally.· Not Strategic Vision.
18·   ·had strong teams in Europe and the Middle East?       18·   · · · Q.· · Okay.· And what did that entail; that
19·   · · · A.· · Most likely, yes.                          19·   ·was political campaigns or --
20·   · · · Q.· · Again, this is all before signing the      20·   · · · A.· · Political campaigns.
21·   ·research agreement, right?                            21·   · · · Q.· · And I'm going to guess those were
22·   · · · A.· · Yes.                                       22·   ·Republican --
23·   · · · Q.· · And did you tell him you had               23·   · · · A.· · Republican.
24·   ·relationships with an Abu Dhabi princess?             24·   · · · Q.· · -- politicians?
25·   · · · A.· · I said a -- no.                            25·   · · · A.· · Yes, presidential.


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                                                                                  Pages 102..105                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 24 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 106                                                     Page 108
·1·   · · · Q.· · Which president, or nominee?               ·1·   · · · Q.· · I'm just trying to --
·2·   · · · A.· · Beginning -- it's okay, it's on the        ·2·   · · · A.· · There were a lot of drafts running
·3·   ·record.· Beginning with the campaign for              ·3·   ·around at the time, so, and the date is not
·4·   ·President Reagan, President Bush, Dan Quayle,         ·4·   ·right.
·5·   ·obviously President Trump.                            ·5·   · · · Q.· · When did you first start drafting an
·6·   · · · Q.· · Did you tell Mr. Guo about all of these    ·6·   ·agreement in connection with this case?
·7·   ·or some of them?                                      ·7·   · · · A.· · When he asked us to, probably in --
·8·   · · · A.· · Yes.                                       ·8·   ·around the 15th or so of December of 2017, after
·9·   · · · Q.· · Okay.                                      ·9·   ·several meetings.
10·   · · · A.· · He asked.                                  10·   · · · Q.· · Were there any other meetings, other
11·   · · · Q.· · Did you tell him that you had influence    11·   ·than the three we've talked about already, that
12·   ·at the CIA?                                           12·   ·preceded this drafting?
13·   · · · · · · MR. SCHMIDT:· Objection, but go ahead.     13·   · · · A.· · You know, you'd have to ask Mike. I
14·   · · · A.· · I never would have used the word           14·   ·don't think so, no.
15·   ·influence.                                            15·   · · · Q.· · When did you -- when did you do the
16·   · · · Q.· · How would you put it?                      16·   ·first draft?· Don't even worry about this
17·   · · · A.· · Channels.                                  17·   ·document.· I don't know if it is the first draft.
18·   · · · Q.· · In other words, you have contacts at       18·   · · · A.· · When we had the vision documents, those
19·   ·the CIA?                                              19·   ·were sort of the beginning of the discussion.
20·   · · · A.· · Yes.                                       20·   ·This time to get them was also part of the vision
21·   · · · Q.· · And you could get information from them    21·   ·document that was on the flash drive, and it was
22·   ·that could be useful to a client from the CIA?        22·   ·all in the conversation of trying to understand
23·   · · · A.· · No.· That's a trick question.              23·   ·what it was that Guo wanted.
24·   · · · Q.· · No, I'm not trying to trick you. I         24·   · · · Q.· · So how did you go about doing the first
25·   ·didn't -- if it came out that way, it wasn't my       25·   ·draft?· Did you and Mike sit down at a computer

                                                  Page 107                                                     Page 109
·1·   ·intent.                                               ·1·   ·together, or what was the process?
·2·   · · · A.· · Yeah, come on.                             ·2·   · · · A.· · Yes.
·3·   · · · Q.· · I'm trying to understand what your         ·3·   · · · Q.· · Okay.· Where was that, at your home in
·4·   ·channels to the CIA, what their use is?               ·4·   ·Virginia?
·5·   · · · A.· · Information sources that are               ·5·   · · · A.· · Yes.
·6·   ·unclassified.                                         ·6·   · · · Q.· · And you sat together and --
·7·   · · · Q.· · And I would ask you the same question.     ·7·   · · · A.· · Yes.
·8·   ·Did you tell him that you had contacts or             ·8·   · · · Q.· · -- typed it out or --
·9·   ·channels in the state department?                     ·9·   · · · A.· · Sat together and discussed it and...
10·   · · · A.· · Yes.                                       10·   · · · Q.· · Did you -- was it handwritten notes
11·   · · · Q.· · Did you ever tell him that you worked      11·   ·that you later had someone transcribe or did
12·   ·for the CIA?                                          12·   ·you --
13·   · · · A.· · Never.                                     13·   · · · A.· · No.
14·   · · · Q.· · Okay.· Did you ever tell him that          14·   · · · Q.· · -- type it on the computer?
15·   ·Mr. Waller worked for the CIA?                        15·   · · · A.· · No.· We just typed it up while we were
16·   · · · A.· · Never.                                     16·   ·talking.
17·   · · · · · · MR. GRENDI:· Let's go to 8.                17·   · · · Q.· · And did you do the typing or did he?
18·   · · · · · · (Wallop Exhibit 8, Research Agreement,     18·   · · · A.· · He did the typing.
19·   · · · January 1, 2018, marked for identification.)     19·   · · · Q.· · Okay.· And did you keep the original
20·   · · · Q.· · This has been marked Wallop 8.· Do you     20·   ·draft that you created?
21·   ·recognize this document at all?                       21·   · · · A.· · I think this was the draft.· I don't
22·   · · · A.· · This was a draft document to -- to Guo     22·   ·know.
23·   ·initially.                                            23·   · · · Q.· · Okay.· And do you recall giving Wallop
24·   · · · Q.· · Who created it?                            24·   ·8 to Mr. Guo or Lianchao or Ms. Wang?
25·   · · · A.· · I think Mike and I did.                    25·   · · · A.· · I'm sure that we gave it to both of


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                                                                                  Pages 106..109                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 25 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 114                                                     Page 116
·1·   · · · A.· · We just had an agreement of trust          ·1·   ·the wire that was sent?
·2·   ·between us.                                           ·2·   · · · A.· · The wire was not sent until the middle
·3·   · · · Q.· · What were the terms of that agreement?     ·3·   ·of January or so.
·4·   · · · A.· · Probably 50/50, plus expenses.             ·4·   · · · Q.· · Okay.· And was that wire for splitting
·5·   · · · Q.· · And I take it this wasn't a written        ·5·   ·the profits or for something else?
·6·   ·agreement?                                            ·6·   · · · A.· · It was for beginning to start paying
·7·   · · · A.· · No.· We never needed one.                  ·7·   ·the team as well as beginning to pay Mike.
·8·   · · · Q.· · Right.· So when did you and -- well,       ·8·   · · · Q.· · Oh, so it was both?
·9·   ·when did Strategic Vision and Mr. Waller come to      ·9·   · · · A.· · Yeah.· There were two wires.· Maybe
10·   ·this 50/50 split agreement?                           10·   ·there were three wires, yeah.
11·   · · · A.· · Well, after we had the agreement           11·   · · · Q.· · So how much was the wire for the team?
12·   ·finally signed, it had been going off and on, off     12·   ·And I assume that means Team 1?
13·   ·and on during all of December, we didn't know         13·   · · · A.· · The preliminary amount for Team 1 was
14·   ·whether we had an agreement or not.· And then,        14·   ·at least 300,000.
15·   ·when Yvette turned up with the first set of flash     15·   · · · Q.· · And how much of that, if there was a
16·   ·drives that were corrupted, so then I had come to     16·   ·second wire or the same wire, was for Dr. Waller?
17·   ·New York -- we didn't have an agreement, per se.      17·   · · · A.· · Then there was a separate wire for
18·   ·We had a signed agreement.· We had no funds at        18·   ·about 200 for Dr. Waller.· It could have been
19·   ·the time, at the first -- at the tail end of          19·   ·250, I have to look.· We haven't done our tax
20·   ·December, when we were still all talking after        20·   ·thing yet on it.· But about 250.· And then there
21·   ·Christmas.                                            21·   ·was an additional amount for expenses.
22·   · · · · · · And, finally, the funds turned up --       22·   · · · Q.· · How much was that expense amount wire,
23·   ·I'm trying to answer your question here.· When        23·   ·if you recall?
24·   ·the funds turned up in, like, the 2nd or 3rd of       24·   · · · A.· · Well, I think -- we're talking about
25·   ·January of 2018, we still didn't know whether         25·   ·travel, and -- because he had to do a lot of the

                                                  Page 115                                                     Page 117
·1·   ·that was even going to work, and then they turned     ·1·   ·face-to-face collection, and last minute, which
·2·   ·up from somebody we'd never heard of, and so          ·2·   ·costs a lot more; probably between 25 and 50, I
·3·   ·forth and so on.· So we had to sit down and           ·3·   ·can't remember, thousand.
·4·   ·decide what was going to go for the teams that we     ·4·   · · · Q.· · And is that the full extent of the
·5·   ·were going to use and how we were going to            ·5·   ·amount of money that's been paid to Dr. Waller in
·6·   ·allocate the expenses and so forth.                   ·6·   ·connection with the research agreement that's the
·7·   · · · Q.· · So when -- when was the point in time      ·7·   ·subject of this litigation?
·8·   ·when Strategic Vision and Mr. Waller decided how      ·8·   · · · A.· · I think there was a bit more, maybe
·9·   ·they were going to, as you described it, split        ·9·   ·another 50, and that was based on certain
10·   ·the -- split it 50/50?                                10·   ·invoices that he had for -- for things that he
11·   · · · A.· · Not until sometime in January.             11·   ·was -- that we had to pay.
12·   ·Probably the end of January.                          12·   · · · Q.· · I see.· And so what about -- let's just
13·   · · · Q.· · So, well after the contract had been       13·   ·set aside Dr. Waller.· Were there any other costs
14·   ·signed --                                             14·   ·that Strategic Vision incurred in connection with
15·   · · · A.· · Yes.                                       15·   ·this research agreement that didn't go through
16·   · · · Q.· · -- and the --                              16·   ·Dr. Waller or one of his entities?
17·   · · · A.· · We were trying to figure out what          17·   · · · A.· · There were -- there was a lot of travel
18·   ·things were going to cost.                            18·   ·expense for Strategic Vision, face-to-face time
19·   · · · Q.· · You said before that Strategic Vision      19·   ·with these individuals overseas that I had to do.
20·   ·had sent money to Mr. Waller, or Dr. Waller?          20·   ·There was -- there were other entities that were
21·   · · · A.· · When?                                      21·   ·also contracted to retrieve information.
22·   · · · Q.· · I'm asking.· That's what my question       22·   · · · Q.· · Let's go one at a time, I'm sorry to
23·   ·is.                                                   23·   ·hop in.· But what were your -- what were
24·   · · · A.· · No.· I mean...                             24·   ·Strategic Vision's kind of direct travel
25·   · · · Q.· · You said there was a wire.· What was       25·   ·expenses?


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                                                                                  Pages 114..117                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 26 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 118                                                     Page 120
·1·   · · · A.· · Oh, I would say probably at least          ·1·   ·travel, time spent working on this, lots of
·2·   ·50,000.                                               ·2·   ·different meetings with different people to try
·3·   · · · Q.· · And does Strategic Vision have records     ·3·   ·to collect data.
·4·   ·and bank statements that would memorialize or         ·4·   · · · Q.· · Did Strategic Vision ever turn away any
·5·   ·otherwise reflect all these payments you're           ·5·   ·clients because of this engagement?
·6·   ·talking about here today?                             ·6·   · · · A.· · Yes, we did.
·7·   · · · A.· · We would be able to give you an idea as    ·7·   · · · Q.· · When was that?
·8·   ·to what the costs are, yes.                           ·8·   · · · A.· · It was probably in March.
·9·   · · · Q.· · So those records do exist?                 ·9·   · · · Q.· · Of what year?
10·   · · · A.· · The records, the receipts, yes.            10·   · · · A.· · I'm sorry.
11·   ·(*r)· · · MR. GRENDI:· Joe, obviously we're going     11·   · · · Q.· · That's okay.
12·   · · · to call for the production of those              12·   · · · A.· · 2018.
13·   · · · documents, we'll obviously send you a            13·   · · · Q.· · Sure.· March of 2018.· And why did
14·   · · · letter, but to put that on the record.           14·   ·Strategic Vision turn that client away?
15·   · · · Q.· · I'm sorry, you were saying after travel    15·   · · · A.· · Because we were still working on this,
16·   ·expenses, there were other costs as well?             16·   ·we believed.· It could have been February, too.
17·   · · · A.· · Yes.                                       17·   ·I'd have to ask Mike.
18·   · · · Q.· · What were those?                           18·   · · · Q.· · And what's the name of that potential
19·   · · · A.· · The hiring of individuals overseas to      19·   ·client?
20·   ·retrieve certain information that was only --         20·   · · · A.· · I can't tell you.
21·   ·only in the U.K. or in Switzerland or in the          21·   · · · Q.· · So you're refusing to tell me that
22·   ·Middle East.                                          22·   ·because?
23·   · · · Q.· · Okay.· And these are -- this is            23·   · · · A.· · I can't tell you.
24·   ·separate from Team 1?                                 24·   · · · Q.· · No, I'm asking why you're not telling
25·   · · · A.· · Yes.                                       25·   ·me?

                                                  Page 119                                                     Page 121
·1·   · · · Q.· · And what was the cost of, let's just       ·1·   · · · A.· · It's confidential.
·2·   ·say, the team you used to get information out of      ·2·   · · · · · · MR. SCHMIDT:· Can you describe in
·3·   ·the U.K.?                                             ·3·   · · · general terms at all or?
·4·   · · · A.· · It was about 20,000 U.S. dollars.          ·4·   · · · · · · THE WITNESS:· Obviously, I cannot.
·5·   · · · Q.· · Is that a group called Fletcher?           ·5·   · · · · · · MR. SCHMIDT:· Okay.
·6·   · · · A.· · That's correct.                            ·6·   · · · · · · MR. GRENDI:· I mean, obviously, we
·7·   · · · Q.· · Okay.· What about, you said that maybe     ·7·   · · · don't accept that assertion of
·8·   ·a team in Switzerland or somewhere else?              ·8·   · · · confidentiality here, and we'll deal with it
·9·   · · · A.· · Yes.                                       ·9·   · · · at a later date.
10·   · · · Q.· · What was the cost of that other team?      10·   · · · Q.· · So why was it that this confidential
11·   · · · A.· · I'd have to look.· I can't remember.       11·   ·client couldn't be engaged?
12·   ·But it was minimal.· I mean, it wasn't -- it          12·   · · · A.· · We had a lot on our plate.
13·   ·wasn't -- it's like maybe 8, $10,000, something       13·   · · · Q.· · And how much was this potential client
14·   ·like that.                                            14·   ·willing to engage Strategic Vision for?
15·   · · · Q.· · Right.                                     15·   · · · A.· · We hadn't gotten that far.
16·   · · · A.· · Some of it had to be done in cash.         16·   · · · Q.· · So you don't know whether the --
17·   · · · Q.· · How much of it was done in cash?           17·   · · · A.· · No.
18·   · · · A.· · Maybe that amount.                         18·   · · · Q.· · -- potential client was going to be a
19·   · · · Q.· · Eight to 10,000?                           19·   ·valuable one or not?
20·   · · · A.· · Eight to 10,000, perhaps.· I hate cash.    20·   · · · A.· · No, I don't know.· I'd have to -- I'd
21·   · · · Q.· · If you would take a moment, are there      21·   ·have to talk to Mike about it.
22·   ·any other costs that you can think of that            22·   · · · Q.· · Was it Mike's client or your client, or
23·   ·Strategic Vision incurred because of this             23·   ·Strategic Vision's client I should say?
24·   ·research agreement?                                   24·   · · · A.· · We would have shared the client.
25·   · · · A.· · Well, the usual costs, telephone,          25·   · · · Q.· · Okay.· And just generally, can you


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                                                                                  Pages 118..121                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 27 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 130                                                     Page 132
·1·   ·found it silly or ridiculous?                         ·1·   ·high quality original research and prepare
·2·   · · · A.· · I did, but it helped him understand the    ·2·   ·reports on subjects chosen at the client's
·3·   ·concept.                                              ·3·   ·discretion."
·4·   · · · Q.· · It says here that, "Any and all            ·4·   · · · · · · Do you see that in that following
·5·   ·materials provided by the client, that's Eastern      ·5·   ·sentence?
·6·   ·Profit, to the contractor, that's Strategic           ·6·   · · · A.· · Correct, yes.
·7·   ·Vision, will be treated with absolute                 ·7·   · · · Q.· · What original research did Strategic
·8·   ·confidentiality and will not be shared by the         ·8·   ·Vision do in connection with this contract?
·9·   ·contractor with any other entity."                    ·9·   · · · A.· · Based upon what we received, we then
10·   · · · · · · Do you see that in the third paragraph     10·   ·started diving into pulling information.
11·   ·of this research agreement?                           11·   · · · Q.· · When you say we, are you talking about
12·   · · · A.· · Yes.                                       12·   ·the entity Strategic Vision or other people, like
13·   · · · Q.· · What -- how does that work with            13·   ·teams?
14·   ·Strategic Vision in terms of sharing information      14·   · · · A.· · Teams, and Mike and myself.
15·   ·with other entities?                                  15·   · · · Q.· · Was there anyone else that did the
16·   · · · A.· · Well, we had to share it with the          16·   ·research, other than those three entities that
17·   ·teams, in other words, for them to be able to do      17·   ·you just referred to, yourself, Mr. Waller, or
18·   ·the research.                                         18·   ·Dr. Waller, and the teams?
19·   · · · Q.· · Does the contract discuss that at all?     19·   · · · A.· · The groups in -- the individual ones in
20·   · · · A.· · It's very clear.· You can't have an        20·   ·both Europe and in the U.K.
21·   ·agreement -- you can't do the research unless you     21·   · · · Q.· · Is that, you mean Fletcher --
22·   ·give it to the teams to do the research, right?       22·   · · · A.· · Yes.
23·   · · · Q.· · I just asked you if that was in the        23·   · · · Q.· · -- and the other entity that you
24·   ·agreement?                                            24·   ·referred to --
25·   · · · A.· · Yes.                                       25·   · · · A.· · Yes.

                                                  Page 131                                                     Page 133
·1·   · · · Q.· · Where?                                     ·1·   · · · Q.· · -- I guess, in Switzerland?
·2·   · · · A.· · With any other entity.· "Will not be       ·2·   · · · A.· · Yes.
·3·   ·shared by any other entity."· It's not an empty,      ·3·   · · · Q.· · It says, "The contractor will produce
·4·   ·it was a team.· An entity would be the Washington     ·4·   ·complete research reports and provide all
·5·   ·Post, or you, or a third or fourth party that has     ·5·   ·supporting data as indicated below."· Do you see
·6·   ·nothing to do with this research agreement.           ·6·   ·that, two or three sentences down?
·7·   · · · Q.· · So I just want to understand that.· So     ·7·   · · · A.· · Yes.
·8·   ·then, the contractor referred to in the contract      ·8·   · · · Q.· · So was Strategic Vision going to
·9·   ·refers to more than just Strategic Vision?            ·9·   ·produce all the reports or were the teams going
10·   · · · A.· · Our teams.                                 10·   ·to create some of them?
11·   · · · Q.· · Okay.                                      11·   · · · A.· · The teams were going to develop them on
12·   · · · A.· · You understand the teams that we had to    12·   ·the flash drives.· We were not going to do any
13·   ·use.                                                  13·   ·written reports.
14·   · · · Q.· · I'm just trying to understand what the     14·   · · · Q.· · Why wouldn't you do any -- why wouldn't
15·   ·contract says.· Does the contract say anything        15·   ·Strategic Vision do any written reports?
16·   ·about teams?                                          16·   · · · A.· · Because we were trying to keep it as
17·   · · · A.· · Well, if you're in the business, you       17·   ·secure as possible.
18·   ·understand teams are teams, and you have to use a     18·   · · · Q.· · But you understood that the other
19·   ·team with a -- as a part of the contract.· He         19·   ·teams -- strike that.· Let me start over.
20·   ·knew perfectly well what that meant.                  20·   ·Strategic Vision understood that its teams would
21·   · · · Q.· · I just asked you whether the contract      21·   ·create written reports?
22·   ·said it, that's all.                                  22·   · · · · · · MR. SCHMIDT:· Objection.
23·   · · · A.· · I'm not a lawyer.· It wasn't drawn up      23·   · · · A.· · No.
24·   ·by a lawyer.                                          24·   · · · Q.· · No?
25·   · · · Q.· · It says, "The contractor will conduct      25·   · · · A.· · No, it never says anything here about a


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                                                                                  Pages 130..133                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 28 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 134                                                     Page 136
·1·   ·written report.                                       ·1·   · · · confused.· I don't know what you're asking.
·2·   · · · Q.· · No, I know, I understand that.· I'm        ·2·   · · · · · · MR. GRENDI:· All right.· I mean --
·3·   ·trying to understand whether Strategic Vision         ·3·   · · · · · · MR. SCHMIDT:· I think you got to back
·4·   ·understood whether its teams or independent           ·4·   · · · way up and start this over.
·5·   ·contractors would produce written reports?            ·5·   · · · · · · MR. GRENDI:· Well, we're getting -- why
·6·   · · · A.· · We would not produce written reports,      ·6·   · · · don't we do lunch.· We'll start over on
·7·   ·or we had no intention of doing that.· This           ·7·   · · · this.· It's no big deal.
·8·   ·was -- these were face-to-face meetings,              ·8·   · · · · · · THE VIDEOGRAPHER:· Off the record at
·9·   ·face-to-face information, USB flash drives.           ·9·   · · · 12:57.
10·   · · · Q.· · Oh, I understand.                          10·   · · · · · · (Whereupon, a short recess was taken.)
11·   · · · A.· · It was --                                  11·   · · · · · · THE VIDEOGRAPHER:· Back on the record
12·   · · · Q.· · Maybe we're having a semantic --           12·   · · · at 1:01.
13·   · · · A.· · It was Guo's -- sorry.· It was Guo's       13·   · · · Q.· · How did Strategic Vision intend to
14·   ·insistence on the security measure.                   14·   ·deliver the reports described in this research
15·   · · · Q.· · I want to clarify something here.· Do      15·   ·agreement?
16·   ·you understand written to mean just like              16·   · · · A.· · Directly to the designated driver, the
17·   ·something written on a piece of paper as opposed      17·   ·designated agent for Mr. Guo, who was either
18·   ·to electronic?                                        18·   ·going to be Lianchao, then it became Yvette, and
19·   · · · · · · MR. SCHMIDT:· That's how I understood      19·   ·then it became Lianchao again.· So we would give
20·   · · · it.                                              20·   ·it to them or Guo directly on a USB key.
21·   · · · A.· · Yes.                                       21·   · · · Q.· · So there would be electronic documents
22·   · · · · · · MR. SCHMIDT:· That's how the question      22·   ·on a USB?
23·   · · · was.· You went from flash drives to USBs --      23·   · · · A.· · Correct.
24·   · · · · · · MR. GRENDI:· No, hold on.· Hold on.        24·   · · · Q.· · And would any of those documents be a
25·   · · · · · · MR. SCHMIDT:· -- into written reports.     25·   ·report in narrative form?

                                                  Page 135                                                     Page 137
·1·   · · · So a written report is a written report.· It     ·1·   · · · A.· · I never saw them until later, until
·2·   · · · has a standard connotation.· So you might        ·2·   ·after all of this started.· I never saw any of
·3·   · · · have to redo this.                               ·3·   ·the documentation.· Again, compartmentalizing.
·4·   · · · · · · MR. GRENDI:· Yeah, let's -- let's break    ·4·   · · · Q.· · Right.· So Strategic Vision never
·5·   · · · it out.· I didn't get it.· I always think of     ·5·   ·reviewed any of the documents that were delivered
·6·   · · · writing as both.                                 ·6·   ·to either Lianchao Han or Yvette Wang under this
·7·   · · · Q.· · So, including electronic documents, did    ·7·   ·research agreement?
·8·   ·you understand that written materials would be        ·8·   · · · · · · MR. SCHMIDT:· Objection.· Go ahead.
·9·   ·produced?                                             ·9·   · · · A.· · No.
10·   · · · A.· · No.                                        10·   · · · Q.· · And I'll just ask about you personally.
11·   · · · Q.· · So you never -- Strategic Vision never     11·   ·You personally didn't review any of the documents
12·   ·contemplated providing any written materials to       12·   ·that were delivered to Lianchao Han or Yvette
13·   ·Eastern Profit?                                       13·   ·Wang under this research agreement?
14·   · · · A.· · Correct.                                   14·   · · · A.· · No, because of the timing and the
15·   · · · Q.· · So Strategic Vision understood             15·   ·logistics.
16·   ·everything would be conveyed orally to the            16·   · · · Q.· · Okay.· What is financial forensic
17·   ·client?                                               17·   ·historical research?
18·   · · · A.· · Via flash drive.                           18·   · · · A.· · What do you mean?
19·   · · · Q.· · So flash drive would be allowed.           19·   · · · Q.· · Well, it's described here in -- on
20·   ·That's -- I'm including a flash drive as a            20·   ·Eastern 5, on the first page there?
21·   ·writing.· In other words, if something is typed       21·   · · · A.· · Yes.
22·   ·or handwritten on a piece of paper, that's a          22·   · · · Q.· · Have you used that term before in --
23·   ·writing.· Can we agree on that?                       23·   · · · A.· · Yes.
24·   · · · A.· · No.                                        24·   · · · Q.· · -- other research agreements?
25·   · · · · · · MR. SCHMIDT:· I'm actually seriously       25·   · · · A.· · Yes.


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                                                                                  Pages 134..137                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 29 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 138                                                     Page 140
·1·   · · · Q.· · And are these kind of standard terms or    ·1·   ·to our detriment; we said, it was not legal to do
·2·   ·items that would be included in financial             ·2·   ·what he wanted to be done, so.
·3·   ·forensic historical research?                         ·3·   · · · Q.· · So in terms of the -- you understood
·4·   · · · A.· · It would be, particularly if you're        ·4·   ·that the client wanted everything in terms of
·5·   ·looking at information you're trying to get in        ·5·   ·financial forensic historical research?
·6·   ·the way of money laundering or cash purchases;        ·6·   · · · A.· · That's correct.
·7·   ·for instance, there were cash purchases of            ·7·   · · · Q.· · And then you kind of put together this
·8·   ·houses, cash purchases by these fish.· We were        ·8·   ·list here of everything you could think of that
·9·   ·tracking their individual financial spending          ·9·   ·you could access?
10·   ·habits, how they could have a house, how they         10·   · · · A.· · We put together the list first.
11·   ·could have a car, when they only had $2,500 in a      11·   · · · Q.· · Okay.
12·   ·credit card limit.                                    12·   · · · A.· · And then he kept saying he wanted more
13·   · · · · · · I mean, there were multiple layers and     13·   ·and more and more and more.
14·   ·levels of investigation that go on into               14·   · · · Q.· · Oh, so do you recall adding, you know,
15·   ·financial, forensic accounting, or research in        15·   ·different items to this A tab, forensic
16·   ·this case.                                            16·   ·historical research, to include more items that
17·   · · · Q.· · This kind of list of different things      17·   ·he was demanding?
18·   ·that could be researched, including statements,       18·   · · · A.· · No.· He demanded it verbally.
19·   ·capital sources, etc., do you see that list with      19·   · · · Q.· · Okay.
20·   ·all those commas there?                               20·   · · · A.· · I think it was around the 26th of
21·   · · · A.· · Yes.                                       21·   ·January, that, I do remember, where he was
22·   · · · Q.· · Was that a list that you and Dr. Waller    22·   ·insistent; I don't care what it takes, get it,
23·   ·put together in terms of Strategic Vision's           23·   ·get it.· We said, you have to take your time.
24·   ·capabilities?                                         24·   · · · Q.· · And it talks about on the next page,
25·   · · · A.· · What we would have been able to have       25·   ·Eastern 6, progress reports.· It says,

                                                  Page 139                                                     Page 141
·1·   ·researched -- there are two ways of looking at        ·1·   ·"contractor will produce a progress report on" --
·2·   ·it.· Stateside, what anybody can do that is into      ·2·   · · · A.· · Where is this?
·3·   ·this field.                                           ·3·   · · · Q.· · It's the, I guess, the first full
·4·   · · · Q.· · Right.                                     ·4·   ·paragraph on Eastern 6.
·5·   · · · A.· · Versus what you can also do overseas,      ·5·   · · · A.· · Oh, okay.
·6·   ·and they're sort of two different rabbits here.       ·6·   · · · Q.· · What is a progress report?
·7·   · · · Q.· · Does the agreement kind of break out       ·7·   · · · A.· · Verbal conversations that we had with
·8·   ·that difference in terms of U.S. versus foreign?      ·8·   ·him.
·9·   · · · A.· · Somewhere in here, I think it might        ·9·   · · · Q.· · What would be in a verbal progress
10·   ·have.                                                 10·   ·report?
11·   · · · Q.· · Okay.· But just going back to this list    11·   · · · A.· · Telling him what we were doing and how
12·   ·of different types of information on Eastern 5.       12·   ·we were trying to get the teams set up and done
13·   ·Do you recall you and Dr. Waller putting that         13·   ·in the first month.
14·   ·list together, or this --                             14·   · · · Q.· · Has Strategic Vision bargained for
15·   · · · A.· · Yes, we did.· We talked about it, and      15·   ·progress reports in other agreements with other
16·   ·he wrote -- wrote it while we collaborated on it.     16·   ·clients?
17·   · · · Q.· · Do you remember any input from the         17·   · · · A.· · I don't understand the question.· Each
18·   ·other side as to what the financial forensic          18·   ·client is different and each agreement is
19·   ·historical research should include?                   19·   ·different, and so the terms are different.
20·   · · · A.· · They wanted everything, everything we      20·   · · · Q.· · So you've never -- strike that.· Has
21·   ·could get our hands on.                               21·   ·Strategic Vision ever provided progress reports
22·   · · · Q.· · I see.                                     22·   ·to other clients in connection with investigatory
23·   · · · A.· · He was particularly -- Guo was             23·   ·research?
24·   ·particularly insistent that we dive and dive          24·   · · · A.· · Usually we do it the same way, through
25·   ·harder, and dive faster, and dive harder, almost      25·   ·USB key or face-to-face.


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                                                                                  Pages 138..141                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 30 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 150                                                     Page 152
·1·   · · · A.· · It was all done with Team 1.· Team 1       ·1·   ·context?
·2·   ·was doing it.                                         ·2·   · · · A.· · All the information we were mandated to
·3·   · · · Q.· · So Team 1 was assigned the A, B and C      ·3·   ·investigate.
·4·   ·described here on Eastern 5 and 6?                    ·4·   · · · Q.· · And why USB only; was that a Strategic
·5·   · · · A.· · They were assigned the entire menu.        ·5·   ·Vision concept or Mr. Guo or someone else?
·6·   ·That was their job.· Even though it was separated     ·6·   · · · A.· · It was Guo, as well as our own sense of
·7·   ·out, they knew exactly what their mandate was.        ·7·   ·security on this investigation.· We were
·8·   · · · Q.· · And the social media research reports,     ·8·   ·investigating, according to Guo, a number of the
·9·   ·again, is there any distinction between how           ·9·   ·communist Chinese hierarchy leadership and their
10·   ·they're created and the other reports,                10·   ·children in the United States, and it was --
11·   ·conceptually?                                         11·   ·could have been life-threatening for all of us.
12·   · · · A.· · We didn't have time.· We -- what we        12·   ·So it was only on USB key, and, hence, the
13·   ·were pulling in ten days was remarkable.· Nobody      13·   ·security issue.
14·   ·can pull it in ten days.· So you have a               14·   · · · Q.· · Did Strategic Vision understand that
15·   ·three-month contract that you're signed on to,        15·   ·all the fish in Exhibit 7 were living in the U.S.
16·   ·and you believe that you've got three months to       16·   ·or had property in the U.S.?
17·   ·pull the entire set of information retrieval          17·   · · · A.· · Some of -- no.· Some of them did and
18·   ·that's necessary, and you're given ten days,          18·   ·some of them didn't.· I -- you know, you'd have
19·   ·while somebody's squawking about, oh, my, you         19·   ·to go through them individually to see which ones
20·   ·know, it -- it's not all there.                       20·   ·have what.
21·   · · · · · · Well, it can't possibly be all there.      21·   · · · Q.· · And so is that why Strategic Vision
22·   ·Nobody can have it there in ten days.· You can't      22·   ·needed a U.S. team, because there was
23·   ·build a team, collect the beginnings of all of        23·   ·U.S.-located fish?
24·   ·these things, unless you want to be shut down         24·   · · · A.· · There was U.S.-located information,
25·   ·immediately.                                          25·   ·like fake passport numbers, fake Social Security

                                                  Page 151                                                     Page 153
·1·   · · · Q.· · I just want to be clear, though.· Did      ·1·   ·numbers, fake names, Chinese, fake.· A lot of
·2·   ·Strategic Vision deliver any social media             ·2·   ·fakes.
·3·   ·research reports?                                     ·3·   · · · Q.· · In the United States?
·4·   · · · A.· · I'm sure we did, somewhere.                ·4·   · · · A.· · In the United States.· On the list that
·5·   · · · Q.· · Did you verbally deliver a social media    ·5·   ·Guo gave us.
·6·   ·research report to the client?                        ·6·   · · · Q.· · It says on Eastern 7 that, "the
·7·   · · · A.· · I believe we did.                          ·7·   ·contractor guarantees that all information
·8·   · · · Q.· · When would that have been?                 ·8·   ·provided is genuine."· Do you see that?
·9·   · · · A.· · Sometime during -- between December and    ·9·   · · · A.· · Yes.
10·   ·January of 2017, '18.· They were verbally,            10·   · · · Q.· · It's in the criteria section.
11·   ·verbally.· And we may have had some                   11·   · · · A.· · Sure.
12·   ·documentation.· I can't remember.                     12·   · · · Q.· · How does Strategic Vision guarantee
13·   · · · Q.· · And what about current tracking            13·   ·that its information is genuine?
14·   ·research, how was that conveyed to Ms. Wang or        14·   · · · A.· · Based upon the individuals from whom we
15·   ·Lianchao Han?                                         15·   ·were retrieving the information, providing of
16·   · · · A.· · Mike did it with the USB key.              16·   ·course we were given -- not given fake names and
17·   · · · Q.· · And that was on January 30th of 2018?      17·   ·fake passports and fake criteria to investigate.
18·   · · · A.· · Yes.                                       18·   · · · Q.· · I just want to understand Strategic
19·   · · · Q.· · Any other time?                            19·   ·Vision's process, though.· How does it normally
20·   · · · A.· · Yes, there was another USB key earlier,    20·   ·go about guaranteeing the genuineness of the
21·   ·I think.                                              21·   ·information being provided to its clients?
22·   · · · Q.· · It says on Eastern 7 that "all             22·   · · · A.· · Because we trust our sources, and our
23·   ·deliverables shall be by USB drive only."             23·   ·sources do not make up nonsense.
24·   · · · A.· · Correct.                                   24·   · · · Q.· · Does Strategic Vision ever do any
25·   · · · Q.· · What does deliverables mean in that        25·   ·cross-checking or verification of the information


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                                                                                  Pages 150..153                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 31 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 154                                                     Page 156
·1·   ·provided by its sources?                              ·1·   ·your sort of date of birth, and we turn around
·2·   · · · A.· · That's part of the idea that we had        ·2·   ·and we find out really your name is Joe Schmidt,
·3·   ·with having Team 1 and Team 2.                        ·3·   ·and you were born in a totally different place,
·4·   · · · Q.· · That's what you're talking about with      ·4·   ·then we have to then rejig the entire system that
·5·   ·the -- how to get them document?                      ·5·   ·we're working with.
·6·   · · · A.· · Yeah.· It's cross-checking, it's making    ·6·   · · · · · · That's why it was extremely -- not
·7·   ·sure, double verifying the same fact.· You have a     ·7·   ·just -- it wasn't just frustrating, but it was an
·8·   ·birthday over here and you have a birthday over       ·8·   ·extremely complex situation that you couldn't
·9·   ·there.· They should be the same birthday.· If         ·9·   ·just do like you're checking somebody's credit
10·   ·they're not, there's something that we need to        10·   ·report or Better Business Bureau thing.· You just
11·   ·look at on a secondary basis.                         11·   ·couldn't.
12·   · · · · · · If you have a passport number over         12·   · · · Q.· · Well, just going back to Wallop 7.
13·   ·here, a U.S. passport, a U.S. visa number over        13·   · · · A.· · Whatever that is.
14·   ·here, and it doesn't match what we have within        14·   · · · Q.· · You're saying that -- that's the list
15·   ·the state department, there's an issue.· So we        15·   ·of fish?
16·   ·have to then go down that rabbit hole.                16·   · · · A.· · Yes.
17·   · · · Q.· · And that's a synthesis or an analysis      17·   · · · Q.· · You could take a look back at it if you
18·   ·process that Strategic Vision typically does with     18·   ·want, but I don't think it's necessary.
19·   ·the information it's getting from its sources?        19·   · · · A.· · No.· I sort of know these fish by now.
20·   · · · A.· · That's correct.                            20·   · · · Q.· · I was going to say, so how many of the
21·   · · · Q.· · I see.· And that's how Strategic Vision    21·   ·fish were -- was Strategic Vision provided with
22·   ·typically feels comfortable guaranteeing that all     22·   ·correct information for?
23·   ·the information is genuine?                           23·   · · · A.· · Well, I can tell you, you can see some
24·   · · · A.· · That's correct.                            24·   ·of my notes on here.· Some of these -- for
25·   · · · Q.· · Did Strategic Vision have an               25·   ·instance, on page 3, you have Anita.

                                                  Page 155                                                     Page 157
·1·   ·opportunity to verify that the information being      ·1·   · · · Q.· · Yes.
·2·   ·provided was genuine in this instance?                ·2·   · · · A.· · Her real mother is Mingduan Yao.· Her
·3·   · · · A.· · Yes and no.                                ·3·   ·adoptive parents, because that's done a lot in
·4·   · · · Q.· · Okay.· How does that work; which part      ·4·   ·this basket, are Frank Suen, and then -- then
·5·   ·is yes and which part is no?                          ·5·   ·the -- the mother -- sorry, the mother is
·6·   · · · A.· · Okay.· Of course.· Yes, we could verify    ·6·   ·Mingduan Yao, and then the father of the sister,
·7·   ·in many cases that the information was correct,       ·7·   ·Mingshan -- Mingshan Yao.· These are the real
·8·   ·and then, if we found that it was incorrect, we       ·8·   ·parents of this girl, okay?· But, in certain
·9·   ·would have to, like, double-check it.                 ·9·   ·documentation, it's showing that these people
10·   · · · Q.· · No, I'm asking about what happened in      10·   ·are, in fact, her mother and father (indicating).
11·   ·this instance, with this research agreement.· Was     11·   ·They're not.· They're her adopt -- adoptive
12·   ·Strategic Vision able to determine that the           12·   ·parents.
13·   ·information being provided back to the client was     13·   · · · · · · Then if you go to here, if you go on to
14·   ·genuine?                                              14·   ·page 4, and it shows 1990 as her, I guess, entry,
15·   · · · A.· · Yes.                                       15·   ·because I don't have the note on here; 1990 is
16·   · · · · · · MR. SCHMIDT:· Objection, but go ahead.     16·   ·her -- maybe her entry into the United States
17·   · · · A.· · Yes.                                       17·   ·visa.· The Social Security number, if I recall
18·   · · · Q.· · How did Strategic Vision do that?          18·   ·correctly, and this is only on recall --
19·   · · · A.· · Because we compared apples and oranges     19·   · · · Q.· · Sure.
20·   ·and made sure that they were one and the same, as     20·   · · · A.· · -- was, in fact -- here we go, on page
21·   ·far as information that we were turning over          21·   ·5, it shows it, had the same Social Security
22·   ·based on -- you have to understand, if we're told     22·   ·number as a woman named Eileen Rodriguez, at the
23·   ·your name is John Smith, and we're given              23·   ·same address where this woman Anita was living.
24·   ·information on these documents from Guo that your     24·   · · · · · · So then again, this is just one tidbit
25·   ·name is John Smith, with a photograph and all of      25·   ·of one fish, or one person that you have to start


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                                                                                  Pages 154..157                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 32 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 166                                                     Page 168
·1·   ·our time.                                             ·1·   ·it is.
·2·   · · · Q.· · But if the compensation is monthly, and    ·2·   · · · Q.· · Yeah, Eastern 9 is the Bates number.
·3·   ·time-based, essentially, is there any period          ·3·   · · · A.· · Okay, yes.
·4·   ·where irregular circumstances would result in a       ·4·   · · · Q.· · Do you see where it says, "It is
·5·   ·pause of the client's obligation to make payment?     ·5·   ·understood that client may direct other entities
·6·   · · · · · · MR. SCHMIDT:· Objection.· It's been        ·6·   ·to pay the contractor"?· It's in the --
·7·   · · · answered, but go ahead.                          ·7·   · · · A.· · Yes.
·8·   · · · A.· · I'd like to ask any law firm.· Give me     ·8·   · · · Q.· · What was the purpose of this clause?
·9·   ·a break.                                              ·9·   · · · A.· · Well, it was very simple, but,
10·   · · · Q.· · Well, I'm asking you the question,         10·   ·apparently, Mr. Guo didn't understand how
11·   ·though, so, please.                                   11·   ·important it was.
12·   · · · A.· · Well, you can ask the question, but I'm    12·   · · · Q.· · Well, why was this clause inserted into
13·   ·telling you, it's just like a law firm, we            13·   ·the agreement; what was the meaning of it?
14·   ·operate in the same way.                              14·   · · · A.· · Because we had told him that, and they
15·   · · · · · · MR. SCHMIDT:· That's the answer.· You      15·   ·had told us that it was coming through a William
16·   · · · got your answer.                                 16·   ·Wu in London from their account somewhere else in
17·   · · · · · · MR. GRENDI:· I'm gonna just clean it       17·   ·the U.K. or Europe, and we had told them
18·   · · · up.· Thank you.                                  18·   ·explicitly that it should not come from Hong Kong
19·   · · · Q.· · So, in your mind, or in Strategic          19·   ·or an Asian account; and, guess what, it did, and
20·   ·Vision's understanding, it's compensated for the      20·   ·that was because of the mainland Chinese
21·   ·time it spends trying to do research, not based       21·   ·intelligence services then finding out who Guo
22·   ·upon what's actually delivered?                       22·   ·and his people in Hong Kong were paying for this
23·   · · · · · · MR. SCHMIDT:· Objection.                   23·   ·kind of -- for a contract, let's just put it that
24·   · · · A.· · Yes.                                       24·   ·way.
25·   · · · Q.· · What's the cost of a report under this     25·   · · · Q.· · So was the purpose of this clause to

                                                  Page 167                                                     Page 169
·1·   ·research agreement?                                   ·1·   ·prevent the Chinese communist party from finding
·2·   · · · A.· · Well, you have it here.· It's listed.      ·2·   ·out about this relationship?
·3·   ·It's complex, depending upon the menu that he         ·3·   · · · A.· · Yes, for our safety and the safety of
·4·   ·chose to work with.                                   ·4·   ·our -- our contractors or our teams.
·5·   · · · Q.· · Are you looking on page -- well,           ·5·   · · · Q.· · Was it ever contemplated that the money
·6·   ·Eastern 8?                                            ·6·   ·would come to an entity other than Strategic
·7·   · · · · · · MR. SCHMIDT:· There's a knocking on the    ·7·   ·Vision, to protect Strategic Vision's identity?
·8·   · · · door.                                            ·8·   · · · A.· · Yes.· It was supposed to come from a
·9·   · · · · · · THE WITNESS:· Saved by your knock.         ·9·   ·U.K. account to our account, from -- from him,
10·   · · · · · · MR. GRENDI:· Let me see if that's it.      10·   ·from Guo, through his money manager in the U.K.,
11·   · · · We'll go off.· I think it's about time.          11·   ·as we understood it.
12·   · · · · · · THE VIDEOGRAPHER:· Off the record at       12·   · · · Q.· · When was that discussed?
13·   · · · 1:42.                                            13·   · · · A.· · It was discussed when -- just before we
14·   · · · · · · (Whereupon a luncheon recess was           14·   ·agreed to the contract, to the terms of the
15·   · · · taken.)                                          15·   ·contract, or the agreement.· We shouldn't call it
16·   · · · · · · THE VIDEOGRAPHER:· Back on the record      16·   ·a contract, as it's an agreement.
17·   · · · at 2:30.                                         17·   · · · Q.· · And how did that issue come up; did you
18·   · · · Q.· · Good afternoon.· Ms. Wallop, you still     18·   ·bring it up or was it --
19·   ·understand that you're under oath?                    19·   · · · A.· · Mike and I both raised it.
20·   · · · A.· · Yes.                                       20·   · · · Q.· · Okay.· And what was just the substance
21·   · · · Q.· · On this Exhibit Number 9, on page          21·   ·of that discussion?
22·   ·Eastern 9.                                            22·   · · · A.· · The security fact that it was dangerous
23·   · · · A.· · Just a second.                             23·   ·for all of us to be connected with him based upon
24·   · · · Q.· · I think it's right in front of you.        24·   ·the investigation that we would be doing, and if
25·   · · · A.· · Oh, okay.· Number 9, page 9, whatever      25·   ·that investigation of the mainland Chinese


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                                                                                  Pages 166..169                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 33 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 170                                                     Page 172
·1·   ·hierarchy and their families was disclosed as a       ·1·   · · · Q.· · Was that on January 6th, the day it was
·2·   ·result of the funding that he was doing to us         ·2·   ·signed?
·3·   ·directly.                                             ·3·   · · · A.· · I think so.
·4·   · · · Q.· · Did you ever consider, on the recipient    ·4·   · · · Q.· · And how did that come up?
·5·   ·side, using another entity to receive the money,      ·5·   · · · A.· · Yvette said that was who was going to
·6·   ·other than Strategic Vision?                          ·6·   ·be signing it.
·7·   · · · A.· · No.· The agreement was with Strategic      ·7·   · · · Q.· · What did you say in response to that,
·8·   ·Vision.· We had no idea who Eastern was.              ·8·   ·if anything?
·9·   · · · Q.· · Let me ask you about the next sentence     ·9·   · · · A.· · I asked her, I said, who's Eastern
10·   ·there.· It says, "all client payments must be         10·   ·Profit?· She said, Mr. Guo's company, or some
11·   ·received by the contractor by wire transfer           11·   ·such thing.
12·   ·within five business days of invoice," do you see     12·   · · · Q.· · Then you checked where Eastern Profit
13·   ·that?                                                 13·   ·Corporation Limited was incorporated?
14·   · · · A.· · Yes.· Somewhere.                           14·   · · · A.· · If I recall, when we were in the
15·   · · · Q.· · It's the last sentence in that             15·   ·federal court, you didn't know where --
16·   ·paragraph.                                            16·   · · · Q.· · I'm asking you a question.
17·   · · · A.· · Yes.                                       17·   · · · A.· · No, I'm --
18·   · · · Q.· · Did Strategic Vision issue any invoices    18·   · · · · · · MR. SCHMIDT:· Just answer --
19·   ·to Eastern?                                           19·   · · · A.· · I'm trying to answer it.· I don't know
20·   · · · A.· · We were -- no.                             20·   ·because I couldn't find anything; when we went to
21·   · · · Q.· · So there was never a time when             21·   ·sort of look it up, there wasn't anything that we
22·   ·Strategic Vision sent an invoice document saying      22·   ·could find in this country.
23·   ·you owe this money to us, to Strategic -- or to       23·   · · · Q.· · What I'm asking is, did you look up
24·   ·Eastern Profit, excuse me?                            24·   ·Eastern Profit Corporation Limited on January 6,
25·   · · · A.· · That's when Lianchao was involved, and     25·   ·2018, did you try to figure out where it was from

                                                  Page 171                                                     Page 173
·1·   ·he explicitly told Guo that he did owe the            ·1·   ·then?
·2·   ·amount.· We never got paid for January, we never      ·2·   · · · A.· · No.
·3·   ·got paid for February.· We had the agreement,         ·3·   · · · Q.· · Did you know it was domiciled in China?
·4·   ·which outlined the terms.· We gave Guo the first      ·4·   · · · A.· · I had no idea.· They certainly didn't
·5·   ·two weeks, essentially, free on our own ticket.       ·5·   ·reveal that to us, as they should have.
·6·   ·So from the 16th to the 26th was ten days that we     ·6·   · · · Q.· · Did you ask them where it was
·7·   ·were into the contract.· So if you've taken it        ·7·   ·domiciled?
·8·   ·from the 16th of January to the 16th of February,     ·8·   · · · A.· · Yvette didn't know.
·9·   ·that's when an invoice technically should have        ·9·   · · · Q.· · I'm asking if you asked?
10·   ·gone out to him.· But we believed we were still       10·   · · · A.· · I asked Yvette.· She didn't know.
11·   ·pulling information, and we wanted to be able to      11·   · · · Q.· · When was that?
12·   ·have as much as possible for him, and, in the         12·   · · · A.· · At the signing.· I said, what is this
13·   ·meantime, he pulled his stunt with the lawsuit on     13·   ·Eastern Profit Corporation?
14·   ·the 23rd.· And I was out of the country, so I         14·   · · · Q.· · You asked, what is this Eastern Profit
15·   ·didn't know anything about it.                        15·   ·Corporation?
16·   · · · Q.· · So Strategic Vision never sent Eastern     16·   · · · A.· · Yes.
17·   ·an invoice prior to February 23rd, 2018?              17·   · · · Q.· · And what did she say?
18·   · · · A.· · We did not, but we should have.· In        18·   · · · A.· · She said, I don't know, it's something
19·   ·hindsight, we thought that we were -- we thought      19·   ·that Mr. Guo has his own -- it's his own company.
20·   ·that we were being honest.                            20·   · · · Q.· · And was there any followup to that or
21·   · · · Q.· · When was the first time Eastern Profit     21·   ·was that the end --
22·   ·Corporation was included in this contract, in a       22·   · · · A.· · No.
23·   ·draft of it I should say?                             23·   · · · Q.· · -- of the discussion?
24·   · · · A.· · It was never, until this particular        24·   · · · A.· · That was the end of the discussion.
25·   ·document, to my knowledge.                            25·   · · · Q.· · Okay.


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                                                                                  Pages 170..173                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 34 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 174                                                     Page 176
·1·   · · · A.· · It was supposed to be funded.· The         ·1·   ·to Strategic Vision?
·2·   ·entire contract was supposed to be funded.            ·2·   · · · A.· · None, other than a friend who kindly
·3·   ·Apparently, it wasn't.                                ·3·   ·was trying to see if there was something the
·4·   · · · Q.· · Let's go back to Exhibit 7.· I think       ·4·   ·matter with the flash drives, which clearly there
·5·   ·previously you had mentioned that you saw this        ·5·   ·were.· So then I came to New York on Monday to
·6·   ·Exhibit 7 when Mr. Guo put it on a table at a         ·6·   ·meet her, that is Yvette, at the Pierre, in the
·7·   ·meeting, is that right?                               ·7·   ·lobby.· I brought another computer.· She brought
·8·   · · · A.· · I believe this is correct.                 ·8·   ·three flash drives.· One worked, and that was
·9·   · · · Q.· · And when was the next time you saw this    ·9·   ·this, this one; in other words, this file.· The
10·   ·information?                                          10·   ·other two were corrupted.
11·   · · · A.· · When we actually printed it off from       11·   · · · · · · I kept them, kept all of the flash
12·   ·the USB key.· After three different attempts of       12·   ·drives.· I took the one that was good, I brought
13·   ·corrupted USB keys from Yvette, we finally were       13·   ·it back to Washington and put it into a virgin
14·   ·able to print it off ourselves onto a virgin          14·   ·computer, and then we printed this thing off. A
15·   ·computer.                                             15·   ·virgin computer, for the benefit of the court, is
16·   · · · Q.· · Okay.· When did -- when was the first      16·   ·one that has no connection to the internet and/or
17·   ·time you saw this information after the coffee        17·   ·a printer that has any connection to an internet.
18·   ·table viewing?                                        18·   ·So it's like a dumb computer.
19·   · · · A.· · When we printed it off after we got the    19·   · · · Q.· · Does Strategic Vision have any kind of
20·   ·corrupted USB keys from Yvette.                       20·   ·confidentiality arrangement with Richard Shewell?
21·   · · · Q.· · What date was that?                        21·   · · · A.· · No.
22·   · · · · · · MR. SCHMIDT:· What date?                   22·   · · · Q.· · Is Richard Shewell a member of the team
23·   · · · A.· · Oh, I'm sorry.· I guess it was about       23·   ·or otherwise --
24·   ·the -- oh, God, about the -- oh, the 8th, the 8th     24·   · · · A.· · No.
25·   ·of January it would have been.· It would have         25·   · · · Q.· · Let me just finish the question for the

                                                  Page 175                                                     Page 177
·1·   ·been Monday, because I had to come up to New York     ·1·   ·record.· Is Richard Shewell part of Strategic
·2·   ·to get it.                                            ·2·   ·Vision's team or teams that provide investigatory
·3·   · · · Q.· · So you didn't see the information in       ·3·   ·research?
·4·   ·Exhibit 7 on January 6, 2018 when it was -- the       ·4·   · · · A.· · No.
·5·   ·contract was signed?                                  ·5·   · · · Q.· · So once you've accessed this
·6·   · · · A.· · No.                                        ·6·   ·information on January 8th, what did Strategic
·7·   · · · Q.· · You didn't view it?                        ·7·   ·Vision do next?
·8·   · · · A.· · I -- it wouldn't open, that was the        ·8·   · · · A.· · On January 8th?
·9·   ·problem.· That's why I had to come to New York.       ·9·   · · · Q.· · Yes.· Now that you have the list of
10·   ·On the 6th, she gave us three keys, three USB         10·   ·fish.
11·   ·keys.· Two would not open.· The third one would       11·   · · · A.· · So now that we've printed off this
12·   ·not open on my computer, and so that's when I         12·   ·file, then Mike came and we sat down and we
13·   ·took it to my neighbor and he was kind enough to      13·   ·started talking about how we were going to --
14·   ·put it into his computer, just to see if anything     14·   ·where we could -- which certain things we could
15·   ·would open.· All it was was complete corrupted        15·   ·put together and enter into our channels for
16·   ·file, just nothing but Chinese characters all         16·   ·information.· And then we -- then he got in touch
17·   ·over the place.· It had no -- nothing like this.      17·   ·with Team 1, that had been sort of sitting on
18·   ·So we both starting pulling all of the wires out      18·   ·hold, and then -- then there were meetings with
19·   ·of his computers and his hard drives and -- yeah,     19·   ·Team 1 leader, and we began.
20·   ·and yanked the flash drive out and everything         20·   · · · Q.· · So just this initial process with
21·   ·else.· It was a nightmare.                            21·   ·Dr. Waller, were you parsing to see who was going
22·   · · · Q.· · And who's your neighbor?                   22·   ·to do what in terms of the investigation, is that
23·   · · · A.· · You have the letter.· His name is          23·   ·fair?
24·   ·Richard Shewell, S-h-e-w-e-l-l.                       24·   · · · A.· · Somewhat, yes.· It's a very complex
25·   · · · Q.· · And What's Mr. Shewell's relationship      25·   ·investigation.· It takes the U.S. side as well as


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 35 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 190                                                     Page 192
·1·   · · · · · · So she left with a copy of the draft       ·1·   · · · A.· · No.· It was Mandarin, so he was just
·2·   ·agreement on or about --                              ·2·   ·speaking to his employee, I guess.
·3·   · · · A.· · I believe so --                            ·3·   · · · Q.· · But you -- sitting here today, you're
·4·   · · · Q.· · -- December 29th?                          ·4·   ·not certain that it was him?
·5·   · · · A.· · -- yes.· It says here, "most easy          ·5·   · · · A.· · I could hear his voice, so it sounded
·6·   ·edits, no worries."                                   ·6·   ·like him.
·7·   · · · Q.· · And that was your comment, correct?        ·7·   · · · Q.· · Turning to Eastern 206.
·8·   · · · A.· · Yes.                                       ·8·   · · · A.· · Yes.
·9·   · · · Q.· · Why did you think they were mostly easy    ·9·   · · · Q.· · Do you see this message talking about
10·   ·edits?                                                10·   ·"unfortunately they could not stop the process
11·   · · · A.· · Well, because she had -- she had made      11·   ·technically.· My Boss said he had already
12·   ·the suggestion on the edits, so I made the            12·   ·contacted you about this fund...we were
13·   ·agreement to go ahead and make the little             13·   ·discussing last week, as I advised you that our
14·   ·changes, whatever they were.                          14·   ·people were ready to send you the deposit."· Do
15·   · · · Q.· · And did you meet with Ms. Wang again on    15·   ·you see that?
16·   ·or about December 30th?                               16·   · · · A.· · I do.· I was very confused by that.
17·   · · · A.· · Honestly, I can't remember the 30th. I     17·   · · · Q.· · There's a PDF that was attached to this
18·   ·do remember the -- I guess it says -- see, here       18·   ·document, do you see that?
19·   ·it's the 5th.· I think it was the 5th that I met      19·   · · · A.· · Yes.
20·   ·her next.                                             20·   · · · Q.· · Do you have any recollection as to what
21·   · · · Q.· · Let me ask you this.· Do you recall a      21·   ·was sent to you on or about January 2nd
22·   ·meeting with Ms. Wang where you thought that she      22·   ·concerning this deposit?
23·   ·was proposing major and unreasonable changes?         23·   · · · A.· · This was, I believe, the copy of the
24·   · · · A.· · Somewhere in that earlier part of that     24·   ·DBS wire.· I'm not sure, but I think it was.
25·   ·conversation, and that's when we made the changes     25·   · · · Q.· · And what was your response to receiving

                                                  Page 191                                                     Page 193
·1·   ·in the edits.· She then consulted with Guo.· Guo      ·1·   ·the wire?· Because, correct me if I'm wrong, but
·2·   ·agreed to them, there might have been something       ·2·   ·the contract had not been signed as of
·3·   ·he disagreed with, and then he disagreed with         ·3·   ·January 2nd, 2018, correct?
·4·   ·her, and then we went back and re-did the edit        ·4·   · · · A.· · Not by the 2nd, but we had agreed to
·5·   ·back to sort of what the original language must       ·5·   ·everything on the terms, even though she had to
·6·   ·have been in the final copy that she signed, and      ·6·   ·come back from New York to sign the document; we
·7·   ·he agreed to, on the telephone.                       ·7·   ·had agreed by telephone.
·8·   · · · Q.· · Was that on January 6th, on the actual     ·8·   · · · Q.· · Were you surprised to receive the money
·9·   ·date of the signing?                                  ·9·   ·at that time?
10·   · · · A.· · No, it was a little bit earlier. I         10·   · · · A.· · Not entirely.· But we -- we -- it came
11·   ·think it goes back here to wherever we were           11·   ·from a source that we didn't know who it was.· It
12·   ·talking about mostly easy edits.                      12·   ·came from ACA Capital or something.· We didn't
13·   · · · Q.· · Okay.· Was Mr. Guo on the phone when       13·   ·know who that was.
14·   ·you and Ms. Wang signed the agreement?                14·   · · · Q.· · So how did you find out about that?
15·   · · · A.· · Yes, I think he was.· I think he was.      15·   ·Did this message prompt you to check your account
16·   ·Because she sat on the sofa with me, and that's       16·   ·or was it that you checked your account and said,
17·   ·where she was talking to somebody, so I -- in         17·   ·why is there a million dollars there?· What was
18·   ·Mandarin, so I presume that's who it was.             18·   ·the process?
19·   · · · Q.· · Okay.· So you didn't know who she was      19·   · · · A.· · It was very simple.· I got this
20·   ·talking to at that point, but --                      20·   ·message --
21·   · · · A.· · No, but she -- it was clear to me that     21·   · · · Q.· · I see.
22·   ·it was Guo.· She just sort of hung up, she said,      22·   · · · A.· · -- I checked the account.· Something
23·   ·okay, fine, we all agree, everything is fine.         23·   ·from ACA was there.· Said, my boss, meaning Guo,
24·   · · · Q.· · But he wasn't on speakerphone, so you      24·   ·said he had already contacted us about this fund.
25·   ·didn't hear his voice?                                25·   ·We never got any contact from Guo.· Never.· Never


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 36 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 194                                                     Page 196
·1·   ·received a phone call, never received a text,         ·1·   ·the 5th and she had the bad flash drives, okay?
·2·   ·nothing.· So I don't know what she's talking          ·2·   ·That's when I went to the next door neighbor,
·3·   ·about here.                                           ·3·   ·just to stick it in to see if it was alive or
·4·   · · · · · · "Our contract won't be changed if there    ·4·   ·not.· He didn't see anything, because there was
·5·   ·is a chance to work together.· Otherwise please       ·5·   ·nothing to see, and he couldn't have seen
·6·   ·kindly return fund."· These people were like          ·6·   ·anything even if he had.· So that's exactly what
·7·   ·ping-pong balls, okay?· You're just trying to do      ·7·   ·happened.
·8·   ·what they're asking you to do, you get everything     ·8·   · · · Q.· · Turning to Eastern 211.· You wrote,
·9·   ·in order to do it, and then they fool around with     ·9·   ·"the agreement for 3 months is correct."· Do you
10·   ·this nonsense.                                        10·   ·see that at the top of the page?
11·   · · · Q.· · Did you consider sending the wire back     11·   · · · A.· · Yes.
12·   ·because you didn't have a signed contract or --       12·   · · · Q.· · What did you mean by that?
13·   · · · A.· · No, because we already had agreed to       13·   · · · A.· · Because the contract was for three
14·   ·this verbally.· Both Guo and herself had agreed       14·   ·months, was for 90 days.· January, we have
15·   ·to it.· And so she then comes down on the 5th,        15·   ·allowed 15 fish.· Ten fish each for February and
16·   ·and signs the thing on the 6th.                       16·   ·March; for some reason, that's sort of cut off.
17·   · · · Q.· · And so, going back to the 6th.· Were       17·   ·Oh, here it is, March.· "We will determine the
18·   ·there any changes made to the agreement at that       18·   ·subsequent monthly costs obviously by the next
19·   ·time?                                                 19·   ·set of numbers of fish in the tank."
20·   · · · A.· · No, none.· The only change was that I      20·   · · · Q.· · So what would happen after 90 days?
21·   ·accepted the 15 fish instead of the ten, I mean,      21·   · · · A.· · We were all going to regroup and figure
22·   ·verbally.· It was a verbal, honorable thing to        22·   ·out how much -- how many of the fish had -- were
23·   ·do.· And then here's my thing saying right what I     23·   ·useful information for him and how many fish had
24·   ·said on whatever it is, 208, as discussed with        24·   ·been tossed out, and then he was going to be
25·   ·the 15 fish.                                          25·   ·adding more fish.· He said up to 4,000 fish,

                                                  Page 195                                                     Page 197
·1·   · · · Q.· · Did you tell Yvette that they shouldn't    ·1·   ·total.
·2·   ·have sent the wire from where they had?               ·2·   · · · Q.· · Would it have been possible to do
·3·   · · · A.· · Well, I -- later on I did.· Lianchao       ·3·   ·investigations on 4,000 fish?
·4·   ·told her; like, what were you thinking?               ·4·   · · · A.· · Not all at once, and he knew that.· He
·5·   · · · Q.· · So you had a conversation with Lianchao    ·5·   ·agreed that would be ridiculous.· It was supposed
·6·   ·about the wire --                                     ·6·   ·to be a three-year contract.
·7·   · · · A.· · Later.                                     ·7·   · · · Q.· · But it was a -- you're saying it was a
·8·   · · · Q.· · -- being done properly?                    ·8·   ·three-month contract?
·9·   · · · A.· · Later, later.· Like, two weeks later.      ·9·   · · · A.· · It was three months, to be done for a
10·   · · · Q.· · And you understood that Lianchao had       10·   ·year, if you look at the contract itself, and
11·   ·conveyed that to --                                   11·   ·then, after that time, it was a three-year
12·   · · · A.· · Yes.                                       12·   ·contract.· If you recall, on the last page of the
13·   · · · Q.· · -- Ms. Wang?                               13·   ·agreement, "duration of this contract shall be
14·   · · · A.· · Well, to Guo.· He played those two back    14·   ·enforced for three years from the date of
15·   ·and forth.· He played Yvette against Lianchao,        15·   ·signing."· That's what we had initially planned
16·   ·Lianchao against Yvette.                              16·   ·on.· We certainly had initially planned on the
17·   · · · Q.· · Turning to Eastern 208.· It says, "We      17·   ·first three months.
18·   ·hope you will have the docs as discussed for the      18·   · · · Q.· · On Eastern 213, do you see where it
19·   ·15 fish with you"?                                    19·   ·says, "can you please send the contract here? I
20·   · · · A.· · That's right.                              20·   ·get the right person to do.· Thank you"?
21·   · · · Q.· · And so what was -- was that the -- you     21·   · · · A.· · That was weird.
22·   ·already understood what that was, that was --         22·   · · · Q.· · What did you understand that request to
23·   · · · A.· · That was this.                             23·   ·mean?
24·   · · · Q.· · -- Exhibit 7?                              24·   · · · A.· · Well, we certainly weren't going to
25·   · · · A.· · Yes.· And that's when she arrived on       25·   ·send it through any kind of email thing.· So she


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                                                                                  Pages 194..197                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 37 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 198                                                     Page 200
·1·   ·had to sign it -- she had to come -- she signed       ·1·   ·it."
·2·   ·it on the 6th.· So she says, "please send the         ·2·   · · · A.· · Correct.· And New York was equally
·3·   ·contract here I get the right person to do." I        ·3·   ·adamant about it.· That was Guo.
·4·   ·don't know what that meant.· "There is of course      ·4·   · · · Q.· · I was going to say, who's New York?
·5·   ·no impasse here.· I work with several people, M       ·5·   · · · A.· · That was Guo.
·6·   ·is one of them saying for this project he is not      ·6·   · · · Q.· · And L is Lianchao?
·7·   ·only boss."· Well, that was news to us.               ·7·   · · · A.· · Yes.
·8·   · · · Q.· · I'm just asking about why you didn't       ·8·   · · · Q.· · And who's M?
·9·   ·send the contract when it was requested there?        ·9·   · · · A.· · Michael, Mike, Dr. Waller.
10·   · · · A.· · Because we still didn't have -- oh,        10·   · · · Q.· · Turning to Eastern 19.· You wrote,
11·   ·dear lord.· We still didn't have the flash            11·   ·"Thank you.· I will look forward to seeing you
12·   ·drives.· This was the 5th.· We didn't get the         12·   ·tomorrow here.· You can make whatever minor
13·   ·proper flash drives with the folder until the         13·   ·changes here on my laptop and then print off two
14·   ·8th, Monday the 8th.· So what could we do, except     14·   ·copies"?
15·   ·take -- except have her sign the contract.· They      15·   · · · A.· · Correct.· That meant print off two
16·   ·had already sent the money, we all had agreed to      16·   ·copies of the agreement.
17·   ·the terms.· She needed to sign the contract.          17·   · · · Q.· · Right.· What were the changes or issues
18·   ·Then I went to New York to get a flash drive          18·   ·that you were thinking of at that time?
19·   ·that, God willing, would work, out of the three.      19·   · · · A.· · Whatever changes we made that were --
20·   · · · · · · And we tried to explain to them that       20·   ·she would -- I mean, whatever was made was made,
21·   ·their systems were corrupted.· If she was             21·   ·and we agreed to in the document.· I don't
22·   ·downloading, or he was downloading the stuff from     22·   ·remember.· They were minor.
23·   ·his own computer, he was getting -- he was being      23·   · · · Q.· · You said, "we've already lost a week"?
24·   ·hacked into by the Chinese himself.· Because you      24·   · · · A.· · That's right.
25·   ·can't make this stuff up on the -- on the             25·   · · · Q.· · What did you mean by that?

                                                  Page 199                                                     Page 201
·1·   ·corrupted files.                                      ·1·   · · · A.· · If we didn't have this, we couldn't
·2·   · · · Q.· · But before January 6th, you weren't        ·2·   ·start.· If we didn't have the entire file, we
·3·   ·aware of any corruption or hacking issues, were       ·3·   ·couldn't start, could we?· Because we had no
·4·   ·you?                                                  ·4·   ·information to go on.
·5·   · · · A.· · Yes, absolutely.                           ·5·   · · · Q.· · Did you understand that time was an
·6·   · · · Q.· · How were you supposedly aware of that?     ·6·   ·important factor?
·7·   · · · A.· · Well, because we had a corrupt -- when     ·7·   · · · · · · MR. SCHMIDT:· Objection.
·8·   ·we were even sitting there, I think at one point      ·8·   · · · A.· · Of course it was an important factor.
·9·   ·Guo had a USB key and he was putting it into his      ·9·   · · · Q.· · Why was that?
10·   ·own computer, and it was acting up, and he took       10·   · · · A.· · Because we were prepared to go, but,
11·   ·it out and he said, I can't -- I can't do the         11·   ·due to their corrupt files, we couldn't start
12·   ·file here.                                            12·   ·until we got the full document that was not
13·   · · · Q.· · When was that?                             13·   ·corrupted.
14·   · · · A.· · It was before -- this must have been       14·   · · · Q.· · Right.· But this is January 5th, right,
15·   ·sometime in mid-Jan -- mid-December, whenever we      15·   ·this email message or Signal message?
16·   ·were up there meeting with him, he had an issue       16·   · · · A.· · Yes.
17·   ·with the computer.· And Mike told him, he said,       17·   · · · Q.· · And so I'm just asking, you hadn't
18·   ·you know, you got -- you got issues here that         18·   ·seen -- or you hadn't received the files that had
19·   ·have nothing to do with us.                           19·   ·any alleged issues with it in terms of --
20·   · · · Q.· · You wrote, "As you know, the agreement     20·   · · · A.· · Yes.· She came on the 5th, she put the
21·   ·can only be reviewed and cannot be sent by email      21·   ·files in, they didn't work, they were corrupted.
22·   ·for the purpose of absolute security"?                22·   ·I then had to get on the train and come up here
23·   · · · A.· · Correct.                                   23·   ·on the Monday morning, the 8th, okay, to get the
24·   · · · Q.· · It says, "Other than New York, L, M and    24·   ·USB file that was clean.· Out of the three, there
25·   ·myself and you, we are the only ones privy to         25·   ·was only one that was clean.


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                                                                                  Pages 198..201                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 38 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 202                                                     Page 204
·1·   · · · Q.· · I thought --                               ·1·   · · · Q.· · The financial, forensic research,
·2·   · · · A.· · So we couldn't start.                      ·2·   ·current tracking and social media?
·3·   · · · Q.· · -- the agreement was signed on             ·3·   · · · A.· · There were not reports, other than
·4·   ·January 6th, though?                                  ·4·   ·flash drive information, which we've already
·5·   · · · A.· · Yes, but we couldn't start until we had    ·5·   ·answered that.
·6·   ·clean files.· She thought she had clean files,        ·6·   · · · Q.· · Of course we have, yes, but they are
·7·   ·and she didn't have them on the 5th and 6th, did      ·7·   ·referred to as reports in the agreement, so
·8·   ·she?                                                  ·8·   ·that's why I'm using that term.
·9·   · · · Q.· · I don't understand how you thought you     ·9·   · · · A.· · They're flash drives.
10·   ·lost a week, if you hadn't even signed an             10·   · · · Q.· · Okay.
11·   ·agreement yet?                                        11·   · · · A.· · They're not written.
12·   · · · A.· · Because the funds had been sent, right,    12·   · · · Q.· · And the teams that are already
13·   ·on the 29th, and let's call it the 2nd that we        13·   ·dispatched, how many teams were dispatched as of
14·   ·had received them, and, in fact, they didn't          14·   ·January 9th?
15·   ·really get into our account until the 4th because     15·   · · · A.· · Well, One was in the process of
16·   ·of the holiday weekend and so forth.· And then        16·   ·being -- Number One was being in the process of
17·   ·Citibank called to say, are -- is this your --        17·   ·being dispatched because it was an overseas
18·   ·are these -- you expecting this?· I said yes.· So     18·   ·person that was -- that Mike had to coordinate
19·   ·they were fine.· But they were not available --       19·   ·with, and we had to get -- we had to get numerous
20·   ·there's something known as a federal reserve,         20·   ·computers and different kinds of phones and
21·   ·that stops large payments.· Anything over, like,      21·   ·burner phones and everything.· It's a huge
22·   ·$300,000 gets flagged.· So we had to verify that      22·   ·operation.
23·   ·this was a contract.                                  23·   · · · Q.· · Were you involved at all in the
24·   · · · Q.· · Let's go to Eastern 223.· Do you           24·   ·logistics of that operation?
25·   ·remember Ms. Wang sending you a Signal message        25·   · · · A.· · No.· Mike was.

                                                  Page 203                                                     Page 205
·1·   ·asking to accommodate two small fish?                 ·1·   · · · Q.· · So he was involved in procuring the
·2·   · · · A.· · Two more small fish.· So it would have     ·2·   ·phones and computers and things of that nature --
·3·   ·made 17 fish, okay?· No.· The answer was              ·3·   · · · A.· · No.
·4·   ·absolutely no.                                        ·4·   · · · Q.· · -- for Team 1?
·5·   · · · Q.· · Well, let's just go one at a time.         ·5·   · · · A.· · Team 1 did it.
·6·   · · · · · · MR. SCHMIDT:· Do you remember receiving    ·6·   · · · Q.· · Okay.· What other teams were dispatched
·7·   · · · the message or --                                ·7·   ·as of January 9th, other than Team 1?
·8·   · · · · · · THE WITNESS:· Yes.                         ·8·   · · · A.· · That was the only "team team" outside
·9·   · · · · · · MR. SCHMIDT:· -- or --                     ·9·   ·of the United States.· I was collecting or I was
10·   · · · · · · THE WITNESS:· Yes.                         10·   ·getting ready to begin to collect information
11·   · · · · · · MR. SCHMIDT:· Okay.                        11·   ·from my own channels, which was not labeled as a
12·   · · · Q.· · Okay.· And what was your response?         12·   ·team.
13·   · · · A.· · No.· Absolutely no.                        13·   · · · Q.· · Right.· I'm just trying to understand
14·   · · · Q.· · And why did you have that firm             14·   ·your message on Eastern 224.· At the end it says,
15·   ·response?                                             15·   ·"Teams are already dispatched and beginning their
16·   · · · A.· · Because we've already given you five       16·   ·trip"?
17·   ·extra fish, if you will read my response.             17·   · · · A.· · That meant Mike and the person that was
18·   · · · Q.· · They did have to pay for those 15 fish,    18·   ·hiring the people to manage this particular
19·   ·though, right?                                        19·   ·account.· It wasn't just one person with one
20·   · · · A.· · Not really.                                20·   ·computer.· There were at least ten.
21·   · · · Q.· · Okay.                                      21·   · · · Q.· · Ten individuals?
22·   · · · A.· · They didn't.· They were five free fish.    22·   · · · A.· · Ten individuals.
23·   · · · Q.· · And they were entitled to all three        23·   · · · Q.· · On Team 1?
24·   ·reports on those 15 fish?                             24·   · · · A.· · On Team 1, at least.
25·   · · · A.· · What reports?                              25·   · · · Q.· · And how did you know how many members


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                                                                                  Pages 202..205                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 39 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 206                                                     Page 208
·1·   ·of Team 1 there were?                                 ·1·   ·understand.· What was it between the 8th and the
·2·   · · · A.· · Because I was told that by Mike.           ·2·   ·16th that caused a delay?
·3·   ·That's all I know.· I don't know who they were, I     ·3·   · · · A.· · Well, we didn't have the equipment to
·4·   ·don't know their names.· I don't know anything        ·4·   ·begin to do what we said we wanted to be able to
·5·   ·about it.· We compartmentalized it.                   ·5·   ·do because of all of these weirdo delays with the
·6·   · · · Q.· · Right.· So you don't have any -- you       ·6·   ·flash drives.
·7·   ·played no role in assembling Team 1 or managing       ·7·   · · · Q.· · In other words --
·8·   ·its actions?                                          ·8·   · · · A.· · They were corrupted flash drives,
·9·   · · · A.· · My expertise, young man, is --             ·9·   ·right?
10·   · · · Q.· · I'm not that young, but go on.             10·   · · · Q.· · In other words, you didn't have the
11·   · · · A.· · -- is 45 years of working in               11·   ·equipment to do the research on, let's just say,
12·   ·specialized areas, and I understand how to            12·   ·January 1, you had to go and buy it --
13·   ·assemble the right people to do, God knows, the       13·   · · · A.· · That's correct.
14·   ·right job.· And Mike was one of the people who        14·   · · · Q.· · -- after the agreement was signed?
15·   ·did dispatch and organize Team 1.                     15·   · · · A.· · That's correct.· And why would that be?
16·   · · · Q.· · Right.· So you weren't involved with       16·   · · · Q.· · I'll be asking the questions.
17·   ·managing or assembling --                             17·   · · · A.· · I know --
18·   · · · A.· · Not on a --                                18·   · · · · · · MR. SCHMIDT:· Don't ask questions.
19·   · · · Q.· · -- Team 1?                                 19·   · · · A.· · -- but, I mean, this is absurd.
20·   · · · A.· · -- day-to-day because we were              20·   · · · · · · MR. GRENDI:· Why don't we take a little
21·   ·compartmentalizing it.                                21·   · · · break.
22·   · · · Q.· · That's fine.· You can -- I'm just          22·   · · · · · · THE WITNESS:· Yeah, I think we need a
23·   ·asking for an answer.                                 23·   · · · little break.
24·   · · · A.· · I'm giving you one.                        24·   · · · · · · MR. SCHMIDT:· That's fine.
25·   · · · Q.· · Thank you.                                 25·   · · · · · · THE WITNESS:· You just don't get it.

                                                  Page 207                                                     Page 209
·1·   · · · A.· · You're welcome.                            ·1·   · · · · · · THE VIDEOGRAPHER:· Off the record at
·2·   · · · Q.· · What was the issue that -- if we go to     ·2·   · · · 3:25.
·3·   ·Eastern 227, that caused a delay of eight days?       ·3·   · · · · · · (Whereupon, a short recess was taken.)
·4·   · · · A.· · Okay, you have to take a calendar out      ·4·   · · · · · · THE VIDEOGRAPHER:· Back on the record
·5·   ·and look at the calendar for January.· It's easy      ·5·   · · · at 3:32.
·6·   ·to see.· The 8th, Monday the 8th was when we          ·6·   · · · Q.· · Still on Wallop 10, Bates number
·7·   ·finally got a decent copy of this, right              ·7·   ·Eastern 227.· Do you see where you wrote, "We
·8·   ·(indicating)?                                         ·8·   ·have some new exotic fish options to discuss
·9·   · · · Q.· · Exhibit 7?                                 ·9·   ·too"?
10·   · · · A.· · Yes, Exhibit 7.                            10·   · · · A.· · Yes.
11·   · · · Q.· · Sure.                                      11·   · · · Q.· · What did you mean by that?
12·   · · · A.· · That week, Mike and the person from        12·   · · · A.· · I think Mike and I had come up with
13·   ·Team 1 were coordinating how they were going to       13·   ·some information that would have been interesting
14·   ·get the -- the equipment together.· They had to       14·   ·for Guo.
15·   ·drive to three different countries to get the         15·   · · · Q.· · Why did you describe it as a fish
16·   ·information -- I mean, to get the equipment, so       16·   ·option?· What does that --
17·   ·they wouldn't be tracked.                             17·   · · · A.· · I think exotic was the key word there,
18·   · · · · · · The IP numbers and everything else         18·   ·because it was outside of the parameter.
19·   ·would not be tracked.· These would be, quote,         19·   · · · Q.· · What do you mean by parameter?· I just
20·   ·technically, virgin computers, virgin phones,         20·   ·want to understand --
21·   ·these would be burner phones.· All of these           21·   · · · A.· · Outside of the -- the 15 fish.· It was
22·   ·communications had to be coordinated.· So from        22·   ·additional information that we thought he might
23·   ·the 8th of January to the 16th, I believe, makes      23·   ·find useful.· It had nothing to do with the 15
24·   ·eight days.                                           24·   ·fish.
25·   · · · Q.· · And that's what I'm trying to              25·   · · · Q.· · What was that information?


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                                                                                  Pages 206..209                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 40 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 230                                                     Page 232
·1·   · · · A.· · No.                                        ·1·   · · · Q.· · Right.
·2·   · · · Q.· · Let's go to Eastern 259.· Do you see       ·2·   · · · A.· · Yvette was taken off the case in, as we
·3·   ·where Dr. Waller wrote, "our understanding was        ·3·   ·understand it, beginning the 1st of February.
·4·   ·that the first 90 days would be for starting up       ·4·   ·And then she -- she sent us an email saying she
·5·   ·and developing the data"?                             ·5·   ·was no longer in it, that only to -- to
·6·   · · · A.· · I see that.                                ·6·   ·communicate with Lianchao.
·7·   · · · Q.· · Was that Strategic Vision's                ·7·   · · · Q.· · Did Strategic Vision adjust its
·8·   ·understanding as well or just Dr. Waller's?           ·8·   ·research approach based upon this request for
·9·   · · · A.· · No, it was our mutual understanding        ·9·   ·more immediate results?
10·   ·between Guo and myself and Lianchao and Mike.         10·   · · · A.· · No.· In fact, we actually increased the
11·   · · · Q.· · Do you see where it says, he wrote, "We    11·   ·pressure on Team 1, and then went and had a
12·   ·did not understand that he expected actual data       12·   ·long -- several meetings with potential Team 2,
13·   ·in the first days or weeks"?                          13·   ·and that's another side of it.
14·   · · · A.· · Correct.                                   14·   · · · Q.· · Is that a company that goes by the
15·   · · · Q.· · Again, you never talked to Dr. Waller      15·   ·acronym ASOG?
16·   ·about this exchange after --                          16·   · · · A.· · Yes.· In Dallas.· Outside of Dallas.
17·   · · · A.· · Not about --                               17·   · · · Q.· · And why was it that ASOG was contacted
18·   · · · Q.· · -- it happened on the --                   18·   ·in connection with this research agreement?
19·   · · · A.· · -- this exchange, no.                      19·   · · · A.· · Because we had the option of being able
20·   · · · Q.· · Did you ever discuss the substance of      20·   ·to bring in whatever teams we felt were going to
21·   ·this exchange, or something akin to it, about the     21·   ·be additionally viable, and also on the domestic
22·   ·expectations of the client?                           22·   ·side of some of the things that we were bumping
23·   · · · A.· · Perhaps later that -- when we were         23·   ·into, or Mike and his team were bumping into on
24·   ·talking about what -- what we had been able to        24·   ·the international side, which were not pretty.
25·   ·retrieve so far, and how we had -- let me just        25·   · · · · · · So, we were given the names of the

                                                  Page 231                                                     Page 233
·1·   ·read this.· How Mike had explained very               ·1·   ·fellows who had been with NSA, DIA, whatever,
·2·   ·patiently, very calmly, very slowly, whether it       ·2·   ·in -- in -- in Dallas, and we went and met with
·3·   ·was with -- or through Lianchao or through            ·3·   ·them, and they told us -- they looked at -- we
·4·   ·Yvette, how the process works.                        ·4·   ·only gave them like a couple of names, we never
·5·   · · · · · · So, if Guo wanted to speed up and get      ·5·   ·gave them the whole file.
·6·   ·everything really fast, then all the trap doors,      ·6·   · · · · · · And they looked at it, and then we went
·7·   ·all the doors that we had been able to open           ·7·   ·back about a week later maybe, it might even have
·8·   ·quietly, would be slammed shut.· If Guo would         ·8·   ·been ten days later, a week later, and they were
·9·   ·just be patient and let us get into where we          ·9·   ·totally freaked out.· They said, you can't touch
10·   ·needed to go quietly, he was going to get an          10·   ·any of these people or any of these names.· We
11·   ·awful lot of information back.                        11·   ·said, what are you talking about?
12·   · · · · · · The irony is, that had he just relaxed     12·   · · · · · · That's when they said, these are all
13·   ·and stayed on top of this, that is Guo, he would      13·   ·RPs.· We will all go to jail if you start fooling
14·   ·have had a huge amount of information three           14·   ·around in their files.
15·   ·months a year in.· Huge.· We can't fix somebody's     15·   · · · Q.· · So when did you first meet with ASOG,
16·   ·perception of how this is done.· He was very          16·   ·that meeting in Dallas you just described?
17·   ·impatient.                                            17·   · · · A.· · Yeah, it would have been the beginning
18·   · · · Q.· · When did you understand that Mr. Guo       18·   ·of February, I should think.· Again, Mike has the
19·   ·was getting impatient?                                19·   ·date.
20·   · · · A.· · I guess around -- well, certainly on       20·   · · · Q.· · Is there any reason a second team
21·   ·the 26th, when we sort of had our lunch with him,     21·   ·wasn't assembled at the outset of the agreement?
22·   ·and then -- and then I think possibly through         22·   · · · A.· · We did -- because of the element of
23·   ·Lianchao; because, as I told you, we never had        23·   ·retrieval we had to do outside of the United
24·   ·any direct contact with -- with Guo.· It was          24·   ·States, because he wanted it so fast and so
25·   ·always through Lianchao or Yvette.                    25·   ·quickly and intensely, that that was the fastest,


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                                                                                  Pages 230..233                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 41 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 234                                                     Page 236
·1·   ·quickest way of getting into certain files had        ·1·   ·them the whole file.· We only gave them like, I
·2·   ·they not all -- had some of them not been fake,       ·2·   ·don't know, maybe four or five names.
·3·   ·then we would have had no -- we wouldn't have         ·3·   · · · Q.· · Okay.· But what I'm just trying to
·4·   ·gone to the second -- second dimension.               ·4·   ·understand is --
·5·   · · · Q.· · And the decision to go with the second     ·5·   · · · A.· · And I --
·6·   ·team, was that Strategic Vision's --                  ·6·   · · · Q.· · -- and I know this sounds like a basic
·7·   · · · A.· · Mine --                                    ·7·   ·question --
·8·   · · · Q.· · -- decision or Dr. Waller's?               ·8·   · · · A.· · Right.
·9·   · · · A.· · Mine and Mike's, yeah.                     ·9·   · · · Q.· · -- and I apologize.· But are all people
10·   · · · Q.· · Jointly?                                   10·   ·restricted persons in intelligence files or
11·   · · · A.· · Jointly.                                   11·   ·government files?
12·   · · · Q.· · Okay.                                      12·   · · · A.· · No.
13·   · · · A.· · We both went down twice.                   13·   · · · Q.· · Okay.· So there are certain people --
14·   · · · Q.· · And you said RP.· What does RP mean?       14·   · · · A.· · No, no, no, no, no.· These were tagged.
15·   · · · A.· · Restricted persons.                        15·   · · · Q.· · Specially tagged?
16·   · · · Q.· · And in your career in this                 16·   · · · A.· · These were tagged.· And I -- again, you
17·   ·investigatory field, have you encountered             17·   ·would have to ask Mike.· I don't know if it was
18·   ·restricted persons before or --                       18·   ·the whole file that was tagged or if it was just
19·   · · · A.· · Yes and no.· It's had different            19·   ·four or five names they ran through the system.
20·   ·acronyms.· Sometimes it's PP, protected persons.      20·   · · · Q.· · I see.
21·   ·Sometimes it's RP.· But it means that it is           21·   · · · A.· · But they were all tagged; flagged,
22·   ·either under a watch list by the U.S. Government      22·   ·tagged, whatever you want to call it.
23·   ·or it is a -- or, let's just say a certain agency     23·   · · · Q.· · So when did you convey to the client
24·   ·has tagged these individuals and is watching them     24·   ·that there was this restricted persons
25·   ·themselves.· So we cannot enter into those files      25·   ·designation on some of the fish?

                                                  Page 235                                                     Page 237
·1·   ·at all in the U.S.                                    ·1·   · · · A.· · We did that through Lianchao.
·2·   · · · Q.· · And these files you're talking about,      ·2·   · · · Q.· · And when was that?
·3·   ·are these files government files or what kind of      ·3·   · · · A.· · Sometime in the middle of February, I
·4·   ·files are they?                                       ·4·   ·think, by the time we had gotten -- we had been
·5·   · · · A.· · Your Exhibit 7, these names, all of        ·5·   ·down to -- to Dallas.
·6·   ·these names.· We can't -- we don't know, because      ·6·   · · · Q.· · And so you went to Dallas with
·7·   ·we certainly were not peeking into those              ·7·   ·Dr. Waller?
·8·   ·government files.                                     ·8·   · · · A.· · Twice.· Twice we went to see him.
·9·   · · · Q.· · Oh, they're government files you're        ·9·   ·Twice.· Or see them twice.· The irony was, we
10·   ·talking about?                                        10·   ·then saw this group at a function in Washington,
11·   · · · A.· · Yes.· These are U.S. intelligence          11·   ·at an intel or security defense function several
12·   ·files.                                                12·   ·months later, and they said to us -- they said to
13·   · · · Q.· · I see.· And sometimes those files are      13·   ·us, well, it's really weird, because they already
14·   ·accessible, if they're not records protected --       14·   ·had figured out it was Guo that was the client.
15·   ·or, I'm sorry, restricted persons?                    15·   · · · · · · We never told them who the client was.
16·   · · · A.· · It just depends on the jurisdiction of     16·   ·So they told -- they -- they said, well, they
17·   ·where you're looking into the file.· We would         17·   ·figured out it was Guo, and they said about a
18·   ·never do anything that would be anti-U.S. law.        18·   ·week or so after we had been down there the
19·   ·And he was asking us to continue doing that, Guo      19·   ·second time, that Guo had people go down to talk
20·   ·was.                                                  20·   ·to them.
21·   · · · Q.· · But just in terms of these people who      21·   · · · · · · And we never told anybody who they
22·   ·you -- ASOG told you were restricted persons.         22·   ·were.· We didn't tell Lianchao who they were.· We
23·   ·There are some people, obviously, that are not        23·   ·didn't tell anyone.· This was just between Mike
24·   ·restricted persons, is that fair to say?              24·   ·and me.· So that was very weird.
25·   · · · A.· · I have no idea.· Because we didn't give    25·   · · · Q.· · Do you think that was just a


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                                                                                  Pages 234..237                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 42 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 238                                                     Page 240
·1·   ·coincidence or is that --                             ·1·   ·their new address, or some sort of preliminary
·2·   · · · A.· · I would find it an extraordinary           ·2·   ·stuff that was being brought up, but if you were
·3·   ·coincidence.· These guys are so deep-sixed that,      ·3·   ·getting into deeper stuff, you couldn't touch it.
·4·   ·just even to physically find them is like             ·4·   ·You shouldn't touch it.· And I'm sure he conveyed
·5·   ·difficult.                                            ·5·   ·that to the -- to the Team 1 leader.
·6·   · · · Q.· · So deep-sixed, you mean they're            ·6·   · · · Q.· · So it's your understanding -- Strategic
·7·   ·inaccessible or --                                    ·7·   ·Vision's understanding that Team One's work was
·8·   · · · A.· · Inaccessible.                              ·8·   ·curtailed because of the discovery that certain
·9·   · · · Q.· · -- they keep a low profile?                ·9·   ·fish were restricted persons or records
10·   · · · A.· · Yeah.· They had a very low profile and     10·   ·protected?
11·   ·they had a very low profile location.                 11·   · · · A.· · That's correct.
12·   · · · Q.· · And how is it that you knew about them,    12·   · · · Q.· · And that was on or about January 30th,
13·   ·ASOG?                                                 13·   ·or whereabouts?
14·   · · · A.· · Through Mike and one of his people.        14·   · · · A.· · No, no, no, no, no, no, no.· This was
15·   · · · Q.· · And so, did there come a time when ASOG    15·   ·way into the middle, the 15th to the 20th,
16·   ·said, well, we can't do any research on this          16·   ·something in there, of February.
17·   ·because of this --                                    17·   · · · Q.· · That's when ASOG conveyed to you
18·   · · · A.· · That's right.                              18·   ·that --
19·   · · · Q.· · -- records protected status?               19·   · · · A.· · Yes.
20·   · · · A.· · Yes.· That's right.                        20·   · · · Q.· · -- you were -- okay.
21·   · · · Q.· · I understand you're eager to move          21·   · · · · · · So let's just get a clear record then.
22·   ·forward, but, just for the court reporter, just       22·   ·When did ASOG tell you that certain people
23·   ·please wait for me to ask the question.               23·   ·were -- certain fish were records protected?
24·   · · · · · · Could Strategic Vision still perform       24·   · · · A.· · At some point in Feb -- in the middle
25·   ·some research, though, even though some of the        25·   ·of February 2018.

                                                  Page 239                                                     Page 241
·1·   ·individuals were designated as records protected,     ·1·   · · · Q.· · And then is it your understanding that
·2·   ·or restricted persons, I'm sorry?                     ·2·   ·Mike, very shortly thereafter, conveyed this
·3·   · · · A.· · We did not know at that point, and by      ·3·   ·information to Team 1?
·4·   ·that time we got some kind of service for a           ·4·   · · · A.· · That's correct.
·5·   ·lawsuit.· And our teams, we had to let our teams      ·5·   · · · · · · MR. GRENDI:· Let's do Exhibit 13.
·6·   ·overseas know on the 23rd of February that they       ·6·   · · · · · · (Wallop Exhibit 13, Letter dated
·7·   ·had to stop.                                          ·7·   · · · February 23, 2018, marked for
·8·   · · · Q.· · I just want to ask this, though.· Could    ·8·   · · · identification.)
·9·   ·Team 1 still do its job, even though ASOG found       ·9·   · · · Q.· · Do you recognize this document,
10·   ·that certain individuals were, as you described,      10·   ·Ms. Wallop?
11·   ·records protected?                                    11·   · · · A.· · Actually, I never saw the letter. I
12·   · · · A.· · That's -- that's a question I'd have to    12·   ·gather it was delivered to -- it says here it was
13·   ·leave for a lawyer in the -- in the IC,               13·   ·delivered to -- by hand delivery and electronic
14·   ·intelligence community, to answer.· We wouldn't       14·   ·mail to me, but I was out of the country, and
15·   ·want to do anything that would be illegal.            15·   ·they had, in fact, sent it to the Nevada address.
16·   · · · Q.· · So you didn't direct Team 1 to stop its    16·   · · · Q.· · The Nevada address, is that Strategic
17·   ·work when ASOG gave its report to you that people     17·   ·Vision's?
18·   ·were records protected?                               18·   · · · A.· · Strategic Vision's Nevada agent
19·   · · · A.· · We did.· Mike did.· He did talk to         19·   ·address, yeah.
20·   ·them.· And even though the -- he told them to         20·   · · · Q.· · Does Strategic Vision have an office in
21·   ·stop doing anything that looked like it was           21·   ·Nevada?
22·   ·peeking into something that they shouldn't be         22·   · · · A.· · We have an agent.
23·   ·looking into.                                         23·   · · · Q.· · Do you have a physical --
24·   · · · · · · It's one thing to peek into somebody's     24·   · · · A.· · Yes, it's an address.
25·   ·license, driver's license number, or their --         25·   · · · Q.· · -- location that you can --


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 43 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 242                                                     Page 244
·1·   · · · A.· · Yes.· It's on all the documents            ·1·   · · · A.· · I personally did not, no.
·2·   ·somewhere.                                            ·2·   · · · Q.· · Do you know if Dr. Waller did that
·3·   · · · Q.· · I'm asking if Strategic Vision has like    ·3·   ·or --
·4·   ·an office with --                                     ·4·   · · · A.· · Well, he did on the 30th, obviously.
·5·   · · · A.· · No.· It's an agent.· It's an LLC.          ·5·   · · · Q.· · Right.· I'm talking about after the
·6·   ·That's where they set them up.· Like Wyoming.         ·6·   ·30th.
·7·   · · · Q.· · And what's in Wyoming, I'm sorry?          ·7·   · · · A.· · Okay.· Well, I don't know.· I don't
·8·   · · · A.· · LLCs.· There are a lot of LLCs and         ·8·   ·know.
·9·   ·corporate trusts and so forth set up in Wyoming,      ·9·   · · · Q.· · Okay.· It says, "Eastern agreed to
10·   ·as there are in Nevada.                               10·   ·delay the start of the contract by ten days from
11·   · · · Q.· · Those are your corporate trusts and        11·   ·January 6th to January 16th."· Do you see that on
12·   ·LLCs?                                                 12·   ·the first page, Eastern 198?
13·   · · · A.· · No.                                        13·   · · · A.· · Yes.
14·   · · · Q.· · I just want to clear it up.                14·   · · · Q.· · Is that the ten-day grace period or
15·   · · · · · · You just mean it's a popular state for     15·   ·accommodation that you were talking about --
16·   ·incorporation?                                        16·   · · · A.· · Correct.
17·   · · · A.· · Correct.                                   17·   · · · Q.· · -- regarding the January --
18·   · · · Q.· · Thank you.                                 18·   · · · A.· · Yes.
19·   · · · · · · So when did you first see this letter?     19·   · · · Q.· · -- 26, 2018 meeting?
20·   · · · A.· · Oh, when I probably returned from the      20·   · · · A.· · Yes.
21·   ·Middle East; I think it was probably, I don't         21·   · · · Q.· · Thank you.
22·   ·know, the first or second week of March.              22·   · · · · · · Did Strategic Vision attempt to contact
23·   · · · Q.· · Were you surprised by the letter?          23·   ·Mr. Guo or Lianchao or Ms. Wang after receipt of
24·   · · · A.· · I thought it was idiotic, yes.             24·   ·this letter?
25·   · · · Q.· · Why did you think it was idiotic?          25·   · · · A.· · Well, Yvette had been taken off the

                                                  Page 243                                                     Page 245
·1·   · · · A.· · Because we heard nothing from them.· We    ·1·   ·case.· She was forbidden, apparently, to have
·2·   ·were continuing to do the work.· And it was           ·2·   ·anything to do with it.· So the only two people
·3·   ·silly.                                                ·3·   ·that would have been contactable would have been
·4·   · · · Q.· · What work was Strategic Vision doing       ·4·   ·Lianchao and I'm sure that -- again, I'm not sure
·5·   ·after January 30th that --                            ·5·   ·of the dates, but I'm sure -- and Lianchao
·6·   · · · A.· · All of February.· Or up until the 23rd     ·6·   ·travels, too, so I'm not sure where he was in
·7·   ·of February, to be precise.                           ·7·   ·February, but I'm sure that both Mike and I must
·8·   · · · Q.· · And were there any meetings with           ·8·   ·have had some conversation with him in February,
·9·   ·Lianchao Han and Mr. Guo after January 30, 2018?      ·9·   ·after this.
10·   · · · A.· · Not with us, no.                           10·   · · · Q.· · But you don't remember that, sitting
11·   · · · Q.· · With whom, then?                           11·   ·here today, what that conversation was like?
12·   · · · A.· · With Mike and myself, no.· With            12·   · · · A.· · No.· Well, I mean, we were very
13·   ·Lianchao and Guo, possibly.· I don't know.            13·   ·surprised and very unhappy, and we'd been working
14·   · · · Q.· · Let me ask this then.· Did you or          14·   ·hard to -- to do what Guo wanted, so...
15·   ·Dr. Waller meet with Lianchao after January 30,       15·   · · · Q.· · And did Lianchao say anything back to
16·   ·2018 concerning this contract?                        16·   ·you, or what was discussed?
17·   · · · A.· · That's a good question.· I doubt it,       17·   · · · A.· · I think he said that, you know, Guo
18·   ·because I didn't know that there was any issue        18·   ·gets upset all the time about a lot of things,
19·   ·other than, you know, we were doing our best and      19·   ·and so maybe we -- he could smooth it over and
20·   ·pedaling fast.                                        20·   ·calm him down and so forth.· And then we just, I
21·   · · · Q.· · So Strategic Vision didn't deliver any     21·   ·think, hoped that that would happen, and it
22·   ·information to Lianchao, or certainly Yvette,         22·   ·didn't.· So then the -- this thing was done, so
23·   ·after January 30, 2018?                               23·   ·we just stopped.
24·   · · · A.· · We could have.· I'd have to ask Mike.      24·   · · · Q.· · You mean this lawsuit?
25·   · · · Q.· · You didn't do it personally?               25·   · · · A.· · Yes.


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 44 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 246                                                     Page 248
·1·   · · · Q.· · When did you instruct Mike, or anyone      ·1·   · · · stamped SVUS000040 and SVUS000041, marked
·2·   ·else involved with the Strategic Vision team, to      ·2·   · · · for identification.)
·3·   ·just stop work on this project?                       ·3·   · · · Q.· · Just take a moment to take a look at
·4·   · · · A.· · After the 23rd of February.                ·4·   ·these two documents, SVUS40 and 41.
·5·   · · · Q.· · You don't remember the exact date?         ·5·   · · · A.· · Correct.
·6·   · · · A.· · No.· We had things in the hopper that      ·6·   · · · Q.· · Do you recognize these documents?
·7·   ·were being produced, but they -- we bought them,      ·7·   · · · A.· · Yes, I do.
·8·   ·so we had to pay for them, so when we got the         ·8·   · · · Q.· · What are they?
·9·   ·information, then we could produce it, but...         ·9·   · · · A.· · I think these were done by the -- I
10·   · · · Q.· · And did Dr. Waller fly to Europe to        10·   ·can't remember if these were done by the ASOG
11·   ·tell the leader of Team 1 to stop work, or how        11·   ·guys.· I think they were done by the ASOG guys,
12·   ·did that happen?                                      12·   ·because of the socials.· And they were -- Xi
13·   · · · A.· · I'm not sure.· You would have to ask       13·   ·Ping -- Xi Jinping, who is the premier of China,
14·   ·him how he did that.· He may have met with him        14·   ·and then his number 2, the next vice president of
15·   ·overseas.                                             15·   ·the communist party in China.
16·   · · · Q.· · Okay.· In connection with splitting the    16·   · · · · · · And this is a -- this is a -- sort of a
17·   ·profits from this engagement with Dr. Waller, do      17·   ·geo -- geologic -- I mean, how would I put it?
18·   ·you owe him money, or does Strategic Vision owe       18·   ·It's sort of a graph of the connections between
19·   ·him money I should say?                               19·   ·certain families that were in the original
20·   · · · A.· · First of all, there weren't profits.       20·   ·document that we were investigating.· So this was
21·   · · · Q.· · Earlier we discussed your arrangement      21·   ·like a -- not a flow chart; this was like a
22·   ·with Dr. Waller to split the proceeds of this         22·   ·genealogical -- I don't know what you want to
23·   ·engagement, correct?                                  23·   ·call it -- chart.
24·   · · · A.· · That's correct.                            24·   · · · Q.· · A family tree, is that what it is?
25·   · · · Q.· · And has that splitting occurred, is        25·   · · · A.· · It's sort of a family tree, yeah.· But

                                                  Page 247                                                     Page 249
·1·   ·what I should ask?                                    ·1·   ·it shows the relationships of many of these
·2·   · · · A.· · Yes, because our time was valuable for     ·2·   ·people that were in our original document from
·3·   ·those two months, plus the people that we had         ·3·   ·Guo.
·4·   ·already contracted to pay for the research and so     ·4·   · · · Q.· · Did you give this document to the
·5·   ·forth.· We expected to have a three-month             ·5·   ·client?
·6·   ·contract at the very least, which were the terms      ·6·   · · · A.· · To the client?
·7·   ·of the agreement, so...                               ·7·   · · · Q.· · Yeah, did you deliver this family tree?
·8·   · · · Q.· · And what I'm asking is, did you at some    ·8·   · · · A.· · This is when we were told they were
·9·   ·point send Dr. Waller a wire or write him a check     ·9·   ·RPs.
10·   ·for his half of this engagement?                      10·   · · · Q.· · So you got this information on or about
11·   · · · A.· · I already answered yes.                    11·   ·February 15th?
12·   · · · Q.· · And that was -- was that $250,000 that     12·   · · · A.· · Yes.· Again, I would have to -- yes.
13·   ·you referred to earlier?                              13·   · · · Q.· · But you didn't give it to Lianchao?
14·   · · · A.· · Yes.· More or less.· Plus expenses,        14·   · · · A.· · We never gave it to him.· We told
15·   ·travel expenses and other expenses.                   15·   ·Lianchao.
16·   · · · Q.· · And there was another wire for about       16·   · · · Q.· · What this family tree or --
17·   ·$300,000 for Team 1, right?                           17·   · · · A.· · Yes.
18·   · · · A.· · Yes, at least.                             18·   · · · Q.· · -- chart includes?
19·   · · · Q.· · Okay.· So as far as you and Dr. Waller     19·   · · · A.· · We told them that they were all RPs,
20·   ·are concerned, there's nothing left to split,         20·   ·that the names that we had were RPs that we had
21·   ·that's already been --                                21·   ·given in.· And, again, Mike would remember how
22·   · · · A.· · Oh, that baby -- that train's long left    22·   ·many of these we gave.
23·   ·the station.                                          23·   · · · Q.· · And just turning to the second page --
24·   · · · · · · MR. GRENDI:· Let's go to 14.               24·   · · · A.· · Okay.
25·   · · · · · · (Wallop Exhibit 14, Document Bates         25·   · · · Q.· · -- SVUS41?


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                                                                                  Pages 246..249                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 45 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 278                                                     Page 280
·1·   ·activities recruiting, vetting, engaging and          ·1·   · · · Q.· · And what vetting was done to select
·2·   ·marshaling the initial efforts of the various         ·2·   ·the -- well, what vetting was done to select Team
·3·   ·investigators and analysts in The United States,      ·3·   ·1?
·4·   ·Europe and the Middle East."· Do you see that?        ·4·   · · · A.· · Experience.
·5·   · · · A.· · I do.                                      ·5·   · · · Q.· · So just Dr. Waller's experience with
·6·   · · · Q.· · Did Eastern ever engage any analysts in    ·6·   ·Team 1?
·7·   ·the Middle East?                                      ·7·   · · · A.· · Yes.
·8·   · · · A.· · Eastern?                                   ·8·   · · · Q.· · Let's look at paragraph 62.· Paragraph
·9·   · · · Q.· · Oh, I'm sorry, Strategic Vision.· Did      ·9·   ·62 says that, "Mr. Guo provided to Strategic
10·   ·Strategic Vision ever engage any analysts in the      10·   ·Vision a list of 92 potential subjects with no
11·   ·Middle East?                                          11·   ·prioritization."· Do you see that in the middle
12·   · · · A.· · It could have, and I wouldn't know.· It    12·   ·of the paragraph there?
13·   ·could have been done through Team 1.                  13·   · · · A.· · I do.
14·   · · · Q.· · Wasn't Team 1 located in Europe?           14·   · · · Q.· · And what list was that that had just 92
15·   · · · A.· · They were, but they could have -- they     15·   ·non-prioritized names?
16·   ·all have links.                                       16·   · · · A.· · Exhibit 7.
17·   · · · Q.· · Okay.· Let me ask you this then.· So is    17·   · · · Q.· · So you didn't understand that there was
18·   ·it your understanding that Team 1 could farm out      18·   ·any priority to the 15 names that are in very
19·   ·its responsibilities to other teams to help it        19·   ·large font with numbers next to them?
20·   ·get information?                                      20·   · · · · · · MR. SCHMIDT:· Objection.· Go ahead.
21·   · · · A.· · It was all part of the team.               21·   · · · A.· · No, I would not -- I would not agree
22·   · · · Q.· · Right.· What I'm asking is, did Team 1     22·   ·with that.· We numbered them as to priority.
23·   ·have subteams?                                        23·   · · · Q.· · Well, you received the document with
24·   · · · A.· · No.· They would have had teams that --     24·   ·the numbers next to -- let's just say, if you
25·   ·well, if you call them subteams, they weren't.        25·   ·look at the first page?

                                                  Page 279                                                     Page 281
·1·   ·They were part of the original team.· And if they     ·1·   · · · A.· · Yes.
·2·   ·used people in the Middle East or Europe or           ·2·   · · · Q.· · It says Anita Suen --
·3·   ·wherever -- you know, the dark web has no             ·3·   · · · A.· · Yeah.
·4·   ·geographical location, so it could have been          ·4·   · · · Q.· · -- and it has a big 1 next to it?
·5·   ·anywhere that they were -- they were challenging      ·5·   · · · A.· · Yes.
·6·   ·each other to find what they needed to find.          ·6·   · · · Q.· · It also has the types of reports, does
·7·   ·That's how it works.                                  ·7·   ·it not?
·8·   · · · Q.· · But you understood Team 1 was located      ·8·   · · · A.· · Correct.
·9·   ·in Europe, correct?                                   ·9·   · · · Q.· · Did you not understand that that meant
10·   · · · A.· · Yes.                                       10·   ·that Anita Suen would be one of the fish?
11·   · · · Q.· · And Team 2 wasn't -- well, Team 2 was      11·   · · · A.· · She was the first fish.
12·   ·ASOG, correct?                                        12·   · · · Q.· · Right.
13·   · · · A.· · Correct.                                   13·   · · · A.· · She was the most important fish for
14·   · · · Q.· · And Team 2 is located in The United        14·   ·him.
15·   ·States?                                               15·   · · · Q.· · Right.
16·   · · · A.· · Correct.                                   16·   · · · A.· · So the first, more or less, 15 in here
17·   · · · Q.· · And ASOG wasn't contacted until what       17·   ·were the first -- were the first 15 fish that he
18·   ·time?                                                 18·   ·was talking about.
19·   · · · A.· · I answered that before.                    19·   · · · Q.· · And there happens to be exactly 15
20·   · · · Q.· · Was that about February, middle --         20·   ·names with a number next to it and the number of
21·   · · · A.· · The beginning of February, and then        21·   ·reports that were requested, and the types of
22·   ·beginning to the 5th -- I don't know, 5th of          22·   ·reports?
23·   ·February.· I have to go back and look.                23·   · · · A.· · Pretty much, yes.· You'd have to count
24·   · · · Q.· · And what was the recruiting process?       24·   ·the names of the fish, yeah.· If you can see --
25·   · · · A.· · Mike and I were using our channels.        25·   ·so you can't go by the page number, in other


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                                                                                  Pages 278..281                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 46 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 282                                                     Page 284
·1·   ·words.· You have to go by the subject.· See,          ·1·   · · · Q.· · Who did you understand was doing that
·2·   ·like, here is the second fish (indicating).           ·2·   ·surveillance, you mean the building security or
·3·   · · · Q.· · Right.                                     ·3·   ·the --
·4·   · · · A.· · So the second fish is on page 11.          ·4·   · · · A.· · Oh, any number of people could easily
·5·   · · · Q.· · Right.                                     ·5·   ·do the -- the security.· Mike's face is very
·6·   · · · A.· · Okay.· So you -- you'd have to go -- so    ·6·   ·recognizable, people who knew who Mike was;
·7·   ·these 15 fish are in here at least -- at least 15     ·7·   ·anybody in the Chinese communist party would have
·8·   ·fish in here.                                         ·8·   ·made us, so...
·9·   · · · Q.· · And you understood that those were         ·9·   · · · Q.· · I see.· But Strategic Vision did meet
10·   ·the -- or Strategic Vision understood that those      10·   ·with Mr. Guo repeatedly after the contract was
11·   ·were the 15 fish that the research was supposed       11·   ·signed?
12·   ·to start on, correct?                                 12·   · · · A.· · We tried not to.
13·   · · · A.· · Yes.                                       13·   · · · · · · MR. SCHMIDT:· Objection.
14·   · · · · · · MR. SCHMIDT:· Objection.                   14·   · · · · · · THE WITNESS:· Oh, sorry.
15·   · · · Q.· · Do you still have the virgin laptop        15·   · · · · · · MR. SCHMIDT:· It's okay.
16·   ·that's described in paragraph 63?                     16·   · · · A.· · We tried not to.· We explained to him
17·   · · · A.· · Yes.                                       17·   ·after about maybe the fourth time that we just
18·   · · · Q.· · And do you just have a ton of these        18·   ·couldn't do that anymore, it was just really
19·   ·virgin laptops lying around, because of your --       19·   ·dangerous for him and dangerous for us.
20·   ·Strategic Vision's work?                              20·   · · · Q.· · Just so we're clear.· The last time you
21·   · · · A.· · On this specific issue, we had two         21·   ·personally met with Mr. Guo was -- was that
22·   ·domestic ones, ones here, and then a battery of       22·   ·January 30th?
23·   ·ones overseas.                                        23·   · · · A.· · That was the 26th.· No, it was the 26th
24·   · · · Q.· · Could Strategic Vision get those           24·   ·of January, because the 30th was when Mike met
25·   ·laptops if they request -- it requested them from     25·   ·with Yvette at Union Station.

                                                  Page 283                                                     Page 285
·1·   ·Team 1?                                               ·1·   · · · Q.· · Got it.
·2·   · · · A.· · Never.· They've been destroyed.· They      ·2·   · · · A.· · Or Penn Station.
·3·   ·were destroyed on purpose, because we would           ·3·   · · · Q.· · When did Mr. Guo summon you to his
·4·   ·destroy them every week so that there was no          ·4·   ·yacht in Florida?
·5·   ·tracing to the IP number.                             ·5·   · · · A.· · That must have been sometime -- it
·6·   · · · Q.· · So it's Strategic Vision's practice to     ·6·   ·might have been at the 26th meeting, January 26,
·7·   ·regularly destroy these laptops for security          ·7·   ·2017 -- 2018.
·8·   ·purposes?                                             ·8·   · · · Q.· · But I take it that yacht meeting never
·9·   · · · A.· · Those particular ones, yes.· We did not    ·9·   ·happened?
10·   ·destroy the two that we had.                          10·   · · · A.· · No.· We refused to go.· It was not
11·   · · · Q.· · Paragraph 66, it says, "at the time the    11·   ·safe.
12·   ·agreement was negotiated with Mr. Guo, Strategic      12·   · · · Q.· · Let's go to paragraph 68.· It says
13·   ·Vision and Mr. Guo expressly agreed that they         13·   ·"Strategic Vision learned that most of the
14·   ·would not meet in person again."· Do you see          14·   ·individuals so identified by Eastern have been
15·   ·that?                                                 15·   ·designated by the U.S. Department of State under
16·   · · · A.· · Yes.                                       16·   ·the Obama administration as records protected
17·   · · · Q.· · Was that maintained or followed?           17·   ·persons, meaning that information concerning
18·   · · · A.· · He kept insisting on wanting to meet       18·   ·their status and activities was not subject to
19·   ·us, and we kept trying to explain to him that         19·   ·disclosure under any circumstance."· Do you see
20·   ·every time we went in and out, we were being          20·   ·that?
21·   ·photographed.· We didn't like that.· We did not       21·   · · · A.· · That's correct.
22·   ·want to be identified with his programs.              22·   · · · Q.· · And did that in any way hinder Team
23·   · · · Q.· · And, by photographed, do you mean going    23·   ·One's efforts, the records protected persons
24·   ·in and out of his apartment building?                 24·   ·designation?
25·   · · · A.· · Yes.                                       25·   · · · A.· · Actually, the curious thing is here, we


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        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 47 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 286                                                     Page 288
·1·   ·did not alert Eastern, we alerted Guo and we          ·1·   ·you'll be in bigger trouble than we will.
·2·   ·alerted Lianchao, and -- and I believe that           ·2·   ·They'll send you back to China.
·3·   ·Yvette was alerted -- no, I don't think -- Yvette     ·3·   · · · Q.· · Going to paragraph 71.· It says:
·4·   ·may not have been alerted because that was -- by      ·4·   · · · · · · "In the face of Eastern's insistence,
·5·   ·that time, it was in February.                        ·5·   ·however, Strategic Vision hand-delivered its raw
·6·   · · · Q.· · It says most of the individuals.· Is       ·6·   ·data to Mr. Guo and Eastern on January 26, 2018,
·7·   ·that most of the fish?                                ·7·   ·with the caveat that it would be of no use to
·8·   · · · A.· · Yes.                                       ·8·   ·Eastern until Strategic Vision had an opportunity
·9·   · · · Q.· · Is it fair to say that ASOG only looked    ·9·   ·to analyze it and produce a formal report"?
10·   ·into five individuals on the list?                    10·   · · · A.· · Yes, that's correct.· And formal report
11·   · · · A.· · I don't know how many they looked into.    11·   ·would have meant, not just sort of a -- a file
12·   ·Again, you would have to ask Mike.· They could        12·   ·that had been encrypted, but it also needed to
13·   ·have looked into all of them.· I honestly don't       13·   ·have Chinese translation, as I understood it, and
14·   ·remember.                                             14·   ·also needed to have -- and also needed -- there
15·   · · · Q.· · Let's look at paragraph 70.                15·   ·are certain lines of code.
16·   · · · A.· · 70?                                        16·   · · · · · · Look, I'm not a code expert, but there
17·   · · · Q.· · 7-0, yeah.                                 17·   ·are lines of code that people have to go through
18·   · · · A.· · Okay.                                      18·   ·and actually sort of translate into a language,
19·   · · · Q.· · It says, "Strategic Vision verbally        19·   ·and he kept -- and it takes time to actually
20·   ·reported to Mr. Guo and Eastern that Strategic        20·   ·translate that code.· You can't just stick it
21·   ·Vision could not within the limits of U.S. law        21·   ·into a machine and expect it to happen.
22·   ·obtain the information sought by Eastern on its       22·   · · · · · · So we gave him the raw code, I believe,
23·   ·initial list of subjects and that Strategic           23·   ·on both the 26th and the 31st, or the 31st of
24·   ·Vision's work would be refocused upon others on       24·   ·January, those two different USB keys.
25·   ·Eastern's list."                                      25·   · · · Q.· · Then it says, "until Strategic Vision

                                                  Page 287                                                     Page 289
·1·   · · · · · · Do you remember when you told              ·1·   ·had an opportunity to analyze it and produce a
·2·   ·Mr. Guo --                                            ·2·   ·formal report."· How would that work?
·3·   · · · A.· · That must have --                          ·3·   · · · A.· · Well, we needed to be able to take that
·4·   · · · Q.· · -- this information?                       ·4·   ·USB key back to the Team 1 to have them go
·5·   · · · A.· · That must have been through Lianchao.      ·5·   ·through and -- and configure however it was
·6·   ·And you keep using the word Eastern.· It would        ·6·   ·supposed to be done.· And that was not -- that
·7·   ·have been --                                          ·7·   ·was not my area, that was Mike's area, and Mike
·8·   · · · Q.· · I was just reading the complaint.          ·8·   ·can explain that really succinctly to you.
·9·   · · · A.· · Yeah, but it's -- it's not Eastern.        ·9·   · · · Q.· · Paragraph 74.· There's a reference to a
10·   ·It's Guo.· And I think it would have been -- that     10·   ·wire reversal?
11·   ·would have been at the -- that would have been at     11·   · · · A.· · Yes.
12·   ·the -- at the January 26th lunch.                     12·   · · · Q.· · How did that attempted wire reversal
13·   · · · Q.· · It says, "As a result, Mr. Guo became      13·   ·come to your attention?
14·   ·enraged"?                                             14·   · · · A.· · That was wild.· I got a call, like,
15·   · · · A.· · Yes.· He was -- I thought he was going     15·   ·about the -- I have to see, I think it was around
16·   ·to jump on the table.                                 16·   ·the 12th or the 16th or something like that of
17·   · · · Q.· · "And irrationally insisted that            17·   ·January 2018, and -- from Citibank wire
18·   ·Strategic Vision immediately deliver its work         18·   ·department saying that there'd been a request to
19·   ·product"?                                             19·   ·have 499,000 and some change reversed back to the
20·   · · · A.· · That's correct.· And continue to dive      20·   ·sender.· And I said, well, what are you talking
21·   ·into illegal areas.· And we said, we can't do         21·   ·about?· She said, well, we've gotten a request.
22·   ·that.· That's when Mike apologized and said,          22·   · · · · · · So then I called one of my private
23·   ·we're really sorry, but, you know, there are          23·   ·bankers at Citibank and I said, can this be done?
24·   ·certain things we can do, and we'll get, but          24·   ·I've never heard of such a thing.· He said,
25·   ·there are other things we can't do, and we --         25·   ·absolutely not, it can never be done.· Once the


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                                                                                  Pages 286..289                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 48 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 298                                                     Page 300
·1·   ·in for the protection of the parties, is that a       ·1·   · · · A.· · He represented -- Guo represented that
·2·   ·fair statement?                                       ·2·   ·he was, in fact, the person that was going to
·3·   · · · A.· · That's a fair statement.                   ·3·   ·fund this.· So I presumed, when Yvette's sitting
·4·   · · · Q.· · And you, being Strategic, took some        ·4·   ·next to me and having conversations with him,
·5·   ·steps to maintain the identity of the parties, to     ·5·   ·along with -- along with all of the conversations
·6·   ·keep the identity of the parties secret, is that      ·6·   ·that we'd had in his apartment, that obviously
·7·   ·fair?                                                 ·7·   ·it's Guo with whom we are dealing.· So Guo equals
·8·   · · · A.· · That's correct.                            ·8·   ·Eastern, one would presume.· Just saying.
·9·   · · · Q.· · And is it -- is it one of Strategic's      ·9·   · · · Q.· · Did you do any independent research to
10·   ·business goals to protect the identities of its       10·   ·determine whether or not that was -- that Guo
11·   ·clients, generally speaking?                          11·   ·equaled Eastern?
12·   · · · A.· · Yes, because it's generally a private      12·   · · · A.· · It's -- it's so redundant, but, no, we
13·   ·agreement or an arrangement between my clients        13·   ·didn't, because he said he was going to fund it,
14·   ·and myself.                                           14·   ·whatever it was, and we did not know the name of
15·   · · · Q.· · And was this agreement different in        15·   ·the entity that he was going to use.
16·   ·that regard in any way from your other clients;       16·   · · · Q.· · When did he first tell you that it
17·   ·was there a heightened degree of security or a        17·   ·would be an entity and not himself personally
18·   ·sense of keeping things -- keeping the names of       18·   ·that would be the counterparty to the contract?
19·   ·the parties confidential?                             19·   · · · A.· · Because he said that he had accounts
20·   · · · A.· · Absolutely --                              20·   ·everywhere and that it would probably be through
21·   · · · · · · MR. SCHMIDT:· Objection.· But go ahead.    21·   ·the U.K. office of William Wu or William Yu, or
22·   · · · · · · THE WITNESS:· Sorry.                       22·   ·whatever his name was, that was the -- his
23·   · · · · · · MR. SCHMIDT:· No, that's fine.             23·   ·financial person.
24·   · · · A.· · Absolutely.                                24·   · · · Q.· · And when did you find that out; when
25·   · · · Q.· · When you learned that Eastern would be     25·   ·was the first time?

                                                  Page 299                                                     Page 301
·1·   ·signing the contract on January 6th, the date         ·1·   · · · A.· · When did I find it out?· I mean, we
·2·   ·that you and Yvette executed the contract, did        ·2·   ·were discussing the payment process and how that
·3·   ·you speak to Mr. Guo at any point thereafter,         ·3·   ·would work after looking at the -- we had the
·4·   ·prior to signing the contract but after learning      ·4·   ·vision paper, we had the -- the Word
·5·   ·that Eastern would be the signatory?                  ·5·   ·presentation, we had done another sort of vision
·6·   · · · A.· · Gosh, I -- well, let me see.· So she       ·6·   ·paper; all of these were in different discussions
·7·   ·signed it on the -- the 6th of January.· Then we      ·7·   ·with him moving forward.
·8·   ·saw him subsequently during January.· So I never      ·8·   · · · · · · He then said, when we got to sort of
·9·   ·had any direct contact with him, it was only          ·9·   ·the third or fourth discussion of all of this,
10·   ·through Yvette or Lianchao.· So I'm not sure if       10·   ·that he wanted to fund it, and he explained that
11·   ·that answers your question.                           11·   ·he paid $250 million for that, and that he wanted
12·   · · · Q.· · After finding out that Eastern would be    12·   ·very much to make sure that, if this was done,
13·   ·the counterparty to the contract --                   13·   ·that we would have a long-term contract for at
14·   · · · A.· · Right.                                     14·   ·least three years, and for possibly up to 4,000,
15·   · · · Q.· · -- that's the subject of this              15·   ·quote, fish, and he said that he would fund it,
16·   ·litigation, did you talk to Mr. Guo about also        16·   ·so we presumed he would fund it.· We didn't know
17·   ·signing the contract?                                 17·   ·whether he was Eastern or, as I say, the Mickey
18·   · · · A.· · He represented Eastern, and in all of      18·   ·Mouse Club.· We didn't know.· He never told us
19·   ·our conversations he was the only party with whom     19·   ·who it was going to be.
20·   ·I negotiated, and Mike negotiated the discussion      20·   · · · Q.· · But prior to signing the contract --
21·   ·and the contract.                                     21·   · · · A.· · Right.
22·   · · · Q.· · So after finding out that Eastern, not     22·   · · · Q.· · -- you never asked Mr. Guo to sign it
23·   ·Mr. Guo, would be the counterparty to the             23·   ·himself?
24·   ·contract, did you talk to Mr. Guo about also          24·   · · · A.· · No, because he wouldn't.
25·   ·signing the contract?                                 25·   · · · Q.· · Did you ever ask him?


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                                                                                  Pages 298..301                          YVer1f
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 49 of 288

                  EASTERN PROFIT CORP LIMITED vs STRATEGIC VISION US, LLC
                                  French Wallop on 02/12/2019
                                                  Page 306                                                        Page 308
·1·   ·understanding at that time that Yvette was on the     ·1·   · · · · · · · · D E C L A R A T I O N
·2·   ·telephone with Mr. Guo.                               ·2
·3·   · · · · · · Did you ask Yvette to ask Mr. Guo if he    ·3·   · · · · · ·I hereby certify that having been first
·4·   ·would personally sign the contract?                   ·4·   ·duly sworn to testify to the truth, I gave the
·5·   · · · A.· · No.                                        ·5·   ·above testimony.
·6·   · · · Q.· · And how long was that meeting at which     ·6
·7·   ·you found out that Eastern would be signing, and      ·7·   · · · · · ·I FURTHER CERTIFY that the foregoing
·8·   ·you and Yvette signed the contract?                   ·8·   ·transcript is a true and correct transcript of
·9·   · · · A.· · I have no idea.· It was during that        ·9·   ·the testimony given by me at the time and place
10·   ·moment when she had the paperwork and we made the     10·   ·specified hereinbefore.
11·   ·changes, we agreed to the changes, she signed,        11
12·   ·and then I signed, and it had Eastern on the top.     12
13·   ·That's all I know.                                    13·   · · · · · · · · · ·_________________________
14·   · · · Q.· · All in all, two hours?                     14·   · · · · · · · · · · · · · ·FRENCH WALLOP
15·   · · · A.· · Maybe.· Let's call it two hours, to        15
16·   ·make you happy.                                       16
17·   · · · Q.· · No, not -- I want the truth.· No answer    17
18·   ·is going to make me happy.                            18·   ·Subscribed and sworn to before me
19·   · · · A.· · Two hours is fine with me.                 19
20·   · · · Q.· · I just want the truth.                     20·   ·this _____ day of ________________ 20___.
21·   · · · A.· · Two hours is fine.                         21
22·   · · · Q.· · Two hours?                                 22
23·   · · · A.· · Sure.                                      23·   ·_________________________
24·   · · · Q.· · And your understanding is that this        24·   · · · · NOTARY PUBLIC
25·   ·contract was the culmination of the conversations     25

                                                  Page 307                                                        Page 309
·1·   ·that you had had with Mr. Guo about the               ·1· · · · · · · · · ERRATA SHEET

·2·   ·investigative services that Strategic was going       ·2

·3·   ·to provide?                                           ·3· ·NAME OF CASE:· EASTERN PROFIT v STRATEGIC

·4·   · · · A.· · He hired us, not Yvette.                   ·4· ·DATE OF DEPOSITION:· Tuesday, February 12, 2019

·5·   · · · Q.· · So this contract was the culmination of    ·5· ·NAME OF WITNESS:· FRENCH WALLOP

·6·   ·those conversations?                                  ·6· ·PAGE LINE· ·FROM· · · · · · · · · TO

·7·   · · · A.· · Yes.                                       ·7

·8·   · · · · · · MS. TESKE:· Okay.· I have nothing          ·8· ·____|______|______________________|___________

·9·   · · · further.                                         ·9· ·____|______|______________________|___________

10·   · · · · · · MR. SCHMIDT:· I have no questions.         10· ·____|______|______________________|___________

11·   · · · Thank you.                                       11· ·____|______|______________________|___________

12·   · · · · · · THE WITNESS:· Cheers.                      12· ·____|______|______________________|___________

13·   · · · · · · MR. SCHMIDT:· Let him go off the           13· ·____|______|______________________|___________

14·   · · · record.                                          14· ·____|______|______________________|___________

15·   · · · · · · THE VIDEOGRAPHER:· This concludes          15· ·____|______|______________________|___________

16·   · · · today's deposition.· The time is 5:57.           16· ·____|______|______________________|___________

17                                                           17· ·____|______|______________________|___________

18·   · · · · · ·(Whereupon, the within proceedings          18· ·____|______|______________________|___________

19·   · · · concluded at 5:57 p.m., on the                   19· ·____|______|______________________|___________

20·   · · · 12th day of February, 2019.)                     20· ·____|______|______________________|___________

21                                                           21· ·____|______|______________________|___________

22·   · · · · · · *· · · ·*· · · ·*· · · ·*· · · ·*          22· ·____|______|______________________|___________

23                                                           23· ·____|______|______________________|___________

24                                                           24

25                                                           25



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                                                                                  Pages 306..309
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 50 of 288




                      Exhibit C
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 51 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 52 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 53 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 54 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 55 of 288




                      Exhibit D
       Case 1:18-cv-02185-LJL Document
                                Yvette 267-1
                                        Wang·Filed 03/16/20 Page 56 of 288
                                               30(b)(6)
                                   January 31, 2019                              1
                                                                             Page 1
·1

·2·   ·UNITED STATES DISTRICT COURT
· ·   ·SOUTHERN DISTRICT OF NEW YORK
·3·   ·-----------------------------------------x
· ·   ·EASTERN PROFIT CORPORATION LIMITED,
·4
· ·   · · · · Plaintiff-Counterclaim Defendant,
·5
· ·   · · · · · · · ·- against -
·6
· ·   ·STRATEGIC VISION US, LLC,
·7
· ·   · · · · ·Defendant-Counterclaim Plaintiff,
·8
· ·   · · · · · · · ·- against -
·9
· ·   ·GUO WENGUI a/k/a MILES KWOK,
10
· ·   · · · · · · · · · ·Counterclaim Defendant.
11·   ·-----------------------------------------x

12·   · · · · · · · · · · · ·340 Madison Avenue
· ·   · · · · · · · · · · · ·New York, New York
13
· ·   · · · · · · · · · · · ·January 31, 2019
14·   · · · · · · · · · · · ·9:40 a.m.

15

16

17· · · · · · · EXAMINATION BEFORE TRIAL of YVETTE

18· ·WANG, a 30(b)(6) Witness on behalf of EASTERN

19· ·PROFIT CORPORATION LIMITED, the

20· ·Plaintiff-Counterclaim Defendant herein, taken

21· ·by the Defendant-Counterclaim Plaintiff,

22· ·pursuant to Court Order, held at the

23· ·above-mentioned time and place, before Michelle

24· ·Lemberger, a Notary Public of the State of New

25· ·York.


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                                    (877) 479-2484                                    YVer1f
     Case 1:18-cv-02185-LJL Document
                              Yvette 267-1
                                      Wang·Filed 03/16/20 Page 57 of 288
                                             30(b)(6)
                                 January 31, 2019                                                            2 to 5
                                                        Page 2                                                   Page 4
·1                                                               ·1
·2·   ·A P P E A R A N C E S:
·3                                                               ·2·   ·Y V E T T E· ·W A N G, having been first duly
· ·   ·ZEICHNER ELLMAN & KRAUSE, LLP
·4·   ·Attorneys for Plaintiff-Counterclaim Defendant
                                                                 ·3·   · · · · ·sworn by a Notary Public of the State
· ·   · · · 35 Mason Street                                      ·4·   · · · · ·of New York, was examined and
·5·   · · · Greenwich, Connecticut 06830
· ·   ·BY:· ZACHARY GRENDI, ESQ.                                 ·5·   · · · · ·testified as follows:
·6                                                               ·6·   ·BY THE REPORTER:
·7
· ·   ·PHILLIPS LYTLE, LLP                                       ·7·   · · · Q.· Please state your name for the
·8·   ·Attorneys for Defendant-Counterclaim Plaintiff
· ·   · · · 340 Madison Avenue, 17th Floor
                                                                 ·8·   · record.
·9·   · · · New York, New York 10173                             ·9·   · · · A.· Yvette Wang.
· ·   ·BY:· JOSEPH SCHMIT, ESQ.
10                                                               10·   · · · Q.· What is your present address?
· ·   · · · jschmit@phillipslytle.com                            11·   · · · A.· 150 East 57th Street, Apartment 22D,
11
· ·   · · · HEATHER KIDERA, ESQ.                                 12·   · New York, New York 10022.
12
                                                                 13·   ·EXAMINATION BY
13
14                                                               14·   ·MR. SCHMIT:
· ·   ·HODGSON RUSS, LLP
15·   ·Attorneys for Counterclaim Defendant                      15·   · · · Q.· Good morning.· Could you please
· ·   · · · 605 Third Avenue, Suite 2300                         16·   · state your name for the record?
16·   · · · New York, New York 10158
· ·   ·BY:· ERIN N. TESKE, ESQ.                                  17·   · · · A.· Yvette Wang.
17
                                                                 18·   · · · Q.· Ms. Wang, my name is Joe Schmit.· We
18
· ·   ·ALSO PRESENT:                                             19·   · met a moment ago.· I represent defendant and
19
· ·   · · · · ·French Wallop
                                                                 20·   · counterclaim plaintiff in this, Strategic
20                                                               21·   · Vision U.S. LLC.
· ·   · · · · ·Sophia Xie - Mandarin interpreter
21·   · · · · · · · · · · · · (sitting in)                       22·   · · · · · You're here this morning for your
22
                                                                 23·   · deposition.· Do you recognize that?
· ·   · · · · · · · *· · ·*· · ·*· · ·*· · ·*
23                                                               24·   · · · A.· Yes.
24
25
                                                                 25·   · · · Q.· You're here specifically as a

                                                        Page 3                                                    Page 5
·1                                                               ·1·   ·   · · · · · · · · ·Yvette Wang
·2· · · · · · · S T I P U L A T I O N S                          ·2·   ·   30(b)(6) representative for plaintiff in this
·3                                                               ·3·   ·   action, Eastern Profit Corporation Limited;
·4· · · · · ·IT IS HEREBY STIPULATED AND AGREED by               ·4·   ·   is that right?
·5· ·and between the attorneys for the respective                ·5·   ·   · · A.· Yes.
·6· ·parties herein, that filing, sealing and                    ·6·   ·   · · Q.· Has your attorney explained to you
·7· ·certification be and the same are hereby                    ·7·   ·   what that means, being a 30(b)(6)
·8· ·waived.                                                     ·8·   ·   representative?
·9· · · · · ·IT IS FURTHER STIPULATED AND AGREED                 ·9·   ·   · · A.· Yes.
10· ·that all objections, except as to the form of               10·   ·   · · Q.· I'm going to ask you a series of
11· ·the question shall be reserved to the time of               11·   ·   questions.· All I ask is that you give me
12· ·the trial.                                                  12·   ·   complete and truthful answers; is that all
13· · · · · ·IT IS FURTHER STIPULATED AND AGREED                 13·   ·   right?
14· ·that the within deposition may be signed and                14·   ·   · · A.· Will do.
15· ·sworn to before any officer authorized to                   15·   ·   · · Q.· The most important thing in my book
16· ·administer an oath, with the same force and                 16·   ·   is that you understand the question.
17· ·effect as if signed and sworn to before the                 17·   ·   · · A.· Yes.
18· ·Court and that a copy of this examination                   18·   ·   · · Q.· If at any time you don't understand
19· ·shall be furnished without charge to the                    19·   ·   the question I am asking, just let me know,
20· ·attorney representing the witness testifying                20·   ·   okay?
21· ·herein.                                                     21·   ·   · · A.· Yes.
22                                                               22·   ·   · · Q.· I will do my best to meet your
23                                                               23·   ·   concern.· Okay?
24                                                               24·   ·   · · A.· Yes, thank you.
25                                                               25·   ·   · · Q.· There's one thing.· There was a


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 58 of 288
                                         30(b)(6)
                             January 31, 2019                                                         6 to 9
                                                 Page 6                                                    Page 8
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   little bit of a miscommunication.· We do have   ·2·   ·   what's been marked for your deposition as
·3·   ·   a Mandarin interpreter in the room, but my      ·3·   ·   Exhibit 1.
·4·   ·   understanding is you don't need an              ·4·   ·   · · A.· Thank you.
·5·   ·   interpreter?                                    ·5·   ·   · · Q.· It is Strategic Vision's notice of
·6·   ·   · · A.· Thank you.                              ·6·   ·   30(b)(6) deposition to plaintiff.
·7·   ·   · · Q.· Is that correct?                        ·7·   ·   · · · · Do you have that in front of you?
·8·   ·   · · A.· I will try my best, it's correct.       ·8·   ·   · · A.· Yes.
·9·   ·   · · Q.· Okay.· If during the morning there      ·9·   ·   · · Q.· Have you seen it before?
10·   ·   comes a time, because for whatever set of       10·   ·   · · A.· Yes, I did.
11·   ·   reasons you want to change your mind, just      11·   ·   · · Q.· If you can turn to the last page,
12·   ·   let me know.· Okay?                             12·   ·   those are the list of topics that have been
13·   ·   · · A.· Sure, thank you.                        13·   ·   identified.
14·   ·   · · · · · ·MR. GRENDI:· Just before we get      14·   ·   · · · · Do you see that?
15·   ·   · · ·into it, I just want to put an             15·   ·   · · A.· Yes.
16·   ·   · · ·objection on the record.· I think          16·   ·   · · Q.· Have you reviewed those topics
17·   ·   · · ·just for clarity and consistency down      17·   ·   before?
18·   ·   · · ·the road because I don't want to be        18·   ·   · · A.· Yes.
19·   ·   · · ·interrupting you all the time, but to      19·   ·   · · Q.· Are there any topics there that
20·   ·   · · ·the extent that you're asking              20·   ·   you're not prepared to testify concerning
21·   ·   · · ·questions that are part of the topics      21·   ·   today?
22·   ·   · · ·encompassed in the 30(b)(6)                22·   ·   · · A.· No.· All of them, I'm ready to
23·   ·   · · ·attachment, obviously the witness          23·   ·   answer the question.
24·   ·   · · ·will be answering for the                  24·   ·   · · Q.· Eastern Profit Corporation Limited,
25·   ·   · · ·corporation.· To the extent there are      25·   ·   are you familiar with that entity?

                                               Page 7                                                      Page 9
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   · · · ·questions being asked outside of             ·2·   ·   · · A.· Not too much.
·3·   · · · ·that, the witness will not be                ·3·   ·   · · Q.· To what extent are you familiar with
·4·   · · · ·answering for the corporation, will          ·4·   ·   that entity?
·5·   · · · ·be answering based on her own                ·5·   ·   · · A.· No.
·6·   · · · ·knowledge.· And I may pop in with            ·6·   ·   · · Q.· You said not too much?
·7·   · · · ·that every now and then.                     ·7·   ·   · · A.· Yes.
·8·   ·BY MR. SCHMIT:                                     ·8·   ·   · · Q.· How are you, if at all, affiliated
·9·   · · · Q.· Ms. Wang, I'm going to ask you from       ·9·   ·   with Eastern Profit Corporation Limited?
10·   · time to time how you know the answer and just     10·   ·   · · A.· I was told this is another party,
11·   · let me know if you've been educated and           11·   ·   but I don't know this company at all before
12·   · provided the answer or if it is from your         12·   ·   this project.
13·   · personal knowledge; is that okay?                 13·   ·   · · Q.· You referred to you were told this
14·   · · · A.· Okay.                                     14·   ·   is another party.· What do you mean by that?
15·   · · · · · · ·MR. SCHMIT:· Let's have this           15·   ·   · · A.· Miles, that is the person who
16·   · · · ·marked as Exhibit 1.· If at any time         16·   ·   involved in this project as well, and he told
17·   · · · ·you need a break, just let us know,          17·   ·   me this is another party of the contract.
18·   · · · ·okay.                                        18·   ·   · · Q.· Miles, who are you referring to?
19·   · · · · · · ·THE WITNESS:· Sure, thank you.         19·   ·   · · A.· Miles Kwok.
20·   · · · · · · ·(Whereupon, at this time, the          20·   ·   · · Q.· Is he known by any other names?
21·   · · · ·reporter marked the above-mentioned          21·   ·   · · A.· Kwok Ho Wan, I think.
22·   · · · ·notice of deposition as Wang Exhibit         22·   ·   · · Q.· Could you spell that?
23·   · · · ·1 for identification.)                       23·   ·   · · A.· K-W-O-K, H-O, W-A-N.
24·   ·BY MR. SCHMIT:                                     24·   ·   · · Q.· How about Guo?
25·   · · · Q.· Ms. Wang, I'm going to hand you           25·   ·   · · A.· Yes.


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 59 of 288
                                         30(b)(6)
                             January 31, 2019                        10 to 13
                                                Page 10                                                   Page 12
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· How do you spell that?                  ·2·   ·   · · · · Do you recognize that document?
·3·   ·   · · A.· G-U-O.                                  ·3·   ·   · · A.· Yes.
·4·   ·   · · Q.· And is that his first name often?       ·4·   ·   · · Q.· What is it?
·5·   ·   · · A.· Last name, family name.                 ·5·   ·   · · A.· It's the contract signed between
·6·   ·   · · Q.· So sometimes people refer to him as     ·6·   ·   Eastern Profit and Strategic Vision.
·7·   ·   Mr. Guo?                                        ·7·   ·   · · Q.· And in your answers up until now,
·8·   ·   · · A.· Yes.                                    ·8·   ·   you've been saying the other party to the
·9·   ·   · · Q.· If I say Mr. Guo, you'll know who       ·9·   ·   contract.· You're referring to the contract
10·   ·   I'm referring to?                               10·   ·   that I just marked as Exhibit 2?
11·   ·   · · A.· Yes.                                    11·   ·   · · A.· Correct.
12·   ·   · · Q.· If I say Eastern Profit, will you       12·   ·   · · · · · ·MR. GRENDI:· Objection to the
13·   ·   know that I'm referring to Eastern Profit       13·   ·   · · ·form.
14·   ·   Corporation Limited?                            14·   ·   · · · · · ·You can answer.
15·   ·   · · A.· Yes.                                    15·   ·   · · Q.· When Mr. Guo introduced you to
16·   ·   · · Q.· So is it Mr. Guo who introduced you     16·   ·   Eastern Profit, did he hand you the contract?
17·   ·   to Eastern Profit?                              17·   ·   · · A.· I don't understand what you mean,
18·   ·   · · A.· Yes.                                    18·   ·   hand me the contract?
19·   ·   · · Q.· When did that happen?                   19·   ·   · · Q.· How did he say -- what did he say
20·   ·   · · A.· In December 2017.· No, the contract     20·   ·   when you first heard the words Eastern Profit
21·   ·   was signed 2018, right before this contract     21·   ·   or first heard of the entity?
22·   ·   was signed.                                     22·   ·   · · A.· I remember that happened before I
23·   ·   · · Q.· I'll represent to you the contract      23·   ·   went to Virginia to discuss about this
24·   ·   was signed on January 6, 2018; does that        24·   ·   contract.· By then I was request to negotiate
25·   ·   sound about right?                              25·   ·   this contract.· Then I ask who is the client.

                                              Page 11                                                     Page 13
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   · · · A.· 2018.· That's right, December 2017.       ·2·   ·   Then I had that, this name.
·3·   · · · Q.· So shortly before January you would       ·3·   ·   · · Q.· So you were negotiating the contract
·4·   · have been introduced to Eastern Profit?           ·4·   ·   on behalf of Mr. Guo initially?
·5·   · · · A.· Yes.                                      ·5·   ·   · · · · · ·MR. GRENDI:· Objection of the
·6·   · · · Q.· What did Mr. Guo tell you about           ·6·   ·   · · ·form.
·7·   · Eastern Profit when he introduced you to that     ·7·   ·   · · · · · ·You can answer.
·8·   · company?                                          ·8·   ·   · · A.· I will listen to my lawyer.
·9·   · · · A.· He told me this is another party of       ·9·   ·   · · · · · ·MR. GRENDI:· I said you can
10·   · this contract, and then he gave me the name.      10·   ·   · · ·answer.
11·   · And that's it.                                    11·   ·   · · Q.· No, no, you can answer.· Unless he
12·   · · · Q.· When you say "another party of the        12·   ·   tells you not to answer, you have to answer.
13·   · contract," what are you referring to?             13·   ·   Objections are just for the record.
14·   · · · A.· Another party.· The client of this        14·   ·   · · A.· Okay.· Correct.
15·   · contract.                                         15·   ·   · · Q.· And then at some point Mr. Guo said,
16·   · · · · · · ·MR. SCHMIT:· Just so the record        16·   ·   The actual entity that's going to enter the
17·   · · · ·is clear, could I have this marked as        17·   ·   contract is Eastern Profit, right?
18·   · · · ·Exhibit 2?                                   18·   ·   · · A.· Correct.
19·   · · · · · · ·(Whereupon, at this time, the          19·   ·   · · Q.· So initially, when you were
20·   · · · ·reporter marked the above-mentioned          20·   ·   negotiating in Virginia, you were speaking on
21·   · · · ·research agreement as Wang Exhibit 2         21·   ·   behalf of Mr. Guo; is that a fair statement?
22·   · · · ·for identification.)                         22·   ·   · · · · · ·MR. GRENDI:· Objection, you can
23·   ·BY MR. SCHMIT:                                     23·   ·   · · ·answer.
24·   · · · Q.· I'm going to hand you what's been         24·   ·   · · · · · ·MS. TESKE:· Objection.
25·   · marked as Exhibit 2.                              25·   ·   · · A.· Correct.


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 60 of 288
                                         30(b)(6)
                             January 31, 2019                        14 to 17
                                                Page 14                                                   Page 16
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· And then at some point prior to         ·2·   ·   · · · · · ·MR. GRENDI:· I'll just remind
·3·   ·   execution, he said the party we're going to     ·3·   ·   · · ·everyone of the objection as to the
·4·   ·   put in the contract is Eastern Profit, right?   ·4·   ·   · · ·topics that the witness has been
·5·   ·   · · · · · ·MR. GRENDI:· Objection.              ·5·   ·   · · ·prepared to testify about, and this
·6·   ·   · · · · · ·You can answer.                      ·6·   ·   · · ·outside the topics.· But you can go
·7·   ·   · · A.· I don't remember that.                  ·7·   ·   · · ·ahead and answer.
·8·   ·   · · Q.· So what did he finally tell you when    ·8·   ·   · · · · · ·MR. SCHMIT:· This is well
·9·   ·   he introduced you to Eastern Profit?            ·9·   ·   · · ·within the topics, but you stated
10·   ·   · · A.· Because I am a project manager. I       10·   ·   · · ·your objection.
11·   ·   have to have enough information for a           11·   ·   · · Q.· What does Eastern Profit do?
12·   ·   project.· So I request the necessary            12·   ·   · · A.· I do not know.
13·   ·   information to finish this contract.· Then he   13·   ·   · · Q.· Does Eastern Profit have a board of
14·   ·   gave me this name.                              14·   ·   directors?
15·   ·   · · Q.· What information did you request of     15·   ·   · · A.· I don't know.
16·   ·   Mr. Guo in order to finish this project?        16·   ·   · · Q.· Are you employed by Eastern Profit?
17·   ·   · · A.· At least who is the client or who is    17·   ·   · · A.· No, I'm not.
18·   ·   the vendor.                                     18·   ·   · · Q.· Are you an officer or director of
19·   ·   · · Q.· So when you asked him who the client    19·   ·   Eastern Profit?
20·   ·   or the vendor was, he said Eastern Profit; is   20·   ·   · · A.· I am not.
21·   ·   that fair?                                      21·   ·   · · Q.· Have you ever met anybody or spoken
22·   ·   · · A.· Correct.                                22·   ·   on the phone with anybody who is employed by
23·   ·   · · Q.· What did he tell you about Eastern      23·   ·   Eastern Profit?
24·   ·   Profit at that time?                            24·   ·   · · A.· No, I didn't.
25·   ·   · · A.· I don't remember.                       25·   ·   · · Q.· Have you ever met anybody or spoken

                                                Page 15                                                   Page 17
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· Did you ask anything?                   ·2·   ·   on the phone with anybody that you understood
·3·   ·   · · A.· No.                                     ·3·   ·   to be an officer or director of Eastern
·4·   ·   · · Q.· Up until that point, had you ever       ·4·   ·   Profit?
·5·   ·   heard of Eastern Profit before?                 ·5·   ·   · · A.· No, I didn't.
·6·   ·   · · A.· I don't remember I heard about that.    ·6·   ·   · · Q.· Since you executed the contract on
·7·   ·   · · Q.· Sitting here today, you think that      ·7·   ·   behalf of Eastern Profit, has anybody told
·8·   ·   may have been the first time you ever heard     ·8·   ·   you anything about what Eastern Profit does?
·9·   ·   of Eastern Profit?                              ·9·   ·   · · A.· You mean business?
10·   ·   · · A.· You mean by then?                       10·   ·   · · Q.· Anything.· However you want to
11·   ·   · · · · · ·MR. GRENDI:· Objection to the        11·   ·   characterize it.
12·   ·   · · ·form.                                      12·   ·   · · A.· If I recall a little bit, I'm not
13·   ·   · · · · · ·You can answer, go ahead.            13·   ·   sure, Mr. Guo said Eastern Profit is a kind
14·   ·   · · A.· You mean by this time, December         14·   ·   of, like, investment company.· But I didn't
15·   ·   2017?                                           15·   ·   ask further what is that.
16·   ·   · · Q.· Yes.                                    16·   ·   · · Q.· Do you know where Eastern Profit is
17·   ·   · · A.· Yes.                                    17·   ·   based?
18·   ·   · · Q.· So as far as you can recall, that's     18·   ·   · · A.· Hong Kong.
19·   ·   the first time you ever heard of Eastern        19·   ·   · · Q.· Does it have an office there?
20·   ·   Profit?                                         20·   ·   · · A.· I don't know.
21·   ·   · · A.· Correct.                                21·   ·   · · Q.· Again, do you know if there are any
22·   ·   · · Q.· Did Mr. Guo tell you anything about     22·   ·   employees in Hong Kong?
23·   ·   Eastern Profit?                                 23·   ·   · · A.· Eastern Profit employee?
24·   ·   · · A.· I don't remember.                       24·   ·   · · Q.· Yes.
25·   ·   · · Q.· What does Eastern Profit do?            25·   ·   · · A.· No, I didn't.


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 61 of 288
                                         30(b)(6)
                             January 31, 2019                        22 to 25
                                                Page 22                                                   Page 24
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   Springs, correct?                               ·2·   ·   president with Golden Spring LTD, right?
·3·   ·   · · A.· Yes.                                    ·3·   ·   · · A.· You're right.
·4·   ·   · · Q.· Are there other employees?              ·4·   ·   · · Q.· Why did you verify the
·5·   ·   · · · · · ·MR. GRENDI:· Objection.· You         ·5·   ·   interrogatories in this fashion?
·6·   ·   · · ·can answer.                                ·6·   ·   · · · · · ·MR. GRENDI:· I'm just going to
·7·   ·   · · A.· In New York?                            ·7·   ·   · · ·object to the form, and -- well,
·8·   ·   · · Q.· In New York.                            ·8·   ·   · · ·if -- go ahead and answer if you can.
·9·   ·   · · A.· I don't answer this.· But because,      ·9·   ·   · · A.· Because I was project manager of
10·   ·   you know, I try to save everyone's time, so,    10·   ·   this contract (indicating).
11·   ·   yes, they do have employees here.               11·   ·   · · Q.· And does Golden Spring LTD have any
12·   ·   · · Q.· Where is it?· Is there an office?       12·   ·   contractual relationships with Eastern
13·   ·   · · A.· Yes.                                    13·   ·   Profit?
14·   ·   · · Q.· Where is the office located?            14·   ·   · · A.· No.
15·   ·   · · A.· 800 Fifth Avenue.                       15·   ·   · · · · · ·MR. GRENDI:· Objection. I
16·   ·   · · Q.· How many employees are there for        16·   ·   · · ·mean, I think that needs to be
17·   ·   this entity?                                    17·   ·   · · ·clarified and I think there's a
18·   ·   · · A.· 12 now, I think, 12.                    18·   ·   · · ·document that will clarify that.
19·   ·   · · Q.· Does Mr. Guo work for this entity?      19·   ·   · · · · · ·Can we go off the record
20·   ·   · · A.· No.                                     20·   ·   · · ·briefly?
21·   ·   · · Q.· Why did Golden Springs verify the       21·   ·   · · · · · ·MR. SCHMIT:· Yes, sure, why
22·   ·   interrogatories in this case?                   22·   ·   · · ·not?
23·   ·   · · · · · ·MR. GRENDI:· Objection.              23·   ·   · · · · · ·MR. GRENDI:· Do you want to
24·   ·   · · · · · ·You can answer.                      24·   ·   · · ·step outside?
25·   ·   · · A.· I don't understand your question.       25·   ·   · · · · · ·MR. SCHMIT:· You want to talk

                                              Page 23                                                   Page 25
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   · · · · · · · · · ·Yvette Wang
·2·   · · · Q.· Why did --                                ·2·   · · · ·with me?
·3·   · · · · · · ·MR. SCHMIT:· Let's have this           ·3·   · · · · · · ·MR. GRENDI:· With you, yes.
·4·   · · · ·marked as Exhibit 3.                         ·4·   · · · · · · ·(Whereupon, a brief recess was
·5·   · · · · · · ·(Whereupon, at this time, the          ·5·   · · · ·taken.)
·6·   · · · ·reporter marked the above-mentioned          ·6·   · · · · · · ·MR. GRENDI:· Just in the
·7·   · · · ·responses and objections to                  ·7·   · · · ·interest of clarifying the record, as
·8·   · · · ·interrogatories as Wang Exhibit 3 for        ·8·   · · · ·I think there is just an error there,
·9·   · · · ·identification.)                             ·9·   · · · ·there is a relationship between
10·   ·BY MR. SCHMIT:                                     10·   · · · ·Golden Spring and Eastern Profit
11·   · · · Q.· I'm handing you what's been marked        11·   · · · ·Corporation, there's a limited power
12·   · for your deposition as Exhibit 3.                 12·   · · · ·of attorney.· That document, we're
13·   · · · A.· Thank you.                                13·   · · · ·happy to produce that to clarify this
14·   · · · Q.· Do you recognize that document?           14·   · · · ·issue.· But I think the answer that
15·   · · · A.· Yes.                                      15·   · · · ·there's no relationship between
16·   · · · Q.· Turn to the second to last page.· Do      16·   · · · ·Eastern Profit and Golden Spring was,
17·   · you see that, the verification?                   17·   · · · ·obviously, just kind of a mistake
18·   · · · A.· Yes.                                      18·   · · · ·made by a witness that's not an
19·   · · · Q.· Is that your signature there?             19·   · · · ·attorney.
20·   · · · A.· Yes.                                      20·   · · · · · · ·So we will produce that
21·   · · · Q.· And it says, Yvette Wang, President,      21·   · · · ·document shortly.· I don't have it on
22·   · do you see that?                                  22·   · · · ·me.
23·   · · · A.· Yes.                                      23·   ·BY MR. SCHMIT:
24·   · · · Q.· And then up above it says Golden          24·   · · · Q.· Ms. Wang, have you seen this power
25·   · Spring New York LTD.· I assume your title is      25·   · of attorney document?


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 62 of 288
                                         30(b)(6)
                             January 31, 2019                        26 to 29
                                              Page 26                                                     Page 28
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   · · · A.· Yes.                                      ·2·   ·   · · A.· I didn't ask.
·3·   · · · Q.· Do you recall who signed it on            ·3·   ·   · · Q.· Did he explain to you what his
·4·   · behalf of Eastern Profit?                         ·4·   ·   relationship with Eastern Profit was?
·5·   · · · A.· I don't remember that.· It's a long       ·5·   ·   · · A.· He didn't explain.
·6·   · time ago.· If you have it -- I don't              ·6·   ·   · · Q.· Do you have any idea why he would
·7·   · remember.                                         ·7·   ·   execute a power of attorney for Eastern
·8·   · · · · · · ·MR. GRENDI:· I believe the             ·8·   ·   Profit?
·9·   · · · ·document will clarify that.                  ·9·   ·   · · A.· Because we provide service, Golden
10·   · · · · · · ·MR. SCHMIT:· Can you help, for         10·   ·   Spring.
11·   · · · ·the record, and say who executed it?         11·   ·   · · Q.· Service to who?
12·   · · · · · · ·MR. GRENDI:· I know him as             12·   ·   · · A.· Service to the client.
13·   · · · ·Hank.· His full name is -- it's in           13·   ·   · · Q.· Who is the client?
14·   · · · ·the interrogatory responses.· Let me         14·   ·   · · A.· Eastern Profit.
15·   · · · ·see, I want to make sure I get it            15·   ·   · · Q.· Does Eastern Profit provide Golden
16·   · · · ·right for the record.· C-H-U-N-G,            16·   ·   Spring with any compensation?
17·   · · · ·U-A-N-G, H-A-N.· That's my                   17·   ·   · · A.· Not now, not yet.
18·   · · · ·recollection.                                18·   ·   · · Q.· When you say "not now," will they at
19·   ·BY MR. SCHMIT:                                     19·   ·   some time in the future or have they at some
20·   · · · Q.· If you can turn to Exhibit 3, second      20·   ·   time in the past?
21·   · page, do you see the second interrogatory,        21·   ·   · · · · · ·MR. GRENDI:· Objection of form.
22·   · number 2?                                         22·   ·   · · · · · ·You can answer.
23·   · · · A.· Yes.                                      23·   ·   · · A.· No.
24·   · · · Q.· It says identify the principals of        24·   ·   · · Q.· And what did you mean by not now?
25·   · Eastern.                                          25·   ·   · · · · · ·MR. GRENDI:· Objection.

                                                Page 27                                                   Page 29
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · · · Do you see that?                        ·2·   ·   · · · · · ·You can answer.
·3·   ·   · · A.· Yes.                                    ·3·   ·   · · Q.· You can answer.
·4·   ·   · · Q.· And then that's Mr. Han, your           ·4·   ·   · · A.· Oh.
·5·   ·   attorney just spelled into the record, right?   ·5·   ·   · · · · · ·MR. GRENDI:· You can answer,
·6·   ·   · · · · · ·MR. GRENDI:· Objection, but,         ·6·   ·   · · ·I'm sorry.
·7·   ·   · · ·yes, go ahead.                             ·7·   ·   · · Q.· Yes.· He's just making an objection
·8·   ·   · · A.· Yes.                                    ·8·   ·   for the record.· It's for him and I to work
·9·   ·   · · Q.· Is that the only principal of           ·9·   ·   out later, if necessary.
10·   ·   Eastern that you're aware of?                   10·   ·   · · A.· Okay.· Because Golden Spring didn't
11·   ·   · · A.· From here, yes.                         11·   ·   sign any contract with Eastern.· So I don't
12·   ·   · · Q.· Are you aware of any other              12·   ·   know there is any payment or any, like,
13·   ·   principals of Eastern Profit?                   13·   ·   payment, yeah.
14·   ·   · · A.· No.                                     14·   ·   · · Q.· Does Eastern Profit have a bank
15·   ·   · · Q.· Have you ever met Mr. Han?              15·   ·   account anywhere?
16·   ·   · · A.· We met before.                          16·   ·   · · A.· I don't know.
17·   ·   · · Q.· Where does he reside?                   17·   ·   · · Q.· Why did Eastern Profit enter into
18·   ·   · · A.· Sorry?                                  18·   ·   this contract?
19·   ·   · · Q.· Where does he live?· Where does he      19·   ·   · · A.· I don't know.
20·   ·   reside?                                         20·   ·   · · Q.· But Mr. Guo told you Eastern Profit
21·   ·   · · A.· I don't know.                           21·   ·   was going to be the client that should be put
22·   ·   · · Q.· Where did you meet him?                 22·   ·   in the contract, right?
23·   ·   · · A.· New York.                               23·   ·   · · A.· Correct.· Mr. Guo said he is the
24·   ·   · · Q.· Do you know if he resides in the        24·   ·   advisor and consultant to Eastern.· So that's
25·   ·   States, the United States?                      25·   ·   why he communicated and told me Eastern


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 63 of 288
                                         30(b)(6)
                             January 31, 2019                        30 to 33
                                                Page 30                                                   Page 32
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   should be in this contract.                     ·2·   ·   · · Q.· You use that term as well, correct?
·3·   ·   · · Q.· Did he say what he was advising or      ·3·   ·   · · A.· Yes.· That is Strategic Vision
·4·   ·   consulting Eastern Profit on?                   ·4·   ·   request me to use.
·5·   ·   · · A.· He didn't say that clearly, but I       ·5·   ·   · · Q.· What did you understand fish to
·6·   ·   remember he mentioned about, like, strategy     ·6·   ·   mean?
·7·   ·   or some investments, something like that.       ·7·   ·   · · A.· Target people, human beings.
·8·   ·   · · Q.· Tell me, when did he give this          ·8·   ·   · · Q.· But Strategic Vision wasn't
·9·   ·   explanation?                                    ·9·   ·   identifying anybody to be researched, that
10·   ·   · · A.· I don't remember that clearly.          10·   ·   was Eastern Profit, right?
11·   ·   Should be in December or January, right         11·   ·   · · A.· Correct.
12·   ·   before or after this contract signed.           12·   ·   · · Q.· So who was Eastern Profit
13·   ·   · · Q.· What was the purpose of the             13·   ·   identifying to be researched and why?
14·   ·   contract?                                       14·   ·   · · A.· Some individual who are highly
15·   ·   · · A.· Investigation service.                  15·   ·   corrupted, Chinese people.
16·   ·   · · Q.· Investigation of what?                  16·   ·   · · Q.· Corrupted in whose view?
17·   ·   · · A.· Information.                            17·   ·   · · · · · ·MR. GRENDI:· Objection.
18·   ·   · · Q.· What kind of information?               18·   ·   · · · · · ·You can answer.
19·   ·   · · A.· Let me review the contract again.       19·   ·   · · A.· I don't understand your question.
20·   ·   · · · · · ·(Witness peruses document.)          20·   ·   · · Q.· What do you mean by corrupted?
21·   ·   · · Q.· You can't answer that question          21·   ·   · · A.· Corrupted, they are Chinese high
22·   ·   without looking at the contract?                22·   ·   level official, or some of them they are high
23·   ·   · · A.· I can.                                  23·   ·   level and some of them are official,
24·   ·   · · Q.· I mean, you're welcome to look at       24·   ·   government official, and their family.· They
25·   ·   it, but what was being investigated pursuant    25·   ·   are suspected to have huge illegal criminal

                                                Page 31                                                   Page 33
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   to the contract?                                ·2·   ·   assets in other country, which they steal
·3·   ·   · · A.· Financial, forensic, historical         ·3·   ·   from Chinese government and Chinese people.
·4·   ·   research, current tracking research, social     ·4·   ·   · · Q.· And when you say "other country,"
·5·   ·   media research.                                 ·5·   ·   what are you referring to?
·6·   ·   · · Q.· Of what?                                ·6·   ·   · · A.· Other country means outside of the
·7·   ·   · · A.· Of what?· I don't understand your       ·7·   ·   Mainland of China.
·8·   ·   question.                                       ·8·   ·   · · Q.· And these people, were they -- are
·9·   ·   · · Q.· I mean, those are general areas, but    ·9·   ·   they members of the Communist party?
10·   ·   what's being researched?· Buildings, people,    10·   ·   · · A.· Some of them, they are.
11·   ·   plants, animals?· What's being researched?      11·   ·   · · Q.· And who identified these people?
12·   ·   · · A.· People.                                 12·   ·   · · · · · ·MR. GRENDI:· Objection.
13·   ·   · · Q.· How were the people identified that     13·   ·   · · · · · ·You can answer.
14·   ·   were going to be researched?                    14·   ·   · · A.· Mr. Guo.
15·   ·   · · · · · ·MR. GRENDI:· Objection.· I just      15·   ·   · · Q.· And from where did Mr. Guo get his
16·   ·   · · ·want to hop in here.· We may be,           16·   ·   information?
17·   ·   · · ·obviously, designating portions of         17·   ·   · · A.· I don't know.
18·   ·   · · ·this deposition confidential.· I just      18·   ·   · · Q.· You never asked?
19·   ·   · · ·want to put that on the record,            19·   ·   · · A.· No.
20·   ·   · · ·something I should have said at the        20·   ·   · · Q.· Did he ever say why certain
21·   ·   · · ·outset, and obviously applies              21·   ·   individuals were being identified?
22·   ·   · · ·retroactively to the beginning.            22·   ·   · · A.· I didn't ask.· But if you want, you
23·   ·   · · · · · ·Go ahead and answer.                 23·   ·   can follow his social media.· He talks a lot
24·   ·   · · A.· The people they are Strategic Vision    24·   ·   in there.
25·   ·   called them fish, F-I-S-H.                      25·   ·   · · Q.· About what he's doing and why he's


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 64 of 288
                                         30(b)(6)
                             January 31, 2019                        34 to 37
                                                Page 34                                                   Page 36
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   doing it?                                       ·2·   ·   · · A.· No.
·3·   ·   · · A.· Yes.                                    ·3·   ·   · · Q.· Was anybody else from Golden Springs
·4·   ·   · · Q.· What is your understanding, though,     ·4·   ·   involved in this project?
·5·   ·   of what he is doing and why he's researching    ·5·   ·   · · · · · ·MR. GRENDI:· Objection.· You
·6·   ·   these people?                                   ·6·   ·   · · ·can answer.
·7·   ·   · · · · · ·MR. GRENDI:· Objection.              ·7·   ·   · · A.· No.
·8·   ·   · · · · · ·You can answer.                      ·8·   ·   · · Q.· How did Eastern Profit identify
·9·   ·   · · A.· I don't understand.· What is your       ·9·   ·   these individuals?
10·   ·   question?                                       10·   ·   · · A.· I don't know.
11·   ·   · · Q.· Well, what is your understanding?       11·   ·   · · Q.· You never asked?
12·   ·   · · A.· My understanding?                       12·   ·   · · A.· No.
13·   ·   · · Q.· Of why he's investigating these         13·   ·   · · Q.· Mr. Guo never said, This is where we
14·   ·   people.                                         14·   ·   got this list of corrupt people?
15·   ·   · · A.· Oh, okay.· He needs the information     15·   ·   · · A.· No.
16·   ·   about these people to whistle blow and          16·   ·   · · Q.· Is Mr. Guo a member of the Communist
17·   ·   disclosure their crime.· So Chinese             17·   ·   Party?
18·   ·   government, and even other countries'           18·   ·   · · A.· No.
19·   ·   authorities, they can take action to this       19·   ·   · · · · · ·MR. GRENDI:· Objection.· You
20·   ·   corrupted criminal, Chinese official.           20·   ·   · · ·can answer.
21·   ·   · · Q.· So your understanding was the           21·   ·   · · · · · ·MS. TESKE:· Objection.
22·   ·   research would be reported back to China?       22·   ·   · · A.· No.· I'm allowed to answer that.
23·   ·   · · A.· I don't know that.                      23·   ·   · · Q.· Are you a member of the Communist
24·   ·   · · Q.· How was he going to do what you just    24·   ·   Party?
25·   ·   said?                                           25·   ·   · · A.· I was before.

                                                Page 35                                                   Page 37
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · A.· What is your question?                  ·2·   ·   · · Q.· When did your affiliation with the
·3·   ·   · · Q.· How was Mr. Guo going to help report    ·3·   ·   Communist Party end?
·4·   ·   or whistle blow on these individuals?           ·4·   ·   · · · · · ·MR. GRENDI:· Objection.· You
·5·   ·   · · · · · ·MR. GRENDI:· Objection.              ·5·   ·   · · ·can answer.
·6·   ·   · · · · · ·You can answer.                      ·6·   ·   · · A.· Five years ago, about.· Five or six,
·7·   ·   · · A.· I didn't ask.· And I don't know.        ·7·   ·   yes.
·8·   ·   But from what he has done on his media, his     ·8·   ·   · · Q.· Do you know why Mr. Guo cares if
·9·   ·   social media, and he probably, I mean,          ·9·   ·   these individuals are committing crimes
10·   ·   explained to the public, I don't know, this     10·   ·   against the Chinese government?
11·   ·   is all my guess.                                11·   ·   · · · · · ·MR. GRENDI:· Objection.· You
12·   ·   · · · · · ·MS. TESKE:· Can I add my             12·   ·   · · ·can answer.
13·   ·   · · ·objection to that question?· Thank         13·   ·   · · A.· It's a big question, but I love to
14·   ·   · · ·you.                                       14·   ·   answer.· And if you follow all the media,
15·   ·   · · Q.· Who besides you assisted on this        15·   ·   including New York Times, Washington Post,
16·   ·   project for Mr. Guo?                            16·   ·   Wall Street Journal, all of this, big media
17·   ·   · · · · · ·MS. TESKE:· Objection.               17·   ·   internationally, and his own social media,
18·   ·   · · · · · ·MR. GRENDI:· Objection.· You         18·   ·   you will have the answer.
19·   ·   · · ·can answer.                                19·   ·   · · Q.· How about you provide me with your
20·   ·   · · A.· I heard there's a gentleman called      20·   ·   answer?
21·   ·   Mr. Han Lianchao, H-A-N, L-I-A-N-C-H-A-O.       21·   ·   · · A.· Because he spoke out on behalf of a
22·   ·   · · Q.· Did you work with anybody else on       22·   ·   Chinese outrage, common people, about the
23·   ·   this project other than Mr. Guo?                23·   ·   corruption of Chinese certain high official.
24·   ·   · · · · · ·MR. GRENDI:· Objection.· You         24·   ·   There's no rule of law and democracy in
25·   ·   · · ·can answer.                                25·   ·   Mainland of China.· And Chinese outrage


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 65 of 288
                                         30(b)(6)
                             January 31, 2019                        38 to 41
                                                Page 38                                                   Page 40
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   people, they deserve, and they urgently,        ·2·   ·   identified to be investigated, right?
·3·   ·   hungrily need that.                             ·3·   ·   · · A.· Yes.
·4·   ·   · · · · So he believed what he has been         ·4·   ·   · · · · · ·MR. GRENDI:· Objection.· You
·5·   ·   doing until now, since two years ago, is for    ·5·   ·   · · ·can answer.
·6·   ·   justice and for rule of law, democracy of       ·6·   ·   · · Q.· The entity ACA Capital Group
·7·   ·   China.                                          ·7·   ·   Limited, are you familiar with that?
·8·   ·   · · Q.· You keep saying certain high            ·8·   ·   · · A.· I heard this name.
·9·   ·   official.· Is there a particular individual     ·9·   ·   · · Q.· How did you hear this name?
10·   ·   you're referring to?                            10·   ·   · · A.· From this project.
11·   ·   · · · · · ·MR. GRENDI:· Objection.· I just      11·   ·   · · Q.· In what context did the name come
12·   ·   · · ·want to again --                           12·   ·   up?
13·   ·   · · A.· I would love to answer.                 13·   ·   · · A.· I don't have that.
14·   ·   · · Q.· You could answer.                       14·   ·   · · Q.· Well, how did you hear about it in
15·   ·   · · · · · ·MR. GRENDI:· I wasn't going to       15·   ·   connection with this project?
16·   ·   · · ·say that you can't.· Do we want to         16·   ·   · · A.· After that one million was wired to
17·   ·   · · ·put the names of individuals that are      17·   ·   Strategic Vision without contract signed, I
18·   ·   · · ·going to be potentially more targets       18·   ·   heard ACA trying to fix this mistake.· And
19·   ·   · · ·of this research contract on the           19·   ·   then this name came to me.
20·   ·   · · ·record?                                    20·   ·   · · Q.· Prior to them wiring a million
21·   ·   · · · · · ·MR. SCHMIT:· Well, I just want       21·   ·   dollars to Strategic Vision, you had never
22·   ·   · · ·to make sure.                              22·   ·   heard of ACA Capital?
23·   ·   · · Q.· You're saying one high official, you    23·   ·   · · A.· No, I didn't.
24·   ·   keep saying, in your answer.· Are you           24·   ·   · · Q.· Do you know why they wired a million
25·   ·   referring -- how about a yes or no?· Are you    25·   ·   dollars to Strategic Vision?

                                                Page 39                                                   Page 41
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   referring to a particular individual?           ·2·   ·   · · A.· I don't know, but with this contract
·3·   ·   · · · · · ·MR. GRENDI:· Objection to the        ·3·   ·   that's supposed to be the deposit to this
·4·   ·   · · ·form.                                      ·4·   ·   contract.
·5·   ·   · · · · · ·You can answer.                      ·5·   ·   · · Q.· But why did ACA Capital Limited send
·6·   ·   · · A.· From New York Times and Washington      ·6·   ·   the money?
·7·   ·   Post, Wall Street Journal reported about Mr.    ·7·   ·   · · · · · ·MR. GRENDI:· Objection, you can
·8·   ·   Guo, I know he whistle blow a lot about         ·8·   ·   · · ·answer.
·9·   ·   Chinese vice president, somehow, yes.· If you   ·9·   ·   · · Q.· As opposed to, say, Eastern Profit?
10·   ·   read article, you can have answer.              10·   ·   · · · · · ·MR. GRENDI:· Objection.· You
11·   ·   · · Q.· But is that who you were referring      11·   ·   · · ·can answer.
12·   ·   to?                                             12·   ·   · · · · · ·MR. SCHMIT:· What is the
13·   ·   · · A.· I don't understand your question.       13·   ·   · · ·objection on that one?· I'm being
14·   ·   · · Q.· In your answer, you keep saying         14·   ·   · · ·pretty liberal about not getting into
15·   ·   singular, high official.                        15·   ·   · · ·this debate, but there have been a
16·   ·   · · A.· Singular?                               16·   ·   · · ·lot of objections that are
17·   ·   · · Q.· I just want to make sure.               17·   ·   · · ·questionable, to say the least.
18·   ·   · · A.· Maybe my English too broken. I          18·   ·   · · · · · ·MR. GRENDI:· There is a lack of
19·   ·   didn't say singular.· What do you mean          19·   ·   · · ·clarity in the form.
20·   ·   singular?                                       20·   ·   · · · · · ·MR. SCHMIT:· There is?· What is
21·   ·   · · Q.· As in one person as opposed to many,    21·   ·   · · ·it?· I'd like to meet it.
22·   ·   as opposed to plural?                           22·   ·   · · · · · ·MR. GRENDI:· I mean, I think
23·   ·   · · A.· Many, many, yes.                        23·   ·   · · ·you're indicating that -- well, you
24·   ·   · · Q.· So when you say "high official,"        24·   ·   · · ·know what --
25·   ·   you're referring to the people being            25·   ·   · · · · · ·MR. SCHMIT:· I asked why?


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 66 of 288
                                         30(b)(6)
                             January 31, 2019                        42 to 45
                                              Page 42                                                     Page 44
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   · · · · · · ·MR. GRENDI:· I mean, what, as          ·2·   ·   · · Q.· A loan?
·3·   · · · ·to --                                        ·3·   ·   · · A.· Yes.
·4·   · · · · · · ·MR. SCHMIT:· It's kind of a            ·4·   ·   · · Q.· Who told you about this loan?
·5·   · · · ·standard question.                           ·5·   ·   · · A.· Both Mr. Guo.· And if I remember
·6·   · · · · · · ·MR. GRENDI:· You want me to            ·6·   ·   correctly, Mr. Han.
·7·   · · · ·explain why your question is a little        ·7·   ·   · · Q.· What is the loan?
·8·   · · · ·bit incomplete?· I don't want to --          ·8·   ·   · · A.· I don't know.
·9·   · · · · · · ·MR. SCHMIT:· No, if there's a          ·9·   ·   · · Q.· But Eastern Profit had loaned money
10·   · · · ·form and I can clarify it somehow for        10·   ·   to ACA Capital?
11·   · · · ·you or the witness, I'd like to do           11·   ·   · · A.· Borrow money from ACA Capital.
12·   · · · ·so.                                          12·   ·   · · Q.· How much did they borrow?
13·   · · · · · · ·MR. GRENDI:· Well, I'll allow          13·   ·   · · A.· I don't know.
14·   · · · ·it to go forward, but I just think           14·   ·   · · Q.· Was the idea that Eastern Profit was
15·   · · · ·it's not necessarily an accurate             15·   ·   going to have to pay this million dollars
16·   · · · ·reflection of what's going on here.          16·   ·   back to ACA Capital?
17·   · · · ·But go ahead.                                17·   ·   · · A.· They called this is a loan,
18·   · · · · · · ·MR. SCHMIT:· Can you read the          18·   ·   officially there should be a payback, in my
19·   · · · ·question for the witness?                    19·   ·   understanding.
20·   · · (Whereupon, at this time, the requested         20·   ·   · · Q.· In other words, at some point ACA
21·   ·portion was read by the reporter.)                 21·   ·   Capital is going to want that million dollars
22·   · · · A.· Why?· Right?                              22·   ·   back from Eastern Profit?
23·   · · · Q.· Yes.                                      23·   ·   · · A.· You are right.
24·   · · · A.· From my understanding, that was the       24·   ·   · · Q.· Why did ACA Capital agree to provide
25·   · deposit to this research equipment.· Before       25·   ·   the funds to Eastern Profit?

                                                Page 43                                                   Page 45
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   the research equipment was officially signed,   ·2·   ·   · · A.· There was a loan.
·3·   ·   and that was a kind of mistake, shouldn't       ·3·   ·   · · Q.· But why did they agree to enter into
·4·   ·   happen.· Because there was even not a           ·4·   ·   the loan for this contract?
·5·   ·   contract at all by then.                        ·5·   ·   · · A.· I don't know.
·6·   ·   · · Q.· You mean a contract hasn't been         ·6·   ·   · · Q.· You don't know why they didn't?
·7·   ·   executed at all by then?                        ·7·   ·   · · A.· No.
·8·   ·   · · A.· Signed, executed, correct.              ·8·   ·   · · Q.· Is there documentation to support
·9·   ·   · · Q.· Right.· Because the wire from ACA       ·9·   ·   this loan?
10·   ·   Capital came a few days before January 6th,     10·   ·   · · A.· I requested there should be some
11·   ·   right?                                          11·   ·   documents.
12·   ·   · · A.· January 6th, correct.                   12·   ·   · · Q.· Have you ever seen the documents
13·   ·   · · Q.· Which is the day the contract was       13·   ·   supporting this loan?
14·   ·   actually executed, right?                       14·   ·   · · A.· I didn't see that.
15·   ·   · · A.· You are right.                          15·   ·   · · Q.· You did not see it?
16·   ·   · · Q.· But I'm going to go back to my          16·   ·   · · A.· No.
17·   ·   question.                                       17·   ·   · · · · · ·MR. SCHMIT:· Obviously, if
18·   ·   · · · · Why did ACA Capital Limited send        18·   ·   · · ·there's any documents supporting this
19·   ·   money that you're saying is pursuant to a       19·   ·   · · ·loan, we'd ask that they be produced.
20·   ·   contract that ACA Capital Limited never         20·   ·   · · · · · ·MR. GRENDI:· Request noted.
21·   ·   signed, ever?                                   21·   ·   · · Q.· What is ACA Capital Limited?
22·   ·   · · A.· So you are asking why, right?           22·   ·   · · A.· I heard it's a fund management
23·   ·   · · Q.· Why.                                    23·   ·   company, assets management company, something
24·   ·   · · A.· I heard there is a loan between         24·   ·   like that.
25·   ·   Eastern Profit and ACA.                         25·   ·   · · Q.· Where is it located?


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 67 of 288
                                         30(b)(6)
                             January 31, 2019                        46 to 49
                                                Page 46                                                   Page 48
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · A.· I heard it's located in Hong Kong.      ·2·   ·   · · ·form.
·3·   ·   · · Q.· Have you ever spoken with anybody       ·3·   ·   · · · · · ·You can answer.
·4·   ·   from ACA Capital Limited?                       ·4·   ·   · · A.· I don't know.
·5·   ·   · · A.· No.                                     ·5·   ·   · · Q.· Does Golden Springs work for any --
·6·   ·   · · Q.· Does Golden Springs do business with    ·6·   ·   do any work for any clients unaffiliated with
·7·   ·   ACA Capital Limited?                            ·7·   ·   Mr. Guo?
·8·   ·   · · · · · ·MR. GRENDI:· Objection.· You         ·8·   ·   · · A.· I don't understand your question.
·9·   ·   · · ·can answer.                                ·9·   ·   What is your question?
10·   ·   · · A.· No.                                     10·   ·   · · Q.· Are there any clients other than
11·   ·   · · Q.· Is Mr. Guo affiliated with ACA          11·   ·   companies that Mr. Guo brings to Golden
12·   ·   Capital Limited at all?                         12·   ·   Springs that Golden Springs does work for?
13·   ·   · · A.· I don't know.                           13·   ·   · · · · · ·MR. GRENDI:· Objection.· I just
14·   ·   · · Q.· Has there been any communications       14·   ·   · · ·want to clarify, which Golden Spring?
15·   ·   with ACA Capital Limited since this lawsuit     15·   ·   · · · · · ·MR. SCHMIT:· New York Golden
16·   ·   began?                                          16·   ·   · · ·Spring, that the witness is an
17·   ·   · · A.· You mean the communication between      17·   ·   · · ·employee of.
18·   ·   who and who?                                    18·   ·   · · A.· So you're asking Golden Spring's
19·   ·   · · Q.· Eastern Profit and ACA Capital          19·   ·   clients?
20·   ·   Limited.                                        20·   ·   · · Q.· Yes.
21·   ·   · · A.· I don't know.                           21·   ·   · · A.· I cannot disclosure that.· But you
22·   ·   · · Q.· Nobody has informed you of any?         22·   ·   ask, is there any clients of Golden Spring
23·   ·   · · A.· No.                                     23·   ·   who was or were introduced by Mr. Guo?
24·   ·   · · Q.· You don't know if ACA Capital has       24·   ·   · · Q.· No, that were not.· I mean, are all
25·   ·   inquired about where the million dollars is     25·   ·   the clients brought to your Golden Spring by

                                                Page 47                                                   Page 49
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   or anything along those lines?                  ·2·   ·   Mr. Guo?
·3·   ·   · · A.· They didn't tell me, but I heard        ·3·   ·   · · A.· Oh, is there any --
·4·   ·   from Mr. Guo that there was a loan, and they    ·4·   ·   · · · · · ·MR. GRENDI:· Objection.
·5·   ·   are asking the money back.· But, obviously,     ·5·   ·   · · A.· Is there any other client, right?
·6·   ·   that conversation might happen in Hong Kong,    ·6·   ·   Brought by Mr. Guo to Golden Spring,
·7·   ·   which I was not involved.                       ·7·   ·   introduced, you mean, right?
·8·   ·   · · Q.· But Mr. Guo informed you that they      ·8·   ·   · · Q.· Why don't you answer that question,
·9·   ·   are probably asking for the money back?         ·9·   ·   we'll start there.
10·   ·   · · A.· Correct.                                10·   ·   · · · · · ·MR. GRENDI:· Objection.
11·   ·   · · Q.· Do you know what the terms of the       11·   ·   · · Q.· Just a yes or no.
12·   ·   loan were?                                      12·   ·   · · · · · ·MR. GRENDI:· I don't understand
13·   ·   · · A.· I don't know.                           13·   ·   · · ·this question.
14·   ·   · · Q.· Are they asking for the money back      14·   ·   · · · · · ·MR. SCHMIT:· She's asking me --
15·   ·   because the term -- the contract was            15·   ·   · · ·she's got a question in mind.· She
16·   ·   terminated?                                     16·   ·   · · ·can answer it and we will get beyond
17·   ·   · · A.· Obviously --                            17·   ·   · · ·it.
18·   ·   · · · · · ·MR. GRENDI:· Objection of form.      18·   ·   · · A.· Sorry, I don't mean to be rude, but
19·   ·   · · · · · ·You can answer.                      19·   ·   I need to know the question.
20·   ·   · · A.· Obviously, correct.· Because this       20·   ·   · · Q.· Okay.· Your company, Golden Springs
21·   ·   contract produced nothing.                      21·   ·   does work for clients, right?
22·   ·   · · Q.· By the way, is that why ACA Capital     22·   ·   · · A.· Correct.
23·   ·   Limited is asking for the money back, do you    23·   ·   · · Q.· You've referred to Golden Springs as
24·   ·   know that?                                      24·   ·   a family office, correct?
25·   ·   · · · · · ·MR. GRENDI:· Objection to the        25·   ·   · · A.· Correct.


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 68 of 288
                                         30(b)(6)
                             January 31, 2019                        50 to 53
                                                Page 50                                                   Page 52
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· Are any of Golden Springs' clients      ·2·   ·   · · A.· I heard this was drafted by
·3·   ·   from a source other than Mr. Guo?               ·3·   ·   Strategic Vision.
·4·   ·   · · · · · ·MR. GRENDI:· Objection.· This        ·4·   ·   · · Q.· Now, you heard that; who did you
·5·   ·   · · ·has no relevance to this.                  ·5·   ·   hear that from?
·6·   ·   · · · · · ·MR. SCHMIT:· It does.· They          ·6·   ·   · · A.· Mr. Guo.
·7·   ·   · · ·signed the interrogatories and we're       ·7·   ·   · · Q.· Did Mr. Guo hand it to you and say,
·8·   ·   · · ·not getting much information on            ·8·   ·   This is a draft prepared by Strategic Vision?
·9·   ·   · · ·anything else.· I have to try to work      ·9·   ·   · · A.· Yes.
10·   ·   · · ·through these issues and find out          10·   ·   · · Q.· What did he say about it, anything
11·   ·   · · ·what's going on here.                      11·   ·   in particular?
12·   ·   · · · · · ·MR. GRENDI:· You're asking           12·   ·   · · A.· He said he wants me to review and to
13·   ·   · · ·about clients other than the parties       13·   ·   finish this contract.
14·   ·   · · ·that are involved in this action.          14·   ·   · · Q.· And did you do that?
15·   ·   · · · · · ·MR. SCHMIT:· I haven't asked         15·   ·   · · A.· Yes.
16·   ·   · · ·for the identification.                    16·   ·   · · Q.· During the review process, did you
17·   ·   · · Q.· I want to know, is Golden Springs       17·   ·   have conversations with Mr. Guo?
18·   ·   Mr. Guo's family office?                        18·   ·   · · A.· I did.
19·   ·   · · A.· No.                                     19·   ·   · · Q.· Generally speaking, what were the
20·   ·   · · Q.· Then are there other clients for        20·   ·   tenure of these conversations as you drafted
21·   ·   Golden Springs that are introduced by           21·   ·   the -- as you filled in and finished the
22·   ·   individuals or come from sources other than     22·   ·   contract?
23·   ·   Mr. Guo?                                        23·   ·   · · A.· Sorry, can I ask you, what is your
24·   ·   · · A.· Yes, we do have.                        24·   ·   question?
25·   ·   · · Q.· Now, the family that you work for is    25·   ·   · · Q.· Just tell me about the conversations

                                              Page 51                                                     Page 53
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   · located in Mainland China?                        ·2·   ·   you had with Mr. Guo as you filled in and
·3·   · · · A.· And Hong Kong.                            ·3·   ·   finished the contract.
·4·   · · · Q.· And it is a single family?                ·4·   ·   · · A.· He asked me to review the contract,
·5·   · · · A.· Not only one family.                      ·5·   ·   and he mentioned about, like, the deposit,
·6·   · · · · · · ·MR. SCHMIT:· Can I get this            ·6·   ·   like price and he explained his request to
·7·   · · · ·marked as Exhibit 4?                         ·7·   ·   me, asking me to check whether that is
·8·   · · · · · · ·(Whereupon, at this time, the          ·8·   ·   already included in the contract.
·9·   · · · ·reporter marked the above-mentioned          ·9·   ·   · · Q.· Whether the deposit and price were
10·   · · · ·research agreement as Wang Exhibit 4         10·   ·   included?
11·   · · · ·for identification.)                         11·   ·   · · A.· The terms, including the deposit,
12·   ·BY MR. SCHMIT:                                     12·   ·   payment, whether they are correct, whether
13·   · · · Q.· I'm going to hand you what's been         13·   ·   they are included in the contract.
14·   · marked as Exhibit 4.· It's entitled research      14·   ·   · · Q.· Now, how would you know whether they
15·   · agreement, January 1, 2018.· And it's Eastern     15·   ·   were correct or not?· Did he tell you what
16·   · 1 through Eastern 4.                              16·   ·   they should be?
17·   · · · · · Do you have that in front of you?         17·   ·   · · A.· Yes.
18·   · · · A.· Yes.                                      18·   ·   · · Q.· And did you conclude they were
19·   · · · Q.· Have you ever seen this document          19·   ·   correct or were they included in the
20·   · before?                                           20·   ·   contract?
21·   · · · A.· Yes.                                      21·   ·   · · A.· I reviewed and something was not the
22·   · · · Q.· Who produced -- I mean, not --            22·   ·   same with what he told me.· So I explained to
23·   · Eastern indicates you guys produced it in         23·   ·   him and he asked me to finish the review and
24·   · this litigation.· But do you know who drafted     24·   ·   try to revise it.
25·   · or generated this document?                       25·   ·   · · Q.· And what was that issue?


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 69 of 288
                                         30(b)(6)
                             January 31, 2019                        54 to 57
                                                Page 54                                                   Page 56
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · A.· I don't remember that clearly.· It's    ·2·   ·   project.· So we spent hours, hours, hours to
·3·   ·   about Strategic Vision called a waterline.      ·3·   ·   negotiate about this waterline.
·4·   ·   Mr. Guo, he doesn't like that.· And in his      ·4·   ·   · · Q.· And the negotiations, what did they
·5·   ·   understanding, that should not be a             ·5·   ·   lead to?· What was the final agreement in
·6·   ·   waterline, which is defined by Strategic        ·6·   ·   your view?
·7·   ·   Vision.                                         ·7·   ·   · · A.· We had, I remember, we had totally
·8·   ·   · · Q.· And what was your understanding of      ·8·   ·   three meetings.· And by the end, compromised.
·9·   ·   what was meant by waterline?                    ·9·   ·   · · Q.· How did you compromise?· Is it
10·   ·   · · A.· Strategic Vision, Ms. Wallop told me    10·   ·   reflected in the final agreement?
11·   ·   and that is a waterline in the tank which can   11·   ·   · · A.· Correct.
12·   ·   keep the project and team, her team, working    12·   ·   · · Q.· Why don't you pull out the final
13·   ·   and produce the reports.· By short term,        13·   ·   agreement and show me where that compromise
14·   ·   waterline means money.· And Strategic Vision,   14·   ·   is reflected?· It's Exhibit 2.
15·   ·   I mean, Ms. Wallop requested a certain amount   15·   ·   · · A.· So you want me to explain what is
16·   ·   of money paid, which maintain her team and      16·   ·   compromise?
17·   ·   her research.                                   17·   ·   · · Q.· Well, I asked you whether the
18·   ·   · · · · But the argument is, Mr. Guo, he        18·   ·   compromise -- you said there was a
19·   ·   would like to keep, we call it a la carte.      19·   ·   compromise.· And I asked you if it was in the
20·   ·   Like, I need how many reports, I pay how many   20·   ·   final agreement.· I believe you said yes?
21·   ·   reports.· If I don't need that amount of        21·   ·   · · A.· Yes, I said that.
22·   ·   reports, and we should not go the waterline.    22·   ·   · · Q.· Now you've got the final agreement
23·   ·   The waterline is a, if I may describe it as a   23·   ·   in front of you and I would like you to point
24·   ·   lock-in price or lock-in money, which no        24·   ·   out where it is reflected.
25·   ·   matter how many reports the client request,     25·   ·   · · · · · ·(Witness peruses document.)

                                                Page 55                                                   Page 57
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   and we have to pay that, which in Mr. Guo,      ·2·   ·   · · A.· Yes, it's on page 4.· If you see
·3·   ·   his understanding, is not fair and not          ·3·   ·   second paragraph, it is agreed by both
·4·   ·   practical.                                      ·4·   ·   parties that for the first three months of
·5·   ·   · · Q.· Now, the waterline, is this a           ·5·   ·   this agreement, January, February and March
·6·   ·   reference -- does this have anything to do      ·6·   ·   2018, that the payment of 750,000 U.S.
·7·   ·   with the million dollar deposit?                ·7·   ·   dollars will be wired per our instruction to
·8·   ·   · · A.· No.· One million dollar deposit has     ·8·   ·   our U.S. bank account.· And after that there
·9·   ·   nothing to do with waterline.· Waterline is     ·9·   ·   is a recap term.· What is the recap?· Oh,
10·   ·   Ms. Wallop and Strategic Vision requested the   10·   ·   yes.· It is also agreed by both parties that
11·   ·   client of this contract to pay $750,000 per     11·   ·   after the March reports and the payments are
12·   ·   month, no matter how many reports the client    12·   ·   made, that all involved parties will meet to
13·   ·   requested or Strategic Vision provided.· That   13·   ·   recap the accounting.
14·   ·   money must be paid.                             14·   ·   · · Q.· What does that mean in your view?
15·   ·   · · · · And the explanation and the reason      15·   ·   What is your understanding of that term?
16·   ·   Ms. Wallop explained to me many, many times,    16·   ·   · · A.· That means in the very beginning,
17·   ·   hours, said that waterline permit her to keep   17·   ·   Strategic Vision, I mean, Mrs. Wallop
18·   ·   her team in our country or other district to    18·   ·   requested $750,000 per month for 12 months.
19·   ·   investigate.· And that is her common            19·   ·   And, obviously, the client, I mean, Mr. Guo,
20·   ·   standard, in her business, and in her called    20·   ·   they don't like that, and they didn't agree.
21·   ·   this, industry, which in my understanding is    21·   ·   · · Q.· They did or did not agree?
22·   ·   her investigation industry and the business.    22·   ·   · · A.· They did not.· So the compromise
23·   ·   · · · · And she repeatedly told me that is      23·   ·   here is that recap.· Finally, Mrs. Wallop
24·   ·   already very nice and reasonable waterline to   24·   ·   advised or stressed it for the first three
25·   ·   Miles Guo, and that is mandatory to this        25·   ·   months, please pay 750,000 per month.· And


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 70 of 288
                                         30(b)(6)
                             January 31, 2019                        58 to 61
                                                Page 58                                                   Page 60
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   after the first three months, by the end of     ·2·   ·   number Eastern 9, that is your signature
·3·   ·   March, let's recap.· See, so you guys still     ·3·   ·   there, right, on the right-hand side?
·4·   ·   pay me 750,000 or there's a lower or higher,    ·4·   ·   · · A.· Correct.
·5·   ·   she called, waterline.                          ·5·   ·   · · Q.· So that was one issue, the waterline
·6·   ·   · · Q.· So the agreement for the first three    ·6·   ·   we will call it, that Mr. Guo raised with
·7·   ·   months it was going to be 750,000 for           ·7·   ·   you.
·8·   ·   January, 750,000 for February and 750,000 for   ·8·   ·   · · · · Did he raise any other issues when
·9·   ·   March, right?                                   ·9·   ·   he saw the draft or the incomplete draft?
10·   ·   · · A.· Correct.                                10·   ·   · · A.· She asked me to check about the
11·   ·   · · · · · ·MR. GRENDI:· Objection.· You         11·   ·   deliverable of reports.· In my understanding,
12·   ·   · · ·can answer.                                12·   ·   when she asked me to check, he was already
13·   ·   · · A.· Waterline.                              13·   ·   told by Strategic Vision, I mean Mrs. Wallop,
14·   ·   · · Q.· Were those amounts ever paid?           14·   ·   how many reports, how frequency the reports
15·   ·   · · A.· No.                                     15·   ·   will be provided.
16·   ·   · · Q.· That was 750,000 per month, not         16·   ·   · · · · So Mr. Guo asked me, because he
17·   ·   total, right?                                   17·   ·   doesn't read English at all.· So he ask me to
18·   ·   · · A.· Correct.                                18·   ·   check whether that reports deliverable
19·   ·   · · Q.· How about the -- what is your           19·   ·   schedule is included in here as his
20·   ·   understanding of the fourth paragraph down?     20·   ·   understanding.
21·   ·   The pricing for 30-year units or deliverables   21·   ·   · · Q.· Was it?
22·   ·   per year remains a constant $9 million per      22·   ·   · · A.· Yes.· Close, almost.
23·   ·   year or 750,000 per month for 12 months?        23·   ·   · · Q.· Did you make or request any changes
24·   ·   · · A.· You are pointing the correct point.     24·   ·   based on what Mr. Guo said?
25·   ·   This is Mrs. Wallop called waterline, which     25·   ·   · · A.· I didn't.

                                                Page 59                                                   Page 61
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   she is able to maintain her investigation       ·2·   ·   · · Q.· Was a translation of this document
·3·   ·   team waterlined.· And she said that is          ·3·   ·   ever provided to Mr. Guo?
·4·   ·   mandatory.· That is if you want this project,   ·4·   ·   · · A.· I orally translated for him.
·5·   ·   you have to pay minimum to keep waterline.      ·5·   ·   · · Q.· And he speaks Mandarin?
·6·   ·   · · Q.· In other words, that in part            ·6·   ·   · · A.· Correct.
·7·   ·   encompassed what it was going to cost           ·7·   ·   · · Q.· So you read line by line and got his
·8·   ·   Strategic Vision to keep teams out in the       ·8·   ·   okay to the final agreement, right?
·9·   ·   field and available in order to do the work     ·9·   ·   · · A.· Correct.
10·   ·   for Eastern Profit, right?                      10·   ·   · · Q.· Okay.· What other issues?· There is
11·   ·   · · A.· Based on her explanation, she said,     11·   ·   deliverables, waterline; any other issues
12·   ·   yes, that is professional and that is a         12·   ·   that Mr. Guo raised with you?
13·   ·   mandatory request.                              13·   ·   · · · · · ·MR. GRENDI:· Objection of form.
14·   ·   · · Q.· And that ended up in the final          14·   ·   · · · · · ·You can answer.
15·   ·   contract?                                       15·   ·   · · A.· No.· That is the main two parts.
16·   ·   · · A.· Correct.                                16·   ·   Yes.
17·   ·   · · Q.· Whose initials are on the bottom        17·   ·   · · Q.· What about the deposit?· Did he
18·   ·   right corner of Exhibit 2?· There seem to be    18·   ·   raise any issues with respect to the deposit?
19·   ·   initials on each page.· Whose are those?        19·   ·   · · A.· Oh, you reminded me.· Because I
20·   ·   · · A.· That is mine.                           20·   ·   remember clearly when I went through this
21·   ·   · · Q.· So is F.C.W., Ms. Wallop's?             21·   ·   draft with Mr. Guo, I pointed out, I said
22·   ·   · · A.· Yes.                                    22·   ·   that one million deposit in advance is a lot.
23·   ·   · · Q.· And then the other initial is yours?    23·   ·   Because I am a project manager, so I feel I
24·   ·   · · A.· Correct.                                24·   ·   should remind him, this is a huge amount of
25·   ·   · · Q.· And then on page 5, production          25·   ·   money to pay as a deposit.


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 71 of 288
                                         30(b)(6)
                             January 31, 2019                        62 to 65
                                                Page 62                                                   Page 64
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · · · And I remember Mr. Guo said,            ·2·   ·   · · Q.· Did you ever discuss it with Mr.
·3·   ·   Mrs. Wallop and Mike, they are respectful       ·3·   ·   Guo?
·4·   ·   people.· And I trust them.· They are            ·4·   ·   · · A.· About what?
·5·   ·   reliable.· And before they even ask three       ·5·   ·   · · Q.· The deposit being made.
·6·   ·   million as a deposit in this contract, now      ·6·   ·   · · A.· Oh, Mr. Guo send me the receipt, the
·7·   ·   they reduced by one million, and let's just     ·7·   ·   wire transfer receipt.· And then told me to
·8·   ·   keep that.· I remember that conversation.       ·8·   ·   send a text message to Mrs. Wallop about this
·9·   ·   · · Q.· So ultimately you agreed to the         ·9·   ·   one million deposit paid.
10·   ·   million dollar deposit, correct?                10·   ·   · · Q.· And what did -- what was your
11·   ·   · · A.· That's right.· As a project manager,    11·   ·   reaction to getting this receipt, this one
12·   ·   you know, I pointed out my concern, if he       12·   ·   million dollar receipt?
13·   ·   insisted then I just let it go.                 13·   ·   · · A.· I was shocked.
14·   ·   · · Q.· Did you guys ever discuss any           14·   ·   · · Q.· Why were you shocked?
15·   ·   mechanism by which you might be able to get     15·   ·   · · A.· Because there was even no contract
16·   ·   that million dollar deposit back if something   16·   ·   executed and signed.· And the money was
17·   ·   wasn't done or things didn't work out under     17·   ·   already paid.· And in my understanding, this
18·   ·   the contract?                                   18·   ·   is a huge, huge, mistake.· Accident.
19·   ·   · · A.· You mean when I was discussing with     19·   ·   · · Q.· So who did you talk to about that?
20·   ·   Mr. Guo?                                        20·   ·   · · A.· I texted Mrs. Wallop.
21·   ·   · · Q.· Or that you heard of or had been        21·   ·   · · Q.· And what did you tell Mrs. Wallop?
22·   ·   educated about.                                 22·   ·   · · A.· If you have my Signal message with
23·   ·   · · A.· No, I don't remember that clearly.      23·   ·   her, I remember I texted her.· I said, This
24·   ·   · · Q.· Do you remember it at all?              24·   ·   deposit was already wired to you, even
25·   ·   · · A.· No.                                     25·   ·   without the contract signed.· And kind of

                                                Page 63                                                   Page 65
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· Now, ultimately, you're saying ACA      ·2·   ·   like shows the seriousness.· And if you would
·3·   ·   Capital Limited made the million dollar         ·3·   ·   like to continue to do this project, and we
·4·   ·   deposit?                                        ·4·   ·   will stay -- we will stay with our terms
·5·   ·   · · A.· Correct.                                ·5·   ·   which is our negotiation.· I was very insist,
·6·   ·   · · · · · ·MR. GRENDI:· Objection of form.      ·6·   ·   if you do not agree, kindly, please, return
·7·   ·   · · · · · ·You can answer.                      ·7·   ·   the one million deposit back, and sorry for
·8·   ·   · · Q.· On whose orders did they do that?       ·8·   ·   the inconvenience.· You have my Signal
·9·   ·   · · A.· I'm sorry, what is your question?       ·9·   ·   message.· I remember that.
10·   ·   · · Q.· On whose orders did they do that?       10·   ·   · · Q.· And when you say the contract as
11·   ·   Why did they do that?                           11·   ·   agreed, in other words, no more changes to
12·   ·   · · A.· I was not involved in that              12·   ·   the contract, we need to sign it as is; is
13·   ·   instruction communication.· But I guess it's    13·   ·   that fair?
14·   ·   only my guess, between Eastern and ACA.         14·   ·   · · A.· Correct.· Sign my version.
15·   ·   · · Q.· Eastern and who?                        15·   ·   · · Q.· Okay.· And, ultimately, when you say
16·   ·   · · A.· ACA Capital.                            16·   ·   your version, the one that was existing at
17·   ·   · · Q.· Who on behalf of Eastern would          17·   ·   the time the million dollars was paid, right?
18·   ·   have --                                         18·   ·   · · A.· Correct.
19·   ·   · · · · · ·MS. TESKE:· Objection.               19·   ·   · · Q.· Were any changes requested or made
20·   ·   · · A.· Obviously, Mr. Han, from the paper.     20·   ·   to that contract?
21·   ·   · · Q.· Do you know that or have you seen       21·   ·   · · · · · ·MR. GRENDI:· Objection.· You
22·   ·   anything that would suggest he gave the order   22·   ·   · · ·can answer.
23·   ·   to wire the million dollar deposit?             23·   ·   · · A.· You mean when?
24·   ·   · · A.· No.· I was not involved in that         24·   ·   · · Q.· After the million dollars showed up,
25·   ·   process.                                        25·   ·   did Ms. Wallop or anybody else on behalf of


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 72 of 288
                                         30(b)(6)
                             January 31, 2019                        66 to 69
                                                Page 66                                                   Page 68
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   Strategic Vision request any changes?           ·2·   ·   with her directly.
·3·   ·   · · · · · ·MR. GRENDI:· Objection.· You         ·3·   ·   · · Q.· And Ms. Wallop said from the
·4·   ·   · · ·can answer.                                ·4·   ·   beginning that with respect -- there has to
·5·   ·   · · A.· They obviously requested and they       ·5·   ·   be this waterline concept?
·6·   ·   did, because the version by that wire           ·6·   ·   · · A.· Correct.
·7·   ·   transfer was made, my version was different     ·7·   ·   · · Q.· And you conveyed that to Mr. Guo?
·8·   ·   from the final version.· This is from           ·8·   ·   · · A.· I post a request and message to Mr.
·9·   ·   Mrs. Wallop, this version (indicating).         ·9·   ·   Guo.· I told him this is what they call
10·   ·   There was -- there is some difference in        10·   ·   waterline, they must have.
11·   ·   there still.                                    11·   ·   · · Q.· And when would you have given that
12·   ·   · · Q.· So changes made after the wire was      12·   ·   message to Mr. Guo?
13·   ·   received?                                       13·   ·   · · A.· You mean when, right?
14·   ·   · · A.· Correct.                                14·   ·   · · Q.· When, yes.
15·   ·   · · Q.· What changes were those?                15·   ·   · · A.· From my first meeting with
16·   ·   · · A.· That first three months waterline       16·   ·   Mr. Wallop about this project.
17·   ·   must be paid after that recap.· That is the     17·   ·   · · Q.· About when was that?
18·   ·   main change.                                    18·   ·   · · A.· Sorry, what is the question?
19·   ·   · · Q.· That's a change you requested,          19·   ·   · · Q.· About when was that?
20·   ·   though, right?                                  20·   ·   · · A.· What time, right?
21·   ·   · · A.· No.· That was not a change I            21·   ·   · · Q.· Yes.
22·   ·   requested.· Before that, I request a la         22·   ·   · · A.· By the very end of December 2017. I
23·   ·   carte.· Like how many reports, the client       23·   ·   don't remember that date.
24·   ·   buy, pay how much.· There's no waterline.       24·   ·   · · Q.· So it was December 2017 Ms. Wallop
25·   ·   · · Q.· When did you have that conversation     25·   ·   by then had said, Look, there has to be a

                                                Page 67                                                   Page 69
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   with Ms. Wallop?                                ·2·   ·   waterline.· And you told Mr. Guo this is the
·3·   ·   · · A.· The date is -- contract was signed      ·3·   ·   position Strategic Vision is taking; is that
·4·   ·   January 6th; that is one week before that       ·4·   ·   fair?
·5·   ·   date.· It's very end of December, beginning     ·5·   ·   · · A.· That is fair.· I remember my first
·6·   ·   of January.                                     ·6·   ·   meeting with Ms. Wallop about this project
·7·   ·   · · Q.· Any other changes?                      ·7·   ·   was in the very end of December, in
·8·   ·   · · A.· No.· Mainly that is the most heavily    ·8·   ·   Mrs. Wallop's house in Virginia.· That was
·9·   ·   biggest argument.                               ·9·   ·   our first meeting.· And the waterline problem
10·   ·   · · Q.· Had Ms. Wallop told you that's how      10·   ·   happened from that moment.
11·   ·   it had to be prior to the wire being            11·   ·   · · Q.· When did you see this final version
12·   ·   received?                                       12·   ·   of the draft, the final agreement for
13·   ·   · · · · · ·MR. GRENDI:· Objection.· You         13·   ·   execution?
14·   ·   · · ·can answer.                                14·   ·   · · A.· The final version of this contract,
15·   ·   · · A.· Sorry, what is your question?           15·   ·   the first time I saw was on January 6th, the
16·   ·   · · Q.· Did this waterline concept, you had     16·   ·   date which was -- this was signed.
17·   ·   discussed it with Ms. Wallop prior to the       17·   ·   · · Q.· What was your reaction to it?· Who
18·   ·   wire being received or is this a conversation   18·   ·   was at that meeting?· Was anybody present?
19·   ·   you guys had after ACA Capital sent the         19·   ·   · · A.· Only Mrs. Wallop and me.
20·   ·   money?                                          20·   ·   · · Q.· Where did that take place?
21·   ·   · · A.· Oh, the waterline conversation          21·   ·   · · A.· Ms. Wallop's house, in Virginia
22·   ·   happened from the first second, from the very   22·   ·   home.
23·   ·   beginning.· And let me make it precise.· Even   23·   ·   · · Q.· And what did you tell Ms. Wallop
24·   ·   before the one million wired, I mean, from      24·   ·   after you looked at the contract?
25·   ·   the very beginning, when I was discussing       25·   ·   · · A.· I remember I went through the


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 73 of 288
                                         30(b)(6)
                             January 31, 2019                        70 to 73
                                                Page 70                                                   Page 72
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   contract.· Then I saw that recap after first    ·2·   ·   · · A.· Yes.
·3·   ·   three months.                                   ·3·   ·   · · Q.· What did he say in regards to the
·4·   ·   · · Q.· And the recap was part of what you      ·4·   ·   reports?
·5·   ·   had requested, right?                           ·5·   ·   · · A.· You mean --
·6·   ·   · · A.· No.                                     ·6·   ·   · · Q.· The language, when you told him over
·7·   ·   · · Q.· Not at all?                             ·7·   ·   the phone, Remember, look, these are the
·8·   ·   · · A.· Not as -- that is not my request at     ·8·   ·   reports, this is when it is going to come in,
·9·   ·   all.· That is Ms. Wallop.· She stressed it,     ·9·   ·   what was his reaction?
10·   ·   and she put in the draft.· And in my            10·   ·   · · A.· You mean by 1/6?
11·   ·   understanding, that was a compromise.· Like,    11·   ·   · · Q.· Yes.· As I understand you're having
12·   ·   okay, now, let's recap by the end of three      12·   ·   a telephone conversation with him on January
13·   ·   months about the waterline.· At least give a    13·   ·   6th?
14·   ·   chance to recap, instead of request you must    14·   ·   · · A.· You're right.
15·   ·   pay for all the 12 months, right?· To me,       15·   ·   · · Q.· What did he say about the reports?
16·   ·   that is a little bit better.· So I feel that    16·   ·   · · A.· He said confirmed, okay.
17·   ·   is a compromise.                                17·   ·   · · Q.· The word "report" appears several
18·   ·   · · Q.· Before signing it, did you pick up      18·   ·   times in the agreement.· What is your
19·   ·   the phone and call anybody?                     19·   ·   understanding of the word report?
20·   ·   · · A.· I called Mr. Guo.                       20·   ·   · · A.· You mean my understanding, personal?
21·   ·   · · Q.· What did you tell Mr. Guo about that    21·   ·   · · Q.· Well, why don't we start with yours
22·   ·   agreement?                                      22·   ·   and if you have reason to think it's
23·   ·   · · A.· I told him, I said, This is still       23·   ·   different than Eastern, you can let me know.
24·   ·   not my contract.· Not my version.· And I        24·   ·   · · A.· In my understanding, the report, as
25·   ·   translated to him briefly about the recap,      25·   ·   the, I mean, project manager, if I may call

                                                Page 71                                                   Page 73
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   that part.                                      ·2·   ·   myself, a little bit, and the report should
·3·   ·   · · Q.· And what did he say?                    ·3·   ·   be in black and white.· It's solid, reliable,
·4·   ·   · · A.· He said, you just go ahead to sign      ·4·   ·   and there is value.· And I mean, valuable
·5·   ·   it.· And we need this project started.          ·5·   ·   information in the deliverable, which we call
·6·   ·   · · Q.· Are there any other provisions you      ·6·   ·   the report, and which should be delivered
·7·   ·   went over with Mr. Guo on the phone?            ·7·   ·   without delay based on the report deliverable
·8·   ·   · · A.· I emphasized again to him about the     ·8·   ·   schedule of this contract signed to the
·9·   ·   report delivery schedule, which is weekly       ·9·   ·   client.· I mean, as a project manager, that
10·   ·   report in the first month, and then there       10·   ·   is my understanding.· First the quality,
11·   ·   should be a preliminary report for the first    11·   ·   second the timeline.
12·   ·   month, and then after first month, there        12·   ·   · · · · Quality means you cannot deliver
13·   ·   should be at least a monthly report every       13·   ·   garbage or advertisement or Wikipedia or even
14·   ·   month.· And some of the research, the reports   14·   ·   Russian language stuff.· Because that is not
15·   ·   will be based on the request from the client.   15·   ·   valuable and they are garbage, nonsense.
16·   ·   So that's the two main point I emphasized       16·   ·   · · · · Second, timeline.· And you should
17·   ·   again to him.                                   17·   ·   deliver the report based on the contract
18·   ·   · · Q.· Why did you emphasize the report        18·   ·   signed in here, which agreed by both sides.
19·   ·   issue to Mr. Guo?                               19·   ·   That is the weekly report, for the first
20·   ·   · · A.· Because that was in the first           20·   ·   month, and monthly report for the following
21·   ·   discussion when I saw this project with Mr.     21·   ·   month, which never happened.
22·   ·   Guo.· And -- yeah, that's the two points he     22·   ·   · · Q.· What is a progress report, if you
23·   ·   really cares about.                             23·   ·   look on page 2?· What is a progress report?
24·   ·   · · Q.· The report and what it was going to     24·   ·   · · A.· Which paragraph are you referring
25·   ·   cost?                                           25·   ·   to?


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 74 of 288
                                         30(b)(6)
                             January 31, 2019                        74 to 77
                                                Page 74                                                   Page 76
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· The contractor will produce a           ·2·   ·   · · A.· Correct.· I am sorry about that.
·3·   ·   progress report.· What is -- compared to a      ·3·   ·   · · Q.· That's all right.
·4·   ·   general report, what is a progress report?      ·4·   ·   · · A.· So comprehensive, within three
·5·   ·   · · · · · ·(Witness peruses document.)          ·5·   ·   months, which is a bigger report than the
·6·   ·   · · A.· Progress reports includes, in my        ·6·   ·   report of first month and the second month
·7·   ·   understanding, again, as a project manager,     ·7·   ·   and third month.· That should be a kind of
·8·   ·   first that should include what is happening.    ·8·   ·   like all together, like summarize.· And then
·9·   ·   What is the team.· What is your mechanism.      ·9·   ·   they have all the information, I mean,
10·   ·   And the second mainly that is, I mean, the      10·   ·   valuable information in there.· They have
11·   ·   first part should be like 30 percent or 20      11·   ·   their whole team reported in here.· And then
12·   ·   percent of the whole progress report.· And      12·   ·   they may decide, because there is a recap,
13·   ·   the rest of the 80 or 70 percent of progress    13·   ·   they may decide by the end of third month,
14·   ·   report, that should be valuable.· Valuable      14·   ·   how they will proceed for the next three
15·   ·   means that, okay, there are information in      15·   ·   quarter of that year, that is my
16·   ·   there, valuable, instead of having zero         16·   ·   understanding.
17·   ·   valuable information and only garbage.          17·   ·   · · Q.· When you say this is your
18·   ·   · · Q.· Well, what's a preliminary report as    18·   ·   understanding as a project manager, how did
19·   ·   opposed to an overall report, a progress        19·   ·   you gain this understanding of these terms?
20·   ·   report?                                         20·   ·   · · A.· How did I get this?
21·   ·   · · A.· The preliminary report, in the first    21·   ·   · · Q.· Yes.
22·   ·   month, in my understanding, that should be a    22·   ·   · · A.· From my work experience.
23·   ·   conclusion report or January, big report for    23·   ·   · · Q.· And what kind of work experience was
24·   ·   the first month.· Why the first month need      24·   ·   that and for who?
25·   ·   preliminary report, because that was the        25·   ·   · · A.· For who or from who?

                                                Page 75                                                   Page 77
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   beginning of this project.                      ·2·   ·   · · Q.· However -- your work experience.
·3·   ·   · · · · So you may include who is your team,    ·3·   ·   You said you gained this from your work
·4·   ·   who is your team member, who is your project    ·4·   ·   experience.· Have you done investigative
·5·   ·   manager, what is your strategy or what is       ·5·   ·   contracts before?
·6·   ·   your mechanism or working.· That's why that     ·6·   ·   · · A.· Oh, that is better understanding for
·7·   ·   happened in the first month.                    ·7·   ·   me.
·8·   ·   · · · · Why there is no preliminary report      ·8·   ·   · · · · I'm a project manager and I work for
·9·   ·   in the second and third month, the reason is    ·9·   ·   many different projects.· I don't mean
10·   ·   the first month needs all of that               10·   ·   investigation project.· For example, I build
11·   ·   information.· Not only the valuable             11·   ·   house, right?· I'm managing like the media
12·   ·   information which they worked, but also their   12·   ·   project.· This is a common knowledge and
13·   ·   general and detailed information of their       13·   ·   common sense as a project manager.
14·   ·   investigation team, their work mechanism, at    14·   ·   · · Q.· Well, putting aside -- have you ever
15·   ·   least who is the project manager or how they    15·   ·   been a project manager on a, you know,
16·   ·   work.· Fair enough?                             16·   ·   confidential research of individuals?
17·   ·   · · Q.· What about comprehensive historical     17·   ·   · · A.· Sorry, can you repeat your question?
18·   ·   research report?· Does that differ any from     18·   ·   · · Q.· Have you ever been a project manager
19·   ·   kind of this overall report concept or          19·   ·   for any contract remotely close to the one we
20·   ·   progress report or preliminary report?          20·   ·   have marked as Exhibit 2?
21·   ·   · · A.· Comprehensive historical research       21·   ·   · · · · · ·MR. GRENDI:· Objection.· You
22·   ·   report within three months, in my               22·   ·   · · ·can answer.
23·   ·   understanding --                                23·   ·   · · A.· I believe this is new to me.· So
24·   ·   · · Q.· This is your understanding as a         24·   ·   that's why I was educated, educated by
25·   ·   project manager?                                25·   ·   Strategic Vision and Ms. Wallop, saying,


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 75 of 288
                                         30(b)(6)
                             January 31, 2019                        78 to 81
                                                Page 78                                                   Page 80
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   Yvette, you are new to this kind of industry,   ·2·   ·   the definition of the report in the
·3·   ·   I remember that clearly, and she said, we       ·3·   ·   agreement.· Did Ms. Wallop ever suggest she
·4·   ·   never communicate by e-mail and all the         ·4·   ·   was going to write a written report out in
·5·   ·   reports and deliverable we must hand over       ·5·   ·   any way, shape or form?
·6·   ·   face to face.· No e-mail, no phone call.        ·6·   ·   · · A.· She said the report should be
·7·   ·   · · · · That's why, for example, like your      ·7·   ·   delivered by flash drive.
·8·   ·   project, Mike, another associate of Ms.         ·8·   ·   · · Q.· By who?
·9·   ·   Wallop, will fly himself to other country,      ·9·   ·   · · A.· Flash drive.· USB key, thumb drive.
10·   ·   including Swiss, Switzerland, or other          10·   ·   · · Q.· And what was your -- did she ever
11·   ·   countries in Asia, to face to face meet their   11·   ·   discuss what was going to be on the flash
12·   ·   project manager and engineer, to receive        12·   ·   drive or USB key?
13·   ·   their deliverable.                              13·   ·   · · A.· You mean when?
14·   ·   · · · · So I'm talking about my experience      14·   ·   · · Q.· What.· What was going to be on it?
15·   ·   to be educated by a professional people in      15·   ·   · · A.· Oh, the report.
16·   ·   this so-called industry.· So to answer your     16·   ·   · · Q.· Did she ever get into detail of what
17·   ·   question as this kind of project to me is new   17·   ·   the form and substance of the report was
18·   ·   and fresh, and I was educated a lot.            18·   ·   going to be?
19·   ·   · · Q.· Did you discuss with either Mr. Guo     19·   ·   · · A.· I remember she mentioned that will
20·   ·   or Mr. Han what they expected the reports to    20·   ·   be the valuable information, because she
21·   ·   be prior to execution?                          21·   ·   presented herself and her team as the best in
22·   ·   · · A.· They expected the reports or            22·   ·   this industry.· So she guaranteed again and
23·   ·   information are valuable.                       23·   ·   again the information we will receive, they
24·   ·   · · Q.· But did they talk in terms of the       24·   ·   are valuable and they are in compliance with
25·   ·   form and how they would be delivered,           25·   ·   Mr. Guo's request.

                                                Page 79                                                   Page 81
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   anything along those lines?                     ·2·   ·   · · Q.· Okay.· We will get to the definition
·3·   ·   · · A.· The form?· I don't understand your      ·3·   ·   of valuable.· But I just want to be clear.
·4·   ·   question.                                       ·4·   ·   Now we're going to deliver flash drives in
·5·   ·   · · Q.· Flash drive, in person, e-mail; how     ·5·   ·   person for these reports, right?
·6·   ·   was it supposed to be delivered based on your   ·6·   ·   · · A.· Correct.
·7·   ·   conversations with Mr. Guo and Mr. Han?         ·7·   ·   · · Q.· Did you have an understanding of
·8·   ·   · · A.· Oh, basically, the first time I was     ·8·   ·   what was going to be on the flash drive, not
·9·   ·   told how the deliverable or report should be    ·9·   ·   just valuable information, but as far as form
10·   ·   transported was, I heard it from Ms. Wallop.    10·   ·   or substance, letters, memorandums,
11·   ·   And she clearly told me that, no e-mail, no     11·   ·   handwritten notes?
12·   ·   phone call.                                     12·   ·   · · A.· Oh, okay.
13·   ·   · · Q.· No written report?                      13·   ·   · · Q.· Recorded conversations, what was
14·   ·   · · A.· No written report.                      14·   ·   going to be on there?
15·   ·   · · Q.· No memo, no memorandum?                 15·   ·   · · A.· That is very helpful.· In my
16·   ·   · · · · · ·MR. GRENDI:· Objection.              16·   ·   understanding, based on our discussion about
17·   ·   · · Q.· You weren't expecting a memo to be      17·   ·   the contract, based on --
18·   ·   delivered?                                      18·   ·   · · Q.· In discussion with who, if I can
19·   ·   · · A.· What do you mean memo?                  19·   ·   just ask you?
20·   ·   · · Q.· A written memorandum.                   20·   ·   · · · · · ·MR. GRENDI:· Objection.· You
21·   ·   · · A.· Are we talking about the --             21·   ·   · · ·should let the witness answer, and I
22·   ·   · · Q.· The report.                             22·   ·   · · ·think it's probably getting difficult
23·   ·   · · A.· Are we talking about the information    23·   ·   · · ·for the court reporter to keep up.
24·   ·   in a report?· I'm confused by you.              24·   ·   · · · · · ·MR. SCHMIT:· We're doing fine
25·   ·   · · Q.· The reports.· We're talking about       25·   ·   · · ·here.


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 76 of 288
                                         30(b)(6)
                             January 31, 2019                        82 to 85
                                                Page 82                                                   Page 84
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· Go ahead.                               ·2·   ·   · · A.· Agreement of format?· It could be
·3·   ·   · · A.· Where should I start?                   ·3·   ·   any format, in my understanding.· But the
·4·   ·   · · Q.· Go ahead.· Do you need it read back     ·4·   ·   information Eastern requested is illegal and
·5·   ·   here?                                           ·5·   ·   is checkable from resources or database.
·6·   ·   · · A.· Based on my discussion with Ms.         ·6·   ·   · · Q.· You use the term throughout this
·7·   ·   Wallop, based on my discussion with Mr. Guo,    ·7·   ·   time --
·8·   ·   that the report could possibly include, like,   ·8·   ·   · · · · · ·MR. GRENDI:· Why don't we take
·9·   ·   financial, like -- because I remember Ms.       ·9·   ·   · · ·a break at this time?· I know you're
10·   ·   Wallop described their capability about their   10·   ·   · · ·about to ask a question.
11·   ·   technology to the bank system.                  11·   ·   · · · · · ·MR. SCHMIT:· Why don't I just
12·   ·   · · · · For example, before a contract          12·   ·   · · ·ask and then we will take a break.
13·   ·   signed, she went to New York, meet with Mr.     13·   ·   · · Q.· You used the term several times the
14·   ·   Guo, and she described their capability, said   14·   ·   information must be valuable.· What did you
15·   ·   they already in a certain bank system.          15·   ·   mean by that?· What was your understanding of
16·   ·   · · · · I'm talking about Ms. Wallop, her       16·   ·   that?
17·   ·   team.· They were in, entered into a certain     17·   ·   · · A.· Valuable, in my understanding, that
18·   ·   bank's system.· And she said her people tried   18·   ·   should be helpful to the client, as a project
19·   ·   to climb on the wall and they did that, and     19·   ·   manager.
20·   ·   they saw the bank information in there.· And    20·   ·   · · Q.· Did you ever discuss -- you keep
21·   ·   they are huge money.                            21·   ·   saying "as a project manager."· I want to get
22·   ·   · · · · And then Ms. Wallop even asked Mr.      22·   ·   back to that before we break because that's
23·   ·   Guo, do you want that money?· Give me your      23·   ·   important to this whole line of questioning.
24·   ·   bank account so we can move the money.· And     24·   ·   · · · · Did Mr. Guo ever explain to you what
25·   ·   Mr. Guo refused immediately.· So based on my    25·   ·   he thought was going to be valuable?

                                                Page 83                                                   Page 85
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   understanding that the report should include    ·2·   ·   · · A.· At least they are real.
·3·   ·   the information or related information about    ·3·   ·   · · Q.· No, no, did Mr. Guo ever exchange --
·4·   ·   financial, which are not our request, which     ·4·   ·   · · A.· Yes, he told me.
·5·   ·   should be legal, because Mr. Guo told Ms.       ·5·   ·   · · Q.· What did he --
·6·   ·   Wallop clearly, you are doing something         ·6·   ·   · · A.· They should be real.· They should be
·7·   ·   illegal.· And I am not stealing money, and I    ·7·   ·   real message.
·8·   ·   don't need the money.                           ·8·   ·   · · Q.· What does "real" mean?· What do you
·9·   ·   · · Q.· We will get back to that.· Again, I     ·9·   ·   mean by real?
10·   ·   just want to finish one line of questioning     10·   ·   · · A.· Real means that it's true fact, real
11·   ·   before we go down that road.                    11·   ·   message.· Instead of -- let me give you
12·   ·   · · · · The report, though, on the flash        12·   ·   another example, maybe that will be helpful.
13·   ·   drive, Excel spread sheets, any                 13·   ·   · · Q.· You answered my question though.
14·   ·   representation that you would be supplied       14·   ·   · · · · Did you ever talk to Ms. Wallop
15·   ·   with Excel spreadsheets?                        15·   ·   about what Eastern Profit considered was
16·   ·   · · A.· You mean the final report?              16·   ·   valuable?· Did you ever go, Ms. Wallop, this
17·   ·   · · Q.· Anything.· Any report.· The flash       17·   ·   is what we're looking for, this is what we
18·   ·   drive you would receive.· I want to know        18·   ·   want?
19·   ·   physically, when you plugged it in and you      19·   ·   · · A.· We did.· If you review the contract
20·   ·   looked at the screen, what did Eastern Profit   20·   ·   signed, which is your Exhibit number 2, you
21·   ·   understand would pop up?                        21·   ·   can see clearly reports A, B, C, the details.
22·   ·   · · A.· This could be like Excel, like Word,    22·   ·   That should be information.
23·   ·   or PDF or video.· Whatever the format.          23·   ·   · · Q.· But we already covered that there
24·   ·   · · Q.· Was there a specific agreement as to    24·   ·   was no exact agreement as to format, right?
25·   ·   the format of the information?                  25·   ·   · · A.· Format you mean Excel, Word, PDF,


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 77 of 288
                                         30(b)(6)
                             January 31, 2019                        86 to 89
                                              Page 86                                                   Page 88
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   · · · · · · · · · ·Yvette Wang
·2·   · Power Point?                                      ·2·   · Mr. Waller about what the definition of what
·3·   · · · Q.· Yes.· What was going to be on the         ·3·   · you said is, quote unquote, valuable would
·4·   · flash drive.                                      ·4·   · be?
·5·   · · · · · · ·MR. GRENDI:· I want to hop in          ·5·   · · · · · · ·MR. GRENDI:· Objection.· You
·6·   · · · ·here.· We requested a break, I know          ·6·   · · · ·can answer.
·7·   · · · ·you are continuing down this line of         ·7·   · · · A.· Can you repeat your question?
·8·   · · · ·questioning and you're obviously             ·8·   · · · · · · ·MR. SCHMIT:· Can you read it
·9·   · · · ·entitled to.· But can we have a              ·9·   · · · ·back?
10·   · · · ·break, please?                               10·   · · (Whereupon, at this time, the requested
11·   · · · · · · ·MR. SCHMIT:· Sure.· Take a             11·   ·portion was read by the reporter.)
12·   · · · ·break.                                       12·   · · · A.· Sorry, I still -- I don't quite
13·   · · · · · · ·THE WITNESS:· Thank you.               13·   · understand your question.· So you're talking
14·   · · · · · · ·(Whereupon, a brief recess was         14·   · about, am I aware Mr. Guo discussed with Ms.
15·   · · · ·taken.)                                      15·   · Wallop and Mike about the valuable, the
16·   ·BY MR. SCHMIT:                                     16·   · definition of valuable?
17·   · · · Q.· We were talking before the break,         17·   · · · Q.· What he would consider valuable
18·   · Ms. Wang, about what would be considered,         18·   · under the contract.
19·   · quote unquote, valuable information.              19·   · · · A.· I believe I did.
20·   · · · · · Did you ever discuss that with Ms.        20·   · · · Q.· You believe you did with who?
21·   · Wallop or Mike Waller, the other individual       21·   · · · A.· Mr. Guo discussed it with them.
22·   · you've mentioned?                                 22·   · · · Q.· Okay.· And why do you believe that?
23·   · · · A.· About what?                               23·   · · · A.· Because Mr. Guo requested their
24·   · · · Q.· About what you considered to be           24·   · things or they offered their things.· I mean,
25·   · valuable or under the contract.                   25·   · this is the proof, this is the agreement.

                                                Page 87                                                   Page 89
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · A.· The valuable, the first thing they      ·2·   ·   · · Q.· I mean, were you present for any
·3·   ·   should be truth, they should be true --         ·3·   ·   conversations about, you know, Gee, Ms.
·4·   ·   · · Q.· No, no, did you discuss it?             ·4·   ·   Wallop, this is what I would consider
·5·   ·   · · A.· Discuss it?                             ·5·   ·   valuable, this is what I'm looking for?
·6·   ·   · · Q.· Did you discuss your definition of      ·6·   ·   · · A.· Thank you.· That is more easier for
·7·   ·   valuable with either Ms. Wallop or Mr.          ·7·   ·   me.· No, I didn't.· And I was absent in the
·8·   ·   Waller?                                         ·8·   ·   very beginning of this project.· So in the
·9·   ·   · · A.· I didn't.                               ·9·   ·   very beginning, which means before I started
10·   ·   · · Q.· Do you know of anybody on behalf of     10·   ·   to be involved in this project, and Mr. Guo
11·   ·   Eastern Profit that did?                        11·   ·   and Ms. Wallop and Mike and Mr. Han, you
12·   ·   · · A.· I believe Mr. Guo discussed it with     12·   ·   know, Mr. Han Lianchao, we say L.C. in all
13·   ·   them.                                           13·   ·   the correspondence, they discussed about
14·   ·   · · Q.· Why do you believe that?                14·   ·   those things, I believe.
15·   ·   · · A.· Why I believe that?· Because after      15·   ·   · · Q.· Why do you believe that?
16·   ·   the discussion, I guess, again, they come up    16·   ·   · · A.· Because come out with this
17·   ·   this definition (indicating).· So I read this   17·   ·   (indicating).· Otherwise where are they come
18·   ·   and I understand --                             18·   ·   from?
19·   ·   · · Q.· What are you pointing to?               19·   ·   · · Q.· Are you aware of any specific
20·   ·   · · A.· The page one until page two with all    20·   ·   conversations along those lines, though?
21·   ·   the definitions regarding A, B, and C           21·   ·   · · A.· I don't understand.· Am I aware of
22·   ·   research.                                       22·   ·   any conversation?
23·   ·   · · Q.· I don't understand what's in the        23·   ·   · · Q.· Yes.
24·   ·   contract, though.· Were you aware of any        24·   ·   · · A.· Yes.
25·   ·   discussions Mr. Guo had with Ms. Wallop or      25·   ·   · · Q.· Which ones?· When did they take


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 78 of 288
                                         30(b)(6)
                             January 31, 2019                     106 to 109
                                               Page 106                                                  Page 108
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   years?                                          ·2·   ·   it?
·3·   ·   · · · · · ·MS. TESKE:· Same objection.          ·3·   ·   · · A.· Mr. Guo sent me --
·4·   ·   · · · · · ·MR. GRENDI:· Same objection.         ·4·   ·   · · · · · ·MR. GRENDI:· Objection.· You
·5·   ·   · · A.· I don't know.                           ·5·   ·   · · ·can answer.
·6·   ·   · · Q.· Do you have any idea?                   ·6·   ·   · · A.· Mr. Guo sent me the wire receipt,
·7·   ·   · · A.· I don't think that long, I mean, my     ·7·   ·   which I told you.
·8·   ·   guess.                                          ·8·   ·   · · Q.· Did you talk with anybody from ACA
·9·   ·   · · Q.· You've met Mr. Han, right?              ·9·   ·   Capital about it?
10·   ·   · · A.· Yes, I did.                             10·   ·   · · A.· No, in my memory, no, no.
11·   ·   · · Q.· When did you first meet him?            11·   ·   · · Q.· Did Mr. Guo -- did you tell Mr. Guo,
12·   ·   · · A.· In New York.                            12·   ·   We've got to get this money back, this is
13·   ·   · · Q.· What time?· When?                       13·   ·   crazy?
14·   ·   · · A.· Late October, November of 2017.         14·   ·   · · A.· No, I didn't tell him.· I mean, why
15·   ·   · · Q.· Who introduced you?                     15·   ·   should I tell him?
16·   ·   · · A.· He was in Mr. Guo's apartment and I     16·   ·   · · Q.· Do you know what ACA Capital was
17·   ·   went there and Mr. Guo introduced him to me.    17·   ·   told?
18·   ·   · · Q.· What is your understanding of why he    18·   ·   · · · · · ·MR. GRENDI:· Objection.· You
19·   ·   was with Mr. Guo that day?                      19·   ·   · · ·can answer.
20·   ·   · · A.· My understanding, he's a friend of      20·   ·   · · A.· I don't know.· I don't know that.
21·   ·   him, otherwise why at his home, right?          21·   ·   · · Q.· Do you know if it was specifically
22·   ·   · · Q.· What did Mr. Guo tell you about Mr.     22·   ·   told that you have to pull this back because
23·   ·   Han during the introduction?                    23·   ·   no contract has been signed yet?
24·   ·   · · A.· He said Mr. Han is from Washington      24·   ·   · · A.· You mean I was told, right?
25·   ·   D.C.· And he is a real fighter for Chinese      25·   ·   · · Q.· No, no.· ACA Capital, they're the

                                               Page 107                                                  Page 109
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   rules of law and democracy as well and a very   ·2·   ·   ones that were trying to claw the money back?
·3·   ·   good man.                                       ·3·   ·   · · A.· Oh.
·4·   ·   · · Q.· Do you know, is Mr. Han originally      ·4·   ·   · · Q.· Do you know specifically what
·5·   ·   from Washington D.C.?                           ·5·   ·   instruction they were given or why they were
·6·   ·   · · A.· Originally you mean what?               ·6·   ·   doing it?
·7·   ·   · · Q.· Like where was he born?                 ·7·   ·   · · A.· I don't know that part.· I don't
·8·   ·   · · A.· Oh, he was born in Mainland of          ·8·   ·   know.
·9·   ·   China.· He told me.                             ·9·   ·   · · Q.· Mr. Guo never shared that
10·   ·   · · Q.· Did he know Mr. Guo over in China?      10·   ·   information with you?
11·   ·   · · A.· I don't know.· But I don't believe      11·   ·   · · · · · ·MS. TESKE:· Objection.
12·   ·   so.· Looks like not, my guess, again.           12·   ·   · · · · · ·MR. GRENDI:· Objection.
13·   ·   · · Q.· Just one more question about the --     13·   ·   · · Q.· Let's go back to Exhibit 5 here.· If
14·   ·   this has nothing do with this exhibit, but      14·   ·   you would turn to production number 65.
15·   ·   about the million dollars deposit that ACA      15·   ·   · · · · · ·(Witness peruses document.)
16·   ·   Capital sent, right, they tried to claw it      16·   ·   · · Q.· It says at the top, it says, Okay,
17·   ·   back, right?                                    17·   ·   thanks, I don't think the New York guy is
18·   ·   · · A.· To get it back?                         18·   ·   serious.
19·   ·   · · Q.· Yes.                                    19·   ·   · · · · Is it your understanding New York
20·   ·   · · A.· Yes.· Sorry my language.                20·   ·   guy is a reference to Mr. Guo?
21·   ·   · · Q.· That's fine.· Who told them that        21·   ·   · · A.· Correct.· That is my understanding,
22·   ·   they should try to pull it back?                22·   ·   yes.
23·   ·   · · A.· I don't know.                           23·   ·   · · Q.· Okay.· Do you know who this -- who
24·   ·   · · Q.· Did you go -- when you found out        24·   ·   wrote that?
25·   ·   about the deposit, how did you find out about   25·   ·   · · A.· I don't know.


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 79 of 288
                                         30(b)(6)
                             January 31, 2019                     134 to 137
                                               Page 134                                                  Page 136
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   Miles Kwok is the biggest dissident of          ·2·   ·   · · Q.· It's a three-page letter, dated
·3·   ·   Chinese government.· And she doesn't want to    ·3·   ·   February 23rd, 2018.
·4·   ·   get together with those group of people. I      ·4·   ·   · · · · Do you have that in front of you?
·5·   ·   mean, Miles Kwok's group of people.· And then   ·5·   ·   · · A.· Yes.
·6·   ·   I don't think that fear or that experience is   ·6·   ·   · · Q.· Have you ever seen this before?
·7·   ·   related to this project.                        ·7·   ·   · · A.· Yes, I did.
·8·   ·   · · · · Let me tell you why.· Because when      ·8·   ·   · · Q.· Did you look at it, just a yes or no
·9·   ·   this project show up in front of me, my first   ·9·   ·   to this, did you look at it in draft form?
10·   ·   reaction is, okay, what is job of this lady?    10·   ·   · · A.· I'm sorry, what is your question?
11·   ·   And later on, with more meetings together       11·   ·   · · Q.· Did you see it in draft form?
12·   ·   with them, I was educated, Ms. Wallop and       12·   ·   · · A.· Draft form meaning?
13·   ·   Mike, they are super very much experienced in   13·   ·   · · Q.· Prior to being executed.
14·   ·   investigation and research, which they          14·   ·   · · A.· Yes, I did, I did.
15·   ·   described themselves in front of me.· And       15·   ·   · · Q.· Did you provide any input into it?
16·   ·   from those meetings, I feel no fear, they       16·   ·   · · A.· Yes, I did.
17·   ·   have no fear at all to, like, Miles Guo or      17·   ·   · · Q.· Who else would have provided input
18·   ·   me.· So it's totally separated.                 18·   ·   into this letter?
19·   ·   · · Q.· Why was the agreement, if you look      19·   ·   · · A.· Who else provided information to
20·   ·   at Exhibit 2, it says here both parties agree   20·   ·   this, right?
21·   ·   that the nature of this contract and work       21·   ·   · · Q.· Yes.
22·   ·   related to it is highly confidential.           22·   ·   · · · · · ·MR. GRENDI:· Objection.· You
23·   ·   · · A.· Yes, I saw this.                        23·   ·   · · ·can answer.
24·   ·   · · Q.· What is your understanding of that      24·   ·   · · A.· Mr. Guo.
25·   ·   phrase?                                         25·   ·   · · Q.· Anybody else?

                                             Page 135                                                    Page 137
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   · · · A.· Highly confidential, both parties,        ·2·   ·   · · A.· My lawyer.
·3·   · what is my understanding?· My understanding       ·3·   ·   · · Q.· And just, if -- when you say my
·4·   · is that all the information related to this       ·4·   ·   lawyer, who are you referring to?
·5·   · project or this contract, should be kept          ·5·   ·   · · A.· Foley Hoag, H-O-A-G, people.
·6·   · confidential.                                     ·6·   ·   · · Q.· Did they represent Eastern Profit in
·7·   · · · Q.· And at whose request was that?            ·7·   ·   connection with the negotiation of the
·8·   · · · A.· I believe, this is my guess, again,       ·8·   ·   agreement as well?
·9·   · because when I have the draft, it's -- if my      ·9·   ·   · · A.· One of their partner, they did.
10·   · memory works well, it's already there.· So my     10·   ·   · · Q.· Who was that?
11·   · guess is, this is a request from both sides.      11·   ·   · · A.· Gare, G-A-R-E, Smith.
12·   · · · Q.· And do you know why both sides            12·   ·   · · Q.· So Mr. Smith would have looked at
13·   · wanted it that way?                               13·   ·   the agreement that we've marked as Exhibit 2
14·   · · · A.· I don't know, but I feel this is a        14·   ·   prior to Eastern Profit executing it?
15·   · common sense.                                     15·   ·   · · · · · ·MR. GRENDI:· Objection.· You
16·   · · · · · · ·MR. SCHMIT:· If I can have this        16·   ·   · · ·can answer.
17·   · · · ·marked as Exhibit 6.                         17·   ·   · · A.· Far before this version.· You know
18·   · · · · · · ·(Whereupon, at this time, the          18·   ·   what I mean?
19·   · · · ·reporter marked the above-mentioned          19·   ·   · · Q.· No, I don't.
20·   · · · ·three-page letter as Wang Exhibit 6          20·   ·   · · A.· Okay.· So the very, very, very
21·   · · · ·for identification.)                         21·   ·   beginning, when I first time visited Ms.
22·   ·BY MR. SCHMIT:                                     22·   ·   Wallop to discuss about this contract.
23·   · · · Q.· Ms. Wang, I'm going to hand you           23·   ·   · · Q.· Was there a draft on the table or
24·   · what's been marked as deposition Exhibit 6.       24·   ·   did you discuss concepts?
25·   · · · A.· Thank you.                                25·   ·   · · A.· I asked him to --


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 80 of 288
                                         30(b)(6)
                             January 31, 2019                     138 to 141
                                             Page 138                                                    Page 140
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   · · · · · · ·MR. GRENDI:· Objection, stop,          ·2·   ·   · · A.· January 26th.· And by that meeting,
·3·   · · · ·hold on.· I don't want you to                ·3·   ·   Mike and Ms. Wallop apologized many times to
·4·   · · · ·reveal --                                    ·4·   ·   Mr. Guo and me, saying they had internal
·5·   · · · · · · ·MR. SCHMIT:· Just yes or no,           ·5·   ·   communication problem, misunderstanding
·6·   · · · ·sorry.                                       ·6·   ·   between Mike and their project manager about
·7·   · · · · · · ·MR. GRENDI:· I just want to            ·7·   ·   the report, and about the delay.· So they
·8·   · · · ·instruct the witness on this.                ·8·   ·   officially apologized many, many times.
·9·   · · · · · · ·Don't reveal any conversations         ·9·   ·   · · Q.· At that meeting?
10·   · · · ·you had with any lawyers.                    10·   ·   · · A.· Yes.· And then they offered to Mr.
11·   · · · · · · ·THE WITNESS:· Okay.                    11·   ·   Guo and me, saying that because of our
12·   · · · · · · ·MR. GRENDI:· Why don't we just         12·   ·   mistake and our internal communication
13·   · · · ·roll that back and you can ask yes or        13·   ·   problem with my project manager, and we offer
14·   · · · ·no, please?                                  14·   ·   this ten days to you.· So that was the ten
15·   · · · · · · ·MR. SCHMIT:· Can you just              15·   ·   days came from.
16·   · · · ·repeat it?                                   16·   ·   · · Q.· And simply that would mean less
17·   · · (Whereupon, at this time, the requested         17·   ·   would be due under the contract?
18·   ·portion was read by the reporter.)                 18·   ·   · · · · · ·MR. GRENDI:· Objection.· You
19·   · · · A.· Yes.                                      19·   ·   · · ·can answer.
20·   · · · Q.· And was Ms. Wallop present for this       20·   ·   · · A.· Sorry, I don't understand.
21·   · meeting?                                          21·   ·   · · Q.· That would mean less money would be
22·   · · · A.· No.                                       22·   ·   due under the contract, right?
23·   · · · Q.· Who else -- was anybody else in the       23·   ·   · · · · · ·MR. GRENDI:· Same objection, go
24·   · room when you discussed this?                     24·   ·   · · ·ahead.
25·   · · · A.· No.                                       25·   ·   · · A.· In my understanding, that means the

                                               Page 139                                                  Page 141
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· Was Mr. Guo or anybody on the phone?    ·2·   ·   date we paid.· I mean, the one month we paid
·3·   ·   · · A.· No.                                     ·3·   ·   should start from January 16th instead of
·4·   ·   · · Q.· If you look at -- it's the third        ·4·   ·   January 6th.
·5·   ·   paragraph of the letter.· It says, Eastern      ·5·   ·   · · Q.· And what was the purpose of this
·6·   ·   agreed to delay the start of the contract by    ·6·   ·   letter that we've marked as Exhibit 6?
·7·   ·   ten days from January 6th to January 16th.      ·7·   ·   · · A.· The purpose was to terminate,
·8·   ·   Do you see that?                                ·8·   ·   officially terminate the contract, and to
·9·   ·   · · A.· Yes.                                    ·9·   ·   advise Strategic Vision return the deposit,
10·   ·   · · Q.· And January 6th is the day the          10·   ·   otherwise Eastern is going to take legal
11·   ·   contract was executed, right?                   11·   ·   action.
12·   ·   · · A.· Correct.                                12·   ·   · · Q.· So this was the official termination
13·   ·   · · Q.· Is that true?                           13·   ·   notice of the agreement, right?
14·   ·   · · A.· Correct, that was -- that is true.      14·   ·   · · · · · ·MR. GRENDI:· Objection.· You
15·   ·   · · Q.· Why was that done?                      15·   ·   · · ·can answer.
16·   ·   · · A.· You mean the delay?                     16·   ·   · · A.· Correct.
17·   ·   · · Q.· Yes.                                    17·   ·   · · Q.· Why did Eastern Profit believe it
18·   ·   · · A.· Oh, that was on January 26th.· The      18·   ·   was entitled to receive the million dollar
19·   ·   last meeting was Wallop, Mike, Guo and me       19·   ·   deposit back?
20·   ·   together at New York.· By that meeting, Mike    20·   ·   · · · · · ·MR. GRENDI:· Objection.· You
21·   ·   and Ms. Wallop finally presented their report   21·   ·   · · ·can answer.
22·   ·   to Mr. Guo and me, which they already delayed   22·   ·   · · · · · ·MR. SCHMIT:· What could
23·   ·   about like three weeks -- three weeks.          23·   ·   · · ·possibly be the objection to that
24·   ·   · · Q.· I'm sorry, what day was this            24·   ·   · · ·question?
25·   ·   meeting?                                        25·   ·   · · · · · ·MR. GRENDI:· Go ahead.


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 81 of 288
                                         30(b)(6)
                             January 31, 2019                     154 to 157
                                               Page 154                                                  Page 156
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   time that Eastern Profit needed that            ·2·   ·   research continue, did you have somebody else
·3·   ·   information at that time?                       ·3·   ·   continue to research individuals?
·4·   ·   · · A.· I'm sorry, I don't understand your      ·4·   ·   · · A.· I have no idea.· I don't know.
·5·   ·   question.                                       ·5·   ·   · · Q.· You've not been involved in any
·6·   ·   · · Q.· Did Eastern Profit miss anything or     ·6·   ·   research or investigation projects since
·7·   ·   breach a contract or not be able to do          ·7·   ·   Foley Hoag sent this letter?
·8·   ·   anything because it didn't have the             ·8·   ·   · · A.· Correct.
·9·   ·   information on the 26th or whatever the         ·9·   ·   · · Q.· Do you know who Rich Higgens is?
10·   ·   subsequent date is?                             10·   ·   · · A.· Rich?
11·   ·   · · · · · ·MR. GRENDI:· Objection.· You         11·   ·   · · Q.· Rich Higgens?
12·   ·   · · ·can answer.                                12·   ·   · · A.· Sorry, who is this person?
13·   ·   · · A.· I don't remember clearly.· But I did    13·   ·   · · Q.· That's the question.· Do you know
14·   ·   remember like Mr. Guo, he was waiting for       14·   ·   who that person is, Rich Higgens?
15·   ·   that information for his plan.                  15·   ·   · · A.· Rich Higgens, sounds -- the name is
16·   ·   · · Q.· Why was he waiting for that             16·   ·   familiar.· Is it the guy with DOJ?· Is that
17·   ·   information?                                    17·   ·   the guy?· No, I don't know.
18·   ·   · · A.· Why?                                    18·   ·   · · Q.· Who were you thinking of just now?
19·   ·   · · Q.· Yes.                                    19·   ·   · · A.· Because there was a newspaper talk,
20·   ·   · · A.· Because he needs that information.      20·   ·   there is a DOJ employee was sued before,
21·   ·   · · Q.· To do what?                             21·   ·   maybe I was wrong.· Something similar like
22·   ·   · · A.· To do his tech now, Chinese             22·   ·   that one.
23·   ·   Communist party work.                           23·   ·   · · · · · ·MR. GRENDI:· Can you give me a
24·   ·   · · · · · ·MS. TESKE:· Objection.               24·   ·   · · ·spelling on Higgens?
25·   ·   · · A.· He has been doing for last two,         25·   ·   · · · · · ·MR. SCHMIT:· H-I-G-G-E-N-S.· It

                                             Page 155                                                    Page 157
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   · three years.                                      ·2·   ·   · · ·might be I-N-S, I'm not sure.
·3·   · · · Q.· How is he going to use that               ·3·   ·   · · Q.· You don't recognize that name?· As
·4·   · information in order to do that?                  ·4·   ·   far as you know, Eastern Profit doesn't work
·5·   · · · · · · ·MS. TESKE:· Object.                    ·5·   ·   with him?
·6·   · · · · · · ·MR. GRENDI:· Objection.                ·6·   ·   · · A.· No.
·7·   · · · A.· I don't know.                             ·7·   ·   · · Q.· Has Eastern Profit done anything to
·8·   · · · Q.· You never asked?                          ·8·   ·   retain some other firm or individual to do
·9·   · · · A.· No.                                       ·9·   ·   the research it wanted strategic alliance to
10·   · · · · · · ·MR. SCHMIT:· Why don't we break        10·   ·   do -- or Strategic Vision, excuse me?
11·   · · · ·for lunch now?                               11·   ·   · · A.· I don't know.
12·   · · · · · · ·(Whereupon, a luncheon recess          12·   ·   · · Q.· Not to your knowledge?
13·   · · · ·was taken.)                                  13·   ·   · · A.· Not with my knowledge.
14·   ·BY MR. SCHMIT:                                     14·   ·   · · Q.· Do you know who William Yu, Y-U, is?
15·   · · · Q.· Welcome back, Ms. Wang.                   15·   ·   · · A.· No, I don't know.
16·   · · · A.· Thank you.                                16·   ·   · · Q.· You never met anybody by that name?
17·   · · · Q.· Just remember you're still under          17·   ·   · · A.· William Yu, no, never.
18·   · oath.                                             18·   ·   · · Q.· To your knowledge, is Mr. Guo
19·   · · · A.· Yes.                                      19·   ·   carrying on the work we've been discussing in
20·   · · · Q.· After the termination letter that we      20·   ·   any way, shape or form since Strategic Vision
21·   · looked at a short while ago was sent, what,       21·   ·   was terminated?
22·   · if anything, did Eastern Profit do to carry       22·   ·   · · · · · ·MR. GRENDI:· Objection.· You
23·   · on the prong as we've referred to it as?          23·   ·   · · ·can answer.
24·   · · · A.· Ask Foley Hoag to follow up.              24·   ·   · · A.· I don't know.
25·   · · · Q.· That's not what I'm asking.· Did the      25·   ·   · · Q.· You have not been involved?


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 82 of 288
                                         30(b)(6)
                             January 31, 2019                     158 to 161
                                             Page 158                                                  Page 160
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   · · · · · · · · · ·Yvette Wang
·2·   · · · A.· No.                                       ·2·   · · · · · · ·(Whereupon, at this time, the
·3·   · · · · · · ·MS. TESKE:· Same objection.            ·3·   · · · ·reporter marked the above-mentioned
·4·   · · · · · · ·MR. SCHMIT:· Let's mark this as        ·4·   · · · ·corporate telegraphic transfer
·5·   · · · ·Exhibit 7.                                   ·5·   · · · ·cancellation amendment request as
·6·   · · · · · · ·(Whereupon, at this time, the          ·6·   · · · ·Wang Exhibit 8 for identification.)
·7·   · · · ·reporter marked the above-mentioned          ·7·   ·BY MR. SCHMIT:
·8·   · · · ·bank document as Wang Exhibit 7 for          ·8·   · · · Q.· I'm going to hand you what's been
·9·   · · · ·identification.)                             ·9·   · marked for your deposition, ma'am, as Exhibit
10·   ·BY MR. SCHMIT:                                     10·   · 8.
11·   · · · Q.· I'm handing you what's been marked        11·   · · · A.· Thank you.
12·   · for your deposition as Exhibit 7.· Do you         12·   · · · Q.· Eastern 279 to 280.
13·   · have that in front of you?                        13·   · · · A.· Yes.
14·   · · · A.· Yes.                                      14·   · · · Q.· Have you ever seen this before?
15·   · · · Q.· It's got the production numbers in        15·   · · · A.· Yes.
16·   · the lower right-hand corner of Eastern, a         16·   · · · Q.· What is it?
17·   · bunch of zeros, 21 through 22.                    17·   · · · A.· It's a corporate telegraphic
18·   · · · · · Do you see that?                          18·   · transfer cancellation amendment request.
19·   · · · A.· Yes.                                      19·   · · · Q.· Who is making the request?
20·   · · · Q.· Do you recognize this document?           20·   · · · A.· Looks like ACA Capital Group
21·   · · · A.· Yes.                                      21·   · Limited.
22·   · · · Q.· What is it?                               22·   · · · Q.· And, again, do you know why they're
23·   · · · A.· It's bank document.                       23·   · making this request?
24·   · · · Q.· Do you know what it is conveying or       24·   · · · A.· I guess from the date, it looks like
25·   · signifying?                                       25·   · they tried to cancel the wire.

                                               Page 159                                                  Page 161
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · A.· This shows a transaction with           ·2·   ·   · · Q.· To your knowledge, did anybody from
·3·   ·   beneficiary name, Strategic Vision.             ·3·   ·   Eastern Profit or anyone for that matter,
·4·   ·   · · Q.· Have you ever seen this document        ·4·   ·   tell Strategic Vision, Hey, we're going to
·5·   ·   before?                                         ·5·   ·   try to cancel the wire we sent?
·6·   ·   · · · · · ·(Witness peruses document.)          ·6·   ·   · · A.· I have no knowledge about that.
·7·   ·   · · A.· Yes, I did.                             ·7·   ·   · · Q.· You didn't do it?
·8·   ·   · · Q.· What is it?                             ·8·   ·   · · A.· No, I didn't.
·9·   ·   · · A.· Huh?                                    ·9·   ·   · · Q.· And again, you weren't involved in
10·   ·   · · Q.· What is it?                             10·   ·   any conversations regarding why the wire was
11·   ·   · · A.· It's a bank proof document.             11·   ·   canceled?
12·   ·   · · Q.· Proving what?                           12·   ·   · · A.· I'm sorry, what is the question?
13·   ·   · · A.· Proving looks like a wire transfer      13·   ·   · · Q.· You weren't involved in any
14·   ·   to Strategic Vision.· Happened on January 2,    14·   ·   conversations concerning why the wire was
15·   ·   2018.                                           15·   ·   canceled; is that a correct statement?
16·   ·   · · Q.· Who is sending the wire?                16·   ·   · · A.· I was not involved in any
17·   ·   · · A.· ACA Capital Group Limited.              17·   ·   conversation of that.
18·   ·   · · Q.· And do you know why ACA Capital         18·   ·   · · Q.· And looking at this doesn't refresh
19·   ·   Group Limited is sending a wire to Strategic    19·   ·   your recollection of anything?
20·   ·   Vision?                                         20·   ·   · · A.· No, no.
21·   ·   · · A.· From this project, that this should     21·   ·   · · · · · ·MR. SCHMIT:· Mark this as 9,
22·   ·   be the deposit.· Because the time match,        22·   ·   · · ·please.
23·   ·   looks like.                                     23·   ·   · · · · · ·(Whereupon, at this time, the
24·   ·   · · · · · ·MR. SCHMIT:· Can we just have        24·   ·   · · ·reporter marked the above-mentioned
25·   ·   · · ·this marked as 8, please.                  25·   ·   · · ·e-mail chain as Wang Exhibit 9 for


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 83 of 288
                                         30(b)(6)
                             January 31, 2019                     178 to 181
                                               Page 178                                                  Page 180
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   Guo.· I told him, this is still not my          ·2·   ·   research Eastern required during a short
·3·   ·   contract, but I can see there's recap here,     ·3·   ·   timeframe.
·4·   ·   right, this is new, and then what do you want   ·4·   ·   · · · · Do you see that?
·5·   ·   me to do.· And then he said, Then just sign     ·5·   ·   · · A.· Yes.
·6·   ·   it.· Then I sign it.                            ·6·   ·   · · Q.· When did they -- is that a
·7·   ·   · · Q.· Just yes or no to this.· Was            ·7·   ·   representation that was made to you?
·8·   ·   Mr. Smith involved at this stage of the         ·8·   ·   · · A.· Made to me?
·9·   ·   proceedings, Gare Smith who you identified      ·9·   ·   · · Q.· Yes.
10·   ·   earlier?                                        10·   ·   · · A.· I don't understand the question.
11·   ·   · · A.· I know Gare Smith; you mean             11·   ·   Made to me with what?
12·   ·   preceding these proceeding?                     12·   ·   · · Q.· Did somebody say that to you?
13·   ·   · · Q.· No.· During these negotiations          13·   ·   · · A.· Yes.
14·   ·   you're talking?                                 14·   ·   · · Q.· Who said that?
15·   ·   · · A.· With Ms. Wallop, right?                 15·   ·   · · A.· Strategic Vision.
16·   ·   · · Q.· Was Gare Smith?                         16·   ·   · · Q.· Who is Strategic Vision?
17·   ·   · · A.· Yes.                                    17·   ·   · · A.· Ms. French Wallop and Mr. J. Michael
18·   ·   · · Q.· Was he involved in any of these         18·   ·   Waller.
19·   ·   meetings or looking at the drafts or helping    19·   ·   · · Q.· Who said those words, though; who
20·   ·   you out in any fashion?                         20·   ·   made those representations to you?
21·   ·   · · A.· No.                                     21·   ·   · · A.· Both of them.
22·   ·   · · Q.· When was the last time you would        22·   ·   · · Q.· On separate occasions, at the same
23·   ·   have spoken or conferred with him?              23·   ·   time?
24·   ·   · · A.· I don't remember that clearly.          24·   ·   · · A.· At the same time.· At the same time.
25·   ·   Sometime late December.· I don't remember       25·   ·   · · Q.· When was that made?

                                               Page 179                                                  Page 181
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   that clearly.                                   ·2·   ·   · · A.· Well, a couple of times.
·3·   ·   · · Q.· But at some point he looked at a        ·3·   ·   · · Q.· When was the first time that
·4·   ·   draft and you discussed it with him?· Don't     ·4·   ·   representation was made?
·5·   ·   tell me what you discussed.                     ·5·   ·   · · A.· I remember the first time should
·6·   ·   · · A.· Yes.                                    ·6·   ·   be -- first time which I was there is like
·7·   ·   · · Q.· If you could just look at the           ·7·   ·   mid December, something like that, almost
·8·   ·   fraudulent misrepresentation count there.       ·8·   ·   every, each meeting about this project, and
·9·   ·   Page 6.                                         ·9·   ·   the Strategic Vision that two person, and
10·   ·   · · · · · ·(Witness peruses document.)          10·   ·   they always repeatedly, repeatedly tell or
11·   ·   · · A.· Yes.                                    11·   ·   told Mr. Guo and me, they are this, very
12·   ·   · · Q.· It says there, if you look at           12·   ·   capable, very experienced.
13·   ·   paragraph 32, Prior to entering into the        13·   ·   · · Q.· The best?
14·   ·   contract representatives for Strategic Vision   14·   ·   · · A.· Yes.· The best in the industry.
15·   ·   made the following representations to           15·   ·   · · Q.· Specifically, with respect to, A,
16·   ·   Eastern.                                        16·   ·   highly skilled in-house team of
17·   ·   · · · · Do you see that?                        17·   ·   investigators.
18·   ·   · · A.· Yes.                                    18·   ·   · · · · Do you see that?
19·   ·   · · Q.· Who were the representatives of         19·   ·   · · A.· Yes.
20·   ·   Strategic Vision referring to?                  20·   ·   · · Q.· What words did they use to convey
21·   ·   · · A.· Ms. French Wallop and Mr. J. Michael    21·   ·   that?
22·   ·   Waller.                                         22·   ·   · · A.· What words?· They said they have
23·   ·   · · Q.· Now, you know, it says, A, Strategic    23·   ·   project manager, they have different team in
24·   ·   Vision had a highly skilled in-house team of    24·   ·   different kind of, like, country, and they
25·   ·   investigators ready to conduct the detailed     25·   ·   have quite a lot of significant clients who


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 84 of 288
                                         30(b)(6)
                             January 31, 2019                     182 to 185
                                               Page 182                                                  Page 184
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   they served and they named them as a            ·2·   ·   When you use the term in-house, is that a
·3·   ·   reference.· But they refused to tell us,        ·3·   ·   word that came out of Ms. Wallop's or Mr.
·4·   ·   like, what position in their team, like those   ·4·   ·   Waller's mouth?
·5·   ·   kind of details.                                ·5·   ·   · · A.· I believe this is described their
·6·   ·   · · Q.· So they identified clients for you?     ·6·   ·   project manager.
·7·   ·   · · A.· Yes.                                    ·7·   ·   · · Q.· It says here, they said highly
·8·   ·   · · Q.· Who were the clients they               ·8·   ·   skilled in-house team.· I'm just wondering,
·9·   ·   identified?                                     ·9·   ·   did they ever actually use the term in-house?
10·   ·   · · A.· Some Russian official, Middle           10·   ·   Did you ever discuss with them what they
11·   ·   Eastern royal family people.· I believe you     11·   ·   meant by in-house?
12·   ·   have the names.· Handwriting by Ms. Wallop,     12·   ·   · · A.· The in-house means their people.
13·   ·   yeah.                                           13·   ·   They always called them our people.
14·   ·   · · Q.· Did you attempt to contact them or      14·   ·   · · Q.· So they said -- that's what I'm
15·   ·   verify those stories at all?                    15·   ·   trying to get.· I want to know what they
16·   ·   · · A.· No, I didn't, personally, I didn't.     16·   ·   said.· Did they say our people?
17·   ·   · · Q.· Did Mr. Guo?                            17·   ·   · · A.· Yes.· So in my understanding, okay,
18·   ·   · · A.· I don't know.                           18·   ·   your people, it's your team.· And it should
19·   ·   · · Q.· Did anybody else, as far as you         19·   ·   be in-house, not you --
20·   ·   know?                                           20·   ·   · · Q.· Well, did they ever say in-house,
21·   ·   · · A.· No idea.                                21·   ·   though?· That's the question.
22·   ·   · · Q.· Did you and Mr. Guo or anybody else     22·   ·   · · A.· They said my people, our people.
23·   ·   ever talk about these clients and the work      23·   ·   · · Q.· Our people, my people?
24·   ·   Strategic Vision had done for them or           24·   ·   · · A.· Yes.
25·   ·   anything along those lines?                     25·   ·   · · Q.· Something along those lines but

                                               Page 183                                                  Page 185
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · A.· Personally, I didn't.                   ·2·   ·   never used the words in-house?
·3·   ·   · · Q.· Did you ever ask Mr. Waller or Ms.      ·3·   ·   · · A.· I don't remember that.
·4·   ·   Wallop, you know, more about their team or      ·4·   ·   · · Q.· How about, B, why don't you read
·5·   ·   how they would do it or what they wanted to     ·5·   ·   that to yourself.
·6·   ·   do?                                             ·6·   ·   · · · · · ·(Witness peruses document.)
·7·   ·   · · A.· We mentioned, we asked, yes.            ·7·   ·   · · A.· Yes.
·8·   ·   · · Q.· What did they say?                      ·8·   ·   · · Q.· Did a representation about former
·9·   ·   · · A.· They refused to tell too much           ·9·   ·   intelligence officers, was that ever
10·   ·   details.· They just say they are very           10·   ·   discussed in your presence?
11·   ·   capable.· And they use for the clients, and     11·   ·   · · A.· You mean, is there any formal
12·   ·   they are experienced, but I don't know who      12·   ·   intelligence officer shows in front of me?
13·   ·   they are or where are they.                     13·   ·   · · Q.· No, no.· You had discussions, I
14·   ·   · · Q.· But they told you they weren't going    14·   ·   assume, it says Strategic Vision here in the
15·   ·   to tell you, right?· I mean, you asked and      15·   ·   complaint.· This is the complaint filed by
16·   ·   they said, We're not going to reveal that       16·   ·   Eastern Profit.
17·   ·   information?                                    17·   ·   · · A.· Oh, okay.
18·   ·   · · · · · ·MR. GRENDI:· Objection.· You         18·   ·   · · Q.· Did somebody from Strategic Vision
19·   ·   · · ·can answer.                                19·   ·   ever specifically say they had a former
20·   ·   · · A.· We did not ask the name.· And they      20·   ·   intelligence officer or anything like that?
21·   ·   didn't disclosure too much details.             21·   ·   · · A.· Yes, they did.
22·   ·   · · Q.· Did you ask them for more detail?       22·   ·   · · Q.· And when would those representations
23·   ·   · · A.· I don't remember that.· I don't         23·   ·   have been made?
24·   ·   remember that part.                             24·   ·   · · A.· Many times.· Almost every -- each of
25·   ·   · · Q.· Did they specifically say in-house?     25·   ·   the meetings about this project.


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 85 of 288
                                         30(b)(6)
                             January 31, 2019                     186 to 189
                                               Page 186                                                  Page 188
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· Did you ask them what they meant by     ·2·   ·   something.
·3·   ·   that?                                           ·3·   ·   · · Q.· Breaking something?
·4·   ·   · · A.· What is your question?                  ·4·   ·   · · A.· They described that.· Yes.
·5·   ·   · · Q.· Did you ask them what they meant by     ·5·   ·   · · Q.· When you look at sophisticated
·6·   ·   a former intelligence officer?                  ·6·   ·   financial tracking, what would your
·7·   ·   · · A.· What does that mean?                    ·7·   ·   expectation be?
·8·   ·   · · Q.· Did you ask them what they meant        ·8·   ·   · · A.· Legal.
·9·   ·   when they said former intelligence officer?     ·9·   ·   · · Q.· Legal versus nonlegal?
10·   ·   · · A.· We ask, like who they are, what did     10·   ·   · · A.· Yes.· Because what they said to us
11·   ·   they work for, like for previous -- like        11·   ·   is not legal.· It's common sense, we don't
12·   ·   their employer or their experience.· And        12·   ·   need that.
13·   ·   basically we didn't ask too much, but we did    13·   ·   · · Q.· What did they say to you?
14·   ·   ask.· Mainly they, I mean, Ms. Wallop and       14·   ·   · · A.· They said climb the wall and see the
15·   ·   Mike, they voluntarily kept talking with us.    15·   ·   assets.· So in our understanding, it's not
16·   ·   Keep introducing us many, many times.· And      16·   ·   legal.
17·   ·   even I can feel clearly by the end of some      17·   ·   · · Q.· So at that point you didn't really
18·   ·   meeting, we start to lose our patience, like,   18·   ·   rely on that, in fact, you told them, We
19·   ·   let's stop education, let's talk about the      19·   ·   don't want that; is that a stair statement?
20·   ·   contract and project.                           20·   ·   · · · · · ·MR. GRENDI:· Objection.
21·   ·   · · Q.· So at a certain point you got sick      21·   ·   · · ·Objection.
22·   ·   of hearing about their capabilities and what    22·   ·   · · · · · ·You can answer.
23·   ·   they can do?                                    23·   ·   · · A.· What is your question?
24·   ·   · · A.· What is the question?                   24·   ·   · · Q.· At that point, when you heard that
25·   ·   · · · · · ·MR. GRENDI:· Objection.              25·   ·   from Ms. Wallop or Mr. Waller, you said, No,

                                               Page 187                                                  Page 189
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · Q.· At a certain point you got tired of     ·2·   ·   we don't want that?
·3·   ·   hearing about their capabilities and what       ·3·   ·   · · A.· Correct, correct.
·4·   ·   they can do?                                    ·4·   ·   · · Q.· You don't have to do that, right?
·5·   ·   · · A.· Yes.· Because they are repeating so     ·5·   ·   · · A.· Correct.
·6·   ·   many, many times.                               ·6·   ·   · · · · · ·MR. GRENDI:· Objection.· I'm
·7·   ·   · · Q.· And you just said, Let's get to the     ·7·   ·   · · ·just going to advise you to please
·8·   ·   contract and let's negotiate it?                ·8·   ·   · · ·not raise your voice at the witness.
·9·   ·   · · A.· No.· We said, Let's just see what we    ·9·   ·   · · ·I think -- I know you're trying to
10·   ·   can do together, not specifically which         10·   ·   · · ·get information.
11·   ·   contract or which investigation.                11·   ·   · · · · · ·MR. SCHMIT:· I'm not raising my
12·   ·   · · Q.· At the end of the day, was it really    12·   ·   · · ·voice at all.· I think the record
13·   ·   important to you whether there was a former     13·   ·   · · ·will reflect --
14·   ·   intelligence officer involved or not?           14·   ·   · · · · · ·MR. GRENDI:· Well, I think --
15·   ·   · · A.· That is their team.· And we have no     15·   ·   · · · · · ·MR. SCHMIT:· It's been going a
16·   ·   control about that team.                        16·   ·   · · ·little clearer now that we're getting
17·   ·   · · Q.· What did you -- the capabilities of     17·   ·   · · ·a better understanding, but I don't
18·   ·   conducting sophisticated financial tracking,    18·   ·   · · ·think I've been raising my voice at
19·   ·   do you remember many conversations about        19·   ·   · · ·all.
20·   ·   that?                                           20·   ·   · · · · · ·THE WITNESS:· By the way, I
21·   ·   · · A.· Yes.                                    21·   ·   · · ·don't like people have their cell
22·   ·   · · Q.· What was said about that?               22·   ·   · · ·phone in front of me like this.· It
23·   ·   · · A.· Like they said they are capable of      23·   ·   · · ·just makes me uncomfortable.· So that
24·   ·   climb the wall and watch the thing right        24·   ·   · · ·will slow down my answer to you.· I'm
25·   ·   there.· Like, sounds like they are breaking     25·   ·   · · ·just trying to help here.


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                                           (877) 479-2484                                                           YVer1f
 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 86 of 288
                                         30(b)(6)
                             January 31, 2019                     194 to 197
                                               Page 194                                                  Page 196
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   it afterwards?                                  ·2·   ·   · · A.· Because otherwise why Ms. Wallop
·3·   ·   · · A.· He said, No, no, no, no.                ·3·   ·   handwrite all the client's name?· I mean,
·4·   ·   · · Q.· Wasn't it Mr. Guo that asked whether    ·4·   ·   some of the very important client's name in
·5·   ·   you could access money from banks of these      ·5·   ·   Miles Guo's handbook -- notebook.
·6·   ·   people you were identifying?                    ·6·   ·   · · Q.· You have no reason to believe that
·7·   ·   · · · · · ·MS. TESKE:· Object.                  ·7·   ·   it wasn't true, right?
·8·   ·   · · A.· What is your question?                  ·8·   ·   · · · · · ·MR. GRENDI:· Objection.· You
·9·   ·   · · Q.· Didn't Mr. Guo ask representatives      ·9·   ·   · · ·can answer.
10·   ·   from Strategic Vision whether they could        10·   ·   · · A.· Personally, I believe it's true.
11·   ·   access money from the bank accounts of the      11·   ·   · · Q.· And do you believe some of those
12·   ·   people that were being identified by Eastern    12·   ·   clients might have included Republican
13·   ·   Profit?                                         13·   ·   politicians?
14·   ·   · · · · · ·MS. TESKE:· Object.                  14·   ·   · · A.· I don't know about that.
15·   ·   · · · · · ·MR. GRENDI:· Same objection.         15·   ·   · · Q.· Do you have any reason to believe
16·   ·   · · A.· I don't remember that.                  16·   ·   they didn't?
17·   ·   · · Q.· You don't remember that happening at    17·   ·   · · A.· I have no knowledge about that.
18·   ·   all?                                            18·   ·   · · Q.· Do you know whether Ms. Wallop is a
19·   ·   · · A.· No.                                     19·   ·   Republican or a Democrat?
20·   ·   · · Q.· Let's go on to page 7.· C there,        20·   ·   · · A.· It's not my business.· I never know
21·   ·   they had represented other sophisticated        21·   ·   about that.
22·   ·   clients in the past, including Republican       22·   ·   · · Q.· How about Middle Eastern princes?
23·   ·   politicians, a Middle Eastern prince, and a     23·   ·   · · A.· Yes.
24·   ·   leader of the Russian Opposition Party.· Do     24·   ·   · · Q.· Any reason to think the clients in
25·   ·   you see that?                                   25·   ·   the past didn't include a Middle Eastern

                                               Page 195                                                  Page 197
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · A.· Yes.                                    ·2·   ·   prince?
·3·   ·   · · Q.· And that -- when was that               ·3·   ·   · · A.· It should be on the handwriting,
·4·   ·   representation made?                            ·4·   ·   some of them.
·5·   ·   · · A.· I forget the time.· In one of the       ·5·   ·   · · Q.· You believed it to be true?
·6·   ·   meetings about this project.                    ·6·   ·   · · A.· I believe the handwriting, it's
·7·   ·   · · Q.· And did you follow up with any of       ·7·   ·   true.
·8·   ·   these individuals to even verify that they      ·8·   ·   · · Q.· And do you have any reason to
·9·   ·   were clients?                                   ·9·   ·   believe that what was written on that sheet
10·   ·   · · A.· Follow up?· You mean?                   10·   ·   of paper, napkin whatever you're describing
11·   ·   · · Q.· Call them, e-mail them, text them?      11·   ·   wasn't true?
12·   ·   · · A.· I didn't.                               12·   ·   · · A.· Which paper?
13·   ·   · · Q.· Did anybody at your direction?          13·   ·   · · Q.· Wherever the prince's name was
14·   ·   · · A.· From me, I didn't.                      14·   ·   written down.· My question is, do you have
15·   ·   · · Q.· Do you know of it being done at all?    15·   ·   any reason to believe that that prince was
16·   ·   · · A.· I have no idea.                         16·   ·   not a former client of Strategic Vision or
17·   ·   · · Q.· Do you have any reason to believe       17·   ·   Ms. Wallop or Mr. Waller?
18·   ·   that this is not a true statement, that they    18·   ·   · · A.· After I saw Ms. Wallop, her
19·   ·   represented sophisticated clients in the        19·   ·   handwriting on Mr. Guo's notebook, I believe
20·   ·   past?· What about that --                       20·   ·   they are true.
21·   ·   · · A.· Personally, I believe that is true.     21·   ·   · · Q.· And a leader of the Russian
22·   ·   · · Q.· You do believe that is a true           22·   ·   Opposition Party, do you have any reason to
23·   ·   statement?                                      23·   ·   believe that Strategic Vision didn't
24·   ·   · · A.· Yes.                                    24·   ·   represent a leader of the Russian Opposition
25·   ·   · · Q.· Okay.                                   25·   ·   Party?


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 87 of 288
                                         30(b)(6)
                             January 31, 2019                     198 to 201
                                               Page 198                                                  Page 200
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   · · A.· Same answer.                            ·2·   ·   they, Strategic Vision is going to issue
·3·   ·   · · Q.· You believed them to be true?           ·3·   ·   invoice every month and the client is just to
·4·   ·   · · A.· Yes.                                    ·4·   ·   pay the invoice.
·5·   ·   · · Q.· Have you discovered anything since      ·5·   ·   · · Q.· So it would stand out there, and the
·6·   ·   then to in any way make you question that?      ·6·   ·   client, you would still owe the monthly fees?
·7·   ·   · · A.· Same answer like before, no.            ·7·   ·   · · · · · ·MR. GRENDI:· Objection.· You
·8·   ·   · · Q.· Paragraph 34, it says here,             ·8·   ·   · · ·could answer.
·9·   ·   Strategic Vision also told Eastern that         ·9·   ·   · · Q.· That's what evergreen means, right?
10·   ·   Eastern's one million dollar deposit would be   10·   ·   · · A.· Correct, yes.
11·   ·   used as a deposit against the last payments     11·   ·   · · Q.· In other words, to give you an
12·   ·   owed by Eastern at the end of the contract.     12·   ·   example, you paid a million dollars and you
13·   ·   Paragraph, upon information and belief          13·   ·   get that bill for $750,000.· If the million
14·   ·   Strategic Vision also knew this statement to    14·   ·   dollars is an evergreen deposit, or in our
15·   ·   be false.                                       15·   ·   business a retainer, you still have to pay
16·   ·   · · · · Why was that statement false?           16·   ·   that $750,000, right?
17·   ·   · · A.· I don't understand this statement.      17·   ·   · · A.· That is evergreen, you are right.
18·   ·   Can you please help me?                         18·   ·   Pay month by month and this deposit stay
19·   ·   · · Q.· It's Eastern Profit's complaint.        19·   ·   there.
20·   ·   That's the one million dollar deposit under     20·   ·   · · Q.· What happens to that evergreen
21·   ·   the agreement.                                  21·   ·   deposit at the end of the contract?
22·   ·   · · A.· That's right, this is drafted by        22·   ·   · · A.· They didn't say clearly in the
23·   ·   lawyer.· English is not my first language,      23·   ·   contract, which means Strategic Vision should
24·   ·   sorry about that.· I'm trying to understand.    24·   ·   return that deposit after this project is
25·   ·   · · Q.· Was that representation ever made to    25·   ·   terminated.

                                               Page 199                                                  Page 201
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   you?                                            ·2·   ·   · · Q.· Well, it says here, the deposit will
·3·   ·   · · · · · ·(Witness peruses document.)          ·3·   ·   be credited on a prorated basis to the final
·4·   ·   · · A.· From the contract side --               ·4·   ·   one and one-third months of the contract.· Do
·5·   ·   · · Q.· So you're referring back to the         ·5·   ·   you see that?
·6·   ·   contract that's been marked.· What exhibit is   ·6·   ·   · · A.· Yes.
·7·   ·   that for the record?                            ·7·   ·   · · Q.· What is your understanding of that?
·8·   ·   · · A.· Your Exhibit number 2.                  ·8·   ·   · · A.· Can I say, I don't understand what
·9·   ·   · · Q.· Okay.                                   ·9·   ·   is prorated basis?· I don't understand this.
10·   ·   · · A.· Page number 5.· The client will pay     10·   ·   · · Q.· You don't know what prorated -- you
11·   ·   the contractor a deposit of U.S. dollar one     11·   ·   don't have a view as to what prorated basis
12·   ·   million upon signing the contract.· The         12·   ·   means?
13·   ·   deposit will be credited on a prorated basis    13·   ·   · · A.· I'm not quite familiar with that.
14·   ·   to the final one to one-third month of the      14·   ·   · · Q.· What language of this contract would
15·   ·   contract.                                       15·   ·   say that Strategic Vision should just return
16·   ·   · · · · In my understanding, this one           16·   ·   the million dollars at the end of the
17·   ·   million should not be used against the last     17·   ·   contract?
18·   ·   payment.                                        18·   ·   · · A.· They didn't clearly say that
19·   ·   · · Q.· Should not be used?                     19·   ·   sentence in the contract.
20·   ·   · · A.· Correct.                                20·   ·   · · Q.· It's not in there, right?
21·   ·   · · Q.· What should have happened with the      21·   ·   · · A.· Correct.
22·   ·   one million dollar deposit upon --              22·   ·   · · Q.· When was the final day of the
23·   ·   · · A.· This is, in my understanding, an        23·   ·   contract?
24·   ·   evergreen deposit, which means that one         24·   ·   · · · · · ·MR. GRENDI:· Objection.· You
25·   ·   million just stay there as one million.· And    25·   ·   · · ·can answer.


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 Case 1:18-cv-02185-LJL Document
                          Yvette 267-1
                                  Wang·Filed 03/16/20 Page 88 of 288
                                         30(b)(6)
                             January 31, 2019                     262 to 265
                                               Page 262                                                  Page 264
·1·   ·   · · · · · · · · ·Yvette Wang                    ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   ·   Profit?                                         ·2·   ·   · · A.· I mentioned this message to him.
·3·   ·   · · A.· I didn't go that detail.                ·3·   ·   · · Q.· And what was his reaction?
·4·   ·   · · Q.· Did he seem to know anything about      ·4·   ·   · · A.· He said they are making excuse and
·5·   ·   the deposition, that it was occurring or        ·5·   ·   it doesn't make any sense.
·6·   ·   otherwise?                                      ·6·   ·   · · Q.· Why did he think it didn't make any
·7·   ·   · · · · · ·MS. TESKE:· Objection.               ·7·   ·   sense?
·8·   ·   · · · · · ·MR. GRENDI:· Objection.              ·8·   ·   · · · · · ·MS. TESKE:· Object.
·9·   ·   · · A.· I didn't -- no.                         ·9·   ·   · · A.· I believe the two pages here, the
10·   ·   · · Q.· Does Eastern Profit have any assets     10·   ·   main spirit or the main contact with never
11·   ·   whatsoever as far as you know?                  11·   ·   included in the contract, which is signed on
12·   ·   · · A.· No idea.                                12·   ·   January 6th.
13·   ·   · · Q.· Does it have a relationship with a      13·   ·   · · Q.· I'm sorry, what's not included?
14·   ·   bank?· Does it have any loans or anything       14·   ·   · · A.· The content of here.
15·   ·   like that?                                      15·   ·   · · Q.· Did Mr. Guo ever discuss that based
16·   ·   · · · · · ·MR. GRENDI:· Objection.· You         16·   ·   on his experience this isn't how it worked or
17·   ·   · · ·can answer.                                17·   ·   Mr. Waller had it all wrong?
18·   ·   · · A.· No idea about their loan with bank.     18·   ·   · · A.· He didn't mention that to me.
19·   ·   · · · · · ·MR. SCHMIT:· Why don't we take       19·   ·   · · Q.· In this context, was Mr. Guo getting
20·   ·   · · ·five minutes?                              20·   ·   more and more agitated?
21·   ·   · · · · · ·MR. GRENDI:· I was just going        21·   ·   · · A.· What do you mean agitated?
22·   ·   · · ·to say that.                               22·   ·   · · Q.· Angry, frustrated.
23·   ·   · · · · · ·(Whereupon, a brief recess was       23·   ·   · · · · · ·MS. TESKE:· Object.
24·   ·   · · ·taken.)                                    24·   ·   · · A.· Oh, yes.
25·   ·   · · · · · ·MR. SCHMIT:· Mark this as            25·   ·   · · Q.· And in this time, did he ever say

                                             Page 263                                                    Page 265
·1·   · · · · · · · · · ·Yvette Wang                      ·1·   ·   · · · · · · · · ·Yvette Wang
·2·   · · · ·Exhibit 21.                                  ·2·   ·   why he needed this information so
·3·   · · · · · · ·(Whereupon, at this time, the          ·3·   ·   immediately?
·4·   · · · ·reporter marked the above-mentioned          ·4·   ·   · · · · · ·MR. GRENDI:· Objection.
·5·   · · · ·screen shot of text messages as Wang         ·5·   ·   · · A.· No, he didn't mention that.· He said
·6·   · · · ·Exhibit 21 for identification.)              ·6·   ·   that before already.
·7·   ·BY MR. SCHMIT:                                     ·7·   ·   · · Q.· He said what before?
·8·   · · · Q.· I'm going to hand you what's been         ·8·   ·   · · · · · ·(Witness peruses document.)
·9·   · marked as Exhibit 21.                             ·9·   ·   · · Q.· Are you looking for a particular
10·   · · · A.· Thank you.                                10·   ·   message?
11·   · · · Q.· It is a two-page text message, 259        11·   ·   · · A.· Yes.· There was a timeline in my
12·   · through 260.· Do you have that in front of        12·   ·   text message.· On your Exhibit number 18,
13·   · you?                                              13·   ·   page 233, conveyed to him, this is my
14·   · · · A.· Yes.                                      14·   ·   message, on January 16, to French Wallop, I
15·   · · · Q.· If you can just read the message and      15·   ·   said, Convey to him, he advised that if you
16·   · let me know when you're finished.                 16·   ·   could make it he needs to see the report
17·   · · · · · · ·(Witness peruses document.)            17·   ·   before January 25th.· And he has some plan
18·   · · · A.· Yes, I finished.                          18·   ·   from January 6th, which will need your input.
19·   · · · Q.· Did you receive this text message?        19·   ·   · · Q.· But did he ever tell -- as far as
20·   · · · A.· Yes.                                      20·   ·   you know, did he ever tell you, let's start
21·   · · · Q.· Did you ever discuss these issues         21·   ·   there, what the plan was?· That was the
22·   · with Mr. Waller?                                  22·   ·   question.
23·   · · · A.· I believe no.                             23·   ·   · · · · · ·MR. GRENDI:· Objection.· We've
24·   · · · Q.· Did you ever discuss them with Mr.        24·   ·   · · ·been over this a couple of times now,
25·   · Guo?                                              25·   ·   · · ·but go ahead.


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     Case 1:18-cv-02185-LJL Document
                              Yvette 267-1
                                      Wang·Filed 03/16/20 Page 89 of 288
                                             30(b)(6)
                                 January 31, 2019                     278 to 281
                                                      Page 278                                                         Page 280
·1                                                               ·1
·2· · · · · · · · · ·I N D E X                                   ·2· ·DOCUMENTS AND/OR
·3· ·EXAMINATION BY· · · · · · · · · · · · PAGE
                                                                 · · ·INFORMATION REQUESTED· · · · · · · · PAGE LINE
·4· ·Mr. Schmit· · · · · · · · · · · · · · · 4
                                                                 ·3
·5
                                                                 · · ·Documents supporting loan· · · · · · ·45· ·17
· · · · · · · · · · E X H I B I T S
·6                                                               ·4

·7                                                               ·5

· · ·WANG· · · · · · DESCRIPTION· · · · · · · ·PAGE              ·6
·8                                                               ·7
· · · ·1· · · · Notice of deposition· · · · · · ·7
                                                                 ·8
·9
                                                                 ·9
· · · ·2· · · · Research agreement· · · · · · · 11
                                                                 10
10
· · · ·3· · · · Responses and objections                         11

11· · · · · · · to interrogatories· · · · · · · 23               12
12· · ·4· · · · Research agreement· · · · · · · 51               13
13· · ·5· · · · Screen shot of text messages· ·103               14
14· · ·6· · · · Three-page letter· · · · · · · 135
                                                                 15
15· · ·7· · · · Bank document· · · · · · · · · 158
                                                                 16
16· · ·8· · · · Corporate telegraphic transfer
                                                                 17
· · · · · · · · cancellation amendment
17· · · · · · · request· · · · · · · · · · · · 160               18

18· · ·9· · · · E-mail chain· · · · · · · · · ·161               19
19· · 10· · · · Handwritten document· · · · · ·164               20
20· · 11· · · · Complaint· · · · · · · · · · · 167               21
21· · 12· · · · Name list· · · · · · · · · · · 212
                                                                 22
22· · 13· · · · Background report· · · · · · · 216
                                                                 23
23· · 14· · · · Background report· · · · · · · 219
                                                                 24
24· · 15· · · · Screen shot of text messages· ·224
25· · 16· · · · Screen shot of text messages· ·230               25



                                                      Page 279                                                         Page 281
·1                                                               ·1
·2
                                                                 ·2· · · · · · · C E R T I F I C A T E
· · · · · · · · (Exhibits cont.)
                                                                 ·3· · · · · ·I, MICHELLE LEMBERGER, a shorthand
·3
·4                                                               ·4· · · reporter and Notary Public within and for
· · ·WANG· · · · · · DESCRIPTION· · · · · · · ·PAGE              ·5· · · the State of New York, do hereby certify:
·5
                                                                 ·6· · · · · ·That the witness(es) whose testimony
· · · 17· · · · Screen shot of text messages· · 234
·6                                                               ·7· · · is hereinbefore set forth was duly sworn by
· · · 18· · · · Screen shot of text messages· · 240              ·8· · · me, and the foregoing transcript is a true
·7
                                                                 ·9· · · record of the testimony given by such
· · · 19· · · · Screen shot of text messages· · 244
·8                                                               10· · · witness(es).
· · · 20· · · · Screen shot of text messages· · 254              11· · · · · ·I further certify that I am not
·9
                                                                 12· · · related to any of the parties to this
· · · 21· · · · Screen shot of text messages· · 263
10                                                               13· · · action by blood or marriage, and that I am

· · · 22· · · · Screen shot of text messages· · 272              14· · · in no way interested in the outcome
11
                                                                 15· · · of this matter.
12
13                                                               16

14                                                               17
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                                                                 19· · · · · · · · · ·_____________________________
17
18                                                               20· · · · · · · · · · · ·MICHELLE LEMBERGER
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     Case 1:18-cv-02185-LJL Document
                              Yvette 267-1
                                      Wang·Filed 03/16/20 Page 90 of 288
                                             30(b)(6)
                                 January 31, 2019                     282 to 283
                                                      Page 282
·1

·2· · · · · · · DEPOSITION ERRATA SHEET

·3· ·Case Caption:· Eastern Profit Corp v.

·4· ·Strategic Vision LLP

·5

·6· · · · · DECLARATION UNDER PENALTY OF PERJURY

·7· · · · · ·I declare under penalty of perjury

·8· ·that I have read the entire transcript of my

·9· ·Deposition taken in the captioned matter or

10· ·the same has been read to me, and the same is

11· ·true and accurate, save and except for changes

12· ·and/or corrections, if any, as indicated by me

13· ·on the DEPOSITION ERRATA SHEET hereof, with

14· ·the understanding that I offer these changes

15· ·as if still under oath.

16

17· · · · · ·_____________________________________

18· · · · · · · YVETTE WANG

19

20· ·Subscribed and sworn to on the _____ day of

21· ·____________, 2019, before me,

22· ·___________________________________________

23· ·Notary Public,

24· ·in and for the State of ___________________

25



                                                      Page 283
·1

·2· · · · · · · DEPOSITION ERRATA SHEET

·3· ·Page No. ____ Line No. ____ Change to: ____

·4· ·___________________________________________

·5· ·Reason for change: ________________________

·6· ·Page No. ____ Line No. ____ Change to: ____

·7· ·___________________________________________

·8· ·Reason for change: ________________________

·9· ·Page No. ____ Line No. ____ Change to: ____

10· ·___________________________________________

11· ·Reason for change: ________________________

12· ·Page No. ____ Line No. ____ Change to: ____

13· ·___________________________________________

14· ·Reason for change: ________________________

15· ·Page No. ____ Line No. ____ Change to: ____

16· ·___________________________________________

17· ·Reason for change: ________________________

18· ·Page No. ____ Line No. ____ Change to: ____

19· ·___________________________________________

20· ·Reason for change: ________________________

21· ·Page No. ____ Line No. ____ Change to: ____

22· ·___________________________________________

23· ·Reason for change: ________________________

24· ·SIGNATURE:____________________DATE:________

25· · · · · · · YVETTE WANG




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Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 91 of 288




                      Exhibit E
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 92 of 288

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 1                 UNITED STATES DISTRICT COURT

 2                 SOUTHERN DISTRICT OF NEW YORK

 3   ____________________________

 4   Eastern Profit Corporation, )

 5                   Plaintiff,         )

 6   V.                                 )     Civil Action No.

 7   Strategic Vision U.S, LLC,         )     1:18 CV 02185

 8   Defendant.                         )

 9   _____________________________

10

11                   C O N F I D E N T I A L

12

13

14            Videotaped Deposition of Bill Gertz

15                    Tuesday, October 15, 2019

16

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19   Reported by: Jackie Smith

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21




                                                                           Page 1
                                 Bill Gertz
                              October 15, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 93 of 288

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 1   Ap, to communicate with Mr. Guo?                                1   the pleadings in this case?
 2          A.   No.                                                 2           A.   No.
 3         Q.    Okay. Did you ever use What's Ap to                 3           Q.   So you haven't seen the complaint or
 4   communicate with Ms. Wallop?                                    4   the counterclaim?
 5          A.   No.                                                 5           A.   No.
 6         Q.    And do you have any hard copy                       6           Q.   Do you know, generally, what this
 7   documents in your possession related to this matter?            7   case is about?
 8          A.   No.                                                 8           A.   Vaguely.
 9         Q.    Okay. Any handwritten notes?                        9           Q.   And how do you have knowledge of
10          A.   No.                                                10   that?
11         Q.    Okay. I don't think I have any more                11           A.   I think it was from some news reports
12   questions about this exhibit now, but we might come            12   about a contract dispute.
13   back to it later, so feel free to keep it in front of          13           Q.   Okay. And that might have been the
14   you. Thank you.                                                14   news reports from earlier this summer?
15         Mr. Gertz, how did you prepare for today's               15           A.   Yes.
16   deposition?                                                    16           Q.   Okay. And did you show this document
17          A.   I just, basically, got ready to talk               17   that we discussed earlier, Exhibit 1, to anyone other
18   about this case.                                               18   than your attorney before today?
19         Q.    And did you meet with anyone to                    19           A.   No.
20   prepare for today's deposition?                                20           Q.   Did anyone instruct you not to
21          A.   No.                                                21   provide documents responsive to our request?

                                                          Page 14                                                             Page 16

 1         Q.    Did you meet with your lawyer?                      1           A.   No.
 2          A.   Yes.                                                2           Q.   Let's start with going into your
 3         Q.    Okay. Did you       I'm not going to                3   background a little bit, your education and your
 4   ask you about your communications with your lawyer              4   profession. Can you just tell me a little bit about
 5   because those are privileged, but did you meet with             5   you, and what you do, and how you arrived to your
 6   anyone other than your lawyer to talk about this                6   position today?
 7   deposition?                                                     7           A.   I am a journalist and author. I work
 8          A.   No.                                                 8   for The Washington Times, and until recently, The
 9         Q.    Did you speak with Ling Cho Hann                    9   Washington Beacon. I have written eight books.
10   (phonetic) about this deposition?                              10   I have -- I was educated at Washington College in
11          A.   No.                                                11   Chester Town, Maryland and also at George Washington
12         Q.    Did you speak with Mr. Guo about this              12   University in Washington, D.C.
13   deposition?                                                    13           Q.   And do you also occasionally do
14          A.   No.                                                14   speaking engagements?
15         Q.    And have you reviewed any other prior              15           A.   Yes.
16   depositions taken in this case?                                16           Q.   And how often would you say you do
17          A.   No.                                                17   speaking engagements?
18         Q.    Okay. So you haven't seen French                   18           A.   Maybe once every two to three months.
19   Wallop's deposition, for example?                              19           Q.   Is that around the country or mostly
20          A.   No.                                                20   around here?
21         Q.    Okay. Have you ever reviewed any of                21           A.   It could be locally or it could be

                                                          Page 15                                                             Page 17

                                                                                                           5 (Pages 14 to 17)
                                                            Bill Gertz
                                                         October 15, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 94 of 288

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 1   around the country.                                             1   promotion of radio and television.
 2         Q.     And do you have a company that                     2          Q.    And when did your appearances on
 3   arranging those for you or do you have an LLC that you          3   radio and TV begin?
 4   do speaking engagements through?                                4          A.    That would probably be around
 5          A.    No.                                                5   September 3rd, after that.
 6         Q.     Just available to book you through                 6          Q.    And are they ongoing, those
 7   your website?                                                   7   appearances?
 8          A.    Yes.                                               8          A.    Yes.
 9         Q.     So if someone wanted to book you to                9          Q.    When is the last one that you had?
10   do a speech at a college or university, how would they         10          A.    I think I was on the Adam Carolla
11   get in touch with you?                                         11   Podcast last week.
12          A.    Probably through phone.                           12          Q.    That must have been interesting. And
13         Q.     Do you have a book agent?                         13   you were Fox News last week as well, correct?
14          A.    Yes.                                              14          A.    I think I was on Lou Dobbs, yes.
15         Q.     And who is your agent?                            15          Q.    Okay. We have talked a little bit
16          A.    Joseph Valerie.                                   16   about being an author and a journalist. What's your
17         Q.     And what company does he work for?                17   main focus of writing?
18          A.    He passed away recently, last year.               18          A.    I write about defense and national
19         Q.     Oh, sorry. Okay. Do you have anyone               19   security affairs.
20   new that you work with?                                        20          Q.    And has that always been the case
21          A.    No.                                               21   since you began journalism?

                                                          Page 18                                                               Page 20

 1           Q.     That's who you worked with on your               1          A.    Yes.
 2   most recent book?                                               2          Q.   And you have written eight books. We
 3           A.     Yes.                                             3   have talked about two of them.
 4           Q.     And tell me about your most recent               4   Generally, what are the other six about?
 5   book?                                                           5          A.    They are about -- one was about the
 6           A.     My most recent book is called                    6   Clinton Administration's national security policies.
 7   Deceiving The Sky.                                              7   One was about arms proliferation. Another was about
 8           Q.     And what's it about?                             8   the intelligence failures related to 911. The China
 9           A.     It's about China. It is                          9   Threat was one. One was called IWar, which was war
10   basically, in the year 2000, I wrote a book called The         10   and peace in the information age.
11   China Threat. And this book was initially, the                 11          Q.   And since 2017, which is the
12   working title was The China Threat 2.0, to look at all         12   operative time for this dispute, which entities have
13   of the various things that have happened related to            13   paid you money? We discussed the Free Beacon, The
14   China since 2000.                                              14   Times.
15           Q.     And when did Deceiving The Sky come             15          What other sources of income have you had?
16   out?                                                           16          A.    In what sense?
17           A.     It was published in September, early            17          Q.   Anyone who pays you, that hits your
18   September of this year.                                        18   bank account. So who have your employers been?
19           Q.     And did you go on a book tour?                  19          A.    My employer has been The Washington
20           A.     It's not really a tour in the sense             20   Times and The Washington Free Beacon. The most recent
21   of a tour. It's more or less a promotional -- a                21   book was published by Encounter Books.

                                                          Page 19                                                               Page 21

                                                                                                             6 (Pages 18 to 21)
                                                             Bill Gertz
                                                          October 15, 2019
         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 95 of 288

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 1          Q.     And when do you speaking engagements,               1            A.    It's hard to say. I couldn't say. I
 2   do you receive a fee or honoraria for those?                      2   don't know.
 3           A.    Sometimes.                                          3          Q.     Well, what's your best guess?
 4          Q.     And that's just paid to you directly?               4            A.    I'd rather not guess.
 5           A.    Yes.                                                5          Q.     Do you think it would be over
 6          Q.     And you receive royalties for your                  6   $100,000?
 7   books?                                                            7            A.    It could be.
 8           A.    Yes.                                                8          Q.     How much did you make on your last
 9          Q.     And that's through Encounter, the                   9   book?
10   publisher?                                                       10            A.    I made around that amount.
11           A.    It will be, yes. I have not received               11          Q.     Okay. And the six books before that,
12   royalties.                                                       12   was it about that amount as well?
13          Q.     And wherever you published this book               13            A.    I really can't remember.
14   with Encounter, what is your contract with them?                 14          Q.     Is it safe to say possibly in the six
15           A.    In what sense?                                     15   figures, but that that amount could change, based on
16          Q.     What are the royalties and what are                16   sales?
17   the terms of payment?                                            17            A.    I really don't remember. I really
18           A.    I don't know all of it, but it's                   18   don't have a clear recollection.
19   basically after the first number of copies that are              19          Q.     Do you have a contract in writing
20   sold, you get 15 percent, and after that, a certain              20   with Encounter for this most recent book deal?
21   number, it's 12 percent, and then I think it's 10                21            A.    Yes.

                                                            Page 22                                                              Page 24

 1   percent of the sales of the book.                                 1         Q.      And your former agent negotiated that
 2         Q.     Do you get more money if the book                    2   for you?
 3   does better in sales, such as like bestseller list or             3         A.      No, he didn't.
 4   anything like that?                                               4         Q.      You negotiated that on your own?
 5          A.    No.                                                  5         A.      Yes.
 6         Q.     Okay. And when did you sign the                      6         Q.      Who did you negotiate with at
 7   contract for the most recent Encounter book deal for              7   Encounter?
 8   Deceiving The Sky?                                                8         A.      Roger Kimble.
 9          A.    I think it was the August time frame.                9         Q.      And what's his position?
10         Q.     And did you receive a lump many sum                 10         A.      I believe he is the publisher.
11   at the beginning for publishing that book?                       11         Q.      And was Encounter paid by anyone to
12          A.    No.                                                 12   publish your book?
13         Q.     Do you know about when your first                   13         A.      Not that I know of.
14   payment would come in from them?                                 14         Q.      Okay. Would they have disclosed that
15          A.    I'm not sure of the terms, but I                    15   to you, do you believe, if they had received payment
16   think it would be six -- six months or so.                       16   from a third party?
17         Q.     From publication?                                   17         A.      Yes.
18          A.    From publication, or maybe a year.                  18         Q.      And you said you have worked for both
19         Q.     And based on your prior seven books,                19   The Washington Times and the Free Beacon at the same
20   about how much do you expect to make from your most              20   time, is that correct?
21   recent book, Deceiving The Sky?                                  21         A.      Yes.


                                                            Page 23                                                              Page 25

                                                                                                                  7 (Pages 22 to 25)
                                                              Bill Gertz
                                                           October 15, 2019
         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 96 of 288

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 1           A.    No.                                                1         Q.      Were you aware that he had been
 2           Q.    Are you aware that he did so?                      2   deposed in this lawsuit?
 3           A.    I don't know.                                      3          A.     Yes.
 4           Q.    Did he call you after he had spoke                 4         Q.      But you have not reviewed his
 5   with them on Sunday?                                             5   deposition?
 6           A.    No.                                                6          A.     No.
 7           Q.    Did he speak with you after he spoke               7         Q.      What's Mr. Ling Cho's relationship
 8   with them on Sunday?                                             8   with Mr. Guo?
 9           A.    No.                                                9               MS. CLINE: Objection, foundation.
10           Q.    So after Mr. Hann called you and                  10               THE WITNESS: I don't know. I know that
11   asked if you needed any help, did you send him any              11   he served as a translator in some of the meetings that
12   communication in writing?                                       12   I had with Mr. Guo.
13           A.    No.                                               13   BY MS. LUETKEMEYER:
14           Q.    You just told him verbally that you               14         Q.      And those would have been in 2017?
15   did not need any help?                                          15          A.     Probably 2017 and 2018.
16           A.    That's right.                                     16         Q.      Let's go back to the very beginning
17           Q.    Do you know why he would call you?                17   of when you first met Guo Wengui. When was that, to
18           A.    He's a friend, and I think he was                 18   the best of your recollection?
19   concerned about my situation.                                   19          A.     It would have been either June or
20           Q.    And you remain friends?                           20   July of 2017.
21           A.    Yes.                                              21         Q.      Okay. Do you remember writing an

                                                           Page 58                                                             Page 60

 1          Q.    Have you spoken with Mr. Hann about                 1   article for The Free Beacon in May of 2017 about
 2   this case, Ling Cho Hann, about this case?                       2   Mr. Guo?
 3          A.    No.                                                 3          A.     I do not.
 4          Q.    So when he called you on Sunday                     4                        ----
 5   asking if you need any help, was that needing any help           5       (Exhibit No. 2 marked for identification.)
 6   with respect to your deposition today?                           6                        ----
 7          A.    No.                                                 7          Q.     Let me mark it so we can talk about
 8          Q.    What did he mean by help?                           8   it. I'm going to hand you, Mr. Gertz, what's been
 9          A.    He just wanted to know if he could do               9   marked as Exhibit No. 2 and I'm going to give a copy
10   anything to help. He said he felt bad that I was in             10   to your Counsel as well. This has a marking.
11   this position that I was in.                                    11          Sir, if you can take a minute and look at
12          Q.    And what did you tell him?                         12   that. It's been marked as Exhibit 2, and the headline
13          A.    I said, "I'm fine. I have a lawyer.                13   is, "China Intervenes to Block Businessman From
14   I don't need any help."                                         14   Revealing Spying Secrets on VOA."
15          Q.    And did Mr. Hann share with you his                15               MS. CLINE: Do you have another copy, by
16   thoughts on this lawsuit?                                       16   any chance?
17          A.    No.                                                17               MS. LUETKEMEYER: I'm sorry. I don't,
18          Q.    Did he tell you that he had been                   18   but I can give you mine in just a second. I'm sorry.
19   deposed?                                                        19          Q.     Sir, this article was published on
20          A.    I don't recall. I don't think that                 20   May 3, 2017. Do you see that?
21   came up.                                                        21          A.     Yes.

                                                           Page 59                                                             Page 61

                                                                                                            16 (Pages 58 to 61)
                                                              Bill Gertz
                                                           October 15, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 97 of 288

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 1          Q.     Had you interviewed Mr. Guo before                1            Q.     And these are videos that Mr. Guo
 2   this article?                                                   2   would put on the Internet?
 3           A.    No.                                               3            A.     Yes.
 4          Q.     Had you met Mr. Guo before this                   4            Q.     Just available for public viewing?
 5   article?                                                        5            A.     Yes.
 6           A.    No.                                               6            Q.     Okay. Did Sasha Gong introduce you
 7          Q.     And how soon after this article was               7   to Mr. Guo?
 8   written did you meet with Mr. Guo?                              8            A.     Yes.
 9           A.    Like I said, it was in the June or                9            Q.     And when did that occur?
10   July time frame.                                               10            A.     It would have been in the June to
11          Q.     Do you believe this is the first                 11   July time frame, before I did the interview. I
12   article you wrote about Mr. Guo?                               12   contacted Sasha and said I would like to interview
13           A.    I don't know.                                    13   Mr. Guo.
14          Q.     It's the earliest I found, so take               14            Q.     Do you know how Sasha met Mr. Guo?
15   that for what you will.                                        15            A.     I do not.
16          In this article, Sasha Gong is quoted as a              16            Q.     And did she agree to make the
17   source. Do you see that in the fourth paragraph?               17   introduction?
18           A.    Yes.                                             18            A.     Yes.
19          Q.     What is this article about,                      19            Q.     And when did you first meet him?
20   Mr. Gertz?                                                     20            A.     It was in the June or July time
21           A.    It's about an interview that was                 21   frame.

                                                          Page 62                                                             Page 64

 1   curtailed by the Voice Of America, and the suspension           1            Q.     And where did you meet?
 2   of four VOA employees.                                          2            A.     In New York.
 3         Q.     Did you interview Sasha Gong for it?               3            Q.     At his apartment?
 4         A.     Yes.                                               4            A.     At a restaurant.
 5         Q.     Will you turn to the third page of                 5            Q.     And was Ms. Gong present?
 6   this Exhibit 2, please. It's the paragraph that                 6            A.     No.
 7   begins with, additionally. "Additionally, Guo's wife            7            Q.     Who was present for that meeting?
 8   and daughter currently have been allowed by Chinese             8            A.     An interpreter and Evette Wong.
 9   authorities to visit him in New York, but are required          9            Q.     Do you remember who the interpreter
10   to return to China for 20 days where they can be used          10   was?
11   for political leverage against Mr. Guo."                       11            A.     Yes. His name is Wui Chungua
12   Do you see that, Mr. Gertz?                                    12   (phonetic).
13         A.     At the top there, um hum.                         13            Q.     And who was the other third person
14         Q.     Now, if you didn't interview Mr. Guo              14   you said?
15   for that, do you remember where you learned that               15            A.     Evette Wong.
16   information?                                                   16            Q.     Who is Evette Wong?
17         A.     It was probably Sasha Gong.                       17            A.     She, I believe, is an assistant to
18         Q.     Okay. And then a few paragraphs                   18   Mr. Guo.
19   down, you say, Guo said -- if that was not from an             19            Q.     And who is her employer?
20   interview from Guo, would that also been from Sasha?           20                 MS. CLINE: Objection, foundation.
21         A.     It would have been in a recent video.             21                 THE WITNESS: I don't know.

                                                          Page 63                                                             Page 65

                                                                                                            17 (Pages 62 to 65)
                                                             Bill Gertz
                                                          October 15, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 98 of 288

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 1   BY MS. LUETKEMEYER:                                           1   in that first meeting?
 2         Q.    And is that the first time you had                2            A.      No.
 3   met her?                                                      3            Q.      And did you make up a proposal to
 4          A.   Yes.                                              4   Mr. Guo after the first meeting?
 5         Q.    And you said you met at a restaurant?             5            A.      Not after the first meeting. I think
 6          A.   Yes.                                              6   it might have been several months later.
 7         Q.    And how did that meeting go?                      7            Q.      How frequently would you speak with
 8          A.   It was an interview.                              8   Mr. Guo after that first meeting?
 9         Q.    So it was an interview. Was it on                 9            A.      After the first meeting, it was not
10   the record?                                                  10   frequently, yes.
11          A.   Yes.                                             11            Q.      And did he eventually become a source
12         Q.    And do you remember about how long it            12   for you, subject of many of your articles and columns?
13   lasted?                                                      13                 MS. CLINE: Objection.
14          A.   Probably an hour.                                14                 THE WITNESS: Occasionally. I
15         Q.    And what was your first impression of            15   interviewed him occasionally, and he was a source.
16   Mr. Guo?                                                     16   BY MS. LUETKEMEYER:
17          A.   I was amazed. I felt that this is a              17            Q.      Did your opinions of Mr. Guo change
18   person who is an amazing resource of inside                  18   over time?
19   information within the Chinese system.                       19            A.      No.
20          I felt like he was, in a sense -- in my               20            Q.      Do you still believe today that same
21   experience, I have covered intelligence defectors.           21   thing you believed whenever you left that first

                                                        Page 66                                                                Page 68

 1          And I believe that he was like a defector in           1   meeting?
 2   the sense that he had access to inside information            2            A.     Yes.
 3   related to the Chinese Government, the Chinese                3            Q.     And if you were to describe Mr. Guo
 4   Communist Party, and the Chinese Intelligence                 4   to someone who had never heard of him, how would you
 5   Services.                                                     5   describe him?
 6         Q.    And did you believe that he would be              6            A.     A dissident, Chinese millionaire, who
 7   a valuable source for you?                                    7   is working to bring about democracy and rule of law in
 8          A.   Yes.                                              8   China.
 9         Q.    How long did that meeting last, or                9            Q.     And what do you think his motivations
10   interview?                                                   10   are?
11          A.   About an hour.                                   11                 MS. CLINE: Objection, foundation.
12         Q.    And did you agree to meet again?                 12                 THE WITNESS: I don't know his
13          A.   I don't know. I don't recall.                    13   motivation, other than he has become a defector,
14         Q.    After that first meeting, did you                14   former insider, who is now seeking to bring about
15   begin to speak with Mr. Guo over the phone?                  15   democratic change.
16          A.   After the first meeting, again,                  16   BY MS. LUETKEMEYER:
17   because I realized he was a valuable resource, I             17            Q.     And when you say bring about
18   actually wanted to seek to do a book about him.              18   democratic change, can you expand on that a little
19         Q.    Already, after that first meeting?               19   bit, about his goals?
20          A.   Yes.                                             20                 MS. CLINE: Objection, foundation.
21         Q.    Did he provide you with any documents            21                 THE WITNESS: He believes that the


                                                        Page 67                                                                Page 69

                                                                                                             18 (Pages 66 to 69)
                                                          Bill Gertz
                                                       October 15, 2019
         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 99 of 288

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 1    Communist Party of China is the source of the problem             1   interpreters.
 2    of what I regard as the China threat today.                       2          Q.      So for many of your meetings with
 3    BY MS. LUETKEMEYER:                                               3   Mr. Guo, was Ms. Wong present?
 4              Q.     When you say "the China threat," can             4           A.     I would say occasionally.
 5    you explain that to me?                                           5          Q.      Did you ever meet with him one on
 6              A.     That's the title of my 2000 book. In             6   one, Mr. Guo?
 7    China, they have something called the China threat                7           A.     Yes.
 8    theory, which is the Chinese Government and                       8          Q.      And where would that occur?
 9    Intelligence Services use to monitor opposition to                9           A.     In his apartment.
10    China's development.                                             10          Q.      And how frequently would you travel
11              So it's a play on the Chinese threat theory.           11   to New York to meet with him?
12    And it is, basically, the national security threats              12           A.     I'd say once every two months.
13    from China which range from military, to political, to           13          Q.      And would you describe your
14    intelligence, to economic, to financial.                         14   relationship with Mr. Guo as a professional one?
15              Q.     And do you believe Mr. Guo has value            15           A.     I'd say it was a combination of both
16    in defeating the China threat?                                   16   a professional, as a source, as well as some
17              A.     Yes.                                            17   friendship. In the news business, sources can be
18              Q.     In what way?                                    18   friends. It's not unusual.
19              A.     Because he is a former insider and              19          Q.      Would you socialize with him?
20    has access, he can provide valuable information that             20           A.     Would I socialize with him; what do
21    could be used to help expose what I call the China               21   you mean by that?

                                                             Page 70                                                           Page 72

 1   threat.                                                            1         Q.      Have you ever spent time with Mr. Guo
 2         Q.        And when you first met Mr. Guo and he              2   in a purely social capacity where he is not serving as
 3   told you his story, did you do any independent                     3   a source for you?
 4   reporting or verification on what he told you?                     4          A.     No.
 5             A.    I did. As much as I possibly could,                5         Q.      Have you ever been on his yacht?
 6   I read some of the stories about him in the Chinese                6          A.     Yes.
 7   press or the press around the world, but there wasn't              7         Q.      How many times?
 8   a lot of information available on him.                             8          A.     Once.
 9         Q.        Mr. Gertz, do you speak Mandarin?                  9         Q.      And you said you have been in his
10             A.    No.                                               10   home in New York City?
11         Q.        And so when you would meet with                   11          A.     Yes.
12   Mr. Guo, was there always an interpreter present?                 12         Q.      Have you ever been in his home, not
13             A.    Not always, but many times.                       13   to work on your book or the reporting, just to spend
14         Q.        Does Mr. Guo speak English?                       14   some time together?
15             A.    I'd say haltingly.                                15          A.     Well, like I said, I view him as a
16         Q.        Was it usually the same interpreter?              16   valuable source of information. So there is never a
17             A.    No.                                               17   time that I am not with him when I am not looking for
18         Q.        Who would interpret for him, if you               18   some inside information that could be produced as a
19   can remember any of their names? You mentioned one                19   news story.
20   earlier.                                                          20         Q.      Did you help Mr. Guo in his
21             A.    Evette Wong, Ling Cho Hann were                   21   application for asylum?

                                                             Page 71                                                           Page 73

                                                                                                              19 (Pages 70 to 73)
                                                               Bill Gertz
                                                            October 15, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 100 of 288

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 1   about that.                                                     1   programs.
 2          Q.     You haven't seen the recording of                 2          Q.    And do you remember about when that
 3   that, there is a video of that?                                 3   was?
 4          A.     I have not.                                       4          A.    I do not, other than sometime between
 5          Q.     And when did you first meet French                5   2017 and 2018.
 6   Wallop?                                                         6          Q.    Did you seek out Mr. Waller's help on
 7          A.     It was, January, I believe, January               7   that effort?
 8   of 2017.                                                        8          A.    I believe I did.
 9          Q.     French Wallop?                                    9          Q.    And why him?
10          A.     Yes.                                             10          A.    I believe that he has good skills at
11          Q.     Okay. And that's when you first met              11   doing information.
12   her in your life?                                              12          If I may explain, the reason that I tried to
13          A.     Yes.                                             13   contact or put French Wallop in touch with Mr. Guo is
14          Q.     Okay. And when did you first meet                14   that, again, because I saw him as an extremely
15   Mr. Waller, Michael Waller, who is also here?                  15   valuable resource, I also saw him as extremely
16          A.     I have known Mike since, I believe,              16   scattered in his presentation.
17   he used to work at an affiliate publication of The             17          His presentations would be on video and they
18   Washington Times many years ago.                               18   would be talking about a wide variety of topics. And
19          Q.     And what was your first impression of            19   then in the middle of them, he would disclose really
20   Ms. Wallop?                                                    20   valuable information about the inside workings of the
21          A.     Well, she said she knew my former                21   Chinese Government and Intelligence Service. And I

                                                         Page 126                                                         Page 128

 1   editor, Oner Gaborkoff (phonetic), so I took that as            1   felt that he needed a strategic communications person.
 2   credit to her.                                                  2          And because French Wallop had contacted me
 3          Q.     And how would you describe your                   3   when she represented a dissident Russian billionaire
 4   relationship with Mr. Waller?                                   4   named Miguel Kortokofski, who I interviewed, she
 5          A.     We were occasional friends when we                5   arranged the interview, I felt that she could provide
 6   worked on a few policy oriented projects based on my            6   strategic communication support to Guo, Mr. Guo.
 7   book, IWar, which called for reforming U.S. Government          7          Q.    Did you understand Ms. Wallop to be
 8   information operations.                                         8   credible?
 9          Q.     What kinds of projects were those?                9          A.    To be credible in what sense?
10          A.     It was, basically, an idea to bring              10          Q.    A credible person you could recommend
11   about a better information capability for the U.S.             11   for Mr. Guo to do business with?
12   Government. Right now, the Voice Of America is poorly          12          A.    I really didn't know her, I'll be
13   run. We don't have the U.S. information agency that            13   honest to say I really didn't know. Like I said, I
14   we had during the Cold War. And so my book, IWar,              14   was going on her reputation of having known Oner
15   recommends trying to revitalize some of those                  15   Gaborkoff.
16   functions.                                                     16          Q.    Did you find her to be honest in her
17          Q.     And how was Mr. Waller to help you in            17   dealings with you?
18   that effort?                                                   18          A.    I guess I would say yes.
19          A.     We sought to collaborate to present              19          Q.    Did you find her to be sincere?
20   these idea to get either Congress or the                       20          A.    Yes.
21   administration to develop some type of reform                  21          Q.    And when did you first learn of the

                                                         Page 127                                                         Page 129

                                                                                                      33 (Pages 126 to 129)
                                                            Bill Gertz
                                                         October 15, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 101 of 288

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 1   firm, Strategic Vision?                                           1   associates?
 2           A.    I can't recall, but it would have to                2          A.   I didn't learn it until the first
 3   have been based on news reports of this matter.                   3   meeting with French on the subject.
 4           Q.    Okay. So when you introduced Mr. Guo                4         Q.    Do you find Mr. Waller to be
 5   to French and Mike?                                               5   credible?
 6           A.    I didn't.                                           6          A.   Yes.
 7           Q.    You didn't introduce them?                          7         Q.    Do you find him to be honest?
 8           A.    No. I introduced them to Ling Cho                   8          A.   Yes.
 9   Hann and Evette Wong, and then they made the                      9         Q.    Do you find him to be sincere?
10   introduction to Guo. My job was simply to make the               10          A.   Yes.
11   connection, and then that was it.                                11         Q.    Do you remember the first time you
12           Q.    Okay. So when you introduced them to               12   introduced to Ms. Wallop and Mr. Waller to Ling Cho?
13   Ling Cho Hann and Ms. Wong, you weren't aware that               13          A.   I don't not remember the exact day or
14   Ms. Wallop's firm was called Strategic Vision?                   14   circumstances.
15           A.    Correct.                                           15         Q.    Do you know if it was an in person
16           Q.    You learned that later, the formal                 16   meeting?
17   name of the firm?                                                17          A.   I think it may have been a phone
18           A.    Yes.                                               18   connection given, the connection, and that they would
19           Q.    Did you learn that once the lawsuit                19   connect them, but I honestly do not remember.
20   was filed?                                                       20         Q.    And you have described the purpose of
21           A.    I can't remember when.                             21   that introduction being for strategic communication

                                                           Page 130                                                              Page 132

 1           Q.     Okay. But as far as you were                       1   assistance to Mr. Guo?
 2   concerned, you were making an introduction of an                  2          A.   Yes. Again, I viewed Mr. Guo as
 3   individual?                                                       3   having lots of various resources, but I really felt
 4            A.    Yes.                                               4   that what he lacked was someone that could provide him
 5           Q.     Or was it two individuals, Mr. Waller              5   with the ability to project, in a coherent and
 6   also?                                                             6   effective way, his message, which I think is an
 7            A.    Well, initially when I met French,                 7   important message.
 8   she brought Mike in. And that was her decision, so I              8          Q.   And did you tell him that you
 9   had no objection to it.                                           9   believed he lacked that ability?
10            So, again, I was -- my objective was to try             10          A.   I can't recall. I may have, but I
11   and get Mr. Guo to focus his message so that it could            11   can't recall a specific conversation about that, but I
12   be a more effective tool, and that I would benefit               12   think that was the whole purpose of my contacting
13   from that by getting information and news stories from           13   French Wallop.
14   that.                                                            14          Q.   And did he ask you to help him find
15           Q.     And you had already known Mr. Waller              15   someone to aid him in communication?
16   for years?                                                       16          A.   No.
17            A.    Yes.                                              17          Q.   Do you remember if you spoke with
18           Q.     Did her bringing Mr. Waller in give               18   Mr. Guo before or after you first brought up the idea
19   you confidence?                                                  19   to Ms. Wallop?
20            A.    I had no objection to it.                         20          A.   I may have raised the question. I
21           Q.     Did you know that they were business              21   may have told him that I had worked with French Wallop

                                                           Page 131                                                              Page 133

                                                                                                          34 (Pages 130 to 133)
                                                              Bill Gertz
                                                           October 15, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 102 of 288

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 1    in the Miguel Kortokofski issue, which was early                   1         A.       Yes.
 2    there, and I said that I felt that if she could do for             2        Q.        Was that ever part of your
 3    Miguel Kortokofski what she would do for Mr. Guo, that             3   discussions with him?
 4    it would be beneficial to him.                                     4         A.       No.
 5              Q.     Did you understand that her services              5        Q.        Was that ever part of your
 6    would include research?                                            6   discussions with Ms. Wallop?
 7              A.     No.                                               7         A.       No.
 8              Q.     Did Mr. Guo ever discuss with you his             8        Q.        What about with Mr. Waller?
 9    goal of hiring someone to conduct research?                        9         A.       No.
10                   MS. CLINE: Objection to form.                      10        Q.        Others in this case have testified
11                   THE WITNESS: No.                                   11   that Mr. Guo communicated with them using What's Ap.
12    BY MS. LUETKEMEYER:                                               12   Have you ever spoken with him or communicated with him
13              Q.     Did you negotiate any compensation               13   using What's Ap?
14    for your introduction?                                            14         A.       No.
15              A.     No. I think, at one point, there was             15        Q.        You said, previously, it was just
16    a suggestion that I would get a finder's fee. And my              16   Signal?
17    suggestion was, no, I am not interested in that, but              17         A.       Correct.
18    if the collaboration may have involved some important             18        Q.        Do you recall who it was who
19    information that could be useful to me as a reporter,             19   suggested you be given a finder's fee for the
20    that I would be welcome, I would welcome information              20   introduction?
21    that would be useful for news reporting.                          21         A.       It may have been French, but it was


                                                             Page 134                                                                Page 136

 1          Q.       So your arrangement was that the                    1   more of a suggestion rather than anything.
 2   fruits of the labor, if any, would flow to you                      2   Again, I said that I wasn't interested in any fee, but
 3   exclusively as a reporter?                                          3   that I was more interested in getting the message out
 4             A.    No.                                                 4   and getting information.
 5          Q.       Just that you would have access to                  5          Q.       Do you remember what you told Ling
 6   that information?                                                   6   Cho Hann about the purpose of the first meeting with
 7             A.    No. It was, again, that I felt that                 7   Ms. Wallop and Mr. Waller?
 8   if he had all of this valuable information and if it                8             A.    To my recollection, it was what I had
 9   were packaged properly, it could be made public.                    9   said, was we have seen from Mr. Guo a very powerful
10             So that rather than giving an hour and a                 10   message, but, again, somewhat disjointed in its
11   half video, that he could talk about whatever, his                 11   presentation, and that it was my hope that having a
12   personal food or his exercises, but then he could                  12   strategic communications professional or
13   focus more on the substance of what he wanted to                   13   professionals, that it would help him to present his
14   reveal.                                                            14   information in a much more powerful way.
15          Q.       So your view is Ms. Wallop and                     15          Q.       Did Ling Cho Hann agree?
16   Mr. Waller would help him with information he already              16             A.    I think he did.
17   had, packaging his story and his information?                      17          Q.       Did he ever mention to you that
18             A.    Correct.                                           18   Mr. Guo needed research help?
19          Q.       Were you surprised -- would you be                 19             A.    He did not.
20   surprised to learn that he wanted them to conduct                  20          Q.       Did Ms. Wong ever mention to you that
21   research on third parties?                                         21   Mr. Guo was looking for a research firm?

                                                             Page 135                                                                Page 137

                                                                                                               35 (Pages 134 to 137)
                                                                Bill Gertz
                                                             October 15, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 103 of 288

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 1          A.     No.                                                 1   progress of those?
 2         Q.      Did you have any concerns introducing               2           A.      No.
 3   Ms. Wallop and Mr. Waller to Mr. Guo?                             3           Q.      Did he ever report to you about how
 4          A.     No.                                                 4   the partnership was going?
 5         Q.      Do you believe that, as originally                  5           A.      No. I think, at one point, he asked
 6   conceived, the project would be benefiting him                    6   me if he should do this contract. And, again, I had
 7   personally?                                                       7   no knowledge about the contract. I believed that it
 8               MS. CLINE: Objection to form.                         8   was a strategic communications vehicle.
 9               THE WITNESS: What project?                            9           And he asked me if he should do the
10   BY MS. LUETKEMEYER:                                              10   contract. And my response to him was, I would do it
11         Q.      The project of hiring Ms. Wallop and               11   maybe month to month or three months as a trial period
12   Mr. Waller, do you believe that was to be conveyed to            12   to see how it goes.
13   Mr. Guo as a personal benefit?                                   13           Q.      Did he show it to you when he asked
14          A.     I don't know.                                      14   you about it, did he send you a copy of what was
15         Q.      Did you envision that their efforts                15   proposed?
16   would help him obtain asylum?                                    16           A.      No.
17          A.     I don't know.                                      17           Q.      Did he tell you how much the contract
18         Q.      Do you recall Mr. Guo ever discussing              18   cost?
19   with you if Ms. Wallop could be helpful in him seeking           19           A.      I don't believe so.
20   asylum?                                                          20           Q.      Have you since learned the value of
21          A.     I don't recall.                                    21   the contract?

                                                           Page 138                                                               Page 140

 1         Q.      Do you recall ever having a                         1           A.     Yes.
 2   discussion about Ms. Wallop and Mr. Waller's work                 2        Q.        And how did you learn that?
 3   being made public?                                                3           A.     I can't remember.
 4         A.      I do not.                                           4        Q.        And what's your understanding of the
 5         Q.      Did you ever see the contract?                      5   value of the contract?
 6         A.      No.                                                 6           A.     I think it's about a million dollars.
 7         Q.      When you had meetings with -- first                 7        Q.        And do you understand what the work
 8   of all, let's go back. Your very first meeting with               8   is to be performed on the contract?
 9   Mr. Guo and Ms. Wallop and Mr. Waller, were you all               9           A.     No.
10   physically in the same space?                                    10        Q.        And when you first decided to
11         A.      I never met together with Ms. Wallop,              11   introduce Ms. Wallop and Mr. Waller to Ling Cho Hann
12   Mr. Waller, and Mr. Guo.                                         12   and Ms. Wong, or subsequent introduction to Mr. Guo,
13         Q.      Okay. So you made the introduction                 13   was there a time line or deadline in place by Mr. Guo?
14   to Ling Cho Hann and Evette Wong, and then meetings              14           A.     Not that I know of.
15   occurred after that?                                             15        Q.        And you didn't have any deadline in
16         A.      Yes.                                               16   mind, in particular?
17         Q.      Okay. Were you ever on any phone                   17           A.     Not    I had no knowledge of that.
18   calls with Mr. Guo, and Ms. Wallop, and Mr. Waller?              18        Q.        Was time of the essence?
19         A.      No.                                                19                MS. CLINE: Objection to form.
20         Q.      As he began negotiations and                       20                THE WITNESS: I have no idea.
21   discussions with them, did he update you on the                  21   BY MS. LUETKEMEYER:

                                                           Page 139                                                               Page 141

                                                                                                            36 (Pages 138 to 141)
                                                              Bill Gertz
                                                           October 15, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 104 of 288

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 1             THE VIDEOGRAPHER: We are going off the
 2   record at 2:53 p.m., and this concludes today's
 3   testimony of Bill Gertz. The total number of media
 4   units used was two.
 5          (The deposition concluded at 2:53 p.m.)
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                                                     Page 186

 1              CERTIFICATION OF NOTARY
 2         I, Jackie Smith, the officer before whom the
 3   foregoing deposition was taken, do hereby certify that
 4   witness whose testimony appears in the foregoing
 5   deposition was duly sworn by me; that the testimony of
 6   said witness was taken by me stenographically and
 7   thereafter reduced to typewriting; that said
 8   deposition is a true record of the testimony given by
 9   said witness; that I am neither counsel for, related
10   to, or employed by any of the parties to the action in
11   which this deposition is taken; and further, that I am
12   not a relative or employee of any attorney employed
13   by the parties thereto, nor financially or otherwise
14   interested in the outcome of the action.
15        __________________
16         Jackie Smith
17         Notary Public
18   My Commission Expires: 3-30-2020
19
20
21


                                                     Page 187

                                                                           48 (Pages 186 to 187)
                                                        Bill Gertz
                                                     October 15, 2019
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 105 of 288




                       Exhibit F
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 106 of 288

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 1   IN THE UNITED STATES DISTRICT COURT

 2   FOR THE SOUTHERN DISTRICT OF NEW YORK

 3   ----------------------------------------x

 4   Eastern Profit CORPORATION LIMITED,

 5                       Plaintiff,

 6           -against-                   Case No. 18-cv-2185(JGK)

 7   Strategic Vision US, LLC,

 8                       Defendant.

 9   ----------------------------------------x

10                                    August 2, 2019

11                                    9:51 a.m.

12

13      Deposition of GUO WENGUI, held at the offices of Hodgson

14   Russ, 605 Third Avenue, Suite 2300, New York, New York,

15   pursuant to Notice, before Renate Reid, Registered Professional

16   Reporter and Notary Public of the State of New York.

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                                                                             Page 1
                                  Guo Wengui
                                 August 2, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 107 of 288

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 1                  Guo Wengui                                      1                    Guo Wengui
 2        A. No.                                                    2             A. So you mean which province and which
 3       Q. What is your current residential                        3     city?
 4   address?                                                       4          Q. Yes.
 5        A. I cannot really say it in English, so         09:55    5          A. Shandong province.                         09:58
 6   it's Sidney Hotel, 781 Fifth Avenue.                           6          Q. In what city?
 7             MR. HARMON: It's Sherry.                             7          A. Liaocheng City.
 8        A. Sherry.                                                8          Q. In what countries do you hold
 9             MR. HARMON: S-h-e-r-r-y.                             9     citizenship?
10        A. Sherry Hotel.                                 09:56   10          A. My citizenship is Hong Kong.               09:59
11   BY MR. GREIM:                                                 11          Q. For what countries do you hold
12       Q. Mr. Guo, can you please tell us all the                12     passports?
13   legal names that you have used anywhere in the                13          A. Hong Kong.
14   world.                                                        14          Q. Where else?
15             MR. HARMON: Object to the form of the       09:56   15          A. You mean at present, currently?            09:59
16   question.                                                     16          Q. Yes.
17        A. I don't understand the question.                      17          A. Hong Kong passport.
18             MR. HARMON: Just a clarification.                   18          Q. In the last five years, for what
19   When I object to the form of the question, do you             19     countries have you held active passports?
20   translate my objection for the witness?               09:56   20          A. Abu Dhabi, Malatu (phonetic).              10:00
21             MR. GREIM: I think he -- I think he                 21          Q. Have you claimed to hold 11 passports
22   should.                                                       22     within the last three years? (DIR)
23             MR. HARMON: Yes.                                    23             MR. HARMON: Don't answer the question.
24             MR. GREIM: Yeah.                                    24           Next question, please.
25             MR. HARMON: I -- I think he has to,         09:56   25             MR. GREIM: We need an answer to that       10:01


                                                         Page 6                                                             Page 8

 1                  Guo Wengui                                      1                    Guo Wengui
 2   but I want to make sure that he is.                            2     question.
 3   BY MR. GREIM:                                                  3              MR. HARMON: He's not answering the
 4         Q. Mr. Guo, what is your legal name?                     4     question.
 5            MR. HARMON: Object to the form of the       09:56     5            Next question.                              10:01
 6   question.                                                      6              MR. GREIM: On what basis, Counsel?
 7         A. So I don't need to answer this                        7              MR. HARMON: It has nothing to do with
 8   question?                                                      8     the lawsuit. It's personally harassing of him.
 9            MR. HARMON: You do.                                   9     He's here as a nonparty witness. He's not
10         A. Haoyun Guo.                                 09:57    10     answering the question.                            10:01
11            MR. GREIM: Could you spell that for                  11            If you have other questions for him,
12   the record, Mr. Translator?                                   12     please go ahead.
13            INTERPRETER: H-a-o-y-u-n -- that's                   13              MR. GREIM: We'll just mark this part
14   first name; last name is G-u-o.                               14     of the transcript.
15   BY MR. GREIM:                                        09:57    15     BY MR. GREIM:                                      10:01
16         Q. Do you also go by Guo Wengui?                        16          Q. What is your current legal status in
17         A. Yes.                                                 17     the United States?
18         Q. What other names do you go by?                       18          A. Political asylum.
19         A. Miles Kwok, my English name.                         19          Q. You mean you're claiming political
20         Q. What else?                                  09:58    20     asylum?                                            10:01
21         A. No, not that I can recall.                           21          A. I'm in the process of application.
22         Q. When and where you were born?                        22          Q. When is the last time that you left
23         A. I was born on May 10, 1968. I was born               23     this country? (DIR)
24   in China.                                                     24              MR. HARMON: Okay. We're not answering
25         Q. Where in China?                             09:58    25     the question.                                      10:01


                                                         Page 7                                                             Page 9

                                                                                                              3 (Pages 6 to 9)
                                                          Guo Wengui
                                                         August 2, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 108 of 288

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 1                  Guo Wengui                                       1                   Guo Wengui
 2   BY MR. GREIM:                                                   2             MR. HARMON: Object to the form of the
 3       Q. Let me ask you this question: Where                      3    question.
 4   did you obtain the 15 names that you or Mrs. Wang               4         A. So we're going to send these reports to
 5   gave to Strategic Vision to research?                  10:57    5    the U.S. courts so that people who got persecuted      11:01
 6        A. First of all, I need to tell you, I did                 6    would know the truth.
 7   not provide even one name.                                      7    BY MR. GREIM:
 8       Q. Do you know who provided the 15 names                    8        Q. Mr. Guo, is -- do you know where
 9   to French Waller and Mike Wallop -- French Wallop               9   Eastern Profit obtained the 15 names?
10   and Mike Waller?                                       10:57   10         A. No, I don't.                                   11:02
11        A. Yvette.                                                11        Q. Did you approve the use -- strike that.
12       Q. Did you tell French Wallop and Mike                     12          Did you approve the 15 names before they
13   Waller that you had paid over $200 million for                 13   were provided to Strategic Vision?
14   those names?                                                   14             MR. GRENDI: Object to the form.
15           INTERPRETER: You would pay, right?             10:58   15         A. No.                                            11:02
16   Not pay, but you would pay?                                    16    BY MR. GREIM:
17           MR. GREIM: You had paid.                               17        Q. Did you review the results of Strategic
18           INTERPRETER: You had paid.                             18   Vision's research?
19           CHECK INTERPRETER: Counsel, did you                    19         A. They never produced a report. All
20   say 200 million?                                       10:58   20    lies, zero. So all I got was a USB drive with          11:02
21           INTERPRETER: 200 million.                              21    Facebook posts and rumors gathered from the
22        A. It's a big lie. Never. It's a big,                     22    Internet. It's all lies. So I don't consider
23   super lie.                                                     23    whatever they gather from Facebook can constitute
24   BY MR. GREIM:                                                  24    as report. So, as a result, I never received a
25       Q. Do you know how the 15 names were               10:58   25    report. Very low, very despicable liars.               11:03


                                                         Page 38                                                              Page 40

 1                 Guo Wengui                                        1                   Guo Wengui
 2   obtained?                                                       2       Q. Did you receive information on the same
 3        A. No.                                                     3   15 individuals from anyone else in 2018? (DIR)
 4       Q. Who chose the 15 names?                                  4             MR. HARMON: Direct the witness not to
 5        A. I don't know.                                  10:58    5   answer.                                                 11:04

 6       Q. Do you know whether Yvette Wang chose                    6        A. I refuse to answer this question.
 7   the 15 names?                                                   7   BY MR. GREIM:
 8        A. I don't know.                                           8        Q. Did Eastern Profit receive information
 9       Q. What did you intend to do with the                       9   regarding the 15 individuals from any other source
10   research that Strategic Vision was going to            10:59   10   in 2018?                                                11:04

11   provide?                                                       11        A. I don't know.
12           MR. HARMON: Object to the form of the                  12       Q. Did Eastern Profit receive any
13   question.                                                      13   information on the 15 individuals in 2017?
14           MR. GRENDI: Object to form.                            14        A. I don't know.
15        A. The simple reason is, we want to               10:59   15       Q. Why did you expect to receive useful             11:05

16   eliminate the Chinese Communist Party. We try to               16   results regarding these 15 individuals?
17   overthrow the Chinese Communist Party, to bring                17             MR. HARMON: Object to the form of the
18   rule of law to China, to let the West know the                 18   question.
19   scenes committed by the Chinese Communist Party.               19             MR. GRENDI: Object to the form of the
20   BY MR. GREIM:                                          11:00   20   question.                                               11:05

21       Q. My question was more specific.                          21             INTERPRETER: Can you say that again,
22         What did you intend to do with the                       22   the question.
23   research that Strategic Vision uncovered regarding             23   BY MR. GREIM:
24   the 15 names?                                                  24       Q. Why did you expect to receive useful
25           MR. GRENDI: Object to the form.                11:00   25   results with respect to these 15 individuals?           11:05


                                                         Page 39                                                              Page 41

                                                                                                           11 (Pages 38 to 41)
                                                          Guo Wengui
                                                         August 2, 2019
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 109 of 288

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 1                 Guo Wengui                                      1                   Guo Wengui
 2            INTERPRETER: So let me translate this                2   goddaughter of Wang Qishan had billions and
 3   question.                                                     3   hundreds of billions of deposits in China CITIC.
 4         A. So those two individuals claimed that                4   And because of that, you know, Han Lianchao even
 5   they used to work for CIA, Pentagon, and FBI; and    11:06    5   gave a personal guarantee that, okay, I actually       11:10
 6   then they had, like, a lot of experience over the             6   saw this information with my own eyes. However,
 7   past many, many years. And they also boasted that             7   we did not even -- we did not sign a contract even
 8   they have a 24-hour working team based in the                 8   after that.
 9   Middle East and Europe. And the lady claimed that             9           And later on, Mr. Han Lianchao got
10   she is so good at doing her job, and the gentleman   11:07   10   summoned -- got asked by this lady again to come       11:10
11   also claimed that he is very good at doing the               11   to apartment, also late at night, to look at the
12   job. And they gave me a very, you know,                      12   information again, to be given another pitch
13   convincing lying pitch about, you know, their                13   showing that, you know, tens of billions of
14   ability. And, also, not to mention, you know, Han            14   dollars and hundreds of billions of dollars of
15   Lianchao, my contact, my liaison at the time --      11:07   15   deposits, you know, information in that regard.        11:10
16   these two individuals even showed my liaison, Han            16   And we did not sign a contract.
17   Lianchao, on their computers, you know, that, oh,            17           And so, with all those movements and
18   we have discovered money laundering evidence that            18   activities, we were prodded to sign a contract as
19   amounted to tens of -- of billions of dollars and            19   soon as possible. They say that once we sign the
20   hundreds of billions of dollars. And, also, Wang     11:07   20   contract, they will be able to release that            11:10

21   Qishan's daughter had a, you know, deposit -- lot            21   information to us. So, apparently, we got
22   of deposits with China Centric --                            22   tricked, and we got tricked. And Han Lianchao, as
23            CHECK INTERPRETER: CITIC Bank.                      23   a liaison in the middle, also got tricked.
24         A. Citibank, in China.                                 24   BY MR. GREIM:
25            CHECK INTERPRETER: CITIC.                   11:07   25         Q. Here is my question: What is it --            11:11


                                                    Page 42                                                                 Page 44

 1                  Guo Wengui                                     1                  Guo Wengui
 2        A. CITIC.                                                2   start again.
 3            INTERPRETER: CITIC, C-I-T-I-C.                       3         What was it about the 15 names that led
 4        A. CITIC Bank, in China. So it was a very                4   you to believe that Strategic Vision's research
 5   convincing pitch.                                    11:07    5   would be useful to you in your goal of eliminating 11:11
 6            CHECK INTERPRETER: And also, the                     6   the Chinese Communist Party?
 7   witness also mentioned that if you don't sign the             7           MR. HARMON: Object to the form of the
 8   contract, you will not be able to obtain those                8   question.
 9   information.                                                  9           MR. GRENDI: Object to form.
10            INTERPRETER: I did not hear that part.      11:08   10        A. So the reason being, some of these              11:11
11            CHECK INTERPRETER: (Speaking Chinese                11   names -- first of all, I don't know -- so I don't
12   to witness.)                                                 12   know all the names, but I do know -- I did know
13        A. So, yes, they prodded me to sign                     13   some of the names among the 15 names. Some names
14   agreement as soon as possible so that they can               14   included, for example, the goddaughter of Wang
15   give me the information about the goddaughter of     11:08   15   Qishan, about -- you know, about her putting aside      11:13
16   Wang Qishan, her deposit in China CITIC, billions            16   tens of billions of dollars and hundreds of
17   and billions of dollars. And, also, my liaison --            17   billions of dollars in bank accounts. If we are
18   Han Lianchao, even made a personal loan guarantee            18   able to disclose that information to the public,
19   in order to sign the contract.                               19   that would be great. And, also, they boasted that
20          So I'm not finished yet.                      11:09   20   they had information, secret informations, about,       11:14
21          I remember one night, late at night, this             21   you know, a police -- Chinese police department
22   lady make emergency call, made a very urgent call            22   intelligence head, intelligence head, about his
23   to Han Lianchao asking Han Lianchao to come over             23   corruption information.
24   to her apartment to show her something on the                24         So back then, we felt like, if -- with
25   computer screen that says, you know, the             11:09   25   possession of those information, we are able to         11:14


                                                    Page 43                                                                 Page 45

                                                                                                          12 (Pages 42 to 45)
                                                      Guo Wengui
                                                     August 2, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 110 of 288

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 1                 Guo Wengui                                         1                   Guo Wengui
 2   release those information to the U.S. government                 2   some of the 15 names before they were given to
 3   to help save millions of peoples who got falsely                 3   Strategic Vision?
 4   persecuted in China, even hundreds of millions of                4         A. Yes.
 5   people who got persecuted in China. And because         11:14    5             MR. GREIM: I also want to be clear            11:17

 6   of this lying pitch, we lost a wonderful                         6   about something in the translation just now. A
 7   opportunity to rescue all these millions and tens                7   comment by the witness was -- in the transcript
 8   of millions of people who got thrown into jail for               8   appears as "lying pitch," referring to someone.
 9   no reason.                                                       9   BY MR. GREIM:
10         So, essentially, these two people, these          11:14   10         Q. Was that actually "lying bitch"?               11:17

11   two individuals, took advantage of our sense of                 11         A. No.
12   urgency to rescue millions, tens of millions of                 12             INTERPRETER: No, he did not use that.
13   people, from the prison, and they used those                    13         A. I'm not as despicable as the other
14   people as bait to try to get us into sign the                   14   party. I did not use "bitch." "Pitch," I said.
15   contracts. And those two people -- those two            11:14   15             VIDEOGRAPHER: The time is                     11:18

16   individuals are really despicable and very low.                 16   approximately 11:17 a.m., Friday, August 2, 2019.
17           CHECK INTERPRETER: The check                            17   This is the end of media number 1 of the
18   interpreter wanted to raise one question with the               18   videotaped deposition of Mr. Guo Wengui. We are
19   actual interpreter to see whether he can agree to               19   off the record.
20   that. I don't believe that the witness said, "I         11:15   20             (Recess taken.)                               11:18

21   know some of the names amongst those 15 names." I               21             VIDEOGRAPHER: The time is
22   think that he said, I don't know those 15 names,                22   approximately 11:36 a.m., Friday, August 2, 2019.
23   but I know the names of just Wang Qishan                        23   This is media number 2 of the videotaped
24   goddaughter, Wang Qishan head of the intelligence.              24   deposition of Mr. Guo Wengui. We are back on the
25   So if I -- those are the people that -- you know,       11:15   25   record.                                                 11:37


                                                          Page 46                                                              Page 48

 1                  Guo Wengui                                        1                   Guo Wengui
 2   something like that. I don't think that he said,                 2   CONTINUED EXAMINATION
 3   actually, I know the names among the 15 names.                   3   BY MR. GREIM:
 4   Did you hear that?                                               4         Q. Mr. Guo, I want to follow up on a few
 5           INTERPRETER: I think I heard that.             11:15     5   questions from before our break.                        11:37

 6   And -- so what's the procedure?                                  6          I believe I heard you say that Lianchao
 7           MR. GREIM: Why don't we do this: Let                     7   Han had extended a personal loan guarantee; is
 8   me just ask the witness that as a separate                       8   that correct?
 9   question, and we'll get an answer. And we'll ask                 9             MR. HARMON: Object to the form of the
10   only that question and ask for -- just for an          11:15    10   question.                                               11:37

11   answer to that part, so that -- and it's hard to                11             MR. GRENDI: Object to the form of the
12   translate, you know, paragraphs and paragraphs at               12   question.
13   a time.                                                         13         A. I think the lawyer is trying to bait
14   BY MR. GREIM:                                                   14   me.
15        Q. So here's my question.                         11:16    15             CHECK INTERPRETER: No. I think he             11:38
16           MR. HARMON: Translate that first, and                   16   said "cited me wrongly."
17   then ask the question.                                          17         A. Cite me wrongly.
18           MR. GREIM: Okay.                                        18          What I said was, Mr. Han Lianchao told me
19           VIDEOGRAPHER: Counsel --                                19   that, "I saw the information with my own eyes, and
20           MR. GREIM: Okay. Let's --                      11:16    20   I can personally guarantee that they have the           11:38
21           VIDEOGRAPHER: -- you have two minutes.                  21   ability to perform the job."
22           MR. GREIM: Let's do that. Let's                         22          So no money was involved.
23   translate it and get an answer.                                 23   BY MR. GREIM:
24   BY MR. GREIM:                                                   24      Q. And does all of the information you
25        Q. So here's my question: Did you know            11:16    25   have about Ms. Wallop's interaction with Lianchao 11:38

                                                          Page 47                                                              Page 49

                                                                                                             13 (Pages 46 to 49)
                                                           Guo Wengui
                                                          August 2, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 111 of 288

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 1                   Guo Wengui                                       1                   Guo Wengui
 2   should research on. However, all this                            2         A. A hundred percent, I made that
 3   information, so far, information that we have                    3   recommendation.
 4   covered so far, is easily available online.                      4         Q. And did you expect that research into
 5   BY MR. GREIM:                                           02:16    5   this person would aide you in the objective that         02:19

 6       Q. My question -- and I understand, sir.                     6   you testified to earlier today?
 7         My question is whether you made the                        7           MR. GRENDI: Object to the form.
 8   recommendation for this name.                                    8           MR. HARMON: Object to the form of the
 9           MR. GRENDI: Objection.                                   9   question.
10        A. This one, I don't remember.                     02:16   10         A. Yes.                                            02:20

11   BY MR. GREIM:                                                   11   BY MR. GREIM:
12       Q. Is it possible that you did, though,                     12         Q. And would you have any objection to the
13   and you just can't remember?                                    13   public disclosure in this litigation of pages 39
14           MR. HARMON: Object to the form of the                   14   through 41?
15   question.                                               02:16   15         A. I'm currently only on page 39. I                02:20

16        A. I don't answer any question that's                      16   haven't reviewed the other pages yet.
17   uncertain or regarding possibility.                             17         Q. Please review the other pages.
18           CHECK INTERPRETER: Or "if."                             18         A. Thank you. Thank you for allowing me.
19   BY MR. GREIM:                                                   19   (Witness reviews document.)
20       Q. Can you say definitively that you did            02:17   20         Q. Now I will repeat my question.                  02:21

21   not make this recommendation?                                   21          Do you have any objection to the public
22        A. I don't remember.                                       22   disclosure in this litigation of pages 39 through
23       Q. Please turn to page 39. And I'm now                      23   41?
24   going to ask you about pages 39 to 41. Page 39                  24         A. I object 100 percent. If you
25   has number 6.                                           02:17   25   include -- if you disclose this information to the       02:21


                                                         Page 102                                                              Page 104

 1                  Guo Wengui                                        1                    Guo Wengui
 2         And what name, sir, do you see there?                      2    public, hundreds of millions of people will get
 3        A. Sun Lijun.                                               3    killed because of this, including -- you know, the
 4       Q. Who is that person?                                       4    family members of Wong Yen Ping have been killed,
 5        A. So she's the number 2 head of the               02:18    5    and a lot of other investigators who are engaged        02:22
 6   intelligence agency in China. She did a lot of --                6    in investigating matters in this regard will get
 7   she persecuted a lot of innocent people in Tibet                 7    killed. So if they get killed, the blood will be
 8   and in Xinjiang (phonetic). And also, a lot of my                8    on you, including me personally, including my
 9   family members were arrested by him. And also,                   9    family members in the U.S., and also family
10   currently, he's in Hong Kong to persecute               02:18   10    members of Wong Yen Ping and Wong Yen Ping              02:22
11   additional people, and he's also pursuing me in                 11    herself. All of us will be under threat.
12   the U.S. He's currently the vice minister of                    12          Q. What other investigators are
13   China's public safety.                                          13    investigating number 6, Sun Lijun?
14       Q. What do you mean when you say he is                      14          A. I don't know. But it's just -- I
15   pursuing you in the U.S.?                               02:18   15    assume that -- I mean, I assume that a lot of           02:22
16        A. New York Times actually wrote an                        16    people are also engaged in trying to figure out
17   article about him being in the U.S.                             17    his dealings. Those people, they will be
18       Q. I see.                                                   18    threatened as well.
19         So are you saying that he came to the                     19           So that's why I'm saying your clients,
20   U.S. to pursue you?                                     02:19   20    you know, they've been using, you know, this name       02:23
21        A. Yes.                                                    21    as a bait, use this name as a bait, keep telling
22       Q. When?                                                    22    me, can we publicly disclose this name, publicly
23        A. 2017.                                                   23    disclose this information? If we do that, a lot
24       Q. Did you recommend this name to Yvette                    24    of people in the U.S. will get harmed and a lot of
25   Wang?                                                   02:19   25    people in China will get killed. And your clients       02:23


                                                         Page 103                                                              Page 105

                                                                                                       27 (Pages 102 to 105)
                                                           Guo Wengui
                                                          August 2, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 112 of 288

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 1                    Guo Wengui                                      1             ACKNOWLEDGEMENT
 2   but, you know, for the solemn nature of -- you are               2
 3   being irresponsible. After seven hours of                        3       I, GUO WENGUI, do hereby acknowledge I have
 4   questioning; and then, all of a sudden, you threw                4   read and examined the foregoing pages of testimony,
 5   out this piece of translation, which has not yet        07:01    5   and the same is a true, correct and complete
 6   been verified.                                                   6   transcription of the testimony given by me, and any
 7           CHECK INTERPRETER: I heard, you know,                    7   changes or corrections, if any, appear in the
 8   a response, many times I have not been                           8   attached errata sheet signed by me.
 9   interviewed.                                                     9
10   BY MR. GREIM:                                           07:01   10
11       Q. Has Eastern Profit --                                    11
12           MR. HARMON: I thought you get one more                  12        ________       ________________________
13   question.                                                       13        Date             GUO WENGUI
14           MR. GREIM: Yeah, I know. Actually,                      14
15   this is for the last question.                          07:01   15
16   BY MR. GREIM:                                                   16
17       Q. Has Eastern Profit ever asked you to be                  17
18   its witness?                                                    18
19        A. I'm not going to answer your question,                  19
20   this question, because, earlier, you told me that       07:02   20
21   the previous question was already the last                      21
22   question. And I respect you as a lawyer; I                      22
23   respect the dignity of the legal profession. And                23
24   as a witness, I take this matter very seriously.                24
25   And I hope that you will honor your statement. We       07:02   25


                                                         Page 230                                                                 Page 232

 1                  Guo Wengui                                        1             CERTIFICATE OF NOTARY PUBLIC
 2   all heard that the previous question was the last                2       I, RENATE REID, the officer before whom the
 3   question, and I'm not going to answer your                       3   foregoing deposition was taken, do hereby certify
 4   question. And you --                                             4   that the witness, GUO WENGUI, whose testimony appears
 5        Q. Well, thank you.                                07:02    5   in the foregoing deposition, was duly sworn by me;
 6            MR. GREIM: We intend to hold this                       6   that the testimony of said witness was taken by me in
 7   deposition open. I understand we're going to have                7   stenotype and thereafter reduced to typewriting under
 8   an objection, probably, from the other parties.                  8   my direction; that said deposition is a true record
 9   But we believe that Eastern Profit has not                       9   of the testimony given by said witness;
10   properly given us 30(b)(6) witnesses that can tell      07:02   10         That I am neither counsel for, related to,
11   us anything about the entity, and we have many                  11   nor employed by and of the parties to the action in
12   more questions of Mr. Guo that he was blocked from              12   which this deposition was taken; and, further, that I
13   answering. And so we'll hold it open for those                  13   am not a relative or employee of any counsel or
14   purposes.                                                       14   attorney employed by the parties hereto, nor
15            MR. HARMON: Thank you for your time.           07:04   15   financially or otherwise interested in the outcome of
16            VIDEOGRAPHER: The time is                              16   this action. The witness will sign.
17   approximately 7:03 p.m., Friday, August 2, 2019.                17           IN WITNESS WHEREOF, I have hereunto set
18   This is the end of media number 5 and completes                 18   my hand this 15th day of August, 2019.
19   the videotaped deposition of Mr. Guo Wengui.                    19
20          We're off the record.                            07:04   20
21                                                                   21
22          (Time noted: 7:03 p.m.)                                  22                        RENATE REID
23                                                                   23                    Notary Public in and for
24                                                                   24                     The State of New York
25                                                                   25


                                                         Page 231                                                                 Page 233

                                                                                                           59 (Pages 230 to 233)
                                                           Guo Wengui
                                                          August 2, 2019
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 113 of 288




                       Exhibit G
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 114 of 288

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 1

 2           IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK
 3   --------------------------------------------X

 4   EASTERN PROFIT CORPORATION LIMITED,

 5          Plaintiff/Counterclaim Defendant,

 6         -against-             Case No. 18-cv-2185 (JGK)

 7   STRATEGIC VISION US, LLC,

 8          Defendants/Counterclaim Plaintiff,

 9                  -against-

10   GUO WENGUI a/k/a MILES KWOK,

11                        Counterclaim Defendant.

12   --------------------------------------------X

13

14

15                         DEPOSITION OF

16                         HAN CHUNGUANG

17                      New York, New York

18                       November 11, 2019

19

20

21

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24   REPORTED BY:      TERRI FUDENS

25   FILE NO:   AD0B4F6




                                 Han Chunguang
                                November 11, 2019
         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 115 of 288

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 1                                                                 1
                                                                   2               INDEX
 2            IN THE UNITED STATES DISTRICT COURT                  3   WITNESS:      EXAMINATION BY:              PAGES:
 3           FOR THE SOUTHERN DISTRICT OF NEW YORK                 4   Han Chunguang
                                                                   5             Ms. Donnelli        5
 4     ------------------------------------------X                 6
 5     EASTERN PROFIT CORPORATION LIMITED,                         7             EXHIBITS
 6           Plaintiff/Counterclaim Defendant,
                                                                   8   DEFENDANT'S: DESCRIPTION:            PAGES:
                                                                   9   30      Notice of Change of Company  106
 7     V.                      Case # 18-cv-2185 (JGK)                        Secretary and Director
 8     STRATEGIC VISION US, LLC,                                  10          (Appointment/Cessation) Bates
                                                                              stamped EASTERN-000400 to 402
 9          Defendants/Counterclaim Plaintiff.                    11
10     V.                                                              31       A piece of yellow paper     109
                                                                  12           containing the witness' name
11     GUO WENGUI a/k/a MILES KWOK,                                            handwritten three times
12                    Counterclaim Defendant.                     13
       ------------------------------------------X                     32       A two-page document titled     109
13
                                                                  14           Limited Power of Attorney
                                                                               Bates stamped EASTERN-000276
14                                                                15           and 277
                                                                  16   33       A document titled Substitution 118
15             Deposition of HAN CHUNGUANG, a Non-Party                        of Counsel consisting of two
16     Witness, taken by the Defendant-Counterclaim               17           pages
17     Plaintiff pursuant to Court Order held at 620
                                                                  18   34       A document titled Research     119
                                                                               Agreement dated December 29,
18     Eighth Avenue, New York, New York, commencing at           19           2017 Bates stamped
19     10:03 A.M., Monday, November 11, 2019, before                           EASTERN-000005 to 000009
                                                                  20
20     Terri Fudens, a Stenotype Reporter and Notary                   35       A document titled Loan         124
21     Public of the State of New York.                           21           Agreement Bates stamped
22                                                                             EASTERN-000278 to 280
                                                                  22
23                                                                     36       A black and white photograph    153
24                                                                23           of five people
                                                                  24
25                                                                25             * * * * *

                                                         Page 2                                                               Page 4

 1                                                                 1                      HAN CHUNGUANG
 2   APPEARANCES:
 3     PEPPER HAMILTON LLP
                                                                   2         ANN CHI HO, the Interpreter, was duly sworn by
       Attorneys for Plaintiff/Counterclaim                        3                  Terri Fudens, a Notary Public of the
 4     Defendant - Eastern Profit Corporation, Ltd.
            1313 North Market Street
                                                                   4                  State of New York, to accurately
 5          Suite 5100                                             5                  translate the following questions and
            Wilmington, Delaware 19801
 6
                                                                   6                  answers to the best of her ability.
         BY: CHRIS CHUFF, ESQ.                                     7         H A N C H U N G U A N G, a Non-Party witness
 7
 8
                                                                   8                  herein, having been first duly sworn
         GRAVES GARRETT LLC
                                                                   9                  by Terri Fudens, a Notary Public of
 9       Attorneys for Defendant/Counterclaim                     10                  the State of New York, was examined
         Plaintiff - Strategic Vision US LLC
10            1100 Main Street, Suite 2700
                                                                  11                  and testified as follows:
              Kansas City, Missouri 64105                         12        EXAMINATION BY
11            816.2563181
12       BY: EDWARD D. GREIM, ESQ.
                                                                  13        MS. DONNELLI:
             edgreim@gravesgarrett.com                            14             Q     Please state your name for the
13                                                                15        record.
             JENNIFER DONNELLI, ESQ.
14           jdonnelli@gravesgarrett.com
                                                                  16             A     Chunguang Han. My last name is Han.
15                                                                17        My first name is Chunguang.
16       GOLDEN SPRING (NEW YORK) LTD.
         In-House Counsel for Golden Spring
                                                                  18                      MR. CHUFF: Chris Chuff for
17           162 E. 64th Street                                   19                  Eastern Profit Corporation Limited
             New York, New York 10065
18           917.941.9698
                                                                  20                  and the witness.
19       BY: DANIEL PODHASKIE, ESQ.                               21                      MS. WANG: Yvette Wang from
20                                                                22                  Golden Spring, New York, Ltd.
21   ALSO PRESENT:
22       French Wallop
                                                                  23                      MR. PODHASKIE: Daniel Podhaskie
23       Michael Waller                                           24                  with Golden Spring, New York, Ltd.
24       Yvette Wang
25       Ann Chi Ho, Interpreter
                                                                  25                      MS. DONNELLI: Eddie Greim and

                                                         Page 3                                                               Page 5

                                                                                                                     2 (Pages 2 to 5)
                                                       Han Chunguang
                                                      November 11, 2019
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 116 of 288

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 1                HAN CHUNGUANG                        1                 HAN CHUNGUANG
 2           keep my questions as focused on those     2            this unless the court directs us to
 3           topics as I can. But there's come         3            do so.
 4           background that I think is necessary      4                MS. DONNELLI: We'll withdraw
 5           to place this witness in the context      5            the question.
 6           of those questions. I will try to         6                MR. CHUFF: Thank you.
 7           keep it focused. I do have some           7        Q    When you were living in China, did
 8           background.                               8   you begin working for Eastern Profit?
 9               MR. CHUFF: Why is where he was        9        A    Okay. When I was working for this
10           born relevant to the contract claim?     10   company, it was in 2017. No. No. No. It was in
11               MS. DONNELLI: Well that's, I         11   2015 or 2016. That's right.
12           think, in part to make the witness       12        Q    Were you living in the United States
13           sort of comfortable with getting to      13   in 2015 or 2016?
14           know me and I'm getting to know him.     14        A    Not yet. At the time I was in Hong
15               MR. CHUFF: Okay.                     15   Kong.
16               MS. DONNELLI: I will probably        16        Q    When did you begin living in the
17           have questions about his time here in    17   United States?
18           relation to the documents that he        18        A    In 20 -- I'm not sure, but I have
19           signed. So I want to kind of place       19   been here for several years already.
20           his local where he was at certain        20        Q    Were you performing a role for
21           times.                                   21   Eastern Profit while you were living in the United
22               MS. WANG: Can you please             22   States?
23           translate, madam translator.             23        A    I am an agent for them.
24               MS. CLINE: Thank you.                24        Q    Were you an agent for Eastern Profit
25       Q    I believe the question was where were   25   while you have been living in the United States?

                                           Page 10                                                   Page 12

 1                 HAN CHUNGUANG                       1                  HAN CHUNGUANG
 2   you born.                                         2         A    Before June, 2017 I was a director of
 3        A    In China.                               3   this company. However, in July that year, I
 4        Q    Where in China?                         4   transferred it to -- Guo Mei ask me to be an agent
 5        A    Shandong. S-H-A-N-D-O-N-G.              5   for this company after the transfer.
 6        Q    What brought you to the United          6         Q    Before June, 2017, were you living in
 7   States?                                           7   the United States?
 8                MR. CHUFF: Objection. I'm not        8         A    I think so.
 9           going to allow the witness to testify     9         Q    Have you lived in the United States
10           about this. The court has already        10   since June of 2017 and nowhere else?
11           ordered that personal history and        11         A    I am not sure, but I think I have
12           reasons for coming to the United         12   been moving around.
13           States is clearly beyond the scope of    13         Q    Within the United States?
14           relevancy to these proceedings. And      14         A    Yes.
15           I'm not going to allow him to answer     15         Q    Have you been back to China since
16           without the court ordering us to do      16   June of 2017 for any extended period?
17           so.                                      17                 MR. CHUFF: Objection to form.
18                I direct you to Docket 189,         18             Again, I'm going to cut this off
19           page 7 where it says personal history    19             soon. It's not relevant to the
20           and reasons for coming to the United     20             issues that the court allowed your
21           States, defendant has not                21             side to proceed on.
22           demonstrated the relevance of this       22         A    No.
23           topic.                                   23         Q    Where do you currently live?
24                So we're not going to allow the     24         A    In United States.
25           witness to answer any questions about    25         Q    What city?

                                           Page 11                                                   Page 13

                                                                                      4 (Pages 10 to 13)
                                          Han Chunguang
                                         November 11, 2019
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 117 of 288

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 1               HAN CHUNGUANG                      1                 HAN CHUNGUANG
 2     A    New York.                               2            it to you. But the court was very
 3     Q     What street?                           3            clear that he had limited involvement
 4              MR. CHUFF: Objection.               4            in issues in this case and has to be
 5         Relevance and that's beyond the scope    5            focused on the power of attorney, the
 6         of what the court allowed.               6            ACA loan and the Strategic Vision
 7              MS. DONNELLI: The court didn't      7            Research Agreement.
 8         make an order about this witness.        8                 MS. DONNELLI: And that was an
 9         The court made an order about            9            order entered upon a representation
10         Mr. Guo.                                10            by your side of things about what
11              Besides, at the most recent        11            this witness knew. And at our last
12         deposition, which was of Eastern        12            deposition, which I know you didn't
13         Profit, the litigant, we heard          13            attend --
14         testimony that this witness has         14                 MR. CHUFF: But I read.
15         involvement with Eastern Profit,        15                 MS. DONNELLI: -- but you read,
16         significant involvement. So I'm         16            you will agree that there was
17         exploring where he was located.         17            testimony that this witness had
18              MR. CHUFF: You have the city.      18            significant involvement with Eastern
19         Why do you need the street address?     19            Profit.
20              MS. DONNELLI: I routinely ask      20                 MR. CHUFF: I would not agree
21         witnesses what their street address     21            that there was any testimony that he
22         is.                                     22            had significant involvement. Again,
23              MR. CHUFF: I just don't see how    23            I don't think his street address is
24         it's relevant.                          24            relevant.
25              MS. DONNELLI: If you're going      25                 MS. DONNELLI: The testimony is

                                         Page 14                                                Page 16

 1              HAN CHUNGUANG                       1                   HAN CHUNGUANG
 2         to instruct him not to answer, that's    2              he was the boss of Eastern Profit.
 3         one thing. But I caution you that        3              So anyway, I think it's relevant to
 4         that's a very common question to ask     4              understand where this witness resides
 5         of a witness.                            5              so that we can see where he is at in
 6             MR. CHUFF: We've agreed to           6              relation to entities that have an
 7         produce him at trial already. So you     7              association with Eastern Profit.
 8         don't need to serve him with             8                  MR. CHUFF: Until you've
 9         anything. It's beyond the scope.         9              achieved that, I'm not going to allow
10             MS. DONNELLI: I'm trying to         10              him to answer about his street
11         understand the context of where he's    11              address.
12         doing his work for this entity and to   12                  MS. DONNELLI: You're not going
13         be able to understand where he lives.   13              to allow him to answer his street
14         The time frame in question is           14              address?
15         important.                              15                  MR. CHUFF: Not without the
16             MR. CHUFF: I agree. And that's      16              court directing me to do so.
17         why I let you get to New York City,     17                  MS. DONNELLI: You're going to
18         because I understand the relevance of   18              instruct the witness not to answer.
19         that. But if I don't understand the     19              I just want the record to be clear.
20         relevance of the street name, we're     20                  MR. CHUFF: Yes.
21         not going to allow it unless the        21         Q     Since June of 2017, have you been
22         court orders us to.                     22   living in the same location?
23             And just to correct one thing,      23         A     I don't think I have moved.
24         there is an oral order about            24         Q     You have been living in the same
25         Mr. Han's deposition, and I can read    25   location here in New York since June of 2017;

                                         Page 15                                                Page 17

                                                                                  5 (Pages 14 to 17)
                                       Han Chunguang
                                      November 11, 2019
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 118 of 288

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 1               HAN CHUNGUANG                         1                 HAN CHUNGUANG
 2   correct?                                          2            he knows anything about those
 3        A    I have stayed in New York.              3            allegations. Maybe he knows
 4                MS. DONNELLI: Can you repeat         4            something that relates to a defense
 5            the question to the witness and ask      5            on the claim as opposed to the
 6            him to answer the question?              6            counterclaim; right? But it's not to
 7                (Interpret complying)                7            go off on just, you know, satisfying
 8                MR. CHUFF: Objection to form.        8            Mr. Greim's curiosity about, you
 9        A    Yes.                                    9            know, what he might know about
10        Q    Do you own the place where you live,   10            anything and everything in the
11   or do you rent the place where you live?         11            universe that relates to Mr. Guo or
12                MR. CHUFF: Objection. Form.         12            the universe that relates to
13        A    Rent.                                  13            Mr. Chunguang, or the universe that
14        Q    Does anyone live there with you        14            relates to Miss Wang.
15   today?                                           15                This is, you know, the request
16                MR. CHUFF: Objection. Again,        16            that I've seen. I'm just going to
17            this is way beyond the scope of what    17            say it as clear as I can, Mr. Greim,
18            the court agreed that this witness      18            they are overbroad. You've got
19            could be produced to testify about.     19            claims. You have to be able to
20                So unless the court changes its     20            articulate why something is relevant
21            order by a request from you, I'm not    21            to a claim. You have --
22            going to allow him to testify about     22                MS. DONNELLI: Counsel, I
23            this stuff.                             23            recognize you want to make a record,
24                MS. DONNELLI: As you know, the      24            but you're taking up a lot of time to
25            court is closed today. We're going      25            do that. And I think you're

                                           Page 18                                                Page 20

 1                HAN CHUNGUANG                        1                 HAN CHUNGUANG
 2           to have to do the best we can to make     2            borderline on obstructing this
 3           our respective positions for today,       3            deposition.
 4           but we're not going to have a court       4                So I ask that you keep your
 5           order today.                              5            objections to nonspeaking objections
 6               MR. CHUFF: Then he's not going        6            for the record and that we move on.
 7           to testify about this today.              7                MR. CHUFF: Right.
 8               MS. DONNELLI: We'll preserve          8                So you've disputed what the
 9           that and bring it up with the court       9            ruling is then, and I wanted to make
10           as is appropriate.                       10            that clear on the record. From now
11       Q    Are you married?                        11            on I won't reread it, but I just
12               MR. CHUFF: I'm sorry. I want         12            wanted to make that clear.
13           to read something into the transcript    13                MS. DONNELLI: Thank you.
14           given that we're not going to see the    14        Q    Does the address 781 Fifth Avenue,
15           court today.                             15   Suite 1801, New York City mean anything to you?
16               This is the August 24, 2019          16        A    Nothing.
17           transcript. The dispute for contacts     17        Q    Have you ever lived at that address?
18           was whether Mr. Han could be or would    18                MR. PODHASKIE: Objection. Move
19           even be produced as a witness. And       19            on, counsel. I just read into the
20           this is what the court ruled:            20            record that it has to be relevant to
21               This is not a case where             21            the claim.
22           Mr. Chunguang is accused of              22                MS. DONNELLI: It is relevant
23           wrongdoing personally. It's a case       23            and I'll tell you why it's relevant.
24           where Eastern is accused of wrong        24            Because we've connected that address
25           doing. And the question is whether       25            with a key fact witness, and we

                                           Page 19                                                Page 21

                                                                                    6 (Pages 18 to 21)
                                          Han Chunguang
                                         November 11, 2019
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 119 of 288

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 1             HAN CHUNGUANG                       1                  HAN CHUNGUANG
 2        believe this witness has a               2            know, what he might know about
 3        relationship with that witness. So I     3            anything and everything in the
 4        ask if the witness will answer the       4            universe that relates to --
 5        question.                                5                 MS. DONNELLI: Counsel, you just
 6            MR. CHUFF: I'm instructing him       6            read that again for a second time.
 7        not to answer. This is not relevant      7            You're obstructing this deposition.
 8        to any of the issues, and the court      8                 MR. CHUFF: That's exactly what
 9        has been very clear that this has to     9            you're doing. I'm not wasting my
10        be a very narrow deposition with his    10            time.
11        involvement with the issues in this     11                 MS. DONNELLI: You read that
12        case. And this has nothing to do        12            twice and I asked you to not obstruct
13        with the contracts at issue.            13            the deposition. I'm surprised that
14            MS. DONNELLI: You haven't even      14            you are frankly, but you are.
15        let me establish where it might go.     15                 MR. CHUFF: I'm surprised that
16        You're just instructing the witness     16            after I read it the first time you're
17        not to answer.                          17            still asking these questions.
18            MR. CHUFF: Explain it to me,        18                 MS. DONNELLI: Let's just move
19        because I'm not seeing the relevance.   19            on.
20            MS. DONNELLI: Because we            20        Q    Do you know a Guo Wengui?
21        believe that that is an address         21        A    Yes.
22        connected with Guo Wengui, and we       22        Q    How do you know that name?
23        think that this witness has a           23        A    In 2009 I went to visit Mr. Guo
24        relationship with Guo Wengui that is    24   Wengui not Guo Pangu because of his
25        deeper than perhaps your objections     25   representation.

                                       Page 22                                                   Page 24

 1              HAN CHUNGUANG                      1                  HAN CHUNGUANG
 2        are intended to convey.                  2             Because of my adoration for him, I
 3             So you're not even letting me       3   learned investment architecture, art and
 4        get into anything, and you're            4   everything else from him, Pangu.
 5        instructing a witness not to answer,     5         Q    Was Mr. Guo your mentor?
 6        a fact witness not to answer. And        6         A   Yes. A mentor.
 7        that, I believe, is a dangerous          7         Q    What is the nature of your
 8        ground.                                  8   relationship with Mr. Guo while you've been living
 9             MR. CHUFF: How is that relevant     9   in the United States?
10        whether the contract been breached?     10         A   Our relationship after all is about
11             MS. DONNELLI: I just explained     11   my learning from him, my learning about investment
12        it. The context of this witness'        12   and how to do things from him.
13        involvement with these contracts with   13         Q    Is it your testimony that you have
14        the people these contracts involved     14   never been in the Sherry Netherland building here
15        is important. You're not even           15   in New York City?
16        letting me go anywhere.                 16                 MR. CHUFF: Objection.
17             MR. CHUFF: The contracts, I        17             Mischaracterizes testimony.
18        agree with you. But that's not what     18         A   I don't understand your question.
19        you're asking.                          19         Q    Have you ever been in the Sherry
20             MS. DONNELLI: All right.           20   Netherland building here in New York City?
21             MR. CHUFF: I'll only add one       21         A   Yes.
22        sentence. This is what the Judge        22         Q    For what reason?
23        said: This deposition is not to go      23         A   Because Mr. Guo was there. I went to
24        off on just, you know, satisfying       24   learn from him about -- just about everything.
25        Mr. Greim's curiosity about, you        25         Q    Have you lived in the Sherry

                                       Page 23                                                   Page 25

                                                                                  7 (Pages 22 to 25)
                                      Han Chunguang
                                     November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 120 of 288

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 1                  HAN CHUNGUANG                         1                  HAN CHUNGUANG
 2   specific.                                            2        A     The business is a family trust.
 3         Q    Have you ever discussed Eastern           3   Therefore, I would say I've been working for it
 4   Profit with Mr. Guo?                                 4   for a long time.
 5         A    No.                                       5        Q     Since you've been in the United
 6         Q    Does the address 162 East 64th            6   States?
 7   Street, New York City mean anything to you?          7        A     Yes.
 8         A    I have heard about it.                    8        Q     Does it have any involvement with
 9         Q    What do you understand it to be?          9   Eastern Profit?
10         A    I was in the lobby of this building      10        A     No.
11   to meet Yvette and discussed about paying back a    11        Q     Is the name of the company Golden
12   loan.                                               12   Spring New York Limited?
13         Q    A loan to whom?                          13        A     I don't understand your question.
14         A    I borrowed money from William, and       14   Can you rephrase your question?
15   William was asking me to pay him back. That was     15        Q     Does a company called Golden Spring
16   the matter I brought it up with Yvette in the       16   New York employ you?
17   lobby of this building.                             17        A     No.
18         Q    Did you or Eastern Profit borrow the     18        Q     Has that company ever employed you?
19   money you're referring to?                          19        A     No. But again, I'm not sure. My
20         A    The company did.                         20   recollection is not clear.
21         Q    How often do you meet with Mr. Guo       21        Q     Has a company called Golden Spring
22   for him to mentor you and teach you how to do       22   Hong Kong Limited ever employed you?
23   things?                                             23        A     No.
24                 MR. CHUFF: Objection. For the         24        Q     If I represented to you that Golden
25             reasons I've already discussed, I         25   Spring New York Limited employed Yvette Wang,

                                              Page 34                                                  Page 36

 1                  HAN CHUNGUANG                         1                   HAN CHUNGUANG
 2             instruct the witness not to answer         2   would that refresh your recollection whether it
 3             unless counsel can direct it to some       3   has employed you?
 4             kind of relevance to Eastern Profit.       4        A     I did ask Yvette to do something for
 5         Q    Do you know who Guo Mei is?               5   me. And she is or was involved with Golden Spring
 6         A    Yes.                                      6   New York.
 7         Q    Is Guo Mei Mr. Guo's daughter?            7                  THE INTERPRETER: Interpreter
 8         A    Yes.                                      8             note in Chinese we don't have a
 9         Q    Does Guo Mei have a relationship with     9             tense. In China no present, or past,
10   Eastern Profit?                                     10             or future things.
11         A    Guo Mei is a director of Eastern         11        Q      When you met with Yvette Wang to
12   Profit right now.                                   12   discuss a loan, was she there personally or for
13         Q    Have you ever discussed Guo Mei's        13   Golden Spring New York?
14   role with Eastern Profit with Mr. Guo?              14        A     She represented the company.
15         A    No. I have never had such a              15        Q      Golden Spring New York?
16   discussion with Mr. Guo.                            16        A     Yes.
17         Q    Do you have a job at this time?          17        Q      Why would you be speaking with Golden
18         A    Do I have a job right now? Yes.          18   Spring New York about a loan?
19         Q    Where are you employed?                  19        A     It is not like I was speaking to
20         A    I work for my own company.               20   Golden Spring New York. I was speaking
21         Q    What is your company called?             21   specifically to Yvette as far as what capacity
22         A    Since this has nothing to do with        22   Yvette represented, it had nothing to do with me.
23   this case, I'm not going to answer this question.   23        Q      Do you know who Yvette represented
24         Q    How long have you been employed by       24   during that meeting?
25   your company?                                       25        A     Which meeting again?

                                              Page 35                                                  Page 37

                                                                                       10 (Pages 34 to 37)
                                             Han Chunguang
                                            November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 121 of 288

                                            Atkinson-Baker, Inc.
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 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2        Q     You testified about meeting Yvette         2                 MS. WANG: She just called me a
 3   Wang in the lobby to discuss a loan.                  3             bitch just now. She said that. I
 4        A     What's your question? I won't              4             want it on the record. I'm sorry.
 5   qualify the discussion as a meeting. I chatted        5                 MR. PODHASKIE: I didn't hear.
 6   with her briefly.                                     6                 MR. GREIM: Let's stop and get
 7        Q     When you say briefly, how long was         7             an answer to this question.
 8   it?                                                   8        A     At the time when I hired an
 9        A     Around 20 minutes at the most. 20          9   investigation company, and Yvette told me I needed
10   some minutes.                                        10   money to hire the company, that was why I borrowed
11        Q     Was anyone else present besides you       11   from William.
12   and Yvette?                                          12             When William ask me to return the
13        A     No.                                       13   money, I had to bring it up with Yvette because
14        Q     How did you know to meet with Yvette?     14   Yvette was telling me somehow we got misled. And
15        A     I don't understand her question.          15   I wanted her to know results of investigation we
16   What do you mean how did I know to meet with         16   received. I have to know. I have to tell Yvette
17   Yvette?                                              17   about it.
18        Q     Why did you meet with Yvette rather       18        Q     I have one more question, and then we
19   than Mr. Guo?                                        19   can take a restroom break. You have been
20        A     That day I went there to see Mr. Guo      20   referring to William. What is William's full
21   who stayed there at the time. I bumped into          21   name?
22   Yvette in the lobby. I brought up the subject        22        A     William.
23   that William was asking me to pay back a loan, and   23        Q     Can you please spell that?
24   I chatted with her briefly.                          24        A     YU. I think Y-U.
25        Q     Why did you think that Yvette knew        25        Q     Is William Yu the same person as

                                               Page 38                                                   Page 40

 1                   HAN CHUNGUANG                         1                  HAN CHUNGUANG
 2   anything about the loan?                              2   William Je, J-E?
 3          A    I don't understand your question.         3         A    I have no idea.
 4   What do you mean?                                     4         Q     When you've been using the name
 5          Q    You met with Yvette to discuss the        5   William today since we've been talking, have you
 6   loan because you believed she knew about the loan;    6   always been referring to William Yu?
 7   correct?                                              7         A    Yes. Yes, I think so.
 8          A    I hired a company to investigate a        8                 MS. DONNELLI: Thank you. You
 9   matter for me, and I asked Yvette to handle it for    9             requested a bathroom break. I would
10   me. At the time I borrowed money from William to     10             like to break for no more than 10
11   hire this investigation company. However, the        11             minutes.
12   investigation didn't go anywhere.                    12                 (At this time, a brief recess
13              William was asking me to pay back the     13             was taken.)
14   loan. When I bumped into Yvette, I have to tell      14   CONTINUED EXAMINATION
15   Yvette what was going on.                            15   BY MS. DONNELLI:
16          Q    Why did you choose Yvette to tell        16         Q     We are here after taking a break.
17   this to?                                             17             Is Golden Spring New York's business
18          A    By the way, can I go to the bathroom     18   office located at 162 East 64th Street?
19   first.                                               19         A    I don't know.
20          Q    In a few minutes we will take a          20         Q     Why were you able to meet Yvette Wong
21   break, but please answer the question.               21   in that building if that's not where Golden Spring
22          A    Can you repeat your question?            22   New York does its business?
23                  (The requested portion of the         23         A    I don't understand your question.
24              record was read back by the               24         Q     You testified that you bumped into
25              reporter.)                                25   Yvette in that building, and I'm asking what

                                               Page 39                                                   Page 41

                                                                                         11 (Pages 38 to 41)
                                             Han Chunguang
                                            November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 122 of 288

                                            Atkinson-Baker, Inc.
                                              www.depo.com

 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2   caused her to be in that building.                    2   Eastern Profit?
 3         A   I don't know. You have to ask her.          3         A    Yes. I got permission from Guo Mei,
 4   It happened that I bumped into her that day, and I    4   and I authorized Yvette to handle this particular
 5   talked to her about this matter. That was it.         5   matter for me, which was a matter of hiring and
 6   You have to ask her why.                              6   investigation company.
 7         Q    Where is your place of work located?       7         Q    Is that the only involvement that
 8         A   My place of work?                           8   Yvette had with Eastern Profit?
 9         Q    Yes.                                       9         A    I'm so sorry. Can you repeat your
10         A   I'm not at liberty to disclose that        10   question.
11   here.                                                11                 (The requested portion of the
12         Q    Is your place of work 162 East 64th       12             record was read back by the
13   Street?                                              13             reporter.)
14         A   No.                                        14         A    In terms of all matters related to
15         Q    Why are you not at liberty to             15   the investigation company, I gave my authorization
16   disclose your place of work?                         16   to Yvette so that she could act on my behalf.
17                 MR. CHUFF: Objection. Form.            17         Q    Did Yvette do anything for Eastern
18         A   What I'm concerned is that once my         18   Profit other than related to the investigation
19   information is revealed, the communist party will    19   company?
20   also learn about it too.                             20         A    No. No, because this company of mine
21         Q    Is your place of work the same place      21   was frozen in Hong Kong and that was all I asked
22   of work of the family trust?                         22   her to do for me.
23         A   Your question is rather vague. I           23         Q    Going back to this meeting that you
24   don't know how to answer your question.              24   had with Yvette at 162 East 64th Street, when did
25                 MS. DONNELLI: Can you read the         25   it occur?

                                               Page 42                                                   Page 44

 1                   HAN CHUNGUANG                         1                  HAN CHUNGUANG
 2              question back.                             2         A    Several months ago, I think.
 3                  (The requested portion of the          3         Q    In the year 2019?
 4              record was read back by the                4         A    Yes.
 5              reporter.)                                 5         Q    Other than that meeting, did you ever
 6         A     In terms of her question, I don't         6   speak with or communicate with Yvette about the
 7   know how to answer it.                                7   loan?
 8         Q     When you performed things for Eastern     8         A    I don't remember.
 9   Profit, did you do that at 162 East 64th Street?      9         Q    The work that you currently do for
10         A     No.                                      10   the family trust, is that the type of work you did
11         Q     Where were you located when you          11   for Eastern Profit?
12   performed the things you did for Eastern Profit?     12         A    Again, since your question is related
13         A     The headquarter of this company was      13   to what my family trust is doing, I am not at
14   in Hong Kong. However, I could choose anywhere I     14   liberty to answer your question here.
15   wanted to work for this company. I was quite         15         Q    Why not?
16   free.                                                16         A    Again, I'm concerned about my safety.
17         Q     Where did you choose to do your work     17   If I reveal too much information about myself, the
18   for Eastern Profit?                                  18   communist party eventually will also learn about
19         A     When I took over this company, I was     19   it too.
20   in Hong Kong.                                        20         Q    You called this your, Y-O-U-R, family
21         Q     Did you perform any work for Eastern     21   trust. Is it the Han Family Trust that you work
22   Profit anywhere other than Hong Kong?                22   for?
23         A     In New York, I asked Yvette to do        23         A    My answer will be the same as what I
24   thing for me on behalf of this company.              24   have given to you, to your previous answer -- to
25         Q     When you say "this company," you mean    25   your previous question.

                                               Page 43                                                   Page 45

                                                                                        12 (Pages 42 to 45)
                                              Han Chunguang
                                             November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 123 of 288

                                            Atkinson-Baker, Inc.
                                              www.depo.com

 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2         Q    You testified that you had to get          2        A     I think she was in New York, but I'm
 3   permission from Guo Mei to authorize Yvette to do     3   not sure. Basically I had a phone conversation
 4   things for Eastern Profit.                            4   with her, or I had phone conversations with her.
 5                 MR. CHUFF: Objection to form.           5   I was not sure where she was.
 6         Q    Why did Guo Mei not simply go              6                 THE INTERPRETER: Interpreter
 7   directly to Yvette rather than through you?           7             note in Chinese we don't have a
 8         A    Guo Mei was very busy. Guo Mei gave        8             singular or plurals. Therefore the
 9   me the authorization to handle things for her, and    9             interpreter does not know how many
10   then I give the authorization to Yvette to do        10             phone conversation had with Miss Guo.
11   things for me. It was very logic. This was the       11        Q     When were the phone conversations?
12   way I did my business.                               12        A     In 2017. Also in 2018. There were
13         Q    Was any of the instruction that           13   phone conversations in recent years.
14   Mr. Guo gave you about investments helpful to you    14        Q     Can you be more specific as far as
15   in your role with Eastern Profit?                    15   even a month in those years?
16                 MR. CHUFF: Objection. Form.            16        A     Again, I don't remember the
17         A    Yes. He has been teaching me a lot.       17   specifics. But I do remember in last few years I
18   He has given me knowledge. And whatever I learn      18   spoke with her over the phone.
19   from him I'll apply it to the rest of my life to     19        Q     Were you working for the family trust
20   apply it to my company, to apply it to my business   20   when you spoke with Guo Mei about this?
21   model.                                               21        A     Yes. Continually.
22         Q    Why did you not apply it to Eastern       22        Q     Why did you not choose someone from
23   Profit and instead got Yvette involved?              23   the family trust to help you rather than choosing
24                 MR. PODHASKIE: Objection to            24   Yvette?
25             form.                                      25        A     This was due to a business

                                               Page 46                                                   Page 48

 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2        A    Firstly, my English is not great. I         2   consideration.
 3   need someone in New York to help me. Therefore, I     3         Q    Which was what?
 4   authorize Yvette to handle things for me. It was      4         A   This is rather personal. I don't
 5   as simple as that.                                    5   think I should tell you my business' strategies
 6        Q     When you say handle, I understood you      6   was. I don't think I want to review it here.
 7   to mean that Yvette had your full authority. Do       7         Q    Did you have personal interests in
 8   you mean something less than that?                    8   Eastern Profit?
 9        A    I got full authorization to Yvette to       9                 MR. CHUFF: Objection. Form.
10   handle the matters was this liar company.            10         A   When you say personal interest, what
11        Q     You testified that Guo Mei authorized     11   do you mean by that?
12   you. Was that authorization in writing?              12         Q    I was trying to understand your
13        A    What do you mean, written                  13   answer, why something on a personal level affected
14   authorization?                                       14   your decision for Eastern Profit.
15        Q     Yes.                                      15         A   I still don't understand your
16        A    No. Orally.                                16   question. What do you mean that my personal way
17        Q    Where was Guo Mei located when she         17   of thinking affected my involvement with the
18   gave you the permission to authorize Yvette to       18   company?
19   undertake things that we've discussed?               19         Q    We will get to that more later.
20                 MR. CHUFF: Objection. Form.            20             Does the address 800 Fifth Avenue,
21                 THE INTERPRETER: The                   21   Suite 21F mean anything to you?
22            interpreter needs clarification from        22         A   No.
23            the witness to repeat last sentence         23         Q    We've been speaking about an entity
24            because the interpreter did not hear        24   called Eastern Profit; true?
25            it clearly.                                 25         A   Yes.

                                               Page 47                                                   Page 49

                                                                                        13 (Pages 46 to 49)
                                              Han Chunguang
                                             November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 124 of 288

                                            Atkinson-Baker, Inc.
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 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2         Q    What is the full name of that entity?      2   did everything in a legal sense?
 3         A    Eastern Profit.                            3                 MR. CHUFF: Objection. Form.
 4         Q    Do you know that entity to have any        4          A   Yes. When I purchased this company
 5   other names?                                          5   for my friend, I was going to use it to do
 6         A    I'm not sure.                              6   investment business. Of course I wanted to do it
 7         Q    Your understanding is that the             7   right. I wanted to do it legally. I wanted to do
 8   entity's name is Eastern Profit; correct?             8   it in sound business.
 9         A    Yes.                                       9          Q   What review or research did you do
10         Q    No other words in its name; correct?      10   before purchasing Eastern Profit to assure
11         A    No.                                       11   yourself that it had, in fact, done things
12         Q    When was Eastern Profit formed?           12   legally?
13         A    I acquired it somewhere around the        13          A   I was to acquire this company. I did
14   end of 2014. I purchased it for someone, but I       14   some analysis and performance evaluation. I did
15   didn't know whether the company had another name     15   it also based upon my experience. By the way, it
16   or not before my purchase of it.                     16   was a company legally listed. Why would it not do
17         Q    When was your purchase of Eastern         17   things legally?
18   Profit?                                              18          Q   Did Mr. Guo provide you guidance or
19         A    I think the end of 2014.                  19   advice when you were reviewing Eastern Profit to
20         Q    Had you had any involvement with          20   purchase it?
21   Eastern Profit prior to the end of 2014?             21          A   No, not anything specific.
22         A    No.                                       22          Q   Did you inform Mr. Guo that you were
23         Q    Who did you acquire it from?              23   intending to purchase Eastern Profit before you
24         A    From a friend of mine.                    24   purchased it?
25         Q    What was the name of the friend?          25          A   No.

                                               Page 50                                                  Page 52

 1                  HAN CHUNGUANG                          1                   HAN CHUNGUANG
 2        A     The last name Xu, X-U. Z-H-A-O,            2        Q      Did Mr. Guo provide you the
 3   H-U-I, X-U.                                           3   compensation needed to purchase Eastern Profit?
 4                 THE INTERPRETER: The                    4        A      No.
 5             interpreter is spelling, which may          5        Q      When you were performing your
 6             not be the official spilling.               6   analysis and evaluation, did you review any
 7                 MS. DONNELLI: Thank you.                7   written materials from Eastern Profit?
 8        Q     Why did you purchase Eastern Profit?       8        A      At the time in Hong Kong I had an
 9        A     At the time I had just got to Hong         9   agent. I had this agent of mine to do all the
10   Kong. I wanted to open the international market.     10   things for me.
11   Therefore, I acquired this company. I wanted to      11        Q      What was the name of the agent?
12   use this company to do some investments.             12        A      Natasha.
13        Q     Investments in what industry?             13                  THE INTERPRETER: Interpreter
14        A     Everything, as long as they were          14              note interpreter earlier
15   legal and could be profitable.                       15              misinterpreted the person's gender.
16        Q     Why did you choose to purchase            16              Obviously right now we know the
17   Eastern Profit rather than another company?          17              gender is a woman. The reason it's
18        A     Because I knew this friend of mine.       18              not in Chinese, we don't have a
19   I knew about him and I kind of knew his business.    19              gender.
20             And this company was just a regular        20        Q      What was Natasha's last name?
21   company who did everything legally right. But the    21        A      Natasha's last name is Q-U, which may
22   decision was based upon logic and no more business   22   not be the official last name. I don't know how
23   consideration.                                       23   to spell it. I only know she called herself
24        Q     What research did you do, if any,         24   Natasha. It's an English name, Natasha.
25   before purchasing Eastern Profit to know that it     25        Q      What was Natasha's Chinese name?

                                               Page 51                                                  Page 53

                                                                                        14 (Pages 50 to 53)
                                             Han Chunguang
                                            November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 125 of 288

                                            Atkinson-Baker, Inc.
                                              www.depo.com

 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2        A     I don't know.                              2   talk about that.
 3        Q     Who did Natasha work for?                  3         Q    We'll talk about that later.
 4        A     What do you mean by that?                  4             How much did you pay for Eastern
 5        Q     Natasha performed a service for you.       5   Profit?
 6   Who did she work for?                                 6         A    1,000 Hong Kong currency. 1,000 HK
 7        A     I didn't know what company she was         7   currency.
 8   working for. However, I knew him. I trusted him.      8         Q    Was that worth around 200 U.S.
 9   In Hong Kong I gave her the authorization to          9   dollars?
10   handle my stuff for me in Hong Kong.                 10         A    I don't know about exchange rate back
11        Q     Did she report to you about her           11   then. This number is what I can remember right
12   review of Eastern Profit before you purchased it?    12   now. All the details about the purchase of the
13        A     I think so. But to tell you the           13   company was handled by Natasha. I didn't know
14   truth, I don't remember because it was a long time   14   most of the details.
15   ago. I would say that I trusted her. In Chinese,     15         Q    What was Eastern Profit's
16   trust is everything.                                 16   capitalization?
17             Since I trusted her, I gave her full       17                 MR. CHUFF: Objection. The
18   authorization to handle matters for me in Hong       18             court has already said that the
19   Kong.                                                19             financial identity of Eastern Profit
20        Q     Did you put that authorization in         20             is off limits. Docket entry 189,
21   writing?                                             21             page 4. To the extent the defendant
22        A     Yes.                                      22             seeks to further -- inquire further
23        Q     What had Natasha done to earn your        23             regarding plaintiff's financial
24   trust?                                               24             situation is a request for a leave to
25        A     I met her. Also I met her in social       25             do so. Denied again for failure to

                                               Page 54                                                 Page 56

 1                  HAN CHUNGUANG                          1                   HAN CHUNGUANG
 2   settings. From what I learned about her, I felt       2             establish relevance.
 3   that she was someone that I could trust.              3        Q     Do you know the answer to my
 4         Q    You testified that you purchased           4   question?
 5   Eastern Profit to make investments. Once you          5        A     I don't understand to answer the
 6   purchased Eastern Profit, did it make any             6   question.
 7   investments?                                          7        Q     You don't want to say whether you
 8         A    Yes, some.                                 8   know the answer?
 9         Q    What were they?                            9        A     I just trying to tell you that I
10         A    I'm not at the liberty to reveal the      10   don't want to answer it. I don't want to answer
11   information here since that question is related to   11   any question related to this.
12   my business secret.                                  12        Q     Describe what a capitalization is for
13         Q    Can you describe your business secret     13   a business like Eastern Profit.
14   without revealing it?                                14                  MR. PODHASKIE: Objection.
15         A    Stocks.                                   15             Vague.
16         Q    The investment was in stocks?             16        A     It's difficult for me to say.
17                 MR. CHUFF: Objection to the            17        Q     Where was Eastern Profit formed?
18             form.                                      18        A     In Hong Kong.
19         A    No. I invested in stocks.                 19        Q     Does Eastern Profit have a business
20         Q    Did you invest Eastern Profit             20   address?
21   resources in stock?                                  21        A     Yes.
22         A    Yes.                                      22        Q     What is it?
23         Q    Isn't that public information?            23        A     Bank of China's building, 49th floor.
24                 MR. CHUFF: Objection. Form.            24                  THE INTERPRETER: Interpreter is
25         A    Yes. However, here I don't want to        25             translation, which may not be the

                                               Page 55                                                 Page 57

                                                                                       15 (Pages 54 to 57)
                                             Han Chunguang
                                            November 11, 2019
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 126 of 288

                                           Atkinson-Baker, Inc.
                                             www.depo.com

 1                  HAN CHUNGUANG                         1                   HAN CHUNGUANG
 2             official address.                          2   did not need anyone to select it for me.
 3        Q     Has that always been Eastern Profit's     3         Q     Did you sign any written document to
 4   business address?                                    4   make yourself director of Eastern Profit?
 5                 MR. CHUFF: Objection.                  5         A    Yes.
 6             Foundation.                                6         Q     Did you become a director of Eastern
 7        A     When you say that had this address        7   Profit at the same time you purchased it?
 8   been the business address of Eastern Profit, what    8         A    Yes.
 9   do you mean by that?                                 9         Q     What was the business of Eastern
10        Q     I understood you testified that          10   Profit when you purchased it?
11   Eastern Profit had a business location. Is that     11         A    Investment.
12   true?                                               12         Q     Did that purchase change over time?
13        A     Yes.                                     13         A    No. No. It had not.
14        Q     Where is Eastern Profit's business       14         Q     Was the amount that Eastern Profit
15   location?                                           15   invested the amount that you used to purchase
16        A     You asking me the company address;       16   Eastern Profit in the first instance?
17   right? The company address was Bank of China        17              Where did the fund come from that
18   Building, 49th floor.                               18   Eastern Profit used to make an investment?
19        Q     Was that always Eastern Profit's         19         A    For my family fund.
20   address since you purchased it?                     20         Q     Is that the family fund you work for
21        A     Yes.                                     21   today?
22        Q     Have you been there?                     22         A    Yes.
23        A     Yes, I did.                              23         Q     Who at the family fund did you work
24        Q     When was that?                           24   with to get the funds transferred so that Eastern
25        A     Wow. It was several years ago.           25   Profit could make investments?

                                              Page 58                                                   Page 60

 1                  HAN CHUNGUANG                         1                  HAN CHUNGUANG
 2         Q    How many times have you been to           2                 MR. CHUFF: Objection to form.
 3   Eastern Profit's office?                             3        A     This has nothing to do with this
 4         A    Several times.                            4   case, and this question, it's very proven to my
 5         Q    When you purchased Eastern Profit,        5   privacy. I don't want to answer it.
 6   did it have any other owners?                        6        Q     To put it in a timeframe, you became
 7         A    No. I was the only owner at the           7   a director of Eastern Profit in 2014?
 8   time.                                                8                 MR. CHUFF: Objection to form.
 9         Q    Describe your role with Eastern           9        A     That's correct. When I purchased it
10   Profit other than that you owned it for a period    10   in 2014.
11   of time?                                            11        Q     What educational experience did you
12                 MR. PODHASKIE: Objection.             12   have at that time to prepare you for the role of a
13             Form.                                     13   director of Eastern Profit?
14         A    Before I transferred the ownership to    14                 MR. CHUFF: Objection to form.
15   Guo Mei, I was a director of the company. After I   15        A     Is she asking me about my educational
16   had it transferred to Guo Mei, she was the          16   background?
17   director. I became her agent.                       17        Q     Yes, but specifically to give you the
18         Q    Is it true that you chose yourself to    18   preparation that you needed to be a director of
19   be the director of Eastern Profit?                  19   Eastern Profit.
20         A    When you say I choose myself to be       20        A     I went to two-year college.
21   director, I mean I don't really understand your     21   Secondly, Mr. Guo has been teaching me a lot.
22   question, by the way.                               22                 MS. WANG: That was at least
23         Q    Did someone select you to be a           23             three years, college.
24   director of Eastern Profit?                         24                 THE INTERPRETER: It's three
25         A    I purchased it. I was the boss. I        25             years in China. The interpreter

                                              Page 59                                                   Page 61

                                                                                       16 (Pages 58 to 61)
                                             Han Chunguang
                                            November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 127 of 288

                                            Atkinson-Baker, Inc.
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 1                  HAN CHUNGUANG                          1                    HAN CHUNGUANG
 2       Q      That is not the question.                  2   Hong Kong.
 3             The question is what, besides the           3         Q      Regarding Eastern Profit; correct?
 4   education you described, prepared you to be a         4         A      Yes.
 5   director of Eastern Profit?                           5         Q      Were you living in Hong Kong at the
 6        A     I purchased it and I became the            6   time?
 7   director of the company.                              7         A      Yes. When I purchased Eastern
 8        Q     So nothing other than the education        8   Profit, I lived in Hong Kong.
 9   you described prepared you to be a director of        9         Q      What education did Natasha have that
10   Eastern Profit?                                      10   allowed her to serve this role?
11                 MR. CHUFF: Objection. Asked            11                   MR. CHUFF: Objection. This is
12             and answered. Mischaracterizes the         12               completely beyond the scope. I let
13             testimony.                                 13               this go long enough. He's not --
14        A     Let me put it this way. My own            14                   MS. DONNELLI: Are you
15   experience, Mr. Guo's teaching, myself learning      15               testifying for the witness?
16   and what I have been learning from my family trust   16                   MR. CHUFF: I'm explaining why
17   or family fund, all this prepared me for it and      17               this line of questioning has to stop.
18   also prepared me for the future. It doesn't mean     18                   MS. DONNELLI: Why don't you
19   that I only learned things through a formal          19               just object to it rather than coach
20   education.                                           20               him?
21        Q     Did you review any written materials      21                   MR. CHUFF: I want to explain my
22   about Eastern Profit when you became its director?   22               basis. I'm not coaching him because
23                 MR. CHUFF: Objection to form.          23               he's not going to answer it.
24        A     I don't remember. In terms of all         24                   This is not a case where he's
25   the documents related to the company, they were      25               being sued for managing Eastern

                                               Page 66                                                  Page 68

 1                  HAN CHUNGUANG                          1                 HAN CHUNGUANG
 2   handled by Natasha, whom I trusted very much.         2            Profit a certain way. This is about
 3         Q    When Natasha was doing this role,          3            a contract between an entity and
 4   where was she employed?                               4            another entity.
 5                 MR. CHUFF: Objection. Asked             5                MS. DONNELLI: Why don't you
 6             and answered.                               6            just say I'm going to instruct him
 7         A    I don't know whom she was working for      7            not to answer. It will save a lot of
 8   at the time.                                          8            time, and it won't coach the witness.
 9         Q    Was she employed by Eastern Profit?        9                MR. CHUFF: He's not answering.
10         A    She was an agent authorized by me.        10        Q    Is Natasha's name spelled Q-U, first
11         Q    An agent authorized for Eastern           11   name, last name G-U. Last name is Q-U. First
12   Profit?                                              12   name G-U-O-J-I-A-O?
13         A    No. She was the agent authorized by       13        A    I don't know this name. I only know
14   me. At the time I was the boss of Eastern Profit,    14   the person I knew whose name was Natasha.
15   I authorized Natasha to handle a lot of stuff in     15        Q    Have you personally seen the written
16   Hong Kong for me.                                    16   records of Eastern Profit's business dealings?
17         Q    Was she an employee of Eastern            17                MR. CHUFF: Objection. Vague.
18   Profit?                                              18        A    I think so, yes.
19                 MR. CHUFF: Objection. Asked            19        Q    When was that?
20             and answered.                              20                MR. CHUFF: Objection. Vague.
21         A    An employee? You can say that.            21        A    I think several years ago.
22         Q    How long was she employed by Eastern      22        Q    What was the purpose of your review?
23   Profit?                                              23        A    When I purchase it, I of course
24         A    I think about two years. I'm only         24   looked into the document. I have to know what I
25   talking about she was handling matters for me in     25   was purchasing. Once I took over the company, I

                                               Page 67                                                  Page 69

                                                                                        18 (Pages 66 to 69)
                                             Han Chunguang
                                            November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 128 of 288

                                             Atkinson-Baker, Inc.
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 1                  HAN CHUNGUANG                          1                   HAN CHUNGUANG
 2   gave them to Natasha. I also gave her the CO and      2         A     What do you mean by that?
 3   stuff so that she could handle stuff for me in        3         Q     You've testified that Eastern
 4   Hong Kong.                                            4   Profit's assets were frozen. How did you come to
 5         Q    When you were serving as a director        5   know that?
 6   of Eastern Profit, were there any other directors     6         A     Natasha told me.
 7   besides yourself?                                     7         Q     So the freezing, excuse me, of the
 8         A    When I was the director of the             8   assets took place in the two years that Natasha
 9   company, no one else was.                             9   did services for Eastern Profit?
10         Q    When you were director of Eastern         10         A     I don't remember. It was a long time
11   Profit, was it successful?                           11   ago.
12         A    Was this successful company? How are      12         Q     After the assets of Eastern Profit
13   you going to define whether a company is             13   were frozen, was it able to conduct any business?
14   successful or not? Please teach me.                  14         A     Natasha could. Just one second.
15         Q    Were you pleased with the performance     15                  THE INTERPRETER: Can you repeat
16   of Eastern Profit when you were the director of      16              your question? I wanted to have your
17   it?                                                  17              question read back. I want to know
18                 MR. CHUFF: Objection.                  18              your question.
19             Relevance.                                 19                  (The requested portion of the
20         A    It was okay.                              20              record was read back by the
21         Q    Did Eastern Profit have any debts         21              reporter.)
22   when you were a director?                            22         A     After the asset was frozen, the
23                 MR. CHUFF: Objection. The              23   company didn't do any business.
24             court already ruled on this. There's       24         Q     What, as a director of Eastern
25             to be no questioning about the             25   Profit, did you do to challenge the order freezing

                                                Page 70                                                  Page 72

 1                   HAN CHUNGUANG                         1                  HAN CHUNGUANG
 2               independent financial identity of         2   Eastern Profit's assets?
 3               Eastern Profit. That's Docket 189,        3                 MR. CHUFF: Objection. Form.
 4               page 4. There's only one debt that's      4                 THE INTERPRETER: Interpreter
 5               relevant to this case.                    5             needs clarification from the witness.
 6           Q    Who took over from Natasha after she     6         A    At the end of 2017 Yvette told me
 7   left?                                                 7   there was this company that was very good at the
 8         A     No one else by the time the company       8   investigation, and the company was able to find
 9   was frozen.                                           9   out the government's corruption in China. This
10         Q     What caused the company to have its      10   would help me to have my assets un-freezed.
11   assets frozen?                                       11             When Yvette told me and say to me it
12         A     Actually, I wanted to know the answer    12   was a great idea, I mention it to Guo Mei, and
13   of your question. I want to know why the police      13   then I authorized Yvette to handle this matter for
14   took control of my company, and my assets was        14   me.
15   frozen, and the police took my people away.          15         Q    Were you still a director of Eastern
16              I really want to know the answer to       16   Profit when that took place?
17   your question.                                       17         A    Guo Mei was the director at the time.
18         Q     Was there anything you did as a          18   Why I was the agent.
19   director of Eastern Profit that caused that to       19         Q    Was the freezing of the assets of
20   happen?                                              20   Eastern Profit while you were a director of
21                  MR. CHUFF: Objection.                 21   Eastern Profit?
22         A     No. I have not done anything illegal     22         A    When the assets was frozen, no, I was
23   as a director.                                       23   not.
24         Q     How did you come to know that Eastern    24         Q    So the freezing of the assets took
25   Profit's assets were frozen?                         25   place after you were no longer director of Eastern

                                                Page 71                                                  Page 73

                                                                                        19 (Pages 70 to 73)
                                               Han Chunguang
                                              November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 129 of 288

                                            Atkinson-Baker, Inc.
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 1                   HAN CHUNGUANG                         1                  HAN CHUNGUANG
 2   Profit?                                               2   company to find out the Chinese government's
 3         A     That's correct. I was an agent.           3   corruptions. Number 2, to help me unfreeze my
 4         Q     How long had it been since you were a     4   assets. Number 3 to have my company back to
 5   director of Eastern Profit when the freezing of       5   normal.
 6   the assets happened?                                  6         Q    Did anyone replace Natasha after she
 7                  MR. CHUFF: Objection to form.          7   stopped doing work for Eastern Profit?
 8         A     How long? Again, I don't remember         8                 MR. CHUFF: Objection. Asked
 9   the specific, but I think about two years.            9             and answered. Relevance.
10         Q     So two years passed after you left       10         A    No.
11   being a director of Eastern Profit and when the      11                 MS. DONNELLI: We'll make this
12   assets of the company were frozen?                   12             the last couple of questions before
13                  MR. CHUFF: Objection to form.         13             our break.
14         A     Can you repeat your question?            14         Q    Prior to the time that Eastern
15         Q     How much time passed after you           15   Profit's assets were frozen, did Eastern Profit
16   stopped being a director of Eastern Profit and       16   operate a private equity fund?
17   when the assets were frozen?                         17                 MR. CHUFF: Objection. This
18         A     I don't remember.                        18             goes to the independent financial
19         Q     Who ordered the freezing of Eastern      19             control and identity of Eastern
20   Profit's assets?                                     20             Profit, and the court has already
21                  MR. PODHASKIE: Objection.             21             ruled this is not a permissible scope
22              Form.                                     22             of questioning.
23         A     I didn't know who ordered it. I          23                 MS. DONNELLI: Are you
24   really wanted to know the answer to your question.   24             instructing the witness not to
25   I think it was an order from the communist party     25             answer?

                                               Page 74                                                  Page 76

 1                 HAN CHUNGUANG                           1                   HAN CHUNGUANG
 2   in China.                                             2                  MR. CHUFF: Yes.
 3         Q    You don't know why the assets were         3         Q     When you were a director of Eastern
 4   frozen or what reason was given?                      4   Profit, did it have any clients?
 5                MR. CHUFF: Objection.                    5                  MR. CHUFF: Same objection. It
 6             Foundation.                                 6              goes to independent financial
 7         A    No, I don't.                               7              identity, and the court has already
 8         Q    You mentioned that transaction was         8              ruled on this.
 9   done by Eastern Profit with an investigation          9         Q     Which family trust did Eastern Profit
10   company.                                             10   give the money with which it was making
11             Do you remember your testimony?            11   investments?
12                THE INTERPRETER: Can I have the         12                  MR. CHUFF: Same objection.
13             question read back?                        13         Q     Did you receive compensation as a
14                (The requested portion of the           14   director of Eastern Profit?
15             record was read back by the                15         A     When I was the director of the
16             reporter.)                                 16   company?
17                MR. PODHASKIE: Objection.               17         Q     Yes.
18             Form.                                      18                  MR. PODHASKIE: Objection.
19         A    Yes.                                      19              Makes no sense. He's the owner, but
20         Q    Was the purpose of the investigation      20              I will let him answer.
21   to allow Eastern Profit to have its assets           21                  MS. DONNELLI: Please don't
22   unfrozen?                                            22              testify for the witness, counsel.
23         A    That was a part of it.                    23         A     I think so.
24         Q    What was the other part?                  24         Q     What was it?
25         A    Number 1, to hire this investigation      25         A     Are you talking about the revenue in

                                               Page 75                                                  Page 77

                                                                                        20 (Pages 74 to 77)
                                             Han Chunguang
                                            November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 130 of 288

                                           Atkinson-Baker, Inc.
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 1                 HAN CHUNGUANG                           1                  HAN CHUNGUANG
 2   my company?                                           2   ask her for opinion. Just part of a business
 3         Q    Any kind of compensation.                  3   routine.
 4                 MR. CHUFF: Objection.                   4        Q     Have you ever been a principal of
 5             Misleading.                                 5   Eastern Profit?
 6         A   Since I don't feel that this question       6                 MR. CHUFF: Objection. Asked
 7   has anything to do with this case, this is about      7             and answered.
 8   the finance of the company. I'm not going to          8        A     When are you talking about?
 9   answer it.                                            9        Q     Any time since 2014 to the present.
10         Q    Was the reason that you stopped being     10                 MR. CHUFF: Same objection.
11   a director of Eastern Profit because you weren't     11        A     I am always acting on behalf of
12   being paid for your work?                            12   Eastern Profit.
13                 MR. CHUFF: Objection. Vague.           13        Q     Has he ever held the title principal
14             Confusing and misleading.                  14   of Eastern Profit? Have you?
15         A   Again, this has nothing do with this       15                 MR. CHUFF: Same objection.
16   case. I'm not going to answer it.                    16        A     I don't really understand your
17         Q    Did you receive any compensation or       17   question. All I can say to you is that before I
18   payments as an agent of Eastern Profit?              18   transfer it, my company to her, I was the
19         A   I believe so. I believe when the           19   director. After I transfer my company to her, I
20   company's asset is unfreeze one day, I will          20   was the agent. That is it.
21   receive some compensation, because this is normal    21        Q     Do you receive compensation from
22   business model where I believe I will receive some   22   Golden Spring, New York?
23   compensation one day.                                23        A     No.
24         Q    Before Eastern Profit's assets were       24        Q     Have you ever?
25   frozen, did you receive any compensation?            25        A     No.

                                              Page 78                                                 Page 80

 1                  HAN CHUNGUANG                          1                HAN CHUNGUANG
 2                 MR. CHUFF: As an agent or a             2               MS. DONNELLI: We'll take a
 3             director?                                   3            break.
 4         Q    Either in your capacity as an agent        4               (At this time, a brief recess
 5   or a director?                                        5            was taken.)
 6                 MR. CHUFF: Objection.                   6               (Time noted: 12:54 p.m.)
 7             Compound. And to the extent it's            7               (After a luncheon recess was
 8             asking for compensation as an owner         8            taken, the following was had:)
 9             is misleading.                              9               (Time noted: 1:48 p.m.)
10         A    When you say about compensation, can      10
11   you be more specific, because I really don't         11        AFTERNOON SESSION
12   understand the word compensation.                    12   CONTINUED EXAMINATION
13         Q    It means wages, salary, money for any     13   BY MS. DONNELLI:
14   reason.                                              14       Q    We're here after a break.
15         A    When I was a director, when I was a       15           Would you say that --
16   boss, of course I received some money. Because I     16               MR. CHUFF: Could I just make
17   was making money or cost, I reaped the benefits.     17           one thing on the record.
18         Q    At Eastern Profit is there a              18               So we've been going for two and
19   difference between a principal and a director        19           a half hours now, and virtually none
20   role?                                                20           of the questioning has been within
21         A    Between principal and the director?       21           the scope of what the court ordered
22         Q    Yes.                                      22           Mr. Han to appear for.
23         A    Right now Guo Mei is the director of      23               If it continues, we reserve our
24   the company while I am her agent. When I'm           24           rights to seek fees from the court
25   handling her stuff for her out of respect, I will    25           after this deposition.

                                              Page 79                                                 Page 81

                                                                                       21 (Pages 78 to 81)
                                             Han Chunguang
                                            November 11, 2019
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 131 of 288

                                            Atkinson-Baker, Inc.
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 1                   HAN CHUNGUANG                         1                   HAN CHUNGUANG
 2          Q    Would you say, Mr. Han, that you were     2         A    I don't think Eastern Profit had ever
 3   very careful in your role as a director of Eastern    3   invested in car. But the company owned cars.
 4   Profit?                                               4         Q    How many cars did the company own
 5          A    What do you mean by that?                 5   when Mr. Han was a director?
 6          Q    You wanted everything done right as a     6                  MR. CHUFF: Objection. This is
 7   director of Eastern Profit; correct?                  7             all irrelevant.
 8          A    Yes.                                      8         A    Several.
 9          Q    You wouldn't have signed something        9         Q    Have you ever attended a director's
10   for Eastern Profit unless you were a director of     10   meeting for Eastern Profit?
11   it; right?                                           11                  MR. CHUFF: Objection. This
12                  MR. CHUFF: Objection.                 12             goes into the financial independence
13              Misleading. Mischaracterizes              13             of Eastern Profit, and the court
14              testimony.                                14             already ruled on this. You're not
15          A    I don't understand your question.        15             permitted to ask questions about it.
16   What do you mean by that?                            16         Q    You testified that you put a
17          Q    You wouldn't have signed something       17   signature on documents as an agent for Eastern
18   for Eastern Profit unless you were a director of     18   Profit. In connection with that, did you ever
19   Eastern Profit; right?                               19   attend any meeting giving you authority to do
20                  MR. CHUFF: Same objection.            20   that?
21          A    When I was an agent for a company, I     21         A    What kind of meeting?
22   had also signed some documents.                      22         Q    Any kind of meeting in which,
23          Q    Is one of Eastern Profit's               23   Mr. Han, you were given authority to make your
24   investments cars?                                    24   signature on behalf of Eastern Profit?
25                  MR. CHUFF: Objection. This is         25                  MR. CHUFF: Objection. Asked

                                               Page 82                                                   Page 84

 1                    HAN CHUNGUANG                        1                   HAN CHUNGUANG
 2               beyond the scope of the court order       2              and answered.
 3               Mr. Han is here for.                      3         A     In New York I authorized Yvette to
 4                   MS. DONNELLI: Are you                 4   handle the affairs for me here.
 5               instructing the witness not to answer     5         Q     What kind of reporting did Yvette do
 6               that? It comes directly from              6   to you after you authorized her?
 7               Miss Wang's testimony for Eastern         7         A     Yvette --
 8               Profit within the last couple of          8                  MR. CHUFF: Objection. Form.
 9               weeks.                                    9         A     Not much reporting from her because I
10                   MR. CHUFF: It's beyond the           10   trust her very much in the same position against
11               scope of what the court ordered for      11   communist party in China.
12               Mr. Han.                                 12              I have full confidence in her to
13                   MS. DONNELLI: So are you             13   handle the affair for me. There's not much
14               instructing the witness not to           14   reporting required from her. Of course
15               answer?                                  15   occasionally we talked a little bit about it.
16                   MR. CHUFF: You can ask your          16         Q     Did you authorize Yvette to handle
17               question.                                17   all the affairs of eastern profit or just the one
18                   MS. DONNELLI: Okay. Can you          18   involving the investigative project?
19               read it back? Thank you.                 19         A     Everything.
20                   (The requested portion of the        20         Q     For the everything, did you ever
21               record was read back by the              21   authorize Yvette to approve an invoice for Eastern
22               reporter.)                               22   Profit?
23        A       What cars?                              23                  MR. CHUFF: Objection. Assuming
24        Q       Any kind of investment in cars,         24              facts.
25   vehicles.                                            25         A     When I'm talking about my

                                               Page 83                                                   Page 85

                                                                                        22 (Pages 82 to 85)
                                             Han Chunguang
                                            November 11, 2019
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 132 of 288

                                            Atkinson-Baker, Inc.
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 1                  HAN CHUNGUANG                          1                   HAN CHUNGUANG
 2   authorization to Yvette, I'm actually talking         2         Q    Was that because the assets of
 3   about everything related to the hired                 3   Eastern Profit were frozen?
 4   investigation company.                                4         A    Yes.
 5        Q     I thought your testimony was that you      5         Q    What volume of assets of Eastern
 6   authorized a Yvette to handle all of the affairs      6   Profit were frozen?
 7   of Eastern Profit?                                    7                  MR. CHUFF: Objection. Vague as
 8        A     No. Thing related to this matter.          8             to what volume means.
 9        Q     What do you mean by "this matter"?         9         A    Are you asking me to give you a
10        A     To hire this investigation company        10   number or what?
11   and also to handle everything related to the hired   11         Q    More of a category. Was it all of
12   investigation company.                               12   Eastern Profit's assets that were frozen, a
13        Q     Was there anything else that you          13   portion of them, something less than all?
14   authorized Yvette to handle for Eastern Profit?      14         A    My company account or accounts was --
15        A     Only for this investigation and           15   all were freezed.
16   everything related to it.                            16                  THE INTERPRETER: Again in
17        Q     Did you get permission from Guo Mei       17             Chinese there's no singular or
18   to authorize Yvette?                                 18             plural.
19                 MR. CHUFF: Objection. Asked            19         Q    In total or just in part?
20             and answered.                              20         A    All.
21        A     I did not have to have permission for     21         Q    You testified that the reason that
22   Guo Mei. However, I did report it to her. I did      22   Eastern Profit got involved with the investigative
23   speak to her about it.                               23   company was to unfreeze Eastern Profit's assets.
24        Q     Were you the person who chose Yvette      24             Do you remember that testimony?
25   for her role versus someone else?                    25                  MR. PODHASKIE: Objection.

                                               Page 86                                                   Page 88

 1                  HAN CHUNGUANG                          1                   HAN CHUNGUANG
 2         A    Yes.                                       2              Mischaracterizes the testimony.
 3         Q    In connection with Yvette's work, did      3         A     Yes, I did.
 4   she have control over Eastern Profit's bank           4         Q     Was that project successful to
 5   accounts?                                             5   unfreeze Eastern Profit's assets?
 6                 MR. CHUFF: Objection. It's              6         A     Up to now, no. It's not successful.
 7             beyond the scope of what the court          7         Q     Eastern Profit's assets remain frozen
 8             allowed Mr. Han to testify about.           8   today; is that true?
 9         A    I don't want to answer this question.      9         A     Yes.
10         Q    Are you instructing the witness not       10         Q     Do you know how long that the
11   to answer the question? It relates specifically      11   investigative company was allowed to do its work?
12   to the work that Yvette did in relation to Eastern   12         A     When Yvette talked to me at the time,
13   Profit and the investigative project?                13   she said it would only take several months and we
14                 MR. CHUFF: Can you explain that        14   will see the result of it.
15             to me? I don't see how it does.            15         Q     When Eastern Profit didn't see the
16                 MS. DONNELLI: In connection            16   result of it, did it hire any other company to do
17             with that work I've asked did Yvette       17   the investigation?
18             have control over Eastern Profit's         18                  MR. CHUFF: Objection. Are you
19             bank accounts in connection with that      19              asking of the same targets, that's
20             work.                                      20              strategic vision?
21                 MR. CHUFF: You didn't use that         21                  MS. DONNELLI: Counsel, please
22             last phrase.                               22              don't testify for the witness. You
23         Q    In relation to the investigative          23              made an objection to form. Let us go
24   project.                                             24              on.
25         A    She couldn't.                             25                  MR. CHUFF: I'm just trying to

                                               Page 87                                                   Page 89

                                                                                        23 (Pages 86 to 89)
                                              Han Chunguang
                                             November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 133 of 288

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 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2             help you.                                   2   to enter into an arrangement with the
 3                 MS. DONNELLI: I don't think             3   investigative company?
 4             you're trying to help.                      4                 MR. PODHASKIE: Objection.
 5                 MR. CHUFF: I am because the             5             Beyond the scope of the court's
 6             court said you're allowed to ask            6             order.
 7             about the subjects that were part of        7         A    No. I give the full authorization to
 8             the Strategic Vision contract and not       8   Yvette. It was not necessary to require a
 9             other subjects.                             9   resolution.
10                 So if you want to ask about            10             Okay. Let me tell you why I give
11             those subjects, it's permissible.          11   Yvette full authorization over this matter. The
12             Otherwise it's not.                        12   reason was that Miss Guo was against communist
13        Q     Regarding any of the work that            13   party in China. I followed Mr. Guo's example. I
14   Eastern Profit hired the investigative company to    14   was also strongly against the communist party in
15   do, once that unfreezing of assets didn't happen,    15   China wands that was why the Chinese government
16   did Eastern Profit hire any other company for the    16   freeze my asset.
17   purpose of unfreezing the assets through             17             And when Yvette told me about this
18   investigative work?                                  18   wonderful company that would be able to expose the
19        A     This has nothing to do as it is.          19   Chinese government's corruption and it will give
20        Q     Please answer the question.               20   me an opportunity to get my asset back. She also
21        A     I don't want to answer.                   21   assured me that in U.S., this could be done
22                 MR. CHUFF: You can answer, if          22   legally, and I thought that this was wonderful
23             you know.                                  23   idea. I get gave her my full authorization to
24        A     Are you asking if Eastern Profit          24   handle this matters.
25   hires another investigative company to do the same   25             Like Miss Guo, we were all against

                                               Page 90                                                   Page 92

 1                HAN CHUNGUANG                            1                  HAN CHUNGUANG
 2   job.                                                  2   the communist parties in China. I gave her my
 3         Q    Yes. After the first investigative         3   full authorization to take charge of this matter.
 4   company was no longer doing the project.              4         Q    What is located at the Tai Yau
 5         A   I'm not sure.                               5   building located at 181 Johnston Road, Wanchai,
 6         Q    Your testimony is that you're not          6   W-A-N-C-H-A-I, Hong Kong, if you know?
 7   aware of any other company that came in after to      7                 MR. CHUFF: Objection. Beyond
 8   do the same work; true?                               8             the scope of the court's order.
 9         A   Yes.                                        9         A    This has nothing to do with this
10         Q    When Eastern Profit was entering into     10   case. I am not at liberty to answer this
11   the project with the investigation company, did      11   question.
12   Eastern Profit pass a resolution to allow that       12         Q    How do you know that the Chinese
13   transaction?                                         13   communist party was involved in the freezing of
14         A   I authorized Yvette to take care of        14   Eastern Profit's assets?
15   this business, and Yvette had my full                15         A    Can you repeat your question?
16   authorization to take care of things like this.      16             (Interpreter complying)
17         Q    Was a resolution signed by you            17         A    Mr. Guo was in stanch option to
18   allowing Yvette to do this?                          18   Chinese communist party. I followed his example,
19         A   I don't really understand what you         19   and as a result of my position, my family was
20   mean by resolution.                                  20   persecuted by the Chinese communist party, and
21         Q    Do you know what the term resolution      21   then my accounts in Hong Kong were freezed, and my
22   means in the context of a private company?           22   workers were taken away by the police.
23         A   Yes, I do.                                 23             Who else -- did they have such kind
24         Q    Did Eastern Profit's company bylaws       24   of power to take away my people without leaving a
25   require a resolution before Yvette was permitted     25   trace. It was only the communist party in China.

                                               Page 91                                                   Page 93

                                                                                         24 (Pages 90 to 93)
                                             Han Chunguang
                                            November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 134 of 288

                                            Atkinson-Baker, Inc.
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 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2        Q     When did you resign as a director?         2   her. All this was not contradictory to each
 3        A     On June 27, 2017 the company was           3   other.
 4   transferred to Guo Mei, and Guo Mei asked me to       4        Q     What do you mean by contradictory to
 5   continue to handle the company's affairs as an        5   each other?
 6   agent for her.                                        6                 MR. CHUFF: Objection.
 7                 MS. DONNELLI: Can you read the          7        A     She asked me to be her agent, to take
 8             question, because the witness did not       8   care of the affairs for her, and we were good
 9             accept it.                                  9   friends. And I say okay. Fine. I will do so.
10                 (The requested portion of the          10             I became an agent of the company.
11             record was read back by the                11   That was it.
12             reporter.)                                 12        Q     So Guo Mei asked you to resign from
13        A     June 27, 2017.                            13   your directorship of Eastern Profit?
14        Q     Why did you resign as a director of       14                 MR. CHUFF: Objection. Assumes
15   Eastern Profit?                                      15             facts. Mischaracterizes testimony.
16        A     This was one of my business'              16        A     No.
17   strategies which has nothing to do with this case.   17        Q     How did you come to know that Guo Mei
18   I'm not going to answer it.                          18   had a plan that required you to resign as director
19                 MS. DONNELLI: We'll need to ask        19   from Eastern Profit?
20             the witness to answer the question.        20                 MR. CHUFF: Objection. Assumes
21                 MR. CHUFF: Objection.                  21             facts. Mischaracterizes the
22             Argumentative. Asked and answered.         22             testimony. Beyond the scope of what
23        A     I don't want to answer this question,     23             the court ordered him to testify to.
24   and I insist that I not answer this question.        24        A     She told me she wanted to purchase my
25        Q     Do you have the answer to the             25   company to get into movie business. Then it's

                                             Page 102                                                   Page 104

 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2   question in your mind?                                2   long. Then she asked me to stay on to help her
 3         A    What answer?                               3   out as an agent.
 4         Q    If the answer to the question is you       4        Q     Wasn't it Mr. Guo's wish for his
 5   don't know why you resigned from the company,         5   daughter to purchase Eastern Profit from you?
 6   that's one thing. But if the witness has the          6                 MR. CHUFF: Objection. Beyond
 7   answer in his mind, he needs to give it in            7            the scope.
 8   response to the question.                             8        A    I don't know.
 9                 MR. CHUFF: Objection. I                 9        Q     Did you resign from Eastern Profit
10             disagree. It's clearly beyond the          10   because you needed someone to buy the stock from
11             scope of what the court ordered.           11   you, you were short on money?
12         A    I am not going to answer this             12                 MR. CHUFF: Objection. This is
13   question.                                            13            way beyond the scope that the court
14         Q    Explain why you resigned as director      14            allowed this witness to appear, and
15   of Eastern Profit that remained as you are           15            the topic then, the court allowed
16   testifying in a role allowing you to be involved     16            them to testify to.
17   with Eastern Profit?                                 17                 MS. DONNELLI: I'm about to hand
18                 MR. CHUFF: Objection. Asked            18            the witness a document that was
19             and answered.                              19            produced by Eastern Profit. I think
20         A    This was a business strategy of mine.     20            it is relevant. Why else would it
21   And when I transferred the company to Guo Mei, Guo   21            have been produced?
22   Mei had some intention to how to use this company.   22                 MR. CHUFF: Whether he needs the
23             She had her idea what she was going        23            money is in a document? I doubt it.
24   to do about it. And then she asked me to be an       24                 MS. DONNELLI: We're marking
25   agent for this company to handle the affairs for     25            this as Exhibit 30.

                                             Page 103                                                   Page 105

                                                                                     27 (Pages 102 to 105)
                                             Han Chunguang
                                            November 11, 2019
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 135 of 288

                                           Atkinson-Baker, Inc.
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 1                 HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2                (Defendant's Exhibit 30, Notice         2             take a break?
 3            of Change of Company Secretary and          3                 MR. CHUFF: If it's okay with
 4            Director (Appointment/Cessation)            4             you, yes.
 5            Bates stamped EASTERN-000400 to 402         5                 MS. DONNELLI: Let's take a
 6            marked for Identification as of this        6             break at the witness' request for,
 7            date.)                                      7             say, 10 minutes.
 8                MS. DONNELLI: This is the first         8                 (At this time, a brief recess
 9            exhibit we've used.                         9             was taken.)
10        Q    Mr. Han, if you turn to the third         10   CONTINUED EXAMINATION
11   page of the document. At the bottom of the          11   BY MS. DONNELLI:
12   document do you see your name typewritten?          12         Q    We're back on the record.
13        A    Yes.                                      13                 MR. CHUFF: We've gone another
14        Q    Is that the handwritten form of your      14             hour and still haven't hit the topics
15   name above it?                                      15             that the court Mr. Han to testify to.
16        A    Yes.                                      16             We're reserving the right to seek
17        Q    Did you place your name on this           17             fees for this waste of time.
18   document?                                           18         Q    I'm going to hand you, Mr. Han, a
19        A    Yes.                                      19   piece of paper. I have written three lines, and
20        Q    Did you place your name on this           20   I've asked for you to write your name, hand write
21   document on June 27, 2017?                          21   your name on those three lines.
22        A    Yes.                                      22             I'm going to hand you a document that
23        Q    The second page of the document, on       23   we're going to mark. By the way, that is
24   the box that is numbered 17, the second 17 at the   24   Exhibit 31, this piece of paper. The three places
25   bottom --                                           25   that the witness has written his name is 31.

                                            Page 106                                                  Page 108

 1                 HAN CHUNGUANG                          1                 HAN CHUNGUANG
 2        A    Yes.                                       2                (Defendant's Exhibit 31, a
 3        Q    -- who has signed there?                   3            piece of yellow paper containing the
 4                MR. CHUFF: Objection.                   4            witness' name handwritten three times
 5            Foundation.                                 5            marked for Identification as of this
 6        A    Guo Mei's signature.                       6            date.)
 7        Q    Did Guo Mei ask you to sign this           7                MR. CHUFF: Will that be going
 8   Exhibit 30?                                          8            to the reporter?
 9                MR. CHUFF: Objection. This is           9                MS. DONNELLI: Yes. The
10            treading into what the court has said      10            reporter is going to keep the
11            counsel may not ask about which is         11            exhibits.
12            the sale of Eastern Profit from            12                We're going to mark as
13            Mr. Han to Guo Mei. It's docket            13            Exhibit 32 a document. It already
14            entry 189, pages 3 and 4. It was on        14            has an exhibit label as Guo.
15            the relevance grounds.                     15                (Defendant's Exhibit 32, a
16        Q    Mr. Han, is Exhibit 30 the official       16            two-page document titled Limited
17   record of your resignation as a director of         17            Power of Attorney Bates stamped
18   Eastern Profit?                                     18            EASTERN-000276 and 277 marked for
19                THE INTERPRETER: The witness           19            Identification as of this date.)
20            wants the interpreter to retranslate       20        Q    What is the title of this document,
21            the question. Interpreter will do          21   Mr. Han?
22            so.                                        22        A    Can you translate it for me.
23                (Interpreter complying)                23                MS. DONNELLI: Can you translate
24        A    Yes.                                      24            the title of the document for him?
25                MS. DONNELLI: Do we want to            25        A    I understand.

                                            Page 107                                                  Page 109

                                                                                    28 (Pages 106 to 109)
                                            Han Chunguang
                                           November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 136 of 288

                                            Atkinson-Baker, Inc.
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 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2        Q     All right. The second page, is that        2                 MR. PODHASKIE: Objection.
 3   your handwritten name above the words Chunguang       3             Asked and answered.
 4   Han?                                                  4                 THE INTERPRETER: Interpreter
 5        A     Yes.                                       5             needs the witness to repeat one
 6        Q     Did you place your handwritten             6             portion of answer.
 7   signature there?                                      7                 (Witness complying)
 8        A     Yes.                                       8        A     Guo Mei gave me authorization to
 9        Q     Was this on behalf of Eastern Profit?      9   agent, and then I gave the authorization to Yvette
10        A     Yes.                                      10   to handle the matters.
11        Q     What was the purpose of this              11        Q     Was Yvette an agent also?
12   document?                                            12        A     Yes. After I gave her the
13        A     This was a Power of Attorney that I       13   authorization, she handled the matters, all the
14   gave Yvette the authority to handle the              14   matters on my behalf.
15   investigation company's matter.                      15        Q     Were the authorizations done at the
16        Q     When did you sign this?                   16   same time?
17        A     Last year, 2018.                          17                 MR. CHUFF: Objection. Asked
18        Q     Who asked you to sign this on behalf      18             and answered.
19   of Eastern Profit?                                   19        A     After June 27, 2017 when I
20        A     I don't understand your question.         20   transferred my company to Guo Mei, Guo Mei
21                 (The requested portion of the          21   authorized me to be her agent. And then not long
22             record was read back by the                22   after that, I authorized Yvette to handle the
23             reporter.)                                 23   matter for me.
24                 MR. CHUFF: Objection. Assumes          24        Q     Was the authorization from Guo Mei to
25             facts.                                     25   you put in writing?

                                              Page 110                                                 Page 112

 1                  HAN CHUNGUANG                          1                   HAN CHUNGUANG
 2         A    Yvette told me at the time we were         2                  MR. CHUFF: Objection. Asked
 3   lied to, we were deceased, and we might have to       3              and answered.
 4   file a lawsuit against the other parties.             4         A     No. Orally only.
 5             One day last year Yvette called me          5         Q     Was your authorization to Yvette put
 6   saying that she had this document for me to sign      6   in writing?
 7   to authorize her to handle all these matters. I       7         A     Here.
 8   said okay. And then I went to Yvette's, yes,          8         Q     I'm sorry. It's Exhibit 32?
 9   Yvette's office to sign this document.                9         A     Yes.
10         Q    Where was Yvette's office located?        10         Q     At the time that you signed
11                 MR. CHUFF: Objection. Asked            11   Exhibit 32, you were no longer a director of
12             and answered.                              12   Eastern Profit; correct?
13         A    800 Fifth Avenue.                         13                  MR. CHUFF: Objection. Asked
14         Q    So you did not prepare this document      14              and answered.
15   yourself?                                            15         A     That's correct.
16         A    No, I did not.                            16         Q     As a director of Eastern Profit, you
17         Q    Why did Guo Mei not sign this             17   never allowed it to enter into a transaction
18   document?                                            18   without signing a contract; correct?
19         A    Because Guo Mei gave me the               19         A     I don't understand your question.
20   authorization to handle the matters, and I gave      20         Q     When you were a director of Eastern
21   the authorization to Yvette to handle the matters.   21   Profit, did it enter into any transaction without
22   And Yvette would report to me.                       22   signing a written document?
23         Q    So we have two authorizations, one        23                  MR. CHUFF: Objection. Form.
24   from Guo Mei to you and one from you to Yvette;      24         A     I don't understand your question.
25   correct?                                             25   What do you mean by transaction without contract.

                                              Page 111                                                 Page 113

                                                                                     29 (Pages 110 to 113)
                                              Han Chunguang
                                             November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 137 of 288

                                            Atkinson-Baker, Inc.
                                              www.depo.com

 1                  HAN CHUNGUANG                          1                   HAN CHUNGUANG
 2   personally or something else?                         2   the payment was going to come from the company
 3        A     On behalf of Eastern Profit.               3   itself since the asset was freezed. I instead
 4        Q     We see from the first page of              4   borrowed money from him.
 5   Exhibit 35 that it's dated December 29, 2017.         5         Q     I thought you testified that Natasha
 6             Do you see that on the first line?          6   stopped working for Eastern Profit in 2016, two
 7                 MR. CHUFF: Objection.                   7   years after you became director.
 8        A     Yes.                                       8                  MR. CHUFF: Objection.
 9        Q     By December, 2017, you hadn't been a       9              Mischaracterizes the testimony.
10   director of Eastern Profit for several months;       10         A    Who are you talking about?
11   correct?                                             11         Q     The person who the witness, Mr. Han,
12        A     Yes, that's correct.                      12   talked about. Mr. Han, I believe you testified
13        Q     So why did you believe you were in a      13   that Natasha worked for Eastern Profit for two
14   position to ask to borrow money for Eastern Profit   14   years.
15   at that time?                                        15              Did I remember that correctly?
16                 MR. CHUFF: Objection. Asked            16         A    I think you misunderstood my answer.
17             and answered.                              17   Previously when I say that she had worked for the
18                 MS. DONNELLI: Counsel, we              18   company for two years, I thought I was trying to
19             haven't even gotten into this              19   tell you she worked for a company during the two
20             document. How it could be asked and        20   years I was the director.
21             answered, I believe it couldn't have       21              But after that, she still helped out
22             been.                                      22   with the company's affairs.
23                 MR. CHUFF: He testified to             23         Q     Mr. Han, weren't you a director of
24             his --                                     24   Eastern Profit for three years, not two?
25                 MS. DONNELLI: Please stop              25         A    I don't remember exactly how long.

                                              Page 130                                                 Page 132

 1                 HAN CHUNGUANG                           1                  HAN CHUNGUANG
 2            testifying for the witness.                  2   It was more than two years.
 3                MR. CHUFF: You're trying to              3        Q    I thought you also testified,
 4            confuse the witness. He testified to         4   Mr. Han, that Natasha was a person who was taken
 5            his authority earlier. That's all I          5   by the Chinese communist party?
 6            will say.                                    6        A    Yes.
 7                MS. DONNELLI: Oh, because                7        Q    So how was Natasha able to inform you
 8            you've answered the question for him,        8   in December of 2017 that Eastern Profit needed to
 9            so you can just stop; is that it?            9   borrow money?
10            Please stop instructing this witness        10        A    I don't think she was taken away in
11            how to answer.                              11   2017. I think she was taken by the police last
12                MR. CHUFF: You need to stop             12   year in 2018.
13            trying to confusion the witness.            13        Q    How many times did you meet with
14                MS. DONNELLI: Can you read the          14   Mr. G in person about this loan agreement?
15            question back, please.                      15        A    I think two or three times.
16                (The requested portion of the           16        Q    Was that before or after the meeting
17            record was read back by the                 17   in the hotel lobby?
18            reporter.)                                  18        A    I think before.
19        A    Yes. As I have previously testified        19        Q    Mr. G brought this loan agreement
20   numerous times, Guo Mei authorized me as her agent   20   with him to meet you in the hotel lobby; correct?
21   to handle matters on behalf of Eastern Profit.       21        A    Before this, we talked about a loan
22        Q    How did you know that Eastern Profit       22   over the phone, and then William drafted the
23   needed to borrow money as this Exhibit 35 shows?     23   document. At the end, he brought it to the hotel
24        A    Because Natasha at the time told me        24   lobby, to which both of us signed.
25   the company assets were frozen. And at the time      25        Q    You were the one then who negotiated

                                              Page 131                                                 Page 133

                                                                                     34 (Pages 130 to 133)
                                             Han Chunguang
                                            November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 138 of 288

                                            Atkinson-Baker, Inc.
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 1                 HAN CHUNGUANG                           1                   HAN CHUNGUANG
 2   the terms of the loan on behalf of Eastern Profit;    2   would tell the fiscal department about this loan.
 3   correct?                                              3         Q     The fiscal department at Eastern
 4                MR. CHUFF: Objection.                    4   Profit or somewhere else?
 5            Mischaracterizes the testimony.              5         A     Of course Eastern Profit.
 6        A    Yes. William and I talked over the          6         Q     Did you explore what the terms would
 7   phone about the interest payment of 2 percent and     7   be for Eastern Profit if it borrowed the money
 8   about a half year and stuff like that.                8   from someone other than Mr. G?
 9        Q    How about the amount of the loan, did       9         A     No.
10   you negotiate that?                                  10         Q     Why not?
11        A    A million dollars.                         11         A     There was no reason why. Besides, if
12                THE INTERPRETER: Interpreter            12   you look at these tons, they were acquired no more
13            need to clear it with the witness.          13   in terms of Hong Kong needs market. As a matter
14        A    Yes, U.S.D.                                14   of fact, if you compare the terms to other loans,
15        Q    When Mr. G handed you this document,       15   they were quite reasonable.
16   did you say to him wait, I can't sign this because   16         Q     But Mr. Han, did you compare the
17   I'm no longer a director of Eastern Profit?          17   terms of any other possible loan before signing
18                MR. CHUFF: Objection.                   18   this document?
19            Misleading.                                 19         A     No.
20        A    No, I did not.                             20         Q     Is it your testimony that you and
21        Q    Did you keep a copy of this loan           21   Mr. G placed your respective signatures on this
22   agreement after you signed it that day in the        22   document on December 29, 2017?
23   hotel lobby with Mr. G?                              23                  MR. CHUFF: Objection. Asked
24        A    No.                                        24              and answered.
25        Q    Why not?                                   25         A     Yes.

                                              Page 134                                                 Page 136

 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2         A    There was no reason why.                   2         Q    When you met with Mr. G to sign this
 3         Q    Mr. Han, you signed this document on       3   loan agreement, did you have anything to eat or
 4   behalf of Eastern Profit; correct?                    4   drink with him?
 5         A    Yes.                                       5         A    No.
 6         Q    Was any other representative of            6                MR. CHUFF: Counsel, whenever
 7   Eastern Profit with you at the meeting in the         7             you get to a natural spot, can we
 8   hotel lobby where you signed this loan agreement?     8             take a 5 or 10-minute break.
 9         A    No.                                        9                MS. DONNELLI: Okay.
10         Q    Did you have any certainty that           10                MR. CHUFF: It doesn't have to
11   Eastern Profit, for which you've testified you       11             be right now. Just whenever you get
12   were an agent, was going to even get a copy of       12             there.
13   this loan agreement if you didn't leave that         13                MS. DONNELLI: Thank you.
14   meeting with a copy of it?                           14         Q    What is the status of this loan as we
15                 MR. CHUFF: Objection to form.          15   sit here today?
16         A    After the assets of Eastern Profit        16         A    The money is still owed.
17   was freezed, this was the only one loan I made was   17         Q    Has Eastern Profit made any payment
18   such a huge amount. Of course I remembered. Once     18   on this loan?
19   the asset is un-freezed, I would tell the fiscal     19         A    No, because the asset continues being
20   about it. He had money, the one handle the money.    20   freezed.
21         Q    What does the term fiscal mean in         21                MS. DONNELLI: The witness'
22   relation to Eastern Profit?                          22             counsel has asked for break. We'll
23         A    What I mean is that the time I            23             take a short 10-minute break.
24   borrowed this money on behalf of the company, of     24                (At this time, a brief recess
25   course eventually the loan has to be paid. And I     25             was taken.)

                                              Page 135                                                 Page 137

                                                                                     35 (Pages 134 to 137)
                                              Han Chunguang
                                             November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 139 of 288

                                            Atkinson-Baker, Inc.
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 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2   Yvette told you that you needed to get money and      2         A    No.
 3   when you actually got the money from William G?       3         Q    Do you know who Lianchao Han is?
 4         A    Several days.                              4   L-I-A-N-C-H-A-O H-A-N.
 5         Q    Was it less than a month?                  5         A    Can you just repeat it again.
 6                 MR. CHUFF: Objection. Asked             6         Q    Lianchao Han.
 7             and answered.                               7         A    The way you read it, I don't think
 8         A    Again, I don't remember, but I think       8   so. You're not telling me. I don't know this
 9   it was a month, several days later.                   9   person the way you read it. The way you spell it,
10         Q    What collateral did Eastern Profit        10   L-I-A-N-C-H-A-O. Lianchao, I don't know this
11   give for the loan?                                   11   person.
12                 MR. PODHASKIE: Objection.              12         Q    Do you know someone with a name
13                 MR. CHUFF: Objection. Assumes          13   similar to that?
14             facts.                                     14                 MR. CHUFF: Objection to form.
15         A    When you say collateral, what do you      15         A    Again, I don't have any impression of
16   mean?                                                16   this name.
17         Q    Security for the repayment of the         17         Q    This morning I introduced you to
18   loan.                                                18   French Wallop who is sitting to my left.
19         A    Number 1, the guarantee was that when     19         A    Mm-hmm.
20   the assets company was un-freezed as a result of     20         Q    Have you ever seen Miss Wallop before
21   the investigation, I will return him the money and   21   today?
22   pay him back the loan.                               22         A    No. I don't have a memory of it.
23             Secondly, we were good friends. We         23         Q    Did you ever prepare a meal for
24   had enough trust.                                    24   Miss Wallop and in Mr. Guo's apartment?
25         Q    If you had enough trust, why isn't        25                 MR. PODHASKIE: Objection. I

                                             Page 146                                                  Page 148

 1                  HAN CHUNGUANG                          1                  HAN CHUNGUANG
 2   Yvette dealing with William G now instead of you?     2             don't understand scope.
 3                 MR. CHUFF: Objection. Form.             3        A     Why would I prepare a meal for her,
 4         A   There was no why. I give Yvette the         4   especially I am not even a chef.
 5   full authority to take care of this matter, and       5        Q     So it's a yes or no question. Please
 6   she took care of this matter for me. That was it.     6   answer it.
 7         Q    Do you know the individual name Je         7        A     No.
 8   Kin Ming? J-E K-I-N M-I-N-G.                          8                 MR. CHUFF: Objection.
 9         A   No.                                         9        Q     I introduced you this morning to
10         Q    Do you ever exchange E-mails with         10   Mr. Michael Waller, who is sitting to the left of
11   William G?                                           11   me.
12         A   No.                                        12             Mr. Waller, have you ever seen
13         Q    You've never received an E-mail from      13   Mr. Waller before today?
14   William G?                                           14        A     Again, I don't have any impression of
15         A   No.                                        15   him.
16         Q    Have you ever met Karen Maistrello?       16        Q     Were you present when the terms of
17                 MR. CHUFF: Objection to form.          17   the investigation contract between Eastern Profit
18         A   I don't have impression of her.            18   and the investigation company were negotiated?
19         Q    You've never met Karen Maistrello?        19                 MR. PODHASKIE: Objection.
20                 MR. CHUFF: Objection.                  20             Asked and answered.
21             Mischaracterizes the testimony.            21        A     No.
22         A   When you just bring this name up, I        22        Q     Did you have any role in the
23   don't have any impression of it.                     23   negotiation of the contract between Eastern Profit
24         Q    What about if the first name is           24   and the investigative company?
25   Karen?                                               25                 MR. CHUFF: Same objection.

                                             Page 147                                                  Page 149

                                                                                     38 (Pages 146 to 149)
                                             Han Chunguang
                                            November 11, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 140 of 288

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 1
 2           ACKNOWLEDGMENT
 3
 4   STATE OF NEW YORK   )
 5                ss:
 6   COUNTY OF ___________ )
 7
 8        I, Han Chunguang, hereby certify that I
 9   have read the transcript of my testimony taken
10   under oath in my deposition of November 11, 2019;
11   that the transcript is a true and complete record
12   of my testimony, and that the answers on the
13   record as given by me are true and correct.
14
15
16                 _____________________________
17                   HAN CHUNGUANG
18
19
20   Subscribed and sworn to before me
21   This     day of         2019
22   _________________________________
23        (NOTARY PUBLIC)
24
25

                                             Page 158

 2
 3             CERTIFICATE
 4
 5           I, Terri Fudens, a stenotype reporter
 6   and Notary Public within and for the State of New
 7   York, do hereby certify:
 8           That the witness whose testimony is
 9   hereinbefore set forth was duly sworn by me and
10   that such testimony is a true record of the
11   testimony given by such witness.
12           I further certify that I am not related
13   to any of the parties by blood or marriage, and
14   that I am in no way interested in the outcome of
15   this matter.
16           IN WITNESS WHEREOF, I have hereunto set
17   my hand.
18   Signature Requested
19
20
21        _____________________________
               Terri Fudens
22
23
24
25

                                             Page 159

                                                                  41 (Pages 158 to 159)
                                             Han Chunguang
                                            November 11, 2019
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 141 of 288




                       Exhibit H
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 142 of 288

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 1              ***** C O N F I D E N T I A L ****

 2              IN THE UNITED STATES DISTRICT COURT

 3             FOR THE SOUTHERN DISTRICT OF NEW YORK

 4                                 - - -

 5   EASTERN PROFIT CORPORATION,          )
     LIMITED,                             )
 6                                        )
        Plaintiff/Counterclaim Defendant, )
 7                                        )
          v.                              )            Case No.
 8                                        )            18-cv-2185
     STRATEGIC VISION US, LLC,            )            (JGK)
 9                                        )
        Defendant/Counterclaim Plaintiff. )
10   --------------------------------------

11

12

13                            DEPOSITION OF

14                            LIANCHAO HAN

15                         WASHINGTON, D.C.

16                           AUGUST 28, 2019

17

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     FILE NO. AD07997
21

22




                                                                            Page 1
                         Lianchao Han - Confidential
                              August 28, 2019
         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 143 of 288

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 1        Q.    After you came to the U.S., maybe if you          09:19    1   that you are a speaker and writer about U.S.-Chinese    09:23

 2   just could walk us through your career since you've          09:19    2   relations?                                              09:23

 3   been here.                                                   09:19    3        A.    Correct.                                     09:23

 4         A.   I went to a year of law school and I              09:19    4        Q.    And you follow domestic politics in          09:23

 5   didn't quite -- I finished a program, but when the           09:19    5   China as well?                                          09:23

 6   Tieneman Square massacre occurred and I become a             09:19    6        A.    Correct.                                     09:23

 7   student leader in this country, we organized protests        09:20    7        Q.    If I were to ask you what Chairman --        09:23

 8   against China's crackdown, and about 300 universities        09:20    8   well, let me back up for a second.                      09:23

 9   in this country, the Chinese student scholars formed         09:20    9        Who is the president of China?                     09:23

10   a group that elected me as their first vice                  09:20   10        A.    Xi Jinping.                                  09:23

11   president. So we carried out the pro-democracy               09:20   11        Q.    Is he also the chairman of the Chinese       09:23

12   protest of, you know, Chinese students in this               09:20   12   Communist Party?                                        09:23

13   country and, also, we prepared ourself for to                09:20   13        A.    Yes.                                         09:23

14   practice democracy and to learn how democracy works          09:20   14        Q.    Have you heard of a program of his           09:23

15   here and, meanwhile, we lobby U.S. Congress, U.S.            09:20   15   called China Dream?                                     09:23

16   Government, for a tougher human rights policy against        09:20   16        A.    Yes.                                         09:23

17   China.                                                       09:21   17        Q.    What is that?                                09:23

18         So after, I did that work in Washington, D.C.          09:21   18        A.    It is his idea. It's rhetoric about          09:23

19   for about a year and I worked in the U.S. Senate for         09:21   19   rejuvenating the nationalism of China. That's           09:23

20   about 12 years. I worked for three different                 09:21   20   basically what it is.                                   09:23

21   Senators, served as a staff attorney, staff                  09:21   21        Q.    Okay. And what does rejuvenating of the      09:23

22   legislative counsel, and policy director. After              09:21   22   nationalism of China entail, more specifically?         09:24



                                                               Page 10                                                              Page 12

 1   that, I went back to finish my Ph.D., and after              09:21    1         A.    More specifically --                        09:24

 2   Ph.D., I went back to community college to study             09:21    2         MR. GAVENMAN: Objection to form.                  09:24

 3   science and went to John Hopkins to get another              09:21    3         THE WITNESS: Huh?                                 09:24

 4   master's degree in biotechnology, and when Liu               09:21    4         MR. GAVENMAN: I said objection to form.           09:24

 5   Xiaobo, we promoted Liu Xiaobo to get the Nobel Peace        09:21    5         THE WITNESS: It's, basically, you know, make      09:24

 6   Prize, and after that, I feel that we want to                09:21    6   China the greatest country in the world.                09:24

 7   organize to run Liu Xiaobo.                                  09:22    7   BY MR. GREIM:                                           09:24

 8         So I joined a human rights group called                09:22    8        Q.     Does that entail competition with the       09:24

 9   Citizens for Initiative for China and I served as the        09:22    9   United States?                                          09:24

10   vice president of the group until now. I'm still the         09:22   10         A.    Absolutely.                                 09:24

11   vice president of the group. So we basically lobby           09:22   11         Q.    Does it involve undermining United          09:24

12   Congress, educate American general public about China        09:22   12   States' interests?                                      09:24

13   and about, you know, for improved democracy for human        09:22   13         A.    Of course.                                  09:24

14   rights.                                                      09:22   14       Q. Now, I take it, based on the background 09:24
15        Q.    Now, is it true -- I mentioned earlier            09:22   15   that you've just given us, that one of your goals is 09:24
16   that you're an attorney. You're a patent attorney;           09:22   16   not to advance President Xi's goals. Am I right         09:24

17   is that right?                                               09:22   17   about that?                                             09:24

18         A.   Correct.                                          09:22   18         MR. GRENDI: Object to the form.                   09:24

19        Q.    Do you have any patents?                          09:22   19         THE WITNESS: Yes.                                 09:24

20         A.   I didn't myself. I didn't get a chance            09:22   20         MR. GREIM: Okay. Brief interlude: I want          09:25

21   to file.                                                     09:22   21   to mark as Exhibit 1 a production I received from       09:25

22        Q.    Okay. Okay. Is it also fair to say                09:22   22   your counsel in the wee hours.                          09:25



                                                               Page 11                                                              Page 13

                                                                                                                         4 (Pages 10 to 13)
                                                     Lianchao Han - Confidential
                                                          August 28, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 144 of 288

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 1   introduced Mike and French to Miles. Miles feel like        09:31    1   platform.                                                 09:34

 2   he is cheated by them. So when I learned the                09:31    2        Q.     Have you received any sort of threats         09:34

 3   supporters are about to attack me personally, I sent        09:31    3   from Yvette Wang or Mr. Podhaskie, sitting here today     09:35

 4   him a message and I said how can you, you know, let         09:31    4   on behalf of Golden Spring?                               09:35

 5   your supporters do this to me.                              09:31    5        A.     No.                                           09:35

 6          So he called me back and discussed and we            09:31    6        MR. GRENDI: Objection to form.                       09:35

 7   argued, you know, for quite a while and then, you           09:31    7   BY MR. GREIM:                                             09:35

 8   know, just ended that. He kept asking me who gave           09:31    8        Q.     Let me ask you have you had any               09:35

 9   you that information, who tell you that my supporters       09:31    9   communications with Mr. Podhaskie here before today? 09:35
10   are going to attack you personally. I said I won't          09:31   10        A.     I did.                                        09:35

11   be able to tell you that, and he pressured me many,         09:32   11        Q.     What were those communications?               09:35

12   many times. I refused to tell him.                          09:32   12        A.     Mostly focused on the case against Clark      09:35

13          So when it ended, that's the only time we            09:32   13   Hill. He asked me -- he's bothering me, actually,         09:35

14   discussed this, and a few times when I was in his           09:32   14   about, you know, the case and I have been giving my       09:35

15   office, he mentioned about it as well, but we               09:32   15   accounts five, six times to different lawyers. I          09:36

16   obviously have different views about our perception.        09:32   16   just got really tired of that. He pressured me for        09:36

17          Q.    The longer discussion that you just            09:32   17   giving more. So that's why we were back and forth         09:36

18   testified to --                                             09:32   18   about it.                                                 09:36

19          A.    Yeah.                                          09:32   19        Q.     I'm sorry. What was the Clark Hill            09:36

20          Q.    -- was this after the lawsuit was filed?       09:32   20   case?                                                     09:36

21          A.    I don't know when this lawsuit was             09:32   21        A.     Clark Hill case is Miles is suing them,       09:36

22   filed. So I have no idea if it was before or after.         09:32   22   is about maybe suing them for his political asylum,       09:36



                                                              Page 18                                                                Page 20

 1       Q.      Okay. Was it after the -- do you                09:32    1   and Clark Hill was representing him originally to do      09:36

 2   recall, at some point, there was a letter terminating       09:32    2   the political asylum case and then right after, you       09:36

 3   the contract from the Foley, Hogue law firm?                09:32    3   know, they file the application, the Chinese cyber        09:36

 4        A.     I didn't.                                       09:32    4   attacked, basically hijacked the entire firm and          09:36

 5       Q.      No? Do you recall if it was soon after          09:32    5   forced the Clark Hill to drop representation of him.      09:36

 6   the work on the project started -- stopped?                 09:33    6          As a result, Miles' application was exposed        09:37

 7        A.     That, I don't specifically remember. I          09:33    7   because Chinese hackers got the information and           09:37

 8   think it must be a while after it stopped.                  09:33    8   posted online, which is damaging to his personal          09:37

 9       Q.      Did Mr. Guo deny to you that he had             09:33    9   safety.                                                   09:37

10   supporters who were going to attack you?                    09:33   10          Q.    Now let me ask you when were your            09:37

11        A.     He didn't deny it.                              09:33   11   interactions with Mr. Podhaskie about that matter?        09:37

12       Q.      What do you mean when you say that              09:33   12          A.    I would say I don't know when he was         09:37

13   supporters of Guo were going to personally attack           09:33   13   hired. I think it's back and forth probably through       09:37

14   you?                                                        09:33   14   maybe over half a year, maybe eight months. I don't       09:37

15        A.     At one point, I think Miles made a video        09:33   15   remember specifically.                                    09:37

16   to see. I assured him four times a hundred percent          09:34   16          Q.    Half a year or eight months ago?             09:37

17   Mike and French are going to deliver what he's asking       09:34   17          A.    Yes. Eight months ago, maybe a year          09:37

18   for, which I did, and then the supporters say, you          09:34   18   ago.                                                      09:37

19   know, I must be in the scam to cheat him, so asking         09:34   19          Q.    And we're about to move on. I just want      09:37

20   him when should we attack Lianchao Han.                     09:34   20   to make sure I understand this.                           09:38

21       Q.      Were these supporters online supporters?        09:34   21          A.    Yeah.                                        09:38

22        A.     I think they were through a private chat        09:34   22          Q.    How is it that you would have                09:38



                                                              Page 19                                                                Page 21

                                                                                                                          6 (Pages 18 to 21)
                                                   Lianchao Han - Confidential
                                                        August 28, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 145 of 288

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 1       Q.    What do you mean, "within the system"?           09:49    1   him with his various efforts to obtain political           09:52

 2        A.   With the communist, work for the Chinese         09:49    2   asylum from that point forward?                            09:52

 3   Government. I didn't know the source, but I just           09:49    3        A.    Correct.                                        09:52

 4   didn't remember if he said that in the meeting or          09:49    4        Q.    What was your initial impression of Mr.         09:52

 5   later, but that's my impression.                           09:49    5   Guo?                                                       09:52

 6       Q.    Well, let me back up for a second. When          09:49    6        A.    I think he's a genuine warm person. He          09:52

 7   did you first remember meeting her?                        09:49    7   has a deep knowledge of how the communist system           09:53

 8        A.   Meeting Yvette?                                  09:50    8   works and he has a reason to expose the high-ranking       09:53

 9       Q.    Um-hum.                                          09:50    9   government officials that are corrupt and, also, he        09:53

10        A.   I think maybe two years ago.                     09:50   10   has many defects of the people from the communist          09:53

11       Q.    Okay. So it would be late summer of              09:50   11   system.                                                    09:53

12   2017?                                                      09:50   12        Q.    What do you mean by that?                       09:53

13        A.   It will be August or September. August,          09:50   13        A.    Like --                                         09:53

14   most likely, yeah, August.                                 09:50   14        MR. GRENDI: Objection to form.                        09:53

15       Q.    How are you able to remember that time?          09:50   15        THE WITNESS: He probably won't tell you               09:53

16        A.   That was political asylum. Miles tried           09:50   16   exactly what he thinks. Sometimes he exaggerates           09:53

17   to -- that's why we were introduced to him and he did      09:50   17   what he's done and stuff like that.                        09:53

18   help him with his political asylum. Yeah.                  09:50   18   BY MR. GREIM:                                              09:53

19       Q.    What I should have asked you in the very         09:50   19        Q.    So you met Ms. Wang, then, within about 09:53
20   beginning was when did you first meet Mr. Guo?             09:50   20   a month or so of having met Mr. Guo himself?               09:54

21        A.   I think it's either July or August,              09:50   21        A.    Correct.                                        09:54

22   early August or, you know, late July of 2017.              09:50   22        Q.    Did your impression of Mr. Guo change           09:54



                                                             Page 30                                                                 Page 32

 1        Q.   And who introduced you?                         09:50     1   over time?                                                 09:54

 2        A.    His name is Jonathan Ho. The Chinese           09:51     2        A.    No.                                             09:54

 3   name is Chen Jun.                                         09:51     3        Q.    Do you consider yourself to be a                09:54

 4        Q.   Is that the last name, H-O?                     09:51     4   personal friend of Mr. Guo?                                09:54

 5        A.    Correct.                                       09:51     5        A.    That's a very --                                09:54

 6        Q.   Jonathan Ho. Who is Jonathan Ho?                09:51     6        Q.    Sorry.                                          09:54

 7        A.    He is a longtime friend of mine. He            09:51     7        A.    -- difficult question. I think I                09:54

 8   also used to be an activist, pro-democracy activist.      09:51     8   maintain a personal relationship with him and, also,       09:54

 9   He's a friend with the late Nobel Peace Prize winner      09:51     9   politically, I support his effort and I also have a        09:55

10   Liu Xiaobo.                                               09:51    10   lot of reservation about him.                              09:55

11        Q.   So why did Mr. Ho introduce you to Mr.          09:51    11        Q.    What are those reservations?                    09:55

12   Guo?                                                      09:51    12        A.    He just brings troubles to me. You              09:55

13        MR. GRENDI: Objection, form.                         09:51    13   know, I live a very simple straightforward life.           09:55

14        MR. GAVENMAN: Objection to form.                     09:51    14   This is my first deposition, first -- you know, this,      09:55

15        THE WITNESS: I think, at the time, they were         09:52    15   it's not fun.                                              09:55

16   talking about the options, what to do, whether to         09:52    16        My focus is the big picture, how to change            09:55

17   seek political asylum or other form of protection,        09:52    17   China, how to promote democracy. I don't want to           09:55

18   and he knows that, you know, I'm familiar with the        09:52    18   sign on to derail from that goal. This definitely is       09:55

19   American legal system. So he brought me to discuss        09:52    19   troublesome to me.                                         09:55

20   those options with Miles.                                 09:52    20        Q.    Do you have any concern about whether           09:55

21   BY MR. GREIM:                                             09:52    21   Guo is fully committed to overturning the Chinese 09:56
22        Q.   And is it fair to say that you assisted         09:52    22   communist system?                                          09:56



                                                             Page 31                                                                 Page 33

                                                                                                                    9 (Pages 30 to 33)
                                                     Lianchao Han - Confidential
                                                          August 28, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 146 of 288

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 1        A.     Well, I think he's fully committed. At        09:56    1       MR. GRENDI: Object to the form.                       09:58

 2   the same time, he also has his relatives, his             09:56    2       THE WITNESS: I didn't know.                           09:58

 3   employees to be considered and his assets, although,      09:56    3   BY MR. GREIM:                                             09:58

 4   all of it has been confiscated. So I understand his       09:56    4       Q.     Do you know whether he is negotiating          09:58

 5   position.                                                 09:56    5   with Chinese officials even today?                        09:59

 6        Q.     And would it surprise you if Mr. Guo,         09:56    6       A.     I didn't know that either.                     09:59

 7   for example, vacillates in wanting regime change          09:56    7       Q.     Let's shift gears for a moment here and        09:59

 8   versus something less than that?                          09:56    8   -- well, before we move on. After you met Guo, Mr.        09:59

 9        MR. GRENDI: Object to the form.                      09:57    9   Guo --                                                    09:59

10        MR. GAVENMAN: Object to the form.                    09:57   10       A.     Yeah.                                          09:59

11        THE WITNESS: Can you rephrase that?                  09:57   11       Q.     -- did he introduce you to others              09:59

12   BY MR. GREIM:                                             09:57   12   besides Yvette Wang over the next month or two?           09:59

13        Q.     Sure. Sure. Would it surprise you that        09:57   13       A.     I met all his families, family members,        09:59

14   Mr. Guo tries to bargain with Chinese officials?          09:57   14   through him. I met with Tony Blair. I met -- who          09:59

15        MR. GRENDI: Object to the form.                      09:57   15   else? There were several other people that's              09:59

16        MR. GAVENMAN: Objection to form.                     09:57   16   significant maybe.                                        09:59

17        THE WITNESS: Frankly, I think it's possible,         09:57   17       Q.     Did he introduce you to someone named          10:00

18   but it's unlikely, highly unlikely. It's too late         09:57   18   Hansheng Wang?                                            10:00

19   for that.                                                 09:57   19       A.     He never introduced me to Hansheng Wang.       10:00

20   BY MR. GREIM:                                             09:57   20   Hansheng Wang, I know used to be his staff. I got to      10:00

21        Q.     What do you mean by it's too late for         09:57   21   know him in that capacity.                                10:00

22   that?                                                     09:57   22       Q.     What does Hansheng Wang do for Mr. Guo?        10:00



                                                            Page 34                                                                Page 36

 1        MR. GRENDI: Object to the form.                     09:57     1         MR. GRENDI: Object to form.                        10:00

 2        MR. GAVENMAN: Objection to form.                    09:57     2         MR. GAVENMAN: Object to the form.                  10:00

 3        THE WITNESS: He's already put himself in the        09:57     3         THE WITNESS: If I saw him, he do -- he does        10:00

 4   position that he is the number one enemy of the          09:57     4   lots of different things, bodyguard, security. He        10:00

 5   regime.                                                  09:57     5   also cooks. What else he does? Run errands, book         10:00

 6   BY MR. GREIM:                                            09:57     6   hotel rooms, you know.                                   10:00

 7        Q.     When did he cross that line?                 09:57     7   BY MR. GREIM:                                            10:00

 8        MR. GAVENMAN: Objection to form.                    09:58     8         Q.    Does he run any companies?                   10:00

 9        MR. GRENDI: Objection to the form.                  09:58     9         A.     I have no knowledge.                        10:00

10        THE WITNESS: I don't know for sure. My              09:58    10         Q.    Do you know if he's a principal of           10:00

11   speculation -- can I speculate?                          09:58    11   Eastern Profit?                                          10:01

12        MR. GAVENMAN: You shouldn't speculate. Only         09:58    12         A.     I didn't know that.                         10:01

13   speak to things that you know.                           09:58    13         Q.    Does he actually live in Mr. Guo's           10:01

14        THE WITNESS: All right. But I think -- can          09:58    14   apartment?                                               10:01

15   I just say, more likely, after he turned the MSS         09:58    15         A.     I didn't know that either.                  10:01

16   Secretary of Discipline into FBI, they busted them at    09:58    16         MR. GAVENMAN: Objection to form.                   10:01

17   La Guardia Airport and I think that's where he           09:58    17         MR. GRENDI: Object to the form.                    10:01

18   crossed the line.                                        09:58    18         THE WITNESS: I saw him all the time there,         10:01

19   BY MR. GREIM:                                            09:58    19   but I didn't know he lived there.                        10:01

20        Q.     Do you know whether he attempted to 09:58             20   BY MR. GREIM:                                            10:01

21   negotiate with Chinese officials even after that         09:58    21         Q.    Which Guo family members were you 10:01
22   point?                                                   09:58    22   introduced to?                                           10:01


                                                            Page 35                                                                Page 37

                                                                                                                    10 (Pages 34 to 37)
                                                   Lianchao Han - Confidential
                                                        August 28, 2019
         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 147 of 288

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 1          A.     I met his son, Wu Chun. I met his             10:01    1   Guo?                                                       10:04

 2    daughter, Wo Mei, his wife, Yu Chen Su.                    10:01    2        MR. GRENDI: Object to the form.                       10:04

 3         Q.      We'll get some of these names here on         10:01    3        THE WITNESS: I didn't approach them.                  10:04

 4    the break.                                                 10:01    4   BY MR. GREIM:                                              10:04

 5          A.     Okay.                                         10:01    5       Q.      Did Ms. Wallop approach you?                   10:04

 6          MR. GRENDI: Eddie, I'm just going to jump in         10:01    6        A.     No. That's not the case. They were             10:04

 7    here. Are we going to get on topic here? We're             10:02    7   introduced through Bill Gertz. Bill Gertz called me        10:04

 8    talking about --                                           10:02    8   and said can you set up meeting with Miles; I want to      10:04

 9          MR. GREIM: We are on topic.                          10:02    9   introduce Mike and French, Strategic Vision, to help       10:04

10        MR. GRENDI: Talking about Mr. Guo's family       10:02         10   Miles. So I set up meeting and we were introduced          10:04

11    and who Mr. Lianchao has met, this has nothing to do 10:02         11   that way.                                                  10:04

12    with this dispute.                                         10:02   12       Q.      Okay. Did you already know Mr. Gertz?          10:04

13          MR. GREIM: Please don't disrupt the                  10:02   13        A.     Yes.                                           10:04

14    deposition.                                                10:02   14       Q.      How long have you known him?                   10:05

15          MR. GRENDI: I'm not disrupting the                   10:02   15        A.     Thirty years.                                  10:05

16    deposition. I want to move it along and have it on         10:02   16       Q.      Now, did Mr. Gertz, then, already seem         10:05

17    topic. You know, we're discussing irrelevant stuff         10:02   17   to know or already seem to have a specific project in 10:05
18    right now, but please continue.                            10:02   18   mind for Mr. Guo?                                          10:05

19    BY MR. GREIM:                                              10:02   19        MR. GRENDI: Objection.                                10:05

20         Q.      When was the first time that you met          10:02   20        MR. GAVENMAN: Object to the form.                     10:05

21    French Wallop?                                             10:02   21        THE WITNESS: Yes.                                     10:05

22          A.     Let's see. I would say September --           10:02   22   BY MR. GREIM:                                              10:05



                                                              Page 38                                                                 Page 40

 1   October or September of 2017.                               10:02    1        Q.     What was that?                                 10:05

 2       Q.      Did you know her beforehand?                    10:02    2          A.    I think that was the original proposal        10:05

 3        A.     I didn't know her. I know her -- I              10:02    3   French and Mike brought with them or maybe they first 10:05
 4   worked with her husband many years ago. So I had a          10:02    4   gave it to me and I shared it with Miles to handle         10:05

 5   very good relationship with his office. Naturally, I        10:03    5   his communication, pretty much.                            10:05

 6   know of her. I didn't met her.                              10:03    6        Q.     So when Mr. Gertz came to you --               10:05

 7       Q.      Was this Senator Malcolm Wallop?                10:03    7          A.    Yes.                                          10:05

 8        A.     Correct.                                        10:03    8        Q.     -- and asked you to set up this                10:05

 9       Q.      What about Mr. Waller?                          10:03    9   meeting --                                                 10:05

10        A.     That was the same time I met with               10:03   10          A.    Yes.                                          10:05

11   French.                                                     10:03   11        Q.     -- did you understand that he had              10:05

12       Q.      Did she you know of Mr. Waller before           10:03   12   already spoken to Ms. Wallop and Mr. Waller?               10:05

13   the fall of 2017?                                           10:03   13          A.    Absolutely.                                   10:06

14        A.     No.                                             10:03   14          MR. GRENDI: Objection.                              10:06

15       Q.      Let's talk a little bit about the               10:03   15   BY MR. GREIM:                                              10:06

16   research project that's at issue here. How is it            10:03   16        Q.     At that time, let's say when -- let me         10:06

17   that -- well, let me ask you this: Did there come a         10:03   17   strike that.                                               10:06

18   time that you approached French Wallop about possible 10:03         18        When Mr. Gertz first contacted you about              10:06

19   work for Mr. Guo?                                           10:04   19   this --                                                    10:06

20        A.     Say that again.                                 10:04   20          A.    Yeah.                                         10:06

21       Q.      Did there come a time when you                  10:04   21        Q.     -- were you already aware that Mr. Guo         10:06

22   approached Ms. Wallop about possible work for Mr.           10:04   22   was looking for some type of research?                     10:06


                                                              Page 39                                                                 Page 41

                                                                                                                   11 (Pages 38 to 41)
                                                      Lianchao Han - Confidential
                                                           August 28, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 148 of 288

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 1       Q.     Have you been paid by the Rule of Law           10:30    1            MR. GAVENMAN: Objection to form.                  10:32

 2   Foundation?                                                10:30    2            MR. GRENDI: Objection.                            10:32

 3        A.    No.                                             10:30    3            THE WITNESS: A lot of that discussion, you        10:32

 4       Q.     Okay. Then here's what I'll do. I'm             10:30    4   know, this is all from the meeting.                        10:32

 5   not -- I don't believe a privilege will apply to           10:30    5            MR. GAVENMAN: So I'm going to instruct you        10:32

 6   shield his disclosures to you about his past from          10:30    6   not to answer, attorney-client privilege.                  10:32

 7   discovery, but what I'm going to do is just simply         10:30    7            THE WITNESS: Yeah.                                10:32

 8   ask you about your knowledge. Okay?                        10:30    8   BY MR. GREIM:                                              10:32

 9       And what we'll try to do is not put it -- we           10:30    9        Q.       Did Mr. Guo make representations to          10:32

10   will try not to ask about conversations that you had 10:30         10   French Wallop or Mike Waller about his past?               10:32

11   with him while his asylum counsel were present.            10:30   11            MR. GAVENMAN: Objection to form, foundation.      10:33

12   Okay?                                                      10:30   12            THE WITNESS: During the meeting with them?        10:33

13        A.    [Gestures.]                                     10:30   13   BY MR. GREIM:                                              10:33

14       Q.     Okay.                                           10:30   14        Q.       Yes.                                         10:33

15        MR. GAVENMAN: Let me caution you. To the              10:30   15            A.    I didn't remember exactly what he said      10:33

16   extent you learned anything in the course of those         10:31   16   to them. I think that maybe there is some                  10:33

17   discussions, you shouldn't disclose that either.           10:31   17   discussion.                                                10:33

18        THE WITNESS: Correct.                                 10:31   18        Q.       Did Mr. Guo participate in the Tieneman      10:33

19   BY MR. GREIM:                                              10:31   19   Square protest?                                            10:33

20       Q.     So did you understand that Mr. Guo              10:31   20            A.    During the time of that meeting?            10:33

21   became a dissident during the Tieneman Square              10:31   21            MR. GAVENMAN: Asked and answered.                 10:33

22   demonstrations and massacre?                               10:31   22            MR. GRENDI: Objection.                            10:33



                                                             Page 50                                                                 Page 52

 1        A.    Say that again.                                 10:31    1        MR. GAVENMAN: We've established that there            10:33

 2       Q.     Well, let me ask you a different                10:31    2   is privilege attached to that answer. So I instruct        10:33

 3   question, because that's -- did you understand that        10:31    3   you not to answer as well.                                 10:33

 4   Mr. Guo participated in the Tieneman Square                10:31    4   BY MR. GREIM:                                              10:33

 5   demonstrations and massacre?                               10:31    5        Q.       What do you remember about what Mr. Guo 10:33
 6        MR. GRENDI: Object to the form.                       10:31    6   said about himself to Ms. Wallop and Mr. Waller?           10:34

 7        MR. GAVENMAN: Objection.                              10:31    7        A.       I don't remember much.                       10:34

 8        THE WITNESS: Understand?                              10:31    8        Q.       What do you remember though?                 10:34

 9   BY MR. GREIM:                                              10:31    9        A.       I remember specifically what was             10:34

10       Q.     Yes. Did you believe?                           10:31   10   discussed about the proposal, you know, what to do         10:34

11        MR. GRENDI: Objection.                                10:31   11   about what information is required and the back and        10:34

12        MR. GAVENMAN: Objection. This is pretty far           10:31   12   forth.                                                     10:34

13   afield from what Mr. Han is here to testify about.         10:31   13        Q.       What did Mr. Guo say he wanted to do         10:34

14   I'm not sure how this is a good use of your time, but      10:31   14   with the research?                                         10:34

15   you can keep going.                                        10:32   15        A.       He wanted --                                 10:34

16        THE WITNESS: That discussion is with his              10:32   16        MR. GAVENMAN: Objection.                              10:34

17   counsel.                                                   10:32   17        MR. GRENDI: Objection to form.                        10:34

18        MR. GAVENMAN: So objection, privilege. I              10:32   18        THE WITNESS: He wanted to expose the                  10:34

19   instruct you not to answer.                                10:32   19   corruption of the highest-ranking members of the           10:34

20        THE WITNESS: Right.                                   10:32   20   Communist Party.                                           10:34

21   BY MR. GREIM:                                              10:32   21   BY MR. GREIM:                                              10:34

22       Q.     Do you know why Mr. Guo left China?             10:32   22        Q.       Did he say how he wanted to do that?         10:34



                                                             Page 51                                                                 Page 53

                                                                                                                    14 (Pages 50 to 53)
                                                  Lianchao Han - Confidential
                                                       August 28, 2019
           Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 149 of 288

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 1   and about the Chinese Government --                         14:25    1        MR. GAVENMAN: Objection.                           14:27

 2         A.   Right.                                           14:25    2        THE WITNESS: It's possible, yes. Hong Kong         14:27

 3         Q.   -- do you agree that it would be prudent         14:25    3   has a different system, but China has a lot of          14:27

 4   not to use a Chinese entity or a Chinese bank to pay        14:25    4   difference there.                                       14:27

 5   Strategic Vision under the contract?                        14:25    5   BY MR. GREIM:                                           14:27

 6         MR. GRENDI: Objection.                                14:25    6       Q.    When did you first hear of the entity         14:27

 7         MR. GAVENMAN: Objection.                              14:25    7   called Eastern Profit?                                  14:27

 8         THE WITNESS: I didn't -- I -- from the very           14:25    8        A.   I don't think I ever heard that term          14:27

 9   beginning, we want to keep this highly confidential.        14:25    9   until this case, you know, showed up.                   14:27

10   Everything we do has to be, you know, like very             14:25   10       Q.    Did you know that Mr. Guo's daughter is       14:27

11   cautious, and whether I made that specific                  14:25   11   the sole shareholder and director of Eastern Profit?    14:27

12   suggestion, I don't remember, but if I did, it must         14:25   12        MR. GRENDI: Objection.                             14:27

13   be based on that principle.                                 14:25   13        MR. GAVENMAN: Objection.                           14:27

14   BY MR. GREIM:                                               14:25   14        THE WITNESS: No.                                   14:27

15         Q.   And that would be common sense, wouldn't         14:25   15   BY MR. GREIM:                                           14:27

16   it?                                                         14:25   16       Q.    Do you know whether Mr. Guo typically         14:27

17         MR. GRENDI: Objection.                                14:25   17   has his children hold companies that he uses for his 14:27
18         MR. GAVENMAN: Objection.                              14:25   18   projects?                                               14:27

19         THE WITNESS: It is not necessarily Chinese            14:25   19        A.   I didn't.                                     14:28

20   company. I think it's how confidential, how                 14:25   20        MR. GRENDI: Objection.                             14:28

21   trustworthy they are, not the entities, from where.         14:26   21        MR. GAVENMAN: Objection.                           14:28

22   It's the discrete nature of the entity that matters.        14:26   22        THE WITNESS: I didn't know.                        14:28



                                                             Page 182                                                             Page 184

 1   BY MR. GREIM:                                               14:26    1   BY MR. GREIM:                                           14:28

 2         Q.   Well, what about the ability of Chinese          14:26    2       Q.    Did you always understand that                14:28

 3   officials to follow the wire from, you know, a              14:26    3   regardless of who signed the contract that that         14:28

 4   Chinese account directly to Strategic Vision?               14:26    4   person or entity would be reporting to Mr. Guo?         14:28

 5         MR. GRENDI: Objection.                                14:26    5        MR. GRENDI: Objection.                             14:28

 6         MR. GAVENMAN: Objection.                              14:26    6        MR. GAVENMAN: Objection to form.                   14:28

 7         THE WITNESS: Well, yeah. It's definitely              14:26    7        THE WITNESS: Yes.                                  14:28

 8   easier to track if it's a Chinese company based in          14:26    8   BY MR. GREIM:                                           14:28

 9   China.                                                      14:26    9       Q.    Have you ever heard that Hansheng Wang        14:28

10   BY MR. GREIM:                                               14:26   10   was actually in charge of Eastern Profit?               14:28

11         Q.   What about an entity based in Hong Kong?         14:26   11        A.   I didn't know that. I thought you said        14:28

12         MR. GAVENMAN: Objection to form.                      14:26   12   his daughter.                                           14:28

13         MR. GRENDI: Objection.                                14:26   13       Q.    Would it surprise to hear that in this        14:28

14         MR. GAVENMAN: I'm not sure what that                  14:26   14   case, Eastern Profit claims that its principal is       14:28

15   question even is. Can you rephrase that question?           14:26   15   Hansheng Wang?                                          14:28

16         THE WITNESS: Yes.                                     14:27   16        MR. GAVENMAN: Objection, form.                     14:28

17   BY MR. GREIM:                                               14:27   17        THE WITNESS: I have no idea.                       14:28

18         Q.   Did you understand it?                           14:27   18   BY MR. GREIM:                                           14:28

19         A.   Maybe you can rephrase.                          14:27   19       Q.    Did you ever talk to Hansheng Wang about 14:28
20         Q.   Is it also easier to track if the money          14:27   20   this project at all?                                    14:29

21   comes from an entity based in Hong Kong?                    14:27   21        A.   No.                                           14:29

22         MR. GRENDI: Objection.                                14:27   22       Q.    Would it surprise if Hansheng Wang was        14:29



                                                             Page 183                                                             Page 185

                                                                                                             47 (Pages 182 to 185)
                                                    Lianchao Han - Confidential
                                                         August 28, 2019
         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 150 of 288

                                                           Atkinson-Baker, Inc.
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 1   recall specifically. There are some glitches, you          15:34    1   and Rule of Law and perfectly, he mentioned many           15:37

 2   know, like something going. I also remember French         15:34    2   times to me that he strongly opposed to CGP's              15:37

 3   told me in the middle, you know, the wire transfer         15:34    3   dictatorship.                                              15:37

 4   and Miles tried to stop the second payment.                15:34    4        Q.   When did he move from second to the              15:37

 5       Q.     I'm going to be -- make sure I'm a clear        15:34    5   third phase, overthrow CCP?                                15:37

 6   on a couple of questions about representations. I          15:34    6        MR. GRENDI: Objection to form.                        15:37

 7   know we covered these much earlier today, but I want 15:34          7        MR. GAVENMAN: Objection to form.                      15:37

 8   to make sure I've got them.                                15:34    8        THE WITNESS: I don't remember specifically.           15:37

 9        A.    Yeah.                                           15:34    9   We can go back and look at the timeline, but I don't       15:37

10       Q.     Did Guo represent to Strategic Vision           15:34   10   remember.                                                  15:37

11   that he was a dissident?                                   15:34   11   BY MR. GREIM:                                              15:37

12        MR. GAVENMAN: Objection, form.                        15:34   12        Q.   Did you observe the information that was         15:37

13        MR. GRENDI: Objection to form.                        15:34   13   loaded onto hard drives given by Yvette Wang to            15:37

14        THE WITNESS: I don't think he specifically            15:34   14   French Wallop?                                             15:38

15   said he's a dissident, but I think he made his             15:35   15        MR. GAVENMAN: Objection to form.                      15:38

16   intention clear to them that he's anti-CCP. This is        15:35   16        MR. GRENDI: Objection to form.                        15:38

17   the agenda. The reason we're doing this is to              15:35   17        THE WITNESS: I think it might be -- Mike              15:38

18   disrupt the regime.                                        15:35   18   shoot me. I don't specifically remember. Maybe I           15:38

                                                                        19   recall that, but it's all junk, full of junk. I was        15:38
19   BY MR. GREIM:                                              15:35

                                                                        20   disappointed with that. I expressed my                     15:38
20       Q.     And when you say disrupt the regime,            15:35

                                                                        21   disappointment to Mike. It doesn't advance our             15:38
21   what do you mean by that?                                  15:35

                                                                        22   agenda. It doesn't help the deliverables.                  15:38
22        A.    Just expose them to corruption, to the          15:35



                                                            Page 226                                                                Page 228

 1    scandals so that people will see the nature of the       15:35     1        Yes. I think I saw it.                                15:38

 2    Communist regime and even disturb internal power         15:35     2   BY MR. GREIM:                                              15:38

 3    struggle among the leaders.                              15:35     3       Q.    I'm sorry. My question was different             15:38

 4         Q.    Did he say it was his goal to actually        15:35     4   though.                                                    15:38

 5    overthrow the Communist Part?                            15:35     5        A.   Okay. Sorry.                                     15:38

 6         MR. GAVENMAN: Objection to form.                    15:35     6       Q.    My question was whether you saw the hard         15:38

 7         MR. GRENDI: Objection to form.                      15:35     7   drives that Yvette Wang gave to French Wallop with         15:38

 8         THE WITNESS: That, I didn't remember                15:36     8   the initial information to begin the research?             15:38

 9    specifically. I think Miles has been involved from       15:36     9        A.   Oh, no. Maybe --                                 15:38

10    the original -- you know, the beginning of the 19 --     15:36    10        MR. GRENDI: Objection to the form.                    15:38

11    2017 to this later stage.                                15:36    11        MR. GAVENMAN: Objection to form.                      15:38

12         Until now, there's an evolution going on with       15:36    12        THE WITNESS: Maybe French shoot me, but               15:38

13    him. He's political agenda are slight different in       15:36    13   French mentioned that when he installed, there some        15:38

14    each stage.                                              15:36    14   weird stuff going on.                                      15:39

15    BY MR. GREIM:                                            15:36    15   BY MR. GREIM:                                              15:39

16         Q.    What do you mean by that?                     15:36    16       Q.    Did you -- do you remember hearing that          15:39

17         A.     From the very beginning, you know, I         15:36    17   there was Malware in the drives?                           15:39

18    think he is trying to protect his family, his            15:36    18        A.   That's what French told me.                      15:39

19    employees, and his assets, his own life, and revenge.    15:36    19        MR. GAVENMAN: Objection to form.                      15:39

20    That's the goals, three goals, he proposed, and that     15:36    20        THE WITNESS: I have not -- yeah.                      15:39

21    later evolved into anti-CCP, but still support CGP.      15:36    21   BY MR. GREIM:                                              15:39

22    Now he's moved along that line to overthrow the CCP      15:37    22       Q.    Did you realize that that required               15:39



                                                            Page 227                                                                Page 229

                                                                                                              58 (Pages 226 to 229)
                                                      Lianchao Han - Confidential
                                                           August 28, 2019
         Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 151 of 288

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 1       Q.     And what was on that hard drive?              16:49    1         A.   Is this relevant?                               16:51

 2       A.     It's lots of junk information.                16:49    2         Q.   Well, that's what I'm going to get at           16:51

 3       Q.     Was any of that information the kind of       16:49    3   here, because my understanding would probably be that 16:51
 4   useful reporting that Eastern Profit would have          16:49    4   you don't want to reveal the name of that entity.          16:51

 5   expected under this agreement?                           16:49    5         A.   No.                                             16:52

 6       MR. GREIM: Objection, foundation, calls for          16:49    6         Q.   Okay. Is that because it's normally             16:52

 7   opinion.                                                 16:49    7   confidential; you don't disclose the dealings of           16:52

 8       THE WITNESS: No.                                     16:49    8   private investigatory research clients that you're         16:52

 9   BY MR. GRENDI:                                           16:49    9   working with with Strategic Vision?                        16:52

10       Q.     Okay. I believe you testified before          16:49   10         A.   Correct.                                        16:52

11   that you had heard that Team 2 found evidence of --      16:50   11         MR. GRENDI: So, Attorney Greim, we can talk          16:52

12   strike that.                                             16:50   12   about whether you're going to try to use that in           16:52

13       Did you ever hear that Team 2 of Strategic           16:50   13   damages and we can talk about who this client is and       16:52

14   Vision's team found evidence of Social Security          16:50   14   find out information about it or you can -- we can         16:52

15   number fraud or human trafficking or customs fraud? 16:50        15   lay off on that and maybe talk to your client about        16:52

16       A.     Say that again.                               16:50   16   it.                                                        16:52

17       Q.     Sorry. Did there ever come a time when        16:50   17         MR. GREIM: Yeah. Let's just -- let's take            16:52

18   you heard from Strategic Vision that its second team     16:50   18   one minute.                                                16:52

19   -- they call it Team 2 -- had found evidence of          16:50   19         MR. GRENDI: Sure. Off the record.                    16:52

20   Social Security fraud, human trafficking, or customs     16:50   20         VIDEOGRAPHER: Going off the record. The              16:52

21   fraud concerning the subjects of the research            16:50   21   time is now 4:54 p.m.                                      16:52

22   agreement?                                               16:50   22         [Mr. Greim confers with Ms. Wallop and Mr.           16:52



                                                          Page 278                                                                Page 280

 1        A.    Yes, but I don't hear the Team 2, that        16:50    1   Waller.]                                                   16:54

 2   term. I was not familiar with the Team 2.                16:50    2         VIDEOGRAPHER: We are back on the record.             16:54

 3        Q.    Let's just say Strategic Vision. Did          16:51    3   The time is now 4:57 p.m.                                  16:55

 4   Strategic Vision tell you it had found that kind of      16:51    4   BY MR. GRENDI:                                             16:55

 5   information?                                             16:51    5         Q.   So, Mr. Han, if you would please                16:55

 6        A.    Yes.                                          16:51    6   identify the client or potential client from Taiwan        16:55

 7        Q.    They did ever give you any documents to       16:51    7   that you spoke of politically concerning a newspaper       16:55

 8   prove that or show that that was the case?               16:51    8   article in "Politico".                                     16:55

 9        A.    No.                                           16:51    9         A.   There is a -- I saw that article. I             16:55

10        Q.    No. Okay. And the whole point of this         16:51   10   didn't know what it referred to. They specifically         16:55

11   agreement was to get that, like you said, the            16:51   11   talked about the Taiwan project?                           16:55

12   concrete evidence that there was corruption in the       16:51   12         Q.   No, no. I'm sorry. You know what?               16:55

13   CCP. Right?                                              16:51   13   Let's strike that question. I'll start over.               16:55

14        A.    Correct.                                      16:51   14         what is the name of the entity you and               16:55

15        Q.    But that was never delivered under this       16:51   15   Strategic Vision have been working on that comes from 16:55
16   agreement, was it?                                       16:51   16   Taiwan? Who is that?                                       16:55

17        A.    No.                                           16:51   17         A.   There are several. The Taiwan National          16:55

18       Q. I'll ask about this one, but I think              16:51   18   Security Council and Taiwan DPP, which is the ruling       16:55

19   we're going to have to eventually go off the record 16:51        19   party, and the embassy here.                               16:55

20   on it. What is the name of project in Taiwan that        16:51   20         Q.   And is Strategic Vision trying to               16:55

21   you were talking about with Attorney Greim just          16:51   21   solicit business from those entities?                      16:55

22   before the break?                                        16:51   22         A.   Correct.                                        16:56



                                                          Page 279                                                                Page 281

                                                                                                               71 (Pages 278 to 281)
                                                 Lianchao Han - Confidential
                                                      August 28, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 152 of 288

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 1        MR. GRENDI: Thank you.                             17:09    1            CERTIFICATE OF NOTARY PUBLIC
 2        MR. GREIM: Thank you.                              17:09    2           I, CATHERINE B. CRUMP, the officer before
 3        VIDEOGRAPHER: This concludes today's video 17:09            3   whom the foregoing deposition was taken, do hereby
 4   deposition of Lianchao Han. This is Disk 3 of 3,        17:09    4   testify that the witness whose testimony appears in
 5   going off the record. The time is 5:11 p.m.             17:09    5   the foregoing deposition was duly sworn by me; that
 6        [Whereupon, at 5:11 p.m., the deposition                    6   the testimony of said witness was taken by me
 7   concluded.]                                                      7   stenographically and thereafter reduced to
 8                        [Signature not waived.]                     8   typewriting under my direction; that said deposition
 9
                                                                      9   is a true record of the testimony given by said
10
                                                                     10   witness; that I am neither counsel for, related to,
11
                                                                     11   nor employed by any of the parties to the action in
12
                                                                     12   which this deposition was taken; and further, that I
13
                                                                     13   am not a relative or employee of any attorney or
14
15
                                                                     14   counsel employed by the parties hereto nor

16
                                                                     15   financially or otherwise interested in the outcome of

17
                                                                     16   the action.
18                                                                   17                  ______________________________
19                                                                   18   **Signature        CATHERINE B. CRUMP
20                                                                   19     Requested**       Notary Public in and for the
21                                                                   20                  District of Columbia
22                                                                   21   My Commission Expires: October 31, 2022

                                                        Page 294                                                                Page 296

 1              CERTIFICATE OF DEPONENT
 2
 3           I have read the foregoing 294 pages which
 4   contain the correct transcript of the answers made by
 5   me to the questions therein recorded.
 6
 7
 8                 ______________________________
 9                 Lianchao Han
10
11                    ---
12
13           Subscribed and sworn to before me this
14   ______ day of _______________________, 2019.
15
16
17
18                  _____________________________
19
20                  Notary Public in and for
21
22   My Commission Expires:

                                                        Page 295

                                                                                                       75 (Pages 294 to 296)
                                               Lianchao Han - Confidential
                                                    August 28, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 153 of 288

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 1

 2           IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK
 3   ------------------------------------------X

 4   EASTERN PROFIT CORPORATION LIMITED,

 5          Plaintiff/Counterclaim Defendant,

 6                  -against-                          Case No.
                                                       18-cv-2185 (JGK)
 7   STRATEGIC VISION US, LLC,

 8          Defendants/Counterclaim Plaintiff,

 9                  -against-

10   GUO WENGUI a/k/a MILES KWOK,

11                       Counterclaim Defendant.

12   ------------------------------------------X

13

14

15                  VIDEOTAPED DEPOSITION OF

16                          YVETTE WANG

17                     New York, New York

18                      October 30, 2019

19

20

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                                                                             Page 1
                                30(b)(6) Yvette Wang
                                  October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 154 of 288

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 1                 YVETTE WANG                            1                  YVETTE WANG
 2        A   Just my lawyer, I believe.                  2         A    A business woman.
 3       Q So only with Miss Cline?                       3         Q She's Guo Wengui's daughter; correct?
 4        A   Yes.                                        4         A    Correct.
 5       Q Now did you speak with any nonlawyers          5         Q And she is the sole director of
 6   in preparation for your testimony today?             6   Eastern Profit; is that correct?
 7        A   For today?                                  7         A    Correct.
 8       Q Mm-hmm.                                        8         Q Why did you -- well, let me ask you
 9        A   No, I didn't.                               9   this.
10       Q Did you speak with any representative         10             Did you speak to her in person or
11   of Eastern Profit other than Miss Cline in          11   over the phone?
12   preparation for your deposition today?              12         A    I don't remember clearly. Should be
13                MS. CLINE: Objection to form.          13   like in person, yeah.
14        A   I briefly ask some question.               14         Q And is it your testimony that you do
15       Q Okay. Of whom?                                15   not remember what you spoke to her about?
16        A   The director and a representative of       16         A    Is there any problem? Like a couple
17   Eastern Profit.                                     17   of months ago if you ask me specific question, I
18       Q Okay. Are those two different people          18   may be able to recall my memory about that
19   or the same person?                                 19   conversation because we met and we talk a lot. I
20        A   Two different people.                      20   don't know which is the answer you ask.
21       Q Who is the director of Eastern Profit         21         Q Okay. So it was a long conversation
22   that you spoke with?                                22   with Mei Guo?
23        A   Mei Guo. M-E-I G-U-O.                      23                 MS. CLINE: Objection to form.
24       Q Okay. And who is the representative           24         A    I don't remember.
25   that you spoke with?                                25         Q I'm trying to understand, you said

                                              Page 22                                                 Page 24

 1                 YVETTE WANG                            1                YVETTE WANG
 2        A    Mr. Han, H-A-N.                            2   you met and you talked a lot. What did you talk
 3       Q Is this Mr. Han Chunguang.                     3   about?
 4        A    Correct.                                   4        A   I don't understand your question.
 5       Q C-H-U-N-G-U-A-N-G; right?                      5        Q Did you talk a lot with Mei Guo when
 6        A    C-H-U-N-G-U-A-N-G, yes.                    6   you spoke with her a few months ago?
 7       Q Does he sometimes go by Hank Han?              7        A   I don't understand your question.
 8        A    I don't know his English name.             8        Q Where were you when you spoke with
 9   You're talking about his English name?               9   Mei Guo in person a couple of months ago?
10       Q Yes. You never heard him called Hank          10        A   In New York.
11   before?                                             11        Q Where in New York?
12        A    I don't know that name.                   12        A   A restaurant.
13       Q When did you speak with Mei Guo?              13        Q Okay. Who else was with you?
14        A    I don't remember clearly. Like a          14        A   Just myself and her.
15   couple of month ago.                                15        Q Had you met her before?
16       Q Was it in preparation for this                16        A   Yes.
17   deposition?                                         17        Q Was this a social meeting or a
18        A    I believe not because this deposition     18   business meeting?
19   was just ordered like a couple of days ago. How I   19                MS. CLINE: Objection to form.
20   can prepare this deposition, it involves like a     20        A   What is your definition? What is
21   couple of month.                                    21   social meeting? What is business meeting?
22       Q What did you speak with Mei Guo               22        Q What was the purpose of your meeting?
23   about?                                              23        A   I don't understand your question.
24        A    I don't remember clearly.                 24        Q Why did you meet with her?
25       Q Who is she?                                   25        A   To ask her what is about Eastern

                                              Page 23                                                 Page 25

                                                                                        7 (Pages 22 to 25)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 155 of 288

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 1                 YVETTE WANG                            1                    YVETTE WANG
 2   Profit.                                              2        Q What was her response?
 3        Q Okay. So the purpose of the meeting           3         A     She was upset and she said she didn't
 4   was to ask her about Eastern Profit?                 4   know anything about this. And she ask me to
 5         A   Kind of.                                   5   handle everything.
 6        Q Okay. Well what was the other                 6        Q Okay. How did you respond to her
 7   purpose of the meeting?                              7   request?
 8         A   Chat about the Chinese Communist           8         A     I said -- I don't remember the clear
 9   Party took more action mainland of China to          9   precise quote, but I told her okay. I have been
10   persecute my colleagues or my friends.              10   already dealing with this group of liars, and this
11        Q Who requested the meeting?                   11   case, I will handle this for you. You don't need
12         A   Myself.                                   12   to worry because you don't know anything about
13        Q Why did you want to talk to her about        13   this at all.
14   the persecution of your colleagues on the           14        Q How did you know that she didn't know
15   mainland?                                           15   anything about this at all?
16         A   Chat. Just chat.                          16         A     I don't understand your question.
17        Q So during this chat, you also talked         17        Q How did you know that Guo Mei did not
18   to her about Eastern Profit?                        18   know anything about this at all?
19         A   Correct.                                  19         A     Oh. That is my guess because I ask
20        Q But at that time, as you said                20   her: Did you hear or heard about these two liars,
21   earlier, you did not know that this continuation    21   French Wallop and Michael Waller? She said I
22   deposition would be ordered?                        22   don't know.
23         A   What's your question?                     23        Q Was this after Strategic Vision had
24        Q But at that time, as you testified           24   filed its counterclaim in this case?
25   earlier, you did not know that the continue         25         A     When did you file counterclaim?

                                              Page 26                                                   Page 28

 1                   YVETTE WANG                          1                   YVETTE WANG
 2   deposition would be ordered; did you?                2        Q July 23rd.
 3                  MS. CLINE: Objection to form.         3         A    Which year?
 4         A     Should I know by then what will          4        Q 2019.
 5   happen after like a couple of month? Fair; right?    5         A    Oh. I don't remember that. It's in
 6         Q Right. So the answer is no?                  6   summer, but I don't remember which month. It's
 7         A     Correct.                                 7   before you or after you. I don't remember that.
 8         Q So why did you want to talk to her           8        Q What else did you discuss about
 9   about Eastern Profit during this restaurant          9   Eastern Profit?
10   meeting?                                            10         A    I ask like I remember the general,
11         A     Because Eastern Profit signed a         11   like basic information about Eastern Profit.
12   Limited Power of Attorney authorize Golden Spring   12        Q What did she tell you?
13   to handle this case.                                13         A    The bank. The first thing she told
14         Q So were you reporting on the progress       14   me Eastern Profit bank accounts was frozen in Hong
15   of the case?                                        15   Kong.
16         A     What do you mean report?                16        Q Okay. What else?
17         Q Tell. Were you telling her about the        17         A    Eastern Profit is a Hong Kong
18   progress of the case?                               18   company.
19         A     I told her.                             19        Q I think you knew that at your first
20         Q Okay. And what did you tell her?            20   deposition. Do you remember that?
21         A     I told her Eastern Profit was           21         A    I don't remember that.
22   cheated. And Eastern Profit right now is in a       22        Q What else did she tell you?
23   lawsuit. I probably need to know more, know more    23         A    Before the bank accounts like was
24   about Eastern Profit so I can help to deal with     24   frozen, Eastern -- I don't remember that clearly.
25   this litigation.                                    25             Kind of she told me Eastern has

                                              Page 27                                                   Page 29

                                                                                         8 (Pages 26 to 29)
                                         30(b)(6) Yvette Wang
                                           October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 156 of 288

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 1                    YVETTE WANG                          1                    YVETTE WANG
 2    office in Hong Kong. And Eastern Profit, they        2        Q So did she tell you during this
 3    have assets, yeah, because I was asking her about    3   discussion that Hank, as you said, or Han Chung
 4    the general, like basic information about this       4   Uang, was still running Eastern Profit at that
 5    company.                                             5   time?
 6         Q Right.                                        6         A    In my understanding, yes.
 7          A    So she told me these things.              7        Q Did she tell you what he does for
 8         Q Do you remember anything else she             8   Eastern Profit?
 9    told you?                                            9         A    Not too much, because she expressed
10                  MS. CLINE: I'm just going to          10   like as a normal business if the bank account was
11              object to the line of inquiry. There      11   frozen or is frozen, what kind of business you can
12              is a narrow set of topics on which we     12   continue.
13              agreed and the court issued an order      13             But she emphasized Mr. Han as still
14              that don't include, for example,          14   helping her to like manage the cars and -- yeah,
15              whether or not Eastern Profit has any     15   the cars. Basically the assets of Eastern Profit.
16              independent financial identities.         16        Q Did you say cars as in automobiles?
17                  I'm not sure why we're delving        17         A    Yeah. Driving car.
18              into every piece of every                 18        Q Well, what else did she say about
19              conversation she had with Guo Mei,        19   Mr. Han?
20              and I think we should move on and get     20         A    Still I remember back to our like CCP
21              to the substance of the deposition as     21   persecution chat. Mr. Han has his family member
22              agreed upon.                              22   mainland of China also. So they are threatened
23                  MR. GREIM: It's the only              23   and even arrested, integrated by Chinese Communist
24              natural person we've heard about, so      24   Party also.
25              we're finally getting some relevant       25       *Q      Did you tell Mei Guo that you're

                                               Page 30                                                   Page 32

 1                  YVETTE WANG                            1                 YVETTE WANG
 2            testimony. But I think we exhausted          2    member of the Chinese Communist Party?
 3            the witness on this.                         3               MS. CLINE: Objection. This is
 4        Q I do have a question. Did Guo Mei              4           a deposition in her corporate
 5   mention to you Han Chung Uang?                        5           capacity. This is not about Miss
 6        A    Yes.                                        6           Wong personally, and we really need
 7        Q What did she say?                              7           to move on and get to the substance
 8        A    I don't remember the precise quotes         8           as to our agreement and the court's
 9   again. Kind of like she told me Mr. Han, she          9           order.
10   trusted her -- trusted him, and he was running       10               MR. GREIM: Okay. That's the
11   Eastern before.                                      11           last question, and we'll move on to
12            And Mei Guo, she has no problem or          12           your other prep for this deposition.
13   issue with him, and having him still running         13               MS. CLINE: No. I object to the
14   something on behalf of Eastern Profit.               14           question as beyond the scope.
15        Q Did she say whether he actually still         15               MR. GREIM: Well, the witness
16   was running something on Eastern Profit?             16           opened the door by talking about this
17        A    Sorry. What's your question?               17           persecution of Mr. Han.
18        Q Did she say whether he actually still         18               MS. CLINE: No. No. No. I
19   was running something on behalf of Eastern Profit?   19           object. We can call the court on
20        A    You mean he; right?                        20           this one if you want to, and we can
21        Q Right.                                        21           make a list of everybody, and we're
22        A    You're asking what time period?            22           going to call the court.
23        Q I'm trying to understand what she             23               You're asking her about
24   told you.                                            24           questions in her personal capacity,
25        A    Of course.                                 25           and that's not why she's here.

                                               Page 31                                                   Page 33

                                                                                          9 (Pages 30 to 33)
                                           30(b)(6) Yvette Wang
                                             October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 157 of 288

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 1                  YVETTE WANG                            1                 YVETTE WANG
 2                 MR. GREIM: We will just simply          2        A    Should be after, yeah.
 3             mark that and keep going.                   3        Q Why do you say that?
 4         Q Okay. You said you also talked to             4        A    Because was Mei Guo, as I said, in
 5   Mr. Han Chung Uang who you characterized as a         5   summer, yeah. With Mr. Han should be like end of
 6   representative of Eastern Profit.                     6   the summer.
 7            When did you talk to Han Chung Uang          7        Q Where did you meet with Mr. Han?
 8   in preparation for this case? Let me give you a       8        A    I met him in the lobby of my office.
 9   different question.                                   9        Q This is the 162 East 64th Street?
10            When did you talk with Mr. Han Chung        10        A    Yes.
11   Uang in preparation for this deposition?             11        Q How long was your conversation with
12         A    Again, this deposition was ordered        12   him?
13   like two, three ago. How I can prepare something     13        A    Not very long. Like 20, 30 minutes.
14   which by then was not expected to happen with a      14        Q So did you talk right there in the
15   precise date?                                        15   lobby of Golden Spring?
16             My answer is I didn't talk to Mr. Han      16        A    The lobby? I don't mean like a
17   right before this deposition was ordered.            17   public everyone goes in and out. Yeah. There is
18         Q Okay. Fair enough. I will ask you a          18   a conference room in the lobby.
19   question that covers a little bit more.              19        Q What did you ask Mr. Han?
20            I would like to know whether you have       20        A    He asked me.
21   gained information from talking to Han Chung Uang    21        Q He asked you questions?
22   that you will use to answer the questions today?     22        A    Yeah.
23         A    Obtained?                                 23        Q What did he ask you?
24         Q Obtained.                                    24        A    He told me he was chased by the
25         A    Yes, I did.                               25   lender for the one minute.

                                               Page 34                                                  Page 36

 1                  YVETTE WANG                            1                   YVETTE WANG
 2        Q So when -- when were the                       2       Q      For the what?
 3   conversations that you had with Mr. Han Chung Uang    3       A      One million.
 4   about Eastern Profit since your last deposition?      4                 MS. CLINE: One million.
 5         A   When? Since my last deposition. My          5         A    U.S. dollars.
 6   last deposition is January of this year; right?       6        Q I see.
 7            Yeah, the conversation for sure              7         A    He told me he doesn't speak too much
 8   happened in this year, yeah.                          8   English, and he asked me to handle this.
 9        Q Okay. So we know you did not talk to           9        Q What do you mean the lender of the
10   him before your last deposition. So my question      10   $1 million? What are you referring to?
11   is that was January 31st, 2019. When have you        11         A    I don't remember precisely his quote.
12   talked to him since then to gain information about   12   He said kind of like as per the loan agreement,
13   Eastern Profit?                                      13   Eastern should pay back the 1 million loan.
14         A   A couple of months ago.                    14             And he was not sure, and he doesn't
15        Q A couple of months ago?                       15   know about the litigation, so he ask me to
16         A   Yes.                                       16   continue, help and handle completely.
17        Q Was that the only time you talked to          17        Q Did Mr. Chung Uang say that someone
18   Mr. Chung Uang to gain information about Eastern     18   else told him that Eastern Profit should pay back
19   Profit?                                              19   the million dollars, or did he tell you that
20         A   You mean after my first deposition?        20   Eastern Profit should pay back the $1 million?
21        Q Correct.                                      21         A    He told me Eastern Profit borrowed
22         A   Correct.                                   22   this 1 million, and now Eastern is unable to pay
23        Q Was the conversation with Mr. Chung           23   back that. He was chased.
24   Uang before or after your conversation with Mei      24        Q Did he tell you who Eastern Profit
25   Guo?                                                 25   borrowed the money from?

                                               Page 35                                                  Page 37

                                                                                        10 (Pages 34 to 37)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 158 of 288

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 1                 YVETTE WANG                             1                YVETTE WANG
 2         A    ACA.                                       2                MS. CLINE: Same objection.
 3         Q ACA?                                          3         A   What is your question?
 4         A    ACA.                                       4        Q Is dealing with ACA on behalf of
 5         Q Did he tell you that someone, a               5   Eastern Profit regarding the $1 million loan part
 6   person actually chased him around New York City       6   of GSNY's duties under the limited Power of
 7   for the money? I'm trying to understand what you      7   Attorney? I'm asking you for your understanding
 8   mean by chased? What do you mean by chased?           8   as Eastern Profit.
 9                 MS. CLINE: Objection to form.           9                MS. CLINE: Objection to form.
10         Q What do you mean by chased?                  10         A   I don't know what you mean dealing
11         A    What do you mean by chased? What do       11   with.
12   you mean by chased, like a stalk.                    12        Q Communicating with ACA.
13         Q Did he explain to you what he meant          13         A   When? From when to when?
14   by chased? Is that the word he used?                 14        Q Today.
15         A    He speaks Mandarin, Chinese.              15         A   He didn't clearly say that in our
16         Q True. Okay. What did he tell you             16   conversation, but my understanding should be yes.
17   about the efforts of ACA to recover the              17        Q So Eastern Profit believes that it is
18   $1 million?                                          18   authorized to deal with -- I'm sorry. Eastern
19         A    Oh, okay. He mentioned to me he was       19   Profit believes that Golden Spring is authorized
20   like called. Called. Called by a phone call.         20   to deal directly with ACA on repayment of the
21         Q Called?                                      21   loan?
22         A    Yeah. And, yeah, like called like a       22                MS. CLINE: Objection to the
23   couple of times he said.                             23            form. We may be going beyond the
24         Q Did he say when he received the phone        24            scope. It's not a memory test. If
25   calls?                                               25            you have a question about the POA,

                                               Page 38                                                  Page 40

 1                  YVETTE WANG                            1                  YVETTE WANG
 2         A   I guess -- I couldn't guess, of             2            you can put it in front of her and
 3   course. Before he talk to me.                         3            ask her.
 4        Q Were they recent or they happened a            4        A    What's the question?
 5   long time ago?                                        5       Q Would you need to see the Power of
 6                 MS. CLINE: Objection to form.           6   Attorney to answer that question?
 7         A   I didn't ask him, but he was saying         7        A    Yeah. That would be great.
 8   that he wanted me to continue handle all of this.     8       Q Okay. Let's do that.
 9        Q What did he mean by all of this?               9               (Guo Exhibit 2, Limited Power of
10                 MS. CLINE: Objection.                  10           Attorney Bates stamped Eastern-000276
11            Foundation.                                 11           and 277 previously marked for
12        Q What did you understand that he meant         12           Identification as of this date.)
13   when he said continue to handle all of this?         13           I'm going to hand you what we marked
14         A   You're asking my understanding?            14   as Guo Exhibit 2. We're not going to remark this.
15        Q Yes.                                          15   I'm just going to hand you what we marked as Guo
16         A   My understanding is we were                16   Exhibit 2. Please give one to your attorney. And
17   authorized by a limited POA to deal with the         17   you'll see it already says Guo Exhibit 2, and it's
18   contract until now including litigation, including   18   Bates labeled 276 -- Eastern 276 to Eastern 277.
19   like now I sit in front of you to be questioned.     19           Do you recognize this document?
20        Q Is dealing with ACA on the loan part          20        A    Yes.
21   of the Limited Power of Attorney?                    21       Q Is this the Limited Power of Attorney
22                 MS. CLINE: Objection to the            22   that Eastern Profit granted to Golden Spring, New
23            form.                                       23   York?
24        Q Is that covered within the limited            24        A    Yes.
25   Power of Attorney?                                   25       Q And is the negotiation of -- we'll

                                               Page 39                                                  Page 41

                                                                                         11 (Pages 38 to 41)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 159 of 288

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 1                YVETTE WANG                             1                YVETTE WANG
 2   start with -- I'm going to break this apart.         2           Has Eastern Profit asked Golden
 3   Okay?                                                3   Spring New York to deal on Eastern Profit's behalf
 4           I'm going to ask you about the loan          4   with ACA regarding the loan?
 5   that Eastern Profit claims it has with ACA. Okay?    5        A   You asked about when?
 6   My first question is is negotiation of that loan     6        Q As of now.
 7   between Eastern Profit and ACA one of the powers     7        A   In my conversation with Mr. Han, he
 8   that Eastern Profit granted Golden Spring under      8   mentioned to me or he asked me can you please
 9   this Power of Attorney?                              9   explain what is happening to ACA about this loan,
10                MS. CLINE: You're asking her to        10   because I was or I am chased to ask before pay
11            read the document?                         11   back. I don't know how to explain to ACA.
12        Q I'm asking for Eastern Profit's              12        Q How did you respond him?
13   testimony. If you want to look at the document if   13        A   I said okay.
14   that would help, that's fine. If you think you      14        Q Was this the first time Mr. Chunguang
15   personally know it, that's fine too.                15   had told you that ACA was trying to recover this
16                MS. CLINE: This deposition is          16   million dollar payment?
17            not about her personal knowledge.          17        A   I don't remember clearly, but yes.
18        A    Can I read this?                          18        Q Before your conversation with
19        Q Go ahead.                                    19   Mr. Chunguang, had you heard from anyone, from any
20        A    (Reading) What's your question?           20   other source, that ACA was trying to recover the
21        Q I'll have the court reporter just            21   million dollar payment?
22   read it back.                                       22        A   What's your question?
23               (The requested portion of the           23        Q Before this conversation with
24           record was read back by the                 24   Mr. Chunguang, had you heard from anyone, from any
25           reporter.)                                  25   other source that ACA was trying to recover the

                                              Page 42                                                   Page 44

 1                  YVETTE WANG                           1                YVETTE WANG
 2                 MS. CLINE: I'm going to repeat         2   million dollar payment?
 3             my objection to form. You're asking        3         A  Yes, I did.
 4             the witness to interpret a document        4         Q From where?
 5             that speaks for itself and we can all      5         A  I remember ACA mentioned this to me
 6             read.                                      6   also.
 7        A     This limited Power of Attorney in my      7         Q When was that?
 8   understanding is talking about Eastern Profit's      8         A  Kind of like by the -- long time ago.
 9   Corporation Limited authorized Golden Spring New     9   By the end of or fall of 2018.
10   York Limited to deal with the contract with         10         Q Who is the person from ACA who
11   Strategic Vision.                                   11   contacted you?
12        Q There's no reference to ACA in here,         12         A  William.
13   is there?                                           13         Q William who?
14        A     I didn't see that name on these two      14         A  William Yu.
15   pages.                                              15         Q How do you spell that in English?
16        Q So let me ask you this. Separate and         16         A  William?
17   apart from this Limited Power of Attorney, has      17         Q No. Yu.
18   Eastern Profit asked Golden Spring New York to      18         A  Y-U.
19   deal with ACA regarding the purported Eastern       19         Q Is William Yu also sometimes called
20   Profit ACA loan?                                    20   William Je, J-E?
21        A     What do you mean purported?              21         A  I don't know his other name.
22        Q The loan.                                    22         Q Does he also go by Je Kin Ming, J-E
23        A     Okay.                                    23   K-I-N M-I-N-G?
24        Q Has Eastern Profit -- I'll repeat the        24         A  I just know his name is William.
25   question.                                           25         Q Did William reach out to you by phone

                                              Page 43                                                   Page 45

                                                                                        12 (Pages 42 to 45)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 160 of 288

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                                            www.depo.com

 1                YVETTE WANG                             1                   YVETTE WANG
 2   or E-mail?                                           2        Q Did you tell him at the dinner that
 3        A    In the fall of 2018, like last year,       3   you met Eastern?
 4   a year ago, I believe I met him in the restaurant    4         A    What's the question?
 5   again.                                               5                 MS. CLINE: Objection to form.
 6        Q And he mentioned it over lunch or             6        Q Did you tell him at the dinner that
 7   dinner?                                              7   when you said that you were cheated, you actually
 8        A    Dinner?                                    8   meant Eastern?
 9        Q Yes, over dinner?                             9                 MS. CLINE: Objection to form.
10        A    Yes, dinner.                              10         A    You mean I mean Eastern or I said
11        Q Who else was present, if anyone?             11   Eastern? What is the question?
12        A    Just me and him.                          12        Q Did you tell Mr. Je or Mr. Yu that
13        Q What did he say?                             13   Eastern was the one that was cheated?
14        A    About what?                               14                 MS. CLINE: Objection to form.
15        Q About the million dollar loan.               15         A    I didn't pronounce Eastern is worse,
16        A    I don't remember precisely what he        16   but I said I was cheated. We were cheated. Which
17   said. Kind of he asked, I heard you are cheated,    17   if you want to understand who they are, we or I,
18   and then I briefly told her.                        18   in my understanding they are the Eastern people,
19        Q Told him?                                    19   not including myself.
20        A    Yeah, told him. Yeah. We were             20        Q Who else?
21   cheated by two liars.                               21         A    Who else?
22        Q So did he demand repayment of the            22                 MS. CLINE: Objection to form.
23   million dollars from Eastern Profit?                23         A    Oh, yeah. I forgot this one. Miles,
24        A    You mean in our dinner?                   24   M-I-L-E-S.
25        Q Yes.                                         25        Q This is Guo Wengui?

                                              Page 46                                                   Page 48

 1                  YVETTE WANG                           1                  YVETTE WANG
 2         A     He mentioned that. Kind of a -- he       2        A     Correct.
 3   said we are expecting the result, but you are        3        Q Okay. Who else?
 4   cheated. And the loan agreement, the loan kind of    4        A     Man Cho Han.
 5   like need to be pay back.                            5        Q Who else?
 6         Q What result did he say he was                6        A     Who do you want else?
 7   expecting?                                           7        Q Who were the people? You said the
 8                  MS. CLINE: Objection to form.         8   Eastern people were cheated. I'm asking who are
 9         A     Generally they corrupted Chinese         9   those Eastern people that you are referring to?
10   official information.                               10            You mentioned Guo, you mentioned
11         Q So William Je said he expected that         11   Lianchao.
12   information?                                        12        A     You cannot define my term by
13                  MS. CLINE: Objection to form.        13   yourself, okay. I say Eastern people. I don't
14         A     Correct.                                14   mean Eastern's employee, or Eastern's director or
15         Q Did you tell him that, in fact, you         15   Eastern's like whatever.
16   were cheated?                                       16             I mean the people on Eastern's side
17                  MS. CLINE: Objection to form.        17   who are authorized, who is designated, and who has
18         A     Yes.                                    18   the same goal to take down Chinese Communist
19         Q And who is the "you" who was cheated?       19   Party.
20         A     Myself.                                 20             That is my definition about Eastern
21         Q "You," Yang Ping Wang? (Phonetic)           21   people.
22         A     When I say I was cheated, I mean I      22        Q Very good. We'll come back to that.
23   should say Eastern, because -- if you're asking     23   That's a separate section. So let me bring us
24   about contract. But I was authorized by Eastern.    24   back to the outline here so I cover everything.
25   So if I say I, I mean Eastern.                      25            Before we leave this discussion with

                                              Page 47                                                   Page 49

                                                                                        13 (Pages 46 to 49)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 161 of 288

                                          Atkinson-Baker, Inc.
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 1                 YVETTE WANG                            1                 YVETTE WANG
 2   William Yu, did you commit to him that Eastern       2   Mr. Yu, had Eastern Profit given you authority to
 3   Profit would pay him back the million dollars?       3   deal with Mr. Yu about repayment of the loan?
 4                MS. CLINE: Objection to form.           4                MS. CLINE: Objection to form.
 5        A    What do you mean committed?                5         A   When William mentioned to me I will
 6       Q Tell.                                          6   have to ask the loan to be asked. I have to ask
 7        A    In my understanding, this is a low         7   the loan to be fully paid back with interest. I
 8   agreement between lender and a borrower. And the     8   said yes. I agree with you. I didn't say there
 9   borrower should pay back the money, which means      9   is any reason. You couldn't.
10   Eastern should pay back.                            10        Q My question to you --
11       Q My question is what you told him              11         A   That was my conversation with William
12   though. Not how you characterize this, but my       12   about this loan.
13   question is: What did you tell Mr. Yu?              13        Q Okay. My question now to you is
14        A    I prefer not to use told. I agreed.       14   Eastern Profit is -- were you acting as Eastern
15       Q So you -- so Mr. Yu told you that he          15   Profit's agent in having that discussion with
16   expected Eastern Profit to pay a million dollars    16   William Yu about the loan?
17   to ACA. You told him that you agreed?               17         A   You mean before my dinner with
18        A    With interest.                            18   William?
19       Q With interest?                                19        Q During your dinner with William, were
20        A    Yeah.                                     20   you acting as Eastern Profits' agent in saying
21       Q Did you have authority to tell Mr. Yu         21   yes, I agree with you that the loan should be
22   that on behalf of Eastern?                          22   repaid, or you're just expressing your own
23                MS. CLINE: Objection to form.          23   personal opinion?
24        A    Authority? What do you mean               24         A   Oh. It's much easier to understand
25   authority?                                          25   now. I would express my personal opinion and

                                              Page 50                                                   Page 52

 1                  YVETTE WANG                           1                    YVETTE WANG
 2        Q Well, had Eastern given you authority         2   Eastern's also.
 3   to deal with ACA regarding the loan?                 3        Q So why are you able to say that you
 4                MS. CLINE: Objection to form.           4   were expressing Eastern's opinion?
 5        A    Deal with ACA about the loan? It's         5                 MS. CLINE: Objection to form.
 6   too general. I couldn't understand your question.    6         A    You're asking my personal
 7        Q Well, we just looked at the limited           7   understanding; right?
 8   Power of Attorney. It's not in there; is it?         8        Q No. I'm asking why is -- Eastern is
 9                MS. CLINE: Objection.                   9   sitting here today telling me that when you told
10        A    What is not there?                        10   William Yu yes, I agree with you, that you were
11        Q Your authority to deal with ACA              11   speaking on behalf of it. And I'm saying on what
12   regarding its purported loan to Eastern Profit is   12   basis. How or why did Eastern give you authority
13   not set forth in the Power of Attorney; is it? We   13   to speak on its behalf with William Yu?
14   just looked at it.                                  14                 MS. CLINE: Objection to form.
15                MS. CLINE: Objection. You're           15         A    I still don't quite understand your
16            mischaracterizing the document and         16   question.
17            her testimony, and I think you're          17        Q Okay. We'll break it down. We'll
18            trying to confuse the witness. She's       18   break it down.
19            here as a representative of Eastern        19            Did someone from Eastern tell you
20            Profit. Later you can ask her about        20   that you should deal with William Yu regarding the
21            the role of Golden Spring.                 21   purported ACA to Eastern Profit loan?
22        Q I'm asking for Eastern Profit's              22         A    By that dinner, I don't remember
23   understanding about what power you had to deal      23   clearly. I don't remember clearly. I was talking
24   with ACA regarding the loan.                        24   with William. Again, I was thinking that I have
25           So when you were speaking with              25   this case in my hands. And this is a -- sounds

                                              Page 51                                                   Page 53

                                                                                        14 (Pages 50 to 53)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 162 of 288

                                           Atkinson-Baker, Inc.
                                             www.depo.com

 1                    YVETTE WANG                          1                 YVETTE WANG
 2   like in my understanding a no more business loan      2        A    Oh. In my dinner --
 3   agreement, and people should pay back.                3       Q Yes.
 4         Q Now do you recall on January 31, 2019         4        A    -- with William?
 5   at your first deposition you testified that you       5       Q Yes.
 6   had not seen the loan agreement.                      6        A    I told him Eastern should pay back.
 7             Do you recall that?                         7       Q Did Eastern have an understanding how
 8                   MS. CLINE: Objection. If you          8   it was going to pay back the loan?
 9              want to ask her about her testimony,       9        A    By this lawsuit. That's why Eastern
10              you can show her the transcript.          10   sued, to get this 1 million back, because
11         Q I'm happy to show you the transcript.        11   Eastern's bank account was frozen.
12   Do you want to look at it?                           12       Q It wasn't frozen yet at that time in
13             Let me do this. Do you recall              13   the fall of 2018?
14   offhand whether you had seen the loan agreement      14                MS. CLINE: Objection to form.
15   yet when you gave your first deposition in this      15        A    Eastern's bank account was frozen
16   case?                                                16   around June of 2018, yes.
17         A     You're asking when I was deposed for     17       Q Although that was after the lawsuit
18   the first time, by then did I ever see with my own   18   was filed, wasn't it? The lawsuit was filed in
19   eyes the loan agreement or not?                      19   March of 2018; isn't that right?
20         Q Right.                                       20                MS. CLINE: Objection again.
21         A     I heard --                               21            This is a memory test.
22         Q Right.                                       22        A    Oh, yeah. This is a memory test. My
23         A     -- the loan agreement.                   23   mistake.
24         Q So as of January, 2019, you had heard        24            You're confusing me with all these
25   there was a loan agreement. You had not yet seen     25   dates back and forward, Eddie.

                                               Page 54                                                  Page 56

 1              YVETTE WANG                                1                 YVETTE WANG
 2   it?                                                   2            So correction. Eastern's bank
 3        A    Correct.                                    3   account was frozen. When is it this contract was
 4        Q So this discussion with Mr. Yu                 4   signed with SV's contract.
 5   happened in the fall of 2018. You just testified      5        Q It's dated -- it was signed
 6   several months before your deposition. So when        6   January 6, 2018.
 7   you were speaking with Mr. Yu, you had not yet        7        A    January, 2018. Eastern's bank
 8   seen the loan agreement; correct?                     8   account was frozen in June of 2017. This is the
 9        A    I did not see physically the hard           9   correct answer.
10   copy paper in front of me was my personal            10                MS. CLINE: Can we take a break
11   knowledge. I was testifying my gained knowledge      11            pretty soon. We've being going for
12   or obtained knowledge.                               12            over an hour.
13        Q When did you first hear that there            13                MR. GREIM: Yes. Good point.
14   was a loan between ACA and EP, Eastern Profit.       14            I'm going to finish up with this.
15        A    2018.                                      15            I'm thinking the same thing because
16        Q Was it before the dinner with Mr. Yu?         16            I'm running low.
17        A    I don't remember that.                     17        Q Let me go back to your discussion
18        Q Do you think maybe you learned of the         18   with Mr. Chunguang.
19   loan agreement from Mr. Yu?                          19            Who did he say was calling him from
20        A    Possibly. I don't remember that            20   ACA?
21   clearly.                                             21                MS. CLINE: Objection to form.
22        Q Did you tell Mr. Yu how Eastern               22        A    What was the question?
23   Profit intended to repay the loan?                   23        Q You said that Mr. Chunguang told you
24        A    Intend? What do you mean intend?           24   somebody was chasing him about the million dollar
25        Q Planned.                                      25   loan.

                                               Page 55                                                  Page 57

                                                                                        15 (Pages 54 to 57)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 163 of 288

                                           Atkinson-Baker, Inc.
                                             www.depo.com

 1                YVETTE WANG                              1                  YVETTE WANG
 2        A   Correct.                                     2       Q Yes I am, actually.
 3        Q I gather that somebody was not                 3        A    Wow. Year?
 4   actually following him around the streets for         4       Q Something he said gave you the
 5   collection. I gather that you mean somebody was       5   impression that the calls had been happening for
 6   contacting him; correct?                              6   about a year?
 7        A   Correct.                                     7        A    Yes.
 8        Q And who was the person who was                 8       Q But you can't remember the exact
 9   contacting him?                                       9   words he used?
10               MS. CLINE: Objection.                    10        A    If you want me to translate, because
11        Q Who did he say?                               11   he speaks Mandarin, he used long time, always some
12               MS. CLINE: Objection to form.            12   words like that.
13        A   You're asking the name; right?              13       Q Did he know William Je by the way;
14        Q Yes. Yes.                                     14   was William Je known to him?
15        A   William.                                    15                 MS. CLINE: Objection.
16        Q Did he say whether William -- this is         16            Foundation.
17   the same William Yu, or the same William Yu that     17                 This is beyond the scope of a
18   you mentioned before?                                18            30(b)(6) of Eastern Profit.
19        A   Correct.                                    19       Q It's important to understand whether
20        Q Did he say how William Yu was                 20   the Eastern Profit purported representative
21   contacting him?                                      21   dealing with ACA on repayment of the loan, whether
22        A   What was the question?                      22   they're known to each other or not.
23        Q Did he say how William Yu was                 23            Did you get the understanding from
24   contacting him?                                      24   talking to Mr. Han that he was already familiar
25        A   You mean by what kind of a                  25   with William Yu?

                                               Page 58                                                   Page 60

 1                 YVETTE WANG                             1                 YVETTE WANG
 2   communication tool; right?                            2                 MS. CLINE: Again, this is a
 3        Q Yes. Yes.                                      3             corporate designee deposition of
 4        A    He said phone call.                         4             Eastern Profit. You subpoenaed
 5        Q Did he say how many phone calls?               5             everyone whose name has ever been
 6        A    A couple of.                                6             mentioned in this case. You can ask
 7        Q And your testimony is he did not say           7             more appropriate people those types
 8   when he had received these phone calls?               8             of questions.
 9                MS. CLINE: Objection to form.            9                 MR. GREIM: Okay. I'll just ask
10        A    You're asking did he tell me on which      10             Eastern Profit.
11   dates he was caught?                                 11         Q Was William Yu familiar with -- I'm
12        Q Just generally when. If he gave you           12   sorry. Was Mr. Han familiar with William Yu?
13   dates, great.                                        13                 MS. CLINE: Objection.
14        A    Which unfortunately he didn't give me      14             Foundation.
15   the dates.                                           15          A   I don't remember my filling, that
16        Q Did he tell you it was recent?                16   conversation. Eddie is asking my personal
17                MS. CLINE: Objection to form.           17   filling.
18        A    Not only recent. Yeah. He said --          18         Q Well I'm not asking -- I'm asking --
19   he told me he was called or he was chased for long   19   forget about your feelings. Sorry. It sounds
20   time.                                                20   terrible.
21        Q Just a few more questions, and then           21          A   I'm fine.
22   we will take a break here.                           22         Q I'm asking Eastern Profit whether the
23            What do you mean for a long time?           23   person it claims is its principal is familiar with
24        A    You're asking my personal                  24   William Yu.
25   understanding?                                       25                 MS. CLINE: Objection.

                                               Page 59                                                   Page 61

                                                                                         16 (Pages 58 to 61)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 164 of 288

                                           Atkinson-Baker, Inc.
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 1                   YVETTE WANG                           1                 YVETTE WANG
 2             Foundation.                                 2   ACA regarding the million dollar loan?
 3                 You're going to depose Mr. Han.         3                MS. CLINE: Objection to form.
 4             You can ask him a question directly.        4        A    In my understanding from the moment I
 5                 MR. GREIM: Okay. If this                5   knew the loan, I should help Eastern to handle
 6             representative doesn't know that,           6   everything.
 7             that's okay.                                7        Q From the first time you learned of
 8        Q But if Eastern Profit knows the                8   the loan, you believed it was your responsibility
 9   answer, I would like to know the answer.              9   to handle issues regarding the loan?
10         A    I cannot talk on behalf of any            10                MS. CLINE: Objection to form.
11   individual. His or her personal knows someone or     11        A    Yes.
12   don't know someone, familiar with someone or not     12        Q And you first learned of the loan
13   familiar with someone.                               13   sometime in 2018; right?
14                 MR. GREIM: All right. Let's            14        A    Yes.
15             take a break. Let's take a 10-minute       15        Q Possibly you learned of it for the
16             break, if that's okay.                     16   first time in your dinner with William Yu?
17                 Does that make sense?                  17                MS. CLINE: Asked and answered.
18                 THE VIDEOGRAPHER: The time is          18        A    I believe you asked this question
19             11:36 a.m., Wednesday, October 30,         19   already. The answer is possibly.
20             2019. This is the end of media             20        Q So what has Eastern done, or what has
21             number one of the videotaped               21   Eastern told you to make you believe that you have
22             deposition of Miss Yvette Wang.            22   authority on its behalf to deal with ACA regarding
23                 We are off the record.                 23   the loan?
24                 (At this time, a brief recess          24                MS. CLINE: Objection to form.
25             was taken.)                                25            She's already testified about her

                                               Page 62                                                   Page 64

 1                   YVETTE WANG                           1                  YVETTE WANG
 2                 THE VIDEOGRAPHER: The time is           2            responsibilities.
 3             11:51 a.m., Wednesday, October 30,          3        A    I will repeat my answer again.
 4             2019. This is media number 2 of the         4            Both Mr. Han and Miss Mei Guo told me
 5             videotaped deposition of this event.        5   can you please handle everything, because we do
 6             We're back on the record.                   6   not know the details.
 7   CONTINUED EXAMINATION                                 7        Q But those two conversations happened
 8   BY MR. GREIM:                                         8   in the summer and the late summer of 2019; right?
 9        Q Okay. I want to clear up a few                 9                MS. CLINE: Objection to form.
10   things from our last round of questions, and then    10        A    Yes.
11   we'll move on to a new topic. Okay?                  11        Q So how did you get authority from
12         A    (Nodding)                                 12   Eastern Profit before that time to deal with ACA
13        Q In your conversation with Guo Mei,            13   regarding the loan?
14   did she ask you to handle Eastern Profit's           14        A    What's your question?
15   interactions with ACA regarding the million dollar   15        Q How did you get authority from
16   loan?                                                16   Eastern Profit before your discussions with Guo
17         A    You mean our dinner?                      17   Mei and Han Chunguang to deal with ACA regarding
18        Q Yes.                                          18   the loan?
19         A    She didn't specifically say the           19        A    What I say before this conversation?
20   details, but basically she said, "I don't know any   20        Q For example your fall, 2018 dinner
21   of this. Please handle all of this."                 21   meeting with William Yu.
22        Q So is it Eastern Profit's position            22        A    In my understanding, that was a
23   that -- let me back up.                              23   dinner. It's not specifically about anything.
24             Is it Eastern Profit's position that       24        Q Well, you testified earlier that when
25   you are to handle negotiations or discussions with   25   you said yes, I agree, that you were speaking on

                                               Page 63                                                   Page 65

                                                                                         17 (Pages 62 to 65)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 165 of 288

                                           Atkinson-Baker, Inc.
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 1                 YVETTE WANG                             1                  YVETTE WANG
 2                 MS. CLINE: Objection. Eddie,            2   words we said in that dinner to help you in here.
 3             you're taking that Power of Attorney,       3   Okay? William mentioned to me I heard you guys
 4             which has to do the authority granted       4   were cheated by liars, which means I will have to
 5             to Golden Spring, and you're using it       5   ask the loan to be paid back with interest. I
 6             to misdirect the question to this           6   remember I said yes, sadly, we were cheated, and
 7             witness who is sitting on behalf of         7   I'm sorry about that.
 8             Eastern Profit.                             8             And I agree with you, since you guys
 9                 So the Power of Attorney has to         9   have a law agreement, the borrower should pay you
10             do with Golden Spring. You can ask         10   back, and we are in litigation right now trying to
11             about that later with respect to           11   get that 1 million U.S. dollars from the liars
12             Golden Spring's authority.                 12   back.
13                 She's already answered your            13             Hopefully we can get the justice, and
14             question about her role at Eastern         14   that 1 million U.S. dollars can be returned back
15             Profit multiple times now.                 15   to Eastern Profits with even any damage. So
16                 MR. GREIM: I'm asking for the          16   Eastern, as you said, you told me borrower can pay
17             basis of it, and I would ask for the       17   you back.
18             speaking objections to stop.               18        Q Okay. My question --
19        Q So here's my question. I'm going to           19        A     That is precisely a hundred percent.
20   ask it a third time. I haven't heard an answer       20   No. Too much hundred percent. 99 percent of
21   yet.                                                 21   words we used in a conversation.
22            Is there any document that granted          22        Q That was not my question.
23   you authority to deal with William Yu on behalf of   23            My question is: Was there anyone
24   Eastern Profit relating to the ACA loan before       24   from Eastern Profit who told you that you had
25   your fall, 2018 dinner with William Yu?              25   authority to deal with William Yu on its behalf

                                               Page 70                                                   Page 72

 1                  YVETTE WANG                            1                  YVETTE WANG
 2         A    I don't remember that.                     2   before you had that meeting? It's a yes or no.
 3        Q Okay did someone from Eastern Profit           3   Someone did or someone didn't.
 4   tell you, before the fall, 2018 meeting, that you     4                  MS. CLINE: Is not necessarily.
 5   had authority to deal with William Yu on behalf of    5             Objection to form. Asked and
 6   Eastern Profit relating to the ACU loan?              6             answered.
 7                  MS. CLINE: Objection to form.          7         A    I don't remember that.
 8         A    What's the question?                       8        Q Now had the contract not terminated,
 9        Q Did someone from Eastern Profit tell           9   how was Eastern Profit ever going to pay ACA back?
10   you before your 2018 dinner meeting with William     10         A    What's the question?
11   Yu that you had authority to deal with him on        11        Q If the contract had not been
12   Eastern Profit's behalf regarding the ACA loan?      12   terminated and Strategic Vision had given Eastern
13                  MS. CLINE: Objection to form.         13   Profit what it wanted, how was is it ever going to
14         A    I don't remember that.                    14   repay the loan to ACA, or even make interest
15        Q So why do you believe that you did            15   payments?
16   have authority to deal with Mr. Yu then?             16         A    If they're not liars, we were not
17                  MS. CLINE: Asked and answered.        17   cheated, they're professional qualified
18         A    Did I believe? You're confusing me.       18   investigation company. You're talking about if
19        Q On what basis does Eastern Profit             19   that is the scenario.
20   claim that you had authority to deal with William    20        Q How is Eastern Profit going to repay
21   Yu regarding the ACA loan at the fall, 2018          21   Strategic or ACA?
22   meeting?                                             22         A    Which means if this contract with
23         A    Eddie, I will repeat my reply for the     23   Strategic Vision, let's say, let's imagine work
24   fourth time for you.                                 24   out, right, succeed by the end; right? Okay.
25             I tried to recall every inch of the        25             Eastern Profit has bank account. And

                                               Page 71                                                   Page 73

                                                                                         19 (Pages 70 to 73)
                                           30(b)(6) Yvette Wang
                                             October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 166 of 288

                                           Atkinson-Baker, Inc.
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 1                   YVETTE WANG                           1                 YVETTE WANG
 2   I heard there are assets. The bank account was        2            You're asking her the nature of
 3   frozen by Chinese Communist Party in Hong Kong.       3            Eastern Profit's business. Fine.
 4   By Eastern believes if the corrupted CCP are taken    4            But beyond that, getting into the
 5   down, they are -- there are assets. Nobody can        5            nature of investments and so forth I
 6   take them.                                            6            think goes beyond the appropriate
 7             So the bank account will be unfrozen,       7            scope. Again, I know the judge gave
 8   and Eastern will back to their normal business.       8            you seven hours. But we can get to
 9        Q Which is what?                                 9            the topics we agreed upon and are
10        A     I heard again -- this is my obtain        10            covered by the court's order, that
11   knowledge, like investment.                          11            would be the goal of this deposition.
12        Q You said that at your first                   12        Q What more do you know about Eastern
13   deposition. What about investment management?        13   Profit's business?
14        A     What do you mean investment               14        A    Eastern is registered in 2011.
15   management?                                          15        Q Right.
16        Q Well I'm just trying to ask you, what         16        A    In Hong Kong. They are operating
17   do you mean investment? What is that? I don't        17   from 2011 until they're their bank account was
18   understand what you mean by that.                    18   frozen.
19        A     It could be like the investment on        19        Q You said their business is
20   the cars, which they already have right now, in      20   investments, which was your answer in the last
21   any profitable investment.                           21   deposition, and also that they own cars.
22             What's your question? Sorry.               22            Now is this part of their business?
23        Q Are they a car dealership?                    23   Do they buy and sell cars, or do they just happen
24                  MS. CLINE: Objection to form.         24   to own a company car?
25        Q You say investment in cars. They              25                MS. CLINE: Again, objection.

                                               Page 74                                                  Page 76

 1                 YVETTE WANG                             1                  YVETTE WANG
 2   invest in antique cars?                               2            Beyond the scope.
 3       A     I didn't say that.                          3        Q In other words, is this just as an
 4       Q Okay. How does one invest in cars?              4   asset that they happened to have, in which case I
 5                MS. CLINE: Objection.                    5   don't care about it whatsoever, or is it their
 6       Q I just want to understand. I don't              6   business to own cars, to invest, buy and sell
 7   think we have to go far into this. I truly don't      7   cars?
 8   understand the investment business in cars. What      8        A    I believe their investment is not
 9   do you know about this?                               9   only buy and sell cars.
10                MS. CLINE: Objection to form            10        Q Okay. Is that one of the
11            and mischaracterizes the testimony.         11   investments? Do they make investments in cars?
12       Q Tell me where I'm wrong. So far we             12        A    Sorry. What's the question?
13   know that they own cars and that they do             13        Q Do they make investments in cars?
14   investments.                                         14                MS. CLINE: Objection to form.
15           What more can you tell me about the          15        A    They own cars. It could come from
16   business of Eastern Profit?                          16   investment.
17                MS. CLINE: I'm going to lodge           17        Q Let me ask it this way.
18            another objection having now brought        18           Do they own a fleet of cars, or do
19            up the opinion which says beyond the        19   they have a few company cars?
20            scope of this testimony is whether          20                MS. CLINE: Objection to form.
21            plaintiff has any independent               21        A    There's no difference in my
22            financial identity.                         22   understanding.
23                MR. GREIM: I'm not asking that.         23        Q Do they have one or two cars, or do
24            I'm asking what it does.                    24   they have many cars that they have bought as an
25                MS. CLINE: Let me finish.               25   investment?

                                               Page 75                                                  Page 77

                                                                                        20 (Pages 74 to 77)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 167 of 288

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 1                YVETTE WANG                              1                  YVETTE WANG
 2               MS. CLINE: Objection. Again,              2   understand he's talking about ACA.
 3           she's sitting here in her capacity as         3        Q But you didn't see this loan
 4           a representative of 30(b)(6) -- a             4   agreement until sometime in 2019 when Mr. Grendi
 5           30(b)(6) representative for Eastern           5   gave it to you; correct?
 6           Profit.                                       6        A     I don't remember the time. Again, I
 7               You have yet to ask a single              7   told you I don't remember first time agreement.
 8           question about the contract that is           8        Q You testified at your deposition that
 9           the subject of this lawsuit.                  9   you had asked for a copy of the loan agreement and
10               Now you're again asking                  10   hadn't gotten one.
11           questions about Mr. Je and ACA, which        11            Do you remember that?
12           is specifically not within the scope         12                 MS. CLINE: Objection to form.
13           of this deposition.                          13             Again if you want to show her
14               So if we can just get to what            14             testimony.
15           we're actually litigating, that would        15                 MR. GREIM: We will.
16           be amazing.                                  16        Q Turn to page 45, please. Are you
17       Q Did you ask Mr. Je about whether he            17   there?
18   signed this purported loan agreement from ACA to     18        A     45, yes.
19   Eastern Profit?                                      19        Q You see line 8 there is a question
20               MS. CLINE: Objection to form.            20   from the lawyer. He says: Is there documentation
21       A    He told me he signed.                       21   to support this loan? Answer: I requested there
22       Q When did he tell you that?                     22   should be some documents. Question: Have you
23       A    I don't remember that.                      23   ever seen the documents supporting this loan
24       Q Was it in 2019?                                24   answer? Answer: I didn't see that. Question:
25       A    I believe it was in 2018. The               25   You did not see it? Answer: No.

                                              Page 110                                                  Page 112

 1                  YVETTE WANG                            1                  YVETTE WANG
 2   dinner, that should be the first time he clearly      2            Did I read that correctly?
 3   told me, yes.                                         3         A    Yes.
 4        Q So how did this come up that he                4         Q Now do you recall testifying at your
 5   signed it? Did you ask him or did he just             5   deposition that you had not seen a copy of the
 6   volunteer that information?                           6   loan agreement?
 7        A    He told me.                                 7                 MS. CLINE: Objection to the
 8                MS. CLINE: Objection to form.            8             form.
 9        A    He told me we sign a loan agreement.        9         A    And you're helping yourself to answer
10   We had a loan agreement.                             10   your own question. By January, my first
11        Q So he told you two things. One, that          11   deposition, I testify I didn't see the law
12   there was a loan agreement, and two, that he had     12   agreement which you're helping yourself. I saw
13   been the signer on behalf of the ACA?                13   this law agreement after my first deposition.
14                MS. CLINE: Objection to form.           14         Q Good. And so -- but you cannot tell
15        A    You remember my first deposition in        15   us today when that was. Was it soon after the
16   January, 2019, I said I even didn't hear about ACA   16   deposition, was it recently before Mr. Grendi left
17   company. My dinner with William was by light         17   the case?
18   2018, that dinner. William just told me they sign    18         A    I don't remember.
19   a loan agreement. He didn't even mention to me       19                 MS. CLINE: Objection to form.
20   what company.                                        20         A    I don't remember that.
21        Q What company he signed on behalf of?          21         Q Once you got the loan document, did
22        A    Yes.                                       22   you question Mr. Han Chunguang about it?
23        Q Did you understand that it was ACA,           23         A    Question?
24   or did you think it was maybe a different company?   24         Q Did you ask him questions about the
25        A    When I saw this loan agreement and         25   document?

                                              Page 111                                                  Page 113

                                                                                      29 (Pages 110 to 113)
                                           30(b)(6) Yvette Wang
                                             October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 168 of 288

                                           Atkinson-Baker, Inc.
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 1                   YVETTE WANG                           1                  YVETTE WANG
 2        Q What, if any, was Guo Wengui's                 2   agent of Eastern Profit with respect to the loan?
 3   involvement in the discussion of the loan,            3        A     I said Mr. Guo acted as an agent on
 4   negotiation of the loan?                              4   behalf of Eastern Profit to talk with Strategic
 5         A    I'm not quite clear about his role in      5   Vision and Waller and wallop. W-A-L-L-E-R and
 6   this discussion.                                      6   W-A-L-L-O-P.
 7        Q Well, was he acting as Eastern                 7        Q I'm sorry. My question is about the
 8   Profits' agent in connection with the loan            8   loan, not about the discussions with Strategic
 9   negotiation?                                          9   Vision. I will be very clear.
10         A    Correct.                                  10            In fact, let me take a second.
11        Q Was he acting as Eastern Profit's             11            Does Mr. Guo have any E-mails or
12   agent -- let me strike that.                         12   texts that he sent to Mr. Ye or anyone else on
13            Has he been the acting as Eastern           13   Eastern Profit's behalf in connection with the
14   Profit's agent in connection with discussions with   14   loan?
15   ACA regarding payment or a collection of the loan?   15        A     I don't believe so.
16         A   I heard William mention to be paid         16        Q Did Eastern Profit check for those
17   back to Mr. Guo also.                                17   E-mails or texts before the deposition today?
18        Q Where did you hear that?                      18                 MS. CLINE: Again, that was not
19         A   From William.                              19             a subject of the depo notice.
20        Q When did he tell you this?                    20                 If you know the answer, you may
21         A    I forgot the precise words, but my        21             respond.
22   impression is he's chasing everyone he can chase.    22        A     I asked about the loan agreement. I
23        Q My question was when did William Je           23   was advised they were our discussion.
24   mention to you that he had talked to Guo about       24             So I didn't change further and say
25   paying back the loan?                                25   let me search your E-mail or search your texts,

                                             Page 126                                                  Page 128

 1                 YVETTE WANG                             1                   YVETTE WANG
 2        A    Should be quite a long time. 2018.          2   because I believe I was told the truth.
 3        Q Is this in the 2018 dinner?                    3        Q Did you ask Mr. Guo that question?
 4        A    Yes. In a dinner he mentioned to me         4         A    I didn't ask him. I don't remember
 5   also, yeah.                                           5   that.
 6        Q In a dinner or the dinner that we              6        Q Now the research agreement called for
 7   discussed earlier?                                    7   a fee of $750,000 a month; is that right?
 8        A    I believe we were talking about their       8                 MS. CLINE: Objection to form.
 9   dinner. I'm ready to tell you where is the            9         A    $750,000, U.S. dollars, based on
10   restaurant.                                          10   their weekly reports and general monthly reports.
11        Q Where is the restaurant?                      11   Without seeing or received the reports, $750,000
12        A    Avra.                                      12   U.S. dollars should not be paid.
13        Q Spell that for the record.                    13        Q What steps, if any, did Eastern
14        A    A-V-R-A. It's a great seafood              14   Profit take to raise the money for the first
15   restaurant.                                          15   $750,000 payment to Strategic Vision?
16        Q Well, other than Guo and other than           16                 MS. CLINE: Objection to form.
17   Han Chunguang, who else was involved in              17         A    Sorry. What's the question? Raised
18   negotiation of the ACA Eastern Profit loan?          18   the money?
19        A    Mei is aware of this loan also.            19        Q Sure.
20        Q Well, you say she is aware. My                20         A    What's the question?
21   question is who was involved in the negotiation of   21        Q What steps, if any, did Eastern
22   the loan?                                            22   Profit take to raise the money for the first
23        A    Oh. Negotiation. William, Mr. Han.         23   $750,000 payment to Strategic Vision?
24   Yeah.                                                24                 MS. CLINE: So hold your answer
25        Q You said Mr. Guo also acted as the            25             for a minute. Again, the Judge has

                                             Page 127                                                  Page 129

                                                                                     33 (Pages 126 to 129)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 169 of 288

                                          Atkinson-Baker, Inc.
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 1                  YVETTE WANG                           1                  YVETTE WANG
 2   the very back.                                       2       Q Whose name is it?
 3        A     Which page?                               3        A    It's a signature.
 4        Q Page 3. Was Chu -- do you see                 4       Q Of who?
 5   Chunguang Han's signature? Do you see it?            5        A    It could be a (inaudible) or any
 6        A     I see a signature behind Chunguang        6   symbolic.
 7   Han's name.                                          7       Q Let's go ahead and get it out. We
 8        Q Is that his signature?                        8   have it.
 9                 MS. CLINE: Objection.                  9        A    Let's get it.
10             Foundation.                               10                 (Wang Exhibit 2, Research
11        A     This is a accurate, as you said, true    11            Agreement dated December 29, 2017
12   loan agreement. Of course this is his signature.    12            Bates stamped Eastern-000005 to
13   What do you mean, like someone made up? I don't     13            Eastern 000009 previously marked for
14   understand your question.                           14            Identification as of this date.)
15        Q I'm asking Eastern Profit if this is         15       Q I'm going to show you what we marked
16   really its director's signature.                    16   in your first deposition as Wong 2.
17        A     I'm telling you this is a true loan      17            Do you recognize this document? The
18   agreement. So the signature on this loan            18   question pending is whether you recognize the
19   agreement, they are accurate and true.              19   document.
20        Q And how do you know that this is a           20        A    I'm preparing to answer your
21   true loan agreement; did someone tell you this?     21   question.
22                 MS. CLINE: Objection. Asked           22       Q Just making sure.
23             and answered. You're badgering the        23        A    Yes.
24             witness. You asked her about the          24       Q What is it?
25             signature. She answered the               25        A    It's called a Research Agreement.

                                             Page 138                                                 Page 140

 1                 YVETTE WANG                            1                   YVETTE WANG
 2            question.                                   2        Q It's an agreement that you signed in
 3        Q Other than Mr. Grendi, has anyone             3   French Wallop's presence; isn't it?
 4   else told you this is Mr. Chunguang Han's            4        A     Yes.
 5   signature?                                           5        Q And whose name did you sign?
 6                MS. CLINE: Objection to form.           6        A     I didn't. I did not mean to sign
 7            Mischaracterizes testimony.                 7   anyone's name here.
 8        Q Did you sign Chunguang Han's                  8        Q Did you sign any name?
 9   signature on the research agreement in this case?    9        A     Are you Chinese Mandarin,
10         A   Pardon?                                   10   linguistics? Do you read Mandarin?
11        Q Did you sign Chunguang Han's                 11        Q Answer the question. Whose name did
12   signature on the research agreement at issue in     12   you sign?
13   this case?                                          13        A     I didn't sign anyone's name. This is
14         A   How I can sign his signature?             14   a signature.
15        Q Do you sign his name to the research         15        Q What does it read?
16   agreement in this case?                             16        A     It's simple.
17         A   You're confusing me. Which                17        Q So this is not a name? I'm
18   agreement?                                          18   indicating the Chinese handwriting on page 3.
19        Q The research agreement at issue in           19                  MS. CLINE: Objection to form.
20   this case.                                          20        A     It could be a name.
21         A   That is a signature I was authorized      21        Q What is it? Whose name is this?
22   to sign.                                            22        A     I am authorized to sign this contract
23        Q So you were authorized to write his          23   on behalf of Eastern Profit Limited. I sign here.
24   name on that document?                              24   This is my signature on behalf of Eastern Profit
25         A   I don't believe that's his name.          25   Limited.

                                             Page 139                                                 Page 141

                                                                                    36 (Pages 138 to 141)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 170 of 288

                                          Atkinson-Baker, Inc.
                                            www.depo.com

 1                   YVETTE WANG                          1                  YVETTE WANG
 2         Q Fair enough.                                 2      Q     What date was that signed?
 3         A    I can say this is my name. I can say      3      A      You mean as Power of Attorney?
 4   this is in my English name or Chinese name, and      4      Q     Yes.
 5   this is my authorized signature here.                5                MS. CLINE: Just to be clear, is
 6   (Indicating)                                         6            your line of inquiry -- this is the
 7         Q My question is whose name is it?             7            Eastern Profit 30(b)(6). Your line
 8         A    Nobody's name.                            8            of inquiry, am I correct, relates to
 9         Q So a Mandarin speaker would look at          9            your authority on behalf of Eastern
10   this and say this is just squiggly lines, it's no   10            Profit.
11   one's name. Does it make out a name?                11                MR. GREIM: Correct.
12         A    I don't know think any Mandarin say      12        A    What's your question?
13   this name.                                          13       Q When was the limited Power of
14         Q This is Han Chunguang's name; isn't         14   Attorney signed?
15   it?                                                 15        A    You went me to read this; right?
16         A    I didn't say that.                       16       Q Just answer the question.
17         Q I'm asking you. Is this Han                 17        A    I need to know the question. What
18   Chunguang's name?                                   18   was the question?
19         A    I didn't say that. I don't think it      19       Q The question is: When was the
20   is.                                                 20   limited Power of Attorney signed? When was it
21         Q Okay. So your testimony under oath          21   signed?
22   is that you did not sign Han Chunguang's name?      22        A    August 30, 2018.
23         A    Correct.                                 23       Q Right. So my question is how did you
24         Q You signed -- did you sign any name?        24   get your authority; was it orally, or was it in
25                 MS. CLINE: Objection. Asked           25   writing, on or before January 6, 2018 to affix

                                             Page 142                                                 Page 144

 1                  YVETTE WANG                           1                YVETTE WANG
 2            and answered.                               2   something to exhibit number 2, the research
 3        A    I repeat again. I didn't mean to be        3   screen?
 4   anyone's name. I was authorized to sign on           4        A    You should ask me these questions
 5   Eastern Profits, and I just sign that.               5   from the very beginning. I will give you what you
 6        Q Who authorized you to sign this               6   need to know and what you want to know.
 7   agreement on behalf of Eastern Profit?               7       Q Great. I can't wait to hear it.
 8        A    Eastern Profit.                            8                MS. CLINE: I object. Please
 9        Q Who?                                          9            don't stare her down. You can ask a
10        A    Is both May, M-E-I, and Mr. Han.          10            question, and she can answer it. The
11        Q So Guo Mei and Mr. Han authorized you        11            stipulation is the stares we can do
12   sometime before January 6th or on January 6th to    12            without.
13   sign something on this line?                        13                MR. GREIM: Okay. But she's
14                MS. CLINE: Objection to form.          14            making a funny face at me. That's
15        A    They authorized me to handle this         15            okay.
16   research project with everything this project       16       Q I would just like to know the answer
17   needs Eastern to do.                                17   to the question.
18        Q How did they authorize you to handle         18           How did you get the authority to sign
19   this project on or before January 6th?              19   Exhibit 2?
20                MS. CLINE: Objection. Asked            20                MS. CLINE: When you say
21            and answered.                              21            Exhibit 2, you mean --
22        A    How?                                      22                MR. GREIM: The research
23        Q By what method did they give this            23            agreement.
24   authorization to you?                               24                MS. CLINE: -- Wang Exhibit 2.
25        A    You have a limited Power of Attorney.     25            You have two exhibits with the

                                             Page 143                                                 Page 145

                                                                                    37 (Pages 142 to 145)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 171 of 288

                                          Atkinson-Baker, Inc.
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 1                  YVETTE WANG                           1                 YVETTE WANG
 2            number 2 on them.                           2                MS. CLINE: Objection to form.
 3                THE WITNESS: Can I answer?              3            Mischaracterizes the document.
 4                MS. CLINE: Yes.                         4                THE WITNESS: Should I answer?
 5       A     I was authorized both by orally and        5                MS. CLINE: You can answer.
 6   Power of Attorney.                                   6        A    I don't remember the dates. 80
 7       Q What was the first word?                       7   percent. Again, she doesn't want me to guess.
 8       A     Orally. O-R-A-L-L-Y.                       8            I sign this research agreement based
 9       Q So is there another Power of Attorney          9   on a firm, confirmative, very firm, F-I-R-M, oral
10   that predates Guo Exhibit 2?                        10   authorization.
11                MS. CLINE: Again, the questions        11        Q From who?
12            that have to do with Golden Spring         12        A    From Mr. Han.
13            and Golden Spring's authority are for      13        Q When did he give you the oral
14            a separate deposition.                     14   authorization to sign the research agreement?
15                MR. GREIM: I agree.                    15        A    December, 2017.
16                MS. CLINE: Right now we're             16        Q Okay. When in December of 2017? A
17            talking about Eastern Profit.              17   lot of negotiations in that month.
18                MR. GREIM: Yup. That's exactly         18            When in December of 2017 did Mr. Han
19            right.                                     19   give you this authority?
20       Q So the question is -- first of all,           20        A    I don't remember the dates, but it
21   Exhibit 2, Wang Exhibit 2, the Research Agreement   21   was before we entered into this research
22   was signed by Eastern Profit; right?                22   agreement.
23       A     Correct.                                  23        Q So did you discuss with Mr. Han the
24       Q So you've just testified that you             24   terms of the research agreement?
25   received the authority to sign by Eastern Profit    25        A    Nope.

                                             Page 146                                                 Page 148

 1                 YVETTE WANG                            1                  YVETTE WANG
 2   from two different sources, orally and by limited    2        Q Did you translate it for him?
 3   Power of Attorney.                                   3        A     He didn't ask. I don't remember I
 4            So my first question is what is the         4   offered.
 5   limited Power of Attorney that authorized you to     5        Q Did you talk to Mr. Chunguang about
 6   sign the research agreement for Eastern Profit?      6   the deal with Strategic Vision?
 7                MS. CLINE: Objection to form.           7        A     Yes, I did.
 8        A    I have to correct my linguistic or         8        Q Did he give you approval that he
 9   your understanding. I told you orally or Power of    9   agreed with the deal?
10   Attorney.                                           10        A     He authorized me to deal with this
11        Q Okay. So is it your testimony that           11   deal. But he is aware we're trying to disclosure
12   there is a Power of Attorney that granted you the   12   the Chinese corrupted official by investigation.
13   authority to sign Wang Exhibit 2, or are you        13   And he is on same page with us, which means he
14   saying there is no limited Power of Attorney?       14   agree with what we are doing.
15   Which one is it?                                    15        Q So how did you know that that was the
16        A    I repeat again. I was authorized by       16   purpose of the research agreement?
17   eastern both orally and Power of Attorney.          17                 MS. CLINE: I'm sorry. I was
18        Q I see. And so we just looked at one          18             coughing. Can I hear that back.
19   Power of Attorney, but it mentions Golden Spring,   19                 (The requested portion of the
20   and it's from later in the year.                    20             record was read back by the
21                MS. CLINE: Objection to form.          21             reporter.)
22        Q So my question is is there some other        22                 MS. CLINE: Objection to form.
23   Power of Attorney that I haven't seen yet that      23        A     How did I know? I don't remember
24   gave you the authority to sign the research         24   that clearly, but I heard -- this is about Chinese
25   agreement on behalf of Eastern Property?            25   corrupted official. They're illegal like

                                             Page 147                                                 Page 149

                                                                                    38 (Pages 146 to 149)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 172 of 288

                                           Atkinson-Baker, Inc.
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 1                   YVETTE WANG                           1                  YVETTE WANG
 2   investigation from Miles and from Wallop, Waller.     2   How did you know Mr. Han was the person to go to
 3   Both.                                                 3   to get authority from Eastern Profit?
 4             I don't remember like which dates,          4                 MS. CLINE: Objection to form.
 5   the precise language, but Miles is looking for        5         A    I started to ask and look for someone
 6   some professional company, and Waller, Wallop         6   as I just said. It was Mr. Han. He mentioned to
 7   represented themselves, the best research company,    7   me Eastern Profit could be on the contract.
 8   professional qualified who can help our research.     8        Q This is Chunguang Han?
 9   So I got to know about this research from there.      9         A    Mr. Han.
10        Q Why did you -- what made you                  10        Q Han Chunguang; right?
11   understand that Mr. Han was the person to go to      11         A    Correct. He gave me Eastern Profit's
12   for authority to sign the research agreement?        12   name.
13                 MS. CLINE: Objection to form.          13        Q So the person who suggested Eastern
14        A     What's the question?                      14   Profit to take Mr. Guo's place was Han Chunguang?
15        Q How did you come to understand that           15                 MS. CLINE: Objection to form.
16   Mr. Han was the person for you to go to to seek      16         A    What do you mean take Mr. Guo's
17   authority to sign the research agreement?            17   place?
18                 MS. CLINE: Objection to form.          18        Q Who was the first person who
19        A     Because Waller and Wallop, obviously      19   mentioned Eastern Profit to you?
20   they did not want Mile's name on any of the          20         A    I don't remember clearly. It could
21   contracts.                                           21   be either Mr. Han or Mr. Guo, but I don't remember
22        Q I'm sorry?                                    22   that clearly.
23        A     I didn't finish.                          23        Q You remember testifying at your first
24        Q Okay. Go ahead.                               24   deposition it was Mr. Guo?
25        A     And Miles, he expressed okay. Let's       25         A    You want me to read the page? Which

                                              Page 150                                                  Page 152

 1                  YVETTE WANG                            1                   YVETTE WANG
 2   look for someone who can be on this contract          2   page?
 3   pursuing the same goal with us. I didn't finish.      3        Q Before we go back and do this, why
 4        Q Okay. Keep going.                              4   don't we do it the right way. I'm just going to
 5        A     So I start to look for, and I asked        5   ask you. You remember testifying before that you
 6   Mr. Han. He was onboard. That's it.                   6   first heard the words Eastern Profit from Mr. Guo?
 7        Q Okay. But my question unfortunately            7        A     You're asking me is that my testimony
 8   was: How did you know that Mr. Han was the right      8   in my first deposition?
 9   person to speak with to obtain Eastern Profit's       9        Q Yes. Yes.
10   authority?                                           10                 MS. CLINE: He's asking whether
11                 MS. CLINE: Objection to form.          11             you remember.
12        A     Okay. I'm still confused by you.          12        A     I don't remember that.
13        Q We know that at some point you                13        Q All right. Look at page 12, please,
14   identified Eastern Profit. We know that.             14   of your transcript.
15        A     Mm-hmm.                                   15        A     12, right.
16        Q You had to go to a real person though         16        Q Yes. Let's look at page 10. Even
17   to speak on behalf of Eastern Profit to give you     17   better, it's all over these pages.
18   authority; right?                                    18            Let's start on 10. Why don't you
19                 MS. CLINE: Objection to the            19   just take a look at pages 10 through 13. Just
20             form.                                      20   take a second to read through.
21        A     Continue.                                 21        A     From page 10 to 13?
22        Q You agree with me so far; right?              22        Q Yes, to the correct answer at the
23        A     I heard you so far.                       23   bottom of 13. You can go to the bottom of 13.
24        Q Okay. Fine. My question is why did            24            Are you finished?
25   you go to Mr. Han? Why not some other person?        25        A     Yes.

                                              Page 151                                                  Page 153

                                                                                      39 (Pages 150 to 153)
                                           30(b)(6) Yvette Wang
                                             October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 173 of 288

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 1                  YVETTE WANG                            1                 YVETTE WANG
 2        Q Okay. Now do you recall now that you           2         A   Should I continue?
 3   testified that Mr. Guo introduced you to Eastern      3         Q Go ahead. I'm sorry. I thought you
 4   Profit?                                               4   were done.
 5                 MS. CLINE: Objection to form.           5         A   He told me Eastern Profit could be
 6         A    Now I do.                                  6   onboard. I can go ahead to sign a contract.
 7        Q All right. I don't want to get you             7         Q Did he explain to you what his
 8   too far down the road with Han Chunguang, because     8   relationship with Eastern Profit was?
 9   I remember his testimony.                             9         A   I forgot the precise words he told
10             So how is it then that you learned         10   me, but he expressed he was or he is running
11   that Han Chunguang had anything to do with Eastern   11   Eastern Profits, and he told me Eastern Profits
12   Profit?                                              12   will be on the same side with our big anti-CCP,
13         A    What's the question?                      13   Chinese Communist Party.
14        Q How did you learn that Han Chunguang          14         Q Did Mr. Han tell you what his duties
15   had anything to do with Eastern Profit?              15   and responsibilities were?
16         A    How did I learn?                          16         A   He was running. My impression is he
17        Q Mm-hmm.                                       17   was running.
18         A    That was I asked him there's a            18         Q Who told you he was the, quote,
19   project in here, kind of like are you interested.    19   principal of Eastern?
20   And then he told me Eastern Profit probably could    20                 MS. CLINE: Objection to form.
21   join this project.                                   21         A   Called principal.
22        Q Han Chunguang said this to you?               22         Q Who told you that he was the
23         A    I don't remember the precise words        23   principal of Eastern?
24   quote, okay. That is my impression. I was asking     24                 MS. CLINE: Objection to form.
25   him, and then he agree with our big goal, to take    25         A   That is my understanding, he's the

                                             Page 154                                                  Page 156

 1                  YVETTE WANG                            1                   YVETTE WANG
 2   down CCB. And he said kind of like it's a great       2   principal.
 3   job. Let's do it.                                     3        Q And who told you that?
 4        Q Who told you that Han Chunguang had            4        A     Mr. Han expressed Eastern could be
 5   any authority to act on behalf of Eastern Profit?     5   onboard and he runs eastern. So I recognize him.
 6                 MS. CLINE: Objection to form.           6   He is a principal.
 7         A   You mean when?                              7              And later on Mei confirmed her
 8        Q No. Who. Who told you that Han                 8   authorization to Mr. Han also which double confirm
 9   Chunguang had any authority to act on behalf of       9   my recognition to Mr. Han as the principal of
10   Eastern Profit?                                      10   Eastern Profit.
11         A   Mei told me.                               11        Q Do you remember testifying at your
12        Q When did she tell you that?                   12   deposition in January that you didn't know what
13         A   I forgot the precise time. It should       13   Mr. Han's duties and responsibilities were, and it
14   be sometime in 2018.                                 14   was Mr. Guo who told you he was the principal of
15        Q Okay. But back in December of 2017,           15   Eastern?
16   all right --                                         16                 MS. CLINE: Objection to form.
17         A   Yes.                                       17        A     Which page?
18        Q -- when you testified that Han                18        Q Page 97. You can start up on 96 if
19   Chunguang gave you authority to sign the research    19   you want to. The person starts asking about
20   agreement on behalf of Eastern Profit, who told      20   Chunguang Han at line 13.
21   you that Han Chunguang had any authority to speak    21            All right Miss Wang, do you see that
22   on behalf of Eastern Profit?                         22   the questioner asked you at the bottom of 96, he
23                 MS. CLINE: Objection to form.          23   says, line 18: What is his exact position
24         A   He told me.                                24   Eastern?
25        Q He told you?                                  25            You answer: He is the President of

                                             Page 155                                                  Page 157

                                                                                     40 (Pages 154 to 157)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 174 of 288

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 1                  YVETTE WANG                            1                  YVETTE WANG
 2   before and after those couple of days. I don't        2         Q Do you recall this being -- first of
 3   have the precise dates.                               3   all, the agreement wasn't signed on January 1; was
 4        Q You first learned of Eastern Profit's          4   it?
 5   existence just before going down to Virginia to       5         A   You're right.
 6   sign the contract with Miss Wallop; isn't that        6         Q And do you recall this being a draft
 7   right?                                                7   of the agreement, at least a draft, maybe not the
 8                 MS. CLINE: Objection to form.           8   only draft, as of January 1, 2018?
 9        A    That's correct.                             9                MS. CLINE: Exhibit 41.
10                 (Wang Exhibit 4, a document            10                MR. GREIM: Yes, Exhibit 4.
11            titled Research Agreement dated             11         A   It has been almost 20 months. I
12            January 1, 2018 and Bates stamped           12   don't remember clearly what was the negotiation,
13            Eastern-000001 to Eastern-000004            13   but since this is Eastern, we produce this. I
14            previously marked for Identification        14   have to say yes.
15            as of this date.)                           15         Q And do you recall that at this time I
16        Q I'm going to hand you what we marked          16   won't -- I don't want to characterize this the
17   in the original deposition as Exhibit 4. I'm         17   wrong way, but do you agree that at this time
18   giving you another copy for your attorney.           18   Eastern Profit had not been identified yet as the
19           This is Wong Exhibit 4, Eastern Bates        19   entity that would be entering the contract?
20   numbers 1 through 4. This is a document that you,    20                MS. CLINE: At which time?
21   or that Eastern produced to us in this case. And     21                MR. GREIM: As of January 1,
22   if you want, you can compare it. Maybe it will be    22            2018.
23   helpful to compare it to the actual research         23         A   You are asking me by January 1, 2018,
24   agreement which is Exhibit -- Wang Exhibit 2.        24   Eastern Profit was not recognized?
25           You'll see they're not the same              25         Q Right.

                                             Page 162                                                   Page 164

 1                 YVETTE WANG                             1                 YVETTE WANG
 2   document; are they?                                   2       A      No. I don't agree with you.
 3        A    You're right.                               3       Q      Okay. Okay.
 4        Q Wang Exhibit 4 doesn't have                    4             So when was Eastern Profit first
 5   signatures on it; right?                              5   identified as the contracting party for we'll call
 6        A    Correct.                                    6   it your side of the contract?
 7        Q It doesn't have the same payment               7         A    Was identified? You mean confirmed
 8   terms. The amount is only $250,000. If you look       8   or found; right?
 9   on page 4 of Wang Exhibit 4, do you see that?         9        Q Sure.
10        A    I'm reading this. You want me just         10         A    I don't remember that clearly, but I
11   to read this paragraph; right?                       11   started to talk to Hank kind of like November
12        Q Yeah. My only question is I just              12   earliest, November, December of 2017.
13   wanted you to look at the payment terms paragraph.   13        Q But you testified that you didn't
14   And I'm just asking you to see that this is only     14   learn the name of Eastern Profit until just before
15   $250,000 a month in this draft; is that right?       15   going down to Virginia to negotiate with French
16        A    Correct.                                   16   Wallop. So how could Eastern Profit have been
17        Q And strategic was demanding a much            17   identified back in November of 2017?
18   higher amount, which it ultimately got, $750,000 a   18                 MS. CLINE: Objection to form.
19   month; isn't that right?                             19             Mischaracterizes testimony.
20                MS. CLINE: Objection to form.           20         A    Why before? Like two hours right
21        A    Correct.                                   21   before I came down to Virginia? I'm talking about
22        Q If you go to the front of Wong                22   like a month or two month. Less than two month.
23   Exhibit 4, you see the date typed up in the top is   23   I don't think that is a long time. I can still
24   January 1, 2018?                                     24   quote that as right before.
25        A    Yes.                                       25        Q Is it your testimony that you first

                                             Page 163                                                   Page 165

                                                                                      42 (Pages 162 to 165)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 175 of 288

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 1                  YVETTE WANG                           1                  YVETTE WANG
 2   learned that Eastern Profit would be the             2   me also, but I don't remember that clearly.
 3   contracting party in November of 2017?               3        Q Okay. So other than a recollection
 4          A    I don't remember that clearly, but       4   that at some point Mr. Han and Miss Mei told you
 5   it's for sure the latest is November -- no,          5   that he had authority to act for Eastern Profit
 6   December or even November, late November of 2017.    6   between September, 2017 and March, 2018, can
 7         Q Mr. Chunguang Han is not a director          7   Eastern Profit point to any other documents
 8   of Eastern Profit, is he?                            8   reflecting that he had that role?
 9          A    You're asking about now?                 9        A    I didn't ask.
10         Q Right.                                      10        Q Do they exist? Do the documents
11          A    He is not.                              11   exist?
12         Q Between September, 2017 and March,          12        A    I did not ask.
13   2018 he was not a director of Eastern Profit, was   13                MR. GREIM: Why don't we take a
14   he?                                                 14            short break. Let's take a
15          A    Between September of 2017 until when?   15            five-minute break.
16         Q March, 2018 he was not a director,          16                THE VIDEOGRAPHER: The time is
17   was he?                                             17            3:25 p.m., Wednesday, October 30,
18          A    He was not.                             18            2019.
19         Q Is there any document appointing            19                This is the end of media number
20   Mr. Han as any sort of an officer or                20            3 of the videotaped deposition of
21   representative of Eastern Profit for the period     21            Yvette Wang.
22   September, 2017 to March, 2018?                     22                We're off the record.
23          A    He is authorized.                       23                (At this time, a brief recess
24         Q My question is is there a document          24            was taken.)
25   giving him that authority?                          25                THE VIDEOGRAPHER: The time is

                                             Page 166                                                Page 168

 1                   YVETTE WANG                          1                YVETTE WANG
 2        A      I didn't remember I saw that document    2           3:39 p.m., Wednesday, October 30,
 3   paper, no.                                           3           2019. This is media number 4 of the
 4        Q Why do you believe he is authorized?          4           videotaped deposition of Miss Yvette
 5   Let's stick to the period of September of 2017 to    5           Wang. We're back on the record.
 6   March, 2018.                                         6   CONTINUED EXAMINATION
 7              Why does Eastern Profit say he's          7   BY MR. GREIM:
 8   authorized to act during that period?                8        Q All right, Miss Wang. Welcome back.
 9        A      September, 2017 until March, 2018;       9           Based on your most recent testimony,
10   right?                                              10   it sounds like there are two individuals who we
11              I don't remember the precise words.      11   can say had knowledge of the negotiation of the
12   My impression is I was told he was the director.    12   contract between Eastern Profit and Strategic
13   He is still running the company authorized by the   13   Division, Guo Mei and Han Chunguang. Is that
14   director.                                           14   correct?
15              And then later on Mei confirmed          15               MS. CLINE: Objection.
16   Mr. Han made the correct representation about       16        Q Let me strike that.
17   himself and his wife.                               17        A   Too long a question. I going to
18        Q Okay. So who is the person that told         18   forget.
19   you that he had been given authority to act on      19        Q Is it fair to say that Han Chunguang
20   behalf of Eastern Profit between September, 2017    20   and Guo Mei had knowledge of Eastern Profit's
21   and March, 2018?                                    21   negotiation of the contract with Eastern -- with
22                  MS. CLINE: Objection to form.        22   Strategic Vision?
23              Asked and answered.                      23        A   You're talking about this research
24        A      Mr. Han, he expressed it to me. I       24   agreement; right?
25   don't remember clearly. Miss Mei mentioned it to    25        Q I am.

                                             Page 167                                                Page 169

                                                                                    43 (Pages 166 to 169)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 176 of 288

                                           Atkinson-Baker, Inc.
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 1                  YVETTE WANG                            1                 YVETTE WANG
 2        A     They don't have the details like in        2       Q Very good. Please take a look at
 3   terms of this contract. But they know or they         3   what we marked in your other deposition as Wang
 4   knew we hired a so-called professional                4   Exhibit 3.
 5   investigation company which really Shell Company      5               (Wang Exhibit 3, a document
 6   and liars.                                            6           titled Plaintiff Eastern Profit
 7        Q But if I understand you correctly,             7           Corporation Limited's Responses and
 8   you have now testified that Han Chunguang knew of     8           Objections to Defendant Strategic
 9   the agreement before it was signed, approved of       9           Vision US, LLC's First Set of
10   its purpose, and authorized you to sign it?          10           Interrogatories previously marked for
11                  MS. CLINE: Objection to form.         11           Identification as of this date.)
12        Q Is that correct?                              12       Q Do you recognize these as Eastern
13        A     Mr. Han did not get that deeply           13   Profit Limited's responses and objections to
14   involved.                                            14   Strategic Vision's first set of interrogatories?
15        Q However, it is true, isn't it, that           15           You'll see that the second to last
16   you told Han Chunguang about the contract, you       16   page you have signed it, and Karen Maistrello
17   told him about the goals of the contract, and you    17   notarized your signature on December 20, 2018.
18   asked for his authority to sign it.                  18        A    You want me to read through all the
19            That is your testimony today; isn't         19   pages?
20   it?                                                  20       Q No. I'm just asking do you remember
21                  MS. CLINE: Objection to form.         21   verifying the interrogatory responses on behalf of
22        A     I told him we found a research            22   Eastern Profit in this case. That's you, isn't
23   company. Miles was meeting with their                23   it? You signed this?
24   representatives. They seem like qualified and        24        A    Correct.
25   professional by them. Most likely we can contract    25       Q Then if you go to page 1 -- I'm

                                             Page 170                                                   Page 172

 1                 YVETTE WANG                             1                YVETTE WANG
 2   them, start research.                                 2   sorry, page 2, question 1, you see the very first
 3        Q And before January 6, he told you              3   thing says: Identify all persons with whom
 4   that you can sign the agreement; is that right?       4   Eastern consulted when answering these
 5        A    After I told him that, he said please       5   interrogatories or who were otherwise involved in
 6   go ahead. You are the miles. We believe you           6   any way in answering these interrogatories?
 7   guys. Go ahead with this company.                     7           Do you see that question? Then in
 8        Q And your testimony also is that the            8   response, first Eastern objects, and then the
 9   reason you believed you had authority or -- I'm       9   second sentence you see where it says subject to
10   sorry. Let me strike that.                           10   Eastern's objection, Yvette Wong and Guo Wengui
11            The reason you believe that Han had         11   were consulted with answering these
12   authority to give you that approval, is that Han     12   interrogatories.
13   told you he had the authority and Guo Mei may told   13           Did I read that right?
14   you he had the authority before you signed the       14        A   Yes.
15   contract; is that right?                             15       Q In fact you did consult with Guo
16                MS. CLINE: Objection to form.           16   Wengui when answering these interrogatories;
17        A    Before I sign a contract I was             17   didn't you?
18   authorized to proceed and execute with this          18               MS. CLINE: Objection to form.
19   contract. I was told I'm authorized to sign it.      19        A   I don't remember. This is the
20        Q My question though is who told you            20   conversation my lawyer worked with.
21   that Han Chunguang could give you the authority      21       Q Then let's turn to -- well, let me
22   to sign the contract? Who told you Han Chunguang     22   ask you: Did you provide any input into these
23   had the authority on behalf of Eastern Profit?       23   interrogatory responses?
24                MS. CLINE: Objection to form.           24               MS. CLINE: That's a yes or no
25        A    Both Mr. Han and Miss Mei.                 25           question.

                                             Page 171                                                   Page 173

                                                                                      44 (Pages 170 to 173)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 177 of 288

                                           Atkinson-Baker, Inc.
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 1                   YVETTE WANG                           1                   YVETTE WANG
 2         A    I reply you before, I believe, but I       2   than just to the best of your knowledge. I'm
 3   can repeat again. I put together name list. I         3   asking Eastern Profit.
 4   took advice from Mr. Guo. I put together name         4              Did it engage anyone to research --
 5   list based on Internet whistle blow information.      5   anyone else other than Strategic Vision to
 6   And I'm aware, like some of the bad guy, they go      6   research any of these 15 names?
 7   after Mr. Han and Miss Mei family in China.           7         A     Nope.
 8             So if you won't say anyone put              8         Q What was the -- let me strike that.
 9   together that is my name list, I can tell you         9              What was Eastern's plan for
10   maximal there's people.                              10   publicizing and using the information that
11         Q Now originally there were to be 10           11   Strategic Vision was supposed to obtain?
12   names, and 5 were added; is that correct?            12         A     Of course to send this criminal
13         A    You're asking about negotiation of        13   person or criminal Chinese Communist Party
14   the contract terms?                                  14   officials into jail and to -- including Eastern
15         Q Yes, I am.                                   15   Profit, the company, they're assets back.
16         A    Kind of like, yes.                        16         Q So Eastern Profit believed that the
17         Q What was the reason that five                17   public outcry resulting from publicity would cause
18   additional names were added? Let me ask you this.    18   its assets to be unfrozen in Hong Kong?
19            Did those five additional names have        19                  MS. CLINE: Objection to form.
20   anything in common?                                  20         A     There are some words I don't
21         A    What do you mean in common?               21   understand in your sentence. Archive, what is
22         Q Well, for example did the same person        22   that? What's your question?
23   recommend all five of the additional names?          23         Q So Eastern Profit believed that the
24         A    The only thing --                         24   public outcry --
25                 MS. CLINE: Objection to form.          25         A     Wait a second. Public outcry, what's

                                              Page 194                                                  Page 196

 1                   YVETTE WANG                           1               YVETTE WANG
 2              Sorry. Go ahead.                           2   this?
 3        A      The only thing in common is five          3        Q You never heard outcry? Let me
 4   names, and 10 name, 15 name, they're all corrupted    4   choose a different word?
 5   Chinese Communist Party official, or their family,    5        A     Sorry. Foreigner here.
 6   or their like kids. I don't know that words.          6                 MS. CLINE: No need for
 7   Private case. And that is the only thing they're      7             commentary.
 8   in common.                                            8                 MR. GREIM: No one says she's a
 9        Q Other than with ACA, is there any              9             foreigner here. I don't understand
10   other -- and I guess Mr. Guo, was there any other    10             the reason for the comment.
11   person with whom Eastern Profit intended to share    11                 MS. CLINE: She's not a native
12   the research results?                                12             English speaking person.
13        A      What's the question?                     13                 MR. GREIM: I'm trying to ask a
14        Q Other than ACA and Mr. Guo, was there         14             question, please.
15   any other person with whom Eastern Profit intended   15        Q So Eastern Profits?
16   to share the research results?                       16                 MR. GREIM: Please stop
17                  MS. CLINE: Objection to form.         17             interrupting. Finally.
18        A      Eastern, of course, is happy to share    18        Q So Eastern Profit's plan was that the
19   the results. It was all Chinese people who are       19   public reaction to it's publicizing this
20   pursuing the rule of law and democracy of China.     20   information would cause it's assets to be unfrozen
21        Q Did Eastern Profit engage anyone to           21   in Hong Kong?
22   research any of these 15 names, anyone other than    22                 MS. CLINE: Objection to form.
23   Strategic Vision to research the 15 names?           23        A     Eastern Profits believes to
24        A      To best of my knowledge, no.             24   disclosure this corrupted Chinese official, bring
25        Q Okay. Now I want to ask you more              25   the justice to Chinese people, and itself also.

                                              Page 195                                                  Page 197

                                                                                      50 (Pages 194 to 197)
                                           30(b)(6) Yvette Wang
                                             October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 178 of 288

                                           Atkinson-Baker, Inc.
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 1                   YVETTE WANG                           1                 YVETTE WANG
 2             We'll be able to help all the Chinese       2           appearing on the list is why did EP
 3   people and itself, including I'm frozen, Eastern      3           enter into the contract. The second
 4   itself assets and back to normal business, which      4           sentence is: What circumstances led
 5   Eastern was conducting before their bank accounts     5           EP to seek research.
 6   was frozen.                                           6               MR. PODHASKIE: Join. I'm --
 7         Q So I just want to understand this.            7               MR. GREIM: Please do not enter
 8   This is the first time we're hearing about Eastern    8           into the record.
 9   Profit wanting to unfreeze its assets.                9               MS. CLINE: Which is the letter
10             Did Eastern Profit believe that it         10           you're referring to?
11   would put its own prosecutors in jail in Hong        11               MR. GREIM: I'll just give you
12   Kong? Let me ask you this.                           12           a copy. This is my E-mail to you of
13             What was Eastern Profit's specific         13           October 3rd, 2019. I attached a word
14   plan to use the research in Hong Kong?               14           document. You can pass it over to
15                 MS. CLINE: Objection. It's             15           your attorney.
16             Beyond the scope of your topics.           16               Let's go off the record.
17         Q Well, the very first topic is why did        17               MS. CLINE: No. Let's keep
18   Eastern Profit enter into the contract. Question     18           going.
19   number 1. That's what we're trying to find out.      19               MR. GREIM: We're using up time
20             We just learned it's to unfreeze its       20           now. I think it's a spurious
21   assets. So I would like to know about the            21           objection.
22   specifics of this.                                   22               THE VIDEOGRAPHER: Off the
23             How specifically did Eastern Profit        23           record.
24   believe it was going to be able to use the           24               MS. CLINE: On the record.
25   research results to unfreeze it's Hong Kong          25       Q    So the question is: What was Eastern

                                              Page 198                                                 Page 200

 1                 YVETTE WANG                             1                  YVETTE WANG
 2    assets?                                              2   Profit's specific plan to use the research to free
 3                   MS. CLINE: What was the               3   up its Hong Kong assets?
 4              number 1 that you were just referring      4                 MS. CLINE: You're representing
 5              to?                                        5             that that question isn't on here?
 6                   MR. GREIM: I'm referring you to       6                 MR. GREIM: No. It's the first
 7              the long list, item 1, very first          7             two questions.
 8              question sent to you on August 13.         8       Q Why did Eastern Profit enter into the
 9                   MS. CLINE: You're not referring       9   contract? You just learned for the first time
10              to the deposition notice; right?          10   that it's to free up some frozen Hong Kong.
11                   MR. GREIM: No. Within the            11            I'm trying to learn about the
12              deposition notice it's under research     12   specific plan that Eastern Profit had.
13              agreement including negotiations          13                 MS. CLINE: You're
14              concerning the same.                      14             mischaracterizing her testimony. If
15                   Question 1: Why did EP enter         15             you want to know why did Eastern
16              into the contract?                        16             Profit enter into the contract, you
17                   MS. CLINE: I mean the notice         17             can ask her that question again.
18              topic is the research agreement and       18                 You're twisting --
19              negotiations. I will give you a           19                 MR. GREIM: I'm not limited to
20              little leeway.                            20             using the exact words on that
21                   MR. GREIM: We're in between          21             document. I'm following up on the
22              counsel, which is supposed to be          22             witness' questioning, and I'm being
23              honored by the court's order, which I     23             obstructed.
24              sent to you October 3rd is this list.     24                 I would like to get an answer to
25                   And the very first question          25             the question.

                                              Page 199                                                 Page 201

                                                                                     51 (Pages 198 to 201)
                                           30(b)(6) Yvette Wang
                                             October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 179 of 288

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 1                  YVETTE WANG                            1                    YVETTE WANG
 2       Q What was Eastern Profit's specific              2   sorry, PRC official?
 3   plan to use the research results to unfreeze its      3         A     He is Chinese Communist Party
 4   Hong Kong assets?                                     4   official, yes.
 5                MS. CLINE: Objection to form.            5         Q So that's one person. You said there
 6            Mischaracterizes testimony and beyond        6   was a second person. Who was that?
 7            the scope of counsel's agreement             7         A     The second person is Sun Li Jum.
 8            regarding the scope of the                   8   S-U-N, L-I, J-U-M.
 9            deposition.                                  9         Q Okay. Go ahead.
10                You can answer.                         10         A     I finished.
11        A    I'm happy to tell you. I remember on       11         Q I'm sorry. That time you were done.
12   my name list there are two person. One is called     12   Okay.
13   M-E-N-G, J-I-A-N, Z-H-U. He was the hat or steel     13              What was the plan with respect to
14   head of entire China, police, court, persecutor.     14   him? How was that going to unfreeze the assets?
15   Almost -- most of the law enforcement. He's the      15         A     A similar plan.
16   head of that. The most powerful person. One of       16         Q Anyone else in your list of 15 names
17   the most powerful person in China.                   17   that were going to help unfreeze the Eastern
18       Q And so you hoped --                            18   Profit assets in Hong Kong?
19        A    Let me finish.                             19                   MS. CLINE: Objection to form.
20       Q You paused for so long, I thought you          20         A     Everyone.
21   were done.                                           21         Q Okay. How were ACA assets able to
22        A    I'm trying to help you.                    22   flow out of Hong Kong?
23       Q I'm sorry. Keep going.                         23                   MS. CLINE: Objection. Beyond
24        A    I told you I have language barrier.        24              the scope.
25   You have to allow me finish.                         25                   MR. GREIM: Let's take a short

                                              Page 202                                                 Page 204

 1                    YVETTE WANG                          1                  YVETTE WANG
 2        Q I thought you were finished with the           2             break.
 3   sentence when a few second ticked by. Go on           3                 THE VIDEOGRAPHER: The time is
 4   ahead.                                                4             4:39 p.m., Wednesday, October 30,
 5         A     So clearly of Eastern's previous          5             2019. This is the end of Media 4 in
 6   directors, current directors, they were all           6             the deposition of Yvette Wang.
 7   persecuted by this corrupted Chinese official.        7                 We're off the record.
 8              So Eastern would like to disclosure        8                 (At this time, a brief recess
 9   this corrupted Chinese official. His legal            9             was taken.)
10   assets, his crimes, et cetera to bring the justice   10                 THE VIDEOGRAPHER: The time is
11   to China.                                            11             4:56 p.m., Wednesday, October 30,
12              And it should be a natural                12             2019.
13   understanding to Eastern and all the Chinese         13                 This is media number 5 of the
14   people who are persecuted by this bad official.      14             videotaped deposition of Missy Wong.
15              If this official is completely            15             We're back on the record.
16   removed, sent to jail, and they will be able to      16   EXAMINATION CONTINUED
17   get their justice back including -- you know the     17   BY MR. GREIM:
18   relationship between Hong Kong and Beijing; right?   18        Q Miss Wong, we're going to jump around
19   You don't need me to explain that. That will         19   a little bit between some different topics and try
20   naturally bring justice to Hong Kong for Eastern     20   to wrap up today.
21   Profit to release his assets which were illegally    21            My first question is earlier we
22   frozen.                                              22   talked about the Power of Attorney by which
23        Q In Hong Kong?                                 23   Eastern Profit granted to Gold Spring, New York.
24         A     Correct.                                 24            My question for you is who on behalf
25        Q And this Mr. Meng is a CCP or, I'm            25   of Eastern Profit authorized Han Chunguang to

                                              Page 203                                                 Page 205

                                                                                     52 (Pages 202 to 205)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 180 of 288

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 1                 YVETTE WANG                             1                    YVETTE WANG
 2   sign that Power of Attorney?                          2              So besides Eastern is looking for
 3                MS. CLINE: Objection. I'm not            3   release their bank accounts from Hong Kong to pay
 4            sure that's within the scope.                4   back the loan, is there any other way Eastern
 5                If you know the answer, you can          5   planned to pay back?
 6            answer.                                      6          Q Correct.
 7        A    I have, I believe, Miss Mei. M-E-I.         7          A    Okay. I didn't discuss that yet, but
 8        Q Were any lenders, other than ACA,              8   I heard kind of like William would be happy to
 9   approached by Eastern Profit for purposes of this     9   contribute this fund into the entire taking down
10   contract?                                            10   Chinese Communist Party campaign. But I don't
11                MS. CLINE: Again, objection.            11   have too much details.
12            Beyond the scope.                           12          Q So had the research been successful,
13        A    I didn't hear about that.                  13   Mr. Yu would have been happy to write off the
14        Q In other words, did ACA try to find a         14   loan?
15   competitive -- find competitive loan terms?          15                  MS. CLINE: Objection to form.
16        A    Find competitive loan terms?               16          A    Possible.
17        Q Right. In other words, did it see if          17          Q Did Eastern Profit intend to keep
18   it could find cheaper financing from somebody        18   borrowing from ACA for the rest of the contract?
19   other than ACA?                                      19                  MS. CLINE: Objection to the
20        A    You're asking do I know or not?            20              form.
21        Q My question is did Eastern Profit try         21          A    I think I replied to your question.
22   to shop for the best loan terms it could?            22   Still the same answer. Possible.
23        A    I didn't hear about this.                  23          Q Did Eastern Profit hire T and M
24        Q Does Eastern Profit have any plan to          24   Security to research these names, any of these 15
25   repay the loan other than getting its assets         25   names?

                                              Page 206                                                 Page 208

 1                 YVETTE WANG                             1                  YVETTE WANG
 2   unfrozen in Hong Kong?                                2         A     No.
 3                 MS. CLINE: Objection to form.           3        Q Did it hire Robert Tucker or Dunkin
 4        A    What do you mean other than assets?         4   Levitt to research any of these 15 names?
 5        Q Let me go back.                                5         A     No.
 6            So let's suppose that Strategic              6        Q Did Eastern Profit expend any money
 7   Vision -- I asked a question, not the same            7   in coming up with its list of 15 names?
 8   question, but a similar one earlier.                  8         A    I don't understand the question.
 9            Let's suppose Strategic Vision had           9   Sorry.
10   given Eastern Profit all of the research it wanted   10        Q Did Eastern Profit -- so you've
11   for an entire year, for the entire term of the       11   testified that you and Mr. Guo came up with a list
12   contract. Let's say that it happened.                12   of 15 names, and that you considered various
13            Did Eastern Profit have any plan to         13   factors.
14   repay ACA's loan other than by effecting political   14             My question to you is did Eastern
15   change in China?                                     15   Profit spend any money in developing its list of
16                 MS. CLINE: Objection to form.          16   15 names?
17             Hypothetical.                              17                  MS. CLINE: Objection to form.
18                 You can answer, if you can.            18         A    Spend any money in developing my name
19        A    It's hard to understand your               19   at least; right?
20   question. Still I don't quite understand your        20        Q Correct.
21   question. You mean F, Strategic Vision, they         21         A    If you are talking about Eastern's
22   are -- which they are not, they are qualified to     22   assets were frozen, they could not continue their
23   deliver the reports which agreed in the contract,    23   normal business. The damage should be count as
24   which means the contract happened. I mean with       24   cost to spend.
25   merits or with facts happened.                       25        Q I'm sorry. My question was did

                                              Page 207                                                 Page 209

                                                                                     53 (Pages 206 to 209)
                                           30(b)(6) Yvette Wang
                                             October 30, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 181 of 288

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 1                 YVETTE WANG                             1                YVETTE WANG
 2   Eastern Profit spend money in developing the list     2   Wallop to have Strategic Vision send the money
 3   of 15 names?                                          3   back to ACA?
 4                MS. CLINE: Objection to form.            4         A   Yes. I asked Wallop.
 5         A   I don't know, but I will say no.            5        Q Why did you ask her to send the money
 6         Q Did Eastern Profit spend any money to         6   back to ACA instead of to Eastern Profit?
 7   develop the supporting materials it provided to       7                MS. CLINE: Objection. To the
 8   Strategic Vision along with the 15 names?             8            extent all this stuff was asked in
 9                MS. CLINE: Objection to form.            9            the first deposition, and now we're
10         A   The 15 names, they are public,             10            reinventing wheels again.
11   international. No, international information.        11                You can answer.
12   Why Eastern Profits should spend money to the        12         A   Eastern Profits bank account is
13   American names, should spend money to build the      13   frozen. How can Eastern be able to receive
14   list.                                                14   refund, return, let's say. Sorry about my
15         Q That's my question to you. Did it?           15   language. Return of money.
16         A   I believe I reply to your question         16        Q What is the latest conversation
17   with my question.                                    17   you've had with ACA or William Je about the
18         Q But I would like an answer.                  18   million dollars?
19                MS. CLINE: Asked and answered.          19                MS. CLINE: Objection. Asked
20         A   No. It's public Internet                   20            and answered.
21   information. Let me repeat again. Everyone has       21         A   Latest conversation, you mean the
22   access.                                              22   last conversation today?
23         Q Was Eastern Profit aware that Guo had        23        Q The most recent, yes.
24   hired researchers to investigate the same 15 names   24         A   Last month.
25   that Strategic Vision was researching?               25        Q Okay.

                                             Page 210                                               Page 212

 1                YVETTE WANG                              1                 YVETTE WANG
 2                MS. CLINE: Objection to form.            2        A    Or yeah, like a month ago or a month
 3            Assumes facts not in evidence.               3   and a half, yeah.
 4        A   No.                                          4       Q Have you spoken with anyone other
 5       Q By the way, some of the accompanying            5   than William Je at ACA about the loan?
 6   information in the 15 names that Eastern Profit       6        A    Nope.
 7   gave to Strategic Vision included birthdays,          7       Q A few of the people we've been
 8   passport numbers, Social Security numbers.            8   talking about today here, for one, William Je,
 9           Is it your testimony that all that            9   where does he reside?
10   information was already on the Internet?             10                MS. CLINE: Objection. Again,
11        A   Correct. You can try.                       11            this is a 30(b)(6) of the Eastern
12       Q You recall an attempt to retract the           12            Profit designee. We specifically had
13   two $500,000 wires that ACA sent to Strategic        13            an agreement that we would not go
14   Vision?                                              14            into ACA, it's corporate structure or
15        A   How much money?                             15            anything like that, and you know it.
16       Q Two $500,000 wires for a total of              16            This is way outside the scope of our
17   $1 million.                                          17            agreement.
18           Do you recall an attempt to retract          18                MR. GREIM: It sounds like he is
19   those wires?                                         19            a witness. And if you want to
20        A   $250,000.                                   20            instruct the witness not to answer
21       Q No. Two $500,000 wires.                        21            because it's outside the scope of the
22        A   Oh. Two half million; right?                22            agreement, so be it. I can't make --
23       Q Correct?                                       23                MS. CLINE: He's outside the
24        A   Yes, I remember it.                         24            scope.
25       Q And do you recall asking French                25       Q What about Guo Mei, is she in the

                                             Page 211                                               Page 213

                                                                                    54 (Pages 210 to 213)
                                          30(b)(6) Yvette Wang
                                            October 30, 2019
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 182 of 288

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 2
 3           ACKNOWLEDGMENT
 4
 5   STATE OF NEW YORK   )
 6                ss:
 7   COUNTY OF ___________ )
 8
 9        I, Yvette Wang, hereby certify that I have
10   read the transcript of my testimony taken under
11   oath in my deposition of October 30, 2019; that
12   the transcript is a true and complete record of my
13   testimony, and that the answers on the record as
14   given by me are true and correct.
15
16
17                  _____________________________
18                    YVETTE WANG
19
20
21   Subscribed and sworn to before me
22   This     day of         2019
23   _________________________________
24        (NOTARY PUBLIC)
25

                                              Page 226

 2
 3             CERTIFICATE
 4
 5           I, Terri Fudens, a stenotype reporter
 6   and Notary Public within and for the State of New
 7   York, do hereby certify:
 8           That the witness whose testimony is
 9   hereinbefore set forth was duly sworn by me and
10   that such testimony is a true record of the
11   testimony given by such witness.
12           I further certify that I am not related
13   to any of the parties by blood or marriage, and
14   that I am in no way interested in the outcome of
15   this matter.
16           IN WITNESS WHEREOF, I have hereunto set
17   my hand.
18
19
20
21        _____________________________
               Terri Fudens
22
23
24
25

                                              Page 227

                                                                  58 (Pages 226 to 227)
                                           30(b)(6) Yvette Wang
                                             October 30, 2019
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 183 of 288




                       Exhibit J
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 184 of 288

                                                             EXHIBIT
                                                        b    warl

                                                               I -31-1




                              Research Agreement
                               December 29, 2017

This agreement is between Strategic Vision US LLC ("the Contractor"), and
Eastern Profit Corporation Limitecl,("the Client"), for the purpose of providing
business research, reporting, documentation, and other consulting services,

poth parties aaree that the nature of this contract. and work related to it. is
highly confidential. Both parties are bound by the strictest secrecy not to
disclose the existence of the contract. work relating to the contract.
sources and methods used to execute the contract: and participants in
formulating. supervising. or executing the contract's provisions, to any
third party. except as required under United States law or the laws of the
State of Nevada.

To this effect, there will be single line communication between the Contractor and
the Client. The individuals through which such communication will be made will
be identified upon the initiation of this contract. Any and all materials provided by
the Client to the Contractor will be treated with absolute confidentiality and will
not be shared by the Contractor with any other entity.

The Contractor will conduct high quality original research and prepare reports on
subjects chosen at the Client's discretion, for the purpose of detecting, stopping,
and preventing crime or other harm to innocent people. The Client will provide
the necessary basic information, and desired areas of focus, to the Contractor to
research. The Contractor will produce complete reports and provide all
supporting data as indicated below. The research and reports will be devoted to
the following three subject categories:

   A) Financial forensic Historical research;
   B) Current Tracking research;
   C) Social media research.

A) Financial forensic Historical research will consist of, but not be limited to,
in-depth and detailed reports of existing and historical business and financial
transactions, on subjects selected by the Client, and relations of the subject as
identified by the Client. Business and financial transactions to be researched may
include statements, capital sources, inflow and outflow information, bank
receipts, financial instruments, financial products, statements of credit, precious
metals transfers, commodity transfers, crypto currency exchange, stocks and
other equities, business ownership, real property ownership, trusts, large .-


                                          1
                                     CONFIDENTIAL                    EASTERN-000005
 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 185 of 288




amounts of spending, specific information to indicate the transaction participants,
and other data required by the Client.

       The Contractor will produce a progress report on this financial forensic
research each week in the first month, one preliminary report in the first month,
and one comprehensive historical research report within 3 months, and with
update reports sin each following month; the Clientmay require, reports per
individual subject to the Client within a specified timeframe, as well as all relevant
supporting data.

B) Current Tracking research shall consist of, but not be limited to, in-depth
and detailed reports on movements of specified subjects by land, air, and sea
(private and commercial); schedules and itineraries, addresses and lodging,
means of transportation, names of carriers, manifests, geolocation, major events
and significant contacts the subjects involved, videos, and audio that can be
accessed remotely, and other data that may be of relevance to the overall
research, such as past travel records that may significant to the research. This
work shall consist only of primary source information, multimedia, and prepared
reports.

       The Contractor will produce concurrent tracking research per individual
subject;to the Client on a monthly basis, except in the first month that weekly
reports shall be delivered and under circumstances that require more frequent
reporting (weekly or fortnightly) as the Client directs, for up to a six-month period.

C) Social media research shall consist of, but not be limited to, in-depth and
detailed reports on the social media usage and networks of specified subjects
and public figures. Research shall include court records, criminal databases, sex
offender and child abuse databases, information on subject'sfamily, extramarital
affairs, children born out of wedlock, passports and ID documents, assets, videos
and audio, emails, websites, pornography and related media, comments on
online media, social media (including Facebook, Twitter, lnstagram, Snapchat,
Wechat, and other sites as the Client may request), "dating" or sexual services
apps, online classified ads or their equivalents, video or audio recordings, and
other media.

       The Contractor will produce social media research per individual subject to
the Client on weekly basis for the first month, and on a monthly basis thereafter,
except under circumstances that require more frequent reporting (weekly or
fortnightly) as the Client directs, or irregular emergencies that;the Contractor may
discover.

Information requiring.translation. When the Contractor encounters information
requiring translation, the Contractor will provide electronic copies of the material
to the Clientfor the Client to evaluate and translate. The Client may provide




                                           2
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 186 of 288




translations to the Contractor for the Contractor to include in analytical reports.
The Contractor is not responsible for translations.

Deliverables. The deliverables under this contract will be comprehensive
confidential reports to the client. It is understood that some of the reports will be
produced on a regular schedule, and that others will be produced on an as-
needed basis. (A) Financial Forensic historical research reports will be produced
as specified above one time per subject, subject to occasional updating
throughout the year. (B) Current Tracking reports for each subject will be
produced monthly or more frequently as Client directs. (C) Social media reports
for each subject will be produced monthly or more frequently as Client directs, All
deliverables shall be by USB drive only.

Irregular circumstances. Both parties understand that occasional unforeseen
challenges may arise that will slow or block comprehensive research, and that
there may be periods in which information is irregular, unavailable, or incomplete.
The Contractor will endeavor to make all research and reports as complete as
possible in a timely scheduled manner.

Criteria. The Contractor shall provide the deliverables based on the best
practices and standards of the industry, comparable to other top firms with similar
services. It shall make most diligent efforts to ensure the services renders are of
very high quality, revealing a true, complete and full profile of the subject The
Contractor guarantees that all information provided is`genuine.

Prices. Preamble: The prices for each deliverable "A,° "B," and "C" are $300,000.
each, per subject (per "fish") per year, for a total of $900,000 per fish per year.
The contract is for 10 fish in the tank per year, with each fish being the subject of
an A, 8, and C report, or a total of 30 reports per year (10 fish x 3 reports each =
30 jobs at anygiven time, or 30 reports per year).

It is understood,that the Client may not wish for each of the 10 fish to be the
subject of all three reports, and that the number ofreport work duties per month
will vary. It is also understood that either the Client may find it necessary,to
remove certain fish from time to time, or the Contractor mayfind circumstances
do not permit sufficient work to research a given fish,

Therefore, when a fish is removed from consideration, a new fish will be put inits
place, by the Client, keeping the number of fish being monitored at any time at
10.

However, this solution does not provide for predictable budgeting or workloads.
To ensure the maximum workload for predictability of the agreed price, we will
measure the deliverables as 30 units per year (10 fish x 3 reports [A+B+C] each
- 30 jobs/reports at any given time),
a




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                                     CONFIDENTIAL
                                                                     EASTERN-000007
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 187 of 288




The first month (January) of this contract will include up to 15 fish fora total of
30 reports and will decrease to 10 fish for a total of 30 reports at the beginning of
the second month (February) and for (March) and for the duration of this
contract.

It is agreed by both Parties that for the first 3 months of this Agreement, January,
February and March 2018, that the payment of $750,000. USD will be wired per
our instructions to our US Bank account.

It is ralso agreed by both Parties that after the March reports and payments are
made, that all involved Parties will meet to recap the accounting, prior to moving
forward with the next quarter, We shall require that with any change to the
numbers above 10 fish in the tank, that SVUS will reserve the right to renegotiate
our financial Agreement

The pricing for 30 units or deliverables per year remains a constant $9,00Q000
per year, or $750,000 per month for 12 months, These units or deliverables may
be mixed and matched as,the Client requests, As one unit is deleted from one
fish, an extra fish with the equivalent deliverable is added, as shown in the
attached charts.

We will measure each of the 30 reports as nreport-equivalente in the event it'is
necessary to stop work prematurely on one fish, and replace it with a second
fish. We then have the partial report on the terminated fish, and a new report for
on the replacement fish for the duration of the contract. There is no extra startup
charge for the replacement fish in the 12-month period.

The flat price structure is as follows:

    A) Comprehensive historical reports: $300,000 per report (or report-
        equivalent) per year.
    13) Tracking reports: $300,000 per report (or report-equivalent) per year.
    C) Social media reports: $300,000 per report (or report-equivalent) per year.

Reports may be combined ("mixed and matched") in any combination of up to 30.
They are not necessarily 10 of (A), 10 of (B), and 10 of (C); but could be, for
example 14 of (A), 8 of (B), and 8 of (C), or whatever totals 30.

The total for 30 units x US$300,000 each is US$9,000,040 (nine million dollars)
per year.

Additional assignments. Additional research consistent with the above may be
added in annual blocks of 10 fish x 3 deliverables each, or 30 deliverables per
year, as described above. The Client may direct the Contractor to conduct other
research, not specified in this agreement, for an additional fee.



                                           4
                                      CONFIDENTIAL                   EASTERN-000008
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 188 of 288




Payment terms. For the purposes of this contract, the year begins the;day the
contract is signed. Payment is to be made in regular monthly installments of
US$750,000, at the end of each month.

The Client will pay the Contractor a deposit of US$1,000,000 (one million dollars)
upon signing the contract The deposit will be credited on a prorated basis to the
final 1-1/3 (1.3) months of the contract. Payment is to be made by "same day
value" wire transfer to Strategic Vision US, LLC, per the following instructions:



        Citibank NV Account Wire Instructions
        Signatory: French C. Wallop, CEO
        Account name: Strategic Vision US, LLC
        Routing # 322271724
        Account #`500371679
        SWIFT code: CIT1US33
        Branch address:
              Citibank
              The Lakes
              8701 W. Sahara Ave.
              Las Vegas, NV 89117 USA
        Branch telephone: +1-702-228-2501

Subsequent payments will be made to the same account, unless mutually agreed
otherwise in writing. It is understood that the Client may direct other entitiesto
pay the Contractor, and that such payments will be deemed satisfactory
compensation by the Contractor. All Client payments must be received by the
Contractor by Wire transfer within 5 business days of invoice.

Both parties anticipate that this contract could expand to many more subjects of
research. The Client has expressly stated that there could be as many as 4000
such 'fish in the tank'. Obviously, negotiations for the far larger range will be
agreed upon in writing at a later date.

Duration. This contract shall be in force for;three (3) years from the date of
signing. Either party may terminate the contract with 30 days' written notice.



French C, Wallop, CEO
Strategic Vision US, LLC

Date:                                          Date: in      , O     7u(   95-


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                                    CONFIDENTIAL
                                                                   EASTERN-000009
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 189 of 288




                       Exhibit K
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 190 of 288



                                                                   Page 1

 1
 2      IN THE UNITED STATES DISTRICT COURT
 3      FOR THE SOUTHERN DISTRICT OF NEW YORK
 4      -----------------------------------------x
 5      EASTERN PROFIT CORPORATON LIMITED,,
 6                         Plaintiff/Counterclaim Defendant,
 7
 8                                Case No.        18-cv-2185
 9                         v.
10      STRATEGIC VISION US, LLC,
11                         Defendant/Counterclaim Plaintiff.
12      -----------------------------------------x
13                         10:00 a.m.
                           November 19, 2019
14
                           405 Lexington Avenue
15                         New York, New York
16
17                  DEPOSITION of JOHN MICHAEL WALLER,
18      testifying under Rule 30(b)(6) on behalf of
19      STRATEGIC VISION US, LLC in the above entitled
20      matter, pursuant to Notice, before Stephen J.
21      Moore, a Registered Professional Reporter,
22      Certified Realtime Reporter and Notary Public of
23      the State of New York.
24
25

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 191 of 288


                                                 Page 70                                                    Page 72
 1                 MICHAEL WALLER                           1               MICHAEL WALLER
 2         Q     50/50?                                     2   correct?
 3         A     Yes.                                       3        A     Yes.
 4         Q     And there is a written operating           4        Q     And on the same day there was a
 5   agreement, I assume?                                   5   withdrawal of $200,000, correct?
 6         A     No.                                        6        A     Yes.
 7         Q     It's registered to do business,            7        Q     Do you know where that money
 8   the LLC?                                               8   went?
 9         A     Yeah.                                      9        A     Yes.
10         Q     And where is it registered?               10        Q     First of all, was it a
11         A     I think it's Wyoming.                     11   withdrawal in cash?
12         Q     Have there ever been any more             12        A     No.
13   than two owners?                                      13        Q     Tell us about that withdrawal.
14         A     No.                                       14        A     It was a -- it was either a bank
15         Q     Georgetown Research did receive           15   transfer or a wire.
16   payments from Strategic Vision, correct?              16        Q     Where did that money go?
17         A     Yes.                                      17        A     That went to the subcontractor
18         Q     Can you just describe those               18   for Team 1.
19   payments, very generally?                             19        Q     And how was the subcontractor
20         A     Sure, those were provided --              20   for Team 1 paid?
21   they were -- they were either payments to a           21        A     Through that payment directly to
22   subcontractor who executed a lot of the work,         22   an account that the Team 1 leader held.
23   or to myself.                                         23        Q     By wire transfer?
24              MS. CLINE: Can you mark this as            24        A     Either wire transfer or ACH.
25         103.                                            25        Q     So it wasn't a physical -- it
                                                 Page 71                                                    Page 73
 1                 MICHAEL WALLER                           1                MICHAEL WALLER
 2              (The above described document was           2   wasn't cash?
 3         marked Exhibit SV 103 for identification         3         A    No, it was an electronic
 4         as of this date.)                                4   payment.
 5         Q     We have handed you what's been             5         Q    Can you turn to page 2 of
 6   marked as Exhibit 103, and I can represent for         6   Exhibit 103, Bates stamped 1956.
 7   the record that the highlight on the first page        7             Does the transaction receipt
 8   is mine.                                               8   that has something to do with the $200,000?
 9              But other than that, do you                 9         A    This is very faint. I can't
10   recognize Exhibit 103?                                10   read the -- I can't read this.
11         A     Yes.                                      11         Q    Okay, can you see that there are
12         Q     What is it?                               12   two references to two checking accounts there?
13         A     It's a bank statement for                 13             Are you able to make that out?
14   Georgetown Research from -- for the month of          14         A    Yes.
15   January, 2018.                                        15         Q    Do you know whose checking
16         Q     And the first page of Exhibit             16   accounts -- says withdrawal from checking then
17   103 indicates that Georgetown Research received       17   deposit to checking, do you know whose deposits
18   two wire transfers from Strategic Vision, is          18   those are?
19   that correct?                                         19         A    I can't see the numbers. If you
20         A     Yes.                                      20   have a better copy I could tell you, on this
21         Q     And one of them was for $25,000           21   page?
22   and the other one for $200,000, correct?              22         Q    Correct?
23         A     Yes.                                      23         A    Yes, I can't tell you.
24         Q     And then those were made on --            24         Q    You would agree with me that
25   those transfers were made on January 16th,            25   Georgetown Research's account ends in 034,

                                                                                              19 (Pages 70 - 73)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 192 of 288


                                              Page 74                                                  Page 76
 1              MICHAEL WALLER                           1               MICHAEL WALLER
 2   correct?                                            2   $200,000.
 3         A     Yes.                                    3         Q     Okay, so in the redacted section
 4         Q     Do you have any idea whose              4   of text that's under the word invoice, is that
 5   checking account ends in 001?                       5   where Team 1's leader's name would appear?
 6         A     I believe this was Team 1               6         A     I believe so, yes.
 7   leader.                                             7         Q     Other than this, is there any
 8             If page 1956 matches this, then           8   written evidence from Team 1 regarding that
 9   it would be Team 1 leader.                          9   payment of $200,000?
10         Q     Was the transfer made to an            10         A     No, presumably illegible page
11   individual or to an entity?                        11   1956, but that would be all.
12         A     To an entity.                          12         Q     Did Team 1 send you a receipt
13         Q     And are you willing to testify         13   after you paid the invoice that's number 104?
14   about the name of that entity?                     14         A     No. Not to my recollection.
15         A     That's protected under an              15         Q     Did you create Exhibit 104?
16   initial court order by Judge kettle.               16         A     I provided the document.
17         Q     Do you know what Team 1 leader,        17         Q     So you created the invoice, did
18   was there -- what were the terms under which       18   anyone at Team 1 ever touch Exhibit 104?
19   Team 1's leader was to receive $200,000?           19         A     No.
20         A     That was to set up Team 1              20         Q     So you just created --
21   outside the United States to do the work.          21         A     Touch the --
22         Q     And was there any itemization of       22         Q     So who created Exhibit 104?
23   that $200,000?                                     23         A     Team 1 did. I created the
24         A     No.                                    24   exhibit in discovery, but Team 1 created the
25         Q     So, you have no idea what that         25   document.
                                              Page 75                                                  Page 77
 1                 MICHAEL WALLER                        1                 MICHAEL WALLER
 2   $200,000 was spent on?                              2              I mean this is Team 1's invoice
 3         A     Yes, I do.                              3   to Georgetown Research which I provided as
 4         Q     Okay, what was it?                      4   Georgetown Research, I provided in discovery.
 5         A     It was on computer gear and a           5         Q      Okay, putting aside who produced
 6   computer team.                                      6   it in discovery, who physically typed this up?
 7         Q     And did Strategic Vision ever           7         A      Team 1.
 8   get invoices or receipts for either the             8         Q      Okay, and so you received this
 9   computer gear or the computer team?                 9   document that is Exhibit 104 from someone at
10         A     We got an invoice.                     10   Team 1, correct?
11         Q     From whom?                             11         A      Yes.
12         A     Pardon me, Georgetown -- I don't       12         Q      Then just to close the loop, so
13   recall whether it was Strategic Vision or          13   in connection with this invoice dated January
14   Georgetown Research that got an invoice, but       14   6, Georgetown Research made a wire transaction
15   one of the two got an invoice.                     15   on January 16th, is that right?
16              MS. CLINE: Mark this as the next        16         A      Yes.
17         exhibit, please.                             17         Q      And then -- but you are not
18              (The above described document was       18   aware of any receipt that Team 1 provided when
19         marked Exhibit SV 104 for identification     19   it received the funds, is that correct?
20         as of this date.)                            20         A      Correct.
21         A     Yes, this is the invoice.              21         Q      And you never got an itemization
22         Q     So, yes, so if you would just          22   from Team 1 as to how that $200,000 was spent,
23   describe for the record what Exhibit 104 is?       23   correct?
24         A     Exhibit 104 is an issue from           24         A      Correct.
25   Team 1 leader to Georgetown Research for           25         Q      To the best of your knowledge it
                                                                                          20 (Pages 74 - 77)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 193 of 288


                                                 Page 78                                                 Page 80
 1                MICHAEL WALLER                            1                 MICHAEL WALLER
 2   was spent on computer gear, computer teams, but        2         A      On or about January 6, 2018.
 3   you can't say anything more specific than that?        3         Q      Did Strategic Vision ask Team 1
 4        A     Correct.                                    4   to search its records for documents relevant to
 5        Q     Was there an understanding                  5   this litigation?
 6   between Strategic Vision and Team 1 about              6         A      Yes.
 7   expenses beyond $200,000?                              7         Q      And did they provide any?
 8        A     No, that was a flat rate payment            8         A      There were no documents.
 9   system that we had, and we structured                  9         Q      Turn, if you would, in Exhibit
10   everything in a way to protect Mr. Guo from           10   103 to Bates page 1957.
11   being discovered by the Chinese.                      11              And this relates to -- it's a
12             So in our discussing the                    12   bank account statement as of February 28th of
13   contract, as we were arranging this with              13   2018, correct?
14   Mr. Guo, we said that all invoicing would be          14         A      Yes.
15   kept to a minimum and there would be as little        15         Q      There are two payments that are
16   paperwork as possible in order to prevent the         16   American Express payments, do you see those?
17   Chinese government from finding out about this        17         A      Yes.
18   activity.                                             18         Q      Whose American Express is being
19             So, likewise, we were not to                19   paid there?
20   have invoiced either, there would just be             20         A      That was my American Express.
21   certain payments made verbally, through a             21         Q      And then there is a wire
22   verbal arrangement.                                   22   transfer to Allied Special Operations Group, do
23        Q     I'm sorry, there would be                  23   you see that?
24   payments made?                                        24         A      Yes.
25        A     Right.                                     25         Q      That's been referred to as Team
                                                 Page 79                                                 Page 81
 1                MICHAEL WALLER                      1                       MICHAEL WALLER
 2         Q    Through a verbal?                     2         2 in this litigation, is that correct?
 3         A    Right, so invoices would be           3               A      Yes.
 4   verbal.                                          4               Q      And that was the entirety of the
 5         Q    Invoices would be oral, you           5         payment to Team 2, correct?
 6   mean, not written down?                          6               A      Yes.
 7         A    Right.                                7               Q      So, in terms of outgoing funds
 8         Q    And how physically did Team 1         8         from Georgetown Research, we have a $200,000
 9   transmit this invoice to Georgetown Research?    9         deposit that goes to Team 1, correct?
10         A    By hand.                             10               A      Yes.
11         Q    And where did that take place?       11               Q      And we have call it
12         A    Probably in Washington, D.C.         12         approximately $3,000 in your American Express
13         Q    Do you remember?                     13         payment, correct?
14         A    Not for facts.                       14               A      Yes.
15         Q    So you met face-to-face with the     15               Q      And then the transfer to Team 2
16   leader of Team 1 in Washington, is that right?  16         for approximately $5,400, right?
17         A    Yes, in the D.C. area.               17               A      Yes.
18         Q    What was the date on which you       18               Q      And then turn, if you would, to
19   and he met?                                     19         the next page, to 1958, you see there are two
20         A    We met many times.                   20         more American Express payments, right?
21             In terms of this contract, we         21               A      Yes.
22   met many times between November and -- November 22               Q      And those coordinate or
23   2017 and March 2018.                            23         correspond to reimbursement invoices that you
24         Q    Do you remember when he gave you     24         submitted personally, correct?
25   this invoice that's Exhibit 104?                25               A      Yes, I believe so.
                                                                                            21 (Pages 78 - 81)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 194 of 288


                                               Page 82                                                    Page 84
 1               MICHAEL WALLER                           1                MICHAEL WALLER
 2        Q     Do you know why there are two             2   around March 25th of 2018.
 3   payments to American Express in the same month?      3         Q     Right, so in light of that, do
 4        A     No.                                       4   you have any explanation for why there are
 5        Q     Was Georgetown research paying            5   still being payments made in May to Georgetown
 6   anyone's American Express bill other than            6   Research?
 7   yours?                                               7         A     Because we ended up using
 8        A     No.                                       8   Georgetown Research for other purposes.
 9        Q     All right, so then in March we            9         Q     When did that start taking
10   have approximately $8,000 in business expenses,     10   place?
11   right?                                              11         A     After the termination of the
12        A     Well, they were February, but            12   contract.
13   credited in March.                                  13         Q     When specifically?
14        Q     Excuse me, fair, yes.                    14         A     Well, if you find the date of
15             Turn the page to 1959, do you             15   the termination of the contract, you get the
16   see that?                                           16   date of the change.
17        A     Yes.                                     17         Q     What were the purposes for which
18        Q     There is one payment in April,           18   you used it immediately after the contract
19   correct?                                            19   termination?
20        A     Yes.                                     20         A     First there were still bills to
21        Q     And that's made to your American         21   be paid, and second there was other business to
22   Express account?                                    22   be done through things having nothing to do
23        A     Yes.                                     23   with this contract.
24        Q     And do those expenses tie out to         24         Q     So, with respect to the
25   a reimbursement invoice, do you know?               25   transaction listed in the May bank statement,
                                               Page 83                                                    Page 85
 1              MICHAEL WALLER                            1                  MICHAEL WALLER
 2        A    Probably, because it's an odd              2   we talked about the $15,000 credit and you
 3   number.                                              3   don't know why that was made, correct?
 4        Q      But that's your American                 4         A      Correct.
 5   Express?                                             5         Q      Then there is a payment to you,
 6        A      Yes.                                     6   the $15,000; do you see that?
 7        Q      The bill, correct?                       7         A      Yes.
 8        A      Yes.                                     8         Q      I'm sorry if you answered this,
 9        Q      And then turn to the last page,          9   is that included in your $250,000, or no?
10   if you would, which is a bank statement as of       10         A      I would have to go back and
11   May 31; do you see that?                            11   check, but I did say approximately $250,000.
12        A      Yes.                                    12         Q      And then there is another AMEX
13        Q      And the first entry is a wire           13   payment on May 7, do you see that?
14   transfer from Strategic Vision for $15,000; do      14         A      Yes.
15   you see that?                                       15         Q      And what business expenses could
16        A      Yes.                                    16   be being paid on May 7th with respect to this
17        Q      Why was that transfer made?             17   contract if it terminated effective in March?
18        A      I don't recall.                         18         A      I didn't say this was related to
19        Q      Do you know whether that was            19   the contract.
20   part of the $250,000 in earnings that you           20         Q      Okay, so then you tell me then,
21   received personally?                                21   is this bill payment on May 7, is that not
22        A      I don't recall.                         22   related to this case, not related to Eastern
23        Q      Do you recall when the research         23   Profit?
24   agreement at issue here was terminated?             24         A      I don't know, I don't believe
25        A      It would have been effective            25   so.
                                                                                            22 (Pages 82 - 85)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 195 of 288


                                                Page 94                                                   Page 96
 1                MICHAEL WALLER                           1                MICHAEL WALLER
 2         A     Yes.                                      2        Q     But that never got memorialized
 3         Q     And Strategic Vision did not              3   in the written contract, correct?
 4   return any portion of that deposit to ACA             4        A     Correct.
 5   Capital, did it?                                      5        Q     Just generally speaking, from a
 6         A     Correct. No, it did not.                  6   business perspective of Strategic Vision, what
 7         Q     Turn, if you would again, you             7   was -- what services was Strategic Vision
 8   might still be there, page 5 of the research          8   agreeing to provide to Eastern Profit under the
 9   agreement.                                            9   agreement?
10             Sort of in the middle of the               10             MR. GREIM: Objection, vague.
11   page there is a paragraph that starts with the       11             And one thing I'll say is this is
12   word subsequent, do you see that?                    12        all material that was in the original
13         A     Yes.                                     13        petition -- sorry, claim and counterclaim,
14         Q     Then so there is a sentence that         14        it was already covered in the 30(b)(6) of
15   starts with the word I will just read it all,        15        Strategic Vision.
16   "subsequent payments will be made to the same        16             So none of this about the
17   account unless mutually agreed otherwise in          17        statements of the services to be provided
18   writing."                                            18        is new, and that's what we are limiting
19             Do you see that?                           19        today to.
20         A     Yes.                                     20             MS. CLINE: The notice does call
21         Q     Then it says, "It is understood          21        for documents that were newly produced,
22   that the client may direct other entities to         22        including a giant stack of handwritten
23   pay the contractor and that such payments will       23        notes by Mr. Waller regarding the
24   be deemed satisfactory."                             24        negotiations of the contract.
25             Do you see that?                           25             So I'm entitled to ask him his
                                                Page 95                                                   Page 97
 1                 MICHAEL WALLER                          1                 MICHAEL WALLER
 2         A     Yes.                                      2         understanding of the contract.
 3         Q     Are you aware of any prohibition          3              If they are inconsistent with his
 4   in the contract that prohibited Eastern Profit        4         notes, then I will impeach him.
 5   from making payments from entities other than         5              MR. GREIM: Fair enough. I agree
 6   Eastern Profit?                                       6         with that.
 7         A     It was explicit that they would           7              MS. CLINE: Would you read back
 8   be all entities controlled by Guo Wengui, that        8         the last question and answer.
 9   it was his money, and that he would -- he may         9              (The portion of the record
10   use various vehicles to conceal from the             10         requested was read back by the reporter.)
11   Chinese government the fact that he was making       11         Q     Can you answer that question?
12   these payments.                                      12         A     In summary, the agreements were
13         Q     And there was no prohibition             13   to dig up information on Chinese Communist
14   that --                                              14   Party members and their family members and
15             MS. CLINE: Strike that.                    15   their illegitimate children who would not
16         Q     The parties -- there was no              16   overtly be connected to them, who were running
17   prohibition in the contract preventing Eastern       17   or managing illegally gotten gains or money
18   Profit from making payment from an entity based      18   stolen by the CCP officials for their own self
19   in Hong Kong, was there?                             19   enrichment and any other kind of information
20         A     Let me review this.                      20   that would show their breaking Chinese law or
21             In our negotiations with him, it           21   Communist Party "morality," anything that would
22   was explicit that there would never be a             22   cause them to be shown to be breaking Chinese
23   payment straight from Hong Kong, because that        23   law, American law and by extension discrediting
24   would violate basic operational security             24   the party leadership.
25   compromising both Mr. Guo and all of us.             25         Q     And there were certain reports

                                                                                            25 (Pages 94 - 97)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 196 of 288


                                               Page 98                                                  Page 100
 1                MICHAEL WALLER                          1                MICHAEL WALLER
 2   or deliverables to be provided under the             2   not permit us to do that, so we did not deliver
 3   contract, correct?                                   3   them.
 4        A      Yes.                                     4        Q     If you turn the page and go to
 5        Q      And the deliverables would be            5   section B, it says, "Current tracking
 6   delivered by USB only, correct?                      6   research."
 7        A      Correct.                                 7             Do you see that?
 8        Q      Turn, if you would, to the first         8        A     Yes.
 9   page of Exhibit Han 11.                              9        Q     And it says, "Current tracking
10             I direct your attention to the            10   research shall consist of, but not will be
11   bottom of the page, paragraph A.                    11   limited to in depth and detailed reports on
12             There is a sub-bullet there that          12   movements of specified subjects by land, air
13   says, "Financial forensic historical research."     13   and sea."
14             Do you see that?                          14             Do you see that?
15        A      Yes.                                    15        A     Yes.
16        Q      And that was one of the types of        16        Q     Did Strategic Vision deliver any
17   deliverables to be provided, correct?               17   reports of that nature?
18        A      Yes.                                    18        A     Yes.
19        Q      And specifically if you go to           19        Q     Describe that?
20   the second line of that paragraph, it says,         20        A     We found movements of specific
21   "Research will consist of in-depth and detailed     21   subjects by land and air, private and
22   reports of existing and historical business and     22   commercial, addresses and lodging, means of
23   financial transactions."                            23   transportation, geolocation, and Mr. Guo
24             Do you see that?                          24   refused to accept that information.
25        A      Yes.                                    25        Q     Did you attempt to provide that
                                               Page 99                                                  Page 101
 1                MICHAEL WALLER                          1                MICHAEL WALLER
 2        Q     Did Strategic Vision ever                 2   information to Mr. Guo?
 3   produce such a deliverable?                          3         A    Yes.
 4        A     Mr. Guo did not give us time.             4         Q    By what means?
 5        Q     But just -- can you just answer           5         A    By -- through Lianchao Han in
 6   my question so the record is clear.                  6   February, the first or second week of February,
 7             Did Strategic Vision ever                  7   2018.
 8   produce such a deliverable?                          8         Q    Tell me about that.
 9        A     Mr. Guo made it impossible for            9         A    This was work we had found
10   us to deliver that kind of material.                10   through Team 2.
11        Q     So Strategic Vision did not              11         Q    Team 2 is the ASOG team?
12   deliver that material, correct?                     12         A    Yes.
13        A     I already said my answer.                13         Q    And what was the deliverable
14        Q     I need an answer to the question         14   that --
15   I understand.                                       15             MS. CLINE: Well, strike that.
16        A     I answered your question.                16         Q    Tell me about what Team 2 found?
17        Q     I understand that you have               17         A    Well, first of all we had a
18   another argument, but I need an answer to the       18   problem because there were questions about
19   question.                                           19   whether the research methodology was legal.
20             Did Strategic Vision ever                 20             We sought Mr. Guo's guidance on
21   provide the in-depth and detailed reports of        21   that and he refused to give that guidance, so
22   existing and historical business and financial      22   we could not produce the data for him that had
23   transactions mentioned in the last paragraph of     23   been retrieved.
24   page 1?                                             24             We could not provide him with
25        A     I will say again, Mr. Guo did            25   the data that had been retrieved because we
                                                                                          26 (Pages 98 - 101)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 197 of 288


                                                Page 102                                                  Page 104
 1                MICHAEL WALLER                            1                 MICHAEL WALLER
 2   were concerned about the legality of the way in        2         Q     And Strategic Vision subpoenaed
 3   which it was collected.                                3   ASOG in this case, right?
 4        Q     Did Strategic Vision then                   4         A     Yes.
 5   receive from Team 2 a deliverable on a USB?            5         Q     And is there anything of the
 6        A     No, we received the deliverable             6   sort of what you're describing produced by ASOG
 7   on paper in their offices. They refused to             7   in this case?
 8   provide all of the data because of their               8              MR. GREIM: Hold on, hold on.
 9   concerns about legality, but they gave us a            9         Actually Eastern Profit subpoenaed ASOG,
10   summary of it.                                        10         Strategic Vision subpoenaed the person
11             We went back to Mr. Guo through             11         named in ASOG's response to your client.
12   Lianchao Han for guidance saying we found             12         Q     Okay, so Strategic Vision
13   information but we have hit an impasse, can you       13   subpoenaed Adam Kraft?
14   give us guidance on what to do?                       14              MR. GREIM: That's right.
15             He refused to provide that                  15         Q     Is that your understanding?
16   guidance.                                             16         A     I stand corrected from my
17        Q     The -- so, ASOG gave you written           17   previous statement. Yes, that is my
18   documentation?                                        18   understanding.
19        A     He showed us.                              19         Q     And did Mr. Kraft produce any
20        Q     What did they show you?                    20   documents in response to the subpoena, to your
21        A     It was a stack of about half an            21   knowledge?
22   inch thick or more, maybe three-quarters of an        22         A     I don't know.
23   inch thick of their actual documentation              23              MR. GREIM: I will take this one
24   concerning flights from Shanghai to Los Angeles       24         just to be clear; he did not.
25   International Airport on private planes with          25              MS. CLINE: Let's mark this one
                                                Page 103                                                  Page 105
 1                 MICHAEL WALLER                     1                       MICHAEL WALLER
 2   the tail numbers that went to a private hangar   2               as the next up, please.
 3   where U.S. Customs had no inspectors.            3                    (The above described document was
 4              It had an airport in Wisconsin        4               marked Exhibit SV 105 for identification
 5   where these planes would be parked.              5               as of this date.)
 6              It had names of individuals           6               Q     Have you seen Exhibit number 105
 7   doing transit on those and other aircraft,       7         before?
 8   these were private flights.                      8               A     Yes.
 9              It had -- let me see, back on         9               Q     What is it?
10   this tracking research, it had significant      10               A     This is an invoice from Allied
11   contacts of the subjects involved.              11         Special Operations Group, ASOG, from March 2018
12              So it was a perfect set of           12         for the work that we just discussed.
13   datapoints through which to begin a serious     13               Q     Originally they were set to
14   deep dive, but we asked Mr. Guo for guidance 14            invoice Strategic Vision over $100,000,
15   because we -- he refused to provide that        15         correct?
16   guidance, that's why we did not provide him the 16               A     Correct.
17   data.                                           17               Q     And then ultimately they only
18         Q      So, Strategic Vision -- sorry,     18         invoiced Strategic Vision $5,400,
19   ASOG showed you this information in hard copy 19           approximately?
20   form?                                           20               A     Yes.
21         A      Yes.                               21               Q     You see on the page 2 of the
22         Q      And you didn't receive a           22         invoice there is an asterisk at the top next to
23   photocopy of that information?                  23         the words termination credit, do you see that?
24         A      No, they refused to provide it;    24               A     Yes.
25   because of questions of legality.               25               Q     It says see note below?

                                                                                          27 (Pages 102 - 105)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 198 of 288


                                            Page 106                                                  Page 108
 1                 MICHAEL WALLER                       1                MICHAEL WALLER
 2         A     Yes.                                   2         A    Yes.
 3         Q     Then at the bottom -- well, the        3         Q    Do you know what that means?
 4   last text on the page there is a bullet that       4         A    Yes.
 5   says "termination credit," do you see that?        5         Q    Can you explain it?
 6         A     Yes.                                   6         A    Yes. They wanted to know who we
 7         Q     It says, "Client advised all           7   were seeking this information for, and we
 8   targets are RP by NCS."                            8   wouldn't tell them in order to protect our
 9              Do you see that?                        9   agreement with Mr. Guo, and they immediately
10         A     Yes.                                  10   suspected that it was Mr. Guo because of how
11         Q     What does that mean?                  11   those names could be found open source linked
12         A     This was the reason why they,         12   to his.
13   ASOG, did not provide us physical copies of the   13             And we wouldn't acknowledge that
14   data, because of questions of legality.           14   either, and then they suspected that this may
15              The targets that Mrs. Wang gave        15   be a China's foreign counterintelligence
16   us on behalf of Mr. Guo were -- which we          16   operation and that we were being used for those
17   provided to ASOG, were designated as RP or        17   purposes to assist the Chinese Secret Service
18   records protected.                                18   in finding information on that selective list
19              And what ASOG told us is that RP       19   of people, meaning what did the U.S. Government
20   stands for -- as a designation for foreign        20   know or what was the status of the U.S.
21   nationals whose files are protected by federal    21   criminal investigation of them.
22   authorities either because they are subject of    22         Q    Can you just describe what you
23   national security investigation,                  23   mean by open source linked?
24   counterterrorism investigation, criminal          24         A    So, you go through social media
25   investigation, or they may be subject to it, or   25   or any online media that's open source and you
                                            Page 107                                                  Page 109
 1                 MICHAEL WALLER                       1                 MICHAEL WALLER
 2   conversely they may be collaborating with U.S.     2   collect that on a very large scale, aggregate
 3   authorities.                                       3   it, then do your link analysis to find out what
 4             So they want to keep those               4   some of the common names are.
 5   records private so that nobody finds out about     5              And Guo had apparently denounced
 6   any of this until the government deems             6   a lot of these people in his videos or in his
 7   necessary.                                         7   public statements, and they -- leading these
 8             It was because of ASOG                   8   analysts here immediately to assume that our
 9   discovering this RP designation that it was        9   client was Guo.
10   unable to provide us with the data that it        10         Q     Does open source mean public?
11   provided.                                         11         A     Yes.
12         Q     And do you know, did they tell        12         Q     How did ASOG deliver this
13   you what NCS means?                               13   invoice that's Exhibit 105 to Strategic Vision?
14         A     If I recall correctly it's            14         A     I don't remember if it was by
15   National Counterterrorism Service but I am not    15   hand or by e-mail, but -- I know it was by
16   sure.                                             16   e-mail, but I don't know if it was both.
17         Q     Did they provide a statutory          17         Q     The documents that they showed
18   site about this restricted persons concept?       18   you, that was in Texas?
19         A     No.                                   19         A     Yes.
20         Q     Had you ever heard it before?         20         Q     And who was present for that
21         A     No.                                   21   meeting?
22         Q     The next line says, "ASOG             22         A     That was Adam Kraft who was the
23   requests explanation by client. No explanation    23   CEO, that was the CFO, Russ, last name began
24   provided."                                        24   with R, I will remember it, and then the COO I
25             Do you see that?                        25   will recall his name, it's -- if I see their
                                                                                      28 (Pages 106 - 109)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 199 of 288


                                              Page 110                                                 Page 112
 1                MICHAEL WALLER                          1                 MICHAEL WALLER
 2   website I can tell you who the names were.           2   said I don't care if it's legal, just get it.
 3             And then there were three                  3              MS. CLINE: Move to strike.
 4   analysts who I only knew by their first names.       4         A     That is a completion of my
 5         Q    Was anyone there on behalf of             5   answer. I ask that my comments be retained for
 6   Strategic Vision other than yourself?                6   the record.
 7         A    Yes, French Wallop was there.             7         Q     If you drop down to paragraph C
 8         Q    Was anyone else present other             8   on page 2 of the agreement, social media
 9   than the three individuals you described?            9   research, do you see that subtitle?
10         A    No.                                      10         A     Yes.
11         Q    And, I'm sorry, you may have             11         Q     It goes on to say, "Shall
12   said this and I just didn't remember, where in      12   consist of in-depth and detailed reports on the
13   Texas was the meeting?                              13   social media usage and networks of specified
14         A    Addison, Texas, it was right             14   subjects and public figures."
15   outside Dallas.                                     15              Do you see that?
16         Q    At their offices?                        16         A     Yes.
17         A    Yes.                                     17         Q     Did Strategic Vision ever
18         Q    Other than that -- so that               18   provide a deliverable that meets that
19   information never ended up on a USB drive that      19   description?
20   was in your possession, correct?                    20         A     Yes.
21         A    No.                                      21         Q     Tell me about that.
22         Q    And it certainly never made its          22         A     It first obviously is to
23   way to Eastern Profit, correct?                     23   research anything or anyone you need to do
24         A    Correct. We got into a big               24   basic research on it, so Team 1 did its own
25   argument with them about it, saying we were         25   initial research through open source or public
                                              Page 111                                                 Page 113
 1                 MICHAEL WALLER                         1                MICHAEL WALLER
 2   ready to pay for it, she should have told us         2   social media on certain of the targets on that
 3   this ahead of time, and this was causing             3   15 person list.
 4   problems for us and for the client, and they         4              That was their own basic work.
 5   said this, if we give it to you, it's going to       5   So the only report, in quotes, that we provided
 6   break federal law, so no.                            6   as a deliverable was showing how the research
 7              That's when we went back to               7   team was setting up its methodology to collect
 8   Mr. Guo for guidance through Lianchao Han about      8   this data, but we did not -- that was the
 9   what to do next.                                     9   extent of the report, it was just an initial
10         Q     When you say we and they,               10   status report after the first week.
11   meaning Strategic Vision got into an argument       11         Q     Okay.
12   with ASOG?                                          12         A     Or two.
13         A     Correct.                                13         Q     So there was a report on
14         Q     So, other than the stack of hard        14   methodology, correct?
15   copy papers that you described that you saw but     15         A     Yes, but keep in mind our
16   didn't receive from ASOG, did Strategic Vision      16   reports were not supposed to be analytical,
17   compile any other tracking research consistent      17   they were supposed to be simply raw data.
18   with paragraph B on page 2 of the agreement?        18              But we wanted to demonstrate to
19         A     No, that was our first crack at         19   the client the methodology that was being used
20   the tracking research.                              20   so that the client would understand how the
21         Q     And then -- just bear with me.          21   work was being done.
22         A     I might also add that it was a          22         Q     Okay, but was there a
23   problem on the legality side because while          23   deliverable provided that detailed the social
24   Lianchao Han was scrupulous about obeying U.S.      24   media usage and networks of the subjects?
25   law, Yvette Wang was not, and she even once         25         A     No, only the methodology
                                                                                       29 (Pages 110 - 113)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 200 of 288


                                                Page 114                                                 Page 116
 1                 MICHAEL WALLER                           1                  MICHAEL WALLER
 2   deliverable that I just mentioned.                     2         Q      And the second USB that was all
 3         Q     Just to close the loop, that               3   code, does that relate to any of those three
 4   methodology report was delivered how and when          4   subject matter areas?
 5   and to whom?                                           5         A      It related to all three.
 6         A     It was delivered to Yvette Wang            6              Let me say it potentially
 7   by USB port and I was told, "This is all shit,         7   related to all three.
 8   it's worthless. Don't bother with this."               8         Q      What do you mean by potentially?
 9         Q     And was this the delivery on               9         A      It was still encrypted code and
10   January of 26th?                                      10   Ms. Wang and Mr. Guo were insistent that we
11         A     It was said on two occasion.              11   deliver it regardless.
12         Q     The delivery of the methodology           12              I said it hasn't been decrypted
13   report with respect to social media research,         13   yet, and they essentially said we don't care,
14   when was that made?                                   14   we want it anyway.
15         A     It was either January 26th, I             15              We said it won't be of any use
16   think it was -- I think it was January 26th.          16   to you until it's decrypted. So I went and
17         Q     Was there more than one report            17   retrieved it anyway for them.
18   on social media methodology?                          18         Q      I am just going to show you a
19         A     No, but I don't remember if it            19   document, I'm not going to mark it yet because
20   was on -- if it was delivered on that day or at       20   I think I know what the answer to this question
21   a nearby day, I just want to be careful about         21   is going to be.
22   the date.                                             22              Do you see this document, it has
23         Q     And, in total, how many USB               23   a color code key at the top of it?
24   drives did Strategic Vision deliver to Eastern        24         A      Yes.
25   Profit?                                               25         Q      What's the Bates label on the
                                                Page 115                                                 Page 117
 1                  MICHAEL WALLER                          1                MICHAEL WALLER
 2         A      Either two or three to Yvette             2   bottom of the page?
 3   Wang. I think it was two, but it might have            3         A     SVUS 001939.
 4   been three.                                            4         Q     That's Ms. Wallop's document, is
 5         Q      So, one would be the social               5   that correct?
 6   media research methodology report you just             6         A     Yes.
 7   mentioned, correct?                                    7         Q     You are not here to testify
 8         A      Yes.                                      8   about that?
 9         Q      And what was the nature of the            9         A     Correct.
10   other USB deliverable?                                10         Q     So turn back, if you would, to
11         A      It was raw code.                         11   the Strategic Vision's counterclaim.
12         Q      When was that delivery made?             12              And specifically page 31
13         A      On or about the 30th of January          13   paragraph 36?
14   2018.                                                 14         A     Yes.
15         Q      And did the raw code relate              15         Q     All right, let's start with the
16   to --                                                 16   first sentence, says, "Strategic Vision's team
17               MS. CLINE: Sorry, let me strike           17   working in other countries also found troubling
18         that.                                           18   breaches of security by Eastern Profit and Guo
19         Q      Turn back to page 1 of the               19   that frustrated and prevented Strategic
20   contract, if you would.                               20   Vision's performance."
21               You see that there are the three          21              Do you see that?
22   indented bullets, financial, forensic                 22         A     Yes.
23   historical research, current tracking research        23         Q     Which team is Strategic Vision
24   and social media research; do you see that?           24   referring to there?
25         A      Yes.                                     25         A     Team 1.
                                                                                         30 (Pages 114 - 117)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 201 of 288


                                                Page 126                                                Page 128
 1                 MICHAEL WALLER                           1                 MICHAEL WALLER
 2   alarms," so after "they", Team 1, "came to us          2         A     Yes.
 3   for guidance," and we go to M, which is Miles          3         Q     What does called mean?
 4   Kwok or Wengui, "for guidance to provide it            4         A     That means the client had called
 5   back," so they were requesting guidance on             5   for a status report. It doesn't mean telephone
 6   that.                                                  6   call.
 7         Q     I was confused by your                     7         Q     So meaning Eastern Profit had
 8   testimony, did Mr. Guo ever represent to               8   called you?
 9   Strategic Vision that he had hired other teams         9         A     No, Mr. Guo had contacted us
10   to do similar research?                               10   through Yvette Wang.
11         A     He said he had in the past, but           11         Q     Called for, meaning requested?
12   he said he had three or four other teams,             12         A     Yes. Ms. Wang contacted us to
13   meaning at his disposal, but he didn't say one        13   get the latest status report.
14   way or another whether he had hired them at the       14         Q     And what do you mean by all 30
15   same time.                                            15   pieces?
16         Q     So the only basis for the                 16         A     I would presume that meant a
17   allegation that there were other teams actively       17   reference to the fish. So it's 30 in the
18   researching the same targets is what you              18   contract.
19   learned from Team 1, isn't that correct?              19         Q     Please turn to the next page, if
20         A     Yes, so these were the people             20   you would.
21   actually doing the work, and they found someone       21         A     By the way, right below that it
22   else out there is searching in the same               22   says, "We can't do a hard start each month."
23   territory we were and we fear a security              23              That referred to the -- what
24   breach.                                               24   amounted to tortious interference of stopping
25             I believe I have other notes on             25   Team 1 by having the leader travel abroad and
                                                Page 127                                                Page 129
 1                  MICHAEL WALLER                          1                MICHAEL WALLER
 2   the other notebook which is not in this                2   then having me travel abroad to meet every few
 3   exhibit.                                               3   days to exchange whatever partial data that
 4         Q      While we are on that page, there          4   they were able to recover.
 5   is, sort of talking about page 1788, there is a        5              So this was impeding their
 6   list of cities sort of on the right margin,            6   efforts.
 7   what do those represent?                               7         Q     So what were the terms of the
 8         A      Those are the codes where we              8   contract between you and Team 1?
 9   would say let's meet at a certain place,               9         A     Strategic Vision and Team 1?
10   because Mr. Guo insisted that all of the              10         Q     Sorry, Strategic Vision and Team
11   exchanges of information be done in person by         11   1.
12   USB drive and not online.                             12         A     That the contract was to do the
13               So, I would send a text, see you          13   deep dive research on -- for the first month on
14   at 17, with I would mean see you in Zurich, so        14   all 15 of the -- all the main 15 names listed
15   that was our code key.                                15   on that 89 page document and then from that
16         Q      But this particular conversation         16   point on ten more names or ten names every
17   that was on January 25th was it -- was by             17   month, not 15.
18   phone?                                                18         Q     But what did the -- we saw an
19         A      No, it was in person.                    19   invoice for $200,000 earlier, do you recall
20         Q      You see right under your                 20   that?
21   follow-up 1/25 there is an asterisk, do you see       21         A     Yes.
22   that?                                                 22         Q     And what was supposed to have
23         A      Um-hum.                                  23   been accomplished for that $200,000?
24         Q      It says, "Called for a status            24         A     So that was the setup for the --
25   report on all 30 pieces?"                             25   because we did not have, nor did we ever
                                                                                         33 (Pages 126 - 129)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 202 of 288


                                             Page 130                                                  Page 132
 1                MICHAEL WALLER                         1                 MICHAEL WALLER
 2   present the notion that we had an existing          2   the names were either misspelled and sent the
 3   office or set of offices for this, we would do      3   researchers in the wrong direction, or they
 4   all our work setting out fresh teams, so there      4   might not have been real names of real people
 5   is no continuity, and it avoids detection, so       5   in the first place.
 6   we want to keep security for our clients.           6              So you have to sift all that out
 7             In this case we would set up a            7   in the beginning and then narrow down what does
 8   new team abroad, and that team needed new           8   the client want, that's why the whole thing
 9   computer equipment, so you want to make sure        9   always required client guidance.
10   there is no electronic ability to trace            10        Q      And did Strategic Vision give
11   anything that's being done, so you are buying      11   Team 1 any guidance regarding financial,
12   devices in cash in third countries to be           12   forensic historical research, current tracking
13   brought to another country where the team is       13   research or social media research?
14   set up.                                            14        A      Yes.
15             So it's all those start up               15        Q      Tell us about that, what kind of
16   costs, related security costs, and then the        16   guidance did Strategic Vision give Team 1?
17   team members themselves.                           17        A      So first the team has to
18         Q     Did you -- did Strategic               18   familiarize themselves with the subject matter,
19   Vision --                                          19   that meant for them to go through all open
20             MS. CLINE: So strike that.               20   source material so they could learn everything
21         Q     When we looked at the research         21   they could so they would know where to look and
22   agreement between Eastern Profit and Strategic     22   where not to look; that's standard for any
23   Vision there was a concept of deliverables,        23   research project.
24   right?                                             24              And then they would go for what
25         A     Yes.                                   25   was easiest to retrieve, figure out what's
                                             Page 131                                                  Page 133
 1                 MICHAEL WALLER                        1                 MICHAEL WALLER
 2         Q      When Strategic Vision turned           2   easiest to get and then bring that data back,
 3   around and contracted with Team 1, did it           3   and that's going to be mainly open source
 4   import any concept of deliverables into the         4   material.
 5   contract between Team 1 and Strategic Vision?       5              And then to go into the more
 6         A      Simply give us the raw data that       6   difficult parts, but first you have to
 7   you have when requested.                            7   establish what you can find, the most easiest
 8         Q      Did you provide Team 1 with a          8   way, and then go for the tougher stuff later.
 9   copy of the Eastern Profit research agreement?      9              But it's an iterative process
10         A      No.                                   10   and you are constantly going back to the client
11         Q      How did Team 1 know what the          11   for guidance.
12   subject matters were, what the deliverable         12              And it takes a while to start
13   format was supposed to be?                         13   up.
14              How did they know those things?         14              Did the pricing that Strategic
15         A      We just provided Team 1 with the      15   Vision established with Team 1, was it related
16   list.                                              16   in any way to the pricing in the contract
17              That's all the client requested,        17   between Eastern Profit and Strategic Vision?
18   he just said find out everything you can on        18         A     It was a flat rate pricing for
19   this list of 15 names.                             19   Team 1.
20              The problem, of course, was             20         Q     But was that flat rate in any
21   there is so much data to find and how do you       21   way tied to the Eastern Profit contract?
22   narrow it down?                                    22              MR. GREIM: Objection, vague.
23              And some of the data is either          23         A     I don't know what you mean by
24   security or illegal to obtain, and some of it      24   tied.
25   doesn't exist, and as Team 1 found out, two of     25         Q     How did you come up with a flat
                                                                                        34 (Pages 130 - 133)
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 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 203 of 288


                                                       Page 186                                                          Page 188
 1                                                                 1
      CERTIFICATE                                                  2         DEPOSITION ERRATA SHEET
 2                                                                 3         Case Name: EASTERN v. STRATEGIC.
          I, the undersigned, a Certified                          4         Name of Witness: MICHAEL WALLER
 3   Shorthand Reporter of the State of New                        5         Date of Deposition: November 19,
     York, do hereby certify:                                      6         2019
 4        That the foregoing proceedings were                      7         Reason Codes: 1. To clarify the
     taken before me at the time and place
                                                                   8         record.
 5   herein set forth; that any witnesses in
                                                                   9         2. To conform to the facts.
     the foregoing proceedings, prior to
                                                                  10         3. To correct transcription errors.
 6   testifying, were duly sworn; that a record
                                                                  11 Page _____ Line ______ Reason ______
     of the proceedings was made by me using
 7   machine shorthand which was thereafter
                                                                     From _______________________ to _________________
     transcribed under my direction;                              12 Page _____ Line ______ Reason ______
 8        That the foregoing transcript is a                         From _______________________ to _________________
     true record of the testimony given.                          13 Page _____ Line ______ Reason ______
 9        Further, that if the foregoing                             From _______________________ to _________________
     pertains to the original transcript of a                     14 Page _____ Line ______ Reason ______
10   deposition in a federal case before                             From _______________________ to _________________
     completion of the proceedings, review of                     15 Page _____ Line ______ Reason ______
11   the transcript [x ] was [ ] was not                             From _______________________ to _________________
     requested.                                                   16 Page _____ Line ______ Reason ______
12                                                                   From _______________________ to _________________
          I further certify I am neither                          17 Page _____ Line ______ Reason
13   financially interested in the action nor a                      From _______________________ to _________________
     relative or employee of any attorney or                      18 Page _____ Line ______ Reason ______
14   party to this action.                                           From _______________________ to _________________
          IN WITNESS WHEREOF, I have this                         19 Page _____ Line ______ Reason ______
15   date subscribed my name.
                                                                     From _______________________ to _________________
16        Dated: 12/4/19
                                                                  20 Page _____ Line ______ Reason ______
17
                                                                     From _______________________ to _________________
18
19
                                                                  21 Page _____ Line ______ Reason ______
20                                                                   From _______________________ to _________________
        <%20932,Signature%>                                       22 Page _____ Line ______ Reason ______
21                                                                   From _______________________ to _________________
         Stephen J. Moore                                         23 Page _____ Line ______ Reason ______
22       RPR, CRR                                                    From _______________________ to _________________
23                                                                24 Page _____ Line ______ Reason ______
24                                                                   From _______________________ to _________________
25                                                                25

                                                       Page 187                                                          Page 189
                                                                   1
 1                                                                 2          DEPOSITION ERRATA SHEET
 2     DECLARATION UNDER PENALTY OF PERJURY                        3 Page _____ Line ______ Reason ______
                                                                     From _______________________ to _________________
 3        Case Name: EASTERN v. STRATEGIC                          4 Page _____ Line ______ Reason ______
 4        Date of Deposition: November 19,                           From _______________________ to _________________
                                                                   5 Page _____ Line ______ Reason ______
 5        2019                                                       From _______________________ to _________________
 6                                                                 6 Page _____ Line ______ Reason ______
                                                                     From _______________________ to _________________
 7          I, MICHAEL WALLER, hereby certify                      7 Page _____ Line ______ Reason ______
 8          Under penalty of perjury under the                       From _______________________ to _________________
                                                                   8 Page _____ Line ______ Reason ______
 9      laws of the State of New York that the                       From _______________________ to _________________
                                                                   9 Page _____ Line ______ Reason ______
10      foregoing is true and correct.                               From _______________________ to _________________
11          Executed this ______ day of                           10 Page _____ Line ______ Reason ______
                                                                     From _______________________ to _________________
12          __________________, 2019, at                          11 Page _____ Line ______ Reason ______
13           ____________________.                                   From _______________________ to _________________
                                                                  12 Page _____ Line ______ Reason ______
14                                                                   From _______________________ to _________________
15                                                                13 Page _____ Line ______ Reason ______
                                                                     From _______________________ to _________________
16      _________________________________                         14 Page _____ Line ______ Reason ______
                                                                     From _______________________ to _________________
17                                                                15 Page _____ Line ______ Reason ______
18             MICHAEL WALLER                                        From _______________________ to _________________
                                                                  16 Page _____ Line ______ Reason ______
19                                                                   From _______________________ to _________________
20                                                                17          _________ Subject to the above
                                                                  18     changes, I certify that the transcript is
21                                                                19     true and correct
22                                                                20          __________ No changes have been
                                                                  21     made. I certify that the transcript is
23                                                                22     true and correct.
24                                                                23
                                                                  24     _____________________________________
25                                                                25          MICHAEL WALLER

                                                                                                        48 (Pages 186 - 189)
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Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 204 of 288




                       Exhibit L
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 205 of 288

         EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                           J. Michael Waller on 02/08/2019

 ·1· ·UNITED STATES DISTRICT COURT
 ·2· ·SOUTHERN DISTRICT OF NEW YORK
 ·3· ·-----------------------------------x
 ·4· ·EASTERN PROFIT CORPORATION LIMITED,
 ·5· · · · · · · Plaintiff-Counterclaim Defendant,
 ·6· · · · · · · · · · · · · · · · · Case No.
 ·7· · · · -against-· · · · · · · · · ·18-cv-2185
 ·8· ·STRATEGIC VISION US, LLC,
 ·9· · · · · · · Defendant-Counterclaim Plaintiff,
 10· · vs.
 11· ·GUO WENGUI a/k/a, MILES KWOK,
 12· · · · · · · Counterclaim Defendant.
 13· ·-----------------------------------x
 14
 15
 16· · · · · · ·VIDEOTAPED DEPOSITION
 17· · · · · · · · · · ·OF
 18· · · · · · · J. MICHAEL WALLER
 19· · · · · · · New York, New York
 20· · · · · ·Friday, February 8, 2019
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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 206 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 10                                                      Page 12
·1·   ·that work.                                            ·1·   · · · Q.· · And so when did you do your first
·2·   · · · · · · MR. SCHMIDT:· Your employer.               ·2·   ·project with Strategic Vision and French Wallop?
·3·   · · · · · · MR. GRENDI:· Employer, yeah.               ·3·   · · · · · · You said you started talking in early
·4·   · · · A.· · I do mean principally, principally as      ·4·   ·2017.· When did you do your first project with
·5·   ·my own contractor for myself through my company,      ·5·   ·Strategic Vision?
·6·   ·through Oceanic Advisors or Liberty Tree              ·6·   · · · A.· · We had several going on at once at
·7·   ·Partners.                                             ·7·   ·about the same time, so I can't -- either late
·8·   · · · Q.· · How do you know French Wallop?             ·8·   ·2016 or early 2017.
·9·   · · · A.· · I met her about, first about 35 years      ·9·   · · · Q.· · So you jumped right in after discussing
10·   ·ago.· I had been a Senate staffer and her husband     10·   ·with Ms. Wallop working together.· She said, "Can
11·   ·was a U.S. senator.                                   11·   ·you help on a couple of projects?"
12·   · · · Q.· · Were you a staffer for Ms. Wallop's        12·   · · · · · · Is that what happened?
13·   ·husband?                                              13·   · · · A.· · Yeah.· It's more of you get together
14·   · · · A.· · No.                                        14·   ·and you talk about ideas, and you brainstorm
15·   · · · Q.· · Did you meet him through your work as a    15·   ·about what kind of clients are out there or what
16·   ·staffer?                                              16·   ·kind of work should be done or needs to be done,
17·   · · · A.· · The senator?                               17·   ·and then where we would properly fit in and what
18·   · · · Q.· · Yes.                                       18·   ·type of teams to build.
19·   · · · A.· · Yes.                                       19·   · · · Q.· · And so how many projects have you done
20·   · · · Q.· · Is that how you met French Wallop?         20·   ·with Strategic Vision?
21·   · · · A.· · I don't recall.· It could have been at     21·   · · · A.· · None of it's written down, meaning we
22·   ·a reception or some other event.                      22·   ·don't have a contract, so we just work together
23·   · · · Q.· · When did you start working with            23·   ·because we trust each other.· We have probably
24·   ·French Wallop in connection with                      24·   ·two right now.
25·   ·Strategic Vision?                                     25·   · · · Q.· · Just historically, how many different

                                                   Page 11                                                      Page 13
·1·   · · · A.· · 2016, maybe 2017.                          ·1·   ·projects or clients have you serviced with
·2·   · · · Q.· · How did that come about?                   ·2·   ·Strategic Vision?
·3·   · · · A.· · We had talked a lot about doing            ·3·   · · · A.· · Probably two previous.· The ones we're
·4·   ·different business projects.· We had worked           ·4·   ·working on now are not yet clients.· We're just
·5·   ·together during the Iraq War and the Afghanistan      ·5·   ·working on building them as clients.
·6·   ·War but never actually did contractual work.· It      ·6·   · · · Q.· · So you're not performing any service
·7·   ·was just mutual collaboration on work relating to     ·7·   ·for just Strategic Vision right now for any of
·8·   ·opposing jihadist movements, and then we              ·8·   ·its clients?
·9·   ·discussed ways to do business with a variety of       ·9·   · · · A.· · No.
10·   ·prospective clients in 2017.                          10·   · · · Q.· · And you're working on maybe doing two?
11·   · · · Q.· · You're saying 2017 now?                    11·   · · · A.· · Yes.
12·   · · · A.· · 2016-2017.· I feel more comfortable        12·   · · · Q.· · Other than the project that we're going
13·   ·saying early 2017.                                    13·   ·to discuss in this case with Eastern Profit, how
14·   · · · Q.· · Okay.· What was the nature of the work     14·   ·many other projects have you done for Strategic
15·   ·you were doing with French Wallop before you          15·   ·Vision?
16·   ·started talking about working with Strategic          16·   · · · A.· · Probably two.
17·   ·Vision, the Iraq War and Afghanistan War?             17·   · · · Q.· · That you actually performed work on?
18·   · · · A.· · That was information opposition support    18·   · · · A.· · Yeah.
19·   ·for the U.S. Special Operations Forces, or I'll       19·   · · · Q.· · When was that?
20·   ·say U.S. Military in general.                         20·   · · · A.· · Let me correct my earlier statement. I
21·   · · · Q.· · So you were both providing that kind of    21·   ·think it was 2016 when I first did work with her.
22·   ·service to the U.S. Military?                         22·   · · · Q.· · That's fine.· So there were two other
23·   · · · A.· · Yes, independently.· And we had -- when    23·   ·projects that you performed for Strategic
24·   ·she was working on another project, we had talked     24·   ·Vision --
25·   ·about bringing me in, but we didn't.                  25·   · · · A.· · Yes.


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 207 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 26                                                      Page 28
·1·   · · · A.· · I believe it was French Wallop.            ·1·   ·the client confidentiality and the
·2·   · · · Q.· · And then subsequent to that, you talked    ·2·   ·confidentiality of the work.
·3·   ·to who about that?                                    ·3·   · · · Q.· · So you're saying at the outset here you
·4·   · · · A.· · To Lianchao Han, L-i-a-n-c-h-a-o.· The     ·4·   ·explained to Mr. Guo and Mr. Lianchao that
·5·   ·second name is H-a-n.                                 ·5·   ·Strategic Vision and you personally are not
·6·   · · · Q.· · This is all before this December           ·6·   ·working together directly.· That you're, I guess,
·7·   ·meeting in Mr. Guo's apartment?                       ·7·   ·an independent contractor?
·8·   · · · A.· · Yes.                                       ·8·   · · · A.· · Yes, that would be accurate, as an
·9·   · · · Q.· · When did you talk to Bill Gertz?           ·9·   ·independent contractor.
10·   · · · A.· · At about that same time.· Bill Gertz       10·   · · · Q.· · And you explained that to Mr. Guo and
11·   ·had asked French Wallop if she could do this          11·   ·Mr. Lianchao?
12·   ·work.· She said she would like to bring me in.        12·   · · · A.· · Yes.
13·   ·He thought it would be a great idea, in his           13·   · · · Q.· · Did they say anything when you
14·   ·words, and Lianchao Han agreed.· And that's when      14·   ·explained that?
15·   ·I was brought up to meet -- then I conferred with     15·   · · · A.· · No.
16·   ·Lianchao and was brought up to meet Guo.              16·   · · · Q.· · Getting back to my original question,
17·   · · · Q.· · So Mr. Guo apparently described what he    17·   ·what did you and Strategic Vision, through
18·   ·wanted to do, and then you said that Strategic        18·   ·Ms. Wallop, explain as a possible service that
19·   ·Vision -- let's strike that and start over.           19·   ·could be provided to Eastern Profit?
20·   ·Sorry.                                                20·   · · · A.· · We could provide this opposition
21·   · · · · · · So Mr. Guo told you what he wanted from    21·   ·research to Guo.· That we would set up the teams
22·   ·you and Ms. Wallop.· What did you tell him back       22·   ·to do the work.· That the work would have to be
23·   ·in terms of what Strategic Vision and you             23·   ·done both in the United States and outside the
24·   ·yourself could provide as a service?                  24·   ·United States.· That we were starting up cold.
25·   · · · A.· · First, I never spoke on behalf of          25·   ·We never implied that we had a corporate entity

                                                   Page 27                                                      Page 29
·1·   ·Strategic Vision.                                     ·1·   ·with a staff and resources, that we would be
·2·   · · · Q.· · Okay.· Who were you speaking on behalf     ·2·   ·starting this up from scratch as we do with all
·3·   ·of?                                                   ·3·   ·our projects.· So he was fine with that.
·4·   · · · A.· · On behalf of myself.                       ·4·   · · · Q.· · Did you or Ms. Wallop explain what
·5·   · · · Q.· · So you don't have an employment            ·5·   ·either your capabilities or Ms. Wallop's
·6·   ·agreement with Strategic Vision?                      ·6·   ·capabilities were in terms of providing this
·7·   · · · A.· · No.                                        ·7·   ·research?
·8·   · · · Q.· · Did you explain to Mr. Guo and             ·8·   · · · · · · MR. SCHMIDT:· Objection.· Go ahead.
·9·   ·Mr. Lianchao that you did not work for Strategic      ·9·   · · · Q.· · Let me break it down, then.
10·   ·Vision?                                               10·   · · · · · · Did you explain what you could provide
11·   · · · A.· · Yes.                                       11·   ·as a service in connection with this research?
12·   · · · Q.· · When was it?· Was that at this meeting     12·   · · · A.· · Yes.
13·   ·that you're talking about now?                        13·   · · · Q.· · And what did you explain to the parties
14·   · · · A.· · It was probably at the first meeting       14·   ·present?
15·   ·with Guo.· I never implied anything that I worked     15·   · · · A.· · That I would assemble the research team
16·   ·for Strategic Vision.                                 16·   ·and supervise the research team.
17·   · · · Q.· · Did you explicitly say "I don't work       17·   · · · Q.· · That's the research team that would
18·   ·for Strategic Vision"?                                18·   ·perform investigatory research?
19·   · · · A.· · I don't recall if it was quite put that    19·   · · · A.· · Yes.
20·   ·way.· I would let Ms. Wallop answer that because      20·   · · · Q.· · Did Ms. Wallop explain what Strategic
21·   ·she was speaking for her company.· We presented       21·   ·Vision could provide in connection with this
22·   ·ourselves as a team, and we were specific that we     22·   ·research?
23·   ·assemble teams on an as-needed basis to do this       23·   · · · A.· · Yes.
24·   ·type of research because there's no corporate         24·   · · · Q.· · What did she say, if you recall?
25·   ·profile.· And that was essential for maintaining      25·   · · · A.· · I don't recall exactly.


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 208 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 38                                                      Page 40
·1·   ·address things more specifically, but offhand I       ·1·   ·the profits, did you have a written agreement or
·2·   ·can't think of anything else.                         ·2·   ·an oral agreement?
·3·   · · · Q.· · Okay.· And in terms of negotiating         ·3·   · · · A.· · Verbal agreement.
·4·   ·these terms for Strategic Vision, were you taking     ·4·   · · · Q.· · So there's no written agreement between
·5·   ·a lead on that or was Ms. Wallop taking the lead      ·5·   ·you and Ms. Wallop concerning how you or your
·6·   ·on that?                                              ·6·   ·LLCs would be paid for your services in
·7·   · · · · · · MR. SCHMIDT:· Objection.                   ·7·   ·connection with this research agreement?
·8·   · · · A.· · We teamed it.                              ·8·   · · · A.· · That's correct.
·9·   · · · Q.· · Did you have --                            ·9·   · · · Q.· · Other than the $300,000 payment, was
10·   · · · A.· · We worked with Lianchao as Guo's agent     10·   ·there any other payments from Strategic Vision to
11·   ·or representative prior to this to determine the      11·   ·you or one of your LLCs in connection with this
12·   ·scope.· Then when we met with Guo, he narrowed        12·   ·research agreement?
13·   ·the scope and then we came to the agreement for       13·   · · · A.· · Yeah.· I can provide those, the
14·   ·750 a month.                                          14·   ·documentation to that effect.
15·   · · · Q.· · What was your financial arrangement        15·   ·(*r)· · · MR. GRENDI:· Joe, I'm going to ask for
16·   ·with Strategic Vision in connection with this         16·   · · · the production of Strategic Vision's records
17·   ·research agreement?                                   17·   · · · with respect to these payments.
18·   · · · A.· · That French Wallop and I would split       18·   · · · · · · MR. SCHMIDT:· Okay.· I assume you're
19·   ·the profits evenly.                                   19·   · · · going to follow up with a letter or
20·   · · · Q.· · Would it be you personally that would      20·   · · · something detailing this, right?
21·   ·split the profits evenly or one of your               21·   · · · · · · MR. GRENDI:· Once we get the
22·   ·companies?                                            22·   · · · transcript, we can do that.
23·   · · · A.· · There were LLCs in my name, so it's        23·   · · · · · · MR. SCHMIDT:· Okay.· Because we
24·   ·effectively me paid to one of my LLCs.                24·   · · · obviously owe you a letter from the last
25·   · · · Q.· · So your understanding through Strategic    25·   · · · deposition too.

                                                   Page 39                                                      Page 41
·1·   ·Vision was half of the money that comes in            ·1·   · · · · · · MR. GRENDI:· I understand.
·2·   ·through this research agreement would be paid         ·2·   · · · Q.· · You said you have records concerning
·3·   ·either to you or one of your LLCs?                    ·3·   ·these transactions?
·4·   · · · A.· · Half of the profits, yes.                  ·4·   · · · A.· · The bank statements, yes.
·5·   · · · Q.· · Profits, okay.· So not just revenue.       ·5·   · · · Q.· · Just ballpark, all in, do you know
·6·   ·Let's just say if the agreement was a million         ·6·   ·about how much money was transferred from
·7·   ·dollars, you wouldn't get 500,000.· You would get     ·7·   ·Strategic Vision to you or your LLCs in
·8·   ·some smaller sum based on either overhead or          ·8·   ·connection with this research agreement?
·9·   ·other costs?                                          ·9·   · · · A.· · I would say about that $300,000 figure
10·   · · · A.· · That's correct.                            10·   ·that I was referring to before was probably it,
11·   · · · Q.· · How did you plan on accounting for         11·   ·but I would have to check, because the LLCs were
12·   ·that?                                                 12·   ·also used as a pass-through, by design.
13·   · · · A.· · Pardon.· There were also expenses paid     13·   · · · Q.· · Just in connection with this research
14·   ·to one of my LLCs for the purpose of rerouting        14·   ·agreement, how many different LLCs were used?
15·   ·this through a few channels to avoid detection by     15·   · · · A.· · My own that I control?
16·   ·the Chinese.                                          16·   · · · Q.· · Yes.
17·   · · · Q.· · Which LLC was that?                        17·   · · · A.· · Three.
18·   · · · A.· · That was one that French and I both set    18·   · · · Q.· · What are those three?
19·   ·up called Georgetown Research LLC.                    19·   · · · A.· · That would be Oceanic Advisors, Liberty
20·   · · · Q.· · How much money was sent to Georgetown      20·   ·Tree Partners, although I don't recall if there
21·   ·Research LLC?                                         21·   ·was a payment made to Liberty Tree, but that
22·   · · · A.· · I have the statements.· I'm guessing       22·   ·would have been one, and then Georgetown Research
23·   ·$300,000, I'm guessing, but I can provide the         23·   ·which was our joint LLC.
24·   ·statements.                                           24·   · · · Q.· · So why were these funds transferred to
25·   · · · Q.· · With respect to this agreement to split    25·   ·your LLCs?


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 209 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 42                                                      Page 44
·1·   · · · A.· · So that we could make payments to start    ·1·   ·Strategic Vision account, so I wouldn't know. I
·2·   ·team 1 and to cover all related expenses in           ·2·   ·imagine there were some residual things, so the
·3·   ·starting up this project.                             ·3·   ·profits were not fully -- to the extent there
·4·   · · · Q.· · So these payments were not for, as you     ·4·   ·were profits, they were not fully split.
·5·   ·described it earlier, splitting the profits?          ·5·   · · · · · · We were cheated out of the first
·6·   · · · A.· · That was part of the start-up.· We did     ·6·   ·month's work and the second month's work, and
·7·   ·not deplete the funds.· There were funds left         ·7·   ·then his failure to give 30-days' notice because
·8·   ·over, but there were all kinds of costs involved      ·8·   ·we were left in limbo.· So as far as we're
·9·   ·to start this up.· So anything involved in            ·9·   ·concerned, there were no profits because Miles
10·   ·starting up this project, we did through this         10·   ·Kwok, or Guo cheated us out of our earnings.
11·   ·means.                                                11·   · · · Q.· · So you don't expect to get any money
12·   · · · Q.· · I understand.· Correct me if I'm wrong.    12·   ·from French Wallop for any profit in connection
13·   ·The payments that were made to your three LLCs        13·   ·with this engagement?
14·   ·were made in connection with you or your LLCs         14·   · · · A.· · There's no profit if we were cheated.
15·   ·retaining team 1?                                     15·   · · · Q.· · I would appreciate it if you would just
16·   · · · A.· · Yes.· To building and retaining team 1     16·   ·answer the question directly.· Was there no
17·   ·and all of its equipment and all associated           17·   ·profit from this engagement for you or Strategic
18·   ·expenses.                                             18·   ·Vision?
19·   · · · Q.· · Did there come a time when you received    19·   · · · A.· · You have to define "profit."· What were
20·   ·payment for splitting the profits?                    20·   ·our opportunity costs?· What were our losses from
21·   · · · A.· · Yes.· I took some of the funds at that     21·   ·doing work and preparing work for them for which
22·   ·same time to pay for my own expenses and my own       22·   ·we were not compensated, or for not taking on
23·   ·work, but it was not a splitting of the profits.      23·   ·other jobs because we were working on Guo's work
24·   · · · Q.· · Right.· What I'm asking about is not       24·   ·for which he did not compensate us?· So it's an
25·   ·these payments that you just described.· What I'm     25·   ·academic question on what constitutes profit.

                                                   Page 43                                                      Page 45
·1·   ·asking about is was there ever another time when      ·1·   · · · Q.· · Let me ask you this.· Do you expect
·2·   ·you received money from Strategic Vision for          ·2·   ·Strategic Vision to send you any payment in the
·3·   ·splitting the profits from this research              ·3·   ·future in connection with, quote-unquote "profit"
·4·   ·agreement?                                            ·4·   ·from this engagement?
·5·   · · · A.· · Yeah, during the first month of work.      ·5·   · · · A.· · If Guo pays what he owes yes, I do.· He
·6·   · · · Q.· · How much was that payment for?             ·6·   ·owes us $2 million in failure to pay and failure
·7·   · · · A.· · I don't remember.· I have the records.     ·7·   ·to give notice that he was terminating the
·8·   · · · Q.· · But you did -- you do recall receiving     ·8·   ·contract in 30 days.· If and when he pays that,
·9·   ·a payment from Strategic Vision for splitting the     ·9·   ·yes, I expect to receive my share of the profit.
10·   ·profits?                                              10·   ·That's how we operate.
11·   · · · A.· · To one of the LLCs.                        11·   · · · Q.· · Let's just say the only money that
12·   · · · Q.· · Is that a "yes," though?                   12·   ·Strategic Vision has is the million dollars.· Is
13·   · · · A.· · "Splitting the profits" is the wrong       13·   ·there any profit to split?
14·   ·term.· It was for the first months of our own         14·   · · · A.· · Not anymore, not with this legal case.
15·   ·compensation.· One of the issues was we wanted to     15·   · · · Q.· · Did you and Strategic Vision ever
16·   ·be paid one month in advance.· Guo objected.· We      16·   ·detail how profit would be defined, in terms of
17·   ·still had to pay ourselves for that month's work.     17·   ·splitting the profits from this engagement?
18·   ·I'm speaking for myself.· I'm not speaking for        18·   · · · A.· · In terms of dividing up the revenues
19·   ·Ms. Wallop or Strategic Vision.                       19·   ·from this engagement, it would be a 50/50 split
20·   · · · Q.· · I understand.· I just want to make the     20·   ·after expenses.
21·   ·record clear.· Did there ever come a time when        21·   · · · Q.· · Expenses, okay.· What expenses would
22·   ·the profits from this research agreement were         22·   ·those be?
23·   ·split between you and Strategic Vision?               23·   · · · A.· · The research teams, any travel, any
24·   · · · A.· · Yes, but there are still funds left        24·   ·legal, any contractors, any equipment, any
25·   ·that were not spent.· I don't have access to the      25·   ·leases, any security measures, anything related


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 210 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 54                                                      Page 56
·1·   ·had a familiarity with each other and each            ·1·   ·be defined was never intended as a finished
·2·   ·other's work.                                         ·2·   ·analytical essay or bound type of report that one
·3·   · · · · · · He was working with Guo.· Guo was          ·3·   ·would be accustomed to in a legal or business or
·4·   ·trying to hire him.· He was not, to my knowledge,     ·4·   ·an academic environment.· It was simply raw data
·5·   ·paid by Guo and did not want to be, but he was        ·5·   ·passed on a USB thumb drive, a flash drive from
·6·   ·acting as Guo's agent to set up this arrangement      ·6·   ·team 1 through me straight to Guo or his agent.
·7·   ·and to serve as Guo's interpreter.                    ·7·   · · · · · · He did not want an analytical product
·8·   · · · Q.· · Does Mr. Guo speak English well?           ·8·   ·in terms of the short-term reports.
·9·   · · · A.· · He speaks it well but not fluent.· You     ·9·   · · · Q.· · Does this research agreement define
10·   ·can have a conversation with him and he can read      10·   ·what a progress report will have in it?
11·   ·it fine, but he cannot -- he would need               11·   · · · · · · MR. SCHMIDT:· Objection.
12·   ·assistance of an interpreter.                         12·   · · · A.· · I mean, it says what it says, a
13·   · · · Q.· · So you've spoken to Mr. Guo in English     13·   ·progress report.· I want to know the status.· How
14·   ·before?                                               14·   ·are things?· Well, great.· Everybody's recruited.
15·   · · · A.· · Yes.                                       15·   ·They're in place.· They've begun working.· It
16·   · · · Q.· · But did you have any kind of difficulty    16·   ·takes X number of days to do this, which we told
17·   ·understanding what he was saying or struggle with     17·   ·him in advance.· We told him something specific
18·   ·his English?                                          18·   ·would take six days to do.
19·   · · · A.· · Yeah, he would struggle with his           19·   · · · · · · By day 2, Guo was getting impatient.
20·   ·English, and that's why Lianchao or Yvette would      20·   ·So we were giving him the reports to let him know
21·   ·be present during the meetings.                       21·   ·how the team was coming together.· And then once
22·   · · · Q.· · So Lianchao and Yvette were                22·   ·the team started digging up information -- it's
23·   ·interpreters for Mr. Guo, as you understood it?       23·   ·an extremely time-consuming task.· He knew that,
24·   · · · A.· · In addition to serving as his agents to    24·   ·so we gave him the information on the sticks
25·   ·work with us.                                         25·   ·right after he asked for it.

                                                   Page 55                                                      Page 57
·1·   · · · Q.· · Just going back to the financial,          ·1·   · · · Q.· · Right.· I just want to understand.· Do
·2·   ·forensic historical research, has Strategic           ·2·   ·you recall a specific discussion with Mr. Guo or
·3·   ·Vision provided that service in the past?             ·3·   ·Lianchao or Yvette regarding what would be in a
·4·   · · · A.· · I can't speak for Strategic Vision.        ·4·   ·progress report prior to the execution of this
·5·   · · · Q.· · What about for you personally?             ·5·   ·research agreement?
·6·   · · · A.· · Yes, as part of another -- as part of      ·6·   · · · A.· · Yeah, the progress report is simply
·7·   ·other teams.                                          ·7·   ·what's the status of the project.
·8·   · · · Q.· · I just want to talk about the reports      ·8·   · · · Q.· · That's not exactly what I asked.
·9·   ·referenced on the next page concerning financial,     ·9·   · · · A.· · It would be a verbal -- it would be a
10·   ·forensic historical research.                         10·   ·verbal status report and anything on a stick that
11·   · · · · · · Do you see the first full paragraph on     11·   ·the researchers came up with in its raw form, not
12·   ·Eastern 6, "Contractor will produce a progress        12·   ·in an analyzed synthesized form.
13·   ·report"?                                              13·   · · · Q.· · I think you're missing my question a
14·   · · · A.· · Yes.                                       14·   ·little bit, so let me just ask it again.
15·   · · · Q.· · What did you understand a progress         15·   · · · · · · Do you recall telling Mr. Guo or
16·   ·report would include or entail?                       16·   ·Yvette Wang or Mr. Lianchao what you understood
17·   · · · A.· · The progress reports were to be on         17·   ·would be in a progress report?
18·   ·roughly a weekly basis to let him know the            18·   · · · A.· · Yes.
19·   ·progress of how the project was going underway.       19·   · · · Q.· · When was that?
20·   ·Initially, the progress reports were simply this      20·   · · · A.· · That was in -- that was before the
21·   ·is the progress.· We're setting up the team.· We      21·   ·contract in December, and it was after the
22·   ·got the funds moved.· We've recruited the right       22·   ·contract was signed.
23·   ·people.· They're in place and so forth.               23·   · · · Q.· · Let's talk about before.· When was it
24·   · · · · · · And then the -- so those were the          24·   ·that you -- well, who did you tell about what a
25·   ·progress reports, and then the, quote, reports to     25·   ·progress report would entail before the contract


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 211 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 66                                                      Page 68
·1·   ·report.· That would have been one of the weekly       ·1·   ·physically go to Europe to pick up the drive and
·2·   ·reports.                                              ·2·   ·then deliver it back to Guo or his agents.
·3·   · · · Q.· · Have you ever provided reports of this     ·3·   · · · Q.· · Would you do any analytical work or
·4·   ·nature to other clients in this format of             ·4·   ·analysis of the report itself, or did you just,
·5·   ·progress report, preliminary report,                  ·5·   ·as you described, just kind of pass it along?
·6·   ·comprehensive historical research report?             ·6·   · · · A.· · I simply acted as a pass-through for
·7·   · · · A.· · Progress reports, of course, yes.          ·7·   ·delivering that.· We had envisioned doing -- in
·8·   ·Preliminary reports, of course, but in a              ·8·   ·terms of analytical work, if there was to be
·9·   ·different way.· It was not just raw data.· It was     ·9·   ·paper as opposed to electronic information, I
10·   ·more defined.· Then the comprehensive historical      10·   ·would be collecting that and making sense of
11·   ·research report, analogous reports to this type       11·   ·that, but none of the computer work.
12·   ·of wording, yes.· You can even say comprehensive      12·   · · · Q.· · What about the preliminary reports?
13·   ·historical research report, yeah, that would be       13·   ·Would you provide any analysis or use any of your
14·   ·fine.                                                 14·   ·kind of experience in this field to create or
15·   · · · Q.· · So in your mind, is this kind of like a    15·   ·edit or do anything with those reports?
16·   ·standard industry practice in terms of providing      16·   · · · A.· · We had talked about doing that.· Guo
17·   ·investigatory research?                               17·   ·specifically instructed us not to.
18·   · · · A.· · Yes.· Now, where it's tailored to the      18·   · · · Q.· · So again, you didn't edit or provide
19·   ·client, you're going to deviate from the              19·   ·any insight in terms of the data that you were
20·   ·standard, like using the word "fish."                 20·   ·getting from team 1.· You just, again, passed it
21·   · · · Q.· · What about the current tracking            21·   ·along?
22·   ·research?· You see a little bit lower down there,     22·   · · · A.· · Yes.· He didn't want it.· He just
23·   ·there's a discussion of producing monthly             23·   ·wanted it passed straight to him.· Now --
24·   ·reports?                                              24·   · · · Q.· · Go ahead.
25·   · · · A.· · Yes.                                       25·   · · · A.· · Let me put a caveat on that.

                                                   Page 67                                                      Page 69
·1·   · · · Q.· · Except the first month where there will    ·1·   · · · Q.· · Sure.
·2·   ·be weekly reports?                                    ·2·   · · · A.· · When we found a dead end or we found an
·3·   · · · A.· · Right.                                     ·3·   ·issue like bad names, names that were either not
·4·   · · · Q.· · What was your understanding of what the    ·4·   ·real or spelled wrong or seemed to be the same
·5·   ·weekly reports would entail?                          ·5·   ·name among one or more different people, or two
·6·   · · · A.· · First it would be a status report until    ·6·   ·or more different people, whether it's two people
·7·   ·we were able to make the deep dives into the          ·7·   ·with the same name or one person using two
·8·   ·research.                                             ·8·   ·persona, or if we found that some of the
·9·   · · · Q.· · What about the monthly reports?            ·9·   ·information he gave us was false or inaccurate,
10·   · · · A.· · That would basically be a compilation      10·   ·that's when I would get involved and deliver that
11·   ·of the weekly reports and then anything that was      11·   ·to him, as well as whatever information.
12·   ·integratable in its raw form, we would submit.        12·   · · · · · · For example, he gave us copies of
13·   · · · Q.· · In terms of completing -- let's just       13·   ·passports of certain of the targets that he
14·   ·start with a weekly report.· How would that be        14·   ·wanted, and so we checked and found that some of
15·   ·completed?· In other words, who does the work to      15·   ·the passports were false.· So that was an
16·   ·put together that report?                             16·   ·analytical piece of work that I did or had other
17·   · · · A.· · Team 1.· Team 1 did the work because it    17·   ·team members do apart from this.· I delivered
18·   ·was simply raw data.· There was no analytical         18·   ·that separately, so that's apart from the raw
19·   ·product.                                              19·   ·data.· We were trying to be as comprehensive as
20·   · · · Q.· · What was your role in connection with      20·   ·we could for him.
21·   ·any weekly reports?· What would you do?               21·   · · · Q.· · So in other words, in terms of applying
22·   · · · A.· · I was the one you would -- I was the       22·   ·your experience and background in this field,
23·   ·liaison with team 1.· I would deliver Guo's           23·   ·that's where you would kind of participate in
24·   ·instructions to team 1.· I would get any              24·   ·focusing or refocusing one of these reports?
25·   ·information back from them, and then I would          25·   · · · A.· · Right.· Or if the team had said, we


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 212 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 74                                                      Page 76
·1·   ·kind of do different things?                          ·1·   ·nature of this contract because I am not, I am
·2·   · · · A.· · Right.                                     ·2·   ·not part of Strategic Vision.
·3·   · · · Q.· · Got it.                                    ·3·   · · · Q.· · Right.
·4·   · · · · · · MR. GRENDI:· Why don't we take a brief     ·4·   · · · A.· · But having been part of putting the
·5·   · · · break and come back in five minutes.             ·5·   ·arrangement together, there's a team that's the
·6·   · · · · · · THE VIDEOGRAPHER:· Off the record at       ·6·   ·entity.
·7·   · · · 11:28.                                           ·7·   · · · Q.· · So you understood that Strategic Vision
·8·   · · · · · · (Whereupon, a short recess was taken.)     ·8·   ·U.S. LLC also entailed whoever it is that they
·9·   · · · · · · THE VIDEOGRAPHER:· Back on the record      ·9·   ·subcontracted work to?
10·   · · · at 11:37.                                        10·   · · · · · · MR. SCHMIDT:· Objection.
11·   · · · Q.· · Mr. Waller, just to remind you you're      11·   · · · A.· · Not even Mrs. Wallop knows the
12·   ·still under oath here.                                12·   ·identities of many of the people on the team.
13·   · · · A.· · Yes.                                       13·   ·Not even I know some of them.· That's how tight
14·   · · · Q.· · Have you ever met anyone who works for     14·   ·we kept it.· Guo gave us the research material
15·   ·Strategic Vision, other than Ms. Wallop?              15·   ·that, in order to execute the contract, we had to
16·   · · · A.· · No.                                        16·   ·provide to the people doing the research.
17·   · · · Q.· · Going back to this contract, Waller 2.     17·   · · · Q.· · But you don't know who those people
18·   ·Can you turn to Eastern 5, which is the first         18·   ·are, the people doing the research?
19·   ·page.· Do you see where it says, "Any and all         19·   · · · A.· · Not all of them.
20·   ·materials provided by the client to the               20·   · · · Q.· · Some of them?
21·   ·contractor will be treated with absolute              21·   · · · A.· · Some of them, yes.
22·   ·confidentiality and will not be shared by the         22·   · · · Q.· · And who were the people doing the
23·   ·contractor with any other entity"?                    23·   ·research that you know of?
24·   · · · A.· · Yes.                                       24·   · · · A.· · I cannot provide the identities of
25·   · · · Q.· · Do you recall drafting this provision      25·   ·team 1 for reasons that we explained before.

                                                   Page 75                                                      Page 77
·1·   ·into the agreement, or how it got in there?           ·1·   ·Team 2, we --
·2·   · · · A.· · No.                                        ·2·   · · · Q.· · Hold on.· I just want to maintain that
·3·   · · · Q.· · Does Strategic Vision share the            ·3·   ·we don't think that that's -- this is a lawyer
·4·   ·information from the client with other entities?      ·4·   ·part -- a legitimate objection.· But in light of
·5·   · · · A.· · Only those who are part of the             ·5·   ·the procedural posture of our motion to compel
·6·   ·contract, to execute the contract.                    ·6·   ·request, I'll allow it.
·7·   · · · Q.· · But there were entities other than         ·7·   · · · · · · I'm sorry, continue with your answer.
·8·   ·Eastern Profit and Strategic Vision that receive      ·8·   · · · A.· · Team 2 was a company in Addison, Texas
·9·   ·the materials from the client, which is --            ·9·   ·called ASOG.· I believe it is American Special
10·   · · · A.· · The research orders, yes.                  10·   ·Operations Group, or words to that effect, based
11·   · · · Q.· · So those were other entities.· They're     11·   ·in Addison, Texas.· That was team 2.
12·   ·not part of Strategic Vision?                         12·   · · · Q.· · Sitting here today, you refuse to tell
13·   · · · A.· · They're part of the Strategic Vision       13·   ·me who's on team 1?
14·   ·team, so they would be included.                      14·   · · · A.· · I decline to tell you.
15·   · · · Q.· · They're not actually the same entity as    15·   · · · · · · MR. SCHMIDT:· Objection.· Just be
16·   ·Strategic Vision, legally speaking, right?            16·   · · · clear, with respect to team 1, do you
17·   · · · · · · MR. SCHMIDT:· Objection.                   17·   · · · actually know the members or do you just
18·   · · · Q.· · If you know?                               18·   · · · know the intermediary?
19·   · · · A.· · They're part of the same team.             19·   · · · A.· · I only know the team leader.
20·   · · · Q.· · So in your mind, "team" is what the        20·   · · · · · · MR. SCHMIDT:· That's all what I wanted
21·   ·contractor is defined by in this agreement?           21·   · · · to clarify for the record in case we do a
22·   · · · A.· · Yes.                                       22·   · · · motion to compel later.
23·   · · · Q.· · So it says "Strategic Vision" up top       23·   · · · Q.· · You know the leader of who team 1 is?
24·   ·here as the contractor, correct?                      24·   · · · A.· · Yes.
25·   · · · A.· · Yes.· I cannot speak for the signed        25·   · · · Q.· · But sitting here today, you refuse to


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 213 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 78                                                      Page 80
·1·   ·tell me that?                                         ·1·   · · · A.· · It's all based on trusting the team.
·2·   · · · A.· · Yes.                                       ·2·   · · · Q.· · So you know that team 1 only provides
·3·   · · · Q.· · Why is it that you can't tell me who       ·3·   ·genuine information?
·4·   ·the leader of team 1 is?                              ·4·   · · · A.· · They provide -- I know from the team 1
·5·   · · · A.· · Because the leader of team 1 lives in a    ·5·   ·leader that all the information they dug up was
·6·   ·very high-risk area where there are a lot of very     ·6·   ·legitimate information that they did not
·7·   ·bad actors who can cause physical harm, including     ·7·   ·manufacture or fabricate.· It was just raw data.
·8·   ·the worst kinds of violence you can imagine.          ·8·   ·As to the accuracy of the information they found,
·9·   · · · Q.· · Did you promise the leader of team 1       ·9·   ·that's different.
10·   ·not to disclose his identity?                         10·   · · · · · · What we mean here by "genuine" is that
11·   · · · A.· · Yes.                                       11·   ·we did not create false or misleading
12·   · · · Q.· · Is that a promise that was made in         12·   ·information.· In fact, we found that we had
13·   ·writing or orally?· How was it made?                  13·   ·informed the client of some false information
14·   · · · A.· · We do everything by handshake as much      14·   ·that we discovered.
15·   ·as we can.· So that was literally a handshake         15·   · · · Q.· · Just going back to your answer there.
16·   ·agreement.                                            16·   ·So you have a discussion or dialogue with the
17·   · · · Q.· · That was an agreement between you and      17·   ·leader of team 1 about the genuineness or quality
18·   ·the leader of team 1?                                 18·   ·of the information that team 1 has found?
19·   · · · A.· · Yes.                                       19·   · · · A.· · Yes.
20·   · · · Q.· · Does Strategic Vision know the name of     20·   · · · Q.· · How was that conversation conducted?
21·   ·the leader of team 1?                                 21·   ·Was it in person?
22·   · · · · · · MR. SCHMIDT:· Objection.                   22·   · · · A.· · Yes.
23·   · · · A.· · You would have to ask Strategic Vision.    23·   · · · Q.· · Ever over the phone?
24·   · · · Q.· · So you never talked to --                  24·   · · · A.· · Never.
25·   · · · A.· · I can't pretend to speak for Strategic     25·   · · · Q.· · What about via secure text message

                                                   Page 79                                                      Page 81
·1·   ·Vision.· I'm not going to be put in that box.         ·1·   ·service like Signal?
·2·   · · · Q.· · I understand.· What I'm asking you,        ·2·   · · · A.· · We don't believe in secure text
·3·   ·though, is did you and Ms. Wallop ever talk about     ·3·   ·messages, so the answer is no.
·4·   ·who the leader of team 1 was?                         ·4·   · · · Q.· · Fair enough.
·5·   · · · · · · MR. SCHMIDT:· You can answer whether       ·5·   · · · · · · So in your mind, Signal is not a secure
·6·   · · · you had the conversation.                        ·6·   ·means of communication?
·7·   · · · A.· · Yes.                                       ·7·   · · · A.· · I have no way of knowing, but we don't,
·8·   · · · Q.· · So she knows the name of the leader of     ·8·   ·we don't -- we have our own methods of
·9·   ·team 1?                                               ·9·   ·communicating, but anything in detail is only
10·   · · · A.· · Yes.                                       10·   ·done in person.
11·   · · · Q.· · Okay.· Let's go to Eastern 7.· It's the    11·   · · · Q.· · Do you think a Signal message is more
12·   ·third page of Waller 2.· In the criteria section,     12·   ·secure than other forms of electronic
13·   ·do you see where it says, "The contractor             13·   ·communication like just email?
14·   ·guarantees that all information provided is           14·   · · · · · · MR. SCHMIDT:· Objection.
15·   ·genuine"?                                             15·   · · · A.· · Yes, absolutely.
16·   · · · A.· · Yes.                                       16·   · · · Q.· · Because you never emailed with Mr. Guo
17·   · · · Q.· · What does that mean?                       17·   ·or Lianchao or Yvette Wang concerning this
18·   · · · A.· · It means that we're not going to make      18·   ·matter, have you?
19·   ·up fake information in order to try to impress or     19·   · · · A.· · No, it was only by end-to-end
20·   ·satisfy the client.· That everything we find is       20·   ·encryption that doesn't reside on a server.
21·   ·legitimately -- legitimate facts that were            21·   · · · Q.· · Signal does that, is that right?· That
22·   ·legitimately researched.                              22·   ·application?
23·   · · · Q.· · How do you know if the research is         23·   · · · A.· · Yeah.
24·   ·genuine if you're not the one doing it?               24·   · · · Q.· · How do you know the deliverables are
25·   · · · · · · MR. SCHMIDT:· Objection.                   25·   ·provided with the best practice and standards of


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 214 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 82                                                      Page 84
·1·   ·the industry?                                         ·1·   ·supervising?
·2·   · · · A.· · I know.                                    ·2·   · · · Q.· · In any event, including in this
·3·   · · · Q.· · The contractor is saying that it will      ·3·   ·engagement.· I know you don't know, right?
·4·   ·provide the deliverables based on the best            ·4·   · · · A.· · Right.
·5·   ·practices and standards in the industry, right?       ·5·   · · · Q.· · What about in other engagements?
·6·   · · · A.· · That's right, yes.                         ·6·   · · · · · · MR. SCHMIDT:· Objection.· That's kind
·7·   · · · Q.· · How would Strategic Vision know that?      ·7·   · · · of impossible to answer.
·8·   · · · A.· · The first best standard is the security    ·8·   · · · A.· · On some things you can never know
·9·   ·part.· We exceed those best standards.· The           ·9·   ·everybody on the team.· It's not possible, if
10·   ·second part is the actual computer research,          10·   ·something is outsourced or whatever.· Yeah, there
11·   ·which we know from the methods that they're           11·   ·have been other times where I have -- this whole
12·   ·using, which are state-of-the-art methods.            12·   ·profession involves an unusually high degree of
13·   · · · Q.· · Without divulging who you were working     13·   ·trust that no -- it has to be personal trust, and
14·   ·for or when it was, have you ever done the actual     14·   ·you learn that by trial and error over a number
15·   ·research that team 1 was dispatched to do in this     15·   ·of years.
16·   ·case?                                                 16·   · · · · · · So you then learn to trust people who
17·   · · · A.· · Not using the same methods.                17·   ·do the work for you and produce that work.
18·   · · · Q.· · Similar methods?                           18·   ·Sometimes I have been part of the actual teams,
19·   · · · A.· · It takes a certain skill set that I        19·   ·but for the sake of protecting the client's
20·   ·don't have, but I have been present and               20·   ·identity and the existence of the work, we had
21·   ·supervising in person when it was done in other       21·   ·worked through cutouts, and that's been similar
22·   ·cases.                                                22·   ·with other projects.
23·   · · · Q.· · What skill set is that?                    23·   · · · Q.· · Let's go to translation issue on
24·   · · · A.· · Deep dive research.                        24·   ·Eastern 6.· Starting on the bottom of the page,
25·   · · · Q.· · Go ahead.                                  25·   ·it says, "When the contractor encounters

                                                   Page 83                                                      Page 85
·1·   · · · A.· · Just like in a law firm where you have     ·1·   ·information requiring translation, the contractor
·2·   ·the attorney and you have a paralegal.· It            ·2·   ·will provide electronic copies of the material to
·3·   ·doesn't mean the paralegal is incompetent.· It's      ·3·   ·the client for the client to evaluate and
·4·   ·just the person is not an attorney.· Or you have      ·4·   ·translate."· Do you see that?
·5·   ·the partner who might not have passed the bar but     ·5·   · · · A.· · Yes.
·6·   ·owns the firm and can run the firm or manage the      ·6·   · · · Q.· · How would that work?· I take it that
·7·   ·firm, right.                                          ·7·   ·you don't speak Mandarin?
·8·   · · · · · · So you have people with different skill    ·8·   · · · A.· · No.
·9·   ·sets, but they all know each other and they all       ·9·   · · · Q.· · Does Ms. Wallop speak Mandarin?
10·   ·work together, or they all at least trust each        10·   · · · A.· · She understands some.
11·   ·other.· And so you have certain of them delegate      11·   · · · Q.· · Can she read it?
12·   ·the work to others to do.                             12·   · · · A.· · I don't know.
13·   · · · Q.· · How long have you known the leader of      13·   · · · Q.· · How did this agreement contemplate the
14·   ·team 1?                                               14·   ·use of translators?
15·   · · · A.· · For about four or five years.              15·   · · · A.· · We had said from the beginning that
16·   · · · Q.· · And you've done other work with that       16·   ·we're going to need to have linguists doing the
17·   ·individual concerning investigatory research?         17·   ·original research.
18·   · · · A.· · Yes.                                       18·   · · · Q.· · The members of team 1?
19·   · · · Q.· · Did you run into any issues with the       19·   · · · A.· · Yes.· And Guo said he didn't want that.
20·   ·quality of that work?                                 20·   ·He would take care of all of the translations.
21·   · · · A.· · Never.                                     21·   ·We then raised the issue well, these people are
22·   · · · Q.· · Have you ever known the members of any     22·   ·going to dig up raw material in a language they
23·   ·of the teams that are led by the leader of            23·   ·don't speak.
24·   ·team 1?                                               24·   · · · Q.· · Right.
25·   · · · A.· · The individuals that he was                25·   · · · A.· · How are they going to evaluate what


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 215 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 86                                                      Page 88
·1·   ·they have?· He says, "Just dig up the information     ·1·   · · · A.· · Yeah, the Chinese could intercept it.
·2·   ·and send it to me and let me evaluate it."· So we     ·2·   · · · Q.· · Paper?
·3·   ·ended up saying we really need to have people who     ·3·   · · · A.· · No, paper is just too cumbersome.· And
·4·   ·get the language.· This was, I believe, through       ·4·   ·you've got the digital forensics within the USB
·5·   ·Lianchao, who agreed.· So we retained two fluent,     ·5·   ·drive so he could gauge what was in there.· But
·6·   ·say, diplomatic-quality Mandarin language             ·6·   ·you don't want printouts of computer code.· You
·7·   ·linguists who were not Chinese nationals to be        ·7·   ·want to be able to exploit that code.· You can't
·8·   ·part of that team.                                    ·8·   ·do that on paper.
·9·   · · · Q.· · What was the concern about them being      ·9·   · · · Q.· · So some of the raw data just in terms
10·   ·Chinese nationals?                                    10·   ·of feasibility and practicality had to be
11·   · · · A.· · In case they were agents of the            11·   ·electronic?
12·   ·Communist party.· And Guo was pleased with that.      12·   · · · A.· · Yes.
13·   · · · Q.· · So who were the two individuals that       13·   · · · Q.· · In terms of transmitting it?
14·   ·you retained to do this translation work?             14·   · · · A.· · Yes, and in delivering it to him.· He
15·   · · · A.· · They were part of team 1.· I don't know    15·   ·simply specified no paper and nothing
16·   ·their identities.                                     16·   ·electronically transmitted, so that was fair.
17·   · · · Q.· · So team 1 did have Mandarin-speaking       17·   ·That was fine.
18·   ·and Mandarin-reading members?                         18·   · · · Q.· · I want to talk about this irregular
19·   · · · A.· · Yes.· We added them on when we realized    19·   ·circumstances clause.· Do you see that on page
20·   ·we were going to need them.· And I believe            20·   ·Eastern 7?
21·   ·Lianchao said, "Yeah, go ahead and get them, as       21·   · · · A.· · Yes.
22·   ·long as they're not Chinese nationals, or don't       22·   · · · Q.· · Was this concept of irregular
23·   ·live in China."                                       23·   ·circumstances discussed prior to the execution of
24·   · · · Q.· · So were you involved in the vetting        24·   ·the agreement?
25·   ·process for those individuals, or no?                 25·   · · · A.· · Yes.

                                                   Page 87                                                      Page 89
·1·   · · · A.· · No.                                        ·1·   · · · Q.· · Who came up with that clause or
·2·   · · · Q.· · So did you understand that you weren't     ·2·   ·insisted upon it?
·3·   ·really going to be able to read a lot of the data     ·3·   · · · A.· · I drafted this section of it.
·4·   ·that was part of this research?                       ·4·   · · · Q.· · You personally?
·5·   · · · A.· · That was explicit.· A lot of it is just    ·5·   · · · A.· · Yes.
·6·   ·code.                                                 ·6·   · · · Q.· · What were you trying to convey when you
·7·   · · · · · · MR. GRENDI:· Do we have an issue?          ·7·   ·drafted this section?
·8·   · · · · · · THE VIDEOGRAPHER:· Move the mic up.        ·8·   · · · A.· · That there is no even flow of data.
·9·   · · · · · · MR. GRENDI:· That's fine.· Just let us     ·9·   ·That we're going to face challenges as in any
10·   · · · know.                                            10·   ·research project.· Like any legal case, you can't
11·   · · · · · · THE WITNESS:· How is it now?· Is this      11·   ·state your case on the first month.· You have to
12·   · · · good?                                            12·   ·build the case over a period of time.· And
13·   · · · · · · THE VIDEOGRAPHER:· It's just when your     13·   ·sometimes you're going to run into dead ends.
14·   · · · hands are there.· I want you to be               14·   ·Sometimes you find false information.· Sometimes
15·   · · · comfortable.                                     15·   ·you'll be spoofed by the other side.
16·   · · · · · · THE WITNESS:· I'm in the hot seat.         16·   · · · · · · There are risks of detection, the
17·   · · · Q.· · Why was it that only USB drives would      17·   ·countermeasures the other side takes.· There are
18·   ·be used for deliverables?                             18·   ·legal issues.· There are logistical issues given
19·   · · · A.· · Guo specified that.· He was insistent      19·   ·the cumbersome physical nature of delivery of the
20·   ·on it.                                                20·   ·information by USB drive.· So we're just putting
21·   · · · Q.· · Was there any pushback or discussion of    21·   ·this here that we both understand that it's not
22·   ·using USB drives for transmitting information?        22·   ·all going to be a smooth delivery.
23·   · · · A.· · No, it made sense.· He didn't want         23·   · · · Q.· · So does irregular circumstance in your
24·   ·anything distributed electronically or on paper.      24·   ·mind encompass items, only items that are out of
25·   · · · Q.· · Did he explain why?                        25·   ·the control of the contractor or researching


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 216 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 90                                                      Page 92
·1·   ·party?                                                ·1·   · · · Q.· · What if irregular circumstances just
·2·   · · · · · · MR. SCHMIDT:· Objection.                   ·2·   ·totally prevented Strategic Vision from providing
·3·   · · · Q.· · Let me ask that again.· That's fair        ·3·   ·any research reports?· Would the client still
·4·   ·enough.                                               ·4·   ·have to pay?
·5·   · · · · · · If Strategic Vision makes a mistake or     ·5·   · · · A.· · That's a hypothetical.· There's a
·6·   ·fails to do its job for any reason, would that be     ·6·   ·30-day clause to end the contract.
·7·   ·part of irregular circumstances?                      ·7·   · · · Q.· · It's a hypothetical, and I'm asking you
·8·   · · · A.· · What do you mean by "failed to do its      ·8·   ·to please answer the question.
·9·   ·job"?                                                 ·9·   · · · · · · What if irregular circumstances just
10·   · · · Q.· · Let me try it this way.                    10·   ·completely prevented Strategic Vision from
11·   · · · A.· · If you get in an accident on the way to    11·   ·delivering any work?
12·   ·work, are you failing to go to work?                  12·   · · · A.· · We go to the client and say it's not
13·   · · · · · · MR. SCHMIDT:· Let him rephrase it.· You    13·   ·possible to do.
14·   · · · said you don't understand it.· That's all        14·   · · · Q.· · And so they wouldn't -- the contract
15·   · · · you have to do.                                  15·   ·would be over at that point?
16·   · · · Q.· · That's fine.                               16·   · · · A.· · We would say, hopefully, we can't do it
17·   · · · · · · Does irregular circumstances only          17·   ·this way.· Do you want to change the parameters?
18·   ·include, let's just say, outside problems that        18·   ·Remember, there were 4,000 names he had, he
19·   ·Strategic Vision would encounter?                     19·   ·wanted.· So we can't do it on these 15.· Let's
20·   · · · · · · MR. SCHMIDT:· Objection.· But go ahead     20·   ·try another group of 15 or it can't be done.
21·   · · · to the extent you can.                           21·   · · · · · · And we had suggested on one way to do
22·   · · · A.· · Would you define "outside problem"?        22·   ·something, and he didn't want do it that way even
23·   · · · Q.· · Let's talk about -- you described it       23·   ·though it made sense to do it that way.· So you
24·   ·earlier, third parties blocking the research or       24·   ·try to find a way to get the job done, but if
25·   ·there being dead ends.· Is that the full scope of     25·   ·ultimately you can't get the job done, then that

                                                   Page 91                                                      Page 93
·1·   ·irregular circumstances that you described            ·1·   ·becomes apparent after a lot of back-and-forth
·2·   ·earlier?                                              ·2·   ·with the client, just like any job.
·3·   · · · A.· · No, but it's indicative of an irregular    ·3·   · · · Q.· · Right, but just to be clear, if
·4·   ·circumstance.                                         ·4·   ·irregular circumstances prevent the contractor
·5·   · · · Q.· · If irregular circumstances occur, does     ·5·   ·from delivering any reports, then does the client
·6·   ·the client still have to pay as though it's           ·6·   ·have to pay anything?
·7·   ·getting full research?                                ·7·   · · · A.· · If you don't do the work, why should
·8·   · · · A.· · Yes.· It's right there in the contract.    ·8·   ·the client pay if you don't do the work, right?
·9·   · · · Q.· · Where does it say that under irregular     ·9·   · · · Q.· · Right.
10·   ·circumstances, the client still has to pay the        10·   · · · A.· · But if you do do the work, then the
11·   ·full price?                                           11·   ·client pays, but there are going to be irregular
12·   · · · A.· · It's right there in the price.· For        12·   ·circumstances where the product is not going to
13·   ·$750,000 a month, we're going to be doing the         13·   ·be what you want at a certain time, so we have to
14·   ·following work, understanding that there will be      14·   ·get around that.· Or in the case of starting up,
15·   ·irregular circumstances that may prevent certain      15·   ·it was explicitly understood from the start that
16·   ·of the work from being done at that point in          16·   ·you're not going to get huge amounts of data
17·   ·time.· This type of work is impossible to predict     17·   ·immediately.· You've gotta get the team to
18·   ·when you're going after people who hide their         18·   ·understand the data first, and you gotta build
19·   ·assets, who hide their activity, who operate          19·   ·the channels for the data.
20·   ·under false names, who have -- who use rigorous       20·   · · · Q.· · So long as Strategic Vision tries to
21·   ·security methods.· Or if there's a legal problem      21·   ·get the data, if irregular circumstances prevent
22·   ·and we discover hey, it's illegal to do this          22·   ·them from delivering any reports, that's good
23·   ·thing that you want us to do, then that's going       23·   ·enough.· They should still get paid?
24·   ·to be a delay.· We have to figure out the right       24·   · · · A.· · Well, no.· Let me give you an example.
25·   ·way to do it.                                         25·   ·There was around February -- between January 26th


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 217 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 94                                                      Page 96
·1·   ·and February 1st when the client was upset at the     ·1·   · · · · · · And when we find that the -- as our
·2·   ·way -- things weren't moving fast enough for him.     ·2·   ·team 1 discovered and as Lianchao Han confirmed,
·3·   ·We were directed -- Yvette directed us in writing     ·3·   ·at least two and as possibly as many as four of
·4·   ·to find another way of doing it.                      ·4·   ·the 15 were not real people.
·5·   · · · · · · So she was saying proceed with your        ·5·   · · · Q.· · You're talking about the fish?
·6·   ·work.· Just find another way to do it.· That's        ·6·   · · · A.· · Yes.
·7·   ·when we brought in team 2.                            ·7·   · · · Q.· · But the contract does say that the
·8·   · · · Q.· · Okay.                                      ·8·   ·comprehensive historical reports are 300,000 per
·9·   · · · A.· · So that was an irregular circumstance.     ·9·   ·report?
10·   ·Really it wasn't a delay on our part because we       10·   · · · · · · MR. SCHMIDT:· Objection.
11·   ·were consistent with any research standard.· We       11·   · · · · · · MR. GRENDI:· It says it on that page,
12·   ·were doing it as rapidly as humanly and               12·   · · · Eastern 8.
13·   ·mathematically possible.· It's just the client        13·   · · · A.· · Per year.
14·   ·objected because he thought it was a long delay.      14·   · · · Q.· · Yeah.· And the tracking reports are --
15·   · · · · · · If you recall in this, we prorated         15·   · · · A.· · Look before that, please.· "The flat
16·   ·things so that the first two weeks were not at        16·   ·price structure is as follows."· So whether it's
17·   ·his expense.· He agreed.· So we had only been in      17·   ·a small report or a large report, it's a flat
18·   ·the contract effectively ten days, and he's           18·   ·rate structure.· And that is an annual number,
19·   ·already objecting that we're not producing            19·   ·not a weekly or monthly number.
20·   ·monthly reports and everything else.                  20·   · · · Q.· · So in your mind, the report -- strike
21·   · · · Q.· · We'll get to that.                         21·   ·that.
22·   · · · · · · MR. SCHMIDT:· Let him finish.              22·   · · · · · · In your mind, the reports are not
23·   · · · Q.· · Go ahead.                                  23·   ·broken down on a per-report basis cost?
24·   · · · A.· · Because in order to satisfy him and        24·   · · · A.· · Correct.
25·   ·what he wanted, we offered to go ahead with a         25·   · · · Q.· · So there's no charge in this agreement

                                                   Page 95                                                      Page 97
·1·   ·different team using different methodologies in       ·1·   ·for what a weekly report is?
·2·   ·parallel with team 1, and that's when Yvette          ·2·   · · · A.· · That's the whole problem or the whole
·3·   ·instructed us on or about February 1st in a           ·3·   ·issue with calling them "fish" and "keeping
·4·   ·Signal text to go ahead and use the -- start up       ·4·   ·things up at a water tank level."· That was his
·5·   ·the other method.                                     ·5·   ·metaphor for explaining what he wanted at a
·6·   · · · · · · So we were still doing the work, and we    ·6·   ·certain level.· We went ahead with that as long
·7·   ·were still finding a way to give him the              ·7·   ·as you keep it up at that metaphorical waterline.
·8·   ·deliverables even though going with team 2 was        ·8·   ·The actual details of the report are going to
·9·   ·beyond what we had promised.· So we were doing        ·9·   ·vary.· That's explicit in here in this contract.
10·   ·extra work for him at this time.                      10·   · · · · · · We refer to the paragraph right above
11·   · · · Q.· · In this contract is Strategic Vision       11·   ·flat price structure.· We refer to each of these
12·   ·compensated on a per-report basis?                    12·   ·as "We will measure each of the 30 reports as,
13·   · · · · · · MR. SCHMIDT:· Objection.· Go ahead.        13·   ·quote, 'report equivalents' in the event that it
14·   · · · A.· · It's a flat rate basis.· It says "Up to    14·   ·is necessary to stop work prematurely on one fish
15·   ·15."· It doesn't say 15.· It says "Up to 15."         15·   ·and replace it with a second fish.· We will then
16·   · · · Q.· · Where are you looking, just so I know?     16·   ·have the partial report on the terminated fish,"
17·   · · · A.· · The top of page 8.· "The first month,      17·   ·etc.
18·   ·January, of this contract will include up to 15       18·   · · · · · · So it's explicitly understood in this
19·   ·fish for a total of 30 reports and will decrease      19·   ·contract that you're gonna be stop and go and
20·   ·to ten fish, etc.," for February, for March and       20·   ·things are going to be incomplete, and then you
21·   ·for the duration of the contract.· So this was        21·   ·go on to the next one, but we'll still have that
22·   ·explicit.· It's not all going to be complete on       22·   ·same universe of individuals to be collecting
23·   ·the first month.· Even digging into certain of        23·   ·data on.
24·   ·the names, we're just not going to have it in the     24·   · · · Q.· · Just without identifying what you said
25·   ·first month.                                          25·   ·or who you said it to, did you consult a lawyer


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 218 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                   Page 98                                                     Page 100
·1·   ·in connection with drafting this agreement?           ·1·   · · · A.· · We never heard of Eastern Profit until
·2·   · · · A.· · The question answers itself.· No.          ·2·   ·the day Yvette said it's gonna be Eastern Profit.
·3·   · · · Q.· · Why does it answer itself?                 ·3·   · · · Q.· · So that was January 6th?
·4·   · · · A.· · It's not legalistic at all.· It's our      ·4·   · · · A.· · No, that was late December.
·5·   ·own wording.· It's more of like an MOU between        ·5·   · · · Q.· · What did you say in response to Yvette
·6·   ·parties that was executed as a contract.· This is     ·6·   ·telling you that Eastern Profit was going to be
·7·   ·the way we all understand this was going to work.     ·7·   ·the counterparty to this research agreement?
·8·   ·But it was signed as a contract.                      ·8·   · · · A.· · I was not there for the signing.
·9·   · · · Q.· · What does "MOU" stand for?                 ·9·   · · · Q.· · But this was not the signing?
10·   · · · A.· · Memorandum of understanding or             10·   · · · A.· · I had not heard of Eastern Profit.
11·   ·statement of work, or whatever other word you         11·   ·There were several days in late December when it
12·   ·want to use.                                          12·   ·was just Yvette and Ms. Wallop talking.
13·   · · · Q.· · Just going to Eastern 9, the last page     13·   · · · Q.· · I see.· So you talked to Ms. Wallop
14·   ·of this document.· Do you see where it says, "It      14·   ·about how Eastern Profit got on the agreement?
15·   ·is understood that the client may direct other        15·   · · · A.· · Yes.
16·   ·entities to pay the contractor and that such          16·   · · · Q.· · But you don't know why yourself?
17·   ·payments" --                                          17·   · · · A.· · No.· I would presume it's for the
18·   · · · · · · (Court reporter interruption.)             18·   ·reasons stated in the subsequent payments
19·   · · · Q.· · -- "will be deemed satisfactory            19·   ·portion, but I don't know that.· Because Eastern
20·   ·compensation by the contractor."                      20·   ·Profit never paid us anything, and we never
21·   · · · · · · Do you see that?                           21·   ·received any money from any Guo entity after
22·   · · · A.· · Yes.                                       22·   ·execution of the contract.
23·   · · · Q.· · Why is this clause in the agreement?       23·   · · · Q.· · It says here that "All client payments
24·   · · · A.· · To be set up to conceal from the           24·   ·must be received by the contractor by wire
25·   ·Chinese authorities that Guo was funding this         25·   ·transfer within five business days of invoice."

                                                   Page 99                                                     Page 101
·1·   ·research.· So it was explicit that nothing from       ·1·   · · · A.· · Right.
·2·   ·any of his Hong Kong accounts straight to his         ·2·   · · · Q.· · Do you know if Strategic Vision ever
·3·   ·Strategic Vision account, but rather through a        ·3·   ·sent any invoices to Eastern Profit?
·4·   ·circuitous route of various places in various         ·4·   · · · A.· · It was a verbal invoice.· There were
·5·   ·countries and various cutouts to conceal these        ·5·   ·not to be written invoices.
·6·   ·transfers from the Chinese intelligence service.      ·6·   · · · Q.· · Have you done verbal invoicing before?
·7·   · · · Q.· · So it was understood that the client       ·7·   · · · A.· · Yes.
·8·   ·would not directly pay the contractor because of      ·8·   · · · Q.· · It's a new one for me.· Can you just
·9·   ·these security concerns?                              ·9·   ·describe how that works?
10·   · · · A.· · Right.· Well, the client would -- if       10·   · · · A.· · If you want to keep something
11·   ·you think of it as a collaborative versus a legal     11·   ·untraceable, you don't leave a paper trail.· If
12·   ·means, the client authorizes the payment to be        12·   ·you don't leave a paper trail, you don't submit
13·   ·paid, or it instructs that the payment be paid,       13·   ·invoices for those purposes, especially if the
14·   ·and then it's done through a circuitous route.        14·   ·purpose is to protect the client's identity from
15·   ·So we understand that the funds have come on          15·   ·one of the most notorious spy agencies in the
16·   ·Guo's instruction.· And then we let him know that     16·   ·world who is out to get your client.· So you just
17·   ·the funds have been received.· There were no          17·   ·say, "Okay, it's the end of the pay date," and
18·   ·funds that were sent to Strategic Vision after        18·   ·then they will send the next one.
19·   ·the execution of this contract.                       19·   · · · · · · You're kind of smirking at that.
20·   · · · Q.· · Let me ask you this.· Do you know why      20·   · · · Q.· · No, it's a new thing for me.
21·   ·Eastern Profit is the client?                         21·   · · · A.· · It's normal in our area of work.
22·   · · · A.· · No, we don't know why it's the client.     22·   · · · Q.· · That's fine.
23·   · · · Q.· · Well, how did it get into the contract?    23·   · · · A.· · As long as we comply with the IRS and
24·   · · · A.· · How did what get in?                       24·   ·report our income, then that's fine.· We've done
25·   · · · Q.· · Eastern Profit.                            25·   ·work in other ways to protect our clients and


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 219 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                  Page 102                                                     Page 104
·1·   ·it's not in writing.                                  ·1·   ·we were talking to Guo as far as we were
·2·   · · · Q.· · Sure.· Do you know if a verbal invoice     ·2·   ·concerned.
·3·   ·was issued in this case?                              ·3·   · · · Q.· · Do you know if Lianchao works for
·4·   · · · A.· · Yes.                                       ·4·   ·Eastern Profit?
·5·   · · · Q.· · When was that?                             ·5·   · · · A.· · No.
·6·   · · · A.· · On or about February 16th.                 ·6·   · · · Q.· · Do you know one way or another whether
·7·   · · · Q.· · That would have been the first?            ·7·   ·he does or does not or you just don't know?
·8·   · · · A.· · 15th or 16th.· Yes.· It was supposed to    ·8·   · · · A.· · He told me Guo has offered to pay him
·9·   ·be on or about January 31st, but we had agreed on     ·9·   ·many times, and he was only doing it as a
10·   ·the 26th.· I had offered, with Ms. Wallop's           10·   ·volunteer because he had larger interests in
11·   ·concurrence, to write off the first two weeks of      11·   ·promoting the Chinese democracy movement.
12·   ·work to satisfy Guo, because he was so agitated.      12·   · · · Q.· · Because of his own political feelings
13·   ·We wanted to keep the contract with him.· So we       13·   ·and history?
14·   ·would not have invoiced until -- we normally          14·   · · · A.· · Yeah.· He said Guo was very mercurial,
15·   ·would have on January 31st, but we did not until      15·   ·doesn't keep his word and rips off his law firms
16·   ·roughly February 15th.                                16·   ·and clients and customers and fellow investors,
17·   · · · · · · And that was to Lianchao Han because by    17·   ·and so we should be -- we should be sure to have
18·   ·that time, Yvette had instructed us not to            18·   ·our money in hand before we continue to work.
19·   ·communicate with her anymore, or that Guo had         19·   · · · Q.· · When did he tell you that?
20·   ·said not to communicate with her anymore.             20·   · · · A.· · In December and in January and in
21·   · · · Q.· · Was it you or Ms. Wallop who, I guess,     21·   ·February.
22·   ·called Lianchao to verbally invoice?                  22·   · · · Q.· · Was that an in-person meeting?
23·   · · · A.· · We would only speak in person.             23·   · · · A.· · In person.· And the public record shows
24·   · · · Q.· · So were you there when the verbal          24·   ·that Guo rips off a lot of people.
25·   ·invoice was issued?                                   25·   · · · Q.· · That is your perception of it?

                                                  Page 103                                                     Page 105
·1·   · · · A.· · Yeah.· It was more like -- verbal          ·1·   · · · A.· · No, that's the news reports of it.
·2·   ·invoice, in quotes, is, "Hey, Lianchao, it's time     ·2·   · · · Q.· · How did that come up?· Did Lianchao
·3·   ·to pay the first month's 750,000."                    ·3·   ·raise that issue or did you ask him about that?
·4·   · · · Q.· · Now, did he say anything in response to    ·4·   · · · A.· · I don't remember.
·5·   ·that?                                                 ·5·   · · · · · · MR. GRENDI:· Why don't we go off the
·6·   · · · A.· · He said "Guo's really upset right now.     ·6·   · · · record.
·7·   ·Let me work with him on it."· But there was never     ·7·   · · · · · · THE VIDEOGRAPHER:· Off the record at
·8·   ·any indication of termination.                        ·8·   · · · 12:14.
·9·   · · · Q.· · Were any other verbal invoices issued?     ·9·   · · · · · · (Whereupon, a short recess was taken.)
10·   · · · A.· · Well, no, because a week later we got      10·   · · · · · · THE VIDEOGRAPHER:· Back on the record
11·   ·served.                                               11·   · · · at 12:20.
12·   · · · Q.· · So the answer is no?                       12·   · · · · · · MR. GRENDI:· This is Waller 3.
13·   · · · A.· · No, because a week later we got served.    13·   · · · · · · (Waller Exhibit 3, Handwritten document
14·   · · · Q.· · You're saying if you hadn't been           14·   · · · Bates stamped Eastern 11, marked for
15·   ·served, you would have issued the invoice for the     15·   · · · identification.)
16·   ·next month?                                           16·   · · · Q.· · Mr. Waller, do you recognize this
17·   · · · A.· · We would have still been working with      17·   ·document?
18·   ·Lianchao had we been paid.· This is to have been      18·   · · · A.· · No.
19·   ·paid within five days; that would have been           19·   · · · Q.· · You've never seen it before?
20·   ·February 20th.· We would have stopped work by         20·   · · · A.· · No.
21·   ·then because we did not get paid.· But we did not     21·   · · · Q.· · Do you recognize the handwriting on the
22·   ·stop work because Lianchao said he was trying to      22·   ·document?
23·   ·work it out.                                          23·   · · · A.· · It appears to be French Wallop's
24·   · · · Q.· · I see.                                     24·   ·handwriting.
25·   · · · A.· · He's speaking as the agent of Guo, so      25·   · · · Q.· · Do you know her handwriting pretty good


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                                                                                  Pages 102..105                          YVer1f
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 220 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                  Page 106                                                     Page 108
·1·   ·or well?                                              ·1·   ·not an entirely accurate spelling for the next
·2·   · · · A.· · Enough to tell that it appears to be       ·2·   ·one.· I believe it's K-o-d-o-r-k-h-o-v-s-k-y.· It
·3·   ·hers.                                                 ·3·   ·might be K-h in the beginning, but I think it's
·4·   · · · Q.· · Do you recognize any of these names?       ·4·   ·K.· It's K, yeah.
·5·   · · · A.· · They're mostly Arabic names.               ·5·   · · · Q.· · It's for the ease of my own butchering
·6·   · · · Q.· · Do you know if any of the individuals      ·6·   ·of the Russian language, who is that individual?
·7·   ·on this list of names are clients of                  ·7·   ·I'll call him Mr. K?
·8·   ·Strategic Vision?                                     ·8·   · · · A.· · He is a Russian dissident.· He's exiled
·9·   · · · A.· · No, I don't know.                          ·9·   ·in London.
10·   · · · Q.· · So you've never provided services for      10·   · · · Q.· · You and Strategic Vision have provided
11·   ·any of the individuals listed on this document?       11·   ·investigatory services for that individual?
12·   · · · · · · MR. SCHMIDT:· Him being personally?        12·   · · · A.· · Messaging services.
13·   · · · · · · MR. GRENDI:· Yes.                          13·   · · · Q.· · Message services?
14·   · · · A.· · No.                                        14·   · · · A.· · Yes.
15·   · · · Q.· · Okay.· Did you ever talk to Mr. Guo or     15·   · · · Q.· · But not investigation research?
16·   ·Lianchao or Yvette Wang about people who are          16·   · · · A.· · I didn't.· I don't know if Strategic
17·   ·clients of Strategic Vision?                          17·   ·Vision did.
18·   · · · A.· · Present clients or past clients or         18·   · · · Q.· · Okay.· You said before there was
19·   ·prospective clients?                                  19·   ·another client that was described to Lianchao,
20·   · · · Q.· · Either.                                    20·   ·Mr. Guo or Yvette Wang.
21·   · · · A.· · No.· Okay.· Repeat the question, then.     21·   · · · · · · Do you recall that?
22·   · · · Q.· · Sure.· Did you ever talk to Mr. Guo,       22·   · · · A.· · I'm not sure.
23·   ·Lianchao or Yvette Wang about people who are          23·   · · · Q.· · Without divulging the name of that
24·   ·clients of Strategic Vision?                          24·   ·client, what kind of client was it?
25·   · · · A.· · No.                                        25·   · · · A.· · I don't know if it was a client in fact

                                                  Page 107                                                     Page 109
·1·   · · · Q.· · You never told any of those three          ·1·   ·or just somebody that Strategic Vision had worked
·2·   ·people, We've done work for X, Y or Z?                ·2·   ·with before, so I don't know.· I'm not going to
·3·   · · · A.· · Yeah, that's why I asked what you mean     ·3·   ·state as a fact that it was a client, so I don't
·4·   ·by "clients," whether it's present, past, or          ·4·   ·know.
·5·   ·prospective.                                          ·5·   · · · Q.· · So that was before the contract was
·6·   · · · Q.· · Let's go with present or past.             ·6·   ·signed, those discussions?
·7·   · · · A.· · No, I wouldn't know Strategic Vision's     ·7·   · · · A.· · I don't recall.
·8·   ·previous clients.                                     ·8·   · · · Q.· · Did you ever tell Mr. Guo or Lianchao
·9·   · · · Q.· · But you did provide work for -- you        ·9·   ·that you were helping Russian opposition groups?
10·   ·described before two clients of Strategic Vision?     10·   · · · A.· · Yes.
11·   · · · A.· · Yes, but none of them are on this list.    11·   · · · Q.· · When was that?
12·   · · · Q.· · Right, but let me ask you this.· Did       12·   · · · A.· · When was I helping them?
13·   ·you ever tell Mr. Guo, Yvette Wang or Lianchao        13·   · · · Q.· · No.· When did you tell them that you
14·   ·that you provided work for those two --               14·   ·were helping Russian opposition groups?
15·   · · · A.· · Yes.                                       15·   · · · A.· · Certainly before the contract and maybe
16·   · · · Q.· · -- entities.· You did.                     16·   ·after the contract.
17·   · · · · · · And did you describe the names of those    17·   · · · Q.· · What did you tell them about that kind
18·   ·entities to --                                        18·   ·of work that you were doing for Russian
19·   · · · A.· · At least one of them.· I don't recall      19·   ·opposition groups?
20·   ·the exact.                                            20·   · · · A.· · Starting in -- it was -- how much
21·   · · · Q.· · Which name is that?                        21·   ·detail do you want?
22·   · · · A.· · Mikhail Khodorkovsky.                      22·   · · · Q.· · You don't have to go crazy.· Just
23·   · · · Q.· · Why don't we help the court reporter       23·   ·generally.
24·   ·out with that one?                                    24·   · · · A.· · Starting in the late 1980s working with
25·   · · · A.· · M-i-k-h-a-i-l.· Forgive me if this is      25·   ·anti-Soviet internal movements to help Ukraine,


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                                                                                  Pages 106..109                          YVer1f
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 221 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                  Page 110                                                     Page 112
·1·   ·Latvia, Lithuania, and Estonia secede from the        ·1·   · · · A.· · Not while I was there.
·2·   ·USSR.· And then with Russian internal opposition      ·2·   · · · Q.· · Did you ever tout connections to the
·3·   ·groups opposed to the Russian -- the Soviet           ·3·   ·White House prior to the execution of the
·4·   ·Communist Party.· So they were tied --                ·4·   ·contract?
·5·   · · · · · · MR. SCHMIDT:· Slow down.                   ·5·   · · · A.· · What do you mean by "tout"?
·6·   · · · A.· · Tied to Boris Yeltsin from, like,          ·6·   · · · Q.· · Like -- I won't say advertise, but just
·7·   ·roughly '87, '88 up to '93, '94.                      ·7·   ·explain in terms of the quality of your services
·8·   · · · Q.· · What about more recent work with           ·8·   ·or Strategic Vision's services that you're
·9·   ·opposition groups and Putin regime?                   ·9·   ·connected to the White House?
10·   · · · A.· · With Mikhail Khodorkovsky, who is one      10·   · · · A.· · Not so much in the services itself.
11·   ·of the lead opposition people against Putin.          11·   ·It's that I know people in the White House.
12·   · · · Q.· · So you told Mr. Guo about the services     12·   · · · Q.· · And you told Mr. Guo?
13·   ·that you provided to Mikhail Khodorkovsky?            13·   · · · A.· · Yes.
14·   · · · A.· · Not so much the services as opposed to     14·   · · · Q.· · Did you tell them that you worked for
15·   ·ideas, because one of our ideas was to unite          15·   ·the Trump presidential campaign?
16·   ·Chinese internal opposition with Russian              16·   · · · A.· · No, I did not.· I did not work for the
17·   ·opposition and help bring -- this was on the          17·   ·campaign, and I didn't tell them I did.
18·   ·messaging part of the ideas, the brainstorming        18·   · · · Q.· · Did Ms. Wallop?
19·   ·with Guo.· We brainstormed a lot in December and      19·   · · · A.· · Not that I know of.· I would say I
20·   ·had wide-ranging discussions.· So in this case,       20·   ·don't know.
21·   ·it was to work with Russian internal opposition       21·   · · · Q.· · That's fine.
22·   ·groups to bring things in and out of China over       22·   · · · · · · Did you tell Mr. Guo, Ms. Wang or
23·   ·the land border between Russia and China.             23·   ·Lianchao that you worked with the CIA and
24·   · · · Q.· · Did you tell them that you had             24·   ·continue to work with the CIA in the Middle East?
25·   ·connections with the Abu Dhabi princess?              25·   · · · A.· · No.· I had helped the CIA in the past,

                                                  Page 111                                                     Page 113
·1·   · · · A.· · I didn't.                                  ·1·   ·but I never said I still work with them.
·2·   · · · Q.· · Did Ms. Wallop?                            ·2·   · · · Q.· · Do you still work with them?
·3·   · · · A.· · Probably.                                  ·3·   · · · A.· · No.
·4·   · · · Q.· · What about connections in Saudi Arabia?    ·4·   · · · · · · MR. GRENDI:· Let's go to Waller 4.
·5·   ·Did you tout that as one of the resources that        ·5·   · · · · · · (Waller Exhibit 4, Document Bates
·6·   ·you had?                                              ·6·   · · · stamped, marked for identification.)
·7·   · · · A.· · She has Saudi connections.                 ·7·   · · · Q.· · Do you recognize this document?
·8·   · · · Q.· · What about connections in Qatar,           ·8·   · · · · · · I gave you the one with my marks on it.
·9·   ·Turkey, Iran?· Is that all Ms. Wallop?                ·9·   ·Would you mind switching that?
10·   · · · A.· · She has those connections.                 10·   · · · A.· · Sure.· I should take a look at your
11·   · · · Q.· · So your connections are with the           11·   ·marks.
12·   ·Russian opposition groups?                            12·   · · · Q.· · That's okay.· There's nothing that good
13·   · · · A.· · She has connections with them also and     13·   ·there.
14·   ·with Khodorkovsky.                                    14·   · · · A.· · It looks like my LinkedIn page, but I
15·   · · · Q.· · So you both provide services to these      15·   ·don't see an indication that it's on LinkedIn.
16·   ·Russian opposition groups?                            16·   · · · Q.· · Is this your background information?
17·   · · · A.· · Yes.                                       17·   · · · A.· · It appears to be.
18·   · · · Q.· · Did you ever tell Mr. Guo that you had     18·   · · · Q.· · Do you remember giving this information
19·   ·20 or so projects going at a given time, research     19·   ·to Mr. Guo?
20·   ·projects?                                             20·   · · · A.· · No.
21·   · · · A.· · At the same time?                          21·   · · · Q.· · Or Lianchao?
22·   · · · Q.· · Yes.                                       22·   · · · A.· · Maybe Lianchao.
23·   · · · A.· · No.                                        23·   · · · Q.· · That would have been before this
24·   · · · Q.· · Did Ms. Wallop while you were there        24·   ·contract was signed?
25·   ·tell --                                               25·   · · · A.· · Yes.


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 222 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                  Page 114                                                     Page 116
·1·   · · · Q.· · What does Georgetown Research do?          ·1·   · · · Q.· · But you don't do that work anymore
·2·   · · · A.· · It's an LLC that I set up with             ·2·   ·through the American Foreign Policy Council?
·3·   ·French Wallop in the fall of 2017 to do joint         ·3·   · · · A.· · No.
·4·   ·work, and then it became a vehicle for executing      ·4·   · · · Q.· · I guess you're not with that outfit
·5·   ·this contract.                                        ·5·   ·anymore?
·6·   · · · Q.· · So Georgetown Research does                ·6·   · · · A.· · Correct.
·7·   ·investigatory work?                                   ·7·   · · · · · · MR. GRENDI:· Let's do 5.
·8·   · · · A.· · Yes.                                       ·8·   · · · · · · (Waller Exhibit 5, Signal text message
·9·   · · · Q.· · That's in Washington, D.C., right?         ·9·   · · · thread, marked for identification.)
10·   · · · A.· · Yes.                                       10·   · · · Q.· · Mr. Waller, do you recognize this
11·   · · · Q.· · Do you have an office or is that based     11·   ·Signal thread?
12·   ·out of your home?                                     12·   · · · A.· · Let me take a look.· Yes.
13·   · · · A.· · No, it's just an LLC.                      13·   · · · Q.· · Who is this correspondence between?
14·   · · · Q.· · So there's no --                           14·   · · · A.· · Between Lianchao Han and myself.
15·   · · · A.· · No staff, no office, no physical           15·   · · · Q.· · I know you mentioned before, but how
16·   ·address.                                              16·   ·long do you know Lianchao Han?
17·   · · · Q.· · And it's just you?                         17·   · · · A.· · I first met him in the '80s, but I've
18·   · · · A.· · Yes.· Pardon, it's French Wallop and me    18·   ·then lost contact with him.· I've known him for
19·   ·for this LLC.                                         19·   ·over 30 years but haven't worked with him closely
20·   · · · · · · MR. SCHMIDT:· For Georgetown.              20·   ·until this project.
21·   · · · A.· · For Georgetown Research.                   21·   · · · Q.· · How did you get in touch with him in
22·   · · · Q.· · So you're both members of that LLC?        22·   ·connection with this project?
23·   · · · A.· · Yes.                                       23·   · · · A.· · Through French Wallop.
24·   · · · Q.· · Got it.· Just in your bio it says that     24·   · · · Q.· · So French Wallop reintroduced you to
25·   ·you did special projects at Blackwater from 2007      25·   ·Lianchao Han?

                                                  Page 115                                                     Page 117
·1·   ·to 2009?                                              ·1·   · · · A.· · As I, as I understand it from her,
·2·   · · · A.· · Yes.                                       ·2·   ·Bill Gertz was working with Lianchao Han and Guo,
·3·   · · · Q.· · Is that company now known as -- I think    ·3·   ·and then Guo said he wanted to do this project
·4·   ·it's Academi?                                         ·4·   ·that we're discussing now.· Bill Gertz
·5·   · · · A.· · Academi.· A-c-a-d-e-m-i.· I don't know     ·5·   ·contacted -- Bill Gertz is an intelligence and
·6·   ·if it's still by that name or not, but it became      ·6·   ·defense reporter, and I've known him for 35
·7·   ·that name.                                            ·7·   ·years.· So he talked to French about doing it.
·8·   · · · Q.· · Is this the Blackwater that used to be     ·8·   ·She suggested bringing me in, and then through
·9·   ·run by a fellow named Erik Prince?                    ·9·   ·that, I met Lianchao, re-met Lianchao.
10·   · · · · · · THE WITNESS:· Is this relevant?            10·   · · · Q.· · So you weren't part of the -- let's
11·   · · · A.· · Yes.                                       11·   ·call it -- initial introduction of Bill Gertz and
12·   · · · Q.· · You worked at Blackwater with              12·   ·Lianchao Han and Mr. Guo?
13·   ·Erik Prince?                                          13·   · · · A.· · No.
14·   · · · A.· · Yes.                                       14·   · · · Q.· · Does Lianchao Han have a relationship
15·   · · · Q.· · Did you mention that experience with       15·   ·with Strategic Vision?· Let's call it a financial
16·   ·Blackwater prior to the execution of the contract     16·   ·relationship.
17·   ·to Mr. Guo?                                           17·   · · · A.· · No, not that I know of.
18·   · · · A.· · I don't know.· I don't remember.           18·   · · · Q.· · Does he have a financial relationship
19·   · · · Q.· · Just below that it says "Vice President    19·   ·with you or any of your LLCs?
20·   ·and American Foreign Policy Council"?                 20·   · · · A.· · No.
21·   · · · A.· · Yeah.                                      21·   · · · Q.· · So he doesn't get any referral fees for
22·   · · · Q.· · Is this the work you were previously       22·   ·bringing work to you --
23·   ·describing concerning working with Russian            23·   · · · A.· · No.
24·   ·opposition groups?                                    24·   · · · Q.· · -- or Strategic Vision?
25·   · · · A.· · Yes.· It's part of it, yes.                25·   · · · A.· · No.


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       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 223 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                  Page 118                                                     Page 120
·1·   · · · Q.· · And I'll just be super clear, and          ·1·   · · · A.· · He did.· Yeah, he did introduce me to
·2·   ·excuse the lawyer for being a little redundant.       ·2·   ·him.
·3·   · · · · · · Did Lianchao Han receive any               ·3·   · · · Q.· · But you didn't end up doing business
·4·   ·compensation for bringing Eastern Profit or           ·4·   ·with him?
·5·   ·Mr. Guo to Strategic Vision?                          ·5·   · · · A.· · No.
·6·   · · · A.· · No.                                        ·6·   · · · Q.· · Turning to 64.· Do you see where it
·7·   · · · Q.· · I'll ask the same question for you or      ·7·   ·says "New York friend wants to do it but asks for
·8·   ·your LLCs.· Did you ever pay Lianchao Han for         ·8·   ·more insurance"?
·9·   ·introducing you to Mr. Guo or Eastern Profit?         ·9·   · · · A.· · Yes.
10·   · · · A.· · No.                                        10·   · · · Q.· · Who did you understand the New York
11·   · · · Q.· · Let's turn to -- this is SVUS62, the       11·   ·friend to be there?
12·   ·second page there.· Between the two text bubbles,     12·   · · · A.· · Guo.
13·   ·there's a lighter one and a darker one.· Which        13·   · · · Q.· · What do you think Mr. Han meant by
14·   ·one is you and which one is Lianchao Han?             14·   ·"more insurance"?
15·   · · · A.· · I'm the darker one.                        15·   · · · A.· · I think he meant assurance.· Assurances
16·   · · · Q.· · And Lianchao Han is the lighter one?       16·   ·that the job could be done.
17·   · · · A.· · Yes.                                       17·   · · · Q.· · I see.· So it's kind of just a phonetic
18·   · · · Q.· · Looking at this page, who is the friend    18·   ·mistake in terms of the text message?
19·   ·you could provide the menu for on December 18th?      19·   · · · A.· · Or whatever, yeah.
20·   · · · A.· · Guo.                                       20·   · · · Q.· · On the next page, do you see where you
21·   · · · Q.· · That's Mr. Guo?                            21·   ·wrote, "I don't think the New York guy is
22·   · · · A.· · Yes.                                       22·   ·serious"?
23·   · · · Q.· · I'm turning to the next page.· This is     23·   · · · A.· · Yes.
24·   ·your message about Trump giving an excellent          24·   · · · Q.· · What did you mean by that?
25·   ·speech today?                                         25·   · · · A.· · Guo kept waffling on what he wanted,

                                                  Page 119                                                     Page 121
·1·   · · · A.· · Yes.                                       ·1·   ·and he was saying things that seemed conflicted.
·2·   · · · Q.· · And the response is "Yes, SB talked        ·2·   · · · Q.· · What do you mean by that?
·3·   ·about it here."· Do you see that?                     ·3·   · · · A.· · He was waffling back and forth on
·4·   · · · A.· · Yes.                                       ·4·   ·price, on scope, on what he wanted.· He wanted to
·5·   · · · Q.· · Who is SB?                                 ·5·   ·buy two Rockefeller properties, plus a $25
·6·   · · · A.· · I would presume it's Steve Bannon.         ·6·   ·million house in Washington, D.C., and a building
·7·   · · · Q.· · In the next message, Lianchao Han asks     ·7·   ·across the street from the U.S. Treasury
·8·   ·you about "our friend from Tokyo."                    ·8·   ·Department with a line of view sight to the
·9·   · · · · · · Do you see that?                           ·9·   ·White House, and set up all this research at the
10·   · · · A.· · Yes.                                       10·   ·same time.· It looked like he didn't seem serious
11·   · · · Q.· · Who's your friend from Tokyo?              11·   ·to me because he -- he seemed like he was a big
12·   · · · A.· · He's not referring to my friend.· He's     12·   ·thinker, but it wasn't going to be.
13·   ·referring to "our" as a generic "our."· It was a      13·   · · · Q.· · So you didn't think that he was really
14·   ·Chinese individual from Tokyo whose name, whose       14·   ·going to follow through with doing any of the
15·   ·real name I never knew.                               15·   ·work that you guys were discussing at the time?
16·   · · · Q.· · So not Mr. Guo?                            16·   · · · A.· · I was apprehensive that he was going to
17·   · · · A.· · No.                                        17·   ·do any work with us.· Oh, and because the prices
18·   · · · Q.· · This is some other individual?             18·   ·that he was expecting to pay were nowhere near
19·   · · · A.· · Some other person.                         19·   ·what things were really going to cost.· That's
20·   · · · Q.· · So does Lianchao Han introduce you to      20·   ·the next line.
21·   ·other potential clients for the services that you     21·   · · · Q.· · Let me get there myself, if you don't
22·   ·provide?                                              22·   ·mind.· Lianchao Han's response was, "He wants do
23·   · · · A.· · No.                                        23·   ·it but wants to do it as cheap as possible."
24·   · · · Q.· · So he didn't ever introduce you to this    24·   · · · · · · Do you see that?
25·   ·other Chinese individual?                             25·   · · · A.· · Right.


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                                                                                  Pages 118..121                          YVer1f
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 224 of 288

            EASTERN PROFIT CORPORATION LIMITED vs STRATEGIC VISION US, LLC
                              J. Michael Waller on 02/08/2019
                                                     Page 290                                                     Page 292
·1·   · · · ·THE VIDEOGRAPHER:· This concludes                  ·1· · · · · · · · · ERRATA SHEET

·2·   ·today's deposition of Mr. Waller.· The time              ·2

·3·   ·is 5:35.· We are off the record.                         ·3· ·NAME OF CASE:· EASTERN PROFIT v STRATEGIC

·4                                                              ·4· ·DATE OF DEPOSITION:· Friday, February 8, 2019

·5                                                              ·5· ·NAME OF WITNESS:· J. MICHAEL WALLER

·6·   · · · (Whereupon, the within proceedings                  ·6· ·PAGE LINE· ·FROM· · · · · · · · · TO

·7·   ·concluded at 5:35 p.m., on the 8th day of                ·7

·8·   ·February, 2019.)                                         ·8· ·____|______|______________________|___________

·9                                                              ·9· ·____|______|______________________|___________

10·   · · · ·*· · · ·*· · · ·*· · · ·*· · · ·*                  10· ·____|______|______________________|___________

11                                                              11· ·____|______|______________________|___________

12                                                              12· ·____|______|______________________|___________

13                                                              13· ·____|______|______________________|___________

14                                                              14· ·____|______|______________________|___________

15                                                              15· ·____|______|______________________|___________

16                                                              16· ·____|______|______________________|___________

17                                                              17· ·____|______|______________________|___________

18                                                              18· ·____|______|______________________|___________

19                                                              19· ·____|______|______________________|___________

20                                                              20· ·____|______|______________________|___________

21                                                              21· ·____|______|______________________|___________

22                                                              22· ·____|______|______________________|___________

23                                                              23· ·____|______|______________________|___________

24                                                              24

25                                                              25

                                                     Page 291                                                     Page 293
·1· · · · · · · · · D E C L A R A T I O N                       ·1· · · · · · · ·REPORTER'S CERTIFICATE
·2                                                              ·2
·3· · · · · · ·I hereby certify that having been first          ·3· ·STATE OF NEW YORK· )
·4· ·duly sworn to testify to the truth, I gave the             ·4· · · · · · · · · · · · ·) ss.
·5· ·above testimony.                                           ·5· ·COUNTY OF NEW YORK )
·6                                                              ·6
·7· · · · · · ·I FURTHER CERTIFY that the foregoing             ·7· · · · · · ·I, ROBERTA CAIOLA, a Shorthand Reporter
·8· ·transcript is a true and correct transcript of             ·8· ·and Notary Public within and for the State of New
·9· ·the testimony given by me at the time and place            ·9· ·York, do hereby certify:
10· ·specified hereinbefore.                                    10· · · · · · ·That J. MICHAEL WALLER, the witness
11                                                              11· ·whose deposition is hereinbefore set forth, was
12                                                              12· ·duly sworn by me and that such deposition is a
13· · · · · · · · · · ·_________________________                13· ·true record of the testimony given by such
14· · · · · · · · · · · · · J. MICHAEL WALLER                   14· ·witness.
15                                                              15· · · · · · ·I further certify that I am not related
16                                                              16· ·to any of the parties to this action by blood or
17                                                              17· ·marriage and that I am in no way interested in
18· ·Subscribed and sworn to before me                          18· ·the outcome of this matter.
19                                                              19· · · · · · ·In witness whereof, I have hereunto set
20· ·this _____ day of ________________ 20___.                  20· ·my hand on this date, February 15, 2019.
21                                                              21
22                                                              22· · · · · · · · · · · · ·ROBERTA CAIOLA
23· ·_________________________                                  23
24· · · · · NOTARY PUBLIC                                       24
25                                                              25



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Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 225 of 288




                       Exhibit M
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 226 of 288




UNITED STATES DISTRICT COURT FOR
                                                                          EXHIBIT
THE SOUTHERN DISTRICT OF NEW YORK
                                                                   2,    Wall
                                              )                            2       KL,
EASTERN PROFIT CORPORATION                    )
LIMITED                                       )
                                              )
                              Plaintiff,      )
                                              )
v.                                            )
                                              )      Case No. 18-CV-2185 (JGK)
STRATEGIC VISION US, LLC                      )
                                              )
                              Defendant.      )
                                              )

 PLAINTIFF EASTERN PROFIT CORPORATION LIMITED'S REPONSES
AND OBJECTIONS TO DEFENDANT STRATEGIC VISION US, LLC'S FIRST
                  SET OF INTERROGATORIES

       Eastern Profit Corporation Limited ("Eastern") by its attorneys, Zeichner Ellman

& Krause, LLP, responds as follows to Strategic Vision US, LLC's ("SV") First Set of

Interrogatories to Eastern, dated November 13, 2018 (the "Interrogatories").

                     OBJECTIONS TO SV'S INSTRUCTIONS

       A.      Eastern objects to SV's Instructions to the extent that they seek to impose

obligations beyond those imposed by the Federal Rules of Civil Procedure and the Local

Rules of the Southern District of New York.
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 227 of 288




    SPECIFIC RESPONSES TO SV'S FIRST SET OF INTERROGATORIES

              1.        Identify all persons with whom Eastern consulted when

answering these Interrogatories, or who were otherwise involved in any way in

answering these Interrogatories.

Response:      Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to

the extent it seeks information beyond the identification of witnesses with knowledge

of information relevant to the subject matter of this litigation. Subject to Eastern's

objection, Yvette Wang and Guo Wengui were consulted when answering these

Interrogatories.

              2.        Identify the principals of Eastern.

Response:               Chunguang Han is the principal of Eastern.

               3.       Identify the principals of ACA Capital Group Limited.

Response:               Pursuant to Local Rule 33.3, Eastern objects to this interrogatory

because it seeks information beyond the identification of witnesses with knowledge of

information relevant to the subject matter of this litigation.

               4.       Identify who directed the wires on or about December 29, 2017

in the total amount of $1 million be sent to Strategic Vision.

Response:               Eastern objects to this interrogatory because the term "directed"

is vague, ambiguous and unclear in this context.              Notwithstanding the forgoing

objection, Guo Wengui, on behalf of Eastern, ordered wires totaling $1 million to be

sent to Strategic Vision on or about December 29, 2017.




                                               2
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 228 of 288




              5.        Identify each person with knowledge of the Agreement,

including the negotiation of same.

Response:      Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to the

extent it seeks information beyond the identification of witnesses with knowledge of

information relevant to the subject matter of this litigation. Subject to Eastern's objection,

French Wallop, J. Michael Waller, Yvette Wang, Lianchao Han, Guo Wengui, and Gare

Smith have knowledge of the Agreement, including the negotiation of same.

              6.        Identify each person who participated in the "meetings between

representatives of Eastern and Strategic Vision," as alleged in paragraph 8 of the

Complaint.

Response: Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to the extent

it seeks information beyond the identification of witnesses with knowledge of information

relevant to the subject matter of this litigation. Subject to Eastern's objection, William

Gertz, French Wallop, J. Michael Waller, Yvette Wang, Lianchao Han, and Guo Wengui

participated in one or more meetings between representatives of Eastern and Strategic

Vision.

                7.       Identify each person with knowledge of Strategic Vision's

misrepresentations of its "capabilities, resources, expertise and prior experiences," as

alleged in paragraph 16.

Response:       Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to the

extent it seeks information beyond the identification of witnesses with knowledge of

information relevant to the subject matter of this litigation. Eastern further objects to this



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Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 229 of 288




interrogatory, because it is ambiguous and vague due the fact that it does not identify

which document's paragraph 16 is being referenced.

              8.       Identify each person with knowledge of Strategic Vision's failure

to deliver its initial set of weekly reports on time, as alleged in paragraph 18 of the

Complaint.

               Response:      Pursuant to Local Rule 33.3, Eastern objects to this

interrogatory to the extent it seeks information beyond the identification of witnesses with

knowledge of information relevant to the subject matter of this litigation. Subject to

Eastern's objection, French Wallop, J. Michael Waller, Yvette Wang, Lianchao Han, and

Guo Wengui have knowledge of Strategic Vision's failure to deliver its initial set of

weekly reports on time.

              9.       Identify each person with knowledge of the first delivery under the

Agreement, including all reports and raw research materials, as alleged in paragraph 20

of the Complaint.

Response: Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to the extent

it seeks information beyond the identification of witnesses with knowledge of information

relevant to the subject matter of this litigation. Subject to Eastern's objection, French

Wallop, J. Michael Waller, Yvette Wang, Lianchao Han, and Guo Wengui have

knowledge of the first delivery of information Strategic Vision made on or about January

30, 2018.




                                              4
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 230 of 288




               10.     Identify each person with knowledge of the information

provided by Eastern to Strategic Vision under the Agreement, including the flash

drives delivered to Strategic Vision.

Response: Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to the

extent it seeks information beyond the identification of witnesses with knowledge of

information relevant to the subject matter of this litigation. Subject to Eastern's

objection, French Wallop, J. Michael Waller, Yvette Wang, Lianchao Han, and Guo

Wengui have knowledge of the information provided by Eastern to Strategic Vision

under the Agreement, including the flash drives delivered to Strategic Vision.

              11.      Identify each person with knowledge of Strategic Vision's

failure to deliver reports and meet the schedule under the Agreement, as alleged in

paragraph 23 of the Complaint.

Response: Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to the

extent it seeks information beyond the identification of witnesses with knowledge of

information relevant to the subject matter of this litigation. Subject to Eastern's

objection, French Wallop, J. Michael Waller, Yvette Wang, Lianchao Han, and Guo

Wengui have knowledge of Strategic Vision's failure to deliver reports and meet the

schedule under the Agreement.

              12.      Identify each person with knowledge of Eastern's demand for

return of the $1 million deposit, as alleged in paragraph 24 of the Complaint.

Response: Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to the extent

it seeks information beyond the identification of witnesses with knowledge of information



                                            5
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 231 of 288




relevant to the subject matter of this litigation. Subject to Eastern's objection, French

Wallop, J. Michael Waller, Yvette Wang, Lianchao Han, Guo Wengui, Gare Smith, and

Anthony D. Mirenda, and Peter Sullivan, have knowledge of Eastern's demand for return

of the $1 million deposit.

              13.      Identify each person with knowledge of Eastern and/or ACA

Capital Group Limited's attempt to reverse the wires of the $1 million deposit, or

otherwise have the payment returned by non-voluntarily means.

Response: Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to the

extent it seeks information beyond the identification of witnesses with knowledge of

information relevant to the subject matter of this litigation. Subject to Eastern's

objection, Yvette Wang and Guo Wengui have knowledge of attempts to reverse the

wires of the $1 million deposit.

              14.       Identify each person on the initial list of 15 subjects contained on

the flash drive delivered by Ms. Y to Strategic Vision, as alleged in paragraph 63 of the

Answer.

Response: Pursuant to Local Rule 33.3, Eastern objects to this interrogatory because it

seeks information beyond the identification of witnesses with knowledge of information

relevant to the subject matter of this litigation.

              15.       Identify each person with whom you have consulted as an

expert or whom you expect to call as an expert witness at the trial of this action. For

each such person, identify:




                                                6
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 232 of 288




                      a.                 the person's name, address, and telephone

number;

                      b.                 an explanation of the subject matter on which the

person is expected to testify;

                       c.                the substance of the facts and opinions, as well

as the basis for each opinion, to which each person is expected to testify;

                       d.                the educational background, training, and

experience that you contend qualifies each person as an expert; and

                       e.                each person's field(s) of expertise.

Response: Pursuant to Local Rule 33.3, Eastern objects to this interrogatory because it

seeks information beyond the identification of witnesses with knowledge of information

relevant to the subject matter of this litigation.        Eastern further objects to this

interrogatory because it is premature.

              16.          Provide an itemized statement of your alleged damages.

Response: Eastern's damages in this case are as follows:

$1,000,000 for the $1,000,000 paid to Strategic Vision as a deposit under the Agreement,

plus reasonable attorneys' fees which shall be determined at the time of trial, the costs

associated with this action, pre-judgement interest at the legal rate of interest.

              17.          Identify the name and address of each person that you know or

claim has knowledge of the allegations in the Complaint, including the damages alleged

in the Complaint.




                                               7
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 233 of 288




Response: Pursuant to Local Rule 33.3, Eastern objects to this interrogatory to the extent

it seeks information beyond the identification of witnesses with knowledge of

information relevant to the subject matter of this litigation. Subject to Eastern's

objection, French Wallop, J. Michael Waller, Yvette Wang, Lianchao Han, Guo

Wengui, Gare Smith, Peter Sullivan, and Anthony D. Mirenda have knowledge of the

allegations in the Complaint.

                 18.      Identify all documents, witnesses, evidence, materials and

testimony not previously identified in your answers to these interrogatories, and upon

which the allegations in the Complaint are based, or upon which you relied in preparing

the answers to these interrogatories, or will rely in proving your contentions or in

responding to any of Strategic Vision's counterclaims, allegations, denials and defenses

at the trial of this action.

Response: Eastern objects to this interrogatory because (1) it calls for the disclosure of

documents and information not permitted by Local Rule 33.3, (2) it is compound, vague

and unintelligibly muddled, (3) is an impractical and unduly burdensome means of

obtaining the information sought, and (4) calls for the disclosure of trial witnesses and

evidence prematurely under the Federal Rules of Civil Procedure. Subject to Eastern's

objections, William Gertz, French Wallop, J. Michael Waller, Yvette Wang, Lianchao

Han, Guo Wengui, Care Smith, Peter Sullivan and Anthony D. Mirenda have knowledge

of the subject matter of this action.




                                              8
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 234 of 288




AS TO THE OBJECTIONS:

Dated:   New York, New York
         December 20, 2018
                                 ZEICHNER ELLMAN & KRAUSE LLP

                                 By:    Is/
                                 Zachary B. Grendi, Esq.
                                 Attorneys for Plaintiff
                                 1211 Avenue of the Americas
                                 New York, New York 10036
                                 (212) 223-0400
                                 zgrendi@zeklaw.com




                                 9
 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 235 of 288




                                      VERIFICATION

        I, Yvette Wang, state that I have read the foregoing responses; that the responses
were prepared with the assistance of counsel; that the responses are, subject to,inadvertent
and undiscovered errors, based on and therefore necessarily limited by the records and
information I have reviewed, or by my personal knowledge of certain facts were so stated,
and by information thus far discovered in preparing these responses.
        I reserve the right to make any changes in the responses if it appears at any time
that material omissions or errors have been made therein or that more accurate
infmmation is available.
        Subject to these limitations, I state, under the pains and penalties of perjury, that
the responses are true to the best of by knowledge, information and belief.

Date Executed:     12, 24( tots

Golden Spring (New York) Ltd.
As attorney in fact for
Eastern Profit Corporation Limite.

Signature:              a       4           1h
Name: Yvette Wang
Title: President


Sworn to before me this
a) day of December 2018


c.R IL.{LeAireQ
Notary Public
                                         KARIN NIRISTREILO
                                    NOTARY PUBLIC STATE OF NEW YORIC
                                       Registration No. calVA.637644
                                          Oalified inNY County
                                       Commhionexplrethwe08 ton
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 236 of 288




                            CERTIFICATE OF SERVICE


        1, the undersigned, of the law offices of Zeichner Ellman & Krause LLP, attorneys
for Eastern Profit Corporation Limited, do hereby certify that that I have served all parties
of record with copies of the below listed documents by U.S. Mail on this December 31,
2018:

Documents:
         •     Eastern Profit Corporation Limited's Responses and Objections to
               Strategic Vision US, LLC's First Set of Interrogatories



                                                          /s/
                                                  Zachary Grendi
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 237 of 288




                       Exhibit N
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 238 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 239 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 240 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 241 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 242 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 243 of 288




                       Exhibit O
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 244 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 245 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 246 of 288




                       Exhibit P
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 247 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 248 of 288




                       Exhibit Q
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 249 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 250 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 251 of 288




                       Exhibit R
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 252 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 253 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 254 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 255 of 288




                       Exhibit S
 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 256 of 288



FOLEY                                                                        Seaport West
                                                                             155 Seaport Boulevard
                                                                             Boston, MA 02210-2600
HOAG LLP                                                                     617.832.1000 main
                                                                             617.832.7000 fax




                                                                            Anthony D. Mirenda
                                                                            617-832-1220 direct
                                                                            ADM@foleyhoag corn



February 23, 2018


Via Federal Express.                                                                   EXHIBIT
                                                                                     it) a/Ai        fri,
CONFIDENTIAL


Ms. French C. Wallop, CEO
Strategic Vision US LLC
7260 W. Azure Drive, Suite 140-593
Las Vegas, NV 89130

         Re:         Contract with Eastern Profit Corporation Limited dated January 6, 2018

Dear Ms. Wallop:

       We have been engaged to represent Eastern Profit Corporation Limited ("Eastern")
with regard to its Research Agreement contract with Strategic Vision US LLC ("Strategic
Vision") dated January 6, 2018.

        As you are aware, Eastern has very serious concerns with Strategic Vision's wholly
inadequate performance in the weeks since the contract was signed. In the contract,
Strategic Vision promised that it would, among other things, conduct "high quality original
research" and would provide detailed forensic financial reports, reports detailing tracking
research, and reports detailing social media research concerning specific subjects as
described therein. Per the contract, Strategic Vision was to deliver such reports concerning
the specific subjects on a weekly basis over the course of the first month, and no less than on
a monthly basis thereafter.

        Immediately after the contract was signed on January 6, problems concerning
Strategic Vision's capabilities and competence began to surface. Because of what Strategic
Vision described as "internal miscommunication" on the part of Strategic Vision's
representatives, Eastern agreed to delay the start of the contract by 10 days, from January 6
to January 16. Even with this additional time, Strategic Vision failed to deliver its initial sets
of weekly reports on time as required by the contract.

        Eventually, on January 30, Strategic Vision finally made its first delivery under the
 contract — an 80 GB dump of a combination of reports concerning particular subjects and

  ATTORNEYS AT LAW                                   BOSTON I NEW YORK I PARIS I WASHINGTON I FOLEYHOAG.COM

                                           CONFIDENTIAL
                                                                                 EASTERN-000198
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 257 of 288


                                                                            CONFIDENTIAL
February 23, 2018
French C. Wallop
Page 2

raw research materials. This "delivery" was wholly inadequate for a host of reasons. First
and most fundamentally, while Eastern provided specific identifying information regarding
the particular subjects of the research, most of Strategic Vision's reports and research
materials concerned different subjects — not the particular ones specified by Eastern — and so
the information was entirely irrelevant. For example, Eastern provided detailed identifying
information concerning one particular subject, Chengjie LIU (including among other data his
date of birth and a photograph), but Strategic Vision provided a 121-page report on an
entirely different person, with a different date of birth and a different photograph — obviously
useless. As another example, Eastern provided detailed identifying information concerning
another particular subject, Qing YAO (including among other data his date of birth and a
photograph), but Strategic Vision provided a 52-page report on an entirely different person,
with a different date of birth and a different photograph — likewise obviously useless. The
remainder of the materials included similarly irrelevant and useless materials, or suffered
 from other obvious flaws. This certainly does not represent anything close to "high quality
original research" on the specified subjects.

       Since that first delivery, Strategic Vision has consistently failed to deliver the reports
required by the contract and has consistently failed to meet the schedule required there.
Eastern committed a substantial amount of resources in good faith, and paid $1 million in
advance as a deposit, based upon the representations and promises made by Strategic
Vision's representatives.

        Regrettably, Eastern is compelled to conclude that Strategic Vision misrepresented
its capabilities to fraudulently induce Eastern to enter into the contract and pay the $1
million advance, and has breached its obligations under the contract. Therefore, Eastern is
entitled to terminate the contract immediately and to receive a full and complete refund of
the $1 million deposit. Strategic Vision should cease work immediately, and should
immediately return or destroy all materials and information provided by Eastern to Strategic
Vision. Eastern expects that Strategic Vision will refund the $1 million deposit immediately.
Please send the funds, via wire transfer, to:

        Beneficiary Bank Name:    DBS Bank Ltd
        Beneficiary Bank Address: 12 Marina Boulevard, DBS Asia Central,
                                  Marina Bay Financial Centre Tower 3,
                                  Singapore 018982
        Beneficiary Bank SWIFT: DBSSSGSG
        Beneficiary Account Name: ACA Capital Group Limited
        Beneficiary Account No.:  0003-039595-01-1
        Immediate Bank Name:      JP Morgan Chase Bank, N.A.
        Immediate Bank SWIFT:     CHASUS33

         Finally, and without waiver of or prejudice to Eastern's rights to terminate the
 contract immediately due to Strategic Vision's breach and to recover all legally available
 remedies, please consider this letter as written notice of termination of the contract pursuant
 to the contract's "Duration" section.


                                       CONFIDENTIAL                        EASTERN-000199
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 258 of 288


                                                                           CONFIDENTIAL
February 23, 2018
French C. Wallop
Page 3

        We trust that Strategic Vision will respond appropriately, terminate the contract and
return the deposit, and that litigation will not be necessary. However, should litigation
become necessary, Eastern reserves all its rights to seek any and all remedies legally
available to it, including recovery of all damages, costs, interest and attorney's fees.

        Please contact me immediately to resolve this situation. If we do not have a response
by the close of business on February 27, 2018, Eastern will have no choice but to move
forward to seek all legally available remedies.

                                              Regards,



                                              Anthon D. Mirenda




ADM/sml
Cc:  French C. Wallop, CEO (via Hand Delivery and Electronic Mail)
            Strategic Vision US LLC, 1557 22'd Street North, Arlington VA 22209




                                       CONFIDENTIAL                      EASTERN-000200
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 259 of 288




                       Exhibit T
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 260 of 288




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

EASTERN PROFIT CORPORATION                          )
LIMITED,                                            )
                                                    )
       Plaintiff/Counterclaim Defendant,            )
                                                    )       Case No. 18-cv-2185 (JGK)-DCF
       v.                                           )
                                                    )
STRATEGIC VISION US, LLC,                           )
                                                    )
       Defendant/Counterclaim Plaintiff.            )

PLAINTIFF/COUNTERCLAIM DEFENDANT’S RESPONSES AND OBJECTIONS TO
DEFENDANT/COUNTERCLAIM PLAINTIFF’S THIRD SET OF INTERROGATORIES

 ___________________________________________________________________________


       Eastern Profit Corporation Limited (“Eastern”) by its attorneys, Zeichner Ellman & Krause,

LLP, responds as follows to Strategic Vision US, LLC’s (“SV”) Third Set of Interrogatories to

Eastern, dated August 28, 2019 (the “Interrogatories”).


                          OBJECTIONS TO SV’S INSTRUCTIONS

       A.      Eastern objects to SV’s Instructions to the extent that they seek to impose

obligations beyond those imposed by the Federal Rules of Civil Procedure and the Local Rules of

the United States District Court for the Southern District of New York.




                                                1
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 261 of 288




                                          Interrogatories

1.     Describe the association, involvement, and influence of William Je (a/k/a Yu

Jianming) in or on the affairs and business of Eastern Profit during the timeframe of January

1, 2017 to January 1, 2019, including without limitation whether William Je was involved in

(a) the approval of the wire transfers totaling $1 million from ACA Capital Group Limited to

Strategic Vision described in the Second Amended Complaint and, if so, the nature of that

involvement; (b) the attempted retraction of those wires by ACA Capital Group Limited and,

if so, the nature of that involvement; (c) the decision by Eastern Profit to terminate the

Contract with Strategic Vision described in the Second Amended Complaint and, if so, the

nature of that involvement; and (d) Eastern Profit’s decision to sue Strategic Vision in this

matter and, if so, the nature of that involvement.

RESPONSE: Eastern objects to this interrogatory because it seeks information beyond the

scope of Local Rule 33.3. Eastern further objects to this interrogatory because it is vague,

unduly burdensome, and because there are more practical methods of obtaining the information

sought. Eastern Profit further objects to this interrogatory because it is irrelevant to claims and

defenses at issue in this action and is not proportional to the needs of the case.

       Subject to Eastern’s objections, Eastern hereby answers this interrogatory as follows:

William Je was not involved in Eastern’s decision to terminate the Contract due to Strategic

Vision’s multiple material breaches or Eastern’s decision to sue Strategic Vision.



2.     Describe the role, association, and involvement of William Je in the affairs and business

of ACA Capital Group Limited during the timeframe of January 1, 2017 to March 1, 2018,

such that William Je would be involved in the transfer of wires totaling $1 million from ACA




                                                  2
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 262 of 288




Capital Group Limited to Strategic Vision as alleged in the Second Amended Complaint.

RESPONSE: Eastern objects to this interrogatory because it seeks information beyond the

scope of Local Rule 33.3. Eastern further objects to this interrogatory because it is vague,

unduly burdensome, and because there are more practical methods of obtaining the

information sought. Eastern Profit further objects to this interrogatory because it is irrelevant

to claims and defenses at issue in this action and is not proportional to the needs of the case.

       Subject to its Objections, Eastern believes that William Je was the Chief Executive

Officer of ACA Capital Group Limited on or about December 29, 2017.



3.     Describe the association or relationship between Eastern Profit, including without

limitation any of its representatives such as Guo Weingui, and Celestial Tide Holdings.

RESPONSE: Eastern objects to this interrogatory because it seeks information beyond the

scope of Local Rule 33.3. Eastern further objects to this interrogatory because it is vague and

unduly burdensome. Eastern Profit further objects to this interrogatory because it is

irrelevant to claims and defenses at issue in this action and is not proportional to the needs of

the case.



4.     Describe the association or relationship between Golden Spring (New York) Limited,

including without limitation any of its representatives, and Celestial Tide Holdings.

RESPONSE: Eastern objects to this interrogatory because it seeks information beyond the

scope of Local Rule 33.3. Eastern further objects to this interrogatory because it is vague and

unduly burdensome. Eastern Profit further objects to this interrogatory because it is

irrelevant to claims and defenses at issue in this action and is not proportional to the needs of




                                                  3
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 263 of 288




the case.



5.       Identify the assets of Eastern Profit as of the following dates: December 1, 2017,

February 23, 2018, December 31, 2018, January 1, 2019, and July 31, 2019.

RESPONSE: Eastern objects to this interrogatory because it seeks information beyond the

scope of Local Rule 33.3. Eastern further objects to this interrogatory because it is vague and

unduly burdensome. Eastern Profit further objects to this interrogatory because it is

irrelevant to claims and defenses at issue in this action and is not proportional to the needs of

the case.




AS TO THE OBJECTIONS:



Dated:      New York, New York
            September 27, 2019

                                              _____/s/Zachary Grendi_______________
                                                             Zachary Grendi
                                                     Zeichner Ellman & Krause LLP
                                                     1 Landmark Square
                                                     4th Floor
                                                     Stamford, CT 06901
                                                     zgrendi@zeklaw.com




                                                  4
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 264 of 288




                                        VERIFICATION

        I, Yvette Wang, state that I have read the foregoing responses; that the responses were
prepared with the assistance of counsel; that the responses are, subject to inadvertent and
undiscovered errors, based on and therefore necessarily limited by the records and information I
have reviewed, or by my personal knowledge of certain facts were so stated, and by information
thus far discovered in preparing these responses.

       I reserve the right to make any changes in the responses if it appears at any time that
material omissions or errors have been made therein or that more accurate information is available.

       Subject to these limitations, I state, under the pains and penalties of perjury, that the
responses are true to the best of by knowledge, information and belief.



Date Executed: _________________________


Golden Spring (New York) Ltd.

As attorney in fact for

Eastern Profit Corporation Limited



Signature:_____________________________

Name: Yvette Wang

Title: President




Sworn to before me this

___ day of December 2018




__________________________________

Notary Public



                                                 5
     Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 265 of 288




                                CERTIFICATE OF SERVICE

       I, the undersigned, of the law offices of Zeichner Ellman & Krause LLP, attorneys for
Eastern Profit Corporation Limited, do hereby certify that that I have served all parties of record
with copies of the below listed documents by U.S. Mail on this September 27, 2019:



Documents:

              Eastern Profit Corporation Limited’s Responses and Objections to Strategic Vision
               US, LLC’s Third Set of Interrogatories




                                                         /s/Zachary Grendi
                                                         Zachary Grendi




                                                6
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 266 of 288




                       Exhibit U
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 267 of 288


'SECS                                                                                Outgoing Telegraphic Transfer
                                                                               ACA CAPITAL GROUP LIMITED-                       -USD

Transaction Advice/s
Date                              : 02-Jan-2018                            Customer Reference
Transaction Reference
Beneficiary Name                  : STRATEGIC VISION US, LLC               Beneficiary Bank SWIFT!    : CITIUS33XXX
Beneficiary Account                                                        BIC
Beneficiary Bank                  : CITIBANK N.A.

Transaction Details
                                  Remittance Amount      Exchange Rate               Transaction Amount        Account Number
Principal
                           USD              500,000.00                         USD          500,000.00

OT - Commission in                                                             USD               74.52
lieu
OT - Handling                                                                  USD               74.52
Commission
OT - Cable                                                                     USD               14.90



Transaction Trail
SWIFT gpi Transaction Status                       SWIFT gpi Tracking Number                Elapse Time


    Originating
    Bank

 DBSSSGSG                                                                                                             EXHIBIT
 Release date and
 time
 02 Jan 2018 11:59hr

 Amount remitted
 USD
 500,000.00




Printed On        : 02-Jan-2018 12:04:25 (SGT)                                                                        Page 1    of 2
Printed By        : HON YICK


                                                               CONFIDENTIAL
                                                                                                          EASTERN-000021
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 268 of 288


        DBS                                                           Outgoing Telegraphic Transfer

SWIFT MT103

2018-01-02 12:00:04.114

MT 5103 SINGLE CUSTOMER CREDIT TRANSFER

BASIC HEADER
APPLICATION HEADER
USER HEADER                  SERVICE CODE     103:
                             BANK. PRIORITY   113:NORQ
                             MSG USER REF.    108:
                             VALIDATION       119:
SENDER'S REF.                11111111111111MM
TIME INDICATION              13C:CODE/         /TIME    SIGN OFFSET
BANK OPERATION CODE          23B:CRED
INSTRUCTION CODE             23E:
TRANS. TYPE CODE             26T:
SETTLEMENT AMOUNT            32A:DATE180102CURRENCYUSDAMOUNT500000
INSTRUCTED AMOUNT            33B:           CUR/CODEUSDAMOUNT500000
EXCHANGE RATE                36 :
ORDERING CUSTOMER            50K:
                                  ACA CAPITAL GROUP LIMITED
                                  49TH FLOOR, BANK OF CHINA TOWER 1
                                  GARDEN ROAD CENTRAL, HONG KONG

SENDING INSTITUTION          51A:

ORDERING INST.               52 :




SENDER'S CORR.               53 :




RECEIVER'S CORR.             54 :




THIRD REIMBURS.INST. 55 :




INTERMEDIARY                 56 :




ACCOUNT WITH INST.           57A://




BENEFICIARY CUSTOMER 59 :
                         STRATEGIC VISION US, LLC




REMITTANCE INFO.             70 :




DETAILS OF CHARGES           71A:SHA
SENDER'S CHARGES             71F:CURRENCYUSDAMOUNT163.94
RECEIVER'S CHARGES           71G:CURRENCY   AMOUNT
SEND. TO REC. INFO.          72 :




REGULATORY REPORT             77B:




Printed On    : 02-Jan-201812:04:25 (SGT)                                                 Page 2   of 2
Printed By    : HON VICE

                                                     CONFIDENTIAL
                                                                                 EASTERN-000022
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 269 of 288




                       Exhibit V
          Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 270 of 288

     CORPORATE TELEGRAPHIC TRANSFER TRACER / CANCELLATION / AMENDMENT REQUEST
                                                                       Your Particulars
                                                                                                                                       EXI
Company Name         k e---4k                    Al—             ate              !ZVI)                                    ,            We
Debit Account Number --                                                                                                                CS)
                                                                                                                            •
Contact No. --•                                                                                                                        1- .:
                                                                            TT Details

Please send a tracer for the follow'                     '                       llows :

IT Reference No. --

Date of Transaction                  d 0/ft.    --(5-1

Currency & Amount_                (pSzto ,-rin . MID -

Reason for Request :

 ri Beneficiary claims non-receipt of funds.
          Amendment of IT details* •




 I VI      Cancellation of payment.

           Others (please specify) :                             .                                                                        .



*Note: Currency and Amount cannot be amended. For such cases, request for Cancellation of payment and submit a new payment request

                                                                       • Charges Details

Payment of handling charge and any agent charges that may arise from the above request is as follows :

 1   Y      Debit our account No.                                                                          .

                                                         Terms and Conditions of Request

l/VVe acknowledge that this request will be processed same business day only if the application is submitted before the cut-off times
stipulated from time to time falling which request will be processed on the next business day. We acknowledge that my request for
cancellation of payment will be made only when you are in possession of the funds in respect of the above telegraphic transfer
payment. This is subject to the beneficiary and/or his bank agreeing to my/our request for cancellation and returning the funds to
you. INVe agree that you will have no responsibility or liability towards me/us if the beneficiary fails to return the funds to you.

I/We agree that any refund is to be made at the prevailing buying rate and less your charges if any.



Authorised Signature(s) wi .        Army Stamp (if applicable)                                                                  Date
                                                           For Bank Use

Special Instruction from Branch

 I    1     Faxed original 7 application form to Payment Operations (REM).

Name & Signature .___           .. - - --- ..                _          _         Branch

Specimen No.                                                                      Contact No -------•---
                                                                     Customer Information
Completed form signed by the Authorised Signatory/les should be submitted to DBS via any of the following channels:
(1) Original copy at any DBS/POSE Branches
(2) Scanned as PDF and send via IDEALTM Secured Mailbox to the recipient group 'SG TT-Amendments/Cancel Requests'


DBS BANK LTD                                                                                                            REM-03(11/2015)
Co. Reg. No. 196800306E


                                                                       CONFIDENTIAL                            EASTERN000279
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 271 of 288

   CORPORATE TELEGRAPHIC TRANSFER TRACER / CANCELLATION / AMENDMENT REQUEST
                                                               Your Particulars
Company Name      ...k.ca.................           60-0141, Lim I T70)
Debit Account Number

Contact No. ---
                                                                   TT Details

Please send a tracer for the following transaction, details are as follows

TT Reference No.

Date of Transaction............A   e„.4:-........................................................................................
Currency & AmounL           tA}4       ttre , MD

Reason for Request :

 ❑      Beneficiary claims non-receipt of funds.

 n      Amendment of IT details` •



                                                                                                                       ____............_............__

   VI    Cancellation of payment.

 II      Others (please specify) :



*Note; Currency and Amount cannot be amended. For such cases, request for Cancellation of payment and submit a new payment request
                                                                Charges Details

Payment of handling charge and any agent charges that may arise from the above request Is as follows :

  Z       Debit our account No.         -
                                                   Terms and Conditions of Request

lA/Ve acknowledge that this request will be processed same business day only If the application is submitted before the cut-off times
stipulated from time to time failing which request will be processed on the next business day, We acknowledge that my request for
cancellation of payment will be made only when you are in possession of the funds In respect of the above telegraphic transfer
payment. This is subject to the beneficiary and/or his bank agreeing to my/our request for cancellation and returning the funds to
you, lAAfe agree that you will have no responsibility or liability towards me/us if the beneficiary falls to return the funds to you.

IANe agree that any refund Is to be ma        at the prevailing buying rate and less your charges if any.


                                                                                                                                     4 Jo^      '›el St
Authorised Signature(s) with Comp           Stamp (if applicable)                                                                       Date
                                                              For Bank Use

Special Instruction from Branch

 ❑        Faxed original TT application form to Payment Operations (REM).

Name & Signature                ......                                       Branch

Specimen No                                                                  Contact No
                                                            Customer Information
Completed form signed by the Authorised Signatory/les should be submitted to DBS via any of the following channels:
(1) Original copy at any DBS/POSB Branches
(2) Scanned as PDF and send via IDEALTM Secured Mailbox to the recipient group 'SG TT-Amendments/Cancel Requests'


DBS BANK LTD                                                                                                                        REM-03(11/2015)
Co. Reg. No. 196800306E

                                                            CONFIDENTIAL                                         EASTERN000280
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 272 of 288




                       Exhibit W
      Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 273 of 288

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 1               IN THE UNITED STATES DISTRICT COURT

 2           FOR THE SOUTHERN DISTRICT OF NEW YORK

 3   --------------------------------------x

 4   EASTERN PROFIT CORPORATION LIMITED,

 5        Plaintiff/Counterclaim Defendant,              Case No.

 6           -against-                                 18-cv-2185

 7   STRATEGIC VISION US, LLC,                            (JGK)

 8        Defendant/Counterclaim plaintiff.

 9   -----------------------------------x

10

11

12

13                         Karin MAISTRELLO

14                        NEW YORK, NEW YORK

15                         AUGUST 23, 2019

16

17

18   ATKINSON-BAKER, INC.

19   (800) 288-3376

20   www.depo.com

21
     REPORTED BY:     KATHLEEN T. KEILTY
22                    C.S.R. NO. 000755

23   FILE NO.:        AD0867C

24

25




                                                                             Page 1
                                  Karin Maistrello
                                  August 23, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 274 of 288

                                                Atkinson-Baker, Inc.
                                                  www.depo.com

 1       the defense that you're trying to raise    12:12       1        Q.     Tell me what you remember Mr. Je saying 12:16
 2       here.                                                  2   to you about the offer.
 3            MR. GREIM: And, your Honor, just                  3        A.     We didn't speak much. He just told me
 4       to be clear, we're going to ask about her              4   that he was interested in some business in the US,
 5       resignation as well, the thing that makes              5   and he asked whether I wanted to join.
 6       ACA not reachable.                                     6        Q.     What did he say the business was?
 7            MS. TESKE: And I have no                          7        A.     Fund investment.
 8       objection to this.                                     8        Q.     Now did you have a background in fund
 9            MR. GREIM: Okay.                                  9   investment?
10            THE COURT: All right, good.                      10        A.     I do not.
11            MR. GREIM: All right.                            11        Q.     Did you have any questions for Mr. Je
12            THE COURT: Carry on, then.                       12   about what this role would entail?
13            MR. GREIM: Thank you.                            13        A.     No.
14            MS. TESKE: Thank you.                            14        Q.     Why not?
15            MR. GRENDI: Thank you, your           12:13      15        A.     I trusted his judgment.                 12:16
16       Honor.                                                16        Q.     Why did you trust his judgment?
17            THE COURT: You're welcome.                       17              MS. TESKE: Object to the form.
18            (Whereupon, the teleconference                   18              You can answer. You can answer.
19       with the Hon. Debra Freeman concludes.)               19        A.     I trust him, therefore, I trust his
20            THE VIDEOGRAPHER: We are back on                 20   judgment.
21       the record at 12:13 p.m.                              21        Q.     Okay. I guess let me rephrase it.
22            (Whereupon, the record is read as                22              What is it about him that made you
23       follows:                                              23   trust his judgement.
24            "Question: How is it that you came to            24              MS. TESKE: Object to the form.
25       meet Mrs. Wang?")                                     25              You can answer.

                                                   Page 26                                                           Page 28

 1        A.    I met her for the first time at a job  12:14    1        A.    He was introduced to me by someone I      12:17
 2   interview and that's how we met.                           2   trust and that's how it works for me, the person who
 3        Q.    Now, you said you met William Je                3   introduced us trusted him and I got to trust him.
 4   several times before becoming a director.                  4        Q.     So did you tell him yes on the spot?
 5        A.    That's correct.                                 5        A.    I did.
 6        Q.    Did you understand when you were                6        Q.     Did you ask him what your duties would
 7   meeting him what his role was with ACA?                    7   be?
 8        A.    We never spoke about ACA before.                8        A.    Briefly.
 9        Q.    But I presume that you did speak about          9        Q.     What did he say?
10   ACA when he offered you a directorship; is that           10        A.    Again, he was interested in some
11   right?                                                    11   business in the US and was asking if I could help
12        A.    Briefly.                                       12   find some investors.
13        Q.    And was that discussion in person or           13        Q.     Okay.
14   over the phone?                                           14        A.    Some --
15        A.    In person.                             12:15   15        Q.     Go ahead.                                12:17
16        Q.    Where did that happen?                         16        A.    I'm sorry. Some projects to invest in.
17        A.    That happened at our office.                   17        Q.     So if I understand correctly, he told
18        Q.    I'm sorry. Who's office?                       18   you that your duties would be finding projects for
19        A.    Golden Spring New York's office.               19   ACA to invest in?
20        Q.    Your testimony again is that it was            20              MS. TESKE: Object to the form.
21   several months -- well, actually let me ask you.          21              You can answer.
22              When -- how long before January 1st,           22        A.    Yes.
23   2019 did that discussion happen?                          23        Q.     Did he say -- did he tell you what
24              MR. GRENDI: Object to the form.                24   sorts of projects ACA invested in?
25        A.    Probably a month before.                       25        A.    No, he did not.

                                                   Page 27                                                           Page 29

                                                                                                    8 (Pages 26 to 29)
                                                   Karin Maistrello
                                                   August 23, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 275 of 288

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 1        Q.     So, like, for example, construction     12:18          1         Q.   Did he refer you to any attorney to      12:20
 2   projects, renovation projects, did he give you any                 2   advise you on that question?
 3   kind of detail what he meant by projects?                          3         A.   No.
 4        A.    Again, no, he did not.                                  4         Q.   Okay. Let's talk about your time with
 5        Q.     Is ACA a hedge fund?                                   5   ACA. First of all, as director, did you have an
 6        A.    I do not know.                                          6   office somewhere?
 7        Q.     Did Mr. Je tell you who you would be                   7         A.   No, I did not.
 8   reporting to, if anyone, as a director?                            8         Q.   Did ACA have an office in the United
 9        A.    No, he didn't.                                          9   States anywhere?
10        Q.     Did he tell you who else was involved                 10         A.   I do not know.
11   with the company?                                                 11         Q.   Between the time of your appointment
12        A.    No, he did not.                                        12   and the time that you are saying that you resigned,
13        Q.     Did he tell you if there were any other               13   did you do any work as a director of ACA?
14   directors?                                                        14         A.   No, I didn't.
15        A.    No, he did not.                          12:19         15         Q.   Did you find any projects for Mr. Je?    12:21
16        Q.     Did he tell you whether he was a                      16         A.   No, I didn't.
17   director?                                                         17         Q.   Did you try to find projects for
18        A.    No, he did not.                                        18   Mr. Je?
19        Q.     Did you have any concerns about working               19         A.   No, I didn't.
20   for ACA?                                                          20         Q.   Did Mr. Je ever ask you why you were
21        A.    No.                                                    21   not finding projects?
22              MS. TESKE: Object to the form.                         22         A.   No.
23              You can answer.                                        23         Q.   Did you ever talk to Mr. Je about your
24        A.    No.                                                    24   role with ACA after that conversation?
25        Q.     When was the first time you heard of                  25             MR. GRENDI: Object to the form.

                                                            Page 30                                                         Page 32

 1   ACA?                                                      12:19    1              MS. TESKE: Object to the form.            12:22
 2          A.   When he asked me to become director.                   2              You can answer.
 3          Q.   Did you do any research to learn more                  3         A.    No.
 4   about what ACA was?                                                4         Q.    Let's be clear. There was an
 5          A.   I did not.                                             5   objection. I'm going to make sure that this is clear
 6          Q.   At any time after your discussion with                 6   for the record.
 7   Mr. Je, did you do any research to determine what ACA              7              So is it your testimony that after the
 8   was?                                                               8   in-person meeting where Mr. Je offered the
 9          A.   No, I did not.                                         9   directorship to you, you never spoke with Mr. Je
10          Q.   Did you understand what jurisdiction                  10   again about your work as an ACA director?
11   ACA was registered in?                                            11         A.   That's correct.
12               MS. TESKE: Object to the form of                      12         Q.    Okay. I'm going to broaden the
13          the question.                                              13   question now.
14               You can answer.                                       14              After the discussion with Mr. Je where
15          A.   I don't answer it -- I'm sorry. I             12:20   15   he made the offer to you, did you ever discuss your 12:22
16   didn't understand the question.                                   16   work as an ACA director with any other person?
17          Q.   Did Mr. Je tell you where ACA was                     17         A.    No, I didn't.
18   registered?                                                       18         Q.    Did you ever discuss it with Yvette
19          A.   No.                                                   19   Wang?
20          Q.   Did he tell you what country or state                 20         A.    I did not.
21   had jurisdiction over ACA and its directors?                      21         Q.    Were you ever paid for your work as a
22               MS. TESKE: Object to the form --                      22   director?
23               MR. GRENDI: Object to the form.                       23         A.    No.
24               MS. TESKE: -- of the question.                        24         Q.    Did you sign any document appointing
25          A.   No.                                                   25   you as a director?

                                                            Page 31                                                         Page 33

                                                                                                            9 (Pages 30 to 33)
                                                            Karin Maistrello
                                                            August 23, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 276 of 288

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 1         A.    I have not.                              12:51    1   are a director?                                     12:54
 2         Q.     So sitting here today, you can't tell            2              MS. TESKE: Object to the form.
 3   us anything about Eastern Profit; is that correct?            3         A.    Can you please ask it again.
 4         A.    That's correct.                                   4         Q.    Is ACA Capital Group Limited the
 5         Q.     You don't know what it does?                     5   official name of the entity of which you are a
 6         A.    I have no idea.                                   6   director?
 7         Q.     Did you realize that we're here in the           7              MS. TESKE: Same objection.
 8   case of Eastern Profit versus Strategic Vision?               8              You can answer.
 9               MS. TESKE: Object to the form.                    9         A.    I am not sure.
10               You can answer.                                  10         Q.    So you'll see the first two pages are a
11         A.    Yes, I did.                                      11   notice of subpoena.
12         Q.     So other than hearing that it's in the          12         A.    Mm-hmm.
13   title of the case, you've never heard of Eastern             13         Q.    If you turn to page 3, you'll see the
14   Profit?                                                      14   subpoena itself. Do you see that?
15         A.    I have not.                              12:51   15         A.    I do.                                   12:55
16         Q.     Have you ever heard of Strategic                16              MS. TESKE: Object to the form.
17   Vision?                                                      17              You can answer.
18         A.    I have not.                                      18         Q.    And do you see about a quarter of the
19         Q.     And you understand it's in the title of         19   way down it says "To"?
20   the case that we're here under, correct?                     20         A.    Yes.
21         A.    That's correct.                                  21         Q.    Okay. And what does it say on that
22         Q.     So you've never spoken to Yvette Wang           22   line, could you read that, please?
23   about Strategic Vision?                                      23         A.    "ACA Capital Group Limited to be served
24         A.    No, I have not.                                  24   to its director, Karin Maistrello 17 Gifford
25         Q.     You've never spoken to Yvette Wang              25   Apartment 5F, Jersey City, New Jersey, 07304."

                                                      Page 54                                                           Page 56

 1   about Eastern Profit?                                12:52    1         Q.    Is that your address?                    12:55
 2        A.     No, I have not.                                   2         A.   It is.
 3              (Whereupon, Maistrello Exhibit 3,                  3         Q.    And were you served with this subpoena
 4        subpoena issued to ACA Capital Group Limited,            4   at that address?
 5        is marked for identification, as of this                 5              MS. TESKE: Object to the form.
 6        date.)                                                   6              You can answer.
 7              (Whereupon, Maistrello Exhibit 4,                  7         A.   Yes.
 8        subpoena issued to Karin Maistrello, is marked           8         Q.    What did you do after you were served
 9        for identification, as of this date.)                    9   with this subpoena?
10        Q.     I'm going to hand you what we're                 10              MS. TESKE: Object if the form.
11   marking as Exhibits 3 and 4.                                 11         You can answer it.
12              Please take a look at Exhibit 3.                  12         A.   I gave it to our lawyer.
13        A.     Which one is that?                               13         Q.    And was that Ms. Teske sitting here
14              MR. GRENDI: Which one is that,                    14   next to you?
15        they look the same.                             12:54   15         A.   It was not.                               12:56
16              MR. GREIM: They're not. You'll                    16         Q.    Who was that?
17        see it's a bit different.                               17         A.   Daniel Podhaskie.
18              MS. TESKE: Which one is 3?                        18         Q.    When you say "our lawyer," do you mean
19              MR. GREIM: Exhibit 3 is the ACA.                  19   Golden Spring's lawyer?
20              MS. TESKE: Thank you.                             20         A.   Golden Spring's lawyer.
21        Q.     So do you see that Exhibit 3 is a                21         Q.    Now, don't -- I'm not going to ask you
22   subpoena to ACA Capital Group Limited?                       22   for the content of your discussion. My only question
23        A.     Mm-hmm, yes.                                     23   is, did you ask Mr. Podhaskie for legal advice?
24        Q.     By the way, is ACA Capital Group                 24         A.   I asked him --
25   Limited the official name of the entity of which you         25              MS. TESKE: No. Whoa, whoa, whoa,

                                                      Page 55                                                           Page 57

                                                                                                     15 (Pages 54 to 57)
                                                     Karin Maistrello
                                                     August 23, 2019
       Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 277 of 288

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 1             MR. GREIM: In 2019.                        02:14    1             THE WITNESS: Thank you.             02:16
 2             MS. TESKE: Relating to her                          2             MS. TESKE: Thank you,
 3        services?                                                3       Ms. Maistrello.
 4             MR. GREIM: Relating to personal                     4             THE VIDEOGRAPHER: This will
 5        services.                                                5       conclude Video No. 2 and end the
 6             MS. TESKE: Personal services?                       6       deposition of Karin Maistrello. We are
 7             MR. GREIM: Services, any                            7       off the record at 2:15 p.m., August 23rd,
 8        services.                                                8       2019.
 9             MS. TESKE: Provided to ACA.                         9             (Time noted: 2:15 p.m.)
10             MR. GREIM: Well, first provided                    10
11        to ACA.                                                 11
12             MS. TESKE: Maybe rephrase the                      12
13        question.                                               13
14             MR. GREIM: Yeah, I'm sorry.                        14
15             MR. GRENDI: That's a bad one.              02:15   15
16             MR. GREIM: I'm sorry. I'm                          16
17        thinking about -- I'm trying to cut out                 17
18        arts and crafts or, you know, artwork or                18
19        something, tangible things.                             19
20             Let me go back, okay, and make it                  20
21        clear.                                                  21
22   BY MR. GREIM:                                                22
23        Q.     In 2019, have you received payment for           23
24   any services other than your salary as a director of         24
25   ACA?                                                         25

                                                    Page 102                                                    Page 104

 1             MS. TESKE: Object to the form.        02:15         1               ACKNOWLEDGMENT
 2             You can answer the question.                        2
 3       Q.     I'm sorry. Other than your salary as
                                                                   3   STATE OF NEW YORK     )
 4   an employee of Golden Spring?                                                  )   ss.:
                                                                   4   COUNTY OF ___________ )
 5             MS. TESKE: Object to the form.                      5
 6             But you can answer the question.                    6             I, KARIN MAISTRELLO, hereby
 7       A.     No, I did not.                                     7       certify that I have read the transcript
 8             MR. GREIM: Okay. Well, I want to                    8       of my testimony taken under oath, on the
 9       stand on the questions I asked about the                  9       23rd day of August, 2019; that the
10       discussion with Mr. Podhaskie. I think                   10       transcript, except as noted in any
11       I've asked every possible question that                  11       attached errata sheet(s), is a true
12       can be asked about that question, and I
                                                                  12       record of my testimony.
                                                                  13
13       want to hold open the deposition for that
                                                                                     _______________________
14       purpose only.                                            14                    KARIN MAISTRELLO
15             I will say that for efficiency        02:15
                                                                  15   Subscribed and sworn to before me
16       sake, if there is a way to get the                       16   this ___ day of ___________, 20____.
17       information we need from ACA without                     17
18       going into that, then we will try. We                    18
19       will try. But if we can't, we'll want to                 19   _______________________________
20       return to this topic and we'll just raise                          Notary Public
                                                                  20
21       it with the judge. And so I've got
                                                                  21   My Commission expires the
22       nothing else.                                            22   ___ day of _____________, 20____.
23             MS. TESKE: Thank you.                              23
24             MR. GRENDI: Thank you very much.                   24
25             MR. GREIM: Thank you, Ms. Maistrello.              25

                                                    Page 103                                                    Page 105

                                                                                              27 (Pages 102 to 105)
                                                     Karin Maistrello
                                                     August 23, 2019
        Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 278 of 288

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 1                 CERTIFICATE
 2
     STATE OF NEW YORK   )
 3                ) ss.:
     COUNTY OF WESTCHESTER )
 4
 5            I, KATHLEEN T. KEILTY, a Certified
 6        Shorthand Reporter and Notary Public within
 7        and for the State of New York, do hereby
 8        certify:
 9            That KARIN MAISTRELLO, the witness whose
10        testimony is hereinbefore set forth, was duly
11        sworn/affirmed by me before testifying and
12        that the foregoing transcript is a true record
13        of said testimony.
14            I further certify that I am not related
15        to any of the parties to this action by blood
16        or marriage, and that I am in no way
17        interested in the outcome of this matter.
18            IN WITNESS WHEREOF, I have hereunto set
19        my hand this 4th day of September, 2019.
20
21               ____________________________
                 KATHLEEN T. KEILTY, C.S.R.
22               License No. 000755
23
24
25


                                                         Page 106

 1               ERRATA SHEET
                Page ___ of ____
 2
         I, KARIN MAISTRELLO, wish to make the following
 3   changes to the foregoing transcript of my testimony
     taken on the 23rd day of August 2019, for the reasons
 4   cited below:
 5   PG-LN     CHANGE FRM/TO            REASON
 6   _____ ________________ ___________________
 7   _____ ________________ ___________________
 8   _____ ________________ ___________________
 9   _____ ________________ ___________________
10   _____ ________________ ___________________
11   _____ ________________ ___________________
12   _____ ________________ ___________________
13   _____ ________________ ___________________
14   _____ ________________ ___________________
15   _____ ________________ ___________________
16   _____ ________________ ___________________
17
                     ______________________
18                     KARIN MAISTRELLO
19
20   Subscribed and sworn to before me
21   this ____ day of _____________, 20____.
22
     ___________________________
23        NOTARY PUBLIC
24   My Commission expires the ____ day
25   of ______________, 20_____.

                                                         Page 107

                                                                                28 (Pages 106 to 107)
                                                             Karin Maistrello
                                                             August 23, 2019
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 279 of 288




                       Exhibit X
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 280 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 281 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 282 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 283 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 284 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 285 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 286 of 288
Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 287 of 288




                       Exhibit Y
 Case 1:18-cv-02185-LJL Document 267-1 Filed 03/16/20 Page 288 of 288




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